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                  Exhibit 1
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                                                                                                 EXECUTION VERSION




                                                 SECOND LIEN TERM LOAN AGREEMENT
                                                        Dated as of November 8, 2016

                                                                    among

                                                       DAWN INTERMEDIATE, INC.,
                                                                 as Holdings,

                                                     SERTA SIMMONS BEDDING, LLC,
                                                             as the Top Borrower,

                                                THE OTHER BORROWERS PARTY HERETO,

                                              THE FINANCIAL INSTITUTIONS PARTY HERETO,
                                                                  as Lenders,

                                                      GOLDMAN SACHS BANK USA
                                                           as Administrative Agent

                                                                     and

                                                   GOLDMAN SACHS BANK USA,
                                                       UBS SECURITIES LLC,
                                                      BARCLAYS BANK PLC,
                                                 DEUTSCHE BANK SECURITIES, INC.,
                                                     JEFFERIES FINANCE LLC,
                                                   JPMORGAN CHASE BANK N.A.,
                                               MORGAN STANLEY SENIOR FUNDING, INC.,
                                                     RBC CAPITAL MARKETS,
                                                                     and
                                                     WELLS FARGO SECURITIES, LLC
                                                 as Joint Lead Arrangers and Joint Bookrunners




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             Exhibit D                         Form of Compliance Certificate
             Exhibit E                         Reserved
             Exhibit F                         Form of Intercompany Note
             Exhibit G-1                       Form of ABL lntercreditor Agreement
             Exhibit G-2                       Form of First/Second Lien lntercreditor Agreement
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             Exhibit I                         Form of Second Lien Tenn Loan Guaranty Agreement
             Exhibit J                         Form of Perfection Certificate
             Exhibit K                         Form of Joinder Agreement
             Exhibit L                         Form of Promissoiy Note
             Exhibit M                         Form of Second Lien Tenn Loan Pledge and Security Agreement
             Exhibit N                         Reserved
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                                               Not Partnerships For U.S. Federal Income Tax Purposes)
             Exhibit 0-2                       Form of U.S. Tax Compliance Certificate (For Foreign Participants That Are
                                               Not Partnerships For U.S. Federal Income Tax Purposes)
             Exhibit 0-3                       Form of U.S. Tax Compliance Certificate (For Foreign Lenders That Are
                                               Partnerships For U.S. Federal Income Tax Purposes)
             Exhibit 0-4                       Form of U.S. Tax Compliance Certificate (For Foreign Participants That Are
                                               Partnerships For U.S. Federal Income Tax Purposes)
             Exhibit P                         Form of Solvency Certificate




                                                                  IV
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                                                   SECOND LIEN TERM LOAN AGREEMENT

                      SECOND LIEN TERM LOAN AGREEMENT, dated as of November 8, 2016 (this "Agreement"), by
             and among Dawn Intermediate, Inc., a Delaware corporation (" Dawn Intermediate" or "Holdings"), Serta
             Simmons Bedding, LLC, a Delaware limited liability company (" SSB" or the "Top Borrower"), National
             Bedding Company L.L.C., an Illinois limited liability company ("National Bedding"), and SSB Manufacturing
             Company, a Delaware corporation ("SSB Manufacturing"), as borrowers, the Lenders from time to time party
             hereto, Goldman Sachs Bank USA (" GS"), in its capacities as administrative agent and collateral agent for the
             Lenders (in such capacities and together with its successors and assigns, the "Administrative Agent").

                                                                    RECITALS

                      A.       The Borrowers (a) have requested that the Lenders extend credit under this Agreement in the
             form of Initial Term Loans in an aggregate principal amount equal to $450,000,000, (ii) intend to borrow term
             loans in an aggregate principal amount equal to $1,950,000,000 under the First Lien Credit Agreement and (iii)
             intend to establish an asset-based revolving credit facility with commitments of $225,000,000 under the ABL
             Credit Agreement.

                      B.       The proceeds of the Initial Term Loans and the loans under the First Lien Facility will be
             applied to (i) repay in full amounts owing under the Term Loan Credit Agreement, dated as of October 1,
             2012, by and among, inter alios, Dawn Intermediate, as holdings, SSB and the other borrowers party thereto,
             the lenders party thereto and Morgan Stanley Senior Funding, Inc., as administrative agent, (ii) redeem,
             defease or otherwise discharge amounts owing under the Indenture, dated as of Octo ber 1, 2012, among SSB,
             as issuer, the subsidiaries of SSB party thereto, as guarantors, and Wilmington Trust, National Association, as
             trustee (the transactions described in clause (i) and this clause (ii). the " Refinancing Transactions"), and (iii)
             finance the payment of a dividend, distribution or other payment (the " Specified Dividend") in an amount up
             to $670,000,000, to the direct or indirect holders of its Capital Stock.

                     C.        The Lenders are willing to extend such credit to the Borrowers on the terms and subject to the
             conditions set forth herein. Accordingly, the parties hereto agree as follows:

                                                                    ARTICLE 1

                                                                  DEFINITIONS

                      Section 1.01.           Defined Tenns. As used in this Agreement, the fo llowing terms have the meanings
             specified below:

                      "ABL Credit Agreement" means the ABL Credit Agreement, dated as of the Closing Date, among,
             inter alias, Holdings, the Borrowers, UBS AG, Stamford Branch, as administrative agent and collateral agent,
             and the lenders from time to time party thereto.

                   "ABL Credit Agreement Collateral Agent" has the meaning set forth m the ABL lntercreditor
             Agreement.

                       "ABL Facilitv" means the credit faci lity pursuant to the ABL Credit Agreement and one or more debt
             facilities or other financing arrangements (including indentures) providing for loans and/or commitments or
             other long-term indebtedness that replace or refinance such credit facility, including any such replacement or
             refinancing facility (including any indenture) that increases or decreases the amount permitted to be borrowed
             thereunder or alters the maturity thereof and whether by the same or any other agent, trustee, lender or group of
             lenders, and any amendments, supplements, modifications, extensions, renewals, restatements, amendments
             and restatements or refundings thereof or any such credit facilities or other debt facilities (including under
             indentures) that replace or refinance such credit facility or other Indebtedness.




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                   "ABL Incremental Debt" has the meaning given to "Incremental Revolving Loans" in the ABL Credit
             Agreement (or any equivalent term under any ABL Facility).

                      "ABL Intercreditor Agreement" means the ABL Intercreditor Agreement substantially in the form of
             Exhibit G-1, dated as of the Closing Date, among, inter alios, the ABL Credit Agreement Collateral Agent, as
             agent for the ABL Claimholders referred to therein, the Administrative Agent, as agent for the Second Lien
             Claimholders referred to therein, the First Lien Collateral Agent, as agent for the First Lien Claimholders
             referred to therein and the Loan Parties from time to time party thereto.

                       "ABL Prioritv Collateral" has the meaning set forth in the ABL lntercreditor Agreement.

                     "ABR" when used iJ1 reference to any Loan or Borrowing, refers to whether such Loan, or the Loans
             comprising such Borrowing, bear interest at a rate determined by reference to the Alternate Base Rate.

                       "Acceptable lntercreditor Agreement" means:

                               (a)      with respect to any Indebtedness that is secured on a pari passu basis with the Liens
                       securing the ABL Facility , (i) if any ABL Facility is outstanding on the relevant date of determination,
                       the ABL lntercreditor Agreement or (ii) if an ABL Facility is not outstanding on the relevant date of
                       determination, an intercreditor agreement substantially in the form of the ABL Credit Agreement, with
                       any changes thereto as the Top Borrower and the Administrative Agent may agree in their respective
                       reasonable discretion;

                                 (b)      with respect to any Indebtedness that is senior to the Initial Term Loans in right of
                       security (other than, for the avoidance of doubt, any ABL Facility), (i) if any First Lien Facility is
                       outstanding on the relevant date of determination, the First/Second Lien Intercreditor Agreement or
                       (ii) if a First Lien Facility is not outstanding on the relevant date of determination, an intercreditor
                       agreement substantially in the form of the First/Second Lien lntercreditor Agreement, with any
                       changes thereto as the Top Borrower and the Administrative Agent may agree in their respective
                       reasonable discretion; and/or

                                (c)      with respect to any Indebtedness, any other intercreditor or subordination agreement
                       or arrangement (which may take the form of a "waterfall" or similar provision), as applicable, the
                       terms of which are (i) consistent with market terms (as determined by the Top Borrower and the
                       Administrative Agent in good faith) governing arrangements for the sharing and/or subordination of
                       liens and/or arrangements relating to the distribution of payments, as applicable, at the time the
                       re levant intercreditor agreement is proposed to be established in light of the type of Indebtedness
                       subject thereto and/or (ii) reasonably acceptable to the Top Borrower and the Administrative Agent.

                       "ACH" means automated clearing house transfers.

                       "Additional Agreement" has the meaning assigned to such term in Article 8.

                     "Additional Term Loan Commitment" means any term commitment added pursuant to Sections 2.22,
             2.23 and/or 9.02(c).

                       "Additional Term Loans" means any term loan added pursuant to Section 2.22, 2.23 and/or 9.02(c).

                       "Administrative Agent" has the meaning assigned to such term in the preamble to this Agreement.

                     "Administrative Questionnaire" means a customary administrative questionnaire in the form provided
             by the Administrative Agent.




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                       "Advenl" means Advent International Corporation.

                     "Adverse Proceeding" means any action, suil, proceeding (whether administrative, judicial or
             otherwise), governmental investigation or arbitration (whether or not purportedly on behalf of Holdings, the
             Top Borrower or any of its Restricted Subsidiaries) at law or in equity, or before or by any Governmental
             Authority, domestic or foreign (including any Environmental Claim), whether pending or, to the knowledge of
             Holdings, the Top Borrower or any of its Reslricted Subsidiaries, threalened in writing, againsl or affecting
             Holdings, lhe Top Borrower or any of its Restricted Subsidiaries or any property of Holdings, the Top
             Borrower or any of its Restricted Subsidiaries.

                     "Affiliate" means, as applied to any Person, any other Person directly or indirectly Controlling,
             Controlled by, or under common Control with, that Person. No Person shall be an "Affiliate" solely because it
             is an unrelated portfolio company of the Sponsor and none of the Administrative Agent, the Arrangers, any
             Lender (other lhan any Affiliated Lender or any Debl Fund Affiliate) or any of their respective Affiliales shall
             be considered an Affiliate of Holdings or any subsidiary thereof.

                     "Affiliated Lender" means any Non-Debt Fund Affiliale, Holdings, the Top Borrower and/or any
             subsidiary of the Top Borrower.

                     "Affiliated Lender Assignmenl and Assumption" means an assignment and assumption enlered inlo
             by a Lender and an Affiliated Lender (with the consent of any party whose consent is required by Section 9 .05)
             and accepted by the Administrative Agent in the form of Exhibit A-I or any other form approved by the
             Adm inistrative Agenl and the Top Borrower.

                       "Affiliated Lender Cap'' has the meaning assigned lo such tenu in Seclion 9.05(g)(iv).

                     "Agreement" has the meaning assigned to such term in the preamble to this Second Lien Term Loan
             Credit Agreement.

                      "Allernate Base Rate" means, for any day, a rate per annum equal to the highest of (a) the Federal
             Funds Effective Rate in effect on such day plus 0.50%, (b) to the extent ascertainable, the Published LIBO
             Rate (which rate shall be calculated based upon an Interest Period of one month and shall be determined on a
             daily basis and, for the avoidance of doubt, the Published LIBO Rate for any day shall be based on the rate
             determined on such day at I 1:00 a.m. (London time)) plus 1.00%, (c) the Prime Rate and (d) solely with
             respect to Initial Term Loans, 2.00%. Any change in the Alternate Base Rate due to a change in the Prime
             Rate, the Federal Funds Effective Rate or the Published LIBO Rate, as the case may be, shall be effective from
             and including the effective date of such change in the Prime Rate, the Federal Funds Effective Rate or the
             Published LIBO Rate, as the case may be.

                      "Applicable Administrative Agent" means (i) with respect to ABL Priority Collateral, the ABL Credit
             Agreement Collateral Agent (or other analogous term in another Acceptable lntercreditor Agreement, as
             applicable), (ii) with respect to Term Loan Priority Collateral, the First Lien Credit Agreement Collateral
             Agent (as defined in the First Lien/Second Lien Intercreditor Agreement) (or other analogous term in another
             Acceptable Intercreditor Agreement, as applicable) or (iii) if at any time there is no ABL Intercreditor
             Agreement, First Lien/Second Lien Intercreditor Agreement or other intercreditor agreement as described in
             the definition of Acceptable lntercreditor Agreement then in effect, the Administrative Agent.

                      "Applicable Percentage" means, with respect to any Lender of any Class, a percentage equal to a
             fraction the numerator of which is the aggregate outstanding principal amount of the Loans and unused
             Additional Term Loan Commitments of such Lender under the applicable Class and the denominator of which
             is the aggregate outstanding principal amount of the Loans and unused Commitments of all Lenders under the
             applicable Class.




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                     "Applicable Rate" means, for any day, with respect to any LIBO Rate Loan, 8.00% per annum , and
             with respect to any ABR Loan, 7.00% per annum.

                      "Approved Fund" means, with respect to any Lender, any Person (other than a natural person) that is
             engaged m makmg, purchasing, holdmg or otherwise mvesting m commercial loans and similar extensions of
             credit in the ordinary course of its activities and is administered, advised or managed by (a) such Lender, (b)
             any Affiliate of such Lender or (c) any entity or any Affiliate of any entity that administers, advises or
             manages such Lender.

                      "Arrangers" means GS, UBS Securities LLC, Barclays Bank PLC, Deutsche Bank Securities Inc.,
             Jefferies Finance LLC, JPMorgan Chase Bank N.A., Morgan Stanley Senior Funding, Inc., RBC Capital
             Markets and Wells Fargo Securities, LLC.

                       "Ares" means Ares Management LLC.

                    "Assignment Agreement" means, collectively, each Assignment and Assumption and each Affiliated
             Lender Assignment and Assumption.

                     "Assignment and Assumption" means an assignment and assumption entered into by a Lender and an
             assignee (with the consent of any party whose consent is required by Section 9.05), and accepted by the
             Administrative Agent in the form of Exhibit A-2 or any other form approved by the Administrative Agent and
             the Top Borrower.

                       "Available Amount" means, at any time, an amount equal to, without duplication:

                                  (a)         the sum of:

                                           (i)     the greater of $125,000,000 and 3.15% of Consolidated Total Assets as of
                                  the end of the most recently ended Test Period; plus

                                           (ii)    the Retained Excess Cash Flow Amount (provided that the Retained Excess
                                  Cash Flow Amount shall not be available for (A) any Restricted Payment pursuant to
                                  Section 6.04(a)(iii)(A) unless no Event of Default exists at the time of declaration of such
                                  Restricted Payment or (B) any Restricted Debt Payment pursuant to Section 6.04(b)(vi)(A)
                                  unless no Event of Default under Sections 7.0l(a), ill or {g} exists at the time of delivery of
                                  irrevocable notice with respect to such Restricted Debt Payment); plus

                                           (iii)   the amount of any capital contribution in respect of Qualified Capital Stock
                                  or the proceeds of any issuance of Qualified Capital Stock after the Closing Date (other than
                                  any amounts (x) constituting a Cure Amount or an Available Excluded Contribution Amount,
                                  (y) received from the Top Borrower or any Restricted Subsidiary or (z) consisting of the
                                  proceeds of any loan or advance made pursuant to Section 6.06(h)(ii)) received as Cash
                                  equity by the Top Borrower or any of its Restricted Subsidiaries, plus the fair market value, as
                                  reasonably determme<l by the Top Borrower, of Cash Equivalents, marketable securities or
                                  other property received by the Top Borrower or any Restricted Subsidiary as a capital
                                  contribution in respect of Qualified Capital Stock or in return for any issuance of Qualif ied
                                  Capital Stock (other than any amounts (x) constituting a Cure Amount or an Available
                                  Excluded Contribution Amount or (y) received from the Top Borrower or any Restricted
                                  Subsidiary), in each case, during the period from and including the day immediately
                                  followmg the Closing Date through and including such time; plus

                                          (iv)    the aggregate prmcipal amount of any Indebtedness (includmg any
                                  Disqualified Capital Stock) of the Top Borrower or any Restricted Subs idiary issued after the




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                                  Closing Date (other than Inde btedness or such Disqualified Capital Stock issued to the Top
                                  Borrower or any Restricted Subsidiary), which has been converted into or exchanged for
                                  Capital Stock of the Top Borrower, any Restricted Subsidiary or any Parent Company that
                                  does not constitute Disqualified Capital Stock, together with the fair market value of any
                                  Cash Equivalents and the fair market value (as reasonably determined by the Top Borrower)
                                  of any assets received by the Top Borrower or such Restricted Subsidiary upon such
                                  exchange or conversion, in each case, during the period from and including the day
                                  immediately following the Closing Date through and including such time; plus

                                           (v)      the net proceeds received by the Top Borrower or any Restricted Subsidiary
                                  during the period from and including the day immediately following the Closing Date through
                                  and including such time in connection with the Disposition to any Person (other than the Top
                                  Borrower or any Restricted Subsidiary) of any Investment made pursuant to
                                  Section 6.06(r)(i); plus

                                           (vi)     to the extent not already reflected as a return of capital with respect to such
                                  Investment for purposes of detennining the amount of such Investment (pursuant to the
                                  definition thereof), the proceeds received by the Top Borrower or any Restricted Subsidiary
                                  during the period from and including the day immediately following the Closing Date through
                                  and including such time in connection with cash returns, cash profits, cash distributions and
                                  similar cash amounts, including cash principal repayments and interest payments of loans, in
                                  each case received in respect of any Investment made after the Closing Date pursuant to
                                  Section 6.06(r)(i); plus

                                           (vii)     an amount equal to the sum of (A) the amount of any Investments by the
                                  Top Borrower or any Restricted Subsidiary pursuant to Section 6.06(r)(i) in any Unrestricted
                                  Subsidiary (in an amount not to exceed the original amount of such Investment) that has been
                                  re-designated as a Restricted Subsidiary or has been merged, consolidated or amalgamated
                                  with or into, or is liquidated, wound up or dissolved into, the Top Borrower or any Restricted
                                  Subsidiary and (B) the fair market value (as reasonably determined by the Top Borrower) of
                                  the assets of any Unrestricted Subsidiary that have been transferred, conveyed or otherwise
                                  distributed (in an amount not to exceed the original amount of the Investment in such
                                  Unrestricted Subsidiary) to the Top Borrower or any Restricted Subsidiary, in each case,
                                  during the period from and including the day immediately following the Closing Date through
                                  and including such time; plus

                                              (viii)   the amount of any Declined Proceeds; minus

                                 (b)     an amount equal to the sum of (i) Restricted Payments made pursuant to
                       Section 6.04(a)(iii)(A), plus (ii) Restricted Debt Payments made pursuant to Section 6.04(b)(vi)(A),
                       plus (iii) Investments made pursuant to Section 6.06(r)(i), in each case, after the Closing Date and
                       prior to such time or contemporaneously therewith.

                      "Available Excluded Contribution Amount" means the aggregate amount of Cash or Cash Equivalents
             or the fair market value of other assets (as reasonably determined by the Top Borrower, but excluding any
             Cure Amount) received by the Top Borrower or any of its Restricted Subsidiaries after the Closing Date from:

                              (a)      contributions in respect of Qualified Capital Stock of the Top Borrower (other than
                       any amounts received from any Restricted Subsidiary of the Top Borrower), and

                                (b)    the sale of Qualified Capital Stock of the Top Borrower (other than (x) to any
                       Restricted Subsidiary of the Top Borrower, (y) pursuant to any management equity plan or stock




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                       option plan or any other management or emp loyee benefit plan or (z) with the proceeds of any loan or
                       advance made pursuant to Section 6.06Q1)(ii)),

             in each case, designated as an Available Excluded Contribution Amount pursuant to a certificate of a
             Responsible Officer on or promptly after the date on which the relevant capital contribution is made or the
             relevant proceeds are received, as the case may be, and which are excluded from the calculation of the
             Available Amount.

                   "Bail-In Action" means the exercise of any Write-Down and Conversion Powers by the applicable
             EEA Resolution Authority in respect of any liability of an EEA Financial Institution.

                      "Bail-In Legislation" means, with respect lo any EEA Member Country implementing Article 55 of
             Directive 2014/59/EU of the European Parliament and of the Council of the European Union, the
             implementing law for such EEA Member Country from time to time which is described in the EU Bail-In
             Legislation Schedule.

                     "Banking Services" means each and any of the fo llowing bank services: commercial credit cards,
             stored value cards, purchasing cards, treasury management services, netting services, overdraft protections,
             check drawing services, automated payment services (including depository, overdraft, controlled disbursement,
             ACH transactions, return items and interstate depository network services), employee credit card programs,
             cash pooling services and any arrangements or services similar to any of the foregoing and/or otherwise in
             connection with Cash management and Deposit Accounts.

                      "Banking Services Obligations" means any and all obligations of any Loan Party, whether absolute or
             contingent and however and whenever created, arising, evidenced or acquired (including all renewals,
             extensions and modifications thereof and substitutions therefor), under any arrangement in connection with
             Banking Services that is (a) in effect on the Closing Date between any Loan Party and a counterparty that is (or
             is an Affiliate of) the Administrative Agent, any Lender or any Arranger as of the Closing Date or (b) entered
             into after the Closing Date by any Loan Party with any counterparty that is (or is an Affiliate of) the
             Administrative Agent, any Lender or any Arranger at the time such arrangement is entered into, in each case,
             that have been designated to the Administrative Agent in wTiting by the Top Borrower as being Banking
             Services Obligations for the purposes of the Loan Documents, it being understood that each counterparty
             thereto shall be deemed (A) to appoint the Administrative Agent as its agent under the applicable Loan
             Documents and (B) to agree to be bound by the provisions of Article 8, Section 9 .03 and Section 9 .10 and each
             Tntercreditor Agreement as if it were a Lender.

                     "Bankruptcy Code" means Tille 11 of the United States Code (11 U.S.C. § 101 et seq.), as it has been,
             or may be, amended, from time to time.

                       "Bona Fide Debt Fund" means any debt fund, investment vehicle, regulated bank entity or unregulated
             lending entity that is primarily engaged in making, purchasing, holding or otherwise investing in commercial
             loans and similar extensions of credit in the ordinary course of business for financial investment purposes
             which is managed, sponsored or advised by any Person controlling, controlled by or under common control
             with (a) any competitor of the Top Borrower and/or any of its subsidiaries or (b) any Affiliate of such
             competitor, but, in each case, with respect to which no personnel involved with any investment in such Person
             or the management, control or operation of such Person (i) directly or indirectly makes, has the right to make
             or participates with others in making any investment decisions, or otherwise causing the direction of the
             investment policies, with respect to such debt fund, investment vehicle, regulated bank entity or unregulated
             entity or (ii) has access lo any information (other than information that is publicly available) relating to
             Holdings, the Top Borrower or its subsidiaries or any entity that forms a part of any of their respective
             businesses; it being understood and agreed that the term " Bona Fide Debt Fund" shall not include any Person
             that is a Disqualified Lending Institution.




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                       "Borrowers" means, collectively, SSB, National Bedding and SSB Manufacturing.

                       "Borrower Materials" has the meaning assigned to such term in Section 9.0l(d).

                     "Borrowing" means any Loans of the same Ty pe and Class made, converted or continued on the same
             date and, in the case of LIBO Rate Loans, as to which a single Interest Period is in effect.

                     "Borrowing Request" means a request by any Borrower for a Borrowing in accordance with
             Section 2.03 and substantially in the form attached hereto as Exhibit B or such other form that is reasonably
             acceptable to the Administrative Agent and such Borrower.

                     "Business Day" means any day that is not a Saturday, Sunday or other day on which commercial
             banks in New York City are authorized or required by law to remain closed; provided that when used in
             connection with a LIBO Rate Loan, the term "Business Day" shall also exclude any day on which banks are
             not open for dealings in Dollar deposits in the London interbank market.

                     "Calculation Period" means an Excess Cash Flow Period or an Excess Cash Flow Interim Period, as
             applicable.

                       "Capital Expenditures" means, with respect to the Top Borrower and its Restricted Subsidiaries for
             any period, the aggregate amount, without duplication, of all expenditures (whether paid in cash or accrued as
             liabilities and including in all events all amounts expended or capitalized under Capital Leases) that would, in
             accordance with GAAP, are, or are required to be included as, capital expenditures on the consolidated
             statement of cash flows for the Top Borrower and its Restricted Subsidiaries for such period.

                      "Capital Lease" means, as applied to any Person, any lease of any property (whether real, personal or
             mixed) by that Person as lessee that, in confonnity with GAAP, is or should be accounted for as a capital lease
             on the balance sheet of that Person; provided, that for the avoidance of doubt, the amount of obligations
             attributable to any Capital Lease shall be the amount thereof accounted for as a liability in accordance with
             GAAP.

                     "Capital Stock" means any and all shares, interests, participations or other equivalents (however
             designated) of capital stock of a corporation, any and all equivalent ownership interests in a Person (other than
             a corporation), including partnership interests and membership interests, and any and all warrants, rights or
             options to purchase or other arrangements or rights to acquire any of the foregoing, but excluding for the
             avoidance of doubt any Indebtedness convertible into or exchangeable for any of the foregoing.

                      "Captive Insurance Subsidiaty" means any Restricted Subsidiary of the Top Borrower that is subject
             to regulation as an insurance company (or any Restricted Subsidiary thereof).

                     "Cash" means money, currency or a credit balance in any Deposit Account, in each case determined in
             accordance with GAAP.

                       "Cash Equivalents" means, as at any date of determination, (a) readily marketable securities (i) issued
             or directly and unconditionally guaranteed or insured as to interest and principal by the U.S. government or (ii)
             issued by any agency or instrumentality of the U.S. the obligations of which are backed by the full faith and
             credit of the U.S., in each case maturing within one year after such date and, in each case, repurchase
             agreements and reverse repurchase agreements relating thereto; (b) readily marketable direct obligations issued
             by any state of the U.S. or any political subdivision of any such state or any public instrumentality thereof or
             by any foreign government, in each case maturing within one year after such date and having, at the time of the
             acquisition thereof, a rating of at least A-2 from S&P or at least P-2 from Moody's (or, if at any time neither
             S&P nor Moody' s shall be rating such obligations, an equivalent rating from another nationally recognized
             statistical rating agency) and, in each case, repurchase agreements and reverse repurchase agreements relating



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             thereto ; (c) commercial paper maturing no more than one year from the date of creation thereof and having, at
             the time of the acquisition thereof, a rating of at least A-2 from S&P or at least P-2 from Moody ' s (or, if at any
             time neither S&P nor Moody ' s shall be rating such obligations, an equivalent rating from another nationally
             recognized statistical rating agency); (d) deposits, money market deposits, time deposit accounts, certificates of
             deposit or bankers' acceptances (or similar instruments) maturing within one year after such date and issued or
             accepted by any Lender or by any bank organized under, or authorized to operate as a bank under, the laws of
             the U.S., any state thereof or the District of Columbia or any political subdivision thereof or any foreign bank
             or its branches or agencies and that has capital and surplus of not less than $100,000,000 and, in each case,
             repurchase agreements and reverse repurchase agreements relating thereto; (e) securities with maturities of six
             months or less from the date of acquisition backed by standby letters of credit issued by any commercial bank
             having capital and surplus of not less than $100,000,000; (f) shares of any money market mutual fund that has
             (i) substantially all of its assets i1wested in the types of investments referred to in clauses (a) through ~ above,
             (ii) net assets of not less than $250,000,000 and (iii) a rating of at least A-2 from S&P or at least P-2 from
             Moody ' s; and (g) solely with respect to any Captive Insurance Subsidiary, any investment that such Captive
             Insurance Subsidiary is not prohibited to make in accordance with applicable law.

                      "Cash Equivalents" shall also include (x) Investments of the type and maturity described in clauses (a)
             through (.g)_ above of foreign obligors, which Investments or obligors (or the parent companies thereof) have
             the ratings described in such clauses or equivalent ratings from comparable foreign rating agencies and (y)
             other short-term Investments utilized by Foreign Subsidiaries in accordance with normal investment practices
             for cash management in Investments that are analogous to the Investments described in clauses (a) through (.g)_
             and in this paragraph.

                       "CFC" means a "controlled foreign corporation" within the meaning of Section 957 of the Code.

                     "CFC Holdco" means any direct or indirect Domestic Subsidiary that has no material assets other than
             the Capital Stock or Indebtedness of one or more CFCs or CFC Holdcos.

                       "Change in Law" means (a) the adoption of any law, treaty, rule or regulation after the Closing Date,
             (b) any change in any law, treaty, rule or regulation or in the interpretation or application thereof by any
             Governmental Authority after the Closing Date or (c) compliance by any Lender (or, for purposes of Section
             2. 15(b), by any lending office of such Lender or by such Lender' s holding company, if any) with any request,
             guideline or directive (whether or not having the force of law) of any Governmental Authority made or issued
             after the Closing Date (other than any such request, guideline or directive to comply with any law, rule or
             regulation that was in effect on the Closing Date). For purposes of this definition and Section 2.15, (x) the
             Dodd-Frank Wall Street Reform and Consumer Protection Act and all requests, rules, guidelines, requirements
             and directives thereunder or issued in connection therewith or in implementation thereof and (y) all requests,
             rules, guidelines, requirements or directives promulgated by the Bank for International Settlements, the Basel
             Committee on Banking Supervision (or any successor or similar authority) or US regulatory authorities, in
             each case pursuant to Basel III, shall in each case described in clauses (a), (b} and ~ above, be deemed to be a
             Change in Law, regardless of the date enacted, adopted, issued or implemented.

                       "Change of Control" means the earliest to occur of:

                               (a)      at any time prior to a Qualifying IPO, the Permitted Holders ceasing to beneficially
                       own, either directly or indirectly (within the meaning of Rule 13d-3 and Rule 13d-5 under the
                       Exchange Act), Capital Stock representing more than 50% of the total voting power of all of the
                       outstanding voting stock of Holdings;

                                (b)     at any time on or after a Qualifying IPO, the acquisition by any Person or group
                       (within the meaning of Section 13(d)(3) or Section 14(d)(2) of the Exchange Act) (including any
                       group acting for the purpose of acquiring, holding or disposing of Securities (within the meaning of
                       Rule l 3d-5(b)(I) under the Exchange Act), but excluding (i) any employee benefit plan and/or Person




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                       acting as the trustee, agent or other fiduciary or administrator therefor, (ii) one or more Permitted
                       Holders and ( iii) any underwriter in connection with any Qualify ing IPO), of Capital Stock
                       representing more than the greater of (x) 35% of the total voting power of all of the outstanding voting
                       stock of Holdings and (y) the percentage of the total voting power of all of the outstanding voting
                       stock of Holdings owned, directly or indirectly, beneficially by the Permitted Holders; and

                               (c)            the Top Borrower ceasing to be a direct or indirect Wholly-Owned Subsidiary of
                       Holdings.

                       "Charge" means any fee, loss, charge, expense, cost, accrual or reserve of any kind.

                       "Charged Amounts" has the meaning assigned to such term in Section 9.19.

                     "Class", when used with respect to (a) any Loan or Borrowing, refers to whether such Loan, or the
             Loans comprising such Borrowing, are Initial Term Loans, Additional Term Loans of any series established as
             a separate " Class" pursuant to Section 2.22, 2.23 and/or 9.02(c). (b) any Commitment, refers to whether such
             Commitment is an Initial Term Commitment, an Additional Tem1 Loan Commitment of any series established
             as a separate "Class" purs uant to Section 2.22, 2.23 and/or 9.02(c) and (c) any Lender, refers to whether such
             Lender has a Loan or Commitment of a particular Class.

                     "Closing Date" means November 8, 2016, the date on which the conditions specified in Section 4.01
             were satisfied (or waived in accordance with Section 9.02).

                       "Code" means the Internal Revenue Code of 1986.

                       "Collateral" means any and all property of any Loan Party subject (or purported to be subject) to a
             Lien under any Collateral Document and any and all other property of any Loan Party, now existing or
             hereafter acquired, that is or becomes subject (or purported to be subject) to a Lien pursuant to any Collateral
             Document to secure the Secured Obligations. For the avoidance of doubt, in no event shall " Collateral"
             in clude any Excluded Asset..

                      "Collateral and Guarantee Requirement" means, at any time, subject to (x) the applicable limitations
             set forth in this Agreement and/or any other Loan Document and (y) the time periods (and extensions thereof)
             set forth in Section 5.12, the requirement that:

                                 (a)      the Administrative Agent shall have received in the case of any Restricted Subsidiary
                       that is required to become a Loan Party after the Closing Date (including by ceasing to be an Excluded
                       Subsidiary) or othenvise becomes a Loan Party after the Closing Date:

                                            (i)     (A) a Joinder Agreement, (B) if the respective Restricted Subsidiary required
                                  to comply with the requirements set forth in this definition pursuant to Section 5. 12 owns
                                  registrations of or applications for U.S. Patents, Trademarks and/or Copyrights that constitute
                                  Collateral, an Intellectual Property Security Agreement, (C) a completed Perfection
                                  Certificate, (D) Uniform Commercial Code financing statements in appropriate form for filing
                                  in such jurisdictions as the Administrative Agent may reasonably request, (E) an executed
                                  joinder to each Initial Jntercreditor Agreement in substantially the form attached as an exhibit
                                  thereto and (F) ajoinder to the Intercompany Note; and

                                          (ii)     each item of Collateral that such Restricted Subsidiary is required to deliver
                                  under Section 4 .02 of the Security Agreement (which, for the avoidance of doubt, shall be
                                  delivered within the time periods set forth in Section 5 .12(a)); and




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                                (b)      the Administrative Agent shall have received with respect to any Material Real
                       Estate Assets acquired after the Closing Date, a Mortgage and any necessary UCC fixture filing in
                       respect thereof, in each case together with, to the extent customary and appropriate (as reasonably
                       determined by the Administrative Agent and the Top Borrower)):

                                            (i)      evidence that (A) counterparts of such Mortgage have been duly executed,
                                  acknowledged and delivered and such Mortgage and any corresponding UCC or equivalent
                                  fixture filing are in form suitable for filing or recording in all filing or recording offices that
                                  the Administrative Agent may deem reasonably necessary in order to create a valid and
                                  subsisting Lien on such Material Real Estate Asset in favor of the Administrative Agent for
                                  the benefit of the Secured Parties, (B) such Mortgage and any corresponding UCC or
                                  equivalent fixture filings have been duly recorded or filed, as applicable, and (C) all filing and
                                  recording taxes and fees have been paid or otherwise provided for in a manner reasonably
                                  satisfactory to the Administrative Agent;

                                           (ii)     one or more fully paid policies of title insurance (the "Mortgage Policies")
                                  in an amount reasonably acceptable to the Administrative Agent (not to exceed the fair
                                  market value of the Material Real Estate Asset covered thereby ( as reasonably determined by
                                  the Top Borrower)) issued by a nationally recognized title insurance company in the
                                  applicable jurisdiction that is reasonably acceptable to the Administrative Agent, insuring the
                                  relevant Mortgage as having created a valid subsisting Lien on the real property described
                                  therein with the ranking or the priority which it is expressed to have in such Mortgage,
                                  subject only to Penuitted Liens, together with such endorsements, coinsurance and
                                  reinsurance as the Administrative Agent may reasonably request to the extent the same are
                                  available in the applicable jurisdiction;

                                            (iii)   customary legal opinions of local counsel for the relevant Loan Party in the
                                  jurisdiction in which such Material Real Estate Asset is located, and if applicable, in the
                                  jurisdiction of fonuation of the relevant Loan Party, in each case as the Administrative Agent
                                  may reasonably request; and

                                           (iv)     surveys and appraisals (if required under the Financial Institutions Reform
                                  Recovery and Enforcement Act of 1989, as amended) and "Life-of-Loan" flood certifications
                                  and any required borrower notices under Regulation H (together with evidence of federal
                                  flood insurance for any such Flood Hazard Property located in a flood hazard area); provided
                                  that the Administrative Agent may in its reasonable discretion accept any such existing
                                  certificate, appraisal or survey so long as such existing certificate or appraisal satisfies any
                                  applicable local law requirements.

                       Notwithstanding any provision of any Loan Document to the contrary, if any mortgage tax or similar
             tax or charge is owed on the entire amount of the Obligations evidenced hereby, then, to the extent penuitted
             by , and in accordance with, applicable Requirements of Law, the amount of such mortgage tax or similar tax or
             charge shall be calculated based on the lesser of (x) the amount of the Obligations allocated to the applicable
             Material Real Estate Assets and (y) the fair market value of the applicable Material Real Estate Assets at the
             time the Mortgage is entered into and determined in a manner reasonably acceptable to Administrative Agent
             and the Top Borrower, which in the case of clause (y) will result in a limitation of the Obligations secured by
             the Mortgage to such amount.

                       "Collateral Documents" means, collectively, (i) the Security Agreement, (ii) each Mortgage, (iii) each
             Inte llectual Property Security Agreement, (iv) any supplement to any of the foregoing delivered to the
             Administrative Agent pursuant to the definition of "Collateral and Guarantee Requirement", (v) any Perfection
             Certificate and (vi) each of the other instruments and documents pursuant to which any Loan Party grants (or
             purports to grant) a Lien on any Collateral as security for payment of the Secured Obligations.




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                       "Commercial Tort Claim" has the meaning set forth in Article 9 of the UCC.

                    "Commitment" means, with respect to each Lender, such Lender' s Initial Term Loan Commitment
             and Additional Term Loan Commitment, as applicable, in effect as of such time.

                       "Commitment Schedule" means the Schedule attached hereto as Schedule l.Ol(a).

                       "Commodity Exchange Act" means the Commodity Exchange Act (7 U.S.C. § let seq.).

                       "Company Competitor" means any competitor of the Top Borrower and/or any of its subsidiaries.

                       "Compliance Certificate" means a Compliance Certificate substantially in the form of Exhibit D .

                       "Confidential Information" has the meaning assigned to such tem1 in Section 9. 13.

                      "Consolidated Adj usted EBITDA" means, with respect to any Person on a consolidated basis for any
             period, the sum of:

                                  (a)         Consolidated Net Income for such period; plus

                                (b)     to the extent not othe1wise included in the determination of Consolidated Net Income
                       for such period, the amount of any proceeds of any business interruption insurance policy in an
                       amount representing the earnings for the applicable period that such proceeds are intended to replace
                       (whether or not then received so long as such Person in good faith expects to receive such proceeds
                       within the next four Fiscal Quarters (it being unde rstood that to the extent such proceeds are not
                       actually received within such Fiscal Quarters, such proceeds shall be deducted in calculating
                       Consolidated Adjusted EBlTDA for such Fiscal Quarters)); plus

                               (c)     without duplication, those amounts which, in the dete rmination of Consolidated Net
                       Income for such period, have been deducted for:

                                              (i)     Consolidated Interest Expense;

                                            (ii)     Charges related to any de novo facility, including any construction, pre-
                                  opening and start-up period prior to opening, until such facility has bee n open and operating
                                  for a pe riod of 18 consecutive months;

                                           (iii)   Taxes paid and any provision for Taxes, including income, capital, state,
                                  franchise and similar Taxes, property Taxes, foreign withholding Taxes and foreign
                                  unreimbursed value added Taxes (including penalties and interest related to any such Tax or
                                  arising from any Tax examination, and including pursuant to any Tax sharing arrangement or
                                  as a result of any intercompany distribution) of such Person paid o r accrued during such
                                  period;

                                          (iv)      (A) all depreciation, amortization (including, without limitation,
                                  amortization of goodwill, software and other intangible assets), (B) all impairment Charges
                                  and (C) all asset write-offs and/or write-downs;

                                           (v)     any earn-out and contingent consideration obligations (including to the
                                  extent accounted for as bonuses, compensation or otherwise) incurred in connection with any
                                  acquisition and/or other Investment permitted under Section 6.06 which is paid or accrue d
                                  during such period and in connection with any similar acquisition or other Investment
                                  completed prior to the Closing Date and, in each case, adjustments thereof;




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                                           (vi)     any non-cash Charge, including the excess of GAAP rent expense over
                                  actual cash rent paid during such period due to the use of straight line rent for GAAP
                                  purposes (provided that to the extent that any such non-cash Charge represents an accrnal or
                                  reserve for any potential cash item in any future period, (A) such Person may elect not to add
                                  back such non-cash Charge in the current period and (B) to the extent such Person elects to
                                  add back such non-cash Charge, the cash payment in respect thereof in such future period
                                  shall be subtracted from Consolidated Adjusted EBITDA to such extent);

                                            (vii)   any non-cash compensation Charge and/or any other non-cash Charge
                                  arising from the granting of any stock option or similar arrangement (including any profits
                                  interest), the granting of any stock appreciation right and/or similar arrangement (including
                                  any repricing, amendment, modification, substitution or change of any such stock option,
                                  stock appreciation right, profits interest or similar arrangement);

                                           (viii)   (A) Transaction Costs, (B) Charges incurred (1) in connection w ith any
                                  transaction (in each case, regardless of whe ther consummated, and whether or not pem1itted
                                  under this Agreement), including any incurrence or issuance of Indebtedness and/or any
                                  issuance and/or offering of Capital Stock (including, in each case, by any Parent Company),
                                  any Investment (including any acquisition), any Disposition, any recapitalization, any merger,
                                  consolidation or amalgamation, any option buyout or any repayment, redemption,
                                  refinancing, amendment or modification of Inde btedness (including any amortization or
                                  write-off of debt issuance or deferred financing costs, premiums and prepayment penalties) or
                                  any similar transaction, and/or (2) in connection with any Qualify ing TPO, (C) the amount of
                                  any Charge that is actually reimbursed or reimbursable by third parties pursuant to
                                  indemnification or reimbursement provisions or similar agreements or insurance; provided
                                  that in respect of any Charge that is added back in reliance on clause (C) above, the relevant
                                  Person in good faith expects to receive reimbursement for such fee , cost, expense or reserve
                                  within the next four Fiscal Quarters (it being understood that to the extent any reimbursement
                                  anrnunt is not actually received within such Fiscal Quarters, such reimbursement amount shall
                                  be deducted in calculating Consolidated Adjusted EBITDA for such Fiscal Quarters) and/or
                                  (D) Public Company Costs;

                                           (ix)     any Charge or deduction that is associated with any Restricted Subsidiaty
                                  and attributable to any non-controlling inte rest and/or minority interest of any third party;

                                           (x)      without duplication of any amount referred to in clause (b) above, the
                                  amount of (A) any Charge to the extent that a corresponding amount is received in cash by
                                  such Person from a Person other than such Person or any Restricted Subsidiaiy of such
                                  Pe rson unde r any agreement providing for reimbursement of such Charge or (B) any Charge
                                  with respect to any liability or casualty event, business intem1ption or any product recall, (i)
                                  so long as such Person has submitted in good faith, and reasonably expects to receive
                                  payment in connection w ith, a claim for reimbursement of such amounts under its relevant
                                  insurance policy (with a deduction in the applicable future period for any amount so added
                                  back to the extent not so reimbursed w ithin the next four Fiscal Quarters) or (ii) without
                                  duplication of amounts included in a prior period under clause (B)(i) above, to the extent such
                                  Charge is covered by insurance proceeds received in cash during such period (it being
                                  understood that if the amount received in cash under any such agreement in any period
                                  exceeds the amount of Charge paid during such period such e xcess amounts received may be
                                  carried fon:vard and applied against any Charge in any future period);

                                          (xi)    the amount of management, monitoring, consulting, transaction and advisoty
                                  fees and related indemnities and expenses (including reimbursements) pursuant to any
                                  sponsor management agreement and payments made to any Investor (and/or its Affiliates or




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                                  manage ment companies) for any financial advisory, financing, underwriting or placement
                                  services or in respect of other investment banking activities and payments to outside directors
                                  of a Parent Company, the Top Borrower or any of its Restricted Subsidiaries actually paid by
                                  or on behalf of, or accrued by, such Person or any of its subsidiaries; provided that such
                                  payment is permitted under this Agreement;

                                            (xii)    any Charge attributable to the undertaking and/or implementation of new
                                  initiatives, business optimization activities, cost savings initiative s, cost rationaliz ation
                                  programs, operating expense reductions and/or synergies and/or sim ilar initiatives and/or
                                  programs (including in connection w ith any integration, restructuring or transition, any
                                  reconstruction, decommissioning, recommissioning or reconfiguration of fixed assets for
                                  alternative uses, any facility opening and/or pre-opening, any inventory optimization program
                                  and/or any curtailment), any busine ss optimization Charge, any restructuring Charge
                                  (including any Charge relating lo any lax restructuring) , any Charge re lating lo the closure or
                                  consolidation of any facility (inc luding severance , rent termination costs, moving costs and
                                  legal costs), any system s impleme ntation Charge, any severance Charge, any Charge relating
                                  to entry into a new market, any Charge relating to any strategic initiative, any signing Charge,
                                  any retention or completion bonus, any expansion and/or relocation Charge, any Charge
                                  associated with any modification to any pension and post-retirement employee benefit plan,
                                  any software deve lopment Charge , any Charge associated with new systems de sign, any
                                  implementation Charge, any project startup Charge, any Charge in connection with new
                                  operations, any Charge in connection w ith unused warehouse space or manufacturing
                                  facilities, any Charge relating to a new contract, any consulting Charge and/or any corporate
                                  development Charge; provided, that the amount of Charges added back in reliance on this
                                  clause (c)(xii) in any period may not exceed (x) 25.0% of Consolidated A djusted EBITDA for
                                  such period (calculated (A) before giving effect to such add-back or adjustments pursuant to
                                  this clause (c)(xii) and (B) w ithout giving effect to any cap applicable to clause (e) be low)
                                  plus (y) Charges incurred in connection with the integration of the " Serta" and " Simmons"
                                  businesses; plus

                                            (xiii)  any Charge incurred or accrued in connection with any single or one-time
                                  event, including in conne ction with (A) any acquisition or similar Investment consummated
                                  afte r the Closing Date and/or (B) the closing, consolidation or reconfiguration of any facility
                                  during such period; plus

                               (d)      to the extent not included in Consolidated Net Income for such period, cash actually
                       received (or any netting arrangement resulting in reduce d cash expenditures) during such period so
                       long as the non-cash income or gain was deducted in the calculation of Consolidated Adjusted
                       EBITDA (including any component definition) pursuant to clause (f) below for such pe riod or any
                       previous period and not added back; plus

                                 (e)     the full pro fonna " run rate" cost savings, ope rating expense reductions, operational
                       improvements and synergies (collectively, ''Expected Cost Savings" ) (net of actual amounts realized)
                       that are reasonably identifiable and factually supportable (in the good faith determination of such
                       Person, as certified by a Responsible Officer of such Person in the Compliance Certificate required by
                       Section 5.0l(c) to be delivered in connection w ith the financial statements for such period) related to
                       (A) the Transactions, (B) the integration of the " Serta" and " Simmons" businesses and (C) any
                       Investm e nt, Disposition, operating improveme nt, restructuring, cost savings initiative, any similar
                       initiative (including the renegotiation of any contract and/or other arrangement) and/or specified
                       transaction (any such operating improvement, restmcturing, cost savings initiative and/or similar
                       initiative or specified transaction, a " Cost Saving Initiative" ), in each case, prior to, on or after the
                       Closing Date; provided, that with respect to Cost Saving Initiatives unde r this sub-clause (C) of this
                       clause (et (1) substantial steps toward the action necessary to realize any such cost savings, operating




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                       expense reduction, operating improvement and/or synergy added back in reliance on this sub-clause
                       (Q with respect to any Investment, Disposition, operating improveme nt, restructuring, cost savings
                       initiative, any similar initiative (including the renegotiation of any contract and/or other arrangement)
                       and/or specified transaction are expected to be taken within 18 months following the date on which
                       the relevant Person determines to take such action and (2) the amount of such Cost Saving Initiatives
                       added back in reliance on sub-clause (C) in any period shall not exceed an amount equal to (x) 25.0%
                       of Consolidated Adjusted EBITDA for such period (calculated (x) before giving effect to such add-
                       back or adjustments pursuant to this s ub-clause (C), (y) without giving effect to any cap applicable to
                       clause (c)(xii) above and (z) after giving effect to all other pennitted proforma adjustments) plus (y)
                       the amount of any pro forma adjustment that is consistent with Regulation S-X under the Securities
                       Act; plus

                                  (f)         [reserved]; minus

                               (g)      any amount w hich, in the determination of Consolidated Net Income for such period,
                       has been added for any non-cash income or non-cash gain, all as detennined in accordance with
                       GAAP (provided that if any non-cash income or non-cash gain represents an accrual or deferred
                       income in respect of potential cash items in any future period, such Person may determine not to
                       deduct the relevant non-cash gain or income in the then-current period); minus

                                (h)     the amount of any cash payment made during such period in respect of any noncash
                       accrual, reserve or other non-cash Charge that is accounted for in a prior period which was added to
                       Consolidated Net Income to determine Consolidated Adjusted EBJTDA for such prior period and
                       which does not otherwise reduce Consolidated Net Income for the current period.

                     Notwithstanding anything to the contrary herein, it is agreed that for the purpose of calculating the
             Total Leverage Ratio, the First Lien Leverage Ratio, the Secured Leverage Ratio and the Interest Coverage
             Ratio for any period that includes the Fiscal Quarters ended on or about June 30, 2016, March 31, 2016,
             December 31 , 2015 or September 30, 2015, (i) Consolidated Adjusted EBITDA for the Fiscal Quarter ended
             on or about June 30, 2016 shall be deemed to be $112,507,000, (ii) Consolidated Adjusted EBITDA for the
             Fiscal Quarter ended on or about March 31, 2016 shall be deemed to be $91,059,000, (iii) Consolidated
             Adjusted EBITDA for the Fiscal Quarter ended on or about December 3 1, 2015 shall be deemed to be
             $98,831,000 and (iv) Consolidated Adjusted EBITDA for the Fiscal Quarter ended on or about September 30,
             2015 shall be deemed to be $117,701 ,000 in each case, as adjusted on a Pro Fonua Basis, as applicable.

                      "Consolidated First Lien De bt" means, as to any Person at any date of determination, the aggregate
             principal amount of Consolidated Total Debt outstanding on such date that is secured by a First Priority Lien
             on the Collateral.

                      "Consolidated Interest Expense" means, with respect to any Person for any period, the sum of
             (a) consolidated total interest expense of such Person and its Restricted Subsidiaries for such period, whether
             paid or accrued and w hether or not capitalized, (including, without limitation (and without duplication),
             amortization of any debt issuance cost and/or original issue discount, any premium paid to obtain payment,
             financial assurance or similar bonds, any interest capitalized during construction, any non-cash interest
             payment, the interest component of any deferred payment obligation, the interest component of any payment
             under any Capital Lease (regardless of whether accounted for as interest expense under GAAP), any
             commission, discount and/or other fee or charge owed with respect to any letter of credit and/or bankers'
             acceptance, any fee and/or expense paid to the Administrative Agent in connection with its services here under,
             any other bank, administrative agency (or trustee) and/or financing fee and any cost associated with any surety
             bond in connection with financing activities (whether amortized or immediately expensed)) plus (b) any cash
             dividend paid or payable in respect of Disqualified Capital Stock during such period other than to such Person
             or any Loan Party, plus (c) any net losses or obligations arising from any Hedge Agreement and/or other
             derivative financial instrument issued by such Person for the benefit of such Person or its subsidiaries, in each




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             case detennined on a consolidated basis for such period. For purposes of this definition, interest in respect of
             any Capital Lease shall be deemed to accrue at an interest rate reasonably determined by such Person to be the
             rate of interest implicit in such Capital Lease in accordance with GAAP.

                      "Consolidated Net Income" means, in respect of any period and as determined for any Person (the
             " Subject Person") on a consolidated basis, an amount equal to the sum of net income, determined in
             accordance with GAAP, but excluding:

                               (a)      the income (or loss) of any Person (other than a Restricted Subsidiary of lhe Subject
                       Person) accounted for by the equity method of accounting and Unrestricted Subsidiaries, except to the
                       extent of dividends or distributions or other payments that are actually paid in Cash or Cash
                       Equivalents to the Subject Person or a Restricted Subsidiary thereof (or subsequently converted into
                       Cash or Cash Equivalents), whether paid in respect of income, return of capital or dividend for such
                       period or any prior periods,

                               (b)      any gain or Charge attributable to any asset Disposition (including asset retirement
                       costs and including any abandonments of assets) or of returned surplus assets outside the ordinary
                       course of business,

                               (c)        (i) any gain or Charge from (A) any extraordinary item (as determined in good faith
                       by such Person) and/or (B) any nonrecurring or unusual item (as determined in good faith by such
                       Person) and/or (ii) any Charge associated with and/or payment of any actual or prospective legal
                       settlement, fine, judgment or order,

                                (d)      any net gain or Charge with respect to (i) any disposed, abandoned, divested and/or
                       discontinued asset, property or operation (other than, at the option of the Top Borrower, any asset,
                       property or operation pending the disposal, abandonment, divestiture and/or termination thereof), (ii)
                       any disposal, abandonment, divestiture and/or discontinuation of any asset, property or operation
                       (other than, at the option of such Person, relating to assets or properties held for sale or pending the
                       divestiture or termination thereof) and/or (iii) any facility that has been closed during such period,

                               (e)     any net income or write-off or amortization made of any deferred financing cost
                       and/or premium paid or other Charge, in each case attributable to the early extmguishment of
                       Indebtedness (and the termination of any associated Hedge Agreement),

                                (f)     (i) any Charge incurred pursuant to any management equity plan, profits interest or
                       stock option plan or any other management or employee benefit plan or agreement, any pension plan
                       (including any post-employment benefit scheme which has been agreed with the relevant pension
                       trustee), any stock subscription or shareholder agreement, any employee benefit trust, any
                       employment benefit scheme or any similar equity plan or agreement (including any deferred
                       compensation arrangement), (ii) any Charge incurred in connection with the rollover, acceleration or
                       payout of Capital Stock held by management of Holdings (or any other Parent Company), the Top
                       Borrower and/or any Restricted Subsidiary, in each case, to the extent that any cash Charge is funded
                       with net cash proceeds contributed to relevant Person as a capital contribution or as a result of the sale
                       or issuance of Qualified Capital Stock and (iii) any Charge consisting of a cost or expense incurred in
                       connection with all or any portion of the Specified Dividend,

                                (g)      any Charge that is established, adjusted and/or incurred, as applicable, (i) within 12
                       months after the Closing Date that is required to be established, adjusted or incurred, as applicable, as
                       a result of the Transactions in accordance with GAAP, (ii) within 12 months after the closing of any
                       other acquisition that is required to be established, adjusted or incurred, as applicable, as a result of
                       such acquisition in accordance with GAAP or (iii) as a result of any change in, or the adoption or
                       modification of, accounting principles and/or policies in accordance with GAAP,




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                                 (h)     (i) the effects of adjustments (including the effects of such adjustments pushed down
                       to the relevant Person and its subsidiaries) in component amounts required or permitted by GAAP
                       (including in the inventory, property and equipment, lease, rights fee arrangements, software,
                       goodwill, intangible asset, in-process research and development, deferred revenue, advanced billing
                       and debt line items thereof), resulting from the application of purchase accounting in relation to the
                       Transactions or any consummated acquisition or recapitalization accounting or the amortization or
                       write-off of any amounts thereof, net of Taxes, and (ii) the cumulative effect of changes (effected
                       through cumulative effect adjustment or retroactive application) in, or the adoption or modification of,
                       accounting principles or policies made in such period in accordance with GAAP which affect
                       Consolidated Net Income (except that, if the Top Borrower determines in good faith that the
                       cumulative effects thereof are not material to the interests of the Lenders, the effects of any change,
                       adoption or modification of any such principles or policies may be included in any subsequent period
                       after the Fiscal Quarter in ·which such change, adoption or modification was made),

                                  (i)         [Reserved],

                                (i)     solely for the purpose of calculating Excess Cash Flow, the income or loss of any
                       Person accrued prior to the date on which such Person becomes a Restricted Subsidiary of such Person
                       or is merged into or consolidated with such Person or any Restricted Subsidiary of such Person or the
                       date that such other Person' s assets are acquired by such Person or any Restricted Subsidiary of such
                       Person,

                                (k)      (i) any realized or unrealized gain or loss in respect of (A) any obligation under any
                       Hedge Agreement as determined in accordance with GAAP and/or (B) any other derivative instrument
                       pursuant to, in the case of this clause (B), Financial Accounting Standards Board's Accounting
                       Standards Codification No. 815-Derivatives and Hedging, (ii) any realized or unrealized foreign
                       currency exchange gain or loss (including any currency re-measurement of Indebtedness, any net gain
                       or loss resulting from Hedge Agreements for currency exchange risk resulting from any intercompany
                       Inde btedness, any foreign currency translation or transaction or any other currency-related risk);
                       provided, that notwithstanding anything to the contrary herein, any realized gain or loss in respect of
                       any Designated Operational FX Hedge shall be included in the calculation of Consolidated Net
                       Income, and

                                (1)     any deferred Tax expense associated with any tax deduction or net operating loss
                       arising as a result of the Transactions, or the release of any valuation allowance related to any such
                       item.

                     "Consolidated Secured Debt" means, as to any Person at any date of determination, the aggregate
             principal amount of Consolidated Total Debt outstanding on such date that is secured by a Lien on the
             Collateral.

                      "Consolidated Total Assets" means, at any date, all amounts that would, in confonnity w ith GAAP, be
             set forth opposite the caption " total assets" (or any like caption) on a consolidated balance sheet of the
             applicable Person at such date.

                      "Consolidated Total Debt" means, as to any Person at any date of determination, the aggregate
             principal amount of all third party debt for borrowed money (including LC Disbursements (as defined in the
             ABL Credit Agreement) that have not been reimbursed within three Business Days and the outstanding
             principal balance of all Indebtedness of such Person represented by notes, bonds and similar instmments and
             excluding, for the avoidance of doubt, undrawn letters of credit) and Capital Leases and purchase money
             Indebtedness, as such amount may be adjusted to reflect the effect (as detennined by the Top Borrower in good
             faith) of any Debt FX Hedge; provided that " Consolidated Total Debt" shall be calculated (i) net of the
             Unrestricted Cash Amount, and (ii) excluding any obligation, liability or indebtedness of such Person if, upon




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             or prior to the maturity thereof, such Person has irrevocably deposited with the proper Person in trust or
             escrow the necessary funds (or evidences of inde btedness) for the payment, redemption or satisfaction of such
             obligation, liability or indebtedness, and thereafter such funds and evidences of such obligation, liability or
             indebtedness or other security so deposited are not included in the calculation of the Unrestricted Cash
             Amount.

                     "Consolidated Working Capital" means, as at any date of detenuination, the excess of Current Assets
             over Current Liabilities.

                      "Contractual Obligation" means, as applied to any Person, any provision of any Security issued by
             that Person or of any indentu re, mortgage, deed of trust, contract, unde rtaking, agreement or other instrument
             to which that Person is a party or by which it or any of its properties is bound or to which it or any of its
             properties is subject.

                     "Control" means the possession, directly or indirectly, of the power to direct or cause the direction of
             the management or policies of a Person, whether through the ability to exercise voting power, by contract or
             otherwise. "Contrnlling" and "Controlled" have meanings correlative thereto.

                       "Copyright" means the following: (a) all copyrights, rights and interests in copyrights, works
             protectable by copyright whether published or unpublished, copyright registrations and copyright applications;
             (b) all renewals of any of the foregoing; (c) all income, royalties, damages, and payments now or hereafter due
             and/or payable under any of the foregoing, including, without limitation, damages or payments for past or
             future infringements for any of the foregoing; (d) the right to sue for past, present, and future infringements of
             any of the foregoing; and (e) all rights corresponding to any of the foregoing.

                     "Cost Saving Initiative" has the meaning assigned lo such term in the definition of " Consolidated
             Adjusted EBITDA" .

                    "Cure Amount" has the meaning assigned to such term in the ABL Credit Agreement (or any other
             document governing any ABL Facility.

                      "Current Assets" means, at any date, all assets of the Top Borrower and its Restricted Subsidiaries
             which under GAAP would be classified as current assets (excluding any (i) cash or Cash Equivalents
             (including cash and Cash Equivalents held on deposit for third parties by the Top Borrower and/or any
             Restricted Subsidiary), (ii) permitted loans to third parties, (iii) deferred bank fees and derivative financial
             instruments related to Indebtedness, ( iv) the current portion of current and deferred Taxes and (v) management
             fees receivables).

                       "Current Liabilities" means, at any date, all liabilities of the Top Borrower and its Restricted
             Subsidiaries which under GAAP would be classified as current liabilities, other than (i) current maturities of
             long term debt, (ii) outstanding revolving loans and letter of credit exposure, (iii) accruals of Consolidated
             Interest Expense (excluding Consolidated Interest Expense that is due and unpaid), (iv) obligations in respect
             of derivative fmancial instruments related to Indebtedness, (v) the current portion of current and deferred
             Taxes, (vi) liabilities in respect of unpaid eamouts or unpaid acquisition, disposition or refinancing related
             expenses and deferred purchase price holdbacks, (vii) accruals relating to restructuring reserves, (viii)
             liabilities in respect of funds of third parties on deposit with the Top Borrower and/or any Restricted
             Subsidiary, (ix) management fees payables, (x) the current portion of any Capital Lease Obligation, (xi) the
             current portion of any other long term liability for Indebtedness, (xii) accrued settlement costs, (xiii) non-cash
             compensation costs and expenses and (xiv) any other liabilities that are not Indebtedness and will not be settled
             in Cash or Cash Equivalents during the next succeeding twelve month period after such date.

                      "Customary Bridge Loans" means customary bridge loans with a maturity date of not longer than one
             year; provided that (a) the Weighted Average Life to Maturity of any loan, note, security or other Indebtedness




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             which is exchanged for or othenvise replaces such bridge loans is not shorter than the Weighted Average Life
             to Maturity of any Class of then-existing Loans and (b) the final maturity date of any loan, note, security or
             other Indebtedness which is exchanged for or otherwise replaces such bridge loans is not earlier than the Latest
             Maturity Date on the date of the issuance or incurrence thereof.

                       "Davm Intermediate" has the meaning assigned to such term in the preamble.

                      "Debt Fund Affiliate" means any Affiliate of any of Advent, Ares and/or OTPP (other than a natural
             Person) that is a bona fide debt fund or investment vehicle (in each case with one or more bona fide investors
             to whom its managers owe fiduciary duties independent of their fiduciary duties to Advent, Ares and/or OTPP,
             as applicable) that is primarily engaged in, or advises funds or other investment vehicles that are engaged in,
             making, purchasing, holding or otherwise investing in commercial loans, bonds and similar extensions of
             credit or securities in the ordinary course.

                      "Debt FX Hedge" means any Hedge Agreement entered into for the purpose of hedging currency-
             related risks in respect of any Indebtedness of the type described in the definition of "Consolidated Total
             Debt" .

                      "Debtor Relief Laws" means the Bankruptcy Code of the U.S., and all other liquidation,
             conservatorship, bankruptcy, general assignment for the benefit of creditors, moratorium, rearrangement,
             receivership, insolvency, reorganization or similar debtor relief laws of the U.S. or other applicable
             jurisdictions from time to time in effect and affecting the rights of creditors generally.

                       "Declined Proceeds" has the meaning assigned to such tenn in Section 2.11 (b)(v).

                     "Default" means any event or condition which upon notice, lapse of time or both would become an
             Event of Default.

                       "Defaulting Lender" means any Person that has (a) defaulted in (or is otherwise unable to perform) its
             obligations under this Agreement, including to make a Loan within two Business Days of the date required to
             be made by it hereunder, (b) notified the Administrative Agent or the Top Borrower in writing that it does not
             intend to satisfy or perform any such obligation or has made a public statement to the effect that it does not
             intend to comply with its funding or other obligations under this Agreement or under agreements in which it
             commits to extend credit generally (unless such wTiting indicates that such position is based on such Person's
             good faith determination that a condition precedent (specifically identified and including the particular default,
              if any) to funding a Loan cannot be satisfied), (c) failed, within two Business Days after the request of the
             Adm inistrative Agent or the Top Borrower, to confirm in writing that it will comply with the tenns of this
             Agreement relating to its obligations to fund prospective Loans; provided that such Person shall cease to be a
             Defaulting Lender pursuant to this clause (c) upon receipt of such wTitten confirmation by the Administrative
             Agent, (d) become (or any parent company thereof has become) insolvent or been determined by any
             Governmental Authority having regulatory authority over such Person or its assets, to be insolvent, or the
             assets or management of which has been taken over by any Governmental Authority or (e)(i) become (or any
             parent company thereof has become) the subject of (A) a bankmptcy or insolvency proceeding or (B) a Bail-In
             Action, (ii) has had a receiver, conservator, trustee, administrator, assignee for the benefit of creditors or
             similar Person charged with reorganization or liquidation of its business or custodian, appointed for it, or (iii)
             has taken any action in furtherance of, or indicating its consent to, approval of or acquiescence in, any such
             proceeding or appointment, unless in the case of any Person subject to this clause (e). the Top Borrower and
             the Administrative Agent have each determined that such Person intends, and has all approvals required to
             enable it (in fonn and substance satisfactory to the Top Borrower and the Administrative Agent), to continue to
             perform its obligations hereunder; provided that no Person shall be deemed to be a Defaulting Lender solely by
             virtue of the ownership or acquisition of any Capital Stock in such Lender or its parent by any Governmental
             Authority; provided that such action does not result in or provide such Lender with immunity from the
             jurisdiction of courts within the U.S. or from the enforcement of judgments or writs of attachment on its assets




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             or permit such Person (or such Governmental Authority) to reject, repudiate, disavow or disaffinu any contract
             or agreement to which such Person is a party.

                     "Deposit Account" means a demand, time, savings, passbook or like account with a bank, savings and
             loan association, credit union or like organization, other than an account evidenced by a negotiable certificate
             of deposit.

                      "Derivative Transaction" means (a) any interest-rate transaction, including any interest-rate swap,
             basis swap, forward rate agreement, interest rate option (including a cap, collar or fl oor), and any other
             instrument linked to interest rates that gives rise to similar credit risks (including when-issued securities and
             forward deposits accepted), (b) any exchange-rate transaction, including any cross-currency interest-rate swap,
             any fon¥ard foreign-exchange contract, any currency option, and any other instrument linked to exchange rates
             that gives rise to similar credit risks, (c) any equity derivative transaction, including any equity-linked swap,
             any equity-linked option, any forward equity-linked contract, and any other instrnment linked to equities that
             gives rise to similar credit risk and (d) any commodity (including precious metal) derivative transaction,
             including any commodity -linked swap, any commodity-linked option, any forward commodity -linked contract,
             and any other instrument linked to commodities that gives rise to similar credit risks; provided, that no
             phantom stock or similar plan providing for payments only on account of services provided by current or
             former directors, officers, employees, members of management, managers or consultants of the Top Borrower
             or its subsidiaries shall be a Derivative Transaction.

                      "Designated Non-Cash Consideration" means the fair market value (as determined by the Top
             Borrower in good faith) of non-Cash consideration received by the Top Borrower or any Restricted Subsidiary
             in connection with any Disposition pursuant to Section 6.07(h) and/or Section 6.08 that is designated as
             Designated Non-Cash Consideration pursuant to a certificate of a Responsible Officer of the Top Borrower,
             setting forth the basis of such valuation (which amount will be reduced by the amount of Cash or Cash
             Equivalents received in connection with a subsequent sale or conversion of such Designated Non-Cash
             Consideration to Cash or Cash Equivalents).

                     "Designated Operational FX Hedge" means any Hedge Agreement entered into for the purpose of
             hedging currency-related risks in respect of the revenues, cash flows or other balance sheet items of the Top
             Borrower, any of its subsidiaries and designated at the time entered into (or on or prior to the Closing Date,
             with respect to any Hedge Agreement entered into on or prior lo the Closing Date) as a Designated Operational
             FX Hedge by the Top Borrower in a writing delivered to the Administrative Agent.

                     "Designated Sale and Lease-Back Transaction" means a sale and leaseback transaction relating to the
             property owned by National Bedding located at 2600 Forbs Avenue, Hoffman Estates, Illinois 60192.

                       "Disposition" or "Dispose" means the sale, lease, sublease, or other disposition of any property of any
             Person.

                      "Disqualified Capital Stock" means any Capital Stock which, by its terms (or by the terms of any
             security into which it is convertible or for which it is exchangeable), or upon the happening of any event, (a)
             matures (excluding any maturity as the result of an optional redemption by the issuer thereof) or is mandatorily
             redeemable (other than for Qualified Capital Stock), pursuant to a sinking fund obligation or othen¥ise, or is
             redeemable at the option of the holder thereof (other than for Qualified Capital Stock), in whole or in part, on
             or prior to 91 days following the Latest Maturity Date at the time such Capital Stock is issued (it being
             understood that if any such redemption is in part, only such part coming into effect prior to 91 days following
             the Latest Maturity Date shall constitute Disqualified Capital Stock), (b) is or becomes convertible into or
             exchangeable (unless at the sole option of the issuer thereof) for (i) debt securities or (ii) any Capital Stock that
             would constitute Disqualified Capital Stock, in each case at any time on or prior to 91 days fo llowing the
             Latest Maturity Date at the time such Capital Stock is issued, (c) contains any mandatory repurchase obligation
             or any other repurchase obligation at the option of the holder thereof (other than for Qualified Capital Stock),



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             in whole or in part, which may come into effect prior to 9 1 days following the Latest Maturity Date at the time
             such Capital Stock is issued (it being understood that if any such repurchase obligation is in part, only such
             part coming into effect prior to 91 days following the Latest Maturity Date shall constitute Disqualified Capital
             Stock) or (d) provides for the scheduled payments of dividends in Cash on or prior to 91 days following the
             Latest Maturity Date at the time such Capital Stock is issued; provided that any Capital Stock that would not
             constitute Disqualified Capital Stock but for provisions thereof giving holders thereof (or the holders of any
             security into or for which such Capital Stock is convertible, exchangeable or exercisable) the right to require
             the issuer thereof to redeem such Capital Stock upon the occurrence of any change of contrnl, Qualify ing IPO
             or any Disposition occurring prior to 91 days following the Latest Maturity Date at the time such Capital Stock
             is issued shall not constitute Disqualified Capital Stock if such Capital Stock provides that the issuer thereof
             will not redeem any such Capital Stock pursuant to such provisions prior to the Termination Date.

                      Notwithstanding the preceding sentence, (A) if such Capital Stock is issued pursuant to any plan for
             the benefit of directors, officers, employees, members of management, managers or consultants or by any such
             plan to such directors, officers, employees, members of management, managers or consultants, in each case in
             the ordinary course of business of Holdings, the Top Borrower or any Restricted Subsidiary, such Capital
             Stock shall not constitute Disqualified Capital Stock solely because it may be required to be repurchased by
             the issuer thereof in order to satisfy applicable statutory or regulatory obligations, and (B) no Capital Stock
             held by any future, present or former employee, director, officer, manager, member of management or
             consultant (or their respective Affiliates or Immediate Family Members) of the Top Borrower (or any Parent
             Company or any subsidiary) shall be considered Disqualified Capital Stock because such stock is redeemable
             or subject to repurchase purs uant to any management equity s ubscription agreement, stock option, stock
             appreciation right or other stock award agreement, stock ownership plan, put agreement, stockholder
             agreement or similar agreement that may be in effect from time to time.

                       "Disqualified Institution" means:

                                 (a)       (i) any Person identified in writing to the Left Lead Arranger on or prior October 6,
                       2016, (ii) any Person identified in writing (and reasonably acceptable) to the Left Lead Arranger after
                       October 6, 2015 and on or prior to the Closing Date (iii) any Affiliate of any Person described in
                       clause (i) or (ill above that is reasonably identifiable as an Affiliate of such Person on the basis of such
                       Affiliate' s name and (iv) any other Affiliate of any Person described in clauses (i). (ill or (iii) above
                       that is identified in a written notice to the Left Lead Arranger (if prior to the Closing Date) or the
                       Administrative Agent (if after the Closing Date) (each such person, a " Disqualified Lending
                       Institution"),

                                 (b)    any Affiliate of any Arranger (or director (or equivalent manager), officer or
                       employee of any Arranger or any Affiliate thereof) that is engaged as a principal primarily in private
                       equity , mezzanine financing or venture capital, or

                                (c)       (i) any Person that is or becomes a Company Competitor and is identified as such in
                       writing to the Left Lead Arranger (if prior to the Closing Date) or the Administrative Agent (if after
                       the Closing Date), (ii) any Affiliate of any Person described in clause (i) above ( other than any
                       Affiliate that is a Bona Fide Debt Fund) that is reasonably identifiable as an Affiliate of such person
                       on the basis of such Affiliate's name and (iii) any other Affiliate of any Person described in clauses (i)
                       and/or (ill above that is identified in a wTitten notice to the Left Lead Arranger (if prior to the Closing
                       Date) or to the Administrative Agent (if after the Closing Date) (it being understood and agreed that
                       no Bona Fide Debt Fund may be designated as Disqualified Institution pursuant to this clause (iii)).

             it being understood and agreed that no written notice delivered pursuant to clause (a)(ii). ~     , (illi) and/or
             (c)(iii) above shall apply retroactively to disqualify any Person that has previously acquired an assignment or
             participation interest in any Loan.




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                     "Disqualified Lending Institution" has the meamng assigned to such term m the definition of
             "Disqualified Institution" .

                       "Disqualified Person" has the meaning assigned to such term in Section 9.05(f)(ii).

                       "Dollars" or "i " refers to lawful money of the U.S.

                      "Domestic Subsidiary" means any Restricted Subsidiary incorporated or organized under the laws of
             the U.S., any state thereof or the District of Columbia.

                       "Dutch Auction" has the meaning assigned to such tem1 on Schedule 1.0l(b).

                       "ECF Prepavment Amount'' has the meaning assigned to such tenu in Section 2. l l(b)(i).

                       "EEA Financial Institution" means (a) any credit institution or investment firm established in any
             EEA Member Countty which is subject to the supervision of an EEA Resolution Authority, (b) any entity
             established in an EEA Member Country which is a parent of an institution described in clause (a) of this
             definition, or (c) any financial institution established in an EEA Member Country which is a subsidiary of an
             institution described in clauses (a) or {hl of this definition and is subject to consolidated supervision with its
             parent.

                     "EEA Member Country" means any of the member states of the European Union, Iceland,
             Liechtenstein, and Norway.

                      "EEA Resolution Authoritv" means any public administrative authority or any person entrusted with
             public administrative authority of any EEA Member Country (including any delegee) having responsibility for
             the resolution of any EEA Financial Institution.

                      "Effective Yield" means, as to any Indebtedness, the effective y ield applicable thereto calculated by
             the Administrative Agent in consultation with the Top Borrower in a manner consistent with generally
             accepted financial practices, taking into account (a) interest rate margins, (b) interest rate floors (subject to the
             proviso set forth below), (c) any amendment to the relevant interest rate margins and interest rate floors prior
             to the applicable date of determination and (d) original issue discount and upfront or similar fees (based on an
             assumed four-year average life to maturity or lesser remaining average life to maturity), but excluding (i) any
             arrangement, commitment, structuring, underwriting, ticking, unused line fees and/or amendment fees
             (regardless of whether any such fees are paid to or shared in whole or in part with any lender) and (ii) any
             other fee that is not paid directly by any Borrower generally to all relevant lenders ratably: provided, however,
             that (A) to the extent that the Published LIBO Rate (with an Interest Period of three months) or Alternate Base
             Rate (without giving effect to any floor specified in the definition thereof) is less than any floor applicable to
             the Loans in respect of which the Effective Yield is being calculated on the date on which the Effective Yield
             is determined, the amount of the resulting difference will be deemed added to the interest rate margin
             applicable to the relevant Indebtedness for purposes of calculating the Effective Yield and (B) to the extent that
             the Published LIBO Rate (for a period of three months) or Alternate Base Rate (without giving effect to any
             floor specified in the definition thereof:) is greater than any applicable floor on the date on which the Effective
             Yield is determined, the floor will be disregarded in calculating the Effective Yield.

                       "Eligible Assignee" means (a) any Lender, (b) any commercial bank, insurance company, or finance
             company, financial institution, any fund that invests in loans or any other "accredited investor" (as defined in
             Regulation D of the Securities Act), (c) any Affiliate of any Lender, (d) any Approved Fund of any Lender and
             (e) to the extent permitted under Section 9.05(g), any Affiliated Lender or any Debt Fund Affiliate; provided
             that in any event, ''Eligible Assignee" shall not include (i) any natural person, (ii) any Disqualified Institution
             or (iii) except as permitted under Section 9.05(g), the Top Borrower or any of its Affiliates.




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                      "Environment" means ambient air, indoor air, surface water, groundwater, drinking water, land
             surface and subsurface strata & natural resources such as wetlands, flora and fauna.

                      "Environmental Claim" means any investigation, notice, notice of violation, claim, action, suit,
             proceeding, demand, abatement order or other order or directive (conditional or othe,wise), by any
             Governmental Authority or any other Person, arising (a) pursuant to or in connection with any actual or alleged
             violation of any Environmental Law; (b) in connection with any Hazardous Material or any actual or alleged
             Hazardous Materials Activity; or (c) in connection with any actual or alleged damage, injury, threat or harm to
             the Environment.

                      "Environmental Laws" means any and all current or future applicable foreign or domestic, federal or
             state (or any subdivision of either of them), statutes, ordinances, orders, rules, regulations, judgments,
             Governmental Authorizations, or any other applicable requirements of Governmental Authorities and the
             common law relating to (a) environmental matters, including those relating to any Hazardous Materials
             Activity; or (b) the generation, use, storage, transportation or disposal of or exposure to Hazardous Materials,
             in any manner applicable to the Top Borrower or any of its Restricted Subsidiaries or any Facility.

                     "Environmental Liability" means any liability, contingent or otherwise (including any liability for
             damages, costs of environmental remediation, fines, penalties or indemnities), directly or indirectly resulting
             from or based upon (a) any actual or alleged violation of any Environmental Law, (b) the generation, use,
             handling, transportation, storage, treatment or disposal of any Hazardous Materials, (c) exposure to any
             Hazardous Materials, (d) the Release or threatened Release of any Hazardous Materials into the Environment
             or (e) any contract, agreement or other consensual arrangement pursuant to which liability is assumed or
             imposed with respect to any of the foregoing.

                       "ERISA" means the Employee Retirement Income Security Act of 1974.

                     "ERISA Affiliate" means any trade or business (whet!J.er or not incorporated) t!J.at is under common
             control with the Top Borrower or any Restricted Subsidiary and is treated as a single employer within the
             meaning of Section 414 of the Code or Section 400 l of ERISA.

                       "ERISA Event" means (a) a Reportable Event with respect to a Pension Plan; (b) a withdrawal by the
             Top Borrower or any Restricted Subsidiary or any ERISA Affiliate from a Pension Plan subject to
             Section 4063 of ERISA during a plan year in which it was a substantial employer (as defined in
             Section 4001(a)(2) of ERISA) or a cessation of operations at any facility of the Top Borrower or any
             Restricted Subsidiary or any ERISA Affiliate as described in Section 4062(e) ofERlSA, in each case, resulting
             in liability pursuant to Section 4063 of ERISA; (c) a complete or partial withdrawal by the Top Borrower or
             any Restricted Subsidiary or any ERISA Affiliate from a Multiemployer Plan resulting in the imposition of
             Withdrawal Liability on the Top Borrower or any Restricted Subsidiary or any ERISA Affiliate, notification of
             t!J.e Top Borrower or any Restricted Subsidiary or any ERISA Affiliate concerning the imposition of
             Withdrawal Liability or notification that a Multiemployer Plan is "insolvent" within the meaning of
             Section 4245 of ERISA or is in "reorganization" within the meaning of Section 4241 of ERISA; (d) the filing
             of a notice of intent to terminate a Pension Plan under Section 4041(c) of ERISA, the treatment of a Pension
             Plan amendment as a termination under Section 404 l(c) of ERISA, the commencement of proceedings by the
             PBGC to terminate a Pension Plan or the receipt by the Top Borrower or any Restricted Subsidiary or any
             ERISA Affiliate of notice of the treatment of a Multiemployer Plan amendment as a termination under
             Section 4041A of ERISA or of notice of t!J.e commencement of proceedings by t!J.e PBGC to terminate a
             Multiemployer Plan; (e) the occurrence of an event or condition which constitutes grounds under Section 4042
             of ERISA for the termination of, or the appoi11tment of a trustee to administer, any Pension Plan or
             Multiemployer Plan; (f) the imposition of any liability under Title IV of ERISA, other than for PBGC
             premiums due but not delinquent under Section 4007 of ERISA, upon the Top Borrower or any Restricted
             Subsidiary or any ERISA Affiliate, with respect to t!J.e termination of any Pension Plan; or (g) the conditions
             for imposition of a Lien under Section 303(k) of ERISA have been met with respect to any Pension Plan.



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                    "EU Bail-In Legislation Schedule" means the EU Bail-In Legislation Schedule published by the Loan
             Market Association (or any successor person), as in effect from time to time.

                       "Event of Default" has the meaning assigned to such term in Article 7.

                       " Excess Cash Flow " means, for any Calculation Period, any amount (if positive) equal to:

                                (a)     Consolidated Adjusted EBITDA for such Calculation Period (without giving effect to
                       clauses (b). ~ and (g} of the definition thereof, the amounts added back in re liance on w hich shall be
                       deducted in detenuining Excess Cash Flow): plus

                               (b)     any extraordinary, unusual or non-recurring cash gain during such Calculation Period
                       (whether or not accrued in such Calculation Period) to the extent not otherwise included in
                       Consolidated Adjusted EBITDA (including any component definition used therein); plus

                                (c)      any foreign currency exchange gain actually realized and received in cash in U.S.
                       Dollars (inc luding any currency re-measurement of Indebtedness, any ne t gain or loss resulting from
                       Hedge Agreements for c urrency exchange risk resulting from any intercompany Indebtedness, any
                       foreign currency trans lation or transaction or any other currency-related risk), net of any loss from
                       foreign currency translation; plus

                                  (d)         reserved; plus

                                (e)     an amount equal to all Cash received for such period on account of any net non-Cash
                       gain or income from any Investment deducted in a previous period pursuant to clause (s)(ii) of this
                       definition; plus

                                (f)      the decrease, if any, in Consolidated Working Capital from the first day to the last
                       day of such Calculation Period (or, in the case of any Excess Cash Flow Interim Pe riod, from the first
                       day of such Excess Cash Flow Interim Period to the last day of the most recently e nded Test Period),
                       but excluding any such decrease in Consolidated Working Capital aris ing from (i) the acquisition or
                       Disposition of any Person by the Top Borrowe r or any Restricted Subsidiary, (ii) the reclassification
                       during such period of current assets to long term assets and current liabilities to long term liabilities,
                       (iii) the application of purchase and/or recapitalization accounting and/or (iv) the effect of any
                       fluctuation in the amount of accrued and contingent obligations unde r any Hedge Agreement; minus

                                (g)     the amount, if any, which, in the determination of Consolidated Adjusted EBITDA
                       (including any component definitions used therein) for such Calculation Period, has been included in
                       respect of income or gain from any Disposition outside of the ordinary course of business (including
                       Dispositions constituting covered losses or taking of assets referre d to in the definition of "Net
                       Insurance/Condemnation Proceeds") of the Top Borrower and/or any Restricted Subsidiary; minus

                                  (h)         cash payments actually made in respect of the follow ing (without duplication):

                                           (i)     any Investment permitted by Section 6.06 (other than Investments (i) in
                                  Cash or Cash Equivalents, (ii) in any Loan Party or (iii) made pursuant to Section 6.06(r)(i))
                                  and/or any Restricted Payment permitted by Section 6.04(a) (other than pursuant to
                                  Section 6.04(a)(iii)(A)) and actually made in cash during such Calculation Period or, at the
                                  option of the Top Borrower, made prior to the date the Top Borrower is required to make a
                                  payment of Excess Cash Flow in respect of such Excess Cash Flow Period, (A) except to the
                                  extent the relevant Investment and/or Restricted Payment is financed w ith the proceeds of
                                  long term funded Indebtedness (other than revolving Indebtedness) and (B) without
                                  duplication of any amounts deducted from Excess Cash Flow for a prior Calculation Period;




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                                          (ii)     any realized foreign currency exchange losses actually paid or payable in
                                  cash (including any currency re-measurement of Indebtedness, any net gain or loss resulting
                                  from Hedge Agreements for currency exchange risk resulting from any intercompany
                                  Indebtedness, any foreign currency translation or transaction or any other currency-related
                                  risk);

                                          (iii)  the aggregate amount of any extraordinary, unusual or non-recurring cash
                                  Charge (whether or not incurre d in such Calculation Period) excluded in calculating
                                  Consolidated Adjusted EBITDA (including any component definitions used there in);

                                           (iv)    consolidated Capital Expenditures actually made in cash during such
                                  Calculation Period or, at the option of the Top Borrower, in the case of any Excess Cash Flow
                                  Period, made prior to the date the Top Borrower is required to make a payment of Excess
                                  Cash Flow in respect of such Excess Cash Flow Period, (A) except to the exte nt financed w ith
                                  the proceeds of long term funded Indebtedness (other than revolvi11g Indebte dness) and (B)
                                  without duplication of any amounts deducted from Excess Cash Flow for a prior Calculation
                                  Pe riod;

                                           (v)     any long-term liability, excluding the current portion of any such liability
                                  (other than Indebtedness) of the Top Borrower and/or any Restricted Subsidiary;

                                          (vi)   any cash Charge added back in calculating Consolidated Adjusted EBITDA
                                  pursuant to clause (c) of the definition thereof or excluded from the calculation of
                                  Consolidated Net Income in accordance w ith the definition thereof;

                                          (vii)   the aggregate amount of expenditures actually made by the Top Borrowe r
                                  and/or any Restricted Subsidiary during such Fiscal Year (including any expenditure for the
                                  payment of financing fees) to the extent that such expenditures are not expensed; minus

                               (i)       the aggregate principal amount of (i) all optional prepayments of Indebtedness (other
                       than any optional prepayment of (A) Indebtedness under the Loan Documents, any loan under the
                       First Lien Facility (including any Additional Term Loan (as defined in the First Lien Credit
                       Agreement or any other document governing any First Lien Facility)) prepaid pursuant to
                       Section 2.11 (a) of the First Lien Credit Agreement (or any equivalent provision under any other
                       document governing any First Lien Facility) prior to such date and/or any Incremental Equivalent
                       Debt and/or Replacement Debt that is prepaid, repurchased, redeemed or otherwise retired prior to
                       such date, in each case, that is deducted in calculating the amount of any Excess Cash Flow payment
                       in accordance with Section 2. I I (b)(i) or (B) revolving Indebtedness except to the extent any related
                       commitment is permanently reduced in connection w ith such repayment), (ii) all mandat01y
                       prepayments and scheduled repayments of Indebtedness during such Calculation Period and (iii) the
                       aggregate amount of any premium, make-whole or penally payment actually paid in cash by the Top
                       Borrower and/or any Restricted Subsidiary during such period that are required to be made in
                       connection w ith any prepayment of Indebtedness; minus

                               (i)      Consolidated Interest Expense actually paid or payable in cash by the Top Borrower
                       and/or any Restricted Subsidiary during such Calculation Period; minus

                               (k)      Taxes (inclusive of Taxes paid or payable under tax sharing agreements or
                       arrangements and/or in connection with any intercompany distribution) paid or payable by Borrower
                       and/or any Restric ted Subsidiary w ith respect to such Calculation Period; minus

                               (I)     the increase, if any, in Consolidated Working Capital from the first day to the last
                       day of such Calculation Period (or, in the case of any Excess Cash Flow Interim Period, from the first




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                       day of such Excess Cash Flow Interim Period to the last day of the most recently e nded Test Period),
                       but excluding any such increase in Consolidated Working Capital arising fro m ( i) the acquisition or
                       Disposition of any Person by the Top Borrower or any Restricted Subsidiary, (ii) the reclassification
                       during such period of current assets to long term assets and current liabilities to long term liabilities,
                       (iii) the application of purchase and/or recapitalization accounting and/or (iv) the effect of any
                       fluctuation in the amount of accrued and contingent obligations unde r any Hedge Agreement; minus

                               (m)       the amount of any Tax obligation of the Top Borrower and/or any Restricted
                       Subsidiary that is estimated in good faith by the Top Borrower as due and payable (but is not currently
                       due and payable) by the Top Borrower and/or any Restricted Subsidiary as a result of the repatriation
                       of any dividend or similar distribution of net income of any Foreign Subsidiary to the Top Borrower
                       or any Restricted Subsidiary; minus

                                (n)      without duplication of amounts deducted from Excess Cash Flow in respect of a prior
                       period, at the option of the Top Borrower, the aggregate consideration (i) required to be paid in Cash
                       by the Top Borrower or its Restricted Subsidiaries pursuant to binding contracts entered into prior to
                       or during such period relating to Capital Expenditures, acquis itions or Investme nts and Restricted
                       Payments described in clause (h)(i) above and/or (ii) othe1wise committed or budgeted to be made in
                       connection with Capital Expenditures, acquisitions or Investments and/or Restricted Payments
                       described in clause (h)(i) above (clauses (i) and (ill, the "Scheduled Consideration") (other than
                       Investme nts in (A) Cash and Cash Equivalents and (B) the Top Borrower or any of its Restricted
                       Subsidiaries) to be consummated or made during the period of four consecutive Fiscal Quarters of the
                       Top Borrower following the end of such period (except, in each case, to the extent financed w ith long
                       term funded Indebtedness (other than revolving Indebtedness)); provided that to the extent the
                       aggregate amount actually utilized to finance such Capital Expenditures, acquisitions or Investments
                       or Restricted Payments during such subsequent period of four consecutive Fiscal Quarters is less than
                       the Scheduled Conside ration, the amount of the resulting shortfall shall be added to the calculation of
                       Excess Cash Flow at the e nd of such subsequent period of four consecutive Fiscal Quarters; minus

                               (o)      amounts added to Consolidated Net Income, in each case to the extent paid in cash,
                       under clauses (h) of the definition of "Consolidated Adjusted EBITDA"; minus

                               (p)      cash payments (other than in respect of Taxes, w hich are governed by clause (k)
                       above) made during such Calculation Period for any liability the accrual of which in a prior
                       Calculation Period resulted in an increase in Excess Cash Flow in such prior period (provided that
                       there was no othe r deduction to Consolidated Adjusted EBITDA or Excess Cash Flow related to such
                       payment), except to the extent financed with long term funded Indebtedness (other than revolving
                       Indebtedness); minus

                                (q)     cash expenditures made in respect of any Hedge Agreement during such period to the
                       extent (i) not otherwise deducted in the calculation of Consolidated Net Income or Consolidated
                       Adjusted EBITDA and ( ii) not financed with long te rm funded Indebtedness (other than revolving
                       Indebtedness); minus

                                (r)     amounts paid in Cash (except to the extent financed with long term funded
                       Indebtedness (other than revolving Indebtedness)) during such period on account of (i) items that were
                       accounted for as non-Cash reductions of Consolidated Net Income or Consolidated Adjusted EBITDA
                       in a prior period and (ii) reserves or amounts established in purchase accounting to the extent such
                       reserves or amounts are added back to, or not deducted from, Consolidated Net Income; minus

                               (s)     an amount equal to the sum of (i) the aggregate ne t non-cash loss on any non-
                       ordinary course Disposition by the Top Borrower, any Restricted Subsidiary dur ing such period (other
                       than any Disposition among the Top Borrower, any Restricted Subsidiaries during such period) to the




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                       extent included in arriving at Consolidated Net Income and (ii) the aggregate net non-Cash gain or
                       income from any non-ordinary course Investment to the extent included in arriving at Consolidated
                       Adjusted EBITDA.

                      "Excess Cash Flow Interim Period" means, (a) during any Excess Cash Flow Period, any one, h:vo or
             three Fiscal Quarter period (i) commencing at the end of the immediately preceding Excess Cash Flow Period
             and (ii) ending on the last day of the most recently ended Fiscal Quarter (other than the last day of the Fiscal
             Year) during such Excess Cash Flow Period for which financial statements have been delivered pursuant to
             Section 5.0l(a) or (hl, as applicable, and (b) during the period from the Closing Date until the beginning of the
             first Excess Cash Flow Period, any period commencing on the first day of the Fiscal Quarter in which the
             Closing Date occurs and ending on the last day of the most recently ended Fiscal Quarter for which financial
             statements have been delivered pursuant to Section 5. 0 l(a) or (hl, as applicable.

                      "Excess Cash Flow Period" means each Fiscal Year of the Top Borrower, commencing with the Fiscal
             Year of the Top Borrower ending on or about December 31, 2017.

                    "Exchange Act" means the Securities Exchange Act of 1934 and the rules and regulations of the SEC
             promulgated thereunder.

                       "Excluded Assets" means each of the fo llowing:

                                 (a)       any asset the grant or perfection of a security interest in which would (i) be
                       prohibited by enforceable anti-assignment provisions set forth in any contract that is permitted or
                       otherwise not prohibited by the terms of this Agreement and is binding on such asset at the time of its
                       acquisition and not incurred in contemplation thereof (other than assets subject to Capital Leases and
                       purchase money financings), (ii) violate (after giving effect to applicable anti-assignment provisions
                       of the UCC or other applicable Requirements of Law) the terms of any contract relating to such asset
                       that is permitted or otherwise not prohibited by the terms of this Agreement and is binding on such
                       asset at the time of its acquisition and not incurred in contemplation thereof (other than in the case of
                       Capital Leases and purchase money financings), or (iii) trigger termination of any contract relating to
                       such asset that is permitted or otherwise not prohibited by the terms of this Agreement pursuant to any
                       "change of control" or similar provision (to the extent such contract is binding on such asset at the
                       time of its acquisition and not incurred in contemplation thereof); it being understood that the term
                       "Excluded Asset" shall not include proceeds or receivables arising out of any contract described in
                       this c lause (a) to the extent that the assignment of such proceeds or receivables is expressly deemed to
                       be effective under the UCC or other applicable Requirements of Law notwithstanding the relevant
                       prohibition, violation or termination right,

                                (b)      the Capital Stock of any (i) Captive Insurance Subsidiary, (ii) Unrestricted
                       Subsidiary, (iii) not-for-profit subsidiary and/or (iv) special purpose entity used for any permitted
                       securitization faci lity,

                                (c)      any intent-to-use (or similar) Trademark application prior to the filing and
                       acceptance of a " Statement of Use", "Declaration of Use", "Amendment to Allege Use" or similar
                       filing with respect thereto, only to the extent, if any, that, and solely during the period if any, in which,
                       the grant of a security interest therein may impair the validity or enforceability of such intent-to-use
                       (or similar) Trademark application under applicable federal Law,

                                (d)     any asset (including Capital Stock), the grant or perfection of a security interest in
                       which would (i) be prohibited under applicable Requirements of Law (including rules and regulations
                       of any Governmental Authority) or (ii) require any governmental or regulatory consent, approval,
                       license or authorization, except to the extent such requirement or prohibition would be rendered
                       ineffective under the UCC or other applicable Requirements of Law non:vithstanding such requirement




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                       or prohibition; it being understood that the tenn "Exclude d Asset" shall not include proceeds or
                       receivables arising out of any asset described in clauses (d)(i) or @.<ill to the extent that the
                       assignment of such proceeds or receivables is effective under the UCC or other applicable
                       Requirements of Law notwithstanding the relevant requirement or prohibition or (iii) result in material
                       adverse tax consequences to any Loan Party as reasonably determined by the Top Borrower and
                       specified in a written notice to the Administrative Agent,

                               (e)     (i) any leasehold Real Estate Asset, (ii) except to the extent a security interest therein
                       can be perfected by the filing of a UCC-1 financing statement, any other leasehold interests and (iii)
                       any owned Real Estate Asset that is not a Material Real Estate Asset,

                                  (f)         the Capital Stock of any Person that is not a Wholly-Owned Subsidiary,

                                  (g)         any Margin Stock,

                                 (h)     the Capital Stock of (i) any Foreign Subsidiary and (ii) any CFC Holdco, in each case
                       (x) in e xcess of 65% of the issued and outstanding Capital Stock of any such Person or (y) to the
                       extent such Foreign Subsidiary or CFC Holdco is not a first-tier Subsidiary of a Loan Party,

                              (i)       any Commercial Tort Claim with a value (as reasonably estimated by the Top
                       Borrower) of less than $10,000,000,

                                  G)          any Tax and Trust Funds,

                                 (k)     any lease, license or agreement, or any property subject to a purchase money security
                       interest, Capital Lease obligations or s imilar arrangement, in each case, that is permitted or otherwise
                       not prohibited by the terms of this Agreement and to the extent the grant of a security interest therein
                       would violate or invalidate such lease, license or agreement or purchase money or similar arrangement
                       or create a right of termination in favor of any other party thereto (other than Holdings, the Top
                       Borrower or any Subsidiary of the Top Borrower) after giving effect to the applicable anti-assignment
                       provisions of the UCC or other applicable Requirements of Law; it being understood that the term
                       "Excluded Asset" shall not include proceeds or receivables arising out of any asset described in this
                       clause (k) to the extent that the assignment of such proceeds or receivables is expressly deemed to be
                       effective under the UCC or other applicable Requirements of Law notwithstanding the relevant
                       violation or invalidation,

                                (1)      any asset w ith respect to which the Administrative Agent and the Top Borrower have
                       reasonably de termined in writing that the cost, burden, difficulty or consequence (including any effect
                       on the ability of the Top Borrower and its subsidiaries to conduct the ir operations and business in the
                       ordinary course of business and including the cost of title insurance, surveys or flood insurance (if
                       necessary)) of obtaining or perfecting a security interest therein outweighs, or is excessive in light of,
                       the practical benefit of a security interest to the relevant Secured Parties afforded thereby, and

                                (m)     the real property located at 3774 Interstate Park Road North, West Palm Beach,
                       Florida 33404 (whic h, for the avoidance of doubt, shall not be pledged to secure any ABL Facility or
                       any First Lien Facility).

                       "Excluded Subsidiarv" means:

                                  (a)         any Restricted Subsidiary that is not a Wholly-Owned Subsidiary,

                                  (b)         any Immaterial Subsidiary,




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                                 (c)     any Restricted Subsidiary (i) that is prohibited or restricted from providing a Loan
                       Guaranty by (A) any Requirement of Law or (B) any Contractual Obligation that exists on fl1e Closing
                       Date or at the time such Restricted Subsidiary becomes a subsidiary (which Contractual Obligation
                       was not entered into in contemplation of such Restricted Subsidiary becoming a subsidiary (including
                       pursuant to assumed Indebtedness)), (ii) that would require a governmental (including regulatory) or
                       third party consent, approval, license or authorization (including any rebTUlatory consent, approval,
                       license or authorization) to provide a Loan Guaranty (in each case, at the time such Restricted
                       Subsidiary became a Subsidiary) or (iii) with respect to which the provision of a Loan Guaranty would
                       result in material adverse tax consequences as reasonably determined by the Top Borrower, where the
                       Top Borrower notifies the Administrative Agent in writing of such determination,

                                  (d)         any not-for-profit subsidiary,

                                  (e)         any Captive Insurance Subsidiary,

                                (f)           any special purpose entity used for any pennitted securitization or receivables facility
                       or financing,

                                  (g)         any Foreign Subsidiary,

                               (h)      (i) any CFC Holdco and/or (ii) any Domestic Subsidiary that is a direct or indirect
                       subsidiary of any Foreign Subsidiary that is a CFC,

                                  (i)         any Unrestricted Subsidiary,

                                (i)      any Restricted Subsidiary acquired by the Top Borrower that, at the time of the
                       relevant acquisition, is an obligor in respect of assumed Indebtedness pennitted by Section 6.01 to the
                       extent (and for so long as) the documentation governing the applicable assumed Indebtedness
                       prohibits such subsidiary from providing a Loan Guaranty (which prohibition was not implemented in
                       contemplation of such Restricted Subsidiary becoming a subsidiary in order to avoid the requirement
                       of providing a Loan Guaranty), and/or

                              (k)      any other Restricted Subsidiary with respect to which, in the reasonable judgment of
                       the Administrative Agent and the Top Borrower, the burden or cost of providing a Loan Guaranty
                       outweighs, or would be excessive in light of, the practical benefits afforded thereby .

                      "Excluded Swap Obligation" means, with respect to any Loan Guarantor, any Swap Obligation if, and
             to the extent that, all or a portion of the Loan Guaranty of such Loan Guarantor of, or the grant by such Loan
             Guarantor of a security interest to secure, such Swap Obligation (or any Loan Guaranty thereof) is or becomes
             illegal under the Commodity Exchange Act or any rule, regulation or order of the Commodity Futures Trading
             Commission (or the application or official interpretation of any thereof) (a) by virtue of such Loan Guarantor' s
             failure for any reason to constitute an "eligible contract participant" as defined in the Commodity Exchange
             Act and the regulations thereunder (determined after giving effect to Section 3.20 of the Loan Guaranty and
             any other "keepwell", support or other agreement for the benefit of such Loan Guarantor) at the time the Loan
             Guaranty of such Loan Guarantor or the grant of such security interest becomes effective with respect to such
             Swap Obligation or (b) in the case of any Swap Obligation that is subject to a clearing requirement pursuant to
             section 2(h) of the Commodity Exchange Act, because such Loan Guarantor is a "financial entity," as defined
             in section 2(h)(7)(C) of the Commodity Exchange Act, at the time the guarantee provided by (or grant of such
             security interest by, as applicable) such Loan Guarantor becomes or would become effective with respect to
             such Swap Obligation. If any Swap Obligation arises under a master agreement governing more than one
             swap, such exclusion shall apply only to the portion of such Swap Obligation that is attributable to swaps for
             which such Loan Guaranty or security interest is or becomes illegal.




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                      "Excluded Taxes" means, with respect to the Administrative Agent, any Lender, or any other recipient
             of any payment to be made by or on account of any obligation of any Loan Party under any Loan Document,
             (a) any Taxes imposed on (or measured by) such recipient's net or overall gross income or franchise Taxes, (i)
             imposed as a result of such recipient being organized or having its principal office located in or, in the case of
             any Lender, having its applicable lending office located in, the taxing jurisdiction or (ii) that are Other
             Connection Taxes, (b) any branch profits Taxes imposed under Section 884(a) of the Code, or any similar Tax,
             imposed by any jurisdiction described in clause (a). (c) any U.S. federal withholding Tax that is imposed on
             amounts payable to or for the account of such Lender (other than a Lender that became a Lender pursuant to an
             assignment under Section 2.19) with respect to an applicable interest in a Loan or Commitment pursuant to a
             Requirement of Law in effect on the date on which such Lender (i) acquires such interest in the applicable
             Commitment or, if such Lender did not fund the applicable Loan pursuant to a prior Commitment, on the date
             such Lender acquires its interest in such Loan or (ii) designates a new lending office, except in each case to the
             extent that, pursuant to Section 2.17, amounts with respect to such Tax were payable either to such Lender's
             assignor immediately before such Lender acquired the applicable interest in a Loan or Commitment or to such
             Lender immediately before it designated a new lending office, (d) any Tax imposed as a result of a failure by
             the Administrative Agent, such Lender to comply with Section 2. l 7(f) and (e) any U.S. federal withholding
             Tax under FATCA.

                    "Expected Cost Savings" has the meaning assigned to such term in the definition of " Consolidated
             Adjusted EBITDA" .

                       "Extended Tem1 Loans" has the meaning assigned to such tenu in Section 2.23(a)(ii).

                       "Extension" has the meaning assigned to such term in Section 2.23(a).

                      "Extension Amendment" means an amendment to this Agreement that is reasonably satisfactory to the
             Administrative Agent (to the extent required by Section 2.23) and the Top Borrower executed by each of (a)
             Holdings, the Top Borrower and the Subsidiary Guarantors, (b) the Administrative Agent and (c) each Lender
             that has accepted the applicable Extension Offer pursuant hereto and in accordance with Section 2.23.

                       "Extension Offer" has the meaning assigned to such term in Section 2.23(a).

                     "Facilitv" means any real property (including all buildings, fixtures or other improvements located
             thereon) now, hereafter or, except with respect to Articles 5 and i hereof owned, leased, operated or used by
             the Top Borrower or any of its Restricted Subsidiaries or any of their respective predecessors or Affiliates.

                      "FATCA" means Sections 1471 through 1474 of the Code, as of the date of this Agreement (or any
             amended or successor version that is substantively comparable and not materially more onerous to comply
             with), any cmrent or future regulations or official interpretations thereof, any agreements entered into pursuant
             to current Section 147l(b)(l) of the Code (or any amended or successor version described above) and any
             intergovernmental agreements implementing any of the foregoing.

                       "FCPA" has the meaning assigned to such term in Section 3.17(c).

                      "Federal Funds Effective Rate" means, for any day, the weighted average of the rates on overnight
             Federal funds transactions with members of the Federal Reserve System, as published on the next succeeding
             Business Day by the Federal Reserve Bank of New York, or, if such rate is not so published for any day that is
             a Business Day, the average of the quotations for such day for such transactions received by Administrative
             Agent from three Federal funds brokers of recognized standing selected by it.

                    "Fee Letter" means Section 3 of that certain Engagement Letter, dated as of October 6, 2016 (as
             supplemented prior to the date hereof), by and among the Borrowers and the Arrangers.




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                    "First Lien Collateral Agent" has the meaning set forth in the First Lien/Second Lien lntercreditor
             Agreement.

                      "First Lien Credit Agreement" means the First Lien Term Loan Agreement, dated as of the C losing
             Date, among, inter alios, Holdings, the Borrowers, UBS AG, Stamford Branch, as administrative agent and
             collateral agent and the lenders from time to time party thereto.

                       "First Lien Facility " means the credit facility governed by the First Lien Credit Agreeme nt and one or
             more debt facilities or other financing arrangements (including indentures) providing for loans and/or
             commitme nts or other long-term inde btedness that replace or refinance such credit facility, including any such
             replacement or refinancing facility (including any indenture) that increases or decreases the amount permitted
             to be borrowed thereunder or alters the maturity thereof and w hether by the same or any other agent, trustee,
             lender or group of lenders, and any amendments, supplements, modifications, extensions, renewals,
             restatements, amendments and restateme nts or refundings the reof or any such credit faci lities or other debt
             facilities (inc luding under indentures) that replace or refinance such credit faci lity or othe r Indebtedness (or
             any subsequent replacement thereof).

                      "First Lien Incremental De bt" means any "Incremental Loans" and "Incremental Equivalent Debt",
             each as defined in the First Lien Credit Agreement (or any equivalent term under any First Lien Facility).

                      " First Lien Leverage Ratio" means the ratio, as of any date of determination, of (a) Consolidated First
             Lien Debt as of the last day of the most recently ended Test Period to (b) Consolidated Adjusted EBITDA for
             the Test Period then most recently e nded, in each case of the Top Borrower and its Restricted Subsidiaries on a
             consolidated basis.

                       "First Lien Obligations" means (a) the " Secured Obligations" as defined in the First Lie n Credit
             Agreement and with respect to any other First Lien Facility, any equivalent term under such First Lien Facility,
             (b) all unpaid principal and accrued and unpaid interest and fees ow ing in respect of any First Lien Incremental
             Equivalent Debt and/or any other Indebtedness that is secured by a Lien on the Term Loan Priority Collateral
             that is pari passu w ith the Lien on the Term Loan Priority Collateral securing the Secured Obligations (as
             defined in the First Lien Credit Agreement) and (c) all unpaid principal and accrued and unpaid interest and
             fees owing with respect to any refinancing Indebtedness in respect of any or all of the foregoing.

                     " First Lien Obligations Pavment Date" means the ''Termination Date" as defined in the First Lien
             Credit Agreement (or any e quivalent term under any docume nt governing any Indebtedness that is secured on
             a pari passu basis on the Term Loan Priority Collate ral with the obligations unde r the First Lie n Credit
             Agreeme nt that are secure d on a first lien basis on the Term Loan Priority Collateral).

                      "First Lien/Second Lien Intercreditor Agreement" means the First Lien/Second Lien Intercreditor
             Agreement substantially in the form of Exhibit G-2, dated as of the Closing Date, among, inter alios, the First
             Lien Collateral Agent, as agent for the First Lien Claimholders referred to therein, the Administrative Agent,
             as agent for the Second Lien Claimholders referre d to there in, and the Loan Parties from time to time party
             thereto.

                      "First Priority " means, with respect lo any Lien purported to be created in any Collate ral pursuant to
             any Collateral Document (as defined in the First Lien Credit Agreement), that, subject to any applicable
             Intercreditor Agreement, such Lien is senior in priority to any other Lien to which such Collateral is subject,
             other than any Permitted Lien.

                       " Fiscal Quarter" means a fiscal quarter of any Fiscal Year.

                       "Fiscal Year'' means the fiscal year of the Top Borrower ending on the last Saturday of each cale ndar
             year.




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                       "Fixed Amounts" has the meaning assigned to such tenu in Section 1.1 0(c).

                      "Flood Hazard Property" means any parcel of any Material Real Estate Asset subject to a Mortgage
             located in the U.S. in an area designated by the Federal Emergency Management Agency as having special
             flood or mud slide hazards.

                     "Foreign Lender" means any Lender that is not a ' 'United States person" within the meaning of
             Section 770l(a)(30) of the Code.

                       "Foreign Subsidiarv" means any Restricted Subsidiary that is not a Domestic Subsidiary.

                       "FRB" means the Board of Governors of the Federal Reserve System of the U.S.

                     "GAAP" means generally accepted accounting principles in the U.S. in effect and applicable to the
             accounting period in respect of which reference to GAAP is made.

                      "Governmental Authority" means any federal, state, municipal, national or other government,
             governmental department, commission, board, bureau, court, agency or instrumentality or political subdivision
             thereof or any entity or officer exercising executive, legislative, judicial, regulatory or administrative functions
             of or pertaining to any government or any court, in each case whether associated with the U.S., a foreign
             government or any political subdivision thereof.

                     "Governmental Authorization" means any permit, license, authorization, approval, plan, directive,
             consent order or consent decree of or from any Governmental Authority.

                       "Granting Lender" has the meaning assigned to such term in Section 9.05(e).

                       "GS" has the meaning assigned to such term in the prean1ble to this Agreement.

                      "Guarantee" of or by any Person (the " Guarantor") means any obligation, contingent or otherwise, of
             the Guarantor guaranteeing or having the economic effect of guaranteeing any Indebtedness or other monetary
             obligation of any other Person (the "Primary Obligor") in any manner and including any obligation of the
             Guarantor (a) to purchase or pay (or advance or supply funds for the purchase or payment of) such
             Indebtedness or other monetary obligation or to purchase (or to advance or supply funds for the purchase ot)
             any security for the payment thereof, (b) to purchase or lease property, securities or services for the purpose of
             assuring the m1/ller of such Indebtedness or other monetary obligation of the payment thereof, (c) to maintain
             working capital, equity capital or any other financial statement condition or liquidity of the Primary Obligor so
             as to enable the Primary Obligor to pay such Indebtedness or other monetary obligation, (d) as an account
             party in respect of any letter of credit or letter of guaranty issued to support such Indebtedness or monetary
             obligation, (e) entered into for the purpose of assuring in any other manner the obligee in respect of such
             Indebtedness or other monetary obligation of the payment or perforn1ance thereof or to protect such obligee
             against loss in respect thereof (in whole or in part) or (f) secured by any Lien on any assets of such Guarantor
             securing any Indebtedness or other monetary obligation of any other Person, whether or not such Indebtedness
             or monetary other obligation is assumed by such Guarantor (or any right, contingent or othenvise, of any
             holder of such Indebtedness or other monetary obligation to obtain any such Lien); provided that the term
             "Guarantee" shall not include endorsements for collection or deposit in the ordinary course of business, or
             customary and reasonable indemnity obligations in effect on the Closing Date or entered into in connection
             with any acquisition, Disposition or other transaction permitted under this Agreement ( other than such
             obligations with respect to Indebtedness). The amount of any Guarantee shall be deemed to be an amount
             equal to the stated or determinable amount of the related primary obligation, or portion thereof, in respect of
             which such Guarantee is made or, if not stated or determinable, the maximum reasonably anticipated liability
             in respect thereof as determined by the guaranteeing Person in good faith.




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                     "Hazardous Materials" means any chemical, material, substance or waste, or any constituent thereof,
             which is prohibited, limited or regulated under any Environmental Law or by any Governmental Authority or
             which poses a hazard to the Environment or to human health and safety, including without limitation,
             petroleum and petroleum by-products, asbestos and asbestos-containing materials, polychlorinated biphenyls,
             medical waste and pharmaceutical waste.

                     "Hazardous Materials Activity" means any past, current, proposed or threatened activity, event or
             occurrence involving any Hazardous Material, including the use, manufacture, possession, storage, holding,
             presence, existence, location, Release, threatened Release, discharge, placement, generation, transportation,
             processing, construction, treatment, abatement, removal, remediation, disposal, disposition or handling of any
             Hazardous Material, and any corrective action or response action with respect to any of the foregoing.

                    "Hedge Agreement" means any agreement with respect to any Derivative Transaction between any
             Loan Party or any Restricted Subsidiary and any other Person.

                    "Hedging Obligations" means, with respect to any Person, the obligations of such Person under any
             Hedge Agreement.

                     "Holdings" has the meaning assigned to such tern1 in the preamble to this Agreement and shall, for the
             avoidance of doubt, include any Successor Holdings.

                      "IFRS" means international accounting standards within the meaning of the IAS Regulation
             1606/2002, as in effect from time to time (subject to the provisions of Section 1.04), to the extent applicable to
             the relevant financial statements.

                      "Immaterial Subsidiary" means, as of any date, any Restricted Subsidiary of the Top Borrower; the
             assets of which, when taken together with the assets of all other Restricted Subsidiaries that are Immaterial
             Subsidiaries, do not exceed 5.00% of Consolidated Total Assets of the Top Borrower and its Restricted
             Subsidiaries and the contribution to Consolidated Adjusted EBITDA of which, when taken together with the
             contribution to Consolidated Adjusted EBITDA of all other Immaterial Subsidiaries, does not exceed 5.00% of
             Consolidated Adjusted EBITDA of the Top Borrower and its Restricted Subsidiaries, in each case, as of the
             last day of the most recently ended Test Period; provided further that, at all times prior to the first delivery of
             financial statements pursuant to Section 5.0l{a) or {Ql, this definition shall be applied based on the pro fonna
             consolidated financial statements of the Top Borrower delivered pursuant to Section 4.01.

                      "Immediate Family Member" means, with respect to any individual, such individual' s child, stepchild,
             grandchild or more remote descendant, parent, stepparent, grandparent, spouse, former spouse, domestic
             partner, fonner domestic partner, sibling, mother-in-law, father-in-law, son-in-law and/or daughter-in-law
             and/or (including any adoptive relationship), any trust, partnership or other bona fide estate-planning vehicle
             the only beneficiaries of which are any of the foregoing individuals, such individual' s estate (or an executor or
             administrator acting on its behalf), heirs or legatees or any private foundation or fund that is controlled by any
             of the foregoing individuals or any donor-advised fund of which any such individual is the donor.

                       "Incremental Cap" means:

                                  (a)         the Shared Incremental Amount, plus

                                (b)     in the case of any Incremental Facility that effectively extends the Maturity Date
                       with respect to any Class of Loans and/or Commitments hereunder, an amount equal to the portion of
                       the relevant Class of Loans or Commitments that will be replaced by such Incremental Facility, plus

                                  (c)         [reserved], plus




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                                 (d)     (i) the amount of any optional prepayment of any Loan in accordance with
                       Section 2.1 l(a) and/or the amount of any permanent prepayment of Incremental Equivalent Debt, (ii)
                       the amount of any optional prepayment, redemption or repurchase of any Replacement Term Loan or
                       any Class, tranche or series of Replacement Debt previously applied to the permanent prepayment of
                       any Loans hereunder, so long as such prepayment was not previously included in clause (d)(i) above,
                       and (iii) the amount paid in Cash in respect of any reduction in the outstanding amount of any Loan
                       resulting from any assignment of such Loan to (or purchase of such Loan by) Holdings, the Top
                       Borrower and/or any RestTicted Subsidiary; provided that, for each of clauses (i). (ill and (ili2, the
                       re levant prepayment, redemption, repurchase or assignment and/or purchase was not funded with the
                       proceeds of any long-term Indebtedness (other than revolving Indebtedness), plus

                                (e)      an unlimited amount so long as, in the case of this clause (e), after giving effect to
                       the relevant Incremental Facility, (i) if such Incremental Facility is secured by a lien on the Tem1 Loan
                       Priority Collateral that is junior to the First Priority (or equivalent term under any First Lien Facility)
                       Lien on the Term Loan Priority Collateral securing the Secured Obligations (as defined in the First
                       Lien Credit Agreement (or equivalent term under any First Lien Facility)), the Secured Leverage Ratio
                       does not exceed the greater of (A) 5.80: 1.00 and (B) the Secured Leverage Ratio as of the last day of
                       the most recently ended Test Period or (ii) if such Incremental Facility is unsecured, either (A) the
                       Total Leverage Ratio does not exceed the greater of (1) 6.05: 1.00 and (2) the Total Leverage Ratio as
                       of the last day of the most recently ended Test Period or (B) the Interest Coverage Ratio is not less
                       than the greater of (1) 2.00: 1.00 and (2) the Interest Coverage Ratio as of the last day of the most
                       recently ended Test Period, in each case described in this clause (e). calculated on a Pro Forma Basis,
                       including the application of the proceeds thereof (in the case of each of clause (i) and (ill without
                       "netting" the cash proceeds of the applicable Incremental Facility on the consolidated balance sheet of
                       the Top Borrower);

             provided that:

                                          (i)      any Incremental Facility and/or Incremental Equivalent Debt may be
                                  incurred under one or more of clauses (a) through~ of this definition as selected by the Top
                                  Borrower in its sole discretion,

                                           (ii)     if any Incremental Facility or Incremental Equivalent Debt is intended to be
                                  incurred under clause (e) of this definition and any other clause of this definition in a single
                                  transaction or series of related transaction, (A) the incurrence of the portion of such
                                  Incremental Facility or Incremental Equivalent Debt to be incurred or implemented under
                                  clause (e) of this definition shall first be calculated without giving effect to any Incremental
                                  Facilities or Incremental Equivalent Debt to be incurred under any other clause of this
                                  definition, but giving full proforma effect to the use of proceeds of the entire amount of such
                                  Incremental Facility or Incremental Equivalent Debt and the related transactions, and (B) the
                                  incurrence of the portion of such Incremental Facility or Incremental Equivalent De bt to be
                                  incurred or implemented under the other applicable clauses of this definition shall be
                                  calculated thereafter, and

                                            (iii)   any portion of any Incremental Facility or Incremental Equivalent Debt that
                                  is incurred under clauses (a) through ~ of this definition will be automatically reclassified as
                                  having been incurred under clause (e) of this definition if, at any time after the incurrence
                                  thereof, such portion of such Incremental Facility or Incremental Equivalent Debt would,
                                  using the figures reflected in the fi nancial statements most recently delivered pursuant to
                                  Section 5. 0 l(a) or ® or, if available earlier, the financial statements that are internally
                                  available for the then most recently ended Test Period, be permitted under the First Lien
                                  Leverage Ratio, Secured Leverage Ratio, Total Leverage Ratio test or Interest Coverage Ratio
                                  test, as applicable, set forth in clause (e) of this definition; it being understood and agreed that




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                                  once such Incremental Facility or Incremental Equivalent Debt is reclassified in accordance
                                  with the preceding sentence, it shall not further be reclassified as having been incurred under
                                  the provision of this definition in reliance on which such incremental Facility or Incremental
                                  Equivalent Debt was originally incurred .

                     "Incremental Commitment" means any commitment made by a lender to provide all or any portion of
             any Incremental Facility or Incremental Loan.

                      "Incremental Equivalent Debt" means Indebtedness in the form of pari passu (with the Liens on the
             Term Loan Priority Collateral securing the Secured Obligations) senior secured or unsecured notes or loans or
             junior secured or unsecured notes or loans and/or commitments in respect of any of the foregoing issued,
             incurred or implemented in lieu of loans under an incremental Facility; provided, that:

                                (a)      the aggregate outstanding principal amount thereof shall not exceed the Incremental
                       Cap (as in effect at the time of determination, including giving effect to any reclassification on or prior
                       to such date of determination),

                              (b)      except as othen -vise agreed by the lenders or holders providing such notes or loans,
                       no Event of Default exists immediately prior to or after giving effect to such notes or loans,

                                (c)     the Weighted Average Life to Maturity applicable to such notes or loans (other than
                       Customary Bridge Loans) is no shorter than the Weighted Average Life to Maturity of the then-
                       existing Loans (without giving effect to any prepayment thereof),

                               (d)      the final maturity date with respect to such notes or loans (other than Customary
                       Bridge Loans) is no earlier than the Latest Maturity Date on the date of the issuance or incurrence, as
                       applicable, thereof,

                               (e)     subject to clauses (c) and®, such Indebtedness may otherwise have an amortization
                       schedule as detenuined by the Top Borrower and the lenders providing such Incremental Equivalent
                       Debt,

                                (£)      in the case of any such Indebtedness that is in the form of secured term loans that are
                       pari passu with the initial Term Loans in right of payment and with respect to the Term Loan Priority
                       Collateral (other than Customary Bridge Loans), the Effective Yield applicable thereto will not be
                       more than 0.50% per annum higher than the Effective Yield in respect of the Initial Term Loans
                       unless the Applicable Rate (and/or, as provided in the proviso below, the Alternate Base Rate floor or
                       LIBO Rate floor) with respect to the Initial Tem1 Loans is adjus ted such that the Effective Yield
                       applicable to any Initial Tem1 Loans is not more than 0.50% per annum less than the Effective Yield
                       with respect to such Indebtedness; provided, that any increase in Effective Yield applicable to any
                       initial Term Loan due to the application or imposition of an Alternate Base Rate floor or LIBO Rate
                       floor on any such Indebtedness may, at the election of the Top Borrower (in its sole discretion), be
                       effected solely through an increase in any Alternate Base Rate floor or LJBO Rate floor applicable to
                       such Initial Tenn Loan,

                                  (g)         [Reserved],

                                (h)     if such Indebtedness is (i) secured on a pari passu basis with the Liens on the Term
                       Loan Priority Collateral securing the Secured Obligations, (ii) secured on a junior basis as compared
                       to the Liens on the Term Loan Priority Collateral securing the Secured Obligations or (iii) unsecured
                       and subordinated to the Obligations, then the holders of such Indebtedness shall be party to an
                       Acceptable lntercreditor Agreement, and




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                               (i)      no such Indebtedness may be (i) guaranteed by any subsidiary of the Top Borrower
                       which is not a Loan Party or (ii) secured by any assets other than the Collateral.

                       "Incremental Facilitv" has the meaning assigned to such term in Section 2.22(a).

                      "Incremental Facilitv Amendment" means an amendment to this Agreement that is reasonably
             satisfactory to the Administrative Agent (solely for purposes of giving effect to Section 2.22) and the Top
             Borrower executed by e ach of (a) Holdings and each relevant Bo rrower, (b) the Administrative Agent and (c)
             each Lender that agrees to provide all or any portion of the Incremental Facility being incurred purs uant
             thereto and in accordance with Section 2.22.

                       "Incremental Lender" has the meaning assigned to such term in Section 2.22(b).

                       "Incremental Loans" has the meaning assigned to such term in Section 2.22(a).

                       "Incurrence-Based Amounts" has the meaning assigned to such term in Section 1.1O(c).

                       "Indebtedness" as applied to any Person means, without dup lication:

                                  (a)         all inde btedness for borrowed money;

                                 (b)     that portion of obligations w ith respect to Capital Leases to the extent recorded as a
                       liability on a balance sheet (excluding the footnotes thereto) of such Pe rson prepared in accordance
                       with GAAP;

                               (c)      all obligations of such Person evidenced by bonds, debentures, notes or similar
                       instruments to the extent the same would appear as a liability on a balance sheet (excluding the
                       footnotes thereto) of such Person prepare d in accordance with GMP;

                                 (d)      any obligation of such Person owed for all or any part of the deferred purchase price
                       of property or services (excluding (i) any earn out obligation or purchase price adjustment until such
                       obligation (A) becomes a liability on the statement of financial position or balance sheet (excluding
                       the footnotes thereto) in accordance with GAAP and (B) has not been paid within 30 days after
                       becoming due and payable, (ii) any such obligations incurred under ERISA, (iii) accrued expenses and
                       trade accounts payable in the o rdinary course of business (including on an inter-company basis) and
                       (iv) liabilities associated with customer prepayments and deposits), which purchase price is (A) due
                       more than six months from the date of incurrence of the obligation in respect thereof or (B) evidenced
                       by a note or similar written instrument);

                                (e)     all Indebtedness of othe rs secured by any Lien on any asset owned or he ld by such
                       Person regardless of whether the Indebtedness secured thereby have been assumed by such Person or
                       is non-recourse to the c redit of such Person;

                               (f)     the face amount of any letter of credit issued for the account of such Person or as to
                       which such Person is otherwise liable for reimbursement of drawings;

                                  (g)         the Guarantee by such Person of the Indebtedness of another;

                                  (h)         all obligations of such Person in respect of any Disqualified Capital Stock; and

                              (i)     all net obligations of such Pe rson in respect of any Derivative Transaction, inc luding
                       any Hedge Agreement, whether or not entered into for hedging or speculative purposes;




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             provided that (i) in no event shall obligations under any Derivative Transactio n be deemed "Indebte dness" for
             any calculatio n of the Total Leverage Ratio, the First Lien Leverage Ratio, the Secured Leverage Ratio, the
             Inte rest Coverage Ratio or any other financial ratio under this Agreement, (ii) the amount of Indebte dness of
             any Person for purposes of clause (e) shall be deemed to be equal to the lesser of (A) the aggregate unpaid
             amount of such Inde btedness and (B) the fair market value of the property enc umbered thereby as determine d
             by such Person in good faith and (iii) the term " Inde btedness", as it applies to the Top Borrower and its
             Restricted Subsidiaries, s hall exclude intercompany Inde btedness so lo ng as (A) suc h intercompany
             Indebtedness has a term no t exceeding 364 days (inc lusive of any roll-over o r exte nsion of terms) and (B) in
             the case of any Indebtedness owed by any Loan Party to any Restr icted Subsidiary that is not a Loan Party,
             such Indebtedness is unsecured and subordinated to the Obligations and evidenced by the lnterco mpany Note.

                      For all purposes hereof, the Indebtedness of any Person shall include the Indebtedness of any third
             person (including any partnership in w hich such Person is a general partner and any unincorporated j oint
             ventu re in whic h such Pe rson is a joint venture) to the extent suc h Person would be liable the refor unde r
             applicable Requirements of Law or any agreement or instrument by virtue of such Person's ownership interest
             in such Person, (A) except to the extent the tem1s of such Inde btedness provided that such Person is not liable
             therefor and (B) only to the exte nt the relevant Indebte dness is of the type that would be included in the
             calculation of Consolidate d To tal Debt; provided that notwithstanding anything herein to the contrary, the term
             "Indebtedness" shall not include, and shall be calculated without giving effect to, (x) the effects of Accounting
             Standards Codificatio n Topic 815 and re lated interpretations to the extent such effects would o therwise
             increase or decrease an amount of Indebtedness for any purpose hereunder as a result of accounting for any
             embedded derivati ves created by the terms of such Indebtedness (it being understood that any such amounts
             that would have constituted Inde btedness hereunder but for the application of this proviso shall not be deeme d
             an incurrence of Indebtedness hereunder) and (y) the effects of Statement of Financ ial Accounting Standards
             No. 133 and relate d interpretations to the extent such effects would otherwise increase or decrease an amo unt
             of Inde btedness for any purpose under this Agreement as a result of accounting for any embedded derivative
             created by the tenns of such Indebtedness (it being understood that any such amounts that would have
             constituted Indebtedness under this Agreement but for the application of this sentence shall no t be deemed to
             be an incurrence of Inde btedness under this Agreement).

                      "Indemnified T axes" means all Taxes, o ther than Exclude d Taxes or Othe r Taxes, imposed on or w ith
             respect to any payment m ade by or on account of any o bligation of any Loan Party unde r any Loan Document.

                       "lndemnitee" has the meaning assigned to s uch term in Sectio n 9.03(b).

                      "Information Memorandum" means the Conf idential Informatio n Me mo randum dated Oc tober 2016,
             relating to the To p Borrower and its subsidiaries and the Transactions.

                       "Initial lntercreditor Agreements" means the ABL lntercreditor Agreeme nt and the First/Second Lien
             lnte rcreditor Agreement.

                    "Initial Le nders" means the Arrangers and the affiliates of the Arrangers who are party to this
             Agreeme nt as Lende rs o n the C losing Date.

                      "Initial Te rm Lende r" means any Le nder with an Initial Term Loan Co mmitment or an outstanding
             Initial Term Loan.

                     "Initial Term Loan Commitment" means, with respect to each Lender, the commitment of such
             Lender to make Initial Term Loans hereunder in an aggregate amo unt not to exceed the amount set forth
             opposite such Lender ' s name o n the Commitment Schedule, as the same may be (a) reduced fro m time to time
             pursuant to Section 2.09 and (b) reduced or increased from time to time pursuant to (i) assignments by or to
             such Lender pursuant to Sectio n 9.05 or (ii) increased from time to time pursuant to Section 2.22. The
             aggregate amount of the Lende rs ' Initial Term Loan Commitme nts o n the Closing Date is $450,000,000.




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                       "Initial Tenn Loan Maturity Date" means the date that is e ight years after the C losing Date.

                     "Initial Te rm Loans" means the tenn loans made by the Initial Tenn Lenders to the Top Borrower
             pursuant to Section 2.0 l (a)(i).

                     "Intellectual Propertv Securitv Agreement" means any agreement, or a supplement thereto, executed
             on or after the Closing Date confirming or effecting the grant of any Lien on IP Rights owned by any Loan
             Party to the Administrative Agent, for the benefit of the Secured Parties, in accordance with this Agreement
             and the Security Agreement, including an Inte llectual Property Security Agreement substantially in the form of
             Exhibit C.

                       "lntercompanv Note" means a promissory note substantially in the form of Exhibit F.

                      "lntercreditor Agreements" means the ABL lntercreditor Agreement, the First Lien/Second Lien
             Intercreditor Agreement and any Acceptable lntercreditor Agreeme nt.

                     "Interest Election Request" means a request by the relevant Borrower in the form of Exhibit H or
             another form reasonably acceptable to the Administrative Agent to convert or continue a Borrowing in
             accordance w ith Section 2.08.

                      "Interest Coverage Ratio" means, as of any date of detennination, the ratio of (a) Consolidated
             Adjusted EBITDA for the most rece ntly ended Test Period to (b) Ratio Interest Expense for such Test Period,
             in each case of the Top Borrower and its Restricted Subsidiaries on a consolidated basis.

                      "Interest Pavment Date" means (a) w ith respect to any ABR Loan, the first Business Day of each
             January, April, July and October (commencing April 3, 2017) and the maturity date applicable to such ABR
             Loan and (b) w ith respect to any LIBO Rate Loan, the last day of the Inte rest Period applicable to the
             Borrowing of which such Loan is a part and, in the case of a LJBO Rate Loan with an Interest Period of more
             than three months ' duration, each day that would have been an Interest Payment Date had successive Interest
             Periods of three months' duration been applicable to such Borrow ing.

                      "Interest Period" means with respect to any LIBO Rate Borrow ing, the period commencing on the
             date of such Borrow ing and ending on the numerically corresponding day in the calendar month that is one,
             two, three or six months (or, to the extent available to all relevant affected Lenders, twelve months or a shorter
             period) thereafter, as the relevant Borrower (or the Top Borrower on behalf of the relevant Borrower) may
             elect; provided that (i) if any Interest Period would end on a day other than a Business Day, such Interest
             Period shall be extended to the next succeeding Business Day unless such next succeeding Business Day
             would fall in the next calendar month, in which case such Interest Period shall end on the next preceding
             Business Day and (ii) any Interest Period that commences on the last Business Day of a calendar month (or on
             a day for which there is no numerically corresponding day in the last calendar month of such Inte rest Period)
             shall end on the last Business Day of the last calendar month of such Inte rest Period. For purposes hereof, the
             date of a Borrowing initially shall be the date on which such Borrowing is made and thereafter shall be the
             effective date of the most recent conversion or continuation of such Borrowing.

                       "Interpolated Rate" shall mean, in re lation to any LIBO Rate Loan, the rate pe r annum detem1ine d by
             the Administrative Agent (which detennination shall be conclusive and binding absent manifest error) to be
             equal to the rate that results from interpolating on a linear basis between: (a) the applicable Published LJBO
             Rate for the longest period (for which the applicable Published LIBO Rate is available) that is shorter than the
             Inte rest Pe riod of that Published LIBO Rate Loan and (b) the applicable Published LlBO Rate for the shortest
             period (for which such Published LIBO Rate is available) that exceeds the Interest Period of that LIBO Rate
             Loan, in each case, as of 11:00 a.m. (London time) two Business Days prior to the first day of such Interest
             Period.




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                      "Investment" means (a) any purchase or other acquisition by the Top Borrower or any of its Restricted
             Subsidiaries of any of the Securities of any other Person (other than any Loan Party), (b) the acquisition by
             purchase or otherwise (other than any purchase or other acquisition of inventory, materials, supplies and/or
             equipment in the ordinary course of business) of all or a substantial portion of the business, property or fixed
             assets of any other Person or any division or line of business or other business unit of any other Person and (c)
             any loan, advance (other than any advance to any current or fonner employee, officer, director, member of
             management, manager, consultant or independent contractor of the Top Borrower, any Restricted Subsidiary,
             or any Parent Company for moving, entertainment and travel expenses, drawing accounts and similar
             expenditures in the ordinary course of business) or capital contribution by the Top Borrower or any of its
             Restricted Subsidiaries to any other Person (in each case, excluding any intercompany loan, advance or
             Indebtedness among the Top Borrower and its Restricted Subsidiaries so long as (A) such loan, advance or
             Indebtedness has a term not exceeding 364 days (inclusive of any roll-over or extension of tenns) and (B) in
             the case of any such loan, advance or Indebtedness owed by any Loan Party to any Restricted Subsidiary that
             is not a Loan Party, such loan, advance or Indebtedness is unsecured and subordinated to the Obligations and
             evidenced by the Intercompany Note). Subject to Section 5.10, the amount of any Investment shall be the
             original cost of such Investment, plus the cost of any addition thereto that otherwise constitutes an Investment,
             without any adjustments for increases or decreases in value, or write-ups, write-downs or write-offs with
             respect thereto, but giving effect to any repayments of principal in the case of any Investment in the form of a
             loan and any return of capital or return on Investment in the case of any equity Investment (whether as a
             distribution, dividend, redemption or sale but not in excess of the amount of the relevant initial Investment).

                      "Investors" means (a) the Sponsors, (b) the Management Investors and (c) other investors that,
             directly or indirectly, beneficially own Capital Stock in Holdings on the Closing Date.

                       "Information" has the meaning assigned to such term in Section 3.11 (a).

                       "IP Rights" has the meaning assigned to such term in Section 3.05(c).

                       "IRS" means the U.S. Internal Revenue Service.

                     "Joinder Agreement" means a Joinder Agreement substantially in the form of Exhibit K or such other
             form that is reasonably satisfactory to the Administrative Agent and the Top Borrower.

                     "Junior Indebtedness" means any Indebtedness (other than Indebtedness among Holdings, the Top
             Borrower and/or its subsidiaries) of the Top Borrower or any of its Restricted Subsidiaries that is expressly
             subordinated in right of payment to the Obligations with an individual outstanding principal amount in excess
             of the Threshold Amount.

                      "Junior Lien Indebtedness" means any Indebtedness (other than Indebtedness among Holdings, the
             Top Borrower and/or its subsidiaries) that is secured by a security interest on the Term Loan Priority Collateral
             that is expressly junior or subordinated to the Lien securing the Tenn Facility with respect to the Term Loan
             Priority Collateral, with an individual outstanding principal amount in excess of the Threshold Amount. For
             the avoidance of doubt, Indebtedness outstanding under the ABL Credit Agreement shall not constitute Junior
             Lien Indebtedness for any purpose under this Agreement or the other Loan Documents.

                       "Left Lead Arranger" means GS.

                     "Latest Maturity Date" means, as of any date of determination, the latest maturity or expiration date
             applicable to any Loan hereunder at such time.

                     "Legal Reservations" means the application of relevant Debtor Relief Laws, general principles of
             equity and/or principles of good faith and fair dealing.




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                     "Lenders" means any lender with an Additional Tenn Loan Commitment or an outstanding Additional
             Term Loan and any other Person that becomes a party hereto pursuant to an Assignment Agreement, other than
             any such Person that ceases to be a party hereto pursuant to an Assignment Agreement.

                     "LIBO Rate" means, the Published LIBO Rate, as adjusted to reflect applicable statutory reserves
             prescribed by governmental authorities; provided that, solely with respect to the Initial Term Loans, in no
             event shall the LIBO Rate be less than 1.00% per annum.

                       "Lien" means any mortgage, pledge, hypothecation, assignment, deposit arrangement, encumbrance,
             lien (statutory or other), charge, or preference, priority or other security interest or preferential arrangement of
             any kind or nature whatsoever (including any conditional sale or other title retention agreement, any easement,
             right of way or other encumbrance on title to real property, and any Capital Lease having substantially the
             same economic effect as any of the foregoing), in each case, in the nature of security; provided that in no event
             shall an operating lease in and of itself be deemed to constitute a Lien.

                      "Loan Documents" means this Agreement, any Promissory Note, the Loan Guaranty , the Collateral
             Documents, the ABL Intercreditor Agreement, the First Lien/Second Lien lntercreditor Agreement, each other
             lntercreditor Agreement to which the Borrowers are a party, each Retfoancing Amendment, each Incremental
             Facility Amendment, each Extension Amendment and any other document or instrument designated by the
             Top Borrower and the Administrative Agent as a "Loan Document." Any reference in this Agreement or any
             other Loan Document to any Loan Document shall include all appendices, exhibits or schedules thereto.

                     "Loan Guarantor" means (a) Holdings, (b) any Subsidiary Guarantor and (c) each Borrower (but only
             with respect to the Obligations of each other Borrower in connection with Secured Hedging Agreements and
             Banking Services Obligations).

                      "Loan Guaranty" means the Second Lien Term Loan Guaranty Agreement, substantially in the form
             of Exhibit I, executed by each Loan Guarantor and the Administrative Agent for the benefit of the Secured
             Parties, as supplemented in accordance with the terms of Section 5.12.

                       "Loan Parties" means Holdings, each Borrower and each Subsidiary Guarantor.

                       "Loans" means any Initial Term Loan or any Additional Term Loan.

                   "Management Investors" means the officers, directors, managers, employees and members of
             management of the Top Borrower, any Parent Company and/or any subsidiary of the Top Borrower.

                       "Margin Stock" has the meaning assigned to such term in Regulation U.

                      "Material Adverse Effect" means a material adverse effect on (a) the business, assets, financial
             condition or results of operations, in each case, of the Top Borrower and its Restricted Subsidiaries, taken as a
             whole, (b) the rights and remedies (taken as a whole) of the Administrative Agent under the applicable Loan
             Documents or ( c) the ability of the Loan Parties (taken as a whole) to perform their payment obligations under
             the applicable Loan Documents.

                     "Material Debt Instrument" means any physical instrument evidencing any Indebtedness for borrowed
             money which is required to be pledged and delivered to the Administrative Agent (or its bailee) pursuant to the
             Security Agreement.

                      "Material Real Estate Asset" means (a) on the Closing Date, each Real Estate Asset listed on Schedule
             I.0l(c) and (b) any "fee-owned" Real Estate Asset acquired by any Loan Party after the Closing Date having a
             fair market value (as reasonably determined by the Top Borrower after taking into account any liabilities with




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             respect thereto that impact such fair market value) in excess of $15,000,000 as of the date of acquisition
             thereof.

                     "Maturitv Date" means (a) with respect to the Initial Term Loans, the Initial Term Loan Maturity
             Date, (b) with respect to any Replacement Term Loans, the final maturity date for such Replacement Term
             Loans as set forth in the applicable Refinancing Amendment, (c) with respect to any Incremental Facility, the
             final maturity date set forth in the applicable Incremental Facility Amendment, and (d) ·with respect to any
             Extended Term Loans, the final maturity date set forth in the applicable Extension Amendment.

                       "Maximum Rate" has the meaning assigned to such term in Section 9.19.

                       "Minimum Extension Condition" has the meaning assigned to such tenn in Section 2.23(b).

                       "Moody 's" means Moody's Investors Service, Inc.

                      "Mortgage" means any mortgage, deed of trust or other agreement which conveys or evidences a Lien
             in favor of the Administrative Agent, for the benefit of the Administrative Agent and the relevant Secured
             Parties, on any Material Real Estate Asset constituting Collateral, which shall contain such terms as may be
             necessary under applicable local Requirements of Law to perfect a Lien on the applicable Material Real Estate
             Asset.

                    "Mortgage Policies" has the meaning assigned to such term rn the definition of "Collateral and
             Guarantee Requirement" .

                      "Multiemplover Plan" means any employee benefit plan which is a "multiemployer plan" as defined
             in Section 3(37) of ERISA that is subject to the provisions of Title IV of ERISA, and in respect of which the
             Top Borrower or any of its Restricted Subsidiaries, or any of their respective ERISA Affiliates, makes or is
             obligated to make contributions or with respect to which any of them has any ongoing obligation or liability,
             contingent or otherv, ise.

                       "National Bedding" has the meaning assigned to such term in the preamble.

                      ''Net Insurance/Condemnation Proceeds" means an amount equal to: (a) any Cash payments or
             proceeds (including Cash Equivalents) received by the Top Borrower or any of its Restricted Subsidiaries (i)
             under any casualty insurance policy in respect of a covered loss thereunder of any assets of the Top Borrower
             or any of its Restricted Subsidiaries or (ii) as a result of the taking of any assets of the Top Borrower or any of
             its Restricted Subsidiaries by any Person pursuant to the power of eminent domain, condemnation or
             otherwise, or pursuant to a sale of any such assets to a purchaser with such power under threat of such a taking,
             minus (b) (i) any actual out-of-pocket costs and expenses incurred by the Top Borrower or any of its RestTicted
             Subsidiaries in connection with the adjustment, settlement or collection of any claims of the Top Borrower or
             the relevant Restricted Subsidiary in respect thereof, (ii) payment of the outstanding principal amount of,
             premium or penalty, if any, and interest and other amounts on any Indebtedness (including any First Lien
             Obligations, but excluding the Loans, any Indebtedness under the ABL Facility and any Indebtedness secured
             by a Lien on the Term Loan Priority Collateral that is pari passu with or expressly subordinated to the Lien on
             the Tenn Loan Priority Collateral securing any Secured Obligation) that is secured by a Lien on the assets in
             question and that is required to be repaid or otherwise comes due or would be in default under the terms
             thereof as a result of such loss, taking or sale, (iii) in the case of a taking, the reasonable out-of-pocket costs of
             putting any affected property in a safe and secure position, (iv) any selling costs and out-of-pocket expenses
             (including reasonable broker's fees or commissions, legal fees, accountants' fees, investment banking fees,
             survey costs, title insurance premiums, and related search and recording charges, transfer taxes, deed or
             mortgage recording taxes, other customary expenses and brokerage, consultant and other customary fees
             actually incurred in connection therewith transfer and similar Taxes and the Top Borrower's good faith
             estimate of income Taxes paid or payable (including pursuant to Tax sharing arrangements or any



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             intercompany distribution)) in connection with any sale or taking of such assets as described in clause (a) of
             this definition, (v) any amounts provided as a reserve in accordance with GAAP against any liabilities under
             any indemnification obligation or purchase price adjustments associated w ith any sale or taking of such assets
             as referred to in clause (a) of this definition (provided that to the extent and at the time any such amounts are
             released from such reserve, such amounts shall constitute Net Insurance/Condemnation Proceeds) and (vi) in
             the case of any covered loss or taking from any non-Wholly-Owned Subsidiary, the pro rata portion thereof
             (calculated without regard to this clause (vi)) attributable to minority interests and not available for distribution
             to or for the account of the Top Borrower or a Wholly-Owned Subsidiary as a result thereof.

                       "Ne t Proceeds" means (a) w ith respect to any Disposition (including any Prepayment Asset Sale), the
             Cash proceeds (including Cash Equivalents and Cash proceeds subsequently received (as and w hen received)
             in respect of non-cash consideration initially received), net of (i) selling costs and out-of-pocket expenses
             (inc luding reasonable broker' s fees or commissions, legal fees, accountants' fees, investment banking fees,
             survey costs, ti tie insurance premiums, and related search and recording charges, transfe r taxes, deed or
             mortgage recording taxes, other customary expenses and brokerage, consultant and other customary fees
             actually incurred in connection therewith and transfer and similar Taxes and the Top Borrower's good faith
             estimate of income Taxes paid or payable (including pursuant to any Tax sharing arrangement and/or any
             intercompany distribution) in connection w ith such Disposition), (ii) amounts provided as a reserve in
             accordance with GAAP against any liabilities under any indemnification obligation or purchase price
             adjustment associated w ith such Disposition (provided that to the extent and at the time any such amounts are
             released from such reserve, such amounts shall constitute Ne t Proceeds), (iii) the principal amount, premium or
             penalty, if any, inte rest and other amounts on any Indebtedness (including any First Lien Obligations, but
             excluding the Loans, Indebtedness under any ABL Facility and any other Indebtedness secured by a Lien on
             the Term Loan Priority Collateral that is pari passu with or expressly subordinated to the Lien on the Term
             Loan Priority Collate ral securing any Secured Obligation) which is secured by the asset sold in such
             Disposition and which is required to be repaid or otherwise comes due or would be in default and is repaid
             (othe r than any such Indebtedness that is assumed by the purchaser of such asset), ( iv) Cash escrows (until
             released from escrow to the Top Borrower or any of its Restric ted Subsidiaries) from the sale price for such
             Disposition and (v) in the case of any Disposition by any non-Wholly-Owned Subsidiary, the pro rata portion
             of the Net Proceeds the reof (calculated without regard to this clause (v)) attributable to any minority interest
             and not available for distribution to or for the account of the Top Borrower or a Wholly-Owned Subsidiary as a
             result thereof; and (b) w ith respect to any issuance or incurrence of Indebtedness or Capital Stock, the Cash
             proceeds thereof, ne t of all Taxes and customary fees, commissions, costs, underwTiting discounts and other
             fees and expenses incurred in connection therew ith.

                      "Non-Debt Fund Affiliate" means any Investor (which is an Affiliate of the Top Borrower) and any
             Affiliate of any such Investor, other than any Debt Fund Affiliate.

                       "Non-Loan Party Debt Cap" has the meaning assigned to such tenn in Section 6.0 1(w).

                      "Obligations'' means all unpaid principal of and accrued and unpaid interest (including interest
             accruing during the pendency of any bankruptcy, insolvency, receivership or other similar proceeding,
             regardless of whether allowed or allowable in such proceeding) on the Loans, all accrued and unpaid fees and
             all expenses (including fees and expenses accruing during the pende ncy of any bankruptcy, insolvency,
             receivership or other similar proceeding, regardless of whe ther allowed or allowable in such proceeding),
             reimbursements, indemnities and all other advances to, de bts, liabilities and obligations of any Loan Party to
             the Lenders or to any Lender, the Administrative Agent or any indemnified party arising under the Loan
             Documents in respect of any Loan, whether direct or indirect (inc luding those acquired by assumption),
             absolute, contingent, due or to become due, now existing or hereafter arising.

                       "Obligations Derivative Instrument" has the meaning assigned to such term in Section 9 .05(d)(ii).

                       "OFAC" has the meaning assigned to such term in Section 3.17(a).




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                      "Organizational Documents" means (a) with respect to any corporation, its certificate or articles of
             incorporation or organization and its by-laws, (b) with respect to any limited partnership, its certificate of
             limited partnership and its partnership agreement, (c) with respect to any general partnership, its partnership
             agreement, (d) with respect to any limited liability company, its articles of organization or certificate of
             formation, and its operating agreement, and (e) with respect to any other form of entity, such other
             organizational documents required by local Requirements of Law or customary under such jurisdiction to
             document the fonnation and governance principles of such type of entity. In the event that any tenu or
             condition of this Agreement or any other Loan Document requires any Organizational Document to be
             certified by a secretary of state or similar governmental official, the reference to any such "Organizational
             Document" shall only be to a document of a type customarily certified by such governmental official.

                       "Other Applicable Indebtedness" has the meaning assigned to such term in Section 2. 11 (b)(ii).

                      "Other Connection Taxes" means, with respect to any Lender or the Administrative Agent, Taxes
             imposed as a result of a present or former connection between such recipient and the jurisdiction imposing
             such Tax (other than connections arising solely from such recipient having executed, delivered, become a party
             to, perfonned its obligations under, received payments under, received or perfected a security interest under, or
             engaged in any other transaction pursuant to or enforced any Loan Document, or sold or assigned an interest in
             any Loan or Loan Document).

                     "Other Taxes" means all present or future stamp, court or documentary, intangible, recording, filing or
             other excise or property Taxes arising from any payment made under any Loan Document or from the
             execution, delivery or enforcement of, or otherwise with respect to, any Loan Document, but excluding (i) any
             Excluded Taxes, and (ii) any such Taxes that are Other Connection Taxes imposed with respect to an
             assignment or participation (other than an assignment made pursuant to Section 2.19).

                       "OTPP" means Ontario Teachers' Pension Plan Board.

                      "Parent Company" means (a) Holdings and (b) any other Person of which the Top Borrower is an
             indirect Wholly -Owned Subsidiary.

                       "Participant" has the meaning assigned to such term in Section 9.05(c).

                       "Participant Register" has the meaning assigned to such term in Section 9.05(c).

                       "Patent" means the following: (a) any and all patents and patent applications; (b) all inventions
             described and claimed therein; (c) all reissues, divisions, continuations, renewals, extensions and continuations
             in part thereof; (d) all income, royalties, damages, claims, and payments now or hereafter due or payable under
             and with respect thereto, including, without limitation, damages and payments for past and future
             infringements thereof; (e) all rights to sue for past, present, and future infringements thereof; and (f) all rights
             corresponding to any of the foregoing.

                       "PBGC" means the Pension Benefit Guaranty Corporation.

                      "Pension Plan" means any employee pension benefit plan, as defined in Section 3(2) of ERISA (other
             than a Multiemployer Plan), that is subject to the provisions of Title IV of ERISA or Section 412 of the Code
             or Section 302 of ERISA, which the Top Borrower or any of its Restricted Subsidiaries, or any of their
             respective BRISA Affiliates, maintains or contributes to or has an obligation to contribute to, or otherwise has
             any liability, contingent or otherwise.

                       "Perfection Certificate" means a certificate substantially in the form of Exhibit J.




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                      "Perfection Requirements" means the filing of appropriate financing statements with the office of the
             Secretary of State or other appropriate office of the location (as detennined by Section 9-307 of the UCC) of
             each Loan Party, the filing of Intellectual Property Security Agreements or other appropriate instruments or
             notices with the U.S. Patent and Trademark Office and the U.S. Copyright Office, the proper recording or
             filing, as applicable, of Mortgages and fixture filings with respect to any Material Real Estate Asset
             constituting Collateral, in each case in favor of the Administrative Agent for the benefit of the Secured Parties
             and the delivery to the Administrative Agent (or the First Lien Collateral Agent as bailee for the
             Adm inistrative Agent) of any stock certificate, instrument, tangible chattel paper or promissory note, together
             with instruments of transfer executed in blank, in each case, to the extent required by the applicable Loan
             Documents.

                       "Permitted Acquisition" means any acquisition made by the Top Borrower or any of its Restricted
             Subsidiaries, whether by purchase, merger or othenvise, of all or substantially all of the assets of, or any
             business line, unit or division or product line (including research and development and re lated assets in respect
             of any product) of, any Person or of a majority of the outstanding Capital Stock of any Person who is engaged
             in a Similar Business (and, in any event, inc luding any Investment in (x) any Restricted Subsidiary the effect
             of which is to increase the Top Borrower's or any Restricted Subsidiary's equity ownership in such Restricted
             Subsidiary or (y) any joint venture for the purpose of increasing the Top Borrower' s or its relevant Restricted
             Subsidiary's ownership interest in such joint venture) if (A) such Person becomes a Restricted Subsidiary or
             (B) such Person, in one transaction or a series of related transaction, is amalgamated, merged or consolidated
             with or into, or transfers or conveys substantially all of its assets (or such division, business unit or product
             line) to, or is liquidated into, the Top Borrower or any Restricted Subsidiary as a result of such Investment.

                      "Permitted Holders" means (a) the Investors and (b) any Person with which one or more Investors
             form a "group" (within the meaning of Section l4(d) of the Exchange Act) so long as, in the case of this clause
             Gu, the relevant Investors beneficially own more than 50% of the relevant voting stock beneficially owned by
             the group.

                       "Pem1itted Liens" means Liens permitted pursuant to Section 6.02.

                      "Person" means any natural person, corporation, limited liability company, trust, joint venture,
             association, company, partnership, Governmental Authority or any other entity.

                     "Plan" means any "employee benefit plan" (as such term is defined in Section 3(3) of ERISA)
             maintained by the Top Borrower and/or any Restricted Subsidiary or, with respect lo any such plan that is
             subject to Section 412 of the Code or Title IV of ERISA, any of its ERISA Affiliates, other than any
             Multiemployer Plan.

                       "Platform" has the meaning assigned to such term in Section 5.01.

                    "Prepavment Asset Sale" means any Disposition by the Top Borrower or its Restricted Subsidiaries
             made pursuant to Section 6.0701).

                       "Primary Obligor'' has the meaning assigned lo such term in the definition of"Guarantee" .

                      "Prime Rate" means the rate of interest last quoted by The Wall Street Journal as the "Prime Rate" in
             the U.S. or, if The Wall Street Journal ceases to quote such rate, the highest per annum interest rate published
             by the Federal Reserve Board in Federal Reserve Statistical Release H.15 (5 19) (Selected Interest Rates) as the
             ' 'bank prime loan" rate or, if such rate is no longer quoted therein, any similar rate quoted therein (as
             reasonably determined by the Administrative Agent) or any similar release by the Federal Reserve Board (as
             reasonably detem1ined by the Administrative Agent).




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                     "Pro Fonua Basis" or "pro forma effect" means, with respect to any detem1ination of the Total
             Leverage Ratio, the First Lien Leverage Ratio, the Secured Leverage Ratio, the Interest Coverage Ratio,
             Consolidated Adjusted EBITDA or Consolidated Total Assets (including component definitions thereof), that:

                                (a)     (i) in the case of (A) any Disposition of all or substantially all of the Capital Stock of
                       any Restricted Subsidiary or any division and/or product line of the Top Borrower, any Restricted
                       Subsidiary, (B) any designation of a Restricted Subsidiary as an Unrestricted Subsidiary or (C) the
                       implementation of any Cost Saving Initiative, income statement items (whether positive or negative
                       and including any Expected Cost Savings) attributable to the property or Person subject to such
                       Subject Transaction, shall be excluded as of the first day of the applicable Test Period with respect to
                       any test or covenant for which the relevant determination is being made and (ii) in the case of any
                       Permitted Acquisition, Investment and/or designation of an Unrestricted Subsidiary as a Restricted
                       Subsidiary described in the definition of the term "Subject Transaction", income statement items
                       (whether positive or negative) attributable to the property or Person subject to such Subject
                       Transaction shall be included as of the first day of the applicable Test Period with respect to any test
                       or covenant for which the relevant detennination is being made,

                                 (b)      any retirement or repayment of Indebtedness shall be deemed to have occurred as of
                       the first day of the applicable Test Period with respect to any test or covenant for which the relevant
                       determination is being made,

                                (c)       any Indebtedness incurred by the Top Borrower or any of its Restricted Subsidiaries
                       in connection therewith shall be deemed to have occurred as of the first day of the applicable Test
                       Period with respect to any test or covenant for which the relevant detennination is being made;
                       provided that, (x) if such Indebtedness has a floating or formula rate, such Indebtedness shall have an
                       implied rate of interest for the applicable Test Period for purposes of this definition determined by
                       utilizing the rate that is or would be in effect with respect to such Indebtedness at the relevant date of
                       detennination (taking into account any interest hedging arrangements applicable to such
                       Indebtedness), (y) interest on any obligation with respect to any Capital Lease shall be deemed to
                       accrue at an interest rate reasonably determined by a Responsible Officer of the Top Borrower to be
                       the rate of interest implicit in such obligation in accordance with GAAP and (z) interest on any
                       Indebtedness that may optionally be detennined at an interest rate based upon a factor of a prime or
                       similar rate, a eurocurrency interbank offered rate or other rate shall be determined to have been based
                       upon the rate actually chosen, or if none, then based upon such optional rate chosen by the Top
                       Borrower,

                                (d)     the acqu1s1t1on of any asset included in calculating Consolidated Total Assets
                       (including the amount Cash or Cash Equivalents), whether pursuant to any Subject Transaction or any
                       Person becoming a subsidiary or merging, amalgamating or consolidating with or into the Top
                       Borrower or any of its subsidiaries, or the Disposition of any asset included in calculating
                       Consolidated Total Assets described in the definition of "Subject Transaction" shall be deemed to
                       have occurred as of the last day of the applicable Test Period with respect to any test or covenant for
                       which such calculation is being made; and

                                (e)     each other Subject Transaction shall be deemed to have occurred as of the first day of
                       the applicable Test Period (or, in the case of Consolidated Total Assets, as of the last day of such Test
                       Period) with respect to any test or covenant for which such calculation is being made.

                      "Projections" means the financial projections and pro forma financial statements of the Top Borrower
             and its subsidiaries included in the Infom1ation Memorandum (or a supplement thereto).




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                      "Promissory Note" means a promissory note of the Borrowers payable to any Lender o r its registe red
             assigns, in substantially the fonn of Exhibit L, evidenc ing the aggregate outstanding principa l amount of Loans
             of the Borrowers to such Lender resulting from the Loans made by such Lender.

                      "Public Companv Costs" means Charges associated w ith, or in anticipation of, or preparation for,
             compliance with the requirements of the Sarbanes-Oxley Act of 2002 and the rules and regulations
             promulgated in connection therewith and Charges relating to compliance w ith the provis ions of the Securities
             Act and the Exchange Act (and, in each case, similar Requireme nts of Law under o the r jurisdictions), as
             applicable to companies with e quity or debt securities he ld by the public, the rules of national securities
             exchange companies with listed equity or debt securities, directors ' or managers' compensation, fees and
             expense reimbursement, Charges relating to investor re lations, shareholder meetings and reports to
             shareholders or debtholders, directors' and officers' insurance and other executive costs, legal and other
             professio nal fees (including auditors' and accountants' fees), listing fees and fi ling fees associated with be ing a
             public company.

                       "Public Le nder" has the meaning assigned to such tenu in Section 9.0 l(d).

                      "Publis hed LIBO Rate" means, w ith respect to any Interest Period when used in reference to any Loan
             or Borrowing, (a) the rate of interest appearing on Reuters Screen LIBOR0 l Page (or on any successor or
             substitute page of such senrice, or any successor to such service as determined by Administrative Agent) as the
             London interbank offered rate for deposits in Dollars for a term comparable to such Interest Period, at
             approximately 11 :00 a.m. (London time) on the date which is two Business Days prior to the comme ncement
             of such Inte rest Period (but if more than one rate is specified on such page, the rate will be an arithmetic
             average of all such rates) and (b) if such rate is not available at such time for any reason, the n the " Publishe d
             LIBO Rate" for such Interest Period shall be the Interpolated Rate.

                      "Qualified Capital Stock" of any Person means any Capital Stock of such Person that 1s not
             Dis qualified Capital S tock.

                      "Oualifving IPO" means the issuance and sale by the Top Borrowe r or any Pare nt Company of its
             common Capital Stock in an underwritte n primary public offering (other than a public offering pursuant to a
             registration statement on Form S-8) pursuant to an effective registration statement filed with the SEC in
             accordance w ith the Securities Act (whether alone or in connection with a secondary public offering).

                       "Ratio Interest Expense'' means, with respect to any Person for any period, (a) the sum of consolidated
             total inte rest expense of such Pe rson and its Restricted Subs idiaries for such period, w he ther paid or accrue d
             and whether or not capitalized, (i) in cluding (A) the interest component of any payme nt under any Capital
             Lease (regardless of whether accounted for as interest expense under GAAP), (B) amortization of original
             issue discount resulting from the issuance of Indebtedness at less than par, (C) any commission, discount
             and/or other fee or charge owed w ith respect to any letter of credit and/or bankers' acceptance and (D) any net
             payment arising under any interest rate Hedge Agreement w ith respect to Indebtedness and (ii) excluding (A)
             amortization of deferred financing fees, debt issuance costs, discounted liabilities, commissio ns, fees and
             expenses, (B) any expense arising from any bridge, commitment and/or other financing fee (including fees and
             expenses associated with the Transactions and annual agency fees), (C) any expense resulting from the
             discounting of Indebtedness in connection with the application of recapitalization accounting or, if applicable,
             acquisition accounting, (D) any fee or expense associated with any Disposition, acquisition, Investment,
             issuance of Capital Stock or Inde btedness (in each case, whether or not consummated), (E) any cost associated
             with o bta ining, or breakage costs in respect of, any Hedge Agreement or other derivative instrume nt other than
             any interest rate Hedge Agreement or interest rate derivative instrume nt with respect to Inde btedness, (F) any
             penalty and/or interest relating to Taxes and (G) for the avoidance of doubt, any non-cash interest expense
             attributable to any moveme nt in the mark to market valuation of any obligation under any Hedge Agreement or
             any other derivative instrument and/or any payment obligation arising under any Hedge Agreement or
             derivative instrument o the r than any inte rest rate Hedge Agreement or interest rate derivative instrument with




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             respect to Indebtedness minus (b) interest income for such period. For purposes of this definition, interest in
             respect of any Capital Lease shall be deemed to accrue at an interest rate reasonably determined by such
             Person to be the rate of interest implicit in such Capital Lease in accordance with GAAP.

                      Notwithstanding anything to the contrary, it is agreed that for the purpose of calculating the Interest
             Coverage Ratio for any period ending prior to December 31, 2016, (i) for the four fiscal quarters ending on or
             about December 31 , 2017, Ratio Interest Expense of the Top Borrower and its Restricted Subsidiaries shall be
             annualized for the period starting with the Closing Date and ending on or about December 3 1, 2016, on the
             basis of a 365 day year for the actual days elapsed, (ii) for the four fiscal quarters ending or about March 31 ,
             2017, Ratio Interest Expense of the Top Borrower and its Restricted Subsidiaries shall be annualized for the
             period starting with the Closing Date and ending on or about March 3 1, 2017, on the basis of a 365 day year
             for the actual days elapsed, (iii) for the four fiscal quarters ending on or about June 30, 2017, Ratio Interest
             Expense of the Top Borrower and its Restricted Subsidiaries shall be annualized for the period starting with
             the Closing Date and ending on or about June 30, 2017, on the basis of a 365 day year for the actual days
             elapsed and (iv) for the four fiscal quarters ending on or about September 30, 2017, Ratio Interest Expense of
             the Top Borrower and its RestTicted Subsidiaries shall be annualized for the period starting with the Closing
             Date and ending on or about September 30, 2017, on the basis of a 365 day year for the actual days elapsed.

                      "Real Estate Asset" means, at any time of determination, all right, title and interest (fee, leasehold or
             otherwise) of any Loan Party in and to real property (including, but not limited to, land, improvements and
             fixtures thereon).

                     "Refinancing Amendment" means an amendment to this Agreement that is reasonably satisfactory to
             the Administrative Agent and the Top Borrower executed by (a) Holdings and each relevant Borrower, (b) the
             Administrative Agent and (c) each Lender that agrees to provide all or any portion of the Replacement Term
             Loans being incurred pursuant thereto and in accordance with Section 9.02(c).

                       "Refmancing Indebtedness" has the meaning assigned to such term in Section 6.0l(p).

                       "Refmancing Transactions" has the meaning assigned to such term in the Recitals.

                       "Refunding Capital Stock" has the meaning assigned to such term in Section 6.04(a)(viii).

                       "Register" has the meaning assigned to such term in Section 9.05(b).

                      "Regulation D" means Regulation D of the FRB as from time to time in effect and all official rulings
             and interpretations thereunder or thereof.

                      "Regulation H" means Regulation Hof the FRB as from time to time in effect and all official rulings
             and interpretations thereunder or thereof.

                      "Regulation U" means Regulation U of the FRB as from time to time in effect and all official rulings
             and interpretations thereunder or thereof.

                      "Related Funds" means with respect to any Lender that is an Approved Fund, any other Approved
             Fund that is managed by the same investment advisor as such Lender or by an Affiliate of such investment
             advisor.

                      "Related Parties" means, with respect to any specified Person, such Person' s Affiliates and the
             respective directors, managers, officers, trustees, employees, partners, agents, advisors and other
             representatives of such Person and such Person' s Affiliates.




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                      "Release" means any release, spill, emission, leaking, pumping, pouring, injection, escaping, deposit,
             disposal, discharge, dispersal, dumping, leaching or migration of any Hazardous Material into the Environment
             (including the abandonment or disposal of any barrels, containers or other closed receptacles containing any
             Hazardous Material), including the movement of any Hazardous Material through the air, soil, surface water or
             groundwater.

                       "Replaced Term Loans" has the meaning assigned to such tenu in Section 9.02(c).

                     "Replacement Debt" means any Refinancing Indebtedness (whether borrowed in the form of secured
             or unsecured loans, issued in a public offering, Rule 144A under the Securities Act or other private placement
             or bridge financing in lieu of the foregoing or otherwise) incurred in respect of Indebtedness permitted under
             Section 6.0 l(a) (and any subsequent refinancing of such Replacement Debt).

                       "Replacement Tenn Loans" has the meaning assigned to such term in Section 9.02(c).

                     "Reportable Event" means, with respect to any Pension Plan or Multiemployer Plan, any of the events
             described in Section 4043(c) of ERISA or the regulations issued thereunder, other than those events as to
             which the 30-day notice period is waived under PBGC Reg. Section 4043.

                       "Representatives" has the meaning assigned to such term in Section 9. 13.

                      "Required Asset Sale Percentage" means, as of the date on which the Borrower or any Restricted
             Subsidiary receives (a) Net Proceeds in respect of any Prepayment Asset Sale or (b) Net
             Insurance/Condemnation Proceeds, (i) if the First Lien Leverage Ratio is greater than 4.15: 1.00, 100% , (ii) if
             the First Lien Leverage Ratio is less than or equal to 4.15: 1.00 and greater than 3.65: 1.00, 50% and (iii) if the
             First Lien Leverage Ratio is less than or equal to 3.65: 1.00, 0%.

                      "Required Excess Cash Flow Percentage" means, as of any date of determination, (a) if the First Lien
             Leverage Ratio is greater than 4.15:1.00, 50%, (b) if the First Lien Leverage Ratio is less than or equal to
             4.15: 1.00 and greater than 3.65:1.00, 25% and (c) if the First Lien Leverage Ratio is less than or equal to
             3.65:1.00, 0%; it being understood and agreed that, for purposes of this definition as it applies to the
             determination of the amount of Excess Cash Flow that is required to be applied to prepay the Loans under
             Section 2.11 (b)(i) for any Excess Cash Flow Period, the First Lien Leverage Ratio shall be determined on the
             scheduled date of prepayment.

                     "Required Lenders" means, at any time, Lenders having Loans or unused Commitments representing
             more than 50% of the sum of the total Loans and such unused commitments at such time.

                       "Requirements of Law" means, with respect to any Person, collectively, the common law and all
             federal , state, local, foreign, multinational or international laws, statutes, codes, treaties, standards, rules and
             regulations, guidelines, ordinances, orders, judgments, writs, injunctions, decrees (including administrative or
             judicial precedents or authorities) and the interpretation or administration thereof by, and other determinations,
             directives, requirements or requests of any Governmental Authority, in each case whether or not having the
             force of la'rv and that are applicable to or binding upon such Person or any of its property or to which such
             Person or any of its property is subject.

                      "Responsible Officer" means, with respect to any Person, the chief executive officer, the president, the
             chief financial officer, the treasurer, any assistant treasurer, any executive vice president, any senior vice
             president, any vice president or the chief operating officer of such Person and any other individual or similar
             official thereof responsible for the administration of the obligations of such Person in respect of this
             Agreement, and, as to any document delivered on the Closing Date, shall include any secretary or assistant
             secretary or any other individual or similar official thereof with substantially equivalent responsibilities of a
             Loan Party and, solely for purposes of notices given pursuant to Article II, any other officer of the applicable



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             Loan Party so designated in wn tmg by the Top Borrower to the Administrative Agent. Any document
             delivered hereunder that is signed by a Responsible Officer of any Loan Party shall be conclusively presumed
             to have been authorized by all necessary corporate, partnership and/or other action on the part of such Loan
             Party, and such Responsible Officer shall be conclusively presumed to have acted on behalf of such Loan
             Party.

                       "Responsible Officer Certification" means, with respect to the financial statements for which such
             certification is required, the certification of a Responsible Officer of the Top Borrower that such financial
             statements fairly present, in all material respects, in accordance with GA.AP, the consolidated financial
             condition of the Top Borrower as at the dates indicated and its consolidated income and cash flows for the
             periods indicated, subject to changes resulting from audit and normal year-end adjustments.

                       "Restricted Amount" has the meaning set forth in Section 2. l l{b)(iv).

                       "Restricted Debt" means any Junior Indebtedness and any Junior Lien Indebtedness.

                       "Restricted Debt Payments" has the meaning set forth in Section 6.04(b).

                      "Restricted Payment" means (a) any dividend or other distribution on account of any shares of any
             class of the Capital Stock of the Top Borrower, except a dividend payable sole ly in shares of Qualified Capital
             Stock to the holders of such class; (b) any redemption, retirement, sinking fund or similar payment, purchase
             or other acquisition for value of any shares of any class of the Capital Stock of the Top Borrower and (c) any
             payment made to retire, or to obtain the surrender of, any outstanding warrants, options or other rights to
             acquire shares of any class of the Capital Stock of the Top Borrower now or hereafter outstanding.

                     "Restricted Subsidiary" means, as to any Person, any subsidiary of such Person that is not an
             Unrestricted Subsidiary. Unless otherwise specified, " Restricted Subsidiary" shall mean any Restricted
             Subsidiary of the Top Borrower.

                       "Retained Excess Cash Flow Amount" means, at any date of detennination, an amount, determined on
             a cumulative basis, that is equal to (a) the aggregate cumulative sum of the Excess Cash Flow that is not
             required to be applied as a mandatory prepayment under Section 2.1 l (b)(i) (without giving effect to Section
             2. 11 (b)(vii)) for all Excess Cash Flow Periods ending after the Closing Date and prior to such date plus (b) for
             each Excess Cash Flow Interim Period ended prior to such date but as to which the corresponding Excess Cash
             Flow Period has not ended (or no Excess Cash Flow Period has then ended), an amount equal to the Retained
             Excess Cash Flow Percentage of Excess Cash Flow of the Borrower and its RestTicted Subsidiaries, for such
             Excess Cash Flow Interim Period: provided that such amount shall not be less than zero for any Excess Cash
             Flow Period or Interim Excess Cash Flow Period.

                      "Retain ed Excess Cash Flow Percentage" means, with respect to any Excess Cash Flow Interim
             Period, (a) 100% minus (b) the Required Excess Cash Flow Percentage with respect to such Excess Cash Flow
             Interim Period.

                   " S&P" means Standard & Poor's Financial Services LLC, a subsidiary of the McGraw-Hill
             Companies, Inc.

                       "Sale and Lease-Back Transaction" has the meaning assigned to such term in Section 6.08.

                       "Scheduled Consideration" has the meaning assigned to such term in the definition of "Excess Cash
             Flow" .

                     " SEC" means the Securities and Exchange Commission, or any Governmental Authority succeeding
             to any or all of its functions.




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                      "Secured Hedging Obligations" means all Hedging Obligations (other than any Excluded Swap
             Obligations) under each Hedge Agreement that (a) is in effect on the Closing Dale between any Loan Party
             and a counterparty that is (or is an Affiliate of) the Administrative Agent, a Lender or an Arranger as of the
             Closing Date or (b) is entered into after the Closing Date between any Loan Party and any counterparty that is
             (or is an Affiliate of) the Administrative Agent, a Lender or an Arranger at the time such Hedge Agreement is
             entered into, in each case for which such Loan Party agrees to provide security and in each case that has been
             designated lo the Administrative Agent in writing by the Top Borrower as being a Secured Hedging Obligation
             for purposes of the Loan Documents, it being understood that each counterparty thereto shall be deemed (A) lo
             appoint the Administrative Agent as its agent under the applicable Loan Documents and (B) to agree to be
             bound by the provisions of Article 8, Section 9.03 and Section 9 .10 and any lntercreditor Agreement as if it
             were a Lender.

                      " Secured Leverage Ratio" means the ratio, as of any date of determination, of (a) Consolidated
             Secured Debt as of the last day of the most recently ended Test Period lo (b) Consolidated Adjusted EBITDA
             for the Test Period then most recently ended, in each case of the Top Borrower, its Restricted Subsidiaries on a
             consolidated basis.

                      " Secured Obligations" means all Obligations, together with (a) all Banking Services Obligations and
             (b) all Secured Hedging Obligations.

                     " Secured Parties" means (i) the Lenders, (ii) the Administrative Agent, (iii) each counterparty to a
             Hedge Agreement with a Loan Party the obligations under which constitute Secured Hedging Obligations, (iv)
             each provider of Banking Services to any Loan Party the obligations under w hich constitute Banking Services
             Obligations and (v) the beneficiaries of each indemnification obligation undertaken by any Loan Party under
             any Loan Document.

                      "Securities" means any stock, shares, units, partnership interests, voting trust certificates, certificates
             of interest or participation in any profit-sharing agreement or arrangement, options, warrants, bonds,
             debentures, notes, or other evidences of indebtedness, secured or unsecured, convertible, subordinated or
             otherwise, or in general any instruments commonly known as "securities" or any certificates of interest, shares
             or participations in temporary or interim certificates for the purchase or acquisition of, or any right to subscribe
             to, purchase or acquire, any of the foregoing ; provided that the term " Securities" shall not include any earn-out
             agreement or obligation or any employee bonus or other incentive compensation plan or agreement.

                    "Securities Act" means the Securities Act of 1933 and the rules and regulations of the SEC
             promulgated thereunder.

                      "Securitv Agreement" means the Second Lien Pledge and Security Agreement, substantially in the
             form of Exhibit M, among the Loan Parties and the Administrative Agent for the benefit of the Secured
             Parties.

                      "Shared Incremental Amount" means (a) the greater of (i) $400,000,000 and (ii) 100% of
             Consolidated Adjusted EBITDA as of the last day of the most recently ended Test Period minus (b) (i) the
             aggregate outstanding principal amount of all Incremental Facilities and/or Incremental Equivalent Debt
             incurred or issued in reliance on the Shared Incremental Amount and (ii) the aggregate principal amount of
             "Incremental Loans" and " Incremental Equivalent Debt" (each as defined in the First Lien Credit Agreement
             or any equivalent term under any documentation governing any First Lien Facility) incurred or issued in
             reliance on the Shared Incremental Amount, in each case after giving effect to any reclassification of such
             Incremental Facilities, Incremental Equivalent De bt, "Incremental Loans" or "Incremental Equivalent Debt"
             (as defined pursuant to the above parenthetical) as having been incurred under clause (e) of the definition of
             "Incremental Cap" hereunder or clause (e) of the definition of "Incremental Cap" (as defined in the First Lien
             Credit Agreement or any equivalent term under any documentation governing any First Lien Facility); it being
             understood and agreed that, unless the Top Borrower otherwise notifies the Administrative Agent, if all or any




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             portion of any First Lien Incremental Debt would be permitted under any " incurrence-based" capacity to incur
             First Lien Incremental Debt under the documentation governing any First Lien Facility on the applicable date
             of determination, such First Lien Incremental Debt (or the relevant portion thereof) shall be deemed to have
             been incurred in reliance on such " incurrence-based" capacity prior to the utilization of the Shared Incremental
             Amount.

                     "Sim ilar Business" means any Person the majority of the revenues of which are derived from a
             business that would be permitted by Section 6.10 if the references to "Restricted Subsidiaries" in Section 6.10
             were read to refer to such Person.

                       "SPC" has the meaning assigned to such tem1 in Section 9.05(e).

                       " Specified Dividend" has the meaning assigned to such term in the preamble.

                      " Sponsor" means collectively, (i) Advent, its controlled Affiliates and funds managed or advised by
             any of them or any of their respective controlled Affiliates, (ii) Ares, its controlled Affiliates and funds
             managed or advised by any of them or any of their respective controlled Affiliates and (iii) OTPP, its
             controlled Affiliates and funds managed or advised by any of them or any of their respective controlled
             Affiliates.

                       " SSB" has the meaning assigned to such term in the preamble.

                       "SSB Manufacturing" has the meaning assigned to such term in the preamble.

                       " Subject Loans" has the meaning assigned to such term in Section 2.1 I(b)(ii).

                     "Subject Person" has the meaning assigned to such term in the definition of "Consolidated Net
             Income" .

                       "Subject Proceeds" has the meaning assigned to such term in Section 2.11 (b)(ii).

                     "Subject Transaction" means, with respect to any Test Period, (a) the Transactions, (b) any Permitted
             Acquisition or any other acquisition or similar Investment, whether by purchase, merger or otherwise, of all or
             substantially all of the assets of, or any business line, unit or division of, any Person or of a m<liority of the
             outstanding Capital Stock of any Person (and, in any event, including any Investment in (x) any Restricted
             Subsidiary the effect of which is to increase the Top Borrower's or any Restricted Subsidiary' s respective
             equity ownership in such Restricted Subsidiary or (y) any joint venture for the purpose of increasing the Top
             Borrower' s or its relevant Restricted Subsidiary' s ownership interest in such joint venture), in each case that is
             permitted by this Agreement, (c) any Disposition of all or substantially all of the assets or Capital Stock of any
             subsidiary (or any business unit, line of business or division of the Top Borrower or a Restricted Subsidiary)
             not prohibited by this Agreement, (d) the designation of a Restricted Subsidiary as an Unrestricted Subsidiary
             or an Unrestricted Subsidiary as a Restricted Subsidiary in accordance with Section 5.10, (e) any incurrence of
             Indebtedness (other than revolving Indebtedness), (f) any repayment of Indebtedness, (g) any capital
             contribution in respect of Qualified Capital Stock or any issuance of Qualified Capital Stock (other than any
             amount constituting a Cure Amount), (h) the implementation of any Cost Saving Initiative and/or (i) any other
             event that by the terms of the Loan Documents requires pro forma compliance with a test or covenant
             hereunder or requires such test or covenant to be calculated on a pro fonna basis.

                      "subsidiarv" means, with respect to any Person, any corporation, partnership, limited liability
             company, association, joint venture or other business entity of which more than 50% of the total voting power
             of stock or other ownership interests entitled (without regard to the occurrence of any contingency) to vote in
             the election of the Person or Persons (whether directors, trustees or other Persons performing similar functions)
             having the power to direct or cause the direction of the management and policies thereof is at the time owned




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             or control led, directly or indirectly, by such Person or one or more of the other subsidiaries of such Person or a
             combination thereof, in each case to the exte nt the relevant entity ' s financial results are required to be included
             in such Person' s consolidated financial statements under GAAP; provided that in determining the percentage
             of ownership interests of any Person controlled by another Person, no ownership interests in the nature of a
             "qualifying share" of the former Person shall be deemed to be outstanding. Unless otherw ise specified,
             "subsidiary" s hall mean any subsidiary of the Top Borrower.

                      "Subsidiary Guarantor" means (a) o n the Closing Date, each subsidiary of the To p Borrower that is
             not a Borrowe r (other than any such subsidiary that is an Excluded Subsidiary on the Closing Date) and (b)
             thereafter, each subsidiary of the Top Borrower that becomes a guarantor of the Secured Obligations pursuant
             to the terms of this Agreement, in each case, until such time as the relevant subsidiary is released from its
             obligations under the Loan Guaranty in accordance with the terms and provisions hereof. Notwithstanding the
             foregoing, the Top Borrower may , in its sole discretion, e lect to cause any Restricted Subsidiary that is not
             otherwise re quired to be a Subsidiary Guarantor to provide a Loan Guaranty by causing such Restricted
             Subsidiary to e xecute a Joinder Agreement, and any such Restricted Subsidiary shall be a Loan Party and
             Subsidiary Guarantor for all purposes hereunder.

                       " Successor Holdings" has the meaning assigned to such term in Section 6. l 4(c).

                       "Successor Borrower" has the meaning assigned to such term in Section 6.07(a).

                     " Swap Obligations" me ans, w ith respect to any Loan Guarantor, any obligation to pay or perform
             under any agreement, contract or transaction that constitutes a "swap" within the meaning of Section 1a(47) of
             the Commodity Exchange Act.

                      ''Tax and Trust Funds" means Cash, Cash Equivalents or other assets that are comprised sole ly of
             (a) funds used for payroll and payroll Taxes and other employee benefit payments to or for the benefit of the
             employees of Holdings, the Top Borrower and/or any subsidiary, (b) Taxes required to be collected, remitte d
             or w ithheld (including, federal and state withholding taxes (including the employer' s share thereof)) and
             (c) other funds which any Loan Party holds in trust or as an escrow or fiduciary for another person which is
             not a Loan Party in the ordinary course of business.

                      "Taxes" means all present and future taxes, levies, imposts, duties, deductions, withholdings
             (including backup w ithholding), assessments, fees or other charges imposed by any Governmental A uthority,
             including any interest, additions to tax or penalties applicable thereto.

                       "Termination Date" has the meaning assig ned to such term in the le ad-in to Artic le 5.

                   ''Term Commitment" me ans any Initial Te rm Commitment and any Additio nal Te rm Loan
             Commitment.

                      "Term F acilitv" means the Loans provided to or for the benefit of the Borrowers pursuant to the terms
             of this Agreement.

                       "Term Loan Priority Collateral" has the meaning set forth in the ABL lntercreditor Agreement.

                     "Test Period" means, as of any date, the period of four consecutive Fiscal Quarters then most recently
             ended for w hich financial state ments of the ty pe described in Section 5.01(a) or Section 5.0l(b). as applicable,
             have been de livered (or are required to have been delivered) o r, if earlier, are internally available.

                       ''Threshold Amount" means $100,000,000.

                       ' 'Top Borrower" has the meaning assigned to such term in the preamble.




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                     "Total Leverage Ratio" means the ratio, as of any date of detem1ination, of (a) Consolidated Total
             Debt outstanding as of the last day of the most recently ended Test Period to (b) Consolidated Adjusted
             EBITDA for ilie Test Period then most recently ended, in each case of the Top Borrower and its Restricted
             Subsidiaries on a consolidated basis.

                      ' 'Trademark" means the following: (a) all trademarks (including service marks), common law marks,
             trade names, trade dress, and logos, slogans and other indicia of origin under the Requirements of Law of any
             jurisdiction in the world, and the registrations and applications for registration thereof and the goodwill of the
             business symbolized by the foregoing; (b) all renewals of the foregoing; (c) all income, royalties, damages, and
             payments now or hereafter due or payable with respect thereto, including, without limitation, damages, claims,
             and payments for past and future infringements thereof; (d) all rights to sue for past, present, and future
             infringements of the foregoing, including the right to settle suits involving claims and demands for royalties
             owing; and (e) all domestic rights corresponding to any of the foregoing.

                      ''Transaction Costs" means fees, premiums, expenses and other transaction costs (including original
             issue discount or upfront fees) payable or otherwise borne by any Parent Company and/or its subsidiaries in
             connection w ith the Transactions and the transactions contemplated thereby.

                      "Transactions" means, collectively, (a) the execution, delivery and perfonuance by the Loan Parties of
             tl,e Loan Documents to which they are a party and the Borrowing of Loans hereunder on tl,e Closing Date, (b)
             the execution, delivery and performance by the Loan Parties of the Loan Documents (as defmed in each of the
             First Lien Credit Agreement and the ABL Credit Agreement) to which tl,ey are a party and the incurrence of
             Indebtedness unde r the First Lien Credit Agreement and, if applicable, the ABL Credit Agreement on the
             Closing Date, (c) the Refinancing Transactions, (d) the Specified Dividend and (e) the payment of Transaction
             Costs.

                       ''Treasurv Capital Stock" has the meaning assigned to such term in Section 6.04(a)(viii).

                       ''Treasury Regulations" means the U.S. federal income tax regulations promulgated under the Code.

                     ' 'Tvpe", when used in reference to any Loan or Borrowing, refers to whether ilie rate of interest on
             such Loan, or on the Loans comprising such Borrowing, is determined by reference to the LIBO Rate or the
             Alternate Base Rate.

                      ''UCC" means the Uniform Commercial Code as in effect from time to time in the State of New York
             or any other state the laws of which are required to be applied in connection w ith the creation or perfection of
             security interests.

                       ''Unrestricted Cash Amount" means, as to any Person on any date of determination, the amount of
             (a) unrestricted Cash and Cash Equivalents of such Person and (b) Cash and Cash Equivalents of such Person
             iliat are restricted in favor of the Term Facility, the First Lien Facility and/or the ABL Facility and/or other
             permitted pari passu or junior secured Indebtedness (which may also include Cash and Cash Equivalents
             securing other Indebtedness that is secured by a Lien on Collateral along with the Term Facility, the First Lien
             Facility, the ABL Facility and/or other pennitted pari passu or junior secured indebtedness).

                     ''Unrestricted Subsidiary" means any subsidiary of the Top Borrower that is listed on Schedule 5 .10
             hereto or designated by the Top Borrower as an Unrestricted Subsidiary after the Closing Date pursuant to
             Section 5 .10 and any subsidiary of any Unrestricted Subsidiary.

                       ' 'U.S." means the United States of America.

                     ' 'U.S. Lender" means any Lender that is a ''United States person" within the meaning of
             Section 7701(a)(30) of the Code.




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                     ''USA PATRIOT Act" means The Uniting and Strengthening America by Providing Appropriate
             Tools Required to Intercept and Obstruct Terrorism Act of 2001 (Title TU of Pub. L. No. 107-56 (signed into
             law October 26, 200 1)).

                       ''U.S. Tax Compliance Certificate" has the meaning assigned to such term in Section 2.17[).

                      "Weighted Average Life to Maturity" means, when applied to any Indebtedness at any date, the
             number of years obtained by dividing: (a) the sum of the products obtained by multiply ing (i) the amount of
             each then remaining installment, sinking fund, serial maturity or other required scheduled payments of
             principal, including payment at final maturity, in respect thereof, by (ii) the number of years (calculated to the
             nearest one-twelfth) that will elapse betv,een such date and the making of such payment; by (b) the then
             outstanding principal amount of such Indebtedness; provided that the effect of any prepayment made in respect
             of such Indebtedness shall be disregarded in making such calculation.

                     "Wholly-Owned Subsidiaiy" of any Person means a subsidiary of such Person, 100% of the Capital
             Stock of w hich (other than directors ' qualifying shares or shares required by Requirements of Law to be owned
             by a resident of the relevant jurisdiction) shall be owned by such Person or by one or more Wholly-Owned
             Subsidiaries of such Person.

                       "Withdrawal Liabilitv " means the liability to any Multiemployer Plan as the result of a "complete" or
             " partial" withdrawal by the Top Borrower or any Restricted Subsidiary or any ERISA Affiliate from such
             Multiemployer Plan, as such terms are defined in Part I of Subtitle E of Title IV of ERISA.

                      "Write-Down and Conversion Powers" means, with respect to any EEA Resolution Authority, the
             write-dovvn and conversion powers of such EEA Resolution Authority from time to time under the Bail-In
             Legislation for the applicable EEA Member Country, which write-down and conversion powers are described
             in the EU Bail-In Legislation Schedule.

                      Section 1.02.       Classification of Loans and Borrowings. For purposes of this Agreement, Loans may
             be classified and referred to by Class (e.g., an " Initial Tenn Loan") or by Type (e.g. , a "LIBO Rate Loan") or
             by Class and Type (e.g., a "LIBO Rate Initial Term Loan"). Borrowings also may be classified and referred to
             by Class (e.g., an " Initial Term Loan Borrowing") or by Type (e.g., a " LIBO Rate Borrowing") or by Class and
             Type (e.g. , a " LIBO Rate Initial Term Loan Borrowing").

                      Section 1.03.    Terms Generallv. The definitions of terms herein shall apply equally to the singular
             and plural forms of the terms defined. Whenever the context may require, any pronoun shall include the
             corresponding masculine, feminine and neuter forms . The words "include," " i11cludes" and "including" shall
             be deemed to be followed by the phrase "without limitation." The word "will" shall be construed to have the
             same meaning and effect as the word "shall." Unless the context requires otherwise (a) any definition of or
             reference to any agreement, instrument or other document herein or in any Loan Document (including any
             Loan Document and the First Lien Credit Agreement) shall be construed as referring to such agreement,
             instrument or other document as from time to time amended, restated, amended and restated, supplemented or
             othernrise modified or extended, replaced or refinanced (subject to any restrictions or qualifications on such
             amendments, restatements, amendment and restatements, supplements or modifications or extensions,
             replacements or refinancings set forth herein), (b) any reference to any Requirement of Law in any Loan
             Document shall include all statutory and regulatory provisions consolidating, amending, replacing,
             supplementing or interpreting such Requirement of Law, (c) any reference herein or in any Loan Document to
             any Person shall be construed to include such Person' s successors and permitted assigns, (d) the words
             "herein," "hereof' and " hereunder," and words of similar import, w hen used in any Loan Document, shall be
             construed to refer to such Loan Document in its entirety and not to any particular provision hereof, (e) all
             references herein or in any Loan Document to Articles, Sections, clauses, paragraphs, Exhibits and Schedules
             shall be construed to refer to Articles, Sections, clauses and paragraphs of, and Exhibits and Schedules to, such
             Loan Document, (f) in the computation of periods of time in any Loan Document from a specified date to a




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             later specified date, the word " from" means "from and including", the words " to" and "until" mean "to but
             excluding" and the word "through" means "to and including" and (g) the words "asset" and "property", when
             used in any Loan Document, shall be construed to have the same meaning and effect and to refer to any and all
             tangible and intangible assets and properties, including Cash, securities, accounts and contract rights. For
             purposes of determining compliance at any time with Sections 6.01, 6.02, 6.04, 6.05, 6.06, 6.07 and 6.09, in
             the event that any Indebtedness, Lien, Restricted Payment, Restricted Debt Payment, Investment, Disposition
             or Affiliate Transaction, as applicable, meets the criteria of more than one of the categories of transactions or
             items pem1itted pursuant to any clause of such Sections 6.01 (other than Sections 6.0](a), ill and {ill, 6.02
             (other than Sections 6.02(a) and ill), 6.04, 6.05, 6.06, 6.07 and 6.09, the Top Borrower, in its sole discretion,
             may, from time to time, classify or reclassify such transaction or item (or portion thereof) under one or more
             clauses of each such Section and will only be required to include the amount and type of such transaction (or
             portion thereof) in any one category; provided that, upon delivery of any fi nancial statements pursuant to
             Section 5.0 l(a) or (hl following the initial incurrence of any portion of any Indebtedness incurred under
             Section 6.0l(a) through (gg) (other than Section 6.0l(a) or ill) (such portion of such Indebtedness, the
             " Subject Indebtedness"), if any such Subject Indebtedness could, based on such financial statements, have
             been incurred in reliance on Section 6.0 l{w), such Subject Indebtedness shall automatically be reclassified as
             having been incurred under the applicable provisions of Section 6.0 l(w) (in each case, subject to any other
             applicable provision of Section 6.0l(w) and, in the case of any Subject Indebtedness incurred by any
             Restricted Subsidiary that is not a Loan Party, to availability under the Non-Loan Party Debt Cap); provided
             further that any transaction or item (or portion thereof) originally penuitted by reference to one or more clauses
             in Section 6.04(a) may not be reclassified across or between other Sections, but, for the avoidance of doubt,
             may be reclassified within Section 6.04(a). It is understood and agreed that any Indebtedness, Lien, Restricted
             Payment, Restricted Debt Payment, Burdensome Agreement, Investment, Disposition and/or Affiliate
             transaction need not be permitted solely by reference to one category of permitted Indebtedness, Lien,
             Restricted Payment, Restricted Debt Payment, Burdensome Agreement, Investment, Disposition and/or
             Affiliate transaction under Sections 6.01 , 6.02, 6.04, 6.05, 6.06, 6.07 or 6.09, respectively, but may instead be
             pennitted in part under any combination thereof

                       Section 1.04.          Accounting Terms; GAAP.

                      (a)      All financial statements to be delivered pursuant to this Agreement shall be prepared in
             accordance with GAAP as in effect from time to time and, except as otherwise expressly provided herein, all
             tenn.s of an accounting nature that are used in calculating the Total Leverage Ratio, the First Lien Leverage
             Ratio, the Secured Leverage Ratio, the Interest Coverage Ratio, Consolidated Adjusted EBITDA or
             Consolidated Total Assets shall be construed and interpreted in accordance with GAAP, as in effect from time
             to time; provided that if the Top Borrower notifies the Administrative Agent that the Top Borrower requests an
             amendment to any provision hereof to eliminate the effect of any change occurring after the date of delivery of
             the financial statements described in Section 3.04(a) in GAAP or in the application thereof (including the
             conversion to IFRS as described below) on the operation of such provision (or if the Adm inistrative Agent
             notifies the Top Borrower that the Required Lenders request an amendment to any provision hereof for such
             purpose), regardless of whether any such notice is given before or after such change in GAAP or in the
             application thereof, then such provision shall be interpreted on the basis of GAAP as in effect and applied
             immediately before such change becomes effective until such notice have been withdrawn or such provision
             amended in accordance herewith; provided, further, that if such an amendment is requested by the Top
             Borrower or the Required Lenders, then the Top Borrower and the Administrative Agent shall negotiate in
             good faith to enter into an amendment of the relevant affected provisions (without the payment of any
             amendment or similar fee to the Lenders) to preserve the original intent thereof in light of such change in
             GAAP or the application thereof; provided, further, that all terms of an accounting or financial nature used
             herein shall be construed, and all computations of amounts and ratios referred to herein shall be made without
             giving effect to (i) any election under Accounting Standards Codification 825-10-25 (previously referred to as
             Statement of Financial Accounting Standards 159) (or any other Accounting Standards Codification or
             Financial Accounting Standard having a similar result or effect) to value any Indebtedness or other liabilities
             of the Top Borrower or any subsidiary at ''fair value," as defined therein and (ii) any treatment of Indebtedness



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             in respect of convertible debt instniments under Accounting Standards Codification 470-20 (or any other
             Accounting Standards Codification or Financial Accounting Standard having a similar result or effect) to value
             any such Indebtedness in a reduced or bifurcated manner as described therein, and such Indebtedness shall at
             all times be valued at the full stated principal amount thereof. If the Top Borrower notifies the Administrative
             Agent that the Top Borrower (or its applicable Parent Company) is required to report under IFRS or has
             elected to do so through an early adoption policy, " GAAP" shall mean international financial reporting
             standards pursuant to IFRS (provided that after such conversion, the Top Borrower cannot elect to report under
             GAAP).

                      (b)      Notwithstanding anything to the contrary herein, but subject to Section 1.10 hereof, all
             fmancial ratios and tests (including the Total Leverage Ratio, the First Lien Leverage Ratio, the Secured
             Leverage Ratio, the Interest Coverage Ratio and the amount of Consolidated Total Assets and Consolidated
             Adjusted EBITDA) contained in this Agreement that are calculated with respect to any Test Period during
             which any Subject Transaction occurs shall be calculated with respect to such Test Period and such Subject
             Transaction on a Pro Fonua Basis. Further, if since the begirming of any such Test Period and on or prior to
             the date of any required calculation of any financial ratio or test (x) any Subject Transaction has occurred or
             (y) any Person that subsequently became a Restricted Subsidiary or was merged, amalgamated or consolidated
             with or into the Top Borrower or any of its Restricted Subsidiaries or any joint venture since the beginning of
             such Test Period has consummated any Subject Transaction, then, in each case, any applicable fmancial ratio
             or test shall be calculated on a Pro Fortna Basis for such Test Period as if such Subject Transaction had
             occurred at the beginning of the applicable Test Period.

                      (c)      Notwithstanding anything to the contrary contained in paragraph (a) above or in the definition
             of " Capital Lease," in the event of an accounting change requiring all leases to be capitalized, only those leases
             (assuming for purposes hereof that such leases were in existence on the date hereof) that would constitute
             Capital Leases in conformity with GAAP on the date hereof shall be considered Capital Leases, and all
             calculations and de liverables under this Agreement or any other Loan Document shall be made or delivered, as
             applicable, in accordance therewith.

                      Section 1.05.   Effectuation of Transactions. Each of the representations and warranties contained in
             this Agreement (and all corresponding definitions) is made after giving effect to the Transactions, unless the
             context otherwise requires.

                     Section 1.06.       Timing of Payment or Performance. When payment of any obligation or the
             performance of any covenant, duty or obligation is stated to be due or performance required on a day which is
             not a Business Day , the date of such payment (other than as described in the definition of ''Interest Period") or
             performance shall extend to the immediately succeeding Business Day, and, in the case of any payment
             accniing interest, interest thereon shall be payable for the period of such extension.

                      Section 1.07.    Times of Day. Unless otherwise specified herein, all references herein to times of
             day shall be references to New York City time (daylight or standard, as applicable).

                       Section 1.08.          Currency Equivalents Generally.

                     (a)     For purposes of any determination under Article 5, Article 6 (other than the calculation of
             compliance with any financial ratio for purposes of taking any action hereunder) or Article 7 with respect to
             the amount of any Indebtedness, Lien, Restricted Payment, Restricted Debt Payment, Investment, Disposition,
             Sale and Lease-Back Transaction, affiliate transaction or other transaction, event or circumstance, or any
             detennination under any other provision of this Agreement, (any of the foregoing, a "specified transaction"), in
             a currency other than Dollars, (i) the Dollar equivalent amount of a specified transaction in a currency other
             than Dollars shall be calculated based on the rate of exchange quoted by the Bloomberg Foreign Exchange
             Rates & World Currencies Page (or any successor page thereto, or in the event such rate does not appear on
             any Bloomberg Page, by reference to such other publicly available service for displaying exchange rates as




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             may be agreed upon by the Administrative Agent and the Top Borrower) for such foreign currency, as in effect
             at 11:00 a.m. (London time) on the date of such specified transaction (which, in the case of any Restricted
             Payment, shall be deemed to be the date of the declaration thereof and, in the case of the incurrence of
             Indebtedness, shall be deemed to be on the date first committed); provided, that if any Indebtedness is incurred
             (and, if applicable, associated Lien granted) to refinance or replace other Indebtedness denominated in a
             currency other than Dollars, and the relevant refinancing or replacement would cause the applicable Dollar-
             denominated restriction to be exceeded if calculated at the relevant currency exchange rate in effect on the date
             of such refinancing or replacement, such Dollar-denominated restriction shall be deemed not to have been
             exceeded so long as the principal amount of such refinancing or replacement Indebtedness (and, if applicable,
             associated Lien granted) does not exceed an amount sufficient to repay the principal amount of such
             Indebtedness being refinanced or replaced, except by an amount equal to (x) unpaid accrued interest and
             premiums (including tender premiums) thereon plus other reasonable and customary fees and expenses
             (including upfront fees and original issue discount) incurred in connection with such refinancing or
             replacement, (y) any existing commitments unutilized thereunder and (z) additional amounts permitted to be
             incurred under Section 6.01 and (ii) for the avoidance of doubt, no Default or Event of Default shall be deemed
             to have occurred solely as a result of a change in the rate of currency exchange occurring after the time of any
             specified transaction so long as such specified transaction was permitted at the time incurred, made, acquired,
             committed, entered or declared as set forth in clause (i). For purposes of calculating compliance with any
             financial ratio for purposes of taking any action hereunder, on any relevant date of detenuination, amounts
             denominated in currencies other than Dollars shall be translated into Dollars at the applicable currency
             exchange rate used in preparing the financial statements delivered pursuant to Sections 5.0l(a) or .(hl (or, prior
             to the first such delivery, the financial statements referred to in Section 3.04), as applicable, for the relevant
             Test Period and will, with respect to any Indebtedness, reflect the currency translation effects, determined in
             accordance with GAAP, of any Hedge Agreement permitted hereunder in respect of currency exchange risks
             with respect to the applicable currency in effect on the date of detenuination for the Dollar equivalent amount
             of such Indebtedness; provided that the amount of any Indebtedness that is subject to a Debt FX Hedge shall
             be determined in accordance with the definition of"Consolidated Total Debt".

                      (b)     Each provision of this Agreement shall be subject to such reasonable changes of construction
             as the Administrative Agent may from time to time specify with the Top Borrower' s consent to appropriately
             reflect a change in currency of any country and any relevant market convention or practice relating to such
             change in currency.

                      Section 1.09.   Cashless Rollovers. Notwithstanding anything to the contrary contained in this
             Agreement or in any other Loan Document, to the extent that any Lender extends the maturity date of, or
             replaces, renews or refmances, any of its then-existing Loans with Incremental Loans, Replacement Term
             Loans, Extended Term Loans or loans incurred under a new credit facility , in each case, to the extent such
             extension, replacement, renewal or refinancing is effected by means of a "cashless roll" by such Lender, such
             extension, replacement, renewal or refinancing shall be deemed to comply with any requirement hereunder or
             any other Loan Document that such payment be made "in Dollars", "in immediately available funds", " in
             Cash" or any other similar requirement.

                       Section 1.10.          Certain Calculations and Tests.

                      (a)     Notwithstanding anything to the contrary herein, to the extent that the terms of this
             Agreement require (i) compliance ·with any financial ratio or test (including any First Lien Leverage Ratio test,
             any Secured Leverage Ratio test, any Total Leverage Ratio test and any Interest Coverage Ratio test) and/or
             any cap expressed as a percentage of Consolidated Adjusted EBITDA or Consolidated Total Assets and/or (ii)
             the absence of a Default or Event of Default (or any type of Default or Event of Default) as a condition to (A)
             the consummation of any transaction in connection with any acquisition or similar Investment (including the
             assumption or incurrence oflndebtedness), (B) the making of any Restricted Payment and/or (C) the making of
             any Restricted Debt Payment, the detennination of whether the relevant condition is satisfied may be made, at
             the election of the Top Borrower, (1) in the case of any acquisition or similar Investment (including with




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             respect to any Indebtedness contemplated or incurred in connection therewith), at the time of (or on the basis
             of the financial statements for the most recently ended Test Period at the time of) e ither (x) the execution of the
             definitive agreement with respect to such acquisition or Investment or (y) the consummation of such
             acquisition or Investment, (2) in the case of any Restricted Payment (including with respect to any
             Indebtedness contemplated or incurred in connection therewith), at the time of (or on the basis of the financial
             statements for the most recently ended Test Period at the time of:) (x) the declaration of such Restricted
             Payment or (y) the making of such Restricted Payment and (3) in the case of any Restricted Debt Payment
             (including with respect to any Indebtedness contemplated or incurred in connection therewith), at the time of
             (or on the basis of the financial statements for the most recently ended Test Period at the time of) (x) delivery
             of irrevocable (which may be conditional) notice with respect to such Restricted Debt Payment or (y) the
             making of such Restricted Debt Payment, in each case, after giving effect, on a Pro Forma Basis, to (I) the
             re levant acquisition, Investment, Restricted Payment, Restricted De bt Payment and/or any re lated Inde btedness
             (including the intended use of proceeds thereof) and (II) to the extent definitive documents in respect thereof
             have been executed or the declaration of any Restricted Payment or delivery of notice with respect to a
             Restricted Debt Payment (which definitive documents, declaration or notice has not terminated or expired
             without the consummation thereof), any additional acquisition, Investment, Restricted Payment, Restricted
             Debt Payment and/or any related Indebtedness (including the intended use of proceeds thereof) that the Top
             Borrower has elected to be determined as set forth in this clause (a).

                       (b)     For purposes of determining the permissibility of any action, change, transaction or event that
             requires a calculation of any financial ratio or test (including, without limitation, any First Lien Leverage Ratio
             test, any Secured Leverage Ratio test, any Total Leverage Ratio test and/or any Interest Coverage Ratio test
             and/or the amount of Consolidated Adjusted EBITDA or Consolidated Total Assets), such financial ratio or
             test shall be calculated at the time such action is taken (subject to clause (a) above), such change is made, such
             transaction is consummated or such event occurs, as the case may be, and no Default or Event of Default shall
             be deemed to have occurred solely as a result of a change in such financial ratio or test occurring after such
             calculation.

                      (c)      Notwithstanding anything to the contrary herein, with respect to any amount incurred or
             transaction entered into ( or consummated) in reliance on a provision of this Agreement (including Section
             6.0l(x), as it relates to the incurrence of any "fixed" or similar amount available under any ABL Facility
             and/or any First Lien Facility) that does not require compliance with a financial ratio or test (including, without
             limitation, any First Lien Leverage Ratio test, any Secured Leverage Ratio test, any Total Leverage Ratio test
             and/or any Interest Coverage Ratio or fixed charge coverage ratio test) (any such amount, a "Fixed Amount")
             substantially concurrently with any amount incurred or transaction entered into (or consummated) in reliance
             on a provision of this Agreement (including Section 6.0 l(x)_ as it relates to the incurrence of any " incurrence-
             based" or similar amount available under any ABL Facility and/or First Lien Facility) that requires compliance
             with a financial ratio or test (including any First Lien Leverage Ratio test, any Secured Leverage Ratio test,
             any Total Leverage Ratio test and/or any Interest Coverage Ratio or fixed charge coverage ratio test) (any such
             amount, an "lncurrence-Based Amount"), it is understood and agreed that any Fixed Amount shall be
             disregarded in the calculation of the financial ratio or test applicable to the relevant Incurrence-Based Amount.

                      (d)     The principal amount of any non-interest bearing Indebtedness or other discount security
             constituting Indebtedness at any date shall be the principal amount thereof that would be shown on a balance
             sheet of the Top Borrower dated such date prepared in accordance with GAAP.

                      (e)     The increase in any amount secured by any Lien by virtue of the accrual of interest, the
             accretion of accreted value, the payment of interest or a dividend in the form of additional Indebtedness,
             amortization of original issue discount and/or any increase in the amount of Indebtedness outstanding solely as
             a result of any fluctuation in the exchange rate of any applicable currency will not be deemed to be the
             granting of a Lien for purposes of Section 6.02.




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                     (f)      Whenever a financial ratio or test is to be calculated on a pro Jonna basis, the reference to the
             "Test Period" for purposes of calculating such financial ratio or test shall be deemed to be a reference to, and
             shall be based on, the most recently ended Test Period for which internal financial statements of the Top
             Borrower are available (as determined in good faith by the Borrower).

                      Section 1.11.           Guarantees and Collateral. Notwithstanding any provision of any Loan Document to
             the contrary:

                     (a)      For purposes of any determination relating to the ABL Priority Collateral as to which the
             Administrative Agent is granted discretion hereunder or under any other Loan Document (including any
             determination with respect to any waiver or extension or any opportunity to request that is permitted or
             required under the definition of "Collateral and Guarantee Requirement," under this Agreement or under any
             other Loan Document), the Administrative Agent shall be deemed to have agreed and accepted any
             detenuination in respect thereof by the Applicable Administrative Agent; and

                      (b)     For purposes of any detenuination relating to the Term Loan Priority Collateral as to which
             the Administrative Agent is granted discretion hereunder or under any other Loan Document (including any
             detenuination with respect to any waiver or extension or any opportunity to request that is permitted or
             required under the definition of "Collateral and Guarantee Requirement," under this Agreement or under any
             other Loan Document), the Administrative Agent shall be deemed to have agreed and accepted any
             determination in respect thereof by the Applicable Administrative Agent; it being understood and agreed that
             as of the Closing Date, the Administrative Agent is the Applicable Administrative Agent with respect to the
             Tenn Loan Priority Collateral.

                                                                      ARTICLE2

                                                                  THE CREDITS

                       Section 2.01.          Commitments.

                      (a)      Subject to the terms and conditions set forth herein, each Initial Term Lender severally, and
             not jointly, agrees to make Initial Term Loans to the Borrowers on the Closing Date in Dollars in a principal
             amount not to exceed its Initial Term Loan Commitment. Amounts paid or prepaid in respect of the Initial
             Term Loans may not be re-borrowed.

                     (b)      Subject to the tenus and conditions of this Agreement and any applicable Refinancing
             Amendment or Incremental Facility Amendment, each Lender with an Additional Term Loan Commitment of
             a given Class, severally and not jointly, agrees to make Additional Tenn Loans of such C lass to the relevant
             Borrowers, which Loans shall not exceed for any such Lender at the time of any incurrence thereof the
             Additional Term Loan Commitment of such Class of such Lender as set forth in the applicable Refinancing
             Amendment or Incremental Facility Amendment.

                       Section 2.02.          Loans and Borrowings.

                    (a)     Each Loan shall be made as part of a Borrowing consisting of Loans of the same Class and
             Type made by the Lenders ratably in accordance with their respective Commitments of the applicable Class.

                      (b)      Subject to Section 2.14, each Borrowing shall be comprised entirely of ABR Loans or LIBO
             Rate Loans as any Borrower (or the Top Borrower on behalf of any Borrower) may request in accordance
             herewith. Each Lender at its option may make any LIBO Rate Loan by causing any domestic or foreign
             branch or Affiliate of such Lender to make such Loan; provided that (i) any exercise of such option shall not
             affect the obligation of any Borrower to repay such Loan in accordance with the terms of this Agreement, (ii)
             such LIBO Rate Loan shall be deemed to have been made and held by such Lender, and the obligation of such




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             Borrower to repay such LIBO Rate Loan shall nevertheless be to such Lender for the account of such domestic
             or foreign branch or Affiliate of such Lender and (iii) in exercising such option, such Lender shall use
             reasonable efforts to minimize increased costs to any Borrower resulting therefrom (which obligation of such
             Lender shall not require it to take, or refrain from taking, actions that it determines would result in increased
             costs for which it will not be compensated hereunder or that it otherwise determines would be disadvantageous
             to it and in the event of such request for costs for which compensation is provided under this Agreement, the
             provisions of Section 2. 15 shall apply); provided, further, that no such domestic or foreign branch or Affiliate
             of such Lender shall be entitled to any greater indemnification under Section 2.17 in respect of any U.S.
             federal withholding tax with respect to such LJBO Rate Loan than that to which the applicable Lender was
             entitled on the date on which such Loan was made (except in connection with any indemnification entitlement
             arising as a result of any Change in Law after the date on which such Loan was made).

                      (c)     At the commencement of each Interest Period for any LIBO Rate Borrowing, such LIBO Rate
             Borrowing shall comprise an aggregate principal amount that is an integral multiple of $50,000 and not less
             than $250,000. Each ABR Borrowing when made shall be in a minimum principal amount of $50,000.
             Borrowings of more than one Type and Class may be outstanding at the same time; provided that there shall
             not at any time be more than a total of l Odifferent Interest Periods in effect for LIBO Rate Borrowings at any
             time outstanding (or such greater number of different Interest Periods as the Administrative Agent may agree
             from time to time).

                       (d)       Notwithstanding any other provision of this Agreement, the Top Borrower shall not, nor shall
             it be entitled to, request, or to elect to convert or continue, any Borrowing if the Interest Period requested with
             respect thereto would end after the Maturity Date applicable to the relevant Loans.

                      Section 2.03.       Requests for Borrowings. Each Borrowing, each conversion of Loans from one Type
             to the other, and each continuation of LIBO Rate Loans shall be made upon irrevocable notice by the relevant
             Borrower (or the Top Borrower on behalf of the relevant Borrower) to the Administrative Agent (provided that
             notices in respect of Borrowings (x) to be made on the C losing Date may be conditioned on the closing of the
             Refinancing Transactions and (y) to be made in connection with any acquisition, investment or irrevocable
             repayment or redemption of Indebtedness may be conditioned on the closing of such Permitted Acquisition,
             permitted Investment or permitted irrevocable repayment or redemption of Indebtedness). Each such notice
             must be in the form of a written Borrowing Request, appropriate ly completed and signed by a Responsible
             Officer of the relevant Borrower (or the Top Borrower on behalf of the relevant Borrower) or by telephone
             (and promptly conf inned by de livery of a written Borrowing Request, appropriately completed and signed by a
             Responsible Officer of the relevant Borrower (or the Top Borrower on behalf of the relevant Borrower)) and
             must be received by the Administrative Agent (by hand delivery, fax or other electronic transmission
             (including " .pdf' or " .tif')) not later than (i) l :00 p.m. three Business Days prior to the requested day of any
             Borrowing of, conversion to or continuation of LIBO Rate Loans (or one Business Day in the case of any
             Borrowing of LJBO Rate Loans to be made on the Closing Date) and (ii) 9:00 a.m. on the requested date of
             any Borrowing of or conversion to ABR Loans (or, in each case, such later time as is reasonably acceptable to
             the Administrative Agent): provided, however, that if the relevant Borrower (or the Top Borrower on behalf of
             the relevant Borrower) wishes to request LIBO Rate Loans having an Interest Period of other than one, two,
             three or six months in duration as provided in the definition of "Interest Period," (A) the applicable notice from
             the relevant Borrower (or the Top Borrower on behalf of the relevant Borrower) must be received by the
             Administrative Agent not later than 1:00 p.m. four Business Days prior to the requested date of the relevant
             Borrowing (or such later tune as is reasonably acceptable to the Administrative Agent), conversion or
             continuation, whereupon the Administrative Agent shall give prompt notice to the appropriate Lenders of such
             request and determine whether the requested Interest Period is available to them and (B) not later than 12:00
             p.m. three Business Days before the requested date of the relevant Borrowing, conversion or continuation, the
             Administrative Agent shall notify the re levant Borrower (or the Top Borrower as agent for the relevant
             Borrower) whether or not the requested Interest Period is available to the appropriate Lenders.




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                      If no election as to the Type of Borrowing is specified, then the requested Borrowing shall be an ABR
             Borrowing. If no Interest Period is specified with respect to any requested LIBO Rate Borrowing, then the
             relevant Borrower shall be deemed to have selected an Interest Period of one month' s duration. The
             Administrative Agent shall advise each Lender of the details and amount of any Loan to be made as part of the
             relevant requested Borrowing (x) in the case of any ABR Borrowing, on the same Business Day of receipt of a
             Borrowing Request in accordance with this Section or (y) in the case of any LIBO Rate Borrowing, no later
             than one Business Day following receipt of a Borrowing Request in accordance with this Section.

                       Section 2.04.          [Reserved].

                       Section 2.05.          [Reserved].

                       Section 2.06.          [Reserved).

                       Section 2.07.          Funding of Borrowings.

                       (a)     Each Lender shall make each Loan to be made by it hereunder not later than (i) 1:00 p.m., in
             the case of LIBO Rate Loans, and (ii) 2:00 p.m., in the case of ABR Loans, in each case on the Business Day
             specified in the applicable Borrowing Request by wire transfer of immediately available funds to the account
             of the Administrative Agent most recently designated by it for such purpose by notice to the Lenders in an
             amount equal to such Lender 's respective Applicable Percentage. The Administrative Agent will make such
             Loans available to the relevant Borrower (or the Top Borrower on behalf of the relevant Borrower) by
             promptly crediting the amounts so received on the same Business Day, in like funds, to the account designated
             in the relevant Borrowing Request or as otherwise directed by the Top Borrower.

                      (b)      Unless the Administrative Agent has received notice from any Lender that such Lender will
             not make available to the Administrative Agent such Lender' s share of any Borrowing prior to the proposed
             date of such Borrowing, the Administrative Agent may assume that such Lender has made such share available
             on such date in accordance with paragraph (a) of this Sec tion and may, in reliance upon such assumption,
             make available to the relevant Borrower (or the Top Borrower as agent for the relevant Borrower) a
             corresponding amount. In such event, if any Lender has not in fact made its share of the applicable Borrowing
             available to the Administrative Agent, then the applicable Lender and the Borrowers severally agree to pay to
             the Administrative Agent forthwith on demand (without duplication) such corresponding amount with interest
             thereon, for each day from and including the date such amount is made available to the relevant Borrower to
             but excluding the date of payment to the Administrative Agent, at (i) in the case of such Lender, the greater of
             the Federal Funds Effective Rate and a rate detennined by the Administrative Agent in accordance with
             banking industry rules on interbank compensation or (ii) in the case of any Borrower, the interest rate
             applicable to Loans comprising such Borrowing at such time. If such Lender pays such amount to the
             Administrative Agent, then such amount shall constitute such Lender's Loan included in such Borrowing and
             the obligation of the relevant Borrower to repay the Administrative Agent such corresponding amount pursuant
             to this Section 2.07(b) shall cease. If any Borrower pays such amount to the Administrative Agent, the amount
             so paid shall constitute a repayme nt of such Borrowing by such amount. Nothing herein shall be deemed to
             re lieve any Lender from its obligation to fulfill its Commitment or to prejudice any rights w hich the
             Administrative Agent or the Top Borrower or any other Loan Party may have against any Lender as a result of
             any default by such Lender hereunder.

                       Section 2.08.          Type: Interest Elections.

                     (a)     Each Borrowing shall initially be of the Type specified in the applicable Borrowing Request
             and, in the case of any LIBO Rate Borrowing, shall have an initial Interest Period as specified in such
             Borrowing Request. Thereafter, the relevant Borrower (or the Top Borrower on behalf of the relevant
             Borrower) may elect to convert any Borrowing to a Borrowing of a different Type or to continue such
             Borrowing and, in the case of a LIBO Rate Borrowing, may elect Interest Periods therefor, all as provided in




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             this Section. The relevant Borrower (or the Top Borrower on behalf of the relevant Borrower) may elect
             different options with respect to different portions of the affected Borrowing, in which case each such portion
             shall be allocated ratably among the Lenders based upon their Applicable Percentages and the Loans
             comprising each such portion shall be considered a separate Borrowing.

                      (b)       To make an election pursuant to this Section, the relevant Borrower (or the Top Borrower on
             behalf of the relevant Borrower) shall deliver an Interest Election Request, appropriately completed and signed
             by a Responsible Officer of the relevant Borrower (or the Top Borrower on behalf of the relevant Borrower) of
             the applicable e lection to the Administrative Agent.

                      If any such Interest Election Request requests a LIBO Rate Borrowing but does not specify an Interest
             Period, then the Top Borrower shall be deemed to have selected an Interest Period of one month's duration.

                     (c)      Promptly following receipt of an Interest Election Request, the Administrative Agent shall
             advise each applicable Lender of the details thereof and of such Lender' s portion of each resulting Borrowing.

                      (d)      If the relevant Borrower (or the Top Borrower on behalf of the relevant Borrower) fails to
             deliver a timely Interest Election Request with respect to a LIBO Rate Borrowing prior to the end of the
             Interest Period applicable thereto, then, unless such Borrowing is repaid as provided herein, such Borrowing
             shall be converted at the end of such Interest Period to an ABR Borrowing. Notwithstanding anything to the
             contrary herein, if an Event of Default exists and the Administrative Agent, at the request of the Required
             Lenders, so notifies the relevant Borrower (or the Top Borrower on behalf of the relevant Borrower), then, so
             long as such Event of Default exists (i) no outstanding Borrowing may be converted to or continued as a LIBO
             Rate Borrowing and (ii) unless repaid, each LIBO Rate Borrowing shall be converted to an ABR Borrowing at
             the end of the then-current Interest Period applicable thereto.

                      Section 2.09.  Termination and Reduction of Commitments. Unless previously terminated, (i) the
             Initial Tenn Commitments on the Closing Date shall automatically terminate upon the making of the Initial
             Tenn Loans on the Closing Date and (ii) the Additional Term Loan Commitments of any Class shall
             automatically terminate upon the making of the Additional Term Loans of such Class and, if any such
             Additional Tenn Loan Commitment is not drawn on the date that such Additional Term Loan Commitment is
             required to be drawn pursuant to the applicable Incremental Facility Amendment, Extension Amendment or
             Refinancing Amendment, as applicable, the undrawn amount thereof shall automatically terminate.

                       Section 2.10.          Repayment of Loans; Evidence of Debt.

                      (a)      (i) The Borrowers hereby jointly and severally unconditionally promise to repay the
             outstanding principal amount of the Initial Tenn Loans to the Administrative Agent for the account of each
             Initial Term Lender on the Initial Term Loan Maturity Date, in an amount equal to the remainder of the
             principal amount of the Initial Tenn Loans outstanding on such date, together with accrued and unpaid interest
             on the principal amount to be paid to but excluding the date of such payment.

                                (ii)    The relevant Borrower (or the Top Borrower on behalf of the relevant Borrower)
                       shall repay the Additional Term Loans of any Class in such scheduled amortization installments and
                       on such date or dates as shall be specified therefor in the applicable Refinancing Amendment,
                       Incremental Facility Amendment or Extension Amendment (as such payments may be reduced from
                       time to time as a result of the application of prepayments in accordance with Section 2. 11 or
                       repurchases in accordance with Section 9.05(g) or increased as a result of any increase in the amount
                       of such Additional Term Loans of such Class pursuant to Section 2.22(a)).

                       (b)        [Reserved].




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                     (c)      Each Lender shall maintain in accordance with its usual practice an account or accounts
             evidencing the inde btedness of the Borrowers to such Lender resulting from each Loan made by such Lender,
             including the amounts of principal and interest payable and paid to such Lender from time to time hereunder.

                       (d)     The Administrative Agent shall maintain accounts in which it shall record (i) the amount of
             each Loan made hereunder and the Class and Type thereof and the Interest Period (if any) applicable thereto,
             (ii) the amount of any principal or interest due and payable or to become due and payable from each Borrower
             to each Lender hereunder and (iii) the amount of any sum rece ived by the Administrative Agent hereunder for
             the accounts of the Lenders and each Lender's share thereof.

                     (e)       The entries made in the accounts maintained pursuant to paragraphs (c) or ® of this
             Section shall be prima facie evidence of the existence and amounts of the obligations recorded therein (absent
             manifest error): provided that the failure of any Lender or the Administrative Agent to maintain such accounts
             or any manifest error therein shall not in any manner affect the obligation of any Borrower to repay the Loans
             in accordance with the tenns of this Agreement; provided, further, that in the event of any inconsistency
             between the accounts maintained by the Administrative Agent pursuant to paragraph (d) of this Section and
             any Lender' s records, the accounts of the Administrative Agent shall govern.

                      (f)       Any Lender may request that any Loan made by it be evidenced by a Promissory Note. ln
             such event, the relevant Borrower shall prepare, execute and deliver a Promissory Note to such Lender payable
             to such Lender and its registered permitted assigns; it being understood and agreed that such Lender (and/or its
             applicable permitted assign) shall be required to return such Promissory Note to the Top Borrower in
             accordance with Section 9 .05(b)(iii) and upon the occurrence of the Tem1ination Date (or as promptly
             thereafter as practicable). If any Lender loses the original copy of its Promissory Note, it shall execute an
             affidavit of loss containing an indemnification provision reasonably satisfactory to the Top Borrower.

                       Section 2.11.          Prepavment of Loans.

                       (a)        Optional Prepayments.

                                (i)      Upon prior notice in accordance with paragraph (a)(iii) of this Section 2. 11, any
                       Borrower (or the Top Borrower on behalf of any Borrower) shall have the right at any time and from
                       time to time to prepay any Borrowing of Loans of any Class in whole or in part without premium or
                       penalty (but subject (A) in the case of Borrowings of Initial Tenn Loans only, to Section 2.12(c) and
                       (B) if applicable, to Section 2.16). Each such prepayment shall be paid to the Lenders in accordance
                       with their respective Applicable Percentages of the relevant Class.

                                  (ii)        [Reserved).

                                 (iii)   The relevant Borrower (or the Top Borrower on behalf of the relevant Borrower)
                       shall notify the Administrative Agent in writing of any prepayment under this Section 2.11 (a) (i) in the
                       case of any prepayment of a LIBO Rate Borrowing, not later than l :00 p.m. three Business Days
                       before the date of prepayment or (ii) in the case of any prepayment of an ABR Borrowing, not later
                       than 11 :00 a.m. on the day of prepayment (or, in each case, such later time as to w hich the
                       Administrative Agent may reasonably agree). Each such notice shall be irrevocable (except as set
                       forth in the proviso to this sentence) and shall specify the prepayment date and the principal amount of
                       each Borrowing or portion or each relevant Class to be prepaid; provided that any notice of
                       prepayment delivered by the relevant Borrower (or the Top Borrower on behalf of the relevant
                       Borrower) may be conditioned upon the effectiveness of other transactions, in which case such notice
                       may be revoked by the re levant Borrower (or the Top Borrower on behalf of the relevant Borro'rver)
                       (by notice to the Administrative Agent on or prior to the specified effective date) if such condition is
                       not satisfied. Promptly following receipt of any such notice relating to any Borrowing, the
                       Administrative Agent shall advise the applicable Lenders of the contents thereof. Each partial




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                       prepayment of any Borrowing shall be in an amount at least equal to the amount that would be
                       permitted in the case of a Borrowing of the same Type and Class as provided in Section 2.02(c). or
                       such lesser amount that is then outstanding with respect to such Borrowing being repaid (and in
                       increments of $100,000 in excess thereof or such lesser incremental amount that is then outstanding
                       with respect to such Borrowing being repaid). Each prepayment of Loans shall be applied to the Class
                       or Classes of Loans specified in the applicable prepayment notice.

                       (b)        Mandatory Prepayments.

                                 (i)     Subject to Section 2.11 (b)( vii), no later than the fifth Business Day after the date on
                       which the financial statements with respect to each Fiscal Year of the Top Borrower are required to be
                       delivered pursuant to Section 5.0I(b), commencing with the Fiscal Year ending on or about December
                       31, 2017, the Top Borrower shall prepay the outstanding principal amount of Initial Term Loans and
                       Additional Tem1 Loans then subject to ratable prepayment requirements in accordance with clause (vi)
                       of this Section 2.11 (b) below in an aggregate principal amount (the "ECF Prepavment Amount") equal
                       to (A) the Required Excess Cash Flow Percentage of Excess Cash Flow of the Top Borrower and its
                       Restricted Subsidiaries for the Excess Cash Flow Period then ended, minus (B) at the option of the
                       Top Borrower, (w) the aggregate principal amount of (I) any Loans prepaid pursuant to Section
                       b..1lifil prior to such date and (II) any Incremental Equivalent Debt and/or Replacement Debt
                       optionally prepaid or redeemed prior to such date, (x) the aggregate principal amount of (I) any loans
                       under the First Lien Facility (including any Additional Term Loans (as defined in the First Lien Credit
                       Agreement or any other document governing any First Lien Facility) and any Additional Revolving
                       Loans (as defined in the First Lien Credit Agreement or any other document governing any First Lien
                       Facility), to the extent accompanied by a permanent reduction in the relevant commitment)) prepaid
                       pursuant to Section 2.1 l (a) of the First Lien Credit Agreement (or equivalent provision under any
                       other document governing any First Lien Facility) and (11) any Incremental Equivalent Debt (as
                       defined in the First Lien Credit Agreement or any other document governing any First Lien Facility)
                       and Replacement Debt (as defined in the First Lien Credit Agreement or any other document
                       governing any First Lien Facility) optionally prepaid or redeemed, in each case, prior to such date, (y)
                       the aggregate principal amount of any Revolving Loans (as defined in the ABL Credit Agreement)
                       prepaid pursuant to Section 2.11 (a) of the ABL Credit Agreement (or equivalent provision under any
                       other document governing any ABL Facility) prior to such date (to the extent accompanied by a
                       permanent reduction in the relevant commitment) and (z)(l) the amount of any reduction in the
                       outstanding amount of (I) any Loans resulting from any purchase or assignment made in accordance
                       with Section 9.05(g) (including in connection with any Dutch Auction) and (ll) any Incremental
                       Equivalent Debt and/or Replacement Debt resulting from any purchase or assignment made by an
                       Affiliated Lender or any Loan Party, as applicable, and/or (2) the amount of any reduction iJ1 the
                       outstanding amount of (I) any loans under any First Lien Facility resulting from any purchase or
                       assignment made in accordance w ith Section 9.05(g) of the First Lien Credit Agreement (or equivalent
                       provision under any other document governing any First Lien Facility) (including in connection with
                       any Dutch Auction (as defined in the First Lien Credit Agreement)) and (II) any Incremental
                       Equivalent Debt (as defined in the First Lien Credit Agreement or any other document governing any
                       First Lien Facility) and Replacement Debt (as defined in the First Lien Credit Agreement or any other
                       document governing any First Lien Facility) resulting from any purchase or assignment made by an
                       Affiliated Lender or any Loan Party, as applicable, in each case, prior to such date and, in each case
                       under this clause {z), based upon the actual amount of cash paid in connection with the relevant
                       purchase or assigmnent, in each case (I) excluding any such optional prepayment made during such
                       Fiscal Year that reduced the amount required to be prepaid pursuant to this Section 2.1 l (b)(i) in the
                       prior Fiscal Year and (ll) to the extent that the relevant prepayments were not financed with the
                       proceeds of other Indebtedness (other than revolving Indebtedness) of the Top Borrower or its
                       Restricted Subsidiaries); provided that no prepayment under this Section 2. 1l(b) shall be required
                       unless and to the extent the amount thereof would exceed $15,000,000: provided, further, that if at the
                       time that any such prepayment would be required, the Borrower (or any Restricted Subsidiary of the




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                       Borrower) is also required to prepay any Indebtedness that is secured on a pari passu basis with the
                       Liens on the Tenn Loan Priority Collateral securing the Secured Obligation pursuant to the terms of
                       the documentation governing such Indebtedness (such Indebtedness required to be so prepaid or
                       offered to be so repurchased, " Other Applicable Indebtedness") with any portion of the ECF
                       Prepayment Amount, then the Borrower may apply such portion of the ECF Prepayment Amount on a
                       pro rata basis (determined on the basis of the aggregate outstanding principal amount of the Loans and
                       the relevant Other Applicable Indebtedness at such time; provided, that the portion of such ECF
                       Prepayment Amount allocated to the Other Applicable Indebtedness shall not exceed the amount of
                       such ECF Prepayment Amount required to be allocated to the Other Applicable Indebtedness pursuant
                       to the terms thereof, and the remaining amount, if any , of such ECF Prepayment Amount shall be
                       allocated to the Loans in accordance with the terms hereof) to the prepayment of the Loans and to the
                       prepayment of the relevant Other Applicable Indebtedness, and the amount of prepayment of the
                       Loans that would have otherwise been required pursuant to this Section 2.11 (b)(i) shall be reduced
                       accordingly; provided, further, that to the extent the ho lders of Other Applicable Indebtedness decline
                       to have such indebtedness prepaid, the declined amount shall promptly (and in any event within ten
                       Business Days after the date of such rejection) be applied to prepay the Loans in accordance with the
                       terms hereof.

                                (ii)     Subject to Section 2. ll (b)(vii), no later than the fifth Business Day following the
                       receipt of Net Proceeds in respect of any Prepayment Asset Sale or Net Insurance/Condemnation
                       Proceeds, in each case, in excess of $20,000,000 in any Fiscal Year, the Top Borrower shall apply an
                       amount equal to the Required Asset Sale Percentage of the Net Proceeds or Net
                       Insurance/Condemnation Proceeds received with respect thereto in excess of such threshold
                       (collectively, the "Subject Proceeds") to prepay the outstanding principal amount of Initial Tenn
                       Loans and Additional Tenn Loans then subject to ratable prepayment requirements (the "Subject
                       Loans") in accordance with clause (vi) below; provided that (A) if prior to the date any such
                       prepayment is required to be made, the Top Borrower notifies the Administrative Agent of its
                       intention to reinvest the Subject Proceeds in the business (other than Cash or Cash Equivalents) of the
                       Top Borrower or any of its subsidiaries, then so long as no Event of Default then exists, the Top
                       Borrower shall not be required to make a mandatory prepayment under this clause (ii) in respect of the
                       Subject Proceeds to the extent (x) the Subject Proceeds are so reinvested within 365 days following
                       receipt thereof, or (y) the Top Borrower or any of its subsidiaries has committed to so reinvest the
                       Subject Proceeds during such 365-day period and the Subject Proceeds are so reinvested within 180
                       days after the expiration of such 365-day period; it being understood that if the Subject Proceeds have
                       not been so reinvested prior to the expiration of the applicable period, the Top Borrower shall
                       promptly prepay the Subject Loans with the amount of Subject Proceeds not so reinvested as set forth
                       above (without regard to the immediately preceding proviso) and (B) if, at the time that any such
                       prepayment would be required hereunder, the Top Borrower or any of its Restricted Subsidiaries is
                       required to repay or repurchase any Other Applicable Indebtedness (or offer to repurchase such Other
                       Applicable Indebtedness), then the relevant Person may apply the Subject Proceeds on a pro rata basis
                       to the prepayment of the Subject Loans and to the repurchase or repayment of the Other Applicable
                       Indebtedness (determined on the basis of the aggregate outstanding principal amount of the Subject
                       Loans and the Other Applicable Indebtedness (or accreted amount if such Other Applicable
                       Indebtedness is issued with original issue discount) at such time); it being understood that (1) the
                       portion of the Subject Proceeds allocated to the Other Applicable Indebtedness shall not exceed the
                       amount of the Subject Proceeds required to be allocated to the Other Applicable Indebtedness
                       pursuant to the terms thereof, (and the remaining amount, if any, of the Su~ject Proceeds shall be
                       allocated to the Subject Loans in accordance with the terms hereof), and the amount of the prepayment
                       of the Subject Loans that would have otherwise been required pursuant to this Section 2.1l(b)(ii) shall
                       be reduced accordingly and (2) to the extent the holders of the Other Applicable Indebtedness decline
                       to have such Indebtedness prepaid or repurchased, the declined amount shall promptly (and in any
                       event within ten Business Days after the date of such rejection) be applied to prepay the Subject Loans
                       in accordance with the terms hereof.




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                                 (iii)   Subject to Section 2.1 l(b)(vii) and Section 2.12(c), in the event that the Top
                       Borrower or any of its Restricted Subsidiaries receives Net Proceeds from the issuance or incurrence
                       of Indebtedness by the Top Borrower or any of its Restricted Subsidiaries (other than Indebtedness
                       that is permitted to be incurred under Section 6. 0 I , except to the extent the relevant Indebtedness
                       constitutes (A) Refinancing Indebtedness (including Replacement Debt) incurred to refinance all or a
                       portion of any Class of Loans pursuant to Section 6.0l{p), (B) Incremental Loans incurred to refinance
                       all or a portion of any Class of Loans pursuant to Section 2.22, (C) Replacement Term Loans incurred
                       to refinance all or any portion of any C lass of Loans in accordance with the requireme nts of
                       Section 9.02(c) and/or (D) Incremental Equivalent Debt incurred to finance all or a portion of the
                       Loans in accordance w ith the requirements of Section 6.0I(z), in each case to the extent required by
                       the terms thereof to prepay or offer to prepay such Indebtedness), the Top Borrower shall, promptly
                       upon (and in any event not later than two Business Days thereafter) the receipt thereof of such Net
                       Proceeds by the Top Borrower or its applicable Restricted Subsidiary, apply an amount equal to 100%
                       of such Net Proceeds to prepay the outstanding principal amount of the relevant Class or Classes of
                       Loans in accordance with clause (vi) below.

                                  (iv)        Notwithstanding anything in this Section 2.11 (b) to the contrary:

                                            (A)      the Borrowers shall not be required to prepay any amount that would
                                  otherwise be required to be paid pursuant to Sections 2.1 I(b)(i) or .(ill above to the extent that
                                  if the Top Borrower determines in good faith the relevant Excess Cash Flow is generated by
                                  any Foreign Subsidiary, the relevant Prepayment Asset Sale is consummated by any Foreign
                                  Subsidiary or the relevant Net Insurance/ Condemnation Proceeds are received by any Fore ign
                                  Subsidiary, as the case may be, for so long as the repatriation to the Borrowers of any such
                                  amount would be, in the good faith determination of the Top Borrower, prohibited or delayed
                                  under any Requirement of Law or conflict with the fiduciary duties of such Foreign
                                  Subsidiary's directors, or result in, or could reasonably be expected to result in, a material risk
                                  of personal or criminal liability for any officer, director, employee, manager, me mber of
                                  management or consultant of such Foreign Subsidiary (it being understood and agreed that (i)
                                  solely w ithin 365 days following the end of the applicable Excess Cash Flow Period or the
                                  event giving rise to the relevant Subject Proceeds, the Borrowers shall take all commercially
                                  reasonable actions required by applicable Requirements of Law to permit such repatriation
                                  and (ii) if the repatriation of the relevant affected Excess Cash Flow or Subject Proceeds, as
                                  the case may be, is permitted under the applicable Requirement of Law and, to the extent
                                  applicable, would no longer conflict with the fiduciary duties of such director, or result in, or
                                  be reasonably expected to result in, a material risk of personal or criminal liability for the
                                  Persons described above, in either case, within 365 days fo llowing the end of the applicable
                                  Excess Cash Flow Period or the event giving rise to the relevant Subject Proceeds, the
                                  re levant Foreign Subsidiary will promptly repatriate the relevant Excess Cash Flow or Subject
                                  Proceeds, as the case may be, and the repatriated Excess Cash Flow or Subject Proceeds, as
                                  the case may be, w ill be promptly (and in any event not later than two Business Days after
                                  such repatriation) applied (net of additional Taxes payable or reserved against such Excess
                                  Cash Flow or such Subject Proceeds as a result thereof) to the repayment of the Loans
                                  pursuant to this Section 2.1 l(b) to the extent required herein (without regard to this c lause
                                  ful)),

                                           (B)     the Borrowers shall not be required to prepay any amount that ·w ould
                                  otherwise be required to be paid pursuant to Sections 2.1 I(b)(i) or .(ill to the extent that the
                                  relevant Excess Cash Flow is generated by any joint venture or the relevant Subject Proceeds
                                  are received by any joint venture, in each case, for so long as the distribution to the Top
                                  Borrower of such Excess Cash Flow or Subject Proceeds would, in the good faith
                                  de tennination of the Top Borrower, be prohibited under the Organizational Documents
                                  governing such joint venture; it being understood that if the relevant prohibition ceases to




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                                  exist within the 365-day period following the end of the applicable Excess Cash Flow Period
                                  or the event giving rise lo the relevant Subject Proceeds, the relevant joint venture will
                                  promptly distribute the relevant Excess Cash Flow or the relevant Subject Proceeds, as the
                                  case may be, and the distributed Excess Cash Flow or Subject Proceeds, as the case may be,
                                  will be promptly (and in any event not later than two Business Days after such distribution)
                                  applied lo the repayment of the Loans pursuant to this Section 2.1 l(b) lo the extent required
                                  herein (without regard to this clause (iv)), and

                                            (C)     if the Top Borrower detennines in good faith that the repatriation (or other
                                  intercompany distribution) to the Top Borrower, directly or indirectly, from a Foreign
                                  Subsidiary as a distribution or dividend of any amounts required to mandatorily prepay the
                                  Loans pursuant to Sections 2. 1 l(b)(i) or ill} above would result in the Top Borrower or any
                                  Restricted Subsidiary incurring a material and adverse Tax liability (including any
                                  withholding Tax) (such amount, a " Restricted Amount"), the amount that the Borrowers shall
                                  be required lo mandatorily prepay pursuant lo Sections 2. 11 (b)(i) or (ill above, as applicable,
                                  shall be reduced by the Restricted Amount; provided that to the extent that the repatriation (or
                                  other intercompany distribution) of the relevant Subject Proceeds or Excess Cash Flow,
                                  directly or indirectly, from the relevant Foreign Subsidiary would no longer have a material
                                  adverse ta"X consequence within the 365-day period following the event giving rise to the
                                  re levant Subject Proceeds or the end of the applicable Excess Cash Flow Period, as the case
                                  may be, an amount equal lo the Subject Proceeds or Excess Cash Flow, as applicable and lo
                                  the extent available, not previously applied pursuant to this clause (C). shaH be promptly
                                  applied to the repayment of the Loans pursuant to Section 2. ll(b) as otherwise required
                                  above;

                                 (v)     Any Lender may elect, by notice to the Administrative Agent at or prior to the time
                       and in the manner specified by the Administrative Agent, prior to any prepayment of Loans required
                       lo be made by the Borrowers pursuant lo this Section 2. 11 Cb). to decline a.II (but not a portion) of its
                       Applicable Percentage of such prepayment (such declined amounts, the " Declined Proceeds");
                       provided that (A) in the event that any Lender elects to decline (or otherwise waives) receipt of such
                       Declined Proceeds in accordance with the terms of this Agreement, the remaining amount thereof may
                       be retained by the Borrowers and (B) for the avoidance of doubt, no Lender may reject any
                       prepayment made under Section 2. 1 l(b)(iii) above to the extent that such prepayment is made with the
                       Net Proceeds of (w) Refinancing Indebtedness (including Replacement Debt) incurred to refinance all
                       or a portion of the Loans pursuant to Section 6.0 l(p), (x) Incremental Loans incurred to refinance all
                       or a portion of the Loans pursuant to Section 2.22, (y) Replacement Term Loans incurred to refinance
                       all or any portion of the Term Loans in accordance with the requirements of Section 9. 02(c) and/or ( z)
                       Incremental Equivalent Debt incurred to finance all or a portion of the Loans in accordance with the
                       requirements of Section 6.0l(z). If any Lender fails lo deliver a notice to the Administrative Agent of
                       its election to decline receipt of its Applicable Percentage of any mandatory prepayment within the
                       time frame specified by the Administrative Agent, such failure will be deemed to constitute an
                       acceptance of such Lender' s Applicable Percentage of the total amount of such mandatory prepayment
                       of Loans.

                               (vi)       Except as otherwise contemplated by this Agreement or provided in, or intended with
                       respect to, any Refinancing Amendment, any Incremental Facility Amendment, any Extension
                       Amendment or any issuance of Replacement Debt (provided, that such Refinancing Amendment,
                       Incremental Facility Amendment or Extension Amendment may not provide that the applicable Class
                       of Loans receive a greater than pro rata portion of mandatory prepayments of Loans pursuant to
                       Section 2. 11 (b) than would otherv.,ise be permitted by this Agreement), in each case effectuated or
                       issued in a manner consistent with this Agreement, each prepayment of Loans pursuant lo
                       Section 2.1 l(b) shall be applied ralably to each Class of Loans then outstanding which is pari passu
                       with the Initial Tenn Loans in right of payment and with respect to security (provided that any




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                       prepayment of Loans with the Net Proceeds of any Refinancing Indebtedness, Incremental Facility or
                       Replacement Tenn Loans shall be applied to the applicable Class of Loans being refinanced or
                       replaced). Each such prepayment shall be paid to the Lenders in accordance with their respective
                       Applicable Percentage of the applicable Class. If no Lenders exercise the right to waive a prepayment
                       of the Loans pursuant to Section 2.1 l(b)(v), the amount of such mandatory prepayments shall be
                       applied first to the then outstanding Loans that are ABR Loans to the full extent thereof and then to
                       the then outstanding Loans that are LIBO Rate Loans in a manner that minimizes the amount of any
                       payments required to be made by the Top Borrower pursuant to Section 2.16.

                                (vii)    Notw ithstanding anything in this Section 2.1 l(b) to the contr ary, until the First Lien
                       Obligations Payment Date, no mandatory prepayment of outstanding Loans that would otherwise be
                       required to be made under this Section 2.1 l(b) shall be required to be made, except with respect to the
                       portion (if any) of the proceeds of any event giving rise to any mandatory prepayment under Section
                       W_(b) of the First Lien Credit Ag reement (or equivalent provision under any document governing
                       any First Lien Facility) that has been decli11ed by the applicable lenders thereunder in accordance with
                       Section 2.1 l(b)(v) of the First Lien Credit Agreement (or equivalent provision under any other
                       document governing any First Lien Facility).

                                (viii)   Prepayments made under this Section 2. 1l(b) shall be (A) accompanied by accrued
                       interest as required by Section 2. 13, (B) subject to Section 2.16 and (C) other than with respect to
                       payments made pursuant to clause (iii). which are subject to Section 2.12(c), shall otherwise be
                       without premium or penalty.

                       Section 2.12.          Fees.

                     (a)      The Top Borrower agrees to pay to the Administrative Agent, for its own account, the annual
             administration fee described in the Fee Letter.

                      (b)     All fees payable hereunder shall be paid on the dates due, in Dollars and in immediately
             available funds, to the Administrative Agent. Fees paid shall not be refundable under any circumstances
             except as otherwise provided in the Fee Letter. Fees payable hereunder shall accrue through and including the
             last day of the month immediately preceding the applicable fee payment date.

                        (c)      1n the event that, on or prior to the second anniversary of the Closing Date, any Borrower
             prepays any Initial Term Loan pursuant to Section 2.1 l(a)(i) or prepays or refinances any Initial Tenn Loans
             pursuant to Section 2.1 l{b)(iii) (it being understood and agreed for the avoidance of doubt that prepayments as
             a result of purchasers or assignments made pursuant to Section 9.05(g) shall not be subject to this Section
             2. l 2(c)), the Borrowers shall pay to the Administrative Agent, for the ratable account of each of the applicable
             initial Term Lenders, a premium of (i) 2.00% of the aggregate principal amount of the Initial Term Loans so
             prepaid, repaid or refinanced prior to the first anniversary of the Closing Date and (ii) 1.00% of the aggregate
             principal amount of the Initial Term Loans so prepaid, repaid or refinanced on or after the fi rst anniversary of
             the Closing Date, but prior to the second anniversary of the Closing Date. All such amounts shall be due and
             payable on the date of the relevant prepayment pursuant to Sections 2. ll(a)(i) or 2. 11 (b)(iii). For the
             avoidance of doubt, no prepayment premium shall be payable hereunder in connection with any prepayment or
             refinancing of Initial Term Loans on or after the second anniversary of the Closing Date.

                     (d)      Unless otherwise indicated herein, all computations of fees shall be made on the basis of a
             360-day year and shall be payable for the actual days elapsed (including the first day but excluding the last
             day). The determination by the Administrative Agent of the amount of any fee hereunder shall be conclusive
             and binding for all purposes, absent manifest error.




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                       Section 2.13.          Interest.

                      (a)     The Loans comprising each ABR Borrowing shall bear interest at the Alternate Base Rate
             plus the Applicable Rate.

                      (b)      The Loans comprising each LIBO Rate Borrowing shall bear interest at the LIBO Rate for the
             Interest Period in effect for such Borrowing plus the Applicable Rate.

                       (c)        [Reserved].

                      (d)      Notwithstanding the foregoing but in all cases subject to Section 9.05[), if any principal of or
             interest on any Loan or any fee payable by any Borrower hereunder is not, in each case, paid when due,
             whether at stated maturity, upon acceleration or otherwise, the relevant overdue amount shall bear interest, to
             the fullest extent permitted by applicable Requirements of Law, after as well as before judgment, at a rate per
             annum equal to (i) in the case of overdue principal or interest of any Loan, 2.00% plus the rate othe1wise
             applicable to such Loan as provided in the preceding paragraphs of this Section 2.13 or (ii) in the case of any
             other amount, 2.00% plus the rate applicable to Loans that are ABR Loans as provided in clause (a) of this
             Section 2.13; provided that no amount shall accrue pursuant to this Section 2. 13(c) on any overdue amount or
             other amount that is payable to any Defaulting Lender so long as such Lender is a Defaulting Lender.

                     (e)      Accrued interest on each Loan shall be payable in arrears on each Interest Payment Date for
             such Loan and on the Maturity Date applicable to such Loan; provided that (A) interest accrued pursuant to
             paragraph (d) of this Section shall be pay able on demand and (B) in the event of any re payment or pre payment
             of any Loan, accrued interest on the principal amount repaid or prepaid shall be payable on the date of such
             repayment or prepayment.

                       (f)     All interest hereunder shall be computed on the basis of a year of 360 days, except that
             interest computed by reference to the Alternate Base Rate at times when the Alternate Base Rate is based on
             the Prime Rate shall be computed on the basis of a year of 365 days (or 366 days in a leap year), and in each
             case shall be payable for the actual number of days elapsed (including the first day but excluding the last day).
             The applicable Alternate Base Rate or LIBO Rate shall be determined by the Administrative Agent, and such
             determination shall be conclusive absent manifest error. Interest shall accrue on each Loan for the day on
             which the Loan is made and shall not accrue on a Loan, or any portion thereof, for the day on which the Loan
             or such portion is paid; provided that any Loan that is repaid on the same day on which it is made shall bear
             interest for one day.

                      Section 2.14.     Alternate Rate of Interest. If at least two Business Days prior to the commencement
             of any Interest Period for a LIBO Rate Borrowing:

                      (a)      the Administrative Agent determines (which determ ination shall be conclusive absent
             manifest error) that adequate and reasonable means do not exist for ascertaining the LIBO Rate for such
             Interest Period; or

                      (b)     the Administrative Agent is advised by the Required Lenders that the LIBO Rate for such
             Interest Period will not adequately and fairly reflect the cost to such Lenders of making or maintaining their
             Loans included in such Borro-wing for such Interest Period;

             then the Administrative Agent shall promptly give notice thereof to the Top Borrower and the Lenders by
             telephone or facsimile as promptly as practicable thereafter and, until the Administrative Agent notifies the
             Top Borrower and the Lenders that the circumstances giving rise to such notice no longer exist, which the
             Administrative Agent agrees promptly to do, (i) any Interest Election Request that requests the conversion of
             any Borrowing to, or continuation of any Borrowing as, a LIBO Rate Borrowing shall be ineffective and such
             Borrowing shall be converted to an ABR Borrowing on the last day of the Interest Period applicable thereto,




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             and (ii) if any Borrowing Request requests a LIBO Rate Borrowing, such Borrowing shall be made as an ABR
             Borrowing.

                       Section 2.15.          increased Costs.

                       (a)        If any Change in Law:

                                (i)     imposes, modifies or deems applicable any reserve, special deposit or similar
                       requirement against assets of, deposits with or for the account of, or credit extended by, any Lender
                       (except any such reserve requirement reflected in the LIBO Rate);

                                (ii)     subject any Lender to any Taxes (other than (A) Indemnified Taxes and Other Taxes
                       indemnifiable under Section 2.17 and (B) Excluded Taxes) on or with respect to its loans, letters of
                       credit, commitments, or other obligations, or its deposits, reserves, other liabilities or capital
                       attributable thereto; or

                               (iii)    imposes on any Lender or the London interbank market any other condition (other
                       than Taxes) affecting this Agreement or LIBO Rate Loans made by any Lender;

             and the result of any of the foregoing is to increase the cost to the relevant Lender of making or maintaining
             any LIBO Rate Loan (or of maintaining its obligation to make any such Loan) or to reduce the amount of any
             sum received or receivable by such Lender (whether of principal, interest or otherwise) in respect of any LlBO
             Rate Loan in an amount deemed by such Lender to be material, then, within 30 days after the Top Borrower' s
             receipt of the certificate contemplated by paragraph (c) of this Section, the Borrowers will pay to such Lender
             such additional amount or amounts as will compensate such Lender, for such additional costs incurred or
             reduction suffered; provided that the Top Borrower shall not be liable for such compensation if (x) the relevant
             Change in Law occurs on a date prior to the date such Lender becomes a party hereto, (y) such Lender invokes
             Section 2.20 or (z) in the case of any request for reimbursement under clause (iii) above resulting from a
             market disruption, (A) the relevant circumstances do not generally affect the banking market or (B) the
             applicable request has not been made by Lenders constituting Required Lenders.

                      (b)     If any Lender detennines that any Change in Law regarding liquidity or capital requirements
             has or would have the effect of reducing the rate of return on such Lender' s capital or on the capital of such
             Lender' s holding company, if any, as a consequence of this Agreement or the Loans made by such Lender to a
             level below that which such Lender or such Lender' s holding company could have achieved but for such
             Change in Law other than due to Taxes (taking into consideration such Lender' s policies and the policies of
             such Lender' s holding company with respect to capital adequacy), then within 30 days of receipt by the Top
             Borrower of the certificate contemplated by paragraph (c) of this Section 2. 15 the Borrowers will pay to such
             Lender such additional amount or amounts as will compensate such Lender or such Lender' s holding company
             for any such reduction suffered.

                      (c)       Any Lender requesting compensation under this Section 2.15 shall be required to deliver a
             certificate to the Top Borrower that (i) sets forth the amount or amounts necessary to compensate such Lender
             or the holding company thereof, as applicable, as specified in paragraph (a) of this Section 2.15, (ii) sets forth ,
             in reasonable detail, the manner in which such amount or amounts were determined and (iii) certifies that such
             Lender is generally charging such amounts to similarly situated borrowers, which certificate shall be
             conclusive absent manifest error.

                      (d)      Failure or delay on the part of any Lender to demand compensation pursuant to this Section
             shall not constitute a waiver of such Lender' s right to demand such compensation: provided, however that the
             Borrowers shall not be required to compensate any Lender pursuant to this Section for any increased costs or
             reductions incurred more than 180 days prior to the date that such Lender notifies the Borrowers of the Change
             in Law giving rise to such increased costs or reductions and of such Lender' s intention to claim compensation




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             therefor; provided, further, that if the Change in Law giving rise to such increased costs or reductions is
             retroactive, then the 180-day period referred to above shall be extended to include the period of retroactive
             effect thereof.

                      Section 2. 16.    Break Funding Payments. Subject to Section 9.05(f), in the event of (a) the
             conversion or pre payment of any principal of any LIBO Rate Loan other than on the last day of an interest
             Period applicable thereto (whether voluntary, mandatory, automatic, by reason of acceleration or otherwise),
             (b) the failure to borrow, convert, continue or prepay any LIBO Rate Loan on the date or in the amount
             specified in any notice delivered pursuant hereto or (c) the assignment of any LIBO Rate Loan of any Lender
             other than on the last day of the Interest Period applicable thereto as a result of a request by the Top Borrower
             pursuant to Section 2.19, then, in any such event, the Borrowers shall compensate each Lender for the actual
             amount of any actual out-of-pocket loss, expense and/or liability (including any loss, expense or liability
             incurred by reason of the liquidation or reemployment of deposits or other funds required by such Lender to
             fund or maintain LIBO Rate Loans, but excluding loss of anticipated profit) that such Lender may incur or
             sustain as a result of such event. Any Lender requesting compensation under this Section 2.16 shall be
             required to deliver a certificate to the Top Borrower that (A) sets forth any amount or amounts that such
             Lender is entitled to receive pursuant to this Section, the basis therefor and, in reasonable detail, the manner in
             which such amount or amounts were determined and (B) certifies that such Lender is generally charging the
             relevant amounts to similarly situated borrowers, which certificate shall be conclusive absent manifest error.
             The Top Borrower shall pay such Lender the amount shown as due on any such certificate within 30 days after
             receipt thereof.

                       Section 2.17.

                       (a)    Any and all payments by or on account of any obligation of any Loan Party under any Loan
             Document shall be made free and clear of and without deduction or withholding for any Taxes, except as
             required by applicable Requirements of Law. If any applicable Requirement of Law requires the deduction or
             withholding of any Tax from any such payment, then (i) if such Tax is an Indemnified Tax and/or Other Tax,
             the amount payable by the applicable Loan Party shall be increased as necessary so that after all required
             deductions or withholdings have been made (including deductions or withholdings applicable to additional
             sums payable under this Section 2.17) each Lender (or, in the case of any payment made to the Administrative
             Agent for its own account, the Administrative Agent) receives an amount equal to the sum it would have
             received had no such deductions or withholdings been made, (ii) the applicable w ithholding agent shall be
             entitled to make such deductions or withholdings and (iii) the applicable withholding agent shall timely pay the
             full amount deducted or withheld to the relevant Governmental Authority in accordance with applicable
             Requirements of Law.

                     (b)      In addition, the Loan Parties shall pay any Other Taxes to the relevant Governmental
             Authority in accordance with applicable Requirements of Law.

                      (c)     The Borrowers shall jointly and severally indemnify the Administrative Agent and each
             Lender within 30 days after receipt of the certificate described in the succeeding sentence, for the full amount
             of any Indemnified Taxes or Other Taxes pay able or paid by the Administrative Agent or such Lender, as
             applicable (including Indemnified Taxes or Other Taxes imposed or asserted on or attributable to amounts
             pay able under this Section 2. 17), other than any penalties determined by a final and non-appealable judgment
             of a court of competent jurisdiction (or documented in any settlement agreement) to have resulted from the
             gross negligence, bad faith or willful misconduct of the Administrative Agent or such Lender, and, in each
             case, any reasonable expenses arising therefrom or with respect thereto, whether or not correctly or legally
             imposed or asserted; provided that if the Top Borrower reasonably believes that such Taxes were not correctly
             or legally asserted, the Administrative Agent or such Lender, as applicable, will use reasonable efforts to
             cooperate with the Top Borrower to obtain a refund of such Taxes (which shall be repaid to the Top Borrower
             in accordance with Section 2.17(g)) so long as such efforts would not, in the sole determination of the
             Administrative Agent or such Lender, result in any additional out-of-pocket costs or expenses not reimbursed




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             by such Loan Party or be otherwise materially disadvantageous to the Administrative Agent or such Lender, as
             applicable. In connection with any request for reimbursement under this Section 2.17(c), the relevant Lender
             or the Administrative Agent, as applicable, shall deliver a certificate to the Top Borrower setting forth, in
             reasonable detail, the basis and calculation of the amount of the relevant payment or liability. Notwithstanding
             anything to the contrary contained in this Section 2. I 7, no Borrower shall be required to indemnify the
             Administrative Agent or any Lender pursuant to this Section 2. 17 for any amount to the extent the
             Administrative Agent or such Lender fails to notify the Top Borrower of such possible indemnification claim
             within 180 days after the Administrative Agent or such Lender receives written notice from the applicable
             taxing authority of the specific tax assessment giving rise to such indemnification claim.

                       (d)        [Reserved].

                      (e)      As soon as practicable after any payment of any Taxes pursuant to this Section 2.17 by any
             Loan Party to a Governmental Authority , the Top Borrower shall deliver to the Administrative Agent the
             original or a certified copy of a receipt issued, if any, by such Governmental Authority evidencing such
             payment, a copy of the return reporting such payment or other evidence of such payment that is reasonably
             satisfactory to the Administrative Agent.

                       (f)        Status of Lenders.

                               (i)      Any Lender that is entitled to an exemption from or reduction of any withholding
                       Tax with respect to any payments made under any Loan Document shall deliver to the Top Borrower
                       and the Administrative Agent, at the time or times reasonably requested by the Top Borrower or the
                       Administrative Agent, such properly completed and executed documentation as the Top Borrower or
                       the Administrative Agent may reasonably request to permit such payments to be made without
                       withholding or at a reduced rate of withholding. In addition, any Lender, if reasonably requested by
                       the Top Borrower or the Administrative Agent, shall deliver such other documentation prescribed by
                       applicable Requirements of Law or reasonably requested by the Top Borrower or the Administrative
                       Agent as will enable the Top Borrower or the Administrative Agent to determine whether or not such
                       Lender is subject to backup withholding or information reporting requirements. Each Lender hereby
                       authorizes the Administrative Agent to deliver to the Top Borrower and to any successor
                       Administrative Agent any documentation provided to the Administrative Agent pursuant to this
                       Section 2.17(0.

                                  (ii)        Without limiting the generality of the foregoing,

                                          (A)      each U.S. Lender shall deliver to the Top Borrower and the Administrative
                                  Agent on or prior to the date on which such U.S. Lender becomes a Lender under this
                                  Agreement (and from time to time thereafter upon the reasonable request of the Top Borrower
                                  or the Administrative Agent), two executed original copies of IRS Form W-9 certifying that
                                  such Lender is exempt from U.S. federal backup withholding;

                                          (B)     each Foreign Lender shall deliver to the Top Borrower and the
                                  Administrative Agent on or prior to the date on which such Foreign Lender becomes a Lender
                                  under this Agreement (and from time to time thereafter upon the reasonable request of the
                                  Top Borrower or the Administrative Agent), whichever of the following is applicable:

                                                        (1)     in the case of any Foreign Lender claiming the benefits of an
                                              income tax treaty to which the U.S. is a party, two executed original copies of IRS
                                              Form W-8BEN or W-8BEN-E, as applicable, establishing any available exemption
                                              from , or reduction of, U.S. federal withholding Tax;




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                                                      (2)      two executed original copies of IRS Form W-8ECI or W-EXP (or
                                              any successor forms);

                                                       (3)     in the case of any Foreign Lender claiming the benefits of the
                                              exemption for portfolio interest under Section 87l(h) or 88l(c) of the Code, (x) two
                                              executed original copies of a certificate substantially in the form of Exhibit 0-1 to
                                              the effect that such Foreign Lender is not a "bank" within the meaning of
                                              Section 88l(c)(3)(A) of the Code, a "10 percent shareholder" of the Top Borrower
                                              within the meaning of Section 87l(h)(3)(B) of the Code, or a "controlled foreign
                                              corporation" described in Section 88 l (c)(3)(C) of the Code, and that no payments
                                              pay able to such Lender are effectively connected with the conduct of a U.S. trade or
                                              business (a «u.s. Tax Compliance Certificate") and (y) two executed original copies
                                              of IRS Fonu W-8BEN or W-8BEN-E, as applicable (or any successor forms); or

                                                       (4)      to the extent any Foreign Lender is not the beneficial owner (e.g. ,
                                              where the Foreign Lender is a partnership), two executed original copies of IRS
                                              Form W-8IMY (or any successor fonus), accompanied by IRS Fonn W-8ECT, IRS
                                              Form W-8EXP, IRS Form W-8BEN or W-8BEN-E, a U.S. Tax Compliance
                                              Certificate substantially in the form of Exhibit 0-2 or Exhibit 0-4, IRS Form W-9,
                                              and/or other certification documents from each beneficial owner, as applicable ;
                                              provided that if such Foreign Lender is a partnership (and not a participating Lender)
                                              and one or more direct or indirect partners of such Foreign Lender are claiming the
                                              portfolio interest exemption, such Foreign Lender may provide a U.S. Tax
                                              Compliance Certificate substantially in the form of Exhibit 0-3 on behalf of each
                                              such direct or indirect partner(s);

                                          (C)      each Foreign Lender shall deliver to the Top Borrower and the
                                  Administrative Agent on or prior to the date on which such Foreign Lender becomes a Lender
                                  under this Agreement (and from time to time thereafter upon the reasonable request of the
                                  Top Borrower or the Administrative Agent), hvo executed original copies of any other form
                                  prescribed by applicable Requirements of Law as a basis for claiming exemption from or a
                                  reduction in U.S. federal withholding Tax, duly completed, together with such supplementary
                                  documentation as may be prescribed by applicable Requirements of Law to permit the Top
                                  Borrower or the Administrative Agent to determine the withho lding or deduction required to
                                  be made; and

                                           (D)     if a payment made to any Lender under any Loan Document would be
                                  subject to U.S. federal withholding Tax imposed by FATCA if such Lender were to fail to
                                  comply with the applicable reporting requirements of F ATCA (including those contained in
                                  Section 147l(b) or 1472(b) of the Code, as applicable), such Lender shall deliver to the Top
                                  Borrower and the Administrative Agent at the time or times prescribed by applicable
                                  Requirements of Law and at such time or times reasonably requested by the Top Borrower or
                                  the Administrative Agent such documentation as is prescribed by applicable Requirements of
                                  Law (including as prescribed by Section 1471 (b)(3)(C)(i) of the Code) and may be necessary
                                  for the Top Borrower and the Administrative Agent to comply with their obligations under
                                  FATCA, to determine whether such Lender has complied with such Lender's obligations
                                  under FATCA or to determine the amount, if any, to deduct and withhold from such payment.
                                  Solely for purposes of this clause (D), " FATCA" shall include any amendments made to
                                  FATCA after the date of this Agreement.

                     For the avoidance of doubt, if a Lender is an entity disregarded from its owner for U.S. federal income
             tax purposes, references to the foregoing documentation are intended to refer to documentation with respect to
             such Lender's owner and, as applicable, such Lender.



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                      Each Lender agrees that if any documentation (including any specific documentation required above
             in this Section 2.17(0) it previously delivered expires or becomes obsolete or inaccurate in any respect, it shall
             deliver to the Top Borrower and the Administrative Agent updated or other appropriate documentation
             (including any new documentation reasonably requested by the Top Borrower or the Administrative Agent) or
             promptly notify the Top Borrower and the Administrative Agent in writing of its legal ineligibility to do so.

                     Notw ithstanding anything to the contrary in this Section 2.17(f), no Lender shall be required to
             provide any documentation that such Le nder is not legally eligible to deliver.

                      (g)      If the Administrative Agent or any Lender detem1ines, in its sole discretion, that it has
             received a refund (whether received in cash or applied as a credit against any cash taxes payable) of any
             indemnified Taxes or Othe r Taxes as to which it has been indemnified by any Borrower or with respect to
             which any Borrower has paid additional amounts pursuant to this Section 2.17, it shall pay over such refund to
             the Top Borrower (but only to the extent of indemnity payments made, or additional amounts paid, by the
             relevant Borrower under this Section 2.17 w ith respect to the Indemnified Taxes or Other Taxes giving rise to
             such refund), net of all out-of-pocket expenses of the Administrative Agent or such Lender (including any
             Taxes imposed with respect to such refund), and w ithout interest (other than any interest paid by the relevant
             Governmental Authority with respect to such refund); provided that the Top Borrower, upon the request of the
             Administrative Agent or such Lender, agrees to re pay the amount paid over to such Loan Party (plus any
             penalties, interest or other charges imposed by the relevant Governmental Authority) to the Administrative
             Agent or such Le nde r in the event the Administrative Agent or such Lender is required to repay such refund to
             such Governme ntal Authority. Notwithstanding anything to the contrary in this paragraph (g), in no event w ill
             the Administrative Agent or any Le nder be required to pay any amount to the Top Borrower pursuant to this
             paragraph (g) to the extent that the payment thereof would place the Administrative Agent or such Lender in a
             less favorable net after-Tax position than the position that the Administrative Agent or such Le nder would
             have been in if the Tax subject to indemnification had not been deducted, withheld or othen:vise imposed and
             the indemnification payments or additional amounts giving rise to such refund had never been paid. This
             Section 2.17 shall not be construed to require the Administrative Agent or any Lender to make available its
             Tax returns (or any other information relating to its Taxes which it deems confidential) to the relevant Loan
             Party or any other Person.

                      (h)      Survival. Each party 's obligations under this Section 2.17 shall survive the resignation or
             replaceme nt of the Administrative Agent or any assignment of rights by, or the replacement of, any Lender, the
             te m1ination of the Commitments and the repayment, satisfaction or discharge of all obligations under any Loan
             Document.

                       Section 2. 18.         Pavments Generallv: Allocation of Proceeds: Sharing of Pavments.

                      (a)       Unless otherwise specified, the relevant Borrower (or the Top Borrower on behalf of the
             re levant Borrower) shall make each payment required to be made by it hereunder (whether of principal,
             interest or fees, or of amounts payable under Section 2.15, 2.16 or 2. 17, or otherwise) prior to 3:00 p.m. on the
             date w he n due, in immediate ly available funds, w ithout set-off or counterclaim. Any amount received after
             such time on any date may, in the discretion of the Administrative Agent, be deemed to have been received on
             the next succeeding Business Day for purposes of calculating interest thereon. Each such payment shall be
             made to the Administrative Agent to the applicable account designated by the Administrative Agent to the Top
             Borrower, except that any payment made pursuant to Sections 2. 15, 2.16, 2.17 or 9.03 shall be made directly to
             the Person or Persons e ntitled there to. The Administrative Agent shall distribute any such payment received
             by it for the account of any other Person to the appropriate recipient promptly following receipt thereof.
             Except as provided in Sections 2.19(b) and 2.20, each Borrowing, each payment or prepayment of principal of
             any Borrowing, each payment of interest in respect of the Loans of a given Class and each conversion of any
             Borrowing to, or continuation of any Borrowing as, a Borrowing of any Ty pe (and of the same Class) shall be
             allocated pro rata among the Lenders in accordance with their respective Applicable Percentages of the
             applicable Class. Each Lender agrees that in computing such Lender' s portion of any Borrowing to be made




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             hereunder, the Administrative Agent may, in its discretion, round each Lender' s percentage of such Borrowing
             to the next higher or lower whole Dollar amount. All payments hereunder shall be made in Dollars. Any
             payment required to be made by the Administrative Agent hereunder shall be deemed to have been made by
             the time required if the Administrative Agent shall, at or before such time, have taken the necessary steps to
             make such payment in accordance with the regulations or operating procedures of the clearing or settlement
             system used by the Administrative Agent to make such payment.

                      (b)      Subject in all respects to the provisions of each applicable lntercreditor Agreement, all
             proceeds of Collateral received by the Administrative Agent while an Event of Default exists and all or any
             portion of the Loans have been accelerated hereunder pursuant to Section 7.01 , shall be applied, first, to the
             payment of all costs and expenses then due incurred by the Administrative Agent in connection with any
             collection, sale or realization on Collateral or otherwise in connection with this Agreement, any other Loan
             Document or any of the Secured Obligations, including all court costs and the fees and expenses of agents and
             legal counsel, the repayment of all advances made by the Administrative Agent hereunder or under any other
             Loan Document on behalf of any Loan Party and any other costs or expenses incurred in connection with the
             exercise of any right or remedy hereunder or under any other Loan Document, second, on a pro rata basis, to
             pay any fees, indemnities or expense reimbursements then due to the Administrative Agent (other than those
             covered in clause first above) from the Top Borrower constituting Secured Obligations, third, on a pro rata
             basis in accordance with the amounts of the Secured Obligations (other than contingent indemnification
             obligations for which no claim has yet been made) owed to the Secured Parties on the date of any such
             distribution, to the payment in full of the Secured Obligations, fourth, as provided in each applicable
             lntercreditor Agreement, and fifth, to, or at the direction of, the Top Borrower or as a court of competent
             jurisdiction may other.vise direct.

                       (c)      lf any Lender obtains payment (whether voluntary, involuntary, through the exercise of any
             right of set-off or other.vise) in respect of any principal of or interest on any of its Loans of any Class held by
             it resulting in such Lender receiving payment of a greater proportion of the aggregate amount of its Loans of
             such Class and accrued interest thereon than the proportion received by any other Lender with Loans of such
             Class, then the Lender receiving such greater proportion shall purchase (for Cash at face value) participations
             in the Loans of other Lenders of such Class at such time outstanding to the extent necessary so that the benefit
             of all such payments shall be shared by the Lenders of such Class ratably in accordance with the aggregate
             amount of principal of and accrued interest on their respective Loans of such Class; provided that (i) if any
             such participations are purchased and all or any portion of the payment giving rise thereto is recovered, such
             participations shall be rescinded and the purchase price restored to the extent of such recovery, without
             interest, and (ii) the provisions of this paragraph shall not apply to (A) any payment made by any Borrower
             pursuant to and in accordance with the express terms of this Agreement or (B) any payment obtained by any
             Lender as consideration for the assignment of or sale of a participation in any of its Loans to any permitted
             assignee or participant, including any payment made or deemed made in connection with Sections 2.22, 2.23,
             9.02(c) and/or Section 9.05. Each Borrower consents to the foregoing and agrees, to the extent it may
             effectively do so under applicable Requirements of Law, that any Lender acquiring a participation pursuant to
             the foregoing arrangements may exercise rights of set-off and counterclaim against such Borrower with respect
             to such participation as fully as if such Lender were a direct creditor of such Borrower in the amount of such
             participation. The Administrative Agent will keep records (which shall be conclusive and binding in the
             absence of manifest error) of participations purchased under this Section 2.18(c) and will, in each case, notify
             the Lenders following any such purchases or repayments. Each Lender that purchases a participation pursuant
             to this Section 2.18(c) shall, from and after the date of such purchase, have the right to give all notices,
             requests, demands, directions and other communications under this Agreement with respect to the portion of
             the Obligations purchased to the same extent as though the purchasing Lender were the original owner of the
             Obligations purchased. For purposes of subclause (c) of the definition of "Excluded Taxes", any Lender that
             acquires a participation pursuant to this Section 2.18(c) shall be treated as having acquired such participation
             on the earlier date(s) on which such Lender acquired the applicable interest(s) in the Commitment(s) and/or
             Loan(s) to which such participation relates.




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                      (d)       Unless the Administrative Agent has received notice from the Top Borrower prior to the date
             on which any payment is due to the Administrative Agent for the account of any Lender hereunder that the Top
             Borrower will not make such payment, the Administrative Agent may assume that the Top Borrower has made
             such payment on such date in accordance herewith and may, in reliance upon such assumption, distribute to the
             applicable Lender the amount due. In such event, if the Top Borrower has not in fact made such payment, then
             each Lender severally agrees to repay to the Administrative Agent forthwith on demand the amount so
             distributed to such Lender with interest thereon, for each day from and including the date such amount is
             distributed to it to but excluding the date of payment to the Adm inistrative Agent, at the greater of the Federal
             Funds Effective Rate and a rate determined by the Administrative Agent in accordance with banking industry
             rules on interbank compensation.

                     (e)       If any Lender fails to make any payment required to be made by it pursuant to Section 2.07(b)
             or Section 2. l 8(d), then the Administrative Agent may, in its discretion (notwithstanding any contrary
             provision hereot), apply any amounts thereafter received by the Administrative Agent for the account of such
             Lender to satisfy such Lender's obligations under such Sections until all such unsatisfied obligations are fully
             paid.

                       Section 2. 19.         Mitigation Obligations: Replacement of Lenders.

                      (a)      If any Lender requests compensation under Section 2.15 or determines it can no longer make
             or maintain LIBO Rate Loans pursuant to Section 2.20, or any Loan Party is required to pay any additional
             amount to or indemnify any Lender or any Governmental Authority for the account of any Lender pursuant to
             Section 2.17, then such Lender shall use reasonable efforts to designate a different lending office for funding
             or booking its Loans hereunder, or to assign its rights and obligations hereunder to another of its offices,
             branches or affiliates, if, in the reasonable judgment of such Lender, such designation or assignment (i) would
             eliminate or reduce amounts payable pursuant to Section 2.15 or 2. 17, as applicable, in the future or mitigate
             the impact of Section 2.20, as the case may be, and (ii) would not subject such Lender to any unreimbursed
             out-of-pocket cost or expense and would not otherwise be disadvantageous to such Lender in any material
             respect. The Top Borrower hereby agrees to pay all reasonable out-of-pocket costs and expenses incurred by
             any Lender in connection with any such designation or assignment.

                      (b)      If (i) any Lender requests compensation under Section 2.15 or determines it can no longer
             make or maintain LIBO Rate Loans pursuant to Section 2.20, (ii) any Loan Party is required to pay any
             additional amount to or indemnify any Lender or any Governmental Authority for the account of any Lender
             pursuant to Section 2.17, (iii) any Lender is a Defaulting Lender or (iv) in connection with any proposed
             amendment, waiver or consent requiring the consent of "each Lender" or "each Lender directly affected
             thereby" (or any other Class or group of Lenders other than the Required Lenders) with respect to which
             Required Lender consent (or the consent of Lenders holding loans or commitments of such Class or lesser
             group representing more than 50% of the sum of the total loans and unused commitments of such Class or
             lesser group at such time) has been obtained, as applicable, any Lender is a non-consenting Lender, then the
             Top Borrower may, at its sole expense and effort, upon notice to such Lender and the Administrative Agent,
             (x) terminate the applicable Commitments of such Lender, and repay all Obligations of the relevant Borrower
             owing to such Lender relating to the applicable Loans and participations held by such Lender as of such
             termination date or (y) replace such Lender by requiring such Lender to assign and delegate (and such Lender
             shall be obligated to assign and delegate), without recourse (in accordance with and subject to the restrictions
             contained in Section 9.05), all of its interests, rights and obligations (other than its existing rights to payments
             pursuant to Section 2. 15 or Section 2.17) under this Agreement to an Eligible Assignee that shall assume such
             obligations (which Eligible Assignee may be another Lender, if any Lender accepts such assignment);
             provided that (A) such Lender has received payment of an amount equal to the outstanding principal amount of
             its Loans of such Class of Loans and/or Commitments, accrued interest thereon, accrued fees and all other
             amounts payable to it under any Loan Document with respect to such Class of Loans and/or Commitments, (B)
             in the case of any assignment resulting from a claim for compensation under Section 2.15 or payment required
             to be made pursuant to Section 2.17, such assignment would result in a reduction in such compensation or




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             payment and (C) such assignment does not conflict with applicable Requirements of Law. No Lender (other
             than a Defaulting Lende r) shall be required to make any such assignment and de legation, and the Top
             Borrower may not repay the Obligations of such Lender or terminate its Commitments, in each case, if, prior
             thereto, as a result of a waiver by such Lender or otherw·ise, the circumstances entitling the Top Borrower to
             require such assignment and delegation cease to apply. Each Lender agTees that if it is replaced pursuant to
             this Section 2.19, it shall execute and deliver to the Administrative Agent an Assignment Agreement to
             evidence such sale and purchase and de liver to the Administrative Agent any Promissory Note (if the assigning
             Le nder ' s Loans are evidenced by one or more Promissory Notes) subject to such Assignment Agreement
             (provided that the failure of any Lender replaced pursuant to this Section 2.19 to execute an Assignment
             Agreement or deliver any such Promissory Note shall not render such sale and purchase (and the
             corresponding assignment) invalid), such assignment shall be recorded in the Register and any such
             Promissory Note shall be deemed cancelled. Each Lender hereby irrevocably appoints the Administrative
             Agent (such appointment being coupled with an interest) as such Lender' s attorney-in-fact, w ith full authority
             in the place and stead of such Lende r and in the name of such Le nde r, from time to time in the Administrative
             Agent' s discretion, with prior writte n notice to such Lender, to take any action and to execute any such
             Assignment Agreement or other instrument that the Administrative Agent may deem reasonably necessary to
             carry out the provisions of this clause (b).

                      Section 2.20.     Illegalitv. If any Lender reasonably determines that any Change in Law has made it
             unlawful, or that any Governmental Authority has asserted after the Closing Date that it is unlawful , for such
             Le nder or its applicable lending office to make, maintain or fund Loans whose inte rest is determined by
             reference to the Published LIBO Rate, or to determine or charge interest rates based upon the Published LIBO
             Rate, or any Governmental Authority has imposed material restrictions on the authority of such Lender to
             purchase or sell, or to take deposits of Dollars in the applicable interbank market, then, on notice thereof by
             such Lender to the Top Borrower through the Administrative Agent, (i) any obligation of such Lender to make
             or continue LIBO Rate Loans or to convert ABR Loans to LIBO Rate Loans shall be suspended and (ii) if such
             notice asserts the illegality of such Le nde r making or maintaining ABR Loans the interest rate on w hich is
             detennined by reference to the Published LIBO Rate component of the Alternate Base Rate, the interest rate on
             which ABR Loans of such Lender, shall, if necessary to avoid such illegality, be dete rmined by the
             Administrative Agent without reference to the Published LIBO Rate component of the Alternate Base Rate, in
             each case until such Lende r notifies the Administrative Agent and the Top Borrower that the circumstances
             giving rise to such dete rmination no longer exist (which notice such Lender agrees to give promptly). Upon
             receipt of such notice, (x) the Top Borrower shall, upon demand from the relevant Lender (with a copy to the
             Administrative Agent), prepay or convert all of such Lender' s LIBO Rate Loans to ABR Loans (the interest
             rate on which ABR Loans of such Le nder shall, if necessary to avoid such illegality, be determined by the
             Administrative Agent without reference to the Published LIBO Rate component of the Alternate Base Rate)
             either on the last day of the Interest Period therefor, if such Lender may lawfully continue to maintain such
             LIBO Rate Loans to such day, or immediate ly, if such Lender may not lawfully continue to maintain such
             LIBO Rate Loans (in which case the Top Borrower shall not be re quired to make payments pursuant to
             Section 2.16 in connection with such payment) and (y) if such notice asserts the illegality of such Le nder
             determining or charging interest rates based upon the Published LIBO Rate, the Administrative Agent shall
             during the period of such suspension compute the Alternate Base Rate applicable to such Lender without
             reference to the Published LIBO Rate component thereof until the Administrative Agent is advised in writing
             by such Lende r that it is no longer illegal for such Lender to detennine or charge interest rates based upon the
             Published LIBO Rate. Upon any such prepayment or conversion, the Top Borrower shall also pay accrued
             interest on the amount so prepaid or converted. Each Lender agrees to designate a different lending office if
             such designation will avoid the need for such notice and will not, in the determination of such Lender,
             otherwise be materially disadvantageous to such Lender.

                      Section 2.21.    Defaulting Lenders. Notwithstanding any prov1s1on of this Agreement to the
             contrary, if any Person becomes a Defaulting Lender, the n the following provis ions shall apply for so long as
             such Person is a Defaulting Lender:




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                       (a)        [Reserved).

                     (b)      The Loans and Commitments of such Defaulting Lender shall not be included i11 detenuining
             whether all Lenders, each affecte.d Lender, the Required Lenders or such other number of Lenders as may be
             required hereby or under any other Loan Document have taken or may take any action hereunder (including
             any consent to any waiver, amendment or modification pursuant to Section 9.02); provided that any waiver,
             an1endment or modification requiring the consent of all Lenders or each affected Lender which affects such
             Defaulting Le nder disproportionately and adversely relative to other affected Le nders shall require the consent
             of such Defaulting Lender.

                      (c)      Any payment of principal, interest, fees or other amounts received by the Administrative
             A.gent for the account of any Defaulting Lender (w hether voluntary or mandatory, at maturity, pursuant to
             Section 2. 11, Section 2. 15, Section 2.1 6, Section 2.17, Section 2. 18, Article 7, Section 9.05 or otherwise, and
             including any amounts made available to the Administrative Agent by such Defaulting Lende r pursuant to
             Section 9.09), shall be applied at such time or times as may be detennined by the Administrative Agent and,
             where relevant, the Top Borrower as follows: first, to the payment of any amount ow ing by such Defaulting
             Le nder to the Administrative Agent hereunder; second, so long as no Default or Event of Default exists, as the
             Top Borrower may request, to the funding of any Loan in respect of w hich such Defaulting Lender has failed
             to fund its portion thereof as required by this Agreement; third, as the Administrative Agent or the Top
             Borrower may elect, to be held in a deposit account and released in order to satisfy obligations of such
             Defaulting Lender to fund Loans under this Agreement; fourth , to the payment of any amount owing to the
             non-Defaulting Lenders as a result of any judgme nt of a court of competent jurisdiction obtained by any non-
             Defaulting Lender against such Defaulting Lender as a result of such Defaulting Lender' s breach of its
             obligations under this Agreement; fifth, to the payment of any amount ow ing to any Borrower as a result of
             any judgment of a court of competent jurisdiction obtained by such Borrower against such Defaulting Lender
             as a result of such Defaulting Lender's breach of its obligations under this Agreement; and sixth, to such
             Defaulting Lender or as othe r.vise directed by a court of competent jurisdiction. Any payments, prepayments
             or other amounts paid or payable to any Defaulting Lender that are applied (or held) to pay amounts owed by
             any Defaulting Lende r shall be deemed paid to and redirected by such Defau lting Lender, and each Lender
             irrevocably consents hereto.

                       Section 2.22.          Incremental Credit Extensions.

                     (a)      Any Borrower may, at any time, on one or more occasions pursuant to an Incremental Facility
             Amendment add one or more new Classes of term facilities and/or increase the principal amount of the Loans
             of any existing Class by requesting new commitments to provide such Loans (any such new Class or increase,
             an "Incremental Facilitv" and any loans made pursuant to an incremental Facility, "Incremental Loans") in an
             aggregate outstanding principal amount not to exceed the Incremental Cap; provided that:

                                (i)    no Incre mental Commitment may be in an amount that is less than $5,000,000 (or
                       such lesser amount to which the Administrative Agent may reasonably agree),

                                (ii)     except as the relevant Borrower and any Lender may separately agree, no Lender
                       shall be obligated to provide any Incremental Commitment, and the determination to provide any
                       Incremental Commitment shall be within the sole and absolute discre tion of such Lender (it being
                       agreed that the Top Borrower shall not be obligated to offer the opportunity to any Lender to
                       participate in any Incremental Facility),

                                 (iii)     no Incremental Facility or Incre mental Loan (nor the creation, prov1s1on or
                       implementation thereof) shall require the approval of any existing Lender other than in its capacity, if
                       any , as a le nder providing all or part of any Increme ntal Commitment or Incre me ntal Loan,




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                                (iv)    except as otherwise permitted herein (including with respect to margin, pncmg,
                       maturity and fees), the tenns of any Incremental Facility, may not be materially more favorable (taken
                       as a whole) to the relevant Incremental Lenders than the terms of the Initial Term Loans unless such
                       terms are reasonably acceptable to the Administrative Agent (it being agreed that any terms contained
                       in such Incremental Facility that are (x) applicable only after the then-existing Latest Maturity Date
                       and/or (y) more favorable to the lenders or the agent of such Incremental Facility than those contained
                       in the Loan Documents and are then conformed (or added) to the Loan Documents for the benefit of
                       the Lenders or the Administrative Agent, as applicable, pursuant to the applicable Incremental Facility
                       Amendment shall be deemed acceptable to the Administrative Agent),

                                (v)     the Effective Yield (and the components thereof) applicable to any Incremental
                       Facility shall be determined by the relevant Borrower and the lender or lenders providing such
                       Incremental Facility; provided that the Effective Yield applicable to any Incremental Facility that is
                       pari passu with the Initial Tem1 Loans in right of payment and with respect to the Tem1 Loan Priority
                       Collateral (other than Customary Bridge Loans) may not be more than 0.50% higher than the
                       Effective Yield applicable to the Initial Tem1 Loans unless the Applicable Rate (and/or, as provided in
                       the proviso below, the Alternate Base Rate floor or LIBO Rate floor) with respect to the Initial Term
                       Loans is adjusted such that the Effective Yield on the Initial Term Loans is not more than 0.50% per
                       annum less than the Effective Yield with respect to such Incremental Facility; provided, further, that
                       any increase in Effective Yield applicable to any Initial Tenn Loan due to the application or
                       imposition of an Alternate Base Rate floor or LIBO Rate floor on any Incremental Loan may, at the
                       election of the Top Borrower, be effected through an increase in the Alternate Base Rate floor or
                       LIBO Rate floor applicable to such Initial Term Loan,

                               (vi)     the final maturity date with respect to any Incremental Loans shall be no earlier than
                       the Latest Maturity Date,

                                (vii)   the Weighted Average Life to Maturity of any Incremental Facility shall be no
                       shorter than the remaining Weighted Average Life to Maturity of any then-existing Class of Loans
                       (without giving effect to any prepayment thereof),

                              (viii) subject to clauses (vi) and (vii) above, any Incremental Facility may otherwise have
                       an amortization schedule as detennined by the Top Borrower and the lenders providing such
                       Incremental Facility,

                                (ix)    subject to clause (v) above, to the extent applicable, any fees payable in connection
                       with any Incremental Facility shall be detennined by the Top Borrower and the arrangers and/or
                       lenders providing such Incremental Facility,

                               (x)      (A) any Incremental Facility may rank pari passu with or junior to any then-existing
                       Class of Loans in right of payment and/or security or may be unsecured (and to the extent the relevant
                       Incremental Facility is secured, it shall be subject to an Acceptable lntercreditor Agreement) and (B)
                       no Incremental Facility may be (x) guaranteed by any subsidiary of the Top Borrower which is not a
                       Loan Party or (y) secured by any assets other than the Collateral,

                                (xi)     any Incremental Facility may participate (A) in any voluntary prepayment of Loans
                       as set forth in Section 2.1 l(a)(i) and (B) in any mandatory prepayment of Loans as set forth m
                       Section 2.1 l(b)(vi), in each case, to the extent provided in such Sections,

                               (xii)     except as otherwise agreed by the lenders providing the re levant Incremental Facility
                       in connection with an acquisition or similar Investment penuitted under this Agreement, no Event of
                       Default shall exist immediately prior to or after giving effect to such Incremental Facility ,




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                                (xiii)   the proceeds of any Incremental Facility may be used for working capital and/or
                       other general corporate purposes (including capital expenditures, acquisitions, Investments, Restricted
                       Payments and Restricted Debt Payments and related fees and expenses) and any other use not
                       prohibited by this Agreement, and

                                (xiv)    on the date of the Borrowing of any Incremental Loans that will be of the same Class
                       as any then-existing Class of Loans, and notwithstanding anything to the contrary set forth in Sections
                       2.08 or 2.13 above, such Incremental Loans shall be added to (and constitute a part of, be of the same
                       Type as and, at the election of the Top Borrower, have the same Interest Period as) each Borrowing of
                       outstanding Loans of such Class on a pro rata basis (based on the relative sizes of such Borrowings),
                       so that each Lender providing such Incremental Loans will participate proportionately in each then-
                       outstanding Borrowing of Loans of such Class; it being ackno-wledged that the application of this
                       clause (a)(xiv) may result in new Incremental Loans having Interest Periods (the duration of which
                       may be less than one month) that begin during an Interest Period then applicable to outstanding LIBO
                       Rate Loans of the relevant Class and w hich end on the last day of such Interest Period.

                     (b)      Incremental Commitments may be provided by any existing Lender, or by any other Eligible
             Assignee (any such other lender being called an " Incremental Lender''); provided that the Administrative
             Agent shall have a right to consent (such consent not to be unreasonably withheld or delayed) to the relevant
             Incremental Lender's provision of Incremental Commitments if such consent would be required under
             Section 9.05(b) for an assignment of Loans to such Incremental Lender; provided, further, that any Incremental
             Lender that is an Affiliated Lender shall be subject to the provisions of Section 9.05(g), mutatis mutandis, to
             the same extent as if the relevant Incremental Commitments and related Obligations had been acquired by such
             Lender by way of assignment.

                     (c)     Each Lender or Incremental Lender providing a portion of any Incremental Commitment shall
             execute and deliver to the Administrative Agent and the Top Borrower all such documentation (including the
             relevant Incremental Facility Amendment) as may be reasonably required by the Administrative Agent to
             evidence and effectuate such Incremental Commitment. On the effective date of such Incremental
             Commitment, each Incremental Lender shall become a Lender for all purposes in connection with this
             Agreement.

                      (d)      As conditions precedent to the effectiveness of any Incremental Facility or the making of any
             Incremental Loans, (i) upon its request, the Administrative Agent shall be entitled to receive customary written
             opinions of counsel, as well as such reaffirmation agreements, supplements and/or amendments as it shall
             reasonably require, (ii) the Administrative Agent shall be entitled to receive, from each Incremental Lender, an
             Administrative Questionnaire and such other documents as it shall reasonably require from such Incremental
             Lender, (iii) the Administrative Agent shall have received, on behalf of the Incremental Lenders, the amount of
             any fees payable to the Incremental Lenders in respect of such Incremental Facility or Incremental Loans, (iv)
             subject to Section 2.22(g), the Administrative Agent shall have received a Borrowing Request as if the relevant
             Incremental Loans were subject to Section 2.03 or another written request the form of which is reasonably
             acceptable to the Administrative Agent (it being understood and agreed that the requireme nt to deliver a
             Borrowing Request shall not result in the imposition of any additional condition precedent to the availability of
             the relevant Incremental Loans) and (v) the Administrative Agent shall be entitled to receive a certificate of the
             Top Borrower signed by a Responsible Officer thereof:

                                         (A)      certifying and attaching a copy of the resolutions adopted by the governing
                                  body of the relevant Borrower approving or consenting to such Incremental Facility or
                                  Incremental Loans, and

                                            (B)     to the extent applicable, certifying that the condition set forth in clause
                                  (a)(xii) above has been satisfied.




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                       (e)        [Reserved].

                      (f)      The Lenders hereby irrevocably authorize the Administrative Agent to enter into any
             Incremental Facility Amendment and/or any amendment to any other Loan Document as may be necessary in
             order to establish new Classes or sub-Classes in respect of Loans or commitments pursuant to this Section 2.22
             and such technical amendments as may be necessary or appropriate in the reasonable opinion of the
             Adm inistrative Agent and the Top Borrower in connection with the establishment of such new Classes or sub-
             Classes, in each case on terms consistent with this Section 2.22.

                      (g)      Notwithstanding anything to the contrary in this Section 2.22 or in any other provision of any
             Loan Document, if the proceeds of any Incremental Facility are intended to be applied to finance an
             acquisition or other Investment and the lenders providing such Incremental Facility so agree, the availability
             thereof shall be subject to customary " SunGard" or "certain funds" conditionality.

                       (h)        This Section 2.22 shall supersede any provision in Sections 2.18 or 9.02 to the contrary.

                       Section 2.23.          Extensions of Loans.

                      (a)     Notwithstanding anything to the contrary in this Agreement, pursuant to one or more offers
             (each, an "Extension Offer") made from time to time by the Top Borrower to all Lenders holding Loans of any
             Class or Commitments of any Class, in each case on a pro rata basis (based on the aggregate outstanding
             principal amount of the respective Loans or Commitments of such Class) and on the same terms to each such
             Lender, the Borrowers are hereby permitted to consummate a transaction with any individual Lender who
             accepts the terms contained in the relevant Extension Offer to extend the Maturity Date of all or a portion of
             such Lender' s Loans and/or Commitments of such Class and otherwise modify the terms of all or a portion of
             such Loans and/or Commitments pursuant to the terms of the relevant Extension Offer (including by
             increasing the interest rate or fees payable in respect of such Loans and/or Commitments (and related
             outstandings) and/or modifying the amortization schedule, if any, in respect of such Loans) (each, an
             "Extension"); it being understood that any Extended Term Loans shall constitute a separate Class of Loans
             from the Class of Loans from which they were converted, so long as the following terms are satisfied:

                                  (i)         [reserved];

                                (ii)    except as to (A) interest rates, fees, amortization, final maturity date, premiums,
                       required prepayment dates and participation in prepayments (which shall, subject to immediately
                       succeeding clauses (iii), (i_y} and (y1 be determined by the Top Borrower and any Lender who agrees
                       to an Extension of its Loans and set forth in the relevant Extension Offer), (B) tenns applicable to
                       such Extended Term Loans (as defined below) that are more favorable to the lenders or the agent of
                       such Extended Term Loans than those contained in the Loan Documents and are then conformed (or
                       added) to the Loan Documents for the benefit of the Lenders or, as applicable, the Administrative
                       Agent pursuant to the applicable Extension Amendment and (C) any covenants or other provisions
                       applicable only to periods after the Latest Maturity Date (in each case, as of the date of such
                       Extension), the Loans of any Lender extended pursuant to any Extension (any such extended Loans,
                       the "Extended Tenn Loans") shall have substantially consistent terms (or terms not less favorab le to
                       existing Lenders) as the tranche of Loans subject to the relevant Extension Offer;

                               (iii)    the final maturity date of any Extended Term Loans may be no earlier than the then
                       applicable Latest Maturity Date at the time of Extension;

                                (iv)     the Weighted Average Life to Maturity of any Extended Term Loans shall be no
                       shorter than the remaining Weighted Average Life to Maturity of any then-existing Loans;




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                              (v)      subject to clauses (iii) and {i_y) above, any Extended Tenn Loans may otherwise have
                       an amortization schedule as determined by the Top Borrower and the Lenders providing such
                       Extended Tenn Loans,

                                (vi)     any Class of Extended Tenn Loans may participate (A) in any voluntary prepayment
                       of Loans as set forth in Section 2.1 l(a)(i) and (B) in any mandatory prepayment of Loans as set forth
                       in Section 2.1 l(b)(vi), in each case, to the extent provided in such Sections;

                                (vii)   if the aggregate principal amount of Loans or Commitments, as the case may be, in
                       respect of which Lenders have accepted the relevant Extension Offer exceed the maximum aggregate
                       principal amount of Loans or Commitments, as the case may be, offered to be extended by the Top
                       Borrower pursuant to such E::\.1:ension Offer, then the Loans or Commitments, as the case may be, of
                       such Lenders shall be extended ratably up to such maximum amount based on the respective principal
                       amounts (but not to exceed the applicable Lender' s actual holdings of record) with respect to which
                       such Lenders have accepted such Extension Offer;

                             (viii) unless the Administrative Agent otherwise agrees, any Extension must be tn a
                       minimum amount of $5,000,000;

                              (ix)    any applicable Minimum Extension Condition must be satisfied or waived by the the
                       Top Borrower; and

                                  (x)         any documentation in respect of any Extension shall be consistent with the foregoing.

                      (b)     (i) No Extension consummated in reliance on this Section 2.23 shall constitute a voluntary or
             mandatory prepayment for purposes of Section 2.11 and (ii) except as set forth in clause (a)(viii) above, no
             Extension Offer is required to be in any minimum amount or any minimum increment; provided that the Top
             Borrower may at its election specify as a condition (a "Minimum Extension Condition") to the consummation
             of any Extension that a minimum amount (to be specified in the relevant Extension Offer in the Top
             Borrower' s sole discretion) of Loans or Commitments (as applicable) of any or all applicable tTanches be
             tendered; it being understood that the Top Borrower may, in its sole discretion, waive any such Minimum
             Extension Condition. The Administrative Agent and the Lenders hereby consent to the transactions
             contemplated by this Section 2.23 (including, for the avoidance of doubt, the payment of any interest, fees or
             premium in respect of any Extended Tenn Loans on such terms as may be set forth in the relevant Extension
             Offer) and hereby waive the requirements of any provision of this Agreement (including Sections 2.10, 2.11
             and/or 2.18) or any other Loan Document that may otherwise prohibit any such Extension or any other
             transaction contemplated by this Section.

                      (c)      Subject to any consent required under Section 2.23(a)(xi). no consent of any Lender or the
             Administrative Agent shall be required to effectuate any Extension, other than the consent of each Lender
             agreeing to such Extension with respect to one or more of its Loans and/or Commitments of any Class (or a
             portion thereot). All Extended Term Loans and all obligations in respect thereof shall constitute Secured
             Obligations under this Agreement and the other Loan Documents that are secured by the Collateral and
             guaranteed on a pari passu basis with all other applicable Secured Obligations under this Agreement and the
             other Loan Documents. The Lenders hereby irrevocably authorize the Administrative Agent to enter into any
             Extension Amendment and any amendments to any of the other Loan Documents with the Loan Parties as may
             be necessary in order to establish new Classes or sub-Classes in respect of Loans or Commitments so extended
             and such technical amendments as may be necessary or appropriate in the reasonable opinion of the
             Administrative Agent and the Top Borrower in connection with the establishment of such new Classes or sub-
             Classes, in each case on tenns consistent with this Section 2.23.

                      (d)     In connection with any Extension, the Top Borrower shall provide the Administrative Agent
             at least five Business Days' (or such shorter period as may be agreed by the Administrative Agent) prior




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             written notice thereof, and shall agree to such procedures (including regarding timing, rounding and other
             adjustments and to ensure reasonable administrative management of the credit facilities hereunder after such
             Extension), if any, as may be established by, or acceptable to, the Administrative Agent, in each case acting
             reasonably to accomplish the purposes of this Section 2.23.

                                                                    ARTICLE 3

                                                    REPRESENTATIONS AND WARRANTIES

                       On the Closing Date, Ho ldings (solely with respect to Sections 3.01, 3.02, 3.03, 3.07, 3.08, 3.09, 3.13,
             3. 14, 3.16 and 3.17) and the Borrowers hereby represent and warrant to the Lenders that:

                       Section 3.01.     Organization: Powers. Holdings, the Top Borrower and each of its Restricted
             Subsidiaries (a) is (i) duly organized and validly existing and (ii) in good standing (to the extent such concept
             exists in the relevant jurisdiction) under the Requirements of Law of its jurisdiction of organization, (b) has all
             requisite organizational power and authority to own its assets and to carry on its business as now conducted
             and (c) is qualified to do business in, and is in good standing (to the extent such concept exists in the relevant
             jurisdiction) in, every jurisdiction w here the ownership, lease or operation of its properties or conduct of its
             business requires such qualification, except, in each case referred to in this Section 3.01 (other than clause
             uufil and clause (b), in each case, with respect to the Top Borrower) where the failure to do so, individually or
             in the aggregate, would not reasonably be expected to result in a Material Adverse Effect.

                     Section 3.02.    Authorization: Enforceability. The execution, delivery and performance by each
             Loan Party of each Loan Document to which it is a party are within such Loan Party ' s corporate or other
             organizational power and have been duly authorized by all necessary corporate or other organizational action
             of such Loan Party. Each Loan Document to w hich any Loan Party is a party has been duly executed and
             delivered by such Loan Party and is a legal, valid and binding obligation of such Loan Party, enforceable in
             accordance with its terms, subj ect to the Legal Reservations.

                      Section 3.03.      Governmental Approvals: No Conflicts. The execution and delivery of each Loan
             Document by each Loan Party thereto and the performance by such Loan Party thereof (a) do not require any
             consent or approval of, registration or filing with, or any other action by, any Governmental Authority, except
             (i) such as have been obtained or made and are in full force and effect, (ii) in connection with the Perfection
             Requirements and (iii) such consents, approvals, registrations, filings, or other actions the failure to obtain or
             make w hich could not be reasonably expected to have a Material Adverse Effect, (b) will not violate any (i) of
             such Loan Party's Organizational Documents or (ii) Requirement of Law applicable to such Loan Party which
             violation, in the case of this clause (b)(ii), could reasonably be expected to have a Material Adverse Effect and
             (c) will not violate or result in a default under (i) the ABL Credit Agreement or the First Lien Credit
             Agreement or (ii) any other material Contractual Obligation to which such Loan Party is a party which
             violation, in the case of this clause (c). could reasonably be expected to result in a Material Adverse Effect.

                       Section 3.04.          Financial Condition; No Material Adverse Effect.

                      (a)     The financial statements (i) provided pursuant to Section 4.0l(c)(i) and (ii) after the Closing
             Date, most recently provided pursuant to Section 5.0l(a) or .Cb.), as applicable, present fairly, in all material
             respects, the financial condition and results of operations and cash flows of the Top Borrower on a
             consolidated basis as of such dates and for such periods in accordance with GAAP, (x) except as otherv,ise
             expressly noted therein and/or (y) subject, in the case of quarterly financial statements, to the absence of
             footnotes and normal year-end adjustments.

                      (b)     Since the C losing Date, there have been no events, developments or circumstances that have
             had, or could reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect.




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                       Section 3.05.          Properties.

                      (a)     As of the Closing Date, Schedule 3.05 sets forth the address of each Real Estate Asset (or
             each set of such assets that collectively comprise one operating property) that is owned in fee simple by any
             Loan Party.

                      (b)       The Top Borrower and each of its Restricted Subsidiaries have good and valid fee simple title
             to or rights to purchase, or valid leasehold interests in, or easements or other limited property interests in, all of
             their respective Real Estate Assets and have good title to their personal property and assets, in each case,
             except (i) for defects in title that do not materially interfere with their ability to conduct their business as
             currently conducted or to utilize such properties and assets for their intended purposes or (ii) where the failure
             to have such title would not reasonably be expected to have a Material Adverse Effect.

                      (c)     The Top Borrower and its Restricted Subsidiaries own or otherwise have a license or right to
             use all rights in Patents, Trademarks, Copyrights and other rights in works of authorship (including all
             copyrights embodied in software) and all other intellectual property rights ("IP Rights") used to conduct their
             respective businesses as presently conducted without, to the knowledge of the Top Borrower, any infringement
             or misappropriation of the IP Rights of third parties, except to the extent the failure to own or license or have
             rights to use would not, or where such infringement or misappropriation would not reasonably be expected to
             have, individually or in the aggregate, a Material Adverse Effect.

                       Section 3.06.          Litigation and Environmental Matters.

                     (a)       There are no actions, suits or proceedings by or before any arbitrator or Governmental
             Authority pending against or, to the knowledge of the Top Borrower, threatened in writing against or affecting
             the Top Borrower or any of its Restricted Subsidiaries which would reasonably be expected, individually or in
             the aggregate, to result in a Material Adverse Effect.

                      (b)      Except for any matters that, individually or m the aggregate, would not reasonably be
             expected to result in a Material Adverse Effect, (i) neither the Top Borrower nor any of its Restricted
             Subsidiaries is subject to or has received notice of any Environmental Claim or Environmental Liability or
             knows of any basis for any Environmental Liability or Environmental Claim of the Top Borrower or any of its
             Restricted Subsidiaries and (ii) neither the Top Borrower nor any of its Restricted Subsidiaries has failed to
             comply with any Environmental Law or to obtain, maintain or comply with any Governmental Authorization,
             permit, license or other approval required under any Environmental Law.

                      (c)     Neither the Top Borrower nor any of its Restricted Subsidiaries has treated, stored,
             transported or Released any Hazardous Materials on, at, under or from any currently or fonuerly owned, leased
             or operated real estate or facility in a manner that would reasonably be expected to have a Material Adverse
             Effect.

                       Section 3.07.   Compliance with Laws. Each of Holdings, the Top Borrower and each of its
             Restricted Subsidiaries is in compliance with all Requirements of Law applicable to it or its property, except,
             in each case where the failure to do so, individually or in the aggregate, ·would not reasonably be expected to
             result in a Material Adverse Effect; it being understood and agreed that this Section 3.07 shall not apply to the
             Requirements of Law covered by Section 3 .17 below.

                        Section 3.08.    Investment Company Status. No Loan Party is an "investment company" as defmed
             in, or is required to be registered under, the Investment Company Act of 1940.

                     Section 3.09.    Taxes. Each of Holdings, the Top Borrower and each of its Restricted Subsidiaries
             has timely filed or caused to be filed all Tax returns and reports required to have been filed and has paid or
             caused to be paid all Taxes required to have been paid by it that are due and payable (including in its capacity



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             as a withholding agent), except (a) Taxes (or any requirement to file Tax returns with respect thereto) that are
             being contested in good faith by appropriate proceedings and for which the Top Borrower or such Restricted
             Subsidiary, as applicable, has set aside on its books adequate reserves in accordance with GAAP or (b) to the
             extent that the failure to do so, individually or in the aggregate, would not reasonably be expected to result in a
             Material Adverse Effect.

                       Section 3.10.          ERISA.

                     (a)      Each Plan is in compliance in form and operation with its terms and with ERJSA and the
             Code and all other applicable Requirements of Law, except where any failure to comply would not reasonably
             be expected to result in a Material Adverse Effect.

                      (b)     In the five-year period prior to the date on which this representation is made or deemed made,
             no ERISA Event has occurred and is continuing or is reasonably expected to occur that, when taken together
             with all other such ERISA Events for which liability is reasonably expected to occur, would reasonably be
             expected to result in a Material Adverse Effect.

                       Section 3 .11.         Disclosure.

                      (a)      As of the Closing Date, with respect to infonnation relating to the Target and its subsidiaries,
             to the knowledge of the Top Borrower, all written information (other than the Projections, financial estimates,
             other forward-looking information and/or projected information and information of a general economic or
             industry-specific nature) concerning Holdings, the Top Borrower and its subsidiaries that was included in the
             lnfonnation Memorandum or otherwise prepared by or on behalf of Holdings, the Top Borrower or its
             subsidiaries or their respective representatives and made available to any Initial Lender or the Administrative
             Agent in connection with the Transactions on or before the Closing Date (the "Information"), when taken as a
             whole, did not, when furnished, contain any untrue statement of a material fact or omit to state a material fact
             necessary in order to make the statements contained therein not materially misleading in light of the
             circumstances under which such statements are made (after giving effect to all supplements and updates
             thereto from time to time).

                      (b)       The Projections have been prepared in good faith based upon assumptions believed by the
             Top Borrower to be reasonable at the time furnished (it being recognized that such Projections are not to be
             viewed as facts and are subject to significant uncertainties and contingencies many of which are beyond the
             Top Borrower' s control, that no assurance can be given that any particular financial projections will be
             realized, that actual results may differ from projected results and that such differences may be material).

                      Section 3.12.     Solvencv. As of the Closing Date and after giving effect to the Transactions and the
             incurrence of the Indebtedness and obligations being incurred in connection with this Agreement and the
             Transactions, (i) the sum of the debt (including contingent liabilities) of the Top Borrower and its subsidiaries,
             taken as a whole, does not exceed the fair value of the assets of the Top Borrower and its subsidiaries, taken as
             a whole, (ii) the present fair saleable value of the assets (on a going concern basis) of the Top Borrower and its
             subsidiaries, taken as a whole, is not less than the amount that will be required to pay the probable liabilities of
             the Top Borrower and its subsidiaries, taken as a whole, on their debts as they become absolute and matured in
             accordance with their terms; (iii) the capital of the Top Borrower and its subsidiaries, taken as a whole, is not
             unreasonably small in relation to the business of the Top Borrower and its subsidiaries, taken as a whole,
             contemplated as of the Closing Date; and (iv) the Top Borrower and its subsidiaries, taken as a whole, do not
             intend to incur, or believe that they will incur, debts (including current obligations and contingent liabilities)
             beyond their ability to pay such debt as they mature in accordance with their terms.

                      Section 3.13.    Subsidiaries. Schedule 3.13 sets forth, in each case as of the Closing Date, (a) a
             correct and complete list of the name of each subsidiary of Holdings and the ownership interest therein held by
             Holdings or its applicable subsidiary, and (b) the type of entity of Holdings and each of its subsidiaries.




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                       Section 3.14.    Security Interest in Collateral. Subject to the Legal Reservations, the Perfection
             Requirements and the provisions, limitations and/or exceptions set forth in this Agreement and/or any other
             Loan Document, the Collateral Documents create legal, valid and enforceable Liens on all of the Collateral in
             favor of the Administrative Agent, for the benefit of itself and the other Secured Parties, and upon the
             satisfaction of the applicable Perfection Requirements, such Liens constitute perfected Liens (with the priority
             that such Liens are expressed to have under the relevant Collateral Documents, unless otherwise permitted
             hereunder or under any Collateral Document) on the Collateral (to the extent such Liens are required to be
             perfected under the tenus of the Loan Documents) securing the Secured Obligations, in each case as and to the
             extent set forth therein.

                       For the avoidance of doubt, notwithstanding anything herein or in any other Loan Document to the
             contrary, neither the Top Borrower nor any other Loan Party makes any representation or warranty as to (A)
             the effect of perfection or non-perfection, the priority or the enforceability of any pledge of or security interest
             in any Capital Stock of any Foreign Subsidiary, or as to the rights and remedies of the Adm inistrative Agent or
             any Lender with respect thereto, under foreign Requirements of Law, (B) the enforcement of any security
             interest, or right or remedy with respect to any Collateral that may be limited or restricted by, or require any
             consent, authorization approval or license under, any Requirement of Law or (C) on the Closing Date and until
             required pursuant to Section 5.12, the pledge or creation of any security interest, or the effects of perfection or
             non-perfection, the priority or enforceability of any pledge or security interest to the extent the same is not
             required on the Closing Date pursuant to the terms hereof.

                      Section 3.15.    Labor Disputes. Except as individually or in the aggregate would not reasonably be
             expected to have a Material Adverse Effect, (a) there are no strikes, lockouts or slowdowns against the Top
             Borrower or any of its Restricted Subsidiaries pending or, to the knowledge of the Top Borrower or any of its
             Restricted Subsidiaries, threatened and (b) the hours worked by and payments made to employees of the Top
             Borrower and its Restricted Subsidiaries have not been in violation of the Fair Labor Standards Act or any
             other applicable Requirements of Law dealing with such matters.

                      Section 3.16.     Federal Reserve Regulations. No part of the proceeds of any Loan has been used,
             whether directly or indirectly , and whether immediately, incidentally or ultimately, for any purpose that results
             in a violation of the provisions of Regulation U.

                       Section 3. 17.         OFAC; PATRIOT ACT and FCPA.

                      (a)      (i) None of Holdings, the Top Borrower nor any of its Restricted Subsidiaries nor, to the
             knowledge of the Top Borrower, any director, officer or employee of any of the foregoing is subject to any
             U.S. sanctions administered by the Office of Foreign Assets Control of the U.S. Treasury Department
             (" OFAC"); and (ii) the Top Borrower will not directly or, to its knowledge, indirectly, use the proceeds of the
             Loans or Letters of Credit or otherwise make available such proceeds to any Person for the purpose of
             financing the activities of any Person that is subject to any U.S. sanction administered by OFAC, except to the
             extent licensed or otherwise approved by OFAC or in compliance with applicable exemptions licenses or other
             approvals.

                   (b)   To the extent applicable, each Loan Party is in compliance, in all material respects, with the
             USA PATRIOT Act.

                     (c)      Except to the extent that the relevant violation could not reasonably be expected to have a
             Material Adverse Effect, (i) neither the Top Borrower nor any of its Restricted Subsidiaries nor, to the
             knowledge of the Top Borrower, any director, officer, agent (solely to the extent acting in its capacity as an
             agent for Holdings or any of its subsidiaries) or employee of the Top Borrower or any Restricted Subsidiary,
             has taken any action, directly or indirectly, that would result in a material violation by any such Person of the
             U.S. Foreign Corrupt Practices Act of 1977, as amended (the "FCPA"), including, without limitation, making
             any offer, payment, promise to pay or authorization or approval of the payment of any money, or other




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             property, gift, promise to give or authorization of the giving of anything of value, directly or indirectly, to any
             "foreign official" (as such tenn is defined in the FCPA) or any foreign political party or official thereof or any
             candidate for foreign political office, in each case in contravention of the FCPA and any applicable anti-
             corruption Requirement of Law of any Governmental Authority; and (ii) the Top Borrower has not directly or,
             to its knowledge, indirectly, used the proceeds of the Loans or Letters of Credit or otherwise made available
             such proceeds to any governmental official or employee, political party, official of a political party, candidate
             for public office or anyone else acting in an official capacity, in order to obtain, retain or direct business or
             obtain any improper advantage in violation of the FCPA.

                       The representations and warranties set forth in Section 3 .17 above made by or on behalf of any
             Foreign Subsidiary are subject to and limited by any Requirement of Law applicable to such Foreign
             Subsidiary; it being understood and agreed that to the extent that any Foreign Subsidiary is unable to make any
             representation or ·warranty set forth in Section 3. 17 as a result of the application of this sentence, such Foreign
             Subsidiary shall be deemed to have represented and warranted that it is in compliance, in all material respects,
             with any equivalent Requirement of Law relating to anti-terrorism, anti-corruption or anti-money laundering
             that is applicable to such Foreign Subsidiary in its relevant local jurisdiction of organization.

                                                                ARTICLE4

                                                               CONDITIONS

                      Section 4.01.    Closing Date. The obligations of each Lender to make Loans shall not become
             effective until the date on which each of the following conditions is satisfied (or waived in accordance with
             Section 9.02):

                       (a)      Credit Agreement and Loan Documents. The Administrative Agent (or its counsel) shall
             have received from each Loan Party, to the extent party thereto, (i) a counterpart signed by such Loan Party (or
             written evidence reasonably satisfactory to the Administrative Agent (which may include a copy transmitted
             by facsimi le or other electronic method) that such party has signed a counterpart) of (A) this Agreement, (B)
             the Security Agreement, (C) any Intellectual Property Security Agreement, (D) the Loan Guaranty, (E) the
             Initial lntercreditor Agreements and (F) each Promissory Note requested by a Lender at least three Business
             Days prior to the Closing Date and (ii) a Borrowing Request as required by Section 2.03.

                       (b)     Legal Opinions. The Administrative Agent (or its counsel) shall have received, on behalf of
             itself, the Lenders on the Closing Date, (i) a customary written opinion of Weil, Gotshal & Manges LLP, in its
             capacity as special counsel for the Loan Parties and (ii) customary written opinions of local counsel to the
             Loan Parties organized in the jurisdictions set forth on Schedule 4.0l(b). each dated the Closing Date and
             addressed to the Administrative Agent and the Lenders.

                     (c)          Financial Statements and Pro Forma Financial Statements. The Administrative Agent shall
             have received:

                               (i)     (A) the audited consolidated balance sheets of the Top Borrower as of the Fiscal
                       Year ended on or about December 3 1, 2015 and the audited consolidated statements of income,
                       stockholders' equity and cash flows of the Top Borrower for the Fiscal Year then ended and (B) the
                       unaudited balance sheets of the Top Borrower as of the Fiscal Quarters ended on or about March 31,
                       2016 and June 30, 2016 and the unaudited consolidated statements of income and cash flows of the
                       Top Borrower for the Fiscal Quarters then ended; and

                                (ii)    a pro fom1a consolidated balance sheet of the Top Borrower as of June 25, 2016
                       (based on the balance sheet as of June 25, 2016 described in clause (c)(i)(B) above) and a related
                       consolidated statement of income for the period of four Fiscal Quarters ending on such date (based on
                       the statement of income for the period ended June 25, 2016 described in clause (c)(i)(B) above), in




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                       each case, prepared in good faith after giving effect to the Transactions as if the Transactions had
                       occurred as of June 25, 2016, in the case of such balance sheet, or June 26, 2016, in the case of the
                       statement of income;

                        (d)     SecretaIY's Certificate and Good Standing Certificates. The Administrative Agent (or its
             counsel) shall have received (i) a certificate of each Loan Party, dated the Closing Date and executed by a
             secretary, assistant secretary or other Responsible Officer thereof, which shall (A) certify that (w) attached
             thereto is a true and complete copy of the certificate or articles of incorporation, fonnation or organization of
             such Loan Party, certified by the relevant authority of its jurisdiction of organization, (x) the certificate or
             articles of incorporation, formation or organization of such Loan Party attached thereto has not been amended
             (except as attached thereto) since the date reflected thereon, (y) attached thereto is a true and correct copy of
             the by-laws or operating, management, partnership or similar agreement of such Loan Party, together with all
             amendments thereto as of the Closing Date and such by-laws or operating, management, partnership or similar
             agreement are in full force and effect and (z) attached thereto is a true and complete copy of the resolutions or
             ,,vritten consent, as applicable, of its board of directors, board of managers, sole member or other applicable
             governing body authorizing the execution and delivery of the Loan Documents, which resolutions or consent
             have not been modified, rescinded or amended (other than as attached thereto) and are in full force and effect,
             and (B) identify by name and title and bear the signatures of the officers, managers, directors or other
             authorized signatories of such Loan Party who are authorized to sign the Loan Documents to which such Loan
             Party is a party on the Closing Date and (ii) a good standing (or equivalent) certificate for such Loan Party
             from the relevant authority of its jurisdiction of organization, dated as of a recent date.

                       (e)     Representations and Warranties. The representations and warranties of the Loan Parties set
             forth in this Agreement and the other Loan Documents shall be true and correct in all material respects on and
             as of the Closing Date: provided that to the extent that any representation and warranty specifically refers to a
             given date or period, such representation and warranty shall be true and correct in all material respects as of
             such date or for such period.

                      (f)     Fees. Prior to or substantially concurrently ,\~th the funding of the Initial Term Loans
             hereunder, the Administrative Agent shall have received (i) all fees required to be paid by the Top Borrower on
             the Closing Date pursuant to the Fee Letter and (ii) all expenses required to be paid by the Top Borrower for
             which invoices have been presented at least three Business Days prior to the Closing Date or such later date to
             which the Top Borrower may agree (including the reasonable fees and expenses of legal counsel required to be
             paid), in each case on or before the Closing Date, which amounts may be offset against the proceeds of the
             Loans.

                      (g)      ABL Credit Agreement and First Lien Credit Agreement. (i) The "Loan Documents" (as
             defined in the First Lien Credit Agreement) required by the terms of the First Lien Credit Agreement to be
             executed on the Closing Date shall have been, or substantially concurrently with the making of the Initial Tenn
             Loans hereunder on the Closing Date shall be, duly executed and delivered by each Loan Party that is party
             thereto, (ii) tenu loans under the First Lien Credit Agreement shall have been, or substantially concurrently
             with the making of the Loans hereunder on the Closing Date will be, funded and (iii) the "Loan Documents"
             (as defined in the ABL Credit Agreement) required by the terms of the ABL Credit Agreement to be executed
             on the Closing Date shall have been, or substantially concurrently with the making of the Loans hereunder on
             the Closing Date shall be, duly executed and delivered by each Loan Party that is party thereto.

                    (h)       Refinancing. Prior to or substantially concurrently with the initial funding of the Loans
             hereunder, the Refinancing Transactions shall be consummated.

                      (i)      Solvency. The Administrative Agent (or its counse l) shall have received a certificate in
             substantially the form of Exhibit P from the chief financial officer (or other officer with reasonably equivalent
             responsibilities) of the Top Borrower dated as of the Closing Date and certifying as to the matters set forth
             therein.




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                      (i)     Perfection Certificate. The Administrative Agent (or its counsel) shall have received a
             completed Perfection Certificate dated the C losing Date and signed by a Responsible Officer of each Loan
             Party, together with all attachments contemplated thereby .

                       (k)     Pledged Stock and Pledged Notes. Subject to the provisions of the First Lien/Second Lien
             lntercreditor Agreement, the Administrative Agent (or its counsel or the First Lien Collateral Agent as its
             bailee) shall have received (i) the certificates representing the Capital Stock required to be pledged pursuant to
             the Security Agreement, together with an undated stock power or simi lar instrument of transfer for each such
             certificate endorsed in blank by a duly authorized officer of the pledgor thereof, and (ii) each Material Debt
             Instrument (if any) endorsed (without recourse) in blank (or accompanied by an transfer form endorsed in
             blank) by the pledgor thereof.

                      (1)      Filings Registrations and Recordings. Each document (including any UCC (or similar)
             financing statement) required by any Collateral Document or under applicable Requirements of Law to be
             filed, registered or recorded in order to create in favor of the Administrative Agent, for the benefit of the
             Secured Parties, a perfected Lien on the Collateral required to be delivered on the Closing Date pursuant to
             such Collateral Document, shall be in proper fonu for filing, registration or recordation.

                      (m)     USA PATRIOT Act. No later than three Business Days in advance of the Closing Date, the
             Administrative Agent shall have received all documentation and other information reasonably requested with
             respect to Holdings or any Loan Party in writing by any Initial Lender at least ten Business Days in advance of
             the Closing Date, which documentation or other in.fonuation is required by regulatory authorities under
             applicable " know your customer" and anti-money laundering rules and regulations, including the USA
             PATRIOT Act.

                     (n)      No Default. On the Closing Date and immediately after giving effect to the Transactions, no
             Event of Default exists.

                       (o)     Officer' s Certificate. The Administrative Agent shall have received a certificate from a
             Responsible Officer of the Borrower certifying satisfaction of the conditions precedent set forth in Sections
             4.0 l(e) and (!!}

                     For purposes of determining whether the conditions specified in this Section 4.01 have been satisfied
             on the Closing Date, by fund ing the Loans hereunder, the Administrative Agent and each Lender shall be
             deemed to have consented to, approved or accepted, or to be satisfied with, each document or other matter
             required hereunder to be consented to or approved by or acceptable or satisfactory to the Administrative Agent
             or such Lender, as the case may be.

                                                               ARTICLES

                                                     AFFIRMATIVE COVENANTS

                      From the Closing Date until the date on which all Commitments have expired or terminated and the
             principal of and interest on each Loan and all fees, expenses and other amounts payable under any Loan
             Document (other than contingent indemnification obligations for which no claim or demand has been made)
             have been paid in full in Cash (such date, the ''Termination Date"), Holdings (solely with respect to Sections
             5.02, 5.03 and 5. 12) and each Borrower hereby covenant and agree with the Lenders that:

                    Section 5.01.     Financial Statements and Other Reports. The Top Borrower will deliver to the
             Administrative Agent for delivery by the Administrative Agent, subject to Section 9 .05(f), to each Lender:

                     (a)     Quarterly Financial Statements. As soon as available, and in any event within 60 days after
             the end of each of the first three Fiscal Quarters of each Fiscal Year, commencing with the Fiscal Quarter




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             ending on or about September 30, 2016, the consolidated balance sheet of the Top Borrower as at the end of
             such Fiscal Quarter and the related consolidated statements of income and cash flows of the Top Borrower for
             such Fiscal Quarter and for the period from the beginning of the then current Fiscal Year to the end of such
             Fiscal Quarter, and setting forth, in reasonable detail, in comparative form the corresponding figures for the
             corresponding periods of the previous Fiscal Year, all in reasonable detail, together with a Responsible Officer
             Certification (which may be included in the applicable Compliance Certificate) with respect thereto;

                      (b)      Annual Financial Statements. As soon as available, and in any event within 120 days after
             the end of each Fiscal Year ending after the Closing Date, (i) the consolidated balance sheet of the Top
             Borrower as at the end of such Fiscal Year and the related consolidated statements of income, stockholders'
             equity and cash flows of the Top Borrower for such Fiscal Year and setting forth, in reasonable detail, in
             comparative form the corresponding figures for the previous Fiscal Year and (ii) with respect to such
             consolidated financial statements, a report thereon of an independent certified public accountant of recognized
             national standing (which report shall not be subject to a "going concern" explanatory paragraph or like
             statement (except as resulting from (A) the impending maturity of any Indebtedness within the four full Fiscal
             Quarter period following the relevant audit date and/or (B) any breach or anticipated breach of any financial
             covenant)), and shall state that such consolidated financial statements fairly present, in all material respects,
             the consolidated financial position of the Top Borrower as at the dates indicated and its income and cash flows
             for the periods indicated in conformity with GAAP;

                       (c)    Compliance Certificate. Together with each delivery of financial statements of the Top
             Borrower pursuant to Sections 5.01(a) and {hl, (i) a duly executed and completed Compliance Certificate and
             (ii) a summary of the pro forma adjustments necessary to eliminate the accounts of Unrestricted Subsidiaries
             (if any) from such financial statements;

                       (d)        [Reserved.I;

                      (e)     Notice of Default. Promptly upon any Responsible Officer of the Top Borrower obtaining
             knowledge of (i) any Default or Event of Default or (ii) the occurrence of any event or change that has caused
             or evidences or would reasonably be expected to cause or evidence, either individually or in the aggregate, a
             Material Adverse Effect, a reasonably-detailed notice specifying the nature and period of existence of such
             condition, event or change and what action the Top Borrower has taken, is taking and proposes to take with
             respect thereto;

                       (f)      Notice of Litigation. Promptly upon any Responsible Officer of the Top Borrower obtaining
             knowledge of (i) the institution of, or threat of, any Adverse Proceeding not previously disclosed in w riting by
             the Top Borrower to the Administrative Agent, or (ii) any material development in any Adverse Proceeding
             that, in the case of either of clauses (i) or @, could reasonably be expected to have a Material Adverse Effect,
             vvritten notice thereof from the Top Bon-ower together with such other non-privileged information as may be
             reasonably available to the Loan Parties to enable the Lenders to evaluate such matters;

                      (g)     ERISA. Promptly upon any Responsible Officer of the Top Borrower becoming aware of the
             occurrence of any ERISA Event that could reasonably be expected to have a Material Adverse Effect, a written
             notice specifying the nature thereof;

                     (h)     Financial Plan. As soon as available and in any event no later than 90 days after the
             beginning of each Fiscal Year, commencing with the Fiscal Year ending on or about December 3 1, 2017, an
             annual budget prepared by management of the Top Borrower, consisting of a forecasted consolidated balance
             sheet and forecasted consolidated statements of income and cash flows of the Top Borrower for such Fiscal
             Year;

                     (i)     Information Regarding Collateral. Prompt (and, in any event, within 90 days of the relevant
             change) written notice of any change (i) in any Loan Party's legal name, (ii) in any Loan Party' s type of




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             organization, (iii) in any Loan Party 's jurisdiction of organization or (iv) in any Loan Party 's organizational
             identification number, in each case to the extent such information is necessary to enable the Administrative
             Agent to perfect or maintain the perfection and priority of its security interest in the Collateral of the relevant
             Loan Party, together with a certified copy of the applicable Organizational Document reflecting the relevant
             change;

                       (i)        [Reserved.]

                      (k)     Certain Reports. Promptly upon their becoming available and without duplication of any
             obligations with respect to any such information that is otherwise required to be delivered under the provisions
             of any Loan Document, copies of (i) following a Qualifying IPO, all financial statements, reports, notices and
             proxy statements sent or made available generally by Holdings or its applicable Parent Company to its security
             holders acting in such capacity and (ii) all regular and periodic reports and all registration statements (other
             than on Form S-8 or a similar form) and prospectuses, if any, filed by Holdings or its applicable Parent
             Company with any securities exchange or with the SEC or any analogous Govemmental Authority or private
             regulatory authority with jurisdiction over matters relating to securities; and

                      (I)      Other Information. Such other certificates, reports and information (financial or otherwise) as
             the Administrative Agent may reasonably request from time to time regarding the financial condition or
             business of the Top Borrower and its Restricted Subsidiaries: provided, however, that none of Holdings, the
             Top Borrower nor any Restricted Subsidiary shall be required to disclose or provide any information (a) that
             constitutes non-financial trade secrets or non-financial proprietary information of Holdings, the Top Borrower
             or any of its subsidiaries or any of their respective customers and/or suppliers, (b) in respect of which
             disclosure to the Administrative Agent or any Lender (or any of their respective representatives) is prohibited
             by applicable Requirements of Law, (c) that is subject to attorney-client or similar privilege or constitutes
             attorney work product or (d) in respect of which Holdings, the Top Borrower or any Restricted Subsidiary
             owes confidentiality obligations to any third party (provided such confidentiality obligations were not entered
             into in contemplation of the requirements of this Section 5 .01(I)).

                      Documents required to be delivered pursuant to this Section 5.01 may be delivered electronically and
             if so delivered, shall be deemed to have been delivered on the date (i) on which the Top Borrower (or a
             representative thereof) (x) posts such documents or (y) provides a link thereto at the website address listed on
             Schedule 9.01; provided that, other than with respect to items required to be delivered pursuant to
             Section 5.0l(k) above, the Top Borrower shall promptly notify (which notice may be by facsimile or electronic
             mail) the Administrative Agent of the posting of any such documents at the website address listed on Schedule
             9.01 and provide to the Administrative Agent by electronic mail electronic versions (i.e., soft copies) of such
             documents; (ii) on ·which such documents are delivered by the Top Borrower to the Administrative Agent for
             posting on behalf of the Top Borrower on lntraLinks/SyndTrak or another relevant website (the " Platform"), if
             any, to which each Lender and the Administrative Agent have access (whether a commercial, third-party
             website or whether sponsored by the Administrative Agent); (iii) on which such documents are faxed to the
             Administrative Agent (or electronically mailed to an address provided by the Administrative Agent); or (iv) in
             respect of the items required to be delivered pursuant to Section 5.0l(k) above with respect to information filed
             by Holdings or its applicable Parent Company with any securities exchange or with the SEC or any analogous
             governmental or private regulatory authority with jurisdiction over matters relating to securities (other than
             Form 10-Q Reports and Form 10-K reports described in Sections 5.0l(a) and (hl, respectively), on which such
             items have been made available on the SEC website or the website of the relevant analogous governmental or
             private regulatory authority or securities exchange.

                     Notwithstanding the foregoing, the obligations in paragraphs (a), (hl and .(h) of this Section 5.01 may
             instead be satisfied with respect to any financial statements of the Top Borrower by furnishing (A) the
             applicable financial statements of any Parent Company or (B) any Parent Company's Form 10-K or 10-Q, as
             applicable, filed with the SEC or any securities exchange, in each case, within the time periods specified in
             such paragraphs and without any requirement to provide notice of such filing to the Administrative Agent or



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             any Lende r; provided that, with respect to each of clauses (A) and @1 (i) to the extent ( 1) such financial
             statements relate to any Parent Company and (2) either (I) such Parent Company (or any other Parent
             Company that is a subsidiary of such Parent Company) has any material third party Indebtedness and/or
             material operations (as determined by the Top Borrower in good faith and other than any operations that are
             attributable solely to such Parent Company' s ownership of the Top Borrower and its subsidiaries) or (ll) there
             are material differences betwee n the financial statements of such Parent Company and its consolidated
             subsidiaries, on the one hand, and the Top Borrower and its consolidated subsidiaries, on the other hand, such
             financial statements or Form 10-K or Fonu 10-Q, as applicable, shall be accompanied by unaudited
             consolidating information that summarizes in reasonable detail the differences between the information
             relating to such Parent Company and its consolidated subsidiaries, on the one hand, and the information
             relating to the Top Borrower and its consolidated subsidiaries on a stand-alone basis, on the other hand, which
             consolidating information shall be certified by a Responsible Officer of the Top Borrower as having been
             fairly presented in all material respects and (ii) to the extent such statements are in lieu of statements required
             to be provided under Section 5.0l(b). such statements shall be accompanied by a report and opinion of an
             independent registered public accounting firm of nationally recognized standing, which report and opinion
             shall satisfy the applicable requirements set forth in Section 5.0I(b).

                       No financial statement required to be delivered pursuant to Section 5.0I(a) or {hl shall be required to
             include acquisition accounting adjustments relating to any Permitted Acquisition or other Investment to the
             extent it is not practicable to include any such adjustments in such financial statement.

                       Section 5.02.    Existence. Except as otherwise permitted under Section 6.07, Holdings and the Top
             Borrower will, and the Top Borrower will cause each of its Restricted Subsidiaries to, at all times preserve and
             keep in full force and effect its existence and all rights, franchises, licenses and permits material to its business
             except, other than with respect to the preservation of the existence of the Top Borrower, to the extent that the
             failure to do so could not reasonably be expected to result in a Material Adverse Effect: provided that neither
             Holdings nor the Top Borrower nor any of the Top Borrowe r' s Restricted Subsidiaries shall be required to
             preserve any such existence (other than w ith respect to the preservation of existence of the Top Borrower),
             right, franchise, license or permit if a Responsible Officer of such Person or such Person's board of directors
             (or similar governing body) determines that the preservation thereof is no longer desirable in the conduct of the
             business of such Person, and that the loss thereof is not disadvantageous in any material respect to such Person
             or to the Lenders (taken as a w hole).

                      Section 5.03.      Payment of Taxes. Holdings and the Top Borrower will, and the Top Borrower w ill
             cause each of its Restricte d Subsidiaries to, pay all Taxes imposed upon it or any of its properties or assets or
             in respect of any of its income or businesses or franchises before any penalty or fine accrues thereon: provided,
             however, that no such Tax need be paid if (a) it is being contested in good faith by appropriate proceedings, so
             long as (i) adequate reserves or other appropriate provisions, as are required in conformity with GAAP, have
             been made therefor and (ii) in the case of a Tax which has resulted or may result in the creation of a Lie n on
             any of the Collateral, such contest proceedings conclusively operate to stay the sale of any portion of the
             Collateral to satisfy such Tax or (b) failure to pay or discharge the same could not reasonably be expected,
             individually or in the aggregate, to result in a Material Adverse Effect.

                      Section 5.04.    Maintenance of Properties. The Top Borrower will, and will cause each of its
             Restricted Subsidiaries to, maintain or cause to be maintained in good repair, working order and condition,
             ordinary wear and tear and casualty and condemnation excepted, all property reasonably necessary to the
             normal conduct of business of the Top Borrower and its Restricted Subsidiaries and from time to time will
             make or cause to be made all needed and appropriate repairs, renewals and replacements thereof except as
             expressly permitted by this Agreement or where the failure to maintain such properties or make such repairs,
             renewals or replacements could not reasonably be expected to have a Material Adverse Effect.

                    Section 5.05.    Insurance. Except where the failure to do so would not reasonably be expected to
             have a Material Adverse Effect, the Top Borrower w ill maintain or cause to be maintained, w ith financially




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             sound and reputable insurers, such insurance coverage with respect to liability, loss or damage in respect of the
             assets, properties and businesses of the Top Borrower and its Restricted Subsidiaries as may customarily be
             carried or maintained under similar circumstances by Persons of established reputation engaged in similar
             businesses, in each case in such amounts (giving effect to self-insurance), with such deductibles, covering such
             risks and otherwise on such terms and conditions as shall be customary for such Persons, including flood
             insurance with respect to each Flood Hazard Property, in each case in compliance with the National Flood
             Insurance Act of 1968 and the Flood Disaster Protection Act of 1973 (where applicable). Each such policy of
             insurance shall, subject lo Section 5.15 hereof, (i) name the Administrative Agent on behalf of the Secured
             Parties as an additional insured thereunder as its interests may appear and (ii) (A) to the extent available from
             the relevant insurance carrier in the case of each casualty insurance policy (excluding any business
             interruption insurance policy), contain a loss payable clause or endorsement that names the Administrative
             Agent, on behalf of the Secured Parties as the loss payee thereunder and (B) lo the extent available from the
             re levant insurance carrier after submission of a request by the applicable Loan Party lo obtain the same,
             provide for al least 30 days' prior written notice lo the Administrative Agent of any modification or
             cancellation of such policy (or 10 days' prior written notice in the case of the failure to pay any premiums
             thereunder).

                      Section 5.06.     Inspections. The Top Borrower will, and will cause each of its Restricted
             Subsidiaries to, permit any authorized representative designated by the Administrative Agent to visit and
             inspect any of the properties of the Top Borrower and any of its Restricted Subsidiaries at which the principal
             financial records and executive officers of the applicable Person are located, lo inspect, copy and take extracts
             from its and their respective financial and accounting records, and lo discuss its and their respective affairs,
             finances and accounts with its and their Responsible Officers and independent public accountants (provided
             that the Top Borrower (or any of its subsidiaries) may, if it so chooses, be present at or participate in any such
             discussion) at the expense of the Top Borrower, all upon reasonable notice and at reasonable times during
             normal business hours; provided that (a) only the Administrative Agent on behalf of the Lenders may exercise
             the rights of the Administrative Agent and the Lenders under this Section 5.06, (b) except as expressly set forth
             in clause (c) below during the continuance of an Event of Default, the Administrative Agent shall not exercise
             such rights more often than one time during any calendar year, (c) when an Event of Default exists, the
             Administrative Agent (or any of its representatives or independent contractors) may do any of the foregoing at
             the expense of the Top Borrower at any lime during nonual business hours and upon reasonable advance
             notice and (d) notwithstanding anything to the contrary herein, neither the Top Borrower nor any Restricted
             Subsidiary shall be required to disclose, permit the inspection, examination or making of copies of or taking
             abstracts from, or discuss any document, information, or other matter (i) that constitutes non-financial trade
             secrets or non-financial proprietary information of the Top Borrower and its subsidiaries and/or any of its
             customers and/or suppliers, (ii) in respect of which disclosure lo the Administrative Agent or any Lender (or
             any of their respective representati-ves or contractors) is prohibited by applicable Requirements of Law, (iii)
             that is subject to attorney-client or similar privilege or constitutes attorney work product or (iv) in respect of
             which Holdings, the Top Borrower or any Restricted Subsidiary owes confidentiality obligations to any third
             party (provided that such confidentiality obligations were not entered into in contemplation of the requirements
             of this Section 5.06).

                      Section 5.07.     Maintenance of Book and Records. The Top Borrower will, and will cause its
             Restricted Subsidiaries to, maintain proper books of record and account containing entries of all material
             financial transactions and matters involving the assets and business of the Top Borrower and its Restricted
             Subsidiaries that are full, true and correct in all material respects and pennit the preparation of consolidated
             financial statements in accordance with GAAP.

                      Section 5.08.     Compliance with Laws. The Top Borrower will comply, and will cause each of its
             Restricted Subsidiaries to comply, with the requirements of all applicable Requirements of Law (including
             applicable ERISA and all Environmental Laws, OFAC, the USA PATRIOT Act and the FCPA), except to the
             extent the failure of the Top Borrower or the relevant Restricted Subsidiary to comply could not reasonably be
             expected to have a Material Adverse Effect; provided that the requirements set forth in this Section 5.08, as



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             they pertain to compliance by any Foreign Subsidiary with OFAC, the USA PATRIOT ACT and the FCPA are
             subject to and limited by any Requireme nt of Law applicable to such Foreign Subsidiary in its re levant local
             jurisdiction.

                       Section 5.09.          Environmental.

                      (a)      Environmental Disclosure. The Top Borrower will deliver to the Administrative Agent as
             soon as practicable fo llowing the sending or receipt thereof by the Top Borrower or any of its RestTicted
             Subsidiaries, a copy of any and all written communications with respect to (A) any Environmental Claim that,
             individually or in the aggregate, has a reasonable possibility of giving rise to a Material Adverse Effect, (B)
             any Release required to be reported by the Top Borrower or any of its Restricted Subsidiaries to any federal,
             state or local governmental or regulatory agency or other Governmental Authority that reasonably could be
             expected to have a Material Adverse Effect, (C) any request made to the Top Borrower or any of its Restricted
             Subsidiaries for information from any governmental agency that suggests such agency is investigating whether
             the Top Borrower or any of its Restricted S ubsidiaries may be potentially responsible for any Hazardous
             Materials Activity which is reasonably expected to have a Material Adverse Effect and (D) subject to the
             limitations set forth in the proviso to Section 5.01(1), such other documents and information as from time to
             time may be reasonably requested by the Administrative Agent in relation to any matters disclosed pursuant to
             this Section 5.09(a):

                     (b)       Hazardous Materials Activities, Etc. The Top Borrower shall promptly take, and shall cause
             each of its Restricted Subsidiaries promptly to take, any and a ll actions necessary to (i) cure any violation of
             applicable Environmental Laws by the Top Borrowe r o r its Restricte d Subsidiaries, and address w ith
             appropriate corrective or remedial action any Release or threatened Release of Hazardous Materials at or from
             any Facility, in each case, that could reasonably be expected to have a Material Adverse Effect and (ii) make
             an appropriate response to any Environmental Claim against the Top Borrower or any of its Restricted
             Subsidiaries and discharge any obligations it may have to any Person thereunder, in each case, where failure to
             do so could reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect.

                      Section 5 .10.     Designation of Subsidiaries. The Top Borrower may at any time after the Closing
             Date designate (or redesignate) any subsidiary as an Unrestricted Subsidiary or any Unrestricted Subsidiary as
             a Restricted Subsidiary; provided that (a) after giving effect to such designation, no Event of Default exists
             (including after giving effect to the reclassification of Investments in, Inde btedness of and Liens on the assets
             of, the applicable Restricted Subsidiary or Unrestricted Subsidiary) and (b) no subsidiary may be designated as
             an Unrestricted Subsidiary if it is a "Restricted Subsidiary" for purposes of the ABL Credit Agreement ( or any
             other ABL Facility) or the First Lien Credit Agreement (or any other First Lien Facility). The designation of
             any subsidiary as an Unrestricted Subsidiary shall constitute an investment by the Top Borrower (or its
             applicable Restricted Subsidiary) therein at the date of designation in an amount equal to the portion of the fair
             marke t value of the ne t assets of such subsidiary attributable to the Top Borrowe r' s (or its applicable Restricted
             Subsidiary' s) equity interest therein as reasonably estimated by the Top Borrower (and such designation shall
             only be permitted to the extent such Investment is permitted under Section 6.06). The designation of any
             Unrestricted Subsidiary as a Restricted Subsidiary s ha ll constitute the making, incurre nce or granting, as
             applicable, at the time of designation of any then-existing Investment, indebtedness or Lien of such subsidiary,
             as applicable: provided that upon any re-designation of any Unrestricted Subsidiary as a Restricted Subsidiary,
             the Top Bon-ower shall be deemed to continue to have an Investment in the resulting Restricted Subsidiary in
             an amount (if positive) equal to (a) the Top Borrower's "Investment" in such Restricted Subsidiary at the time
             of such re-designation, less (b) the portion of the fair market value of the net assets of such Restricted
             Subsidiary attributable to the Top Borrower' s equity therein at the time of such re-designation. For the
             avoidance of doubt, no Borrower may be designated as (or become) an Unrestricted Subsidiary.

                      Section 5.11.   Use of Proceeds. The Borrowe rs shall use the proceeds of the Initial Term Loans
             solely to finance a portion of the Transactions (including working capital and the payment of Transaction
             Costs).




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                       Section 5.12.          Covenant to Guarantee Obligations and Provide Security.

                      (a)      Upon (i) the formation or acquisition after the Closing Date of any Restricted Subsidiary that
             is a Domestic Subsidiary, (ii) the designation of any Unrestricted Subsidiary that is a Domestic Subsidiary as a
             Restricted Subsidiary, (iii) any Restricted Subsidiary that is a Domestic Subsidiary ceasing to be an Immaterial
             Subsidiary or (iv) any Restricted Subsidiary that was an Excluded Subsidiary ceasing to be an Excluded
             Subsidiary, (x) if the event giving rise to the obligation under this Section 5.12(a) occurs during the first three
             Fiscal Quarters of any Fiscal Year, on or before the date on which financial statements are required to be
             delivered pursuant to Section 5.0l(a) for the Fiscal Quarter in w hich the relevant formation, acquisition,
             designation or cessation occurred or (y) if the event giving rise to the obligation under this Section 5.12(a)
             occurs during the fourth Fiscal Quarter of any Fiscal Year, on or before the date that is 60 days after the end of
             such Fiscal Quarter (or, in the cases of clauses (x) and (y}, such longer period as the Administrative Agent may
             reasonably agree), the Top Borrower shall (A) cause such Restricted Subsidiary (other than any Excluded
             Subsidiary) to comply with the requirements set forth in clause (a) of the definition of "Collateral and
             Guarantee Requirement" and (B) upon the reasonable request of the Administrative Agent, cause the relevant
             Restricted Subsidiary (other than any Excluded Subsidiary) to deliver to the Administrative Agent a signed
             copy of a customary opinion of counsel for such Restricted Subsidiary, addressed to the Administrative Agent
             and the other relevant Secured Parties.

                      (b)      Within 90 days after the acquisition by any Loan Party of any Material Real Estate Asset
             other than any Excluded Asset (or such longer period as the Administrative Agent may reasonably agree), the
             Top Borrower shall cause such Loan Party to comply with the requirements set forth in clause (b) of the
             definition of " Collateral and Guarantee Requirement"; it being understood and agreed that, with respect to any
             Material Real Estate Asset owned by any Restricted Subsidiary at the time such Restricted Subsidiary is
             required to become a Loan Party under Section 5. l2(a) above, such Material Real Estate Asset shall be deemed
             to have been acquired by such Restricted Subsidiary on the first day of the time period within which such
             Restricted Subsidiary is required to become a Loan Party under Section 5.12(a).

                     (c)     Notwithstanding anything to the contrary herein or in any other Loan Document, it ts
             understood and agreed that:

                                 (i)      the Administrative Agent may grant extensions of time (including after the expiration
                       of any relevant period, which may apply retroactively) for the creation and perfection of security
                       interests in, or obtaining of title insurance, legal opinions, surveys or other deliverables with respect
                       to, particular assets or the provision of any Loan Guaranty by any Restricted Subsidiary (in connection
                       with assets acquired, or Restricted Subsidiaries formed or acquired, after the Closing Date), and each
                       Lender here by consents to any such extension of time,

                                (ii)    any Lien required to be granted from time to time pursuant to the definition of
                       "Collateral and Guarantee Requirement" s hall be subject to the exceptions and limitations set forth in
                       the Collateral Documents,

                               (iii)    perfection by control shall not be required with respect to assets requiring perfection
                       through control agreements or other control arrangements (other than control of pledged Capital Stock
                       and/or Material Debt Instruments, in each case to the extent the same otherwise constitute Collateral),

                                (iv)   no Loan Party shall be required to seek any landlord lien waiver, bailee letter,
                       estoppel, warehouseman waiver or other collateral access or similar letter or agreement;

                                (v)      no Loan Party will be required to (A) take any action outside of the U.S. in order to
                       create or perfect any security interest in any asset located outside of the U.S., (B) execute any fore ign
                       law security agreement, pledge agreement, mortgage, deed or charge or (C) make any foreign
                       intellectual property filing, conduct any foreign intellectual property search or pre pare any foreign




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                       intellectual property schedule, in each case other than with respect to a Foreign Subsidiary designated
                       as a Subsidiary Guarantor pursuant to the last sentence of the definition of "Subsidiary Guarantor";

                               (vi)    in no event will the Collateral include any Excluded Asset and in no event will the
                       Top Borrower or any of its subsidiaries be required to make any Excluded Subsidiary become a
                       Subsidiary Guarantor,

                               (vii)    no action shall be required to perfect any Lien with respect to (1) any vehicle or other
                       asset subject to a certificate of title, (2) Letter-of-Credit Rights, (3) the Capital Stock of any
                       Immaterial Subsidiary and/or (4) the Capital Stock of any Person that is not a subsidiary, which
                       Person, if a subsidiary, would constitute an Immaterial Subsidiary, in each case except to the extent
                       that a security interest therein can be perfected by filing a Form UCC-1 (or similar) financing
                       statement under the UCC,

                                (viii) no action shall be required to perfect a Lien in any asset in respect of which the
                       perfection of a security interest therein would (I) be prohibited by enforceable anti-assignment
                       provisions set forth in any contract relating to such asset that is permitted or other.vise not prohibited
                       by the tenus of this Agreement and is binding on such asset at the time of its acquisition and not
                       incurred in contemplation thereof (other than in the case of capital leases, purchase money and similar
                       financings), (2) violate the terms of any contract relating to such asset that is permitted or othern,ise
                       not prohibited by the terms of this Agreement and is binding on such asset at the time of its acquisition
                       and not incurred in contemplation thereof ( other than in the case of capital leases, purchase money and
                       similar financings), in each case, after giving effect to the applicable anti-assignment provisions of the
                       UCC or other applicable law or (3) trigger tenuination of any contract relating to such asset that is
                       permitted or other.vise not prohibited by the terms of this Agreement and is binding on such asset at
                       the time of its acquisition and not incurred in contemplation thereof (other than in the case of capital
                       leases, purchase money and similar financings) pursuant to any "change of control" or similar
                       provision; it being understood that the Collateral shall include any proceeds and/or receivables arising
                       out of any contract described in this clause to the extent the assignment of such proceeds or
                       receivables is expressly deemed effective under the UCC or other applicable law notwithstanding the
                       relevant prohibition, violation or termination right,

                               (ix)    no Loan Party shall be required to perfect a security interest in any asset to the extent
                       the perfection of a security interest in such asset would be prohibited under any applicable
                       Requirement of Law,

                                (x)     any j oinder or supplement to any Loan Guaranty, any Collateral Document and/or
                       any other Loan Document executed by any Restricted Subsidiary that is required to become (or
                       other.vise becomes) a Loan Party pursuant to Section 5. 12(a) above (including any Joinder
                       Agreement) may, with the consent of the Administrative Agent (not to be unreasonably withheld or
                       delayed), include such schedules (or updates to schedules) as may be necessary to qualify any
                       representation or warranty set forth in any Loan Document to the extent necessary to ensure that such
                       representation or warranty is true and correct to the extent required thereby or by the terms of any
                       other Loan Document, and

                                (xi)    the Administrative Agent shall not require the taking of a Lien on, or require the
                       perfection of any Lien granted in, those assets as to which the cost of obtaining or perfecting such
                       Lien (including any mortgage, stamp, intangibles or other tax or expenses relating to such Lien) is
                       excessive in relation to the benefit to the Lenders of the security afforded thereby as reasonably
                       detenuined in writing by the Top Borrower and the Administrative Agent.

                      Section 5.13.    Maintenance of Ratings. The Top Borrower shall use commercially reasonable
             efforts to maintain public corporate credit facility and public corporate family ratings from each of S&P and



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             Moody' s; provided that in no event shall the Top Borrower be required to maintain any specific rating with
             any such agency .

                       Section 5.14.    Further Assurances. Promptly upon request of the Administrative Agent and subject
             to the limitations described in Section 5.12:

                      (a)      Holdings and the Top Borrower will, and will cause each other Loan Party to, execute and
             deliver any and all further documents, financing statements, agreements, instrnments, certificates, notices and
             acknowledgments and take all such further actions (including the filing and recordation of financing
             statements, fixture filings, Mortgages, Intellectual Property Security Agreements and/or amendments thereto
             and other documents), that may be required under any applicable Requirements of Law and which the
             Administrative Agent may reasonably request to ensure the creation, perfection and priority of the Liens
             created or intended to be created under the Collateral Documents, all at the expense of the relevant Loan
             Parties.

                      (b)      Holdings and the Top Borrower ·will, and will cause each other Loan Party to, (i) correct any
             material defect or error that may be discovered in the execution, acknowledgment, filing or recordation of any
             Collateral Document or other document or instTUment relating to any Collateral and (ii) do, execute,
             acknowledge, deliver, record, re-record, file, re-file, register and re-register any and all such further acts
             (including notices to third parties), deeds, certificates, assurances and other instruments as the Administrative
             Agent may reasonably request from time to time in order to ensure the creation, perfection and priority of the
             Liens created or intended to be created under the Collateral Documents.

                     Section 5.15.     Post-Closing Covenant. The Top Borrower will satisfy its obligations described on
             Schedule 5.15, in each case, within the time periods set forth therein with respect to the relevant obligation (or
             such longer period as the Administrative Agent may reasonably agree).

                                                                ARTICLE 6

                                                         NEGATIVE COVENANTS

                      From the Closing Date and until the Termination Date, Holdings (solely with respect to Section 6.14)
             and the Top Borrower covenant and agree with the Lenders that:

                      Section 6.01.     Indebtedness. The Top Borrower shall not, nor shall it permit any of its Restricted
             Subsidiaries to, directly or indirectly, create, incur, assume or otherwise become or remain liable with respect
             to any Indebtedness, except:

                       (a)        the Secured Obligations (including any Additional Term Loans);

                      (b)     Indebtedness of the Top Borrower to Holdings and/or any Restricted Subsidiary and/or of any
             Restricted Subsidiary to Holdings, the Top Borrower and/or any other Restricted Subsidiary; provided that in
             the case of any Indebtedness of any Restricted Subsidiary that is not a Loan Party owing to any Restricted
             Subsidiary that is a Loan Party, such Indebtedness shall be permitted as an Investment under Section 6.06;
             provided, further, that any Indebtedness of any Loan Party to any Restricted Subsidiary that is not a Loan Party
             must be unsecured and expressly subordinated to the Obligations of such Loan Party on terms that are
             reasonably acceptable to the Administrative Agent (including pursuant to an lntercompany Note);

                       (c)        [Reserved];

                     (d)      Indebtedness ansmg from any agreement providing for indemnification, adjustment of
             purchase price or similar obligations (including contingent earn-out obligations) incurred in connection with
             any Disposition pennitted hereunder, any acquisition pennitted hereunder or consummated prior to the Closing




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             Date or any other purchase of assets or Capital Stock, and Indebtedness arising from guaranties, letters of
             credit, bank guaranties, surety bonds, performance bonds or similar instruments securing the performance of
             the Top Borrower or any such Restricted Subsidiary pursuant to any such agreement;

                      (e)     Indebtedness of the Top Borrower and/or any Restricted Subsidiary (i) pursuant to tenders,
             statutory obligations, bids, leases, governmental contracts, trade contracts, surety, stay, customs, appeal,
             perfomiance and/or return of money bonds or other similar obligations incurred in the ordinary course of
             business and (ii) in respect of letters of credit, bank guaranties, surety bonds, performance bonds or similar
             instruments to support any of the foregoing items;

                     (£)      Indebtedness of the Top Borrower and/or any Restricted Subsidiary in respect of Banking
             Services and/or otherwise in connection with Cash management and Deposit Accounts, including Banking
             Services Obligations and incentive, supplier finance or similar programs;

                      (g)     (i) guaranties by the Top Borrower and/or any Restricted Subsidiary of the obligations of
             suppliers, customers and licensees in the ordinary course of business, (ii) Indebtedness incurred in the ordinary
             course of business in respect of obligations of the Top Borrower and/or any Restricted Subsidiary to pay the
             deferred purchase price of goods or services or progress payments in connection with such goods and services
             and (iii) Indebtedness in respect of letters of credit, bankers' acceptances, bank guaranties or similar
             instruments supporting trade payables, warehouse receipts or similar facilities entered into in the ordinary
             course of business;

                      (h)     Guarantees by the Top Borrower and/or any Restricted Subsidiary of Indebtedness or other
             obligations of the Top Borrower, any Restricted Subsidiary and/or any joint venture with respect to
             Indebtedness otherwise permitted to be incurred pursuant to this Section 6.01 or other obligations not
             prohibited by this Agreement; provided that in the case of any Guarantee by any Loan Party of the obligations
             of any non-Loan Party, the related Investment is permitted under Section 6.06;

                   (i)      Indebtedness of the Top Borrower and/or any Restricted Subsidiary existing, or pursuant to
             commitments existing, on the Closing Date and described on Schedule 6.01 ;

                     (j)      Indebtedness of Restricted Subsidiaries that are not Loan Parties; provided that the aggregate
             outstanding principal amount of such Indebtedness shall not exceed the greater of $156,250,000 and 3. 75% of
             Consolidated Total Assets as of the last day of the most recently ended Test Period;

                     (k)      Indebtedness of the Top Borrower and/or any Restricted Subsidiary consisting of obligations
             owing under incentive (including dealer incentive), supply, license or similar agreements entered into in the
             ordinary course of business;

                      (I)     Indebtedness of the Top Borrower and/or any Restricted Subsidiary consisting of (i) the
             financing of insurance premiums, (ii) take-or-pay obligations contained in supply arrangements, in each case,
             in the ordinary course of business and/or (iii) obligations to reacquire assets or inventory in connection with
             customer financing arrangements in the ordinary course of business;

                      (m)      Indebtedness of the Top Borrower and/or any Restricted Subsidiary with respect to Capital
             Leases and purchase money Indebtedness in an aggregate outstanding principal amount not to exceed the
             greater of $ 156,250,000 and 3.75% of Consolidated Total Assets as of the last day of the most recently ended
             Test Period;

                      (n)     Indebtedness of any Person that becomes a Restricted Subsidiary or Indebtedness assumed in
             connection with an acquisition or similar Investment permitted hereunder after the Closing Date: provided that
             (i) such Indebtedness (A) existed at the lime such Person became a Restricted Subsidiary or the assets subject
             lo such Indebtedness were acquired and (B) was not created or incurred in anticipation thereof and (ii) either




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             (A)(I) no Event of Default under Section 7.0 I(a), ill. or (gl exists and (TT) the Top Borrower is in compliance
             with the leverage or interest coverage, as applicable, test that would have applied to the incurrence of such
             Indebtedness under Section 6.0l(q) if such Indebtedness was incurred to finance the relevant acquisition or
             similar Investment or (B) such Indebtedness is in an aggregate principal amount outstanding not to exceed the
             greater of $62,500,000 and 1.60% of Consolidated Total Assets as of the last day of the most recently ended
             Test Period;

                       (o)     Indebtedness consisting of promissory notes issued by the Top Borrower or any Restricted
             Subsidiary to any stockholder of any Parent Company or any current or fonuer director, officer, employee,
             member of management, manager or consultant of any Parent Company, the Top Borrower or any subsidiary
             (or their respective Immediate Family Members) to finance the purchase or redemption of Capital Stock of any
             Parent Company permitted by Section 6.04(a);

                        (p)         Indebtedness refinancing, refunding or replacing any Indebtedness pem1ilted under clauses
             (fil, (i1 ill, {!ill, fu}, .(g), fr}, {y}, fu'.}, {y)_, and W of this Section 6.01 (in any case, includi11g any refinancing
             Indebtedness incurred in respect thereof, "Refinancing Indebtedness'') and any subsequent Refinancing
             Indebtedness in respect thereof; provided that:

                                (i)      the principal amount of such Indebtedness does not exceed the principal amount of
                       the Indebtedness being refinanced, refunded or replaced, except by (A) an amount equal to unpaid
                       accrued interest, penalties and premiums (including tender premiums) thereon plus unde1w riting
                       discounts, other reasonable and customary fees, commissions and expenses (including upfront fees,
                       original issue discount or initial yield payments) incurred in connection with the re levant refinancing,
                       refunding or replacement and the related refinancing transaction, (B) an amount equal to any existing
                       commitments unutilized thereunder and (C) additional amounts permitted to be incurred pursuant to
                       this Section 6.01 (provided that (l) any additional Indebtedness referenced in this clause (C) satisfies
                       the other applicable requirements of this definition (with additional amounts incurred in reliance on
                       this clause (C) constituting a utilization of the relevant basket or exception pursuant to which such
                       additional amount is permitted) and (2) if such additional Indebtedness is secured, the Lien securing
                       such Indebtedness satisfies the applicable requirements of Section 6.02),

                                  (ii)   other than in the case of Refinancing Indebtedness with respect to clauses (i). ill,
                       {m), fu}, {y} and/or (y)_ (other than Customary Bridge Loans), such Indebtedness has (A) a final
                       maturity equal to or later than (and, in the case of revolving Indebtedness, does not require mandatory
                       commitment reductions, if any, prior to) the earlier of (x) the Latest Maturity Date and (y) the final
                       maturity of the Indebtedness being refinanced, refunded or replaced and (B) other than with respect to
                       revolving Indebtedness, such Indebtedness (x) has a Weighted Average Life to Maturity equal to or
                       greater than the Weighted Average Life to Maturity of the Indebtedness being refinanced, refunded or
                       replaced (without giving effect to any prepayment thereof) or (y) a Weighted Average Life to Maturity
                       equal to or greater than the Weighted Average Life to Maturity of the outstanding Loans at such time,

                                (iii)    the terms of any Refinancing Indebtedness with an original principal amount in
                       excess of the Threshold Amount (excluding, to the extent applicable, pricing, fees, premiums, rate
                       floors, optional prepayment, redemption terms or subordination terms and, with respect to Refinancing
                       Indebtedness incurred in respect of Indebtedness permitted under clause (a) above, security), are not,
                       taken as a whole (as reasonably determined by the Top Borrower), more favorable to the lenders
                       providing such Indebtedness than those applicable to the Indebtedness being refinanced, refunded or
                       replaced (other than (A) any covenants or other provisions applicable only to periods after the
                       applicable maturity date of the debt then-being refinanced as of such date, (B) any covenants or
                       provisions which are then-current market terms for the applicable type of Indebtedness or (C) any
                       covenant or other provision which is conformed (or added) to the Loan Documents for the benefit of
                       the Lenders or, as applicable, the Administrative Agent pursuant to an amendment to this Agreement
                       effectuated in reliance on Section 9 .02(d)(ii)).



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                                (iv)      in the case of Refinancing Indebtedness with respect to Indebtedness permitted under
                       clauses (j), (Qu, fu1 (g)_, (d, U!2, .6tl (solely as it relates to the Non-Loan Party Debt Cap), _(y} and W
                       (solely as it relates to the Shared Incremental Amount) of this Section 6. 0 I, the incurrence thereof
                       shall be without duplication of any amounts outstanding in reliance on the relevant clause such that
                       the amount available under the relevant clause shall be reduced by the amount of the applicable
                       Refinancing Indebtedness,

                                (v)      except in the case of Refinancing Indebtedness incurred in respect of Inde btedness
                       permitted under clause (a) of this Section 6.01 , (A) such Indebtedness, if secured, is secured only by
                       Permitted Liens at the time of such refinancing, refunding or replacement (it being understood that
                       secured Indebtedness may be refmanced with unsecured Indebtedness), and if the Liens securing such
                       Indebtedness were originally contractually subordinated to the Liens on the Collateral securing the
                       Initial Tenn Loans, the Liens securing such Inde btedness are subordinated to the Liens on the
                       Collateral securing the Initial Term Loans on tem1s not materially less favorable (as reasonably
                       detenuined by the Top Borrower), taken as a w hole, to the Lenders than those (1 ) applicable to the
                       Liens securing the Inde btedness being refinanced, refunded or replaced, taken as a whole, or (2) set
                       forth in the Initial Intercreditor Agreements, (B) such Indebtedness is incurred by the obligor or
                       obligors in respect of the Indebtedness being refinanced, refunded or replaced, except to the extent
                       otherwise permitted pursuant to Section 6.01 (it being understood that (I) Holdings may not be the
                       primary obligor in respect of the applicable Refinancing Indebtedness if Holdings was not the primary
                       obligor in respect of the relevant refinanced Indebtedness and (2) any entity that was a guarantor in
                       respect of the relevant refinanced Indebtedness may be the primary obligor in respect of the
                       refinancing Indebtedness, and any entity that was the primary obligor in respect of the relevant
                       refinanced Indebtedness may be a guarantor in respect of the refinancing Indebtedness), (C) if the
                       Indebtedness being refinanced, refunded or replaced was expressly contractually subordinated to the
                       Obligations in right of payment, (1) such Indebtedness is contractually subordinated to the Obligations
                       in right of payment, or (2) if not contractually subordinated to the Obligations in right of payment, the
                       purchase, defeasance, redemption, repurchase, repayment, refinancing or other acquisition or
                       retirement of such Indebtedness is permitted under Section 6.04(b) (other than Section 6.04(b)(i)), and
                       (D) as of the date of the incurrence of such Indebtedness and after giving effect thereto, no Event of
                       Default exists, and

                                 (vi)    in the case of Replacement Debt, (A) such Inde btedness is pari passu or junior in
                       right of payment and secured by the Collateral on a pari passu or junior basis with respect to the
                       remaining Obligations hereunder, or is unsecured; provided that any such Refmancing Inde btedness
                       that is pari passu or junior with respect to the Collateral shall be subject to an Acceptable lntercreditor
                       Agreement, (B) if the Indebtedness beiJ1g refinanced, refunded or replaced is secured, it is not secured
                       by any assets other than the Collateral, (C) if the Indebtedness being refinanced, refunded or replaced
                       is Guaranteed, it shall not be Guaranteed by any subsidiary of the Top Borrower other than one or
                       more Loan Parties and (D) such Refinancing Indebtedness is incurred under (and pursuant to)
                       documentation other than this Agreement; it being understood and agreed that any such Refmancing
                       Indebtedness that is pari passu with the Initial Term Loans hereunder in right of payment and secured
                       by the Term Loan Priority Collateral on a pari passu basis with respect to the Secured Obligations
                       hereunder that are secured on a pari passu basis with respect to the Liens on the Tem1 Loan Priority
                       Collateral securing the Secured Obligations may participate (x) in any voluntary prepayment of Loans
                       as set forth in Section 2.11 (a)(i) and (y) in any mandatory prepayment of Loans as set forth in
                       Section 2.ll(b)(vi);

                     (q)       Indebtedness incurred to finance any acquisition permitted hereunder after the Closing Date;
             provided that (i) before and after giving effect to such acquisition on a Pro Forma Basis, no Event of Default
             under Section 7.0l(a). ill. or (g} exists and (ii) after giving effect to such acquisition on a Pro Fom1a Basis (in
             each case, without "netting" the cash proceeds of the applicable Indebtedness being iJ1curred) (1) if such
             Indebtedness is secured by a Lien on the Tenn Loan Priority Collateral that is pari passu with the First Priority




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             (or equivalent term under any First Lien Facility) Lien on the Term Loan Priority Collateral securing the
             Secured Obligations (as defined in the First Lien Credit Agreement (or equivalent term under any First Lien
             Facility)), the First Lien Leverage Ratio does not exceed the greater of (x) 4.90:1.00 and (y) the First Lien
             Leverage Ratio as of the last day of the most recently ended Test Period, (2) if such Indebtedness is secured by
             a Lien on the Term Loan Priority Collateral that is junior to the First Priority (or equivalent term under any
             First Lien Facility) Lien on the Term Loan Priority Collateral securing the Secured Obligations (as defined in
             the First Lien Credit Agreement (or equivalent term under any First Lien Facility)) that are secured on a pari
             passu basis with respect to the Liens on the Term Loan Priority Collateral securing the Secured Obligations,
             the Secured Leverage Ratio does not exceed the greater of (x) 6.05: 1.00 and (y) the Secured Leverage Ratio as
             of the last day of the most recently ended Test Period or (3) if such Indebtedness is secured by a Lien on any
             asset that does not constitute Collateral or is unsecured, at the election of the Top Borrower, either (x) the Total
             Leverage Ratio does not exceed the greater of (I) 6.30: 1.00 and (II) the Total Leverage Ratio as of the last day
             of the most recently ended Test Period or (y) the Interest Coverage Ratio is not less than the lesser of (I)
             1.50: 1.00 and (II) the Interest Coverage Ratio as of the last day of the most recently ended Test Period;

                      (r)      Indebtedness of the Top Borrower and/or any Restricted Subsidiary in an aggregate
             outstanding principal amount not to exceed 100% of the amount of Net Proceeds received by the Top
             Borrower from (i) the issuance or sale of Qualified Capital Stock or (ii) any cash contribution to its common
             equity with the Net Proceeds from the issuance and sale by any Parent Company of its Qualified Capital Stock
             or a contribution to the common equity of any Parent Company, in each case, (A) other than any Net Proceeds
             received from the sale of Capital Stock to, or contributions from , the Top Borrower or any of its Restricted
             Subsidiaries, (B) to the extent the relevant Net Proceeds have not otherwise been applied to make Investments,
             Restricted Payments or Restricted Debt Payments hereunder and (C) other than Cure Amounts;

                     (s)      Indebtedness of the Top Borrower and/or any Restricted Subsidiary under any Derivative
             Transaction not entered into for speculative purposes;

                     (t)      Indebtedness of the Top Borrower and/or any Restricted Subsidiary representing (i) deferred
             compensation to current or fom1er directors, officers, employees, members of management, managers, and
             consultants of any Parent Company, the Top Borrower and/or any Restricted Subsidiary in the ordinary course
             of business and (ii) deferred compensation or other similar arrangements in connection with the Transactions,
             any Pem1itted Acquisition or any other Investment permitted hereby;

                      (u)       Indebtedness of the Top Borrower and/or any Restricted Subsidiary in an aggregate
             outstanding principal amount not to exceed the greater of $200,000,000 and 5.0% of Consolidated Total Assets
             as of the last day of the most recently ended Test Period;

                       (v)        Reserved;

                      (w)      Indebtedness of the Top Borrower and/or any Restricted Subsidiary so long as, after giving
             effect thereto, including the application of the proceeds thereof (in each case, without "netting" the cash
             proceeds of the applicable Indebtedness being incurred), (i) if such Indebtedness is secured by a Lien on the
             Term Loan Priority Collateral that is pari passu with the First Priority (or equivalent term under any First Lien
             Facility) Lien on the Term Loan Priority Collateral securing the Secured Obligations (as defined in the First
             Lien Credit Agreement (or equivalent term under any First Lien Facility)) that are secured on a first lien basis,
             the First Lien Leverage Ratio does not exceed 4.90: 1.00, (ii) if such Indebtedness is secured by a Lien on the
             Term Loan Priority Collateral that is junior to the First Priority (or equivalent term under any First Lien
             Facility) Lien on the Tenn Loan Priority Collateral securing the Secured Obligations (as defined in the First
             Lien Credit Agreement (or equivalent tenn under any First Lien Facility)) that are secured on a first lien basis,
             the Secured Leverage Ratio does not exceed 6.05:1.00 and (iii) if such Indebtedness is secured by a Lien on
             any asset that does not constitute Collateral or is unsecured, at the election of the Top Borrower, either (A) the
             Total Leverage Ratio does not exceed 6.30: 1.00 or (B) the Interest Coverage Ratio is not less than 1. 75: 1.00;
             provided, however, that the aggregate outstanding principal amount of Indebtedness incurred in reliance on




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             this Section 6.0l(w) by Restricted Subsidiaries that are not Loan Parties shall not, at any time, exceed the
             greater of $ 175,000,000 and 4.16% of Consolidated Total Assets as of the last day of the most recently ended
             Test Period (the " Non-Loan Partv Debt Cap");

                       (x)        indebtedness of the Top Borrower and/or any Restricted Subsidiary incurred in respect of:

                                (i)      any First Lien Facility and any First Lien incremental Debt in an aggregate
                       outstanding principal amount that does not exceed (A) $2,437,500,000 plus (B)(l) the aggregate
                       principal amount of such First Lien Incremental Debt so long as the sum of the aggregate outstanding
                       principal amount of any such First Lien Incremental Debt does not exceed the Incremental Cap (as
                       defined in the First Lien Credit Agreement as in effect on the Closing Date) multiplied bv (2) 125%,

                                (ii)      any refinancing of any First Lien Facility or any First Lien incremental Debt after the
                       Closing Date so long as (A) the aggregate principal amount of such Indebtedness does not exceed,
                       without duplication, the amount permitted to be incurred under preceding clause (i), plus (1) an
                       amount equal to unpaid accrued interest and premiums (including tender premiums) thereon, (2) the
                       amount of any undenvriting discounts, other reasonable and customary fees, commissions and
                       expenses (including upfront fees, original issue discount or initial yield payments) incurred in
                       connection with the relevant refinancing, (3) an amount equal to any existing commitments unutilized
                       thereunder and (4) any additional amounts permitted to be incurred pursuant to this Section 6.01 (with
                       additional amounts incurred in reliance on this clause (4) constituting a utilization of the relevant
                       basket or exception pursuant to which such additional amount is permitted) and (B) such
                       Inde btedness, if secured, is secured by Liens penuitted under Section 6.02,

                                (iii)    any ABL Facility and any ABL Incremental Debt in an aggregate outstanding
                       principal amount that does not exceed the greater of (A) (1) $281,250,000 plus (2)(1) the aggregate
                       principal amount of such ABL Incremental Debt so long as the sum of the aggregate outstanding
                       principal amount of any such ABL Incremental Debt does not exceed the incremental Cap (as defined
                       in the ABL Credit Agreement as in effect on the Closing Date) multiplied by (II) 125% and (B)(l) the
                       sum of (1) 90% of the aggregate amount of gross trade receivables, (II) 90% of gross credit card
                       receivables, (Ill) 85% of the aggregate amount of gross inventory and (IV) 100% of "qualified cash",
                       in each case, of the Loan Parties multiplied bv (2) 125%,

                                (iv)    any refinancing of any ABL Facility or any ABL Incremental Debt after the Closing
                       Date so long as (A) the aggregate commitments do not exceed, without duplication, the amount
                       permitted to be incurred under preceding clause (iii). plus (1) the amount of any undenvriting
                       discounts, other reasonable and customary fees, commissions and expenses (including upfront fees)
                       incurred in connection with the relevant refinancing, (2) an amount equal to any existing commitments
                       unutilized thereunder and (3) any additional amounts permitted to be incurred pursuant to this
                       Section 6.01 (with additional amounts incurred in reliance on this clause (3) constituting a utilization
                       of the relevant basket or exception pursuant to which such additional amount is penuitted) and
                       (B) such Indebtedness, if secured, is secured by Liens pem1itted under Section 6.02, and

                                (v)       "Banking Services Obligations" and "Secured Hedging Obligations" (each as defined
                       in the ABL Credit Agreement (or any equivalent term in any document governing any ABL Facility)
                       and/or First Lien Credit Agreement (or any equivalent term in any document governing any First Lien
                       Facility), as applicable);

                     (y)     Inde btedness of the Top Borrower and/or any Restricted Subsidiary incurred in connection
             with Sale and Lease-Back Transactions penuitted pursuant to Section 6.08;

                       (z)        Incremental Equivalent Debt;




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                      (aa)      Indebtedness (including obligations in respect of lellers of credit, bank guaranties, surety
             bonds, performance bonds or similar instruments with respect to such Indebtedness) incurred by the Top
             Borrower and/or any Restricted Subsidiary in respect of workers compensation claims, unemployment
             insurance (including premiums related thereto), other types of social security, pension obligations, vacation
             pay , health, disability or other employee benefits;

                       (bb)       [reserved];

                       (cc)     Indebtedness of the Top Borrower and/or any Restricted Subsidiary in respect of any letter of
             credit or bank guarantee issued in favor of any issuing bank or the swingline lender to support any defaulling
             lender' s participation in letters of credit issued, or swingline loans made under any ABL Facility;

                       (dd)   Indebtedness of the Top Borrower or any Restricted Subsidiary supported by any letter of
             credit issued under any First Lien Facility or any ABL Facility;

                     (ee)   unfunded pension fund and other employee benefit plan obligations and liabilities incurred by
             the Top Borrower and/or any Restricted Subsidiary in the ordinary course of business to the extent that the
             unfunded amounts would not other.vise cause an Event of Defau lt under Section 7.0l{i):

                    (fl:)    customer deposits and advance payments received in the ordinary course of business from
             customers for goods and services purchased in the ordinary course of business; and

                      (gg)     without duplication of any other Indebtedness, all premiums (if any), interest (including post-
             petition interest and payment in kind interest), accretion or amortization of original issue discount, fees,
             expenses and charges with respect to Indebtedness of the Top Borrower and/or any Restricted Subsidiary
             hereunder.

                     Section 6.02.      Liens. The Top Borrower shall not, nor shall it permit any of its Restricted
             Subsidiaries to, create, incur, assume or permit or suffer to exist any Lien on or with respect to any property of
             any kind owned by it, whether now owned or hereafter acquired, or any income or profits therefrom, except:

                       (a)        Liens securing the Secured Obligations created pursuant to the Loan Documents ;

                     (b)      Liens for Taxes which (i) are not then due, (ii) if due, are not at such time required to be paid
             pursuant to Section 5.03 or (iii) are being contested in accordance with Section 5.03;

                     (c)      statutory Liens (and rights of set-ofl:) of landlords, banks, carriers, warehousemen, mechanics,
             repairmen, workmen and materialmen, and other Liens imposed by applicable Requirements of Law, in each
             case incurred in the ordinary course of business (i) for amounts not yet overdue by more than 30 days, (ii) for
             amounts that are overdue by more than 30 days and that are being contested in good faith by appropriate
             proceedings, so long as any reserves or other appropriate provisions required by GAAP have been made for
             any such contested amounts or (iii) with respect to which the failure to make payment could not reasonably be
             expected to have a Material Adverse Effect;

                      (d)     Liens incurred (i) in the ordinary course of business in connection with workers'
             compensation, unemployment insurance and other types of social security laws and regulations, (ii) in the
             ordinary course of business to secure the perfom1ance of tenders, statutory obligations, surety, stay , customs
             and appeal bonds, bids, leases, government contracts, trade contracts, performance and return-of-money bonds
             and other similar obligations (exclusive of obligations for the payment of borrowed money), (iii) pursuant to
             pledges and deposits of Cash or Cash Equivalents in the ordinary course of business securing (x) any liability
             for reimbursement or indemnification obligations of insurance carriers providing property, casualty, liability or
             other insurance to Holdings, the Top Borrower and its subsidiaries or (y) leases or licenses of property
             other.vise penuitted by this Agreement and (iv) to secure obligations in respect of letters of credit, bank




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             guaranties, surety bonds, perfom1ance bonds or similar instrnments posted with respect to the items described
             in clauses (i) through (ill} above;

                      (e)      Liens consisting of easements, rights-of-way, restrictions, encroachments, and other minor
             defects or irregularities in title, in each case which do not, in the aggregate, materially interfere with the
             ordinary conduct of the business of the Top Borrower and/or its Restricted Subsidiaries, taken as a whole, or
             the use of the affected property for its intended purpose;

                      (f)      Liens consisting of any (i) interest or title of a lessor or sub-lessor under any lease of real
             estate penuitted hereunder, (ii) landlord lien permitted by the terms of any lease, (iii) restriction or
             encumbrance to which the interest or title of such lessor or sub-lessor may be subject or (iv) subordination of
             the interest of the lessee or sub-lessee under such lease to any restriction or encumbrance referred to in the
             preceding clause (iii):

                      (g)     Liens (i) solely on any Cash earnest money deposits (including as part of any escrow
             arrangement) made by the Top Borrower and/or any of its Restricted Subsidiaries in connection with any letter
             of intent or purchase agreement with respect to any Investment permitted hereunder and ( ii) consisting of (A)
             an agreement to Dispose of any property in a Disposition permitted under Section 6.07 (other than Section
             6.07(g)(x)) and/or (fil. the pledge of Cash as part of an escrow arrangement required in any Disposition
             permitted under Section 6.07 (other than Section 6.07(g)(x));

                      (h)     (i) purported Liens evidenced by the filing of UCC financing statements relating solely to
             operating leases or consignment or bailee arrangements entered into in the ordinary course of business, and (ii)
             Liens arising from precautionary UCC financing statements or similar filings;

                     (i)      Liens in favor of customs and revenue authorities arising as a matter of law to secure payment
             of customs duties in connection with the importation of goods;

                     G)       Liens in connection with any zoning, building or similar Requirement of Law or right
             reserved to or vested in any Governmental Authority to control or regulate the use of any or dimensions of real
             property or the structure thereon, including Liens in connection with any condemnation or eminent domain
             proceeding or compulsory purchase order;

                       (k)     Liens securing Indebtedness permitted pursuant to Section 6.0 l(p) (solely with respect to the
             permitted refinancing of (x) Indebtedness permitted pursuant to Sections 6.0l(a), ill, ill, lli!}, fu1 (g), (!!}, fu'.},
             (y} and Wand (y) Indebtedness that is secured in reliance on Section 6.02(u) (provided that the granting of the
             re levant Lien shall be without duplication of any Lien outstanding under Section 6.02(u) such that the amount
             available under Section 6.02(u) shall be reduced by the amount of the applicable Lien granted in reliance on
             this clause (v))); provided that (i) no such Lien extends to any asset not covered by the Lien securing the
             Indebtedness that is being refinanced (it being understood iliat individual financings of the type permitted
             under Section 6.0l(m) provided by any lender may be cross-collateralized to oilier financings of such type
             provided by such lender or its affiliates) and (ii) if the Lien securing the Indebtedness being refinanced was
             subject to intercreditor arrangements, then (A) the Lien securing any refinancing Indebtedness in respect
             thereof shall be subject to intercreditor arrangements that are not materially less favorable to the Secured
             Parties, taken as a whole, than the intercreditor arrangements governing the Lien securing ilie Indebtedness that
             is refinanced or (B) the intercreditor arrangements governing the Lien securing the relevant refinancing
             Indebtedness shall be set forth in an Acceptable lntercreditor Agreement;

                     (l)      Liens described on Schedule 6.02 and any modification, replacement, refinancing, renewal or
             extension thereof; provided that (i) no such Lien extends to any additional property other than (A) after-
             acquired property that is affixed or incorporated into the property covered by such Lien or financed by
             Indebtedness permitted under Section 6.01 and (B) proceeds and products thereof, replacements, accessions or
             additions thereto and improvements iliereon (it being understood that individual financings of ilie type




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             permitted under Section 6.0l(m) provided by any lender may be cross-collateralized to other financings of
             such type provided by such lender or its affiliates) and (ii) any such modification, replacement, refinancing,
             renewal or extension of the obligations secured or benefited by such Liens, if constituting Indebtedness, is
             permitted by Section 6.01;

                       (m)        Liens arising out of Sale and Lease-Back Transactions permitted under Section 6.08;

                      (n)      Liens securing Indebtedness pennitted pursuant to Section 6.01 (m); provided that any such
             Lien shall encumber only the asset acquired with the proceeds of such Indebtedness and proceeds and products
             thereof, replacements, accessions or additions thereto and improvements thereon (it being understood that
             individual financings of the type permitted under Section 6.0l(m) provided by any lender may be cross-
             collateralized to other financings of such type provided by such lender or its affiliates);

                      (o)      (i) Liens securing Indebtedness permitted pursuant to Section 6.0l(n) on the relevant acquired
             assets or on the Capital Stock and assets of the relevant newly acquired Restricted Subsidiary; provided that no
             such Lien (x) extends to or covers any other assets (other than the proceeds or products thereof, replacements,
             accessions or additions thereto and improvements thereon (it being understood that individual financings of the
             type permitted under Section 6.0l(m) provided by any lender may be cross collateralized to other financings of
             such type provided by such lender or its affiliates) or (y) was created in contemplation of the applicable
             acquisition of assets or Capital Stock, and (ii) Liens securing Indebtedness incurred pursuant to, and subject to
             the provisions set forth in, Section 6.0I(q): provided, that any Lien on the Collateral that is granted in reliance
             on this clause (o)(ii) and is senior to (with respect to ABL Priority Collateral only), pari passu with or junior to
             the Lien securing the Secured Obligations shall be subject to an Acceptable lntercreditor Agreement;

                      (p)      (i) Liens that are contractual rights of setoff or netting relating to (A) the establishment of
             depositary relations with banks not granted in connection with the issuance oflndebtedness, (B) pooled deposit
             or sweep accounts of the Top Borrower or any Restricted Subsidiary to permit satisfaction of overdraft or
             similar obligations incurred in the ordinary course of business of the Top Borrower or any Restricted
             Subsidiary, (C) purchase orders and other agreements entered into with customers of the Top Borrower or any
             Restricted Subsidiary in the ordinary course of business and (D) commodity trading or other brokerage
             accounts incurred in the ordinary course of business, (ii) Liens encumbering reasonable customary initial
             deposits and margin deposits, (iii) bankers Liens and rights and remedies as to Deposit Accounts, (iv) Liens of
             a collection bank arising under Section 4-208 of the UCC on items in the ordinary course of business, (v) Liens
             in favor of banking or other financial institutions arising as a matter of law or under customary general terms
             and conditions encumbering deposits or other funds maintained with a financial institution and that are within
             the general parameters customary in the banking industry or arising pursuant to such banking institution's
             general terms and conditions and (vi) Liens on the proceeds of any Indebtedness incurred in connection with
             any transaction permitted hereunder, which proceeds have been deposited into an escrow account on
             customary terms to secure such Indebtedness pending the application of such proceeds to finance such
             transaction;

                      (q)     Liens on assets and Capital Stock of Restricted Subsidiaries that are not Loan Parties
             (including Capital Stock owned by such Persons) securing Indebtedness of Restricted Subsidiaries that are not
             Loan Parties permitted pursuant to Section 6.01 ;

                     (r)      Liens securing obligations (other than obligations representing Indebtedness for borrowed
             money) under operating, reciprocal easement or similar agreements entered into in the ordinary course of
             business of the Top Borrower and/or its Restricted Subsidiaries;

                      (s)      Liens securing Indebtedness incurred in reliance on, and subject to the provisions set forth in,
             Section 6.0l(w) or W: provided, that any Lien that is granted in reliance on this clause (s) on the Collateral
             shall be subject to an Acceptable Intercreditor Agreement;




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                       (t)      Liens securing Indebtedness incurred pursuant to Sections 6.01 (x), subject to the applicable
             Initial lntercreditor Agreement;

                      (u)      Liens on assets securing Indebtedness or other obligations in an aggregate principal amount at
             any time outstanding not to exceed the greater of $200,000,000 and 5.0% of Consolidated Total Assets as of
             the last day of the most recently ended Test Period; provided, that any Lien that is granted in reliance on this
             clause (u) on the Collateral shall be subject to an Acceptable Intercreditor Agreement;

                     (v)     (i) Liens on assets securing judgments, awards, attachments and/or decrees and notices of !is
             pendens and associated rights relating to litigation being contested in good faith not constituting an Event of
             Default under Section 7.0l(h) and (ii) any pledge and/or deposit securing any settlement of litigation;

                     (w)     leases, licenses, subleases or sublicenses granted to others in the ordinary course of business
             which do not secure any Indebtedness;

                     (x)     Liens on Securities that are the subject of repurchase agreements constituting Investments
             permitted under Section 6.06 arising out of such repurchase transaction;

                    (y)     Liens securing obligations in respect letters of credit, bank guaranties, surety bonds,
             perfomrnnce bonds or similar instruments pem1itted under Sections 6.0l(d), @1 (g). (aa) and (cc);

                      (z)      Liens arising (i) out of conditional sale, title retention, consignment or similar arrangements
             for the sale of any asset in the ordinary course of business and permitted by this Agreement or (ii) by operation
             of law under Article 2 of the UCC (or similar Requirement of Law under any jurisdiction);

                      (aa)   Liens (i) in favor of any Loan Party and/or (ii) granted by any non-Loan Party in favor of any
             Restricted Subsidiary that is not a Loan Party, in the case of clauses (i) and fu1 securing intercompany
             Indebtedness penuitted (or not restricted) under Section 6.01 or Section 6.09;

                     (bb)     Liens on insurance policies and the proceeds thereof securing the financing of the premiums
             with respect thereto;

                      (cc)     Liens on specific items of inventory or other goods and the proceeds thereof securing the
             relevant Person' s obligations in respect of documentary letters of credit or banker' s acceptances issued or
             created for the account of such Person to facilitate the purchase, shipment or storage of such inventory or
             goods;

                      (dd)    Liens securing (i) obligations of the type described in Section 6.0l(f) and/or (ii) obligations of
             the type described in Section 6.0l(s);

                      (ee)      (i) Liens on Capital Stock of joint ventures or Unrestricted Subsidiaries securing capital
             contTibutions to, or obligations of, such Persons and (ii) customary rights of first refusal and tag, drag and
             similar rights in joint venture agreements and agreements with respect to non-Wholly-Owned Subsidiaries;

                    (ff)     Liens on cash or Cash Equivalents arising in connection with the defeasance, discharge or
             redemption of Indebtedness;

                     (gg)    Liens consisting of the prior rights of consignees and their lenders under consignment
             arrangements entered into in the ordinary course of business; and

                     (hh)     Liens with respect to Material Real Estate Assets disclosed in any Mortgage Policy delivered
             pursuant to Section 5.12 with respect to any Material Real Estate Asset and any replacement, extension or
             renewal thereof; provided that no such replacement, extension or renewal shall cover any property other than




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             the property that was subject to such Lien prior to such replacement, extension or renewal (and additions
             thereto, improvements thereon and the proceeds thereof).

                       Section 6.03.          [Reserved).

                       Section 6.04.          Restricted Pavments: Restricted Debt Pavments.

                      (a)         The Top Borrower shall not pay or make, directly or indirectly, any Restricted Payment,
             except that:

                               (i)    the Top Borrower may make Restricted Payments to the extent necessary to permit
                       any Parent Company:

                                           (A)      to pay general administrative costs and expenses (including corporate
                                  overhead, legal or similar expenses and customary salary, bonus and other benefits payable to
                                  directors, officers, employees, members of management, managers and/or consultants of any
                                  Parent Company) and franchise Taxes, and similar fees and expenses, required to maintain
                                  the organizational existence of such Parent Company, in each case, which are reasonable and
                                  customary and incurred in the ordinary course of business, plus any reasonable and customary
                                  indemnification claims made by directors, officers, members of management, managers,
                                  employees or consultants of any Parent Company, in each case, to the e"-1:ent attributable to
                                  the ownership or operations of any Parent Company (but excluding, for the avoidance of
                                  doubt, the portion of any such amount, if any, that is attributable to the ownership or
                                  operations of any subsidiary of any Parent Company other than the Top Borrowe r and/or its
                                  subsidiaries), and/or its subsidiaries;

                                           (B)      (x) for any taxable period for which the Top Borrower is a member of a
                                  consolidated, combined, unitary or similar tax group for U.S. federal and/or applicable state
                                  or local tax purposes of which such Parent Company is the common parent, to discharge the
                                  consolidated, combined, unitary or similar Tax liabilities of such Parent Company and its
                                  subsidiaries when and as due, to the extent such liabilities are attributable to the income of the
                                  Top Borrower and/or any subsidiary; provided that the amount of such payments in respect of
                                  any taxable year do not exceed the amount of such Tax liabilities that the Top Borrower
                                  and/or its applicable subsidiaries would have paid had such Tax liabilities been paid as
                                  standalone companies or as a standalone group and (y) for any taxable period for which the
                                  Top Borrower is a partnership or disregarded entity for U.S. federal income tax purposes that
                                  is wholly-owned (directly or indirectly) by a C corporation for U.S. federal and/or applicable
                                  state or local tax purposes, distributions to any direct or indirect parent of the Top Borrower
                                  in an amount not to exceed the amount of any Tax that the Top Borrower and/or its applicable
                                  subsidiaries would have paid had such Ta.x been paid as standalone companies or as a
                                  standalone group (and assuming for purposes of such calculation that the Top Borrower is
                                  classified as a domestic corporation for U.S. federal income tax purposes);

                                          (C)     to pay audit and other accounting and reporting expenses of any Parent
                                  Company to the extent such expenses are attributable to such Parent Company (but excluding,
                                  for the avoidance of doubt, the portion of any such expenses, if any, attributable to the
                                  ownership or operations of any subsidiary of any Parent Company other than the Top
                                  Borrower and/or its subsidiaries), the Top Borrower and its subsidiaries;

                                          (D)     for the payment of any insurance premiums that is payable by or attributable
                                  to any Parent Company (but excluding, for the avoidance of doubt, the portion of any such
                                  premiums, if any, attributable to the ownership or operations of any subsidiary of any Parent




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                                  Company other than the Top Borrower and/or its subsidiaries), the Top Borrower and its
                                  subsidiaries;

                                           (E)       to pay (x) any fee and/or expense related to any debt or equity offering,
                                  investment or acquisition (whether or not consummated) and/or any expenses of, or
                                  indemnification obligations in favor of any trustee, agent, arranger, underwriter or similar
                                  role, and (y) after the consummation of an initial public offering or the issuance of public debt
                                  Securities, Public Company Costs;

                                           (F)     to finance any Investment permitted under Section 6.06 (provided that (x)
                                  any Restricted Payme nt under this clause (a)(i)(F) shall be made substantially concurrently
                                  with the closing of such Investment and (y) the relevant Parent Company shall, promptly
                                  following the closing thereof, cause (I) all property acquired to be contributed to the Top
                                  Borrower or one or more of its Restricted Subsidiaries, or (II) the merger, consolidation or
                                  amalgamation of the Person formed or acquired into the Top Borrower or one or more of its
                                  Restricted Subsidiaries, in order to consummate such Investment in compliance with the
                                  applicable requirements of Section 6.06 as if undertaken as a direct Investment by the Top
                                  Borrower or the relevant Restricted Subsidiary); and

                                           (G)      to pay customary salary, bonus, severance and other benefits payable to
                                  current or former directors, officers, members of management, managers, employees or
                                  consultants of any Parent Company (or any Immediate Family Member of any of the
                                  foregoing) to the extent such salary, bonuses and other benefits are attributable and
                                  reasonably allocated to the operations of the Top Borrower and/or its subsidiaries, in each
                                  case, so long as such Parent Company applies the amount of any such Restricted Payment for
                                  such purpose;

                              (ii)     the Top Borrower may pay (or make Restricted Payments to allow any Parent
                       Company) to re purchase, redeem, retire or otherwise acquire or retire for value the Capital Stock of
                       any Parent Company or any subsidiary held by any future, present or former employee, director,
                       member of management, officer, manager or consultant (or any Affiliate or Immediate Family
                       Member thereof) of any Parent Company, the Top Borrower or any subsidiary:

                                           (A)      with Cash and Cash Equivalents (and including, to the extent constituting a
                                  Restricted Payment, amounts paid in respect of promissory notes issued to evidence any
                                  obligation to repurchase, redeem, retire or otherwise acquire or retire for value the Capital
                                  Stock of any Parent Company or any subsidiary held by any future, present or former
                                  employee, director, member of management, officer, manager or consultant (or any Affiliate
                                  or Immediate Family Member thereof) of any Parent Company, the Top Borrower or any
                                  subsidiary) in an amount not to exceed, in any Fiscal Year, the greater of $62,500,000 and
                                  1.60% of Consolidated Total Assets as of the last day of the most recently ended Test Period,
                                  which, if not used in such Fiscal Year, shall be carried forward to succeeding Fiscal Years;

                                           (B)     with the proceeds of any sale or issuance of, or any capital contribution in
                                  respect of, the Capital Stock of the Top Borrower or any Parent Company (to the extent such
                                  proceeds are contributed in respect of Qualified Capital Stock to the Top Borrower or any
                                  Restricted Subsidiary); or

                                              (C)   with the net proceeds of any key-man life insurance policies;

                                (iii)    the Top Borrower may make Restricted Payments in an amount not to exceed (A) the
                       portion, if any, of the Available Amount on such date that the Top Borrower elects to apply to this




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                       clause (iii)(A) and/or (B) the portion, if any, of the Available Excluded Contribution Amount on such
                       date that the Top Borrower elects to apply to this clause {iii)(B):

                                (iv)    the Top Borrower may make Restricted Payments (i) to any Parent Company to
                       enable such Parent Company to make Cash payments in lieu of the issuance of fractional shares in
                       connection with the exercise of warrants, options or other securities convertible into or exchangeable
                       for Capital Stock of such Parent Company and (ii) consisting of (A) payments made or expected to be
                       made in respect of withholding or similar Taxes payable by any future, present or former officers,
                       directors, employees, members of management, managers or consultants of the Top Borrower, any
                       Restricted Subsidiary or any Parent Company or any of their respective Immediate Family Members
                       and/or (B) repurchases of Capital Stock in consideration of the payments described in subclause (A)
                       above, including demand repurchases in connection with the exercise of stock options;

                                (v)     the Top Borrower may repurchase (or make Restricted Payments to any Parent
                       Company to enable it to repurchase) Capital Stock upon the exercise of warrants, options or other
                       securities convertible into or exchangeable for Capital Stock if such Capital Stock represents all or a
                       portion of the exercise price of, or tax withholdings with respect to, such warrants, options or other
                       securities convertible into or exchangeable for Capital Stock;

                                (vi)     the Top Borrower may make (A) the Specified Dividend and (B) other Restricted
                       Payments, in the case of this clause (B) the proceeds of which are applied on the Closing Date, solely
                       to effect the consummation of the other Transactions;

                                (vii)   so long as no Event of Default exists at the time of declaration of such Restricted
                       Payment, following the consummation of the first Qualifying IPO, the Top Borrower may (or may
                       make Restricted Payments to any Parent Company to enable it to) make Restricted Payments with
                       respect to any Capital Stock in an amount not to exceed 6.00% per annum of the net Cash proceeds
                       received by or contributed to the Top Borrower from any Qualifying IPO;

                                (viii)   the Top Borrower may make Restricted Payments to (i) redeem, repurchase, retire or
                       otherwise acquire any (A) Capital Stock ("Treasurv Capital Stock") of the Top Borrower and/or any
                       Restricted Subsidiary or (B) Capital Stock of any Parent Company, in the case of each of subclauses
                       (A} and CID., in exchange for, or out of the proceeds of the substantially concurrent sale (other than to
                       the Top Borrower and/or any Restricted Subsidiary) of, Qualified Capital Stock of the Top Borrower
                       or any Parent Company to the extent any such proceeds are contributed to the capital of the Top
                       Borrower and/or any Restricted Subsidiary in respect of Qualified Capital Stock (" Refunding Capital
                       Stock") and (ii) declare and pay dividends on any Treasury Capital Stock out of the proceeds of the
                       substantially concurrent sale (other than to the Top Borrower or a Restricted Subsidiary) of any
                       Refunding Capital Stock;

                               (ix)     to the extent constituting a Restricted Payment, the Top Borrower may consummate
                       any transaction pem1itted by Section 6.06 (other than Sections 6.06(j) and ill), Section 6.07 (other
                       than Section 6.07(g)) and Section 6.09 (other than Sections 6.09(d) and ill);

                               (x)      the Top Borrower may make Restricted Payments in an aggregate amount not to
                       exceed the greater of $93,750,000 and 2.50% of Consolidated Total Assets as of the last day of the
                       most recently ended Test Period;

                                (xi)     the Top Borrower may make Restricted Payments so long as (i) no Event of Default
                       exists at the time of the declaration of such Restricted Payment and (ii) the Secured Leverage Ratio,
                       calculated on a Pro Fomta Basis, would not exceed 5.05:1.00; and/or




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                              (xii)   the Top Borrower may declare and make dividend payme nts or other Restricted
                       Payments payable solely in the Capital Stock of the Top Borrower or of any Pare nt Company.

                      (b)      The Top Borrower shall not, nor shall it permit any Restricted Subsidiary to, make any
             prepayment in Cash in respect of pr incipal of or interest on (x) any Junior Lien Indebtedness or (y) any Junior
             Indebtedness (the Indebtedness described in clauses (x) and .(y}, the " Restricted Debt"), including any sinking
             fund or similar deposit, on account of the purchase, redemption, retirement, acquisition, cancellation or
             te m1ination of any Restricted De bt more than one year prior to the scheduled maturity date thereof
             (collectively, "Restricted Debt Pavments"), except:

                                (i)     with respect to any purchase, defeasance, rede mption, repurchase, repayment or othe r
                       acquisition or retire ment thereof made by exchange for, or out of the proceeds of, Refinancing
                       Inde btedness permitted by Section 6.01 and/or refinancing Indebtedness permitted by Section 6.0 l(x):

                                  (ii)        as part of an applicable high yield discount obligation catch-up payment;

                                (iii)   payments of regularly scheduled interest (including any penalty interest, if
                       applicable) and payments of fees, e xpenses and indemnification obligations as and when due (other
                       than payments w ith respect to Junior Indebtedness that are prohibited by the subordination provisions
                       thereof);

                                (iv)    Restricted Debt Payments in an aggregate amount not to exceed (A) so long as no
                       Event of Default under Section 7.0l(a), (fl or (g) exists, the greater of $ 125,000,000 and 3.15% of
                       Consolidated Total Assets as of the last day of the most recently ended Test Period, plus (B) at the
                       election of the Top Borrower, the amount of any Restricted Payments the n permitted to be made by
                       the Top Borrower in reliance on Section 6.04(a)(x) (it being understood that any amount utilized
                       under this clause (B) to make a Restricted Debt Payment shall result in a reduction in availability
                       under Section 6.04(a)(x));

                                (v)      (A) Restricted Debt Payme nts in exchange for, or w ith proceeds of any issuance of,
                       Qualified Capital Stock of the Top Borrower and/or any capital contribution in respect of Qualified
                       Capital Stock of the Top Borrower, (B) Restricted Debt Payments as a result of the conversion of all
                       or any portion of any Restric ted Debt into Qualified Capital Stock of the Top Borrower and (C) to the
                       extent constituting a Restricted Debt Payment, payment-in-kind interest with respect to any Restricted
                       Debt that is permitted under Section 6.01;

                                 (vi)    Restricted De bt Payments in an aggregate amount not to exceed (A) the portion, if
                       any , of the Available Amount on such date that the Top Borrowe r elects to apply to this clause (vi)(A)
                       and/or (B) the portion, if any, of the Available Excluded Contribution Amount on such date that the
                       Top Borrower elects to apply to this clause (vi)(B):

                               (vii)     Restricted Debt Payments in an unlimited amount; provided that (A) no Event of
                       Default exists at the time of delivery of irrevocable notice of such Restricted Debt Payment and (B)
                       the Secured Leverage Ratio, calculated on a Pro Fom1a Basis, would not exceed 5.30: 1.00;

                                (viii)   mandatory prepayments of Restricted Debt (and related payments of interest) made
                       with Declined Proceeds (it being understood that any Declined Proceeds applied to make Restricted
                       Debt Payme nts in reliance on this Section 6.04(b)(viii) shall not increase the amount available under
                       clause (a)(viii) of the definition of "Available Amount" to the extent so applied); and

                               (ix)    to the extent constituting a Restric ted Debt Payment, the consummation of the
                       Refinancing Transactions.




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                       Section 6.05.     Burdensome Agreements. Except as provided herein or in any other Loan
             Document, the ABL Credit Agreement, the First Lien Credit Agreement, any document with respect to any
             Incremental Equivalent Debt (as defined herein and in (x) the ABL Credit Agreement or any equivalent term
             under any ABL Facility or (y) the First Lien Credit Agreement or any equivalent term under any First Lien
             Facility) and/or in any agreement with respect to any refinancing, renewal or replacement of such Indebtedness
             that is permitted by Section 6.01, the Top Borrower shall not, nor shall it permit any of its Restricted
             Subsidiaries to, enter into or cause to exist any agreement restricting the ability of (x) any Restricted
             Subsidiary of the Top Borrower that is not a Loan Party to pay dividends or other distributions to the Top
             Borrower or any Loan Party, (y) any Restricted Subsidiary that is not a Loan Party to make cash loans or
             advances to the Top Borrower or any Loan Party or (z) any Loan Party to create, permit or grant a Lien on any
             of its properties or assets to secure the Secured Obligations, except restrictions:

                      (a)     set forth in any agreement evidencing (i) Indebtedness of a Restricted Subsidiary that is not a
             Loan Party permitted by Section 6.01 , (ii) Indebtedness permitted by Section 6.01 that is secured by a
             Permitted Lien if the relevant restriction applies only to the Person obligated under such Indebtedness and its
             Restricted Subsidiaries or the assets intended to secure such Indebtedness and (iii) Indebtedness pem1itted
             pursuant to clauses (j), Cm}, (cl (as it relates to Indebtedness in respect of clauses (a), Cm}, (g), fr), fu1 fu'.)
             and/or (y) of Section 6.01), (g), fr), fu1 fu'.) and/or (y) of Section 6.01 ;

                      (b)    arising under customary provisions restricting assignments, subletting or other transfers
             (including the granting of any Lien) contained in leases, subleases, licenses, sublicenses, joint venture
             agreements and other agreements entered into in the ordinary course of business;

                      (c)      that are or were created by virtue of any Lien granted upon, transfer of, agreement to transfer
             or grant of, any option or right with respect to any assets or Capital Stock not otherwise prohibited under this
             Agreement;

                      (d)     that are assumed in connection with any acquisition of property or the Capital Stock of any
             Person, so long as the relevant encumbrance or restriction relates sole ly to the Person and its subsidiaries
             (including the Capital Stock of the relevant Person or Persons) and/or property so acquired and was not created
             in connection with or in anticipation of such acquisition;

                      (e)      set forth in any agreement for any Disposition of any Restricted Subsidiary (or all or
             substantially all of the assets thereot) that restricts the payment of dividends or other distributions or the
             making of cash loans or advances by such Restricted Subsidiary pending such Disposition;

                      (f)    set forth in provisions in agreements or instruments which prohibit the payment of dividends
             or the making of other distributions with respect to any class of Capital Stock of a Person other than on a pro
             rata basis;

                     (g)      imposed by customary prov1s10ns in partnership agreements, limited liability company
             organizational governance documents, joint venture agreements and other similar agreements;

                      (h)      on Cash, other deposits or net worth or similar restrictions imposed by any Person under any
             contract entered into in the ordinary course of business or for whose benefit such Cash, other deposits or net
             worth or similar restrictions exist;

                        (i)       set forth in documents which exist on the Closing Date and were not created in contemplation
             thereof;

                     G)        arising pursuant to an agreement or instrument relating to any Indebtedness permitted to be
             incurred after the Closing Date if the relevant restrictions, taken as a whole, are not materially less favorab le to




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             the Lenders than the restrictions contained in this Agreement, taken as a whole (as detem1ined in good faith by
             the Top Borrower);

                     (k)      arising under or as a result of applicable Requirements of Law or the terms of any license,
             authorization, concession or permit;

                    (I)      ar1srng in any Hedge Agreement and/or any agreement or arrangement relating to any
             Banking Services;

                      (m)      relating to any asset (or all of the assets) of and/or the Capital Stock of the Top Borrower
             and/or any Restricted Subsidiary which is imposed pursuant to an agreement entered into in connection with
             any Disposition of such asset (or assets) and/or all or a portion of the Capital Stock of the relevant Person that
             is permitted or not restricted by this Agreement;

                    (n)      set forth in any agreement relating to any Permitted Lien that limit the right of the Top
             Borrower or any Restricted Subsidiary to Dispose of or encumber the assets subject thereto; and/or

                       (o)     imposed by any amendment, modification, restatement, renewal, increase, supplement,
             refunding, replacement or refinancing of any contract, instrument or obligation referred to in clauses (a)
             through (l!2 above; provided that no such amendment, modification, restatement, renewal, increase,
             supplement, refunding, replacement or refinancing is, in the good faith judgment of the Top Borrower, more
             restrictive with respect to such restrictions, taken as a whole, than those in existence prior to such amendment,
             modification, restatement, renewal, increase, supplement, refunding, replacement or refinancing.

                     Section 6.06.     Investments. The Top Borrower shaH not, nor shall it pem1it any of its Restricted
             Subsidiaries to, make or own any Investment in any other Person except:

                       (a)        Cash or Investments that were Cash Equivalents at the time made;

                      (b)      (i) Investments existing on the Closing Date in the Top Borrower or in any subsidiary, (ii)
             Investments made after the Closing Date among the Top Borrower and/or one or more Restricted Subsidiaries
             that are Loan Parties, (iii) Investments made after the Closing Date by any Loan Party in any Restricted
             Subsidiary that is not a Loan Party: provided that the aggregate outstanding amount of any such Investment
             that is not made in ordinary course shall not exceed the greater of $187,500,000 and 4.70% of Consolidated
             Total Assets as of the last day of the most recently ended Test Period, (iv) Investments made by any Restricted
             Subsidiary that is not a Loan Party in any Loan Party and/or any other Restricted Subsidiary that is not a Loan
             Party and (v) Investments made by any Loan Party and/or any Restricted Subsidiary that is not a Loan Party in
             the form of any contribution or Disposition of the Capital Stock of any Person that is not a Loan Party;

                     (c)       Investments (i) constituting deposits, prepayments and/or other credits to suppliers, (ii) made
             in connection with obtaining, maintaining or renewing client and customer contracts and/or (iii) in the form of
             advances made to distributors, suppliers, licensors and licensees, in each case, in the ordinary course of
             business or, in the case of clause (iii)_ to the extent necessary to maintain the ordinary course of supplies to the
             Top Borrower or any Restricted Subsidiary;

                     (d)     Investments iJ1 any Unrestricted Subsidiary and/or any Similar Business (iJ1cludrng any joint
             venture) in an aggregate outstanding amount not to exceed the greater of $125,000,000 and 3. 15% of
             Consolidated Total Assets as of the last day of the most recently ended Test Period;

                     (e)      (i) Permitted Acquisitions and (ii) any Investment in any Restricted Subsidiary that is not a
             Loan Party in an amount required to permit such Restricted Subsidiary to consummate a Permitted Acquisition
             (rn compliance, if applicable, with any cap on Investments in non-Loan Parties that is set forth in the relevant




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             carve-out from this Section 6.06), which amount ts actually applied by such Restricted Subsidiary to
             consummate s uch Permitted Acquisition;

                    (f)      Investments (i) existing on, or contractually committed to or contemplated as of, the Closing
             Date and described on Schedule 6.06 and (ii) any modification, replacement, renewal or extension of any
             Investment described in clause (i) above so long as no such modification, renewal or extension increases the
             amount of such Investment except by the terms thereof or as othenvise permitted by this Section 6.06;

                     (g)      Investments received in lieu of Cash in connection with any Disposition pennitted by
             Section 6.07 or any other disposition of assets not constituting a Disposition;

                       (h)      loans or advances to present or former employees, directors, members of management,
             officers, managers or consultants or independent contractors (or their respective Immediate Family Members)
             of any Parent Company , the Top Borrower, its subsidiaries and/or any joint venture to the extent permitted by
             Requirements of Law, in connection with such Person's purchase of Capital Stock of any Parent Company ,
             either (i) in an aggregate principal amount not to exceed $ 1,250,000 at any one time outstanding or (ii) so long
             as the proceeds of such loan or advance are substantially contemporaneously contributed to the Top Borrower
             for the purchase of such Capital Stock;

                       (i)     (i) Investments consisting of extensions of credit in the nature of accounts receivable or notes
             receivable arising from the grant of trade credit in the ordinary course of business and (ii) any Investment in
             any Person that is a retailer of "Simmons" or " Serta"-branded products so long as (A) such Person is
             experiencing financial difficulty and (B) the aggregate outstanding amount of any Investment made in reliance
             on this clause (i)(ii) does not exceed the greater of $12,500,000 and 0.3 I % of Consolidated Total Assets as of
             the last day of the most recently ended Test Period;

                      (i)     Investments consisting of (or resulting from) Indebtedness permitted under Section 6.01
             (other than Indebtedness permitted under Sections 6.0I(b) and ®), Permitted Liens, Restricted Payments
             permitted under Section 6.04 (other than Section 6.04(a)(ix)), Restricted Debt Payments permitted by
             Section 6.04 and mergers, consolidations, amalgamations, liquidations, windings up, dissolutions or
             Dispositions permitted by Section 6.07 (other than Section 6.07(a) (if made in reliance on subclause (ii)(v) of
             the proviso thereto), Section 6.07(b) (if made in reliance on clause (ii) therein), Section 6.07(c)(ii) (if made in
             reliance on clause (B) therein) and Section 6.07(g));

                      (k)     Investments in the ordinary course of business consisting of endorsements for collection or
             deposit and customary trade arrangements with customers;

                      (I)    Investments (including debt obligations and Capital Stock) received (i) in connection with the
             bankruptcy or reorganization of any Person, (ii) in settlement of delinquent obligations of, or other disputes
             with, customers, suppliers and other account debtors arising in the ordinary course of business, (iii) upon
             foreclosure with respect to any secured Investment or other transfer of title with respect to any secured
             Investment and/or (iv) as a result of the settlement, compromise, resolution of litigation, arbitration or other
             disputes;

                     (m)      loans and advances of payroll payments or other compensation to present or former
             employees, directors, members of management, officers, managers or consultants of any Parent Company (to
             the extent such payments or other compensation relate to services provided to such Parent Company (but
             excluding, for the avoidance of doubt, the portion of any such amount, if any, attributable to the ownership or
             operations of any subsidiary of any Parent Company other than the Top Borrower and/or its subsidiaries)), the
             Top Borrower and/or any subsidiary in the ordinary course of business;




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                      (n)      Investments to the extent that payment therefor is made solely with Capital Stock of any
             Parent Company or Qualified Capital Stock of the Top Borrower or any Restricted Subsidiary, in each case, to
             the extent not resulting in a Change of Control;

                      (o)      (i) Investments of any Restricted Subsidiary acquired after the Closing Date, or of any Person
             acquired by, or merged into or consolidated or amalgamated with, the Top Borrower or any Restricted
             Subsidiary after the Closing Date, in each case as part of an Investment othenvise penu itted by this
             Section 6.06 to the extent that such Investments were not made in contemplation of or in connection with such
             acquisition, merger, amalgamation or consolidation and were in existence on the date of the relevant
             acquisition, merger, amalgamation or consolidation and (ii) any modification, replacement, renewal or
             extension of any Investment permitted under clause (i) of this Section 6.06(0) so long as no such modification,
             replacement, renewal or extension thereof increases the original amount of such Investment except as
             othenvise penuitted by this Section 6.06;

                       (p)        Investments made in connection with the Transactions;

                     (q)       Investments made after the Closing Date by the Top Borrower and/or any of its Restricted
             Subsidiaries in an aggregate amount at any time outstanding not to exceed:

                                (i)      (A) the greater of $187,500,000 and 4.70% of Consolidated Total Assets as of the
                       last day of the most recently ended Test Period, plus (B) at the election of the Top Borrower, the
                       amount of Restricted Payments then permitted to be made by the Top Borrower or any Restricted
                       Subsidiary in reliance on Section 6.04(a)(x) (it being understood that any amount utilized under this
                       clause (B) to make an Investment shall result in a reduction in availability under Section 6.04(a)(x),
                       plus (C) at the election of the Top Borrower, the amount of Restricted Debt Payments then pem1itted
                       to be made by the Top Borrower or any Restricted Subsidiary in reliance on Section 6.04(b)(iv)(A) (it
                       being understood that any amount utilized under this clause (C) to make an Investment shall result in a
                       reduction in availability under Section 6.04(b)(iv)(A)). plus

                                (ii)    in the event that (A) the Top Borrower or any of its Restricted Subsidiaries makes
                       any Investment after the Closing Date in any Person that is not a Restricted Subsidiary and (B) such
                       Person subsequently becomes a Restricted Subsidiary, an amount equal to 100.0% of the fair market
                       value of such Investment as of the date on which such Person becomes a Restricted Subsidiary;

                      (r)     Investments made after the Closing Date by the Top Borrower and/or any of its Restricted
             Subsidiaries in an aggregate outstanding amount not to exceed (i) the portion, if any, of the Available Amount
             on such date that the Top Borrower elects to apply to this clause (r)(i) and/or (ii) the portion, if any, of the
             Available Excluded Contribution Amount on such date that the Top Borrower elects to apply to this
             clause (r)(ii):

                     (s)     (i) Guarantees of leases (other than Capital Leases) or of other obligations not constituting
             Indebtedness and (ii) Guarantees of the lease obligations of suppliers, customers, franchisees and licensees of
             the Top Borrower and/or its Restricted Subsidiaries, in each case, in the ordinary course of business;

                     (t)     Investments in any Parent Company in amounts and for purposes for which Restricted
             Payments to such Parent Company are permitted under Section 6.04(a); provided that any Investment made as
             provided above in lieu of any such Restricted Payment shall reduce availability under the applicable Restricted
             Payment basket under Section 6.04(a):

                     (u)     Investments made by any Restricted Subsidiary that is not a Loan Party with the proceeds
             received by such Restricted Subsidiary from an Investment made by any Loan Party in such Restricted
             Subsidiary pursuant to this Section 6.06 (other than Investments made pursuant to Section 6.06(e)(ii));




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                      (v)        Investments in subsidiaries in connection with internal reorganizations and/or restructurings
             and activities re lated to tax planning; provided that, after giving effect to any such reorganization, restructuring
             or activity, neither the Loan Guaranty, taken as a whole, nor the security interest of the Administrative Agent
             in the Collateral, taken as a whole, is materially impaired;

                       (w)        Investments under any Derivative Transaction of the type permitted under Section 6.0l(s);

                     (x)       Investments consisting of the Disposition of inventory from any Loan Party to any Restricted
             Subsidiary that is not a Loan Party and which is organized under the laws of Canada in the ordinary course of
             business in an amount not to exceed in any Fiscal Year the greater of $25,000,000 and 0.65% of Consolidated
             Total Assets as of the last day of the most recently ended Test Period;

                     (y)     Investments made in joint ventures as required by, or made pursuant to, customary buy/sell
             arrangements betv,een the joint venture parties set forth in joint venture agreements and similar binding
             arrangements entered into in the ordinary course of business;

                     (z)      Investments made in connection with any nonqualified deferred compensation plan or
             arrangement for any present or former employee, director, member of management, officer, manager or
             consultant or independent contractor (or any Immediate Family Member thereof) of any Parent Company, the
             Top Borrower, its subsidiaries and/or any joint venture;

                     (aa)    Investments in the Top Borrower, any Restricted Subsidiary and/or joint venture in
             connection with intercompany cash management arrangements and related activities in the ordinary course of
             business;

                      (bb)     Investments so long as (i) after giving effect thereto on a Pro Forma Basis, the Secured
             Leverage Ratio does not exceed 5.55: 1.00, and (ii) no Event of Defau lt under Section 7.0l(a), CD. or .(g} exists
             after giving effect thereto;

                     (cc)    any Investment made by any Unrestricted Subsidiary prior to the date on which such
             Unrestricted Subsidiary is designated as a Restricted Subsidiary so long as the relevant Investment was not
             made in contemplation of the designation of such Unrestricted Subsidiary as a Restricted Subsidiary;

                     (dd)    Investments consisting of the licensing or contribution of IP Rights pursuant to joint
             marketing arrangements with other Persons; and

                      (ee)    loans and advances to any Parent Company not in excess of the amount of (after giving effect
             to any other loan, advance or Restricted Payment in respect thereof) Restricted Payments that are pem1itted to
             be made to such Parent Company in accordance with Section 6.04(a)(i), such Investment being treated for
             purposes of the applicable provision of Section 6.04(a), including any limitation, as a Restricted Payment made
             pursuant to such clause.

                      Section 6.07.      Fundamental Changes: Disposition of Assets. The Top Borrower shall not, nor shall
             it permit any of its Restricted Subsidiaries to, enter into any transaction of merger, consolidation or
             amalgamation, or liquidate, wind up or dissolve themselves (or suffer any liquidation or dissolution), or make
             any Disposition of any assets having a fair market value in excess of $18,750,000 in a single transaction or a
             series of related transactions, except:

                     (a)       any Restricted Subsidiary may be merged, consolidated or amalgamated with or into the Top
             Borrower or any other Restricted Subsidiary; provided that (i) in the case of any such merger, consolidation or
             amalgamation with or into the Top Borrower, (A) the Top Borrower shall be the continuing or surviving
             Person or (B) if the Person formed by or surviving any such merger, consolidation or amalgamation is not the
             Top Borro'<ver (any such Person, the " Successor Borrower"), (x) the Successor Borrower shall be an entity




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             organized or existing under the law of the U.S., any state thereof or the District of Columbia, (y) the Successor
             Borrower shall expressly assume the Obligations of the Top Borrower in a manner reasonably satisfactory to
             the Administrative Agent and (z) except as the Administrative Agent may otherwise agree, each Guarantor,
             unless it is the other party to such merger, consolidation or amalgamation, shall have executed and delivered a
             reaffirmation agreement with respect to its obligations under the Loan Guaranty and the other Loan
             Documents; it being understood and agreed that if the foregoing conditions under clauses (x) through (z) are
             satisfied, the Successor Borrower will succeed to, and be substituted for, the Top Borrower under this
             Agreement and the other Loan Documents, and (ii) in the case of any such merger, consolidation or
             amalgamation with or into any Borrower and/or any Subsidiary Guarantor, either (A) a Borrower or a
             Subsidiary Guarantor shall be the continuing or surviving Person or the continuing or surviving Person (or, in
             the case of an amalgamation, the Person formed as a result thereof) shall expressly assume the obligations of
             the relevant Borrower or Subsidiary Guarantor in a manner reasonably satisfactory to the Administrative Agent
             or (B) the relevant transaction shall be treated as an Investment and shall comply with Section 6.06;

                      (b)     Dispositions (including of Capital Stock) among the Top Borrower and/or any Restricted
             Subsidiary (upon voluntary liquidation or otherwise); provided that any such Disposition made by any Loan
             Party to any Person that is not a Loan Party shall be (i) for fair market value (as reasonably determined by such
             Person) with at least 75% of the consideration for such Disposition consisting of Cash or Cash Equivalents at
             the time of such Disposition or (ii) treated as an Investment and otherwise made in compliance with
             Section 6.06 (other than in reliance on clause (j) thereof);

                      (c)      (i) the liquidation or dissolution of any Restricted Subsidiary if the Top Borrower determines
             in good faith that such liquidation or dissolution is in the best interests of the Top Borrower, is not materially
             disadvantageous to the Lenders (taken as a whole) and the Top Borrower or any Restricted Subsidiary receives
             the assets (if any) of the relevant dissolved or liquidated Restricted Subsidiary; provided that in the case of any
             liquidation or dissolution of any Loan Party that results in a distribution of assets to any Restricted Subsidiary
             that is not a Loan Party, such distribution shall be treated as an Investment and shall comply with Section 6.06
             (other than in reliance on clause (j) thereof); (ii) any merger, amalgamation, dissolution, liquidation or
             consolidation, the purpose of which is to effect (A) any Disposition otherwise penuitted under this
             Section 6.07 (other than clause (a), clause (b) or this clause (c)) or (B) any Investment permitted under
             Section 6.06; and (iii) the conversion of the Top Borrower or any Restricted Subsidiary into another form of
             entity, so long as such conversion does not adversely affect the value of the Loan Guaranty or Collateral, if
             any;

                      (d)      (i) Dispositions of inventory or equipment or immaterial assets in the ordinary course of
             bus iness (including on an intercompany basis) and (ii) the leasing or subleasing of real property in the ordinary
             course of business;

                      (e)     Dispositions of surplus, obsolete, used or worn out property or other property that, in the
             reasonable judgment of the Top Borrower, is (A) no longer useful in its business (or in the business of any
             Restricted Subsidiary of the Top Borrower) or (B) othen vise economically impracticable to maintain;

                     (£)     Dispositions of Cash and/or Cash Equivalents and/or other assets that were Cash Equivalents
             when the relevant original Investment was made;

                     (g)     Dispositions, mergers, amalgamations, consolidations or conveyances that constitute (w)
             Investments permitted pursuant to Section 6.06 (other than Section 6.06(j)), (x) Permitted Liens, (y) Restricted
             Payments pem1itted by Section 6.04(a) (other than Section 6.04(a)(ix)) and (z) Sale and Lease-Back
             Transactions pennitted by Section 6.08;

                      (h)     Dispositions for fair market value; provided that with respect to any such Disposition with a
             purchase price in excess of the greater of $62,500,000 and 1.60% of Consolidated Total Assets as of the last
             day of the most recently ended Test Period, at least 75% of the consideration for such Disposition shall consist




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             of Cash or Cash Equivalents (provided that for purposes of the 75% Cash consideration requirement, (i) the
             amount of any Indebtedness or other liabilities (other than Indebtedness or other liabilities that are
             subordinated to the Obligations or that are owed to the Top Borrower or any Restricted Subsidiary) of the Top
             Borrower or any Restricted Subsidiary (as shown on such Person' s most recent balance sheet or statement of
             financial position (or in the notes thereto) that are assumed by the transferee of any such assets (or that are
             othernrise terminated or cancelled in connection with the transaction with such transferee) and for which the
             Top Borrower and/or its applicable Restricted Subsidiary have been validly released by all relevant creditors in
             writing, (ii) the amount of any trade-in value applied to the purchase price of any replacement assets acquired
             in connection with such Disposition, (iii) any Security received by the Top Borrower or any Restricted
             Subsidiary from such transferee that is converted by such Person into Cash or Cash Equivalents (to the extent
             of the Cash or Cash Equivalents received) within 180 days following the closing of the applicable Disposition
             and (iv) any Designated Non-Cash Consideration received in respect of such Disposition having an aggregate
             fair market value, taken together with all other Designated Non-Cash Consideration received pursuant to this
             clause (z) and Section 6.08(B)(1) that is at that time outstanding, not in excess of the greater of $125,000,000
             and 3.15% of Consolidated Total Assets as of the last day of the most recently ended Test Period, in each case,
             shall be deemed to be Cash); provided, further, that (A) immediately prior to and after giving effect to such
             Disposition, as determined on the date on which the agreement governing such Disposition is executed, no
             Event of Default exists and (B) the Net Proceeds of such Disposition shall be applied and/or reinvested as (and
             to the extent) required by Section 2.1 l(b)(ii);

                      (i)     to the extent that (i) the relevant property is exchanged for credit against the purchase price of
             similar replacement property or (ii) the proceeds of the relevant Disposition are promptly applied to the
             purchase price of such replacement property;

                     (j)     Dispositions of Investments in joint ventures to the extent required by, or made pursuant to,
             buy/sell arrangements between joint venture or similar parties set forth in the relevant joint venture
             arrangements and/or similar binding arrangements;

                      (k)    Dispositions of notes receivable or accounts receivable in the ordinary course of business
             (including any discount and/or forgiveness thereof) or in connection with the collection or compromise
             thereof;

                      (I)       Dispositions and/or terminations of leases, subleases, licenses or sublicenses (including the
             provision of software under any open source license), (i) the Disposition or termination of which will not
             materially interfere with the business of the Top Borrower and its Restricted Subsidiaries or (ii) which re late to
             closed facilities or the discontinuation of any product line;

                     (m)      (i) any termination of any lease in the ordinary course of business, (ii) any expiration of any
             option agreement in respect of real or personal property and (iii) any surrender or waiver of contractual rights
             or the settlement, release or surrender of contractual rights or litigation claims (including in tort) in the
             ordinary course of business;

                     (n)      Dispositions of property subject to foreclosure, casualty, eminent domain or condemnation
             proceedings (including in lieu thereof or any similar proceeding);

                      (o)       Dispositions or consignments of equipment, inventory or other assets (including leasehold
             interests in real property) with respect to facilities that are temporarily not in use, held for sale or closed;

                       (p)        to the extent constituting a Disposition, the consummation of the Transaction;

                     (q)      Dispositions of non-core assets acquired in connection with any acquisition permitted
             hereunder and sales of Real Estate Assets acquired in any acquisition permitted hereunder which, within 90
             days of the date of such acquisition, are designated in writing to the Administrative Agent as being held for




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             sale and not for the continued operation of the Top Borrower or any of its Restricted Subsidiaries or any of
             their respective bus inesses; provided that no Event of Default exists on the date on w hich the definitive
             agreement governing the relevant Disposition is executed;

                      (r)     exchanges or swaps, including transactions covered by Section 1031 of the Code (or any
             comparable provision of any foreign jurisdiction), of assets so long as any such exchange or swap is made for
             fair value (as reasonably dete nnined by the Top Borrower) for like assets; provided that upon the
             consummation of any such exchange or swap by any Loan Party, to the exte nt the assets received do not
             constitute an Excluded Asset, the Administrative Agent has a perfected Lien with the same priority as the Lien
             held on the Real Estate Assets so exchanged or swapped;

                     (s)       Dispositions of assets that do not constitute Collateral for fair market value; provided that the
             Net Proceeds of such Disposition shall be applied and/or reinvested as (and to the extent) required by
             Section 2.11 (b)(ii);

                      (t)     (i) licensing and cross-licensing arrangements involving any technology, intellectual property
             or IP Rights of the Top Borrower or any Restricted Subsidiary in the ordinary course of business and (ii)
             Dispositions, abandonments, cancellations or lapses of IP Rights, or issuances or registrations, or applications
             for issuances or registrations, of IP Rights, which, in the reasonable good faith determination of the Top
             Borrower, are not material to the conduct of the business of the Top Borrower or its Restricted Subsidiaries, or
             are no longer economical to maintain in light of its use;

                       (u)        Dispositions in connection with the tem1inations or unwinds of Derivative Transactions;

                     (v)          Dispositions of Capital Stock of, or sales of Indebtedness or other Securities of, Unrestricted
             Subsidiaries;

                     (w)      Dispositions of Real Estate Assets and re lated assets in the ordinary course of business in
             connection w ith relocation activities for directors, officers, employees, members of management, managers or
             consultants of any Parent Company, the Top Borrower and/or any Restricted Subsidiary;

                     (x)     Dispositions made to comply w ith any order of any Governmental Authority or any
             applicable Requirement of Law;

                     (y)      any merger, consolidation, D isposition or conveyance the sole purpose of which is to
             reincorporate or reorganize (i) any Domestic Subsidiary in another jurisdiction in the U.S. and/or (ii) any
             Foreign Subsidiary in the U.S. or any other jurisdiction;

                     (z)      any sale of motor vehicles and information technology equipment purchased at the end of an
             operating lease and resold thereafter; and/or

                      (aa)    Dispositions involving assets having a fair market value (as reasonably determined by the
             Top Borrower at the time of the relevant Disposition) of not more than the greater of $43,750,000 and 1.25%
             of Consolidated Total Assets as of the last day of the most recently ended Fiscal Year in any Fiscal Year,
             which, if not used in such Fiscal Year, shall be carried forward to s ucceeding Fiscal Years.

                     To the extent that any Collateral is Disposed of as expressly pemitted by this Section 6.07 to any
             Person other than a Loan Party, such Collateral shall be sold free and clear of the Liens created by the Loan
             Documents, which Liens shall be automatically released upon the consummation of such Disposition; it being
             understood and agreed that the Administrative Agent shall be authorized to take, and shall take, any actions
             reasonably requested by the Top Borrower in order to effect the foregoing in accordance with Article 8 hereof.




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                      Section 6.08.     Sale and Lease-Back Transactions. The Top Borrower shall not, nor shall it permit
             any of its Restricted Subsidiaries to, directly or indirectly, become or remain liable as lessee or as a guarantor
             or other surety with respect to any lease of any property (whether real, personal or mixed), whether now owned
             or hereafter acquired, which the Top Borrower or the relevant Restricted Subsidiary (a) has sold or transferred
             or is to sell or to transfer to any other Person (other than the Top Borrower or any of its Restricted
             Subsidiaries) and (b) intends to use for substantially the same purpose as the property which has been or is to
             be sold or transferred by the Top Borrower or such Restricted Subsidiary to any Person (other than the Top
             Borrower or any of its Restricted Subsidiaries) in connection with such lease (such a transaction, a " Sale and
             Lease-Back Transaction"); provided that any Sale and Lease-Back Transaction shall be permitted so long as
             (A) such Sale and Lease-Back Transaction constitutes a Designated Sale and Lease-Back Transaction or (B)
             the Net Proceeds of such Disposition are applied and/or reinvested as (and to the extent) required by
             Section 2.11 (b)(ii) and either in the case of this clause (B) (I) the resulting Inde btedness is pennitted by
             Section 6.01 or (II) (1) the relevant Sale and Lease-Back Transaction is consummated in exchange for cash
             consideration (provided that for purposes of the foregoing cash consideration requirement, (w) the amount of
             any Indebtedness or other liabilities (other than Indebtedness or other liabilities that are subordi11ated to the
             Obligations or that are owed to the Top Borrower or any Restricted Subsidiary) of the Top Borrower or any
             Restricted Subsidiary (as shown on such Person's most recent balance sheet or statement of financial position
             (or in the notes thereto) that are assumed by the transferee of any such assets and for which the Top Borrower
             and/or its applicable Restricted Subsidiary have been validly released by all relevant creditors in writing, (x)
             the amount of any trade-in value applied to the purchase price of any replacement assets acquired in
             connection with such Disposition, (y) any Securities received by the Top Borrower or any Restricted
             Subsidiary from such transferee that are converted by such Person into Cash or Cash Equivalents (to the extent
             of the Cash or Cash Equivalents received) within 180 days following the closing of the applicable Disposition
             and (z) any Designated Non-Cash Consideration received in respect of the relevant Sale and Lease-Back
             Transaction having an aggregate fair market value, taken together with all other Designated Non-Cash
             Consideration received pursuant to this clause (z) and Section 6.07(h)(z) that is at that time outstanding, not in
             excess of the greater of $125,000,000 and 3.15% of Consolidated Total Assets as of the last day of the most
             recently ended Test Period, in each case, shall be deemed to be Cash), (2) the Top Borrower or its applicable
             Restricted Subsidiary would otherwise be permitted to enter into, and remain liable under, the applicable
             underlying lease and (3) the aggregate fair market value of the assets sold subject to all Sale and Lease-Back
             Transactions under this clause (B) s hall not exceed the greater of $62,500,000 and 1.60% of Consolidated
             Total Assets as of the last day of the most recently ended Test Period.

                      Section 6.09.    Transactions with Affiliates. The Top Borrower shall not, nor shall it permit any of
             its Restricted Subsidiaries to, enter into any transaction (including the purchase, sale, lease or exchange of any
             property or the rendering of any service) involving payments by the Top Borrower or its Restricted
             Subsidiaries in excess of $25,000,000 with any of their respective Affiliates on terms that are less favorable to
             the Top Borrower or such Restricted Subsidiary, as the case may be (as reasonably determined by the Top
             Borrower), than those that might be obtained at the time in a comparable arm' s-length transaction from a
             Person who is not an Affiliate; provided that the foregoing restriction shall not apply to:

                     (a)       any transaction bet\:veen or among the Top Borrower and/or one or more Restricted
             Subsidiaries (or any entity that becomes a Restricted Subsidiary as a result of such transaction) to the extent
             permitted or not restricted by this Agreement;

                     (b)      any issuance, sale or grant of securities or other payments, awards or grants in cash, securities
             or otherwise pursuant to, or the funding of employment arrangements, stock options and stock ownership plans
             approved by the board of directors (or equivalent governing body) of any Parent Company or of the Top
             Borrower or any Restricted Subsidiary;

                      (c)      (i) any collective bargaining, employment or severance agreement or compensatory
             (including profit sharing) arrangement entered into by the Top Borrower or any of its Restricted Subsidiaries
             with their respective current or fom1er officers, directors, members of management, managers, employees,




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             consultants or independent contractors or those of any Parent Company, (ii) any subscription agreement or
             sim ilar agreement pertaining to the repurchase of Capital Stock pursuant to put/call rights or similar rights with
             current or former officers, directors, members of management, managers, employees, consultants or
             independent contractors and (iii) transactions pursuant to any employee compensation, benefit plan, stock
             option plan or arrangement, any health, disability or similar insurance plan which covers current or former
             officers, directors, members of management, managers, employees, consultants or independent contractors or
             any employment contract or arrangement;

                      (d)     (i) transactions permitted by Sections 6.0l(d), (Q2 and~ 6.04 and 6.06(h), (m1 (Q), (!), (y},
             (y), ~ and (aa) and (ii) issuances of Capital Stock and issuances and incurrences of Indebtedness not restricted
             by this Agreement;

                      (e)      transactions in existence on the Closing Date and any amendment, modification or extension
             thereof to the extent such amendment, modification or extension, taken as a whole, is not (i) materially adverse
             to the Lenders or (ii) more disadvantageous to the Lenders than the relevant transaction in existence on the
             Closing Date;

                      (f)      (i) so long as no Event of Default under Sections 7.01 (a), LQ1.{!} or LQl.(g). then exists or
             would result therefrom, the payment of management, monitoring, consulting, advisory and similar fees to any
             Investor in an amount not to exceed the greater of $2,500,000 and 0.06% of Consolidated Total Assets per
             Fiscal Year and (ii) the payment or reimbursement of all indemnification obligations and expenses owed to any
             Investor and any of their respective directors, officers, members of management, managers, employees and
             consultants, in each case of clauses (i) and .(ill whether currently due or paid in respect of accruals from prior
             periods;

                     (g)     the Transactions, including the payment of the Specified Dividend and the payment of
             Transaction Costs;

                     (h)     ordinary course compensation to Affiliates in connection with financial advisory, financing,
             underwriting or placement services or in respect of other investment banking activities and other transaction
             fees, which payments are approved by the majority of the members of the board of directors (or similar
             governing body) or a majority of the disinterested members of the board of directors (or similar governing
             body) of the Top Borrower in good faith;

                       (i)        Guarantees permitted by Section 6.01 or Section 6.06;

                     (i)     transactions among Holdings, the Top Borrower and its Restricted Subsidiaries that are
             otherwise pennitted (or not restricted) under this Article 6;

                      (k)      the payment of customary fees and reasonable out-of-pocket costs to, and indemnities
             provided on behalf of, members of the board of directors (or similar governing body), officers, employees,
             members of management, managers, consultants and independent contractors of the Top Borrower and/or any
             of its Restricted Subsidiaries in the ordinary course of business and, in the case of payments to such Person in
             such capacity on behalf of any Parent Company, to the extent attributable to the operations of the Top
             Borrower or its subsidiaries;

                       (I)      transactions with customers, clients, suppliers, joint ventures, purchasers or sellers of goods
             or senrices or providers of employees or other labor entered into in the ordinary course of business, which are
             (i) fair to the Top Borrower and/or its applicable Restricted Subsidiary in the good faith determination of the
             board of directors (or similar governing body) of the Top Borrower or the senior management thereof or (ii) on
             tem1s at least as favorable as might reasonably be obtained from a Person other than an Affiliate;




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                    (m)     the payment of reasonable out-of-pocket costs and expenses related to registration rights and
             customary indemnities provided to shareholders under any shareholder agreement;

                     (n)      (i) any purchase by Holdings of the Capital Stock of (or contribution to the equity capital of)
             the Top Borrower and (ii) any intercompany loans made by Holdings to the Top Borrower or any Restricted
             Subsidiary; and/or

                      (o)      any transaction in respect of which the Top Borrower delivers to the Administrative Agent a
             letter addressed to the board of directors (or equivalent governing body) of the Top Borrower from an
             accounting, appraisal or investment banking finu of nationally recognized standing stating that such
             transaction is on terms that are no less favorable to the Top Borrower or the applicable Restricted Subsidiary
             than might be obtained at the time in a comparable arm's length transaction from a Person who is not an
             Affiliate.

                      Section 6.10.    Conduct of Business. From and after the Closing Date, the Top Borrower shall not,
             nor shall it permit any of its Restricted Subsidiaries to, engage in any material line of business other than (a)
             the businesses engaged in by the Top Borrower or any Restricted Subsidiary on the Closing Date and similar,
             incidental, complementary, ancillary or related businesses and (b) such other lines of business to which the
             Administrative Agent may consent.

                      Section 6. 11.   Amendments or Waivers of Organizational Documents. The Top Borrower shall not,
             nor shall it permit any Subsidiary Guarantor to, amend or modify their respective Organizational Documents,
             in each case in a manner that is materially adverse to the Lenders (in their capacities as such), taken as a whole,
             without obtaining the prior written consent of the Administrative Agent; provided that, for purposes of clarity,
             it is understood and agreed that the Top Borrower and/or any Subsidiary Guarantor may effect a change to its
             organizational form and/or consummate any other transaction that is permitted under Section 6.07.

                      Section 6.12.     Amendments of or Waivers with Respect to Restricted Debt. The Top Borrower
             shall not, nor shall it permit any of its Restricted Subsidiaries to, amend or otherwise modify the terms of any
             Restricted Debt (or the documentation governing any Restricted Debt) (a) if the effect of such amendment or
             modification, together with all other amendments or modifications made, is materially adverse to the interests
             of the Lenders (in their capacities as such) or (b) in violation of the Initial Intercreditor Agreements, any
             Acceptable lntercreditor Agreement or the subordination terms set forth in the definitive documentation
             governing any Restricted Debt: provided that, for purposes of clarity , it is unders tood and agreed that the
             foregoing limitation shall not otherwise prohibit any Refinancing Indebtedness or any other replacement,
             refinancing, amendment, supplement, modification, extension, renewal, restatement or refunding of any
             Restricted Debt, in each case, that is permitted under this Agreement in respect thereof.

                     Section 6. 13.     Fiscal Year. The Top Bon-ower shall not change its Fiscal Year-end to a date other
             than December 31; provided that the Top Borrower may, upon written notice to the Administrative Agent,
             change the Fiscal Year-end of the Top Borrower to another date, in which case the Top Borrower and the
             Administrative Agent will, and are hereby authorized to, make any adjustments to this Agreement that are
             necessary to reflect such change in Fiscal Year.

                       Section 6.14.          Permitted Activities of Holdings. Holdings shall not:

                      (a)      incur any third party Indebtedness for borrowed money other than (i) the Indebtedness
             permitted to be incurred by Holdings under the Loan Documents, any ABL Facility and/or any First Lien
             Facility or otherwise in connection with the Transactions and (ii) Guarantees of Indebtedness or other
             obligations of the Top Borrower and/or any Restricted Subsidiary, which Indebtedness or other obligations are
             otherwise permitted hereunder;




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                      (b)      create or suffer to exist any Lien on any asset now owned or hereafter acquired by it other
             than (i) the Liens created under the Collateral Documents and, subject to the Jntercreditor Agreements, the
             collateral documents relating to any First Lien Facility and/or ABL Facility, as applicable, in each case, to
             which it is a party, (ii) any other Lien created in connection with the Transactions, (iii) Permitted Liens on (x)
             the Term Loan Priority Collateral that are secured on a part passu or junior basis with the Secured Obligations
             (or on a pari passu basis with any First Lien Facility) with respect to the Term Loan Priority Collateral and/or
             (y) the ABL Priority Collateral that are secured on a pari passu or junior basis with the Secured Obligations (or
             on a pari passu basis with any First Lien Facility) with respect to the ABL Priority Collateral, so long as such
             Permitted Liens secure Guarantees permitted under clause (a)(ii) above and the underlying Indebtedness
             subject to such Guarantee is permitted to be secured on the same basis pursuant to Section 6.02 and (iv) Liens
             of the type permitted under Section 6.02 (other than in respect of debt for borrowed money); or

                      (c)       consolidate or amalgamate ·with, or merge with or into, or convey, sell or otherwise transfer
             all or substantially all of its assets to, any Person; provided that, so long as no Default or Event of Default
             exists or would result therefrom, (A) Holdings may consolidate or amalgamate with, or merge with or into, any
             other Person (other than the Top Borrower and any of its subsidiaries) so long as (i) Holdings is the continuing
             or surviving Person or (ii) if the Person formed by or surviving any such consolidation, amalgamation or
             merger is not Holdings (x) the successor Person (such successor Person, " Successor Holdings") expressly
             assumes all obligations of Holdings under this Agreement and the other Loan Documents to which Holdings is
             a party pursuant to a supplement hereto and/or thereto in a fonu reasonably satisfactory to the Administrative
             Agent and (y) the Top Borrower delivers a certificate of a Responsible Officer with respect to the satisfaction
             of the conditions set forth in clause (x) of this clause (A) and (B) Holdings may otherwise convey, sell or
             otherwise transfer all or substantially all of its assets to any other Person (other than the Top Borrower and any
             of its subsidiaries) so long as (x) no Change of Control results therefrom, (y) the Person acquiring such assets
             expressly assumes all of the obligations of Holdings under this Agreement and the other Loan Documents to
             which Holdings is a party pursuant to a supplement hereto and/or thereto in a fom1 reasonably satisfactory to
             the Administrative Agent and (z) the Top Borrower de livers a certificate of a Responsible Officer w ith respect
             to the satisfaction of the conditions under clause (x) set forth in this clause (B); provided, further, that (1) if the
             conditions set forth in the preceding proviso are satisfied, Successor Holdings will succeed to, and be
             substituted for, Holdings under this Agreement and (2) it is understood and agreed that Holdings may convert
             into another form of entity so long as such conversion does not adversely affect the value of the Loan Guaranty
             or the Collateral.

                                                                      ARTICLE 7

                                                               EVENTS OF DEFAULT

                       Section 7.01.          Events of Default. If any of the fo llowing events (each, an " Event of Default") shall
             occur:

                      (a)    Failure To Make Payments When Due. Failure by any Borrower to pay (i) any installment of
             principal of any Loan when due, whether at stated maturity , by acceleration, by notice of voluntary
             prepayment, by mandatory prepayment or otherwise; or (ii) any interest on any Loan or any fee or any other
             amount due hereunder within five Business Days after the date due; or

                       (b)      Default in Other Agreements. (i) Failure by the Top Borrower or any of its Restricted
             Subsidiaries to pay when due any principal of or interest on or any other amount payable in respect of one or
             more items of Indebtedness (other than Indebtedness referred to in clause (a) above) w ith an aggregate
             outstanding principal amount exceeding the T hreshold Amount, in each case beyond the grace period, if any,
             provided therefor; or (ii) breach or default by the Top Borrower or any of its Restricted Subsidiaries with
             respect to any other term of (A) one or more items of Indebtedness with an aggregate outstanding principal
             amount exceeding the Threshold Amount or (B) any loan agreement, mortgage, indenture or other agreement
             re lating to such item(s) of Indebtedness (other than, for the avoidance of doubt, with respect to Indebtedness



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             consisting of Hedging Obligations, tem1ination events or equivalent events pursuant to the terms of the
             re levant Hedge Agreement which are not the result of any default thereunder by any Loan Party or any
             Restricted Subsidiary), in each case beyond the grace period, if any, provided therefor, if the effect of such
             breach or default is to cause, or to permit the holder or holders of such Indebtedness (or a trustee or agent on
             behalf of such holder or holders) to cause, such Indebtedness to become or be declared due and payable (or
             redeemable) prior to its stated maturity or the stated maturity of any underlying obligation, as the case may be;
             provided that clause (ii) of this paragraph (b) shall not apply to secured Indebtedness that becomes due as a
             result of the voluntary sale or transfer of the property securing such Indebtedness if such sale or transfer is
             permitted hereunder; provided, further, that with respect to any default, event or condition referred to in clause
             ill or ili} above with respect to (A) any financial covenant under the ABL Credit Agreement or the
             documentation governing any ABL Facility or any other revolving credit facility, such default, event or
             condition shall only constitute an Event of Default if such default, event or condition results in the holders of
             such Indebtedness demanding repayment thereof or otherwise accelerating such Indebtedness (and terminating
             the commitments thereunder), which demand or acceleration has not been rescinded, (B) any default, event or
             condition with respect to the obligations under the First Lien Credit Agreement or the documentation
             governing any First Lien Facility, such default, event or condition shall only constitute an Event of Default if
             such default, event or condition results in the acceleration of the obligations and the termination of
             commitments thereunder, which acceleration has not been rescinded and (C) any default, event or condition
             other than as described in the immediate ly preceding Clauses (A) and Qll, such default, event or condition is
             unremedied and is not waived by the holders of such Indebtedness prior to any termination of the
             Commitments or acceleration of the Loans pursuant to this Article 7; or

                      (c)      Breach of Certain Covenants. Failure of any Loan Party, as required by the relevant
             provision, to perform or comply with any term or condition contained in Section 5.0l(e)(i) (provided that, the
             delivery of a notice of Default or Event of Default at any time will cure any Default or Event of Default arising
             from the failure to timely deliver such notice of Default or Event of Default, as applicable), Section 5.02 (as it
             applies to the preservation of the exjstence of the Top Borrower) or Article 6; or

                      (d)     Breach of Representations, Etc. Any representation, warranty or certification made or
             deemed made by any Loan Party in any Loan Document or in any certificate required to be delivered in
             connection herewith or therewith (including, for the avoidance of doubt, any Perfection Certificate) being
             untrue in any material respect as of the date made or deemed made; it being understood and agreed that any
             breach of any representation, warranty or certification resulting from the failure of the Administrative Agent to
             file any Uniform Commercial Code continuation statement shall not result in an Event of Default under this
             Section 7.0l(d) or any other provision of any Loan Document; or

                      (e)       Other Defaults Under Loan Documents. Default by any Loan Party in the performance of or
             compliance with any term contained herein or any of the other Loan Documents, other than any such term
             referred to in any other Section of this Article 7, w hich default has not been remedied or waived within 30 days
             after receipt by the Top Borrower of written notice thereof from the Administrative Agent; or

                      (f)       Involuntary Bankruptcv; Appointment of Receiver, Etc. (i) The entry by a court of competent
             jurisdiction of a decree or order for relief in respect of Holdings, the Top Borrower or any of its Restricted
             Subsidiaries (other than any Immaterial Subsidiary) in an involuntary case under any Debtor Relief Law now
             or hereafter in effect, which decree or order is not stayed; or any other similar relief shall be granted under any
             applicable federal, state or local Requirements of Law, which relief is not stayed; or (ii) the commencement of
             an involuntary case against Holdings, the Top Borrower or any of its Restricted Subsidiaries (other than any
             Immaterial Subsidiary) under any Debtor Relief Law; the entry by a court having jurisdiction in the premises
             of a decree or order for the appointment of a receiver, receiver and manager, (preliminary) insolvency receiver,
             liquidator, sequestrator, trustee, administrator, custodian or other officer having similar powers over Holdings,
             the Top Borrower or any of its Restricted Subsidiaries (other than any Immaterial Subsidiary), or over all or a
             material part of its property; or the involuntary appointment of an interim receiver, trustee or other custodian of
             Holdings, the Top Borrower or any of its Restricted Subsidiaries (other than any Immaterial Subsidiary) for all




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             or a material part of its property, which remains, in any case under this clause (Q. undism issed, unvacated,
             unbounded or unstayed pending appeal for 60 consecutive days; or

                       (g)      Voluntary Bankruptcy; Appointment of Receiver. Etc. (i) The entry against Holdings, the
             Top Borrower or any of its Restricted Subsidiaries (other than any Immaterial Subsidiary) of an order for
             relief, the commencement by Holdings, the Top Borrower or any of its Restricted Subsidiaries (other than any
             Immaterial Subsidiary) of a voluntary case under any De btor Relief Law, or the consent by Holdings, the Top
             Borrower or any of its Restricted Subsidiaries (other than any Immaterial Subsidiary) to the entry of an order
             for relief in an involuntary case or to the conversion of an involuntary case to a voluntary case, under any
             Debtor Relief Law, or the consent by Holdings, the Top Borrower or any of its Restricted Subsidiaries (other
             than any Immaterial Subsidiary) to the appointment of or taking possession by a receiver, receiver and
             manager, insolvency receiver, liquidator, sequestrator, trustee, administrator, custodian or other like official for
             or in respect of itself or for all or a material part of its property; (ii) the making by Holdings, the Top Borrower
             or any of its Restricted Subsidiaries (other than any Immaterial Subsidiary) of a general assignment for the
             benefit of creditors; or (iii) the admission by Holdings, the Top Borrower or any of its Restricted Subsidiaries
             (other than any Immaterial Subsidiary) in writing of their inability to pay their respective debts as such debts
             become due; or

                      (h)     Judgments and Attachments. The entry or filing of one or more final money judgments, writs
             or warrants of attachment or similar process against Holdings, the Top Borrower or any of its Restricted
             Subsidiaries or any of their respective assets involving in the aggregate at any time an amount in excess of the
             Threshold Amount (in either case to the extent not adequately covered by indemnity from a third party, by self-
             insurance (if applicable) or by insurance as to w hich the relevant third party insurance company has been
             notified and not denied coverage), which judgment, writ, warrant or similar process remains unpaid,
             undischarged, unvacated, unbonded or unstayed pending appeal for a period of 60 consecutive days; or

                      (i)     Employee Benefit Plans. The occurrence of one or more ERISA Events, which individually
             or in the aggregate result in liability of Holdings, the Top Borrower or any of its Restricted Subsidiaries in an
             aggregate amount which would reasonably be expected to result in a Material Adverse Effect; or

                       (j)        Change of Control. The occurrence of a Change of Control; or

                      (k)      Guaranties. Collateral Documents and Other Loan Documents. At any time after the
             execution and delivery thereof, (i) any material Loan Guaranty for any reason, other than the occurrence of the
             Termination Date, shall cease to be in full force and effect (other than in accordance with its terms) or shall be
             declared, by a court of competent jurisdiction, to be null and void or any Loan Guarantor shall re pudiate in
             wTiting its obligations thereunder (in each case, other than as a result of the discharge of such Loan Guarantor
             in accordance with the terms thereof and other than as a result of any act or omission by the Administrative
             Agent or any Lender), (ii) this Agreement or any material Collateral Document ceases to be in full force and
             effect or shall be declared, by a court of competent jurisdiction, to be null and void or any Lien on Collateral
             created under any Collateral Document ceases to be perfected with respect to a material portion of the
             Collateral (othe r than (A) Collateral consisting of Material Real Estate Assets to the extent that the relevant
             losses are covered by a lender' s title insurance policy and such insurer has not denied coverage or (B) solely by
             reason of (w) such perfection not being required pursuant to the Collateral and Guarantee Requirement, the
             Collateral Documents, this Agreement or otherwise, (x) the failure of the Administrative Agent to maintain
             possession of any Collateral actually delivered to it or the failure of the Administrative Agent to file Uniform
             Commercial Code continuation statements, (y) a release of Collateral in accordance with the tern.is hereof or
             thereof or (z) the occurrence of the Tenu ination Date or any othe r termination of such Collateral Docume nt in
             accordance with the tenns thereot) or (iii) other than in any bona fide, good faith dispute as to the scope of
             Collateral or whether any Lien has been, or is required to be released, any Loan Party shall contest in writing,
             the validity or enforceability of any material provision of any Loan Document (or any Lien purported to be
             created by the Collateral Documents or any Loan Guaranty) or deny in writing that it has any further liability
             (other than by reason of the occurrence of the Termination Date or any other tenuination of any other Loan




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             Document in accordance with the tenns thereof), including with respect to future advances by the Lenders,
             under any Loan Document to which it is a party; it being understood and agreed that the fai lure of the
             Administrative Agent to file any Uniform Commercial Code continuation statement and/or maintain
             possession of any physical Collateral shall not result in an Event of Default under this Section 7. 0 I (k) or any
             other provision of any Loan Document; or

                     (1)      Subordination. The Obligations ceasing or the assertion in writing by any Loan Party that the
             Obligations cease to constitute senior indebtedness under the subordination provis ions of any document or
             instrument evidencing any Junior Lien Indebtedness in excess of the Threshold Amount or any such
             subordination provision being invalidated by a court of competent jurisdiction in a final non-appealable order,
             or otherwise ceasing, for any reason, to be valid, binding and enforceable obligations of the parties thereto;

             then, and in every such event (other than an event with respect to any Borrower described in clause (f) or {g} of
             this Article 7). and at any time thereafter during the continuance of such event, the Administrative Agent may,
             and at the request of the Required Lenders shall, by notice to the Top Borrower, take any of the fo llowing
             actions, at the same or different times: (i) tenninate the Commitments, and there upon such Commitments shall
             tem1inate immediately and (ii) declare the Loans then outstanding to be due and payable in whole (or in part,
             in which case any principal not so declared to be due and payable may thereafter be declared to be due and
             pay able), and thereupon the principal of the Loans so declared to be due and payable, together with accrued
             interest thereon and all fees and other obligations of the Borrowers accrued hereunder, shall become due and
             payable immediate ly, without presentment, demand, protest or other notice of any kind, all of w hich are hereby
             waived by each Borrower; provided that upon the occurrence of an event with respect to any Borrower
             described in clauses (Q or {g} of this Article 7, any such Commitments shall automatically tenninate and the
             principal of the Loans then outstanding, together with accrued interest thereon and all fees and other
             obligations of any Borrower accrued hereunder, shall automatically become due and payable, without
             presentment, demand, protest or other notice of any kind, all of which are hereby waived by each Borrower
             without further action of the Administrative Agent or any Lender. Upon the occurrence and during the
             continuance of an Event of Default, the Administrative Agent may, and at the request of the Required Lenders
             shall, exercise any rights and remedies provided to the Administrative Agent under the Loan Documents or at
             law or equity, including all remedies provided under the UCC.

                                                               ARTICLE 8

                                                   THE ADMINISTRATIVE AGENT

                      Each of the Lenders hereby irrevocably appoints GS (or any successor appointed pursuant hereto) as
             Administrative Agent and authorizes the Administrative Agent to take such actions on its behalf, including
             execution of the other Loan Documents, and to exercise such powers as are delegated to the Administrative
             Agent by the terms of the Loan Documents, together with such actions and powers as are reasonably incidental
             thereto.

                      Any Person serving as Administrative Agent hereunder shall have the same rights and powers in its
             capacity as a Lender as any other Lender and may exercise the same as though it were not the Administrative
             Agent, and the term "Lender'' or "Lenders" shall, unless othen,vise expressly indicated, unless the context
             otherwise requires or unless such Person is in fact not a Lender, include each Person serving as Administrative
             Agent hereunder in its individual capacity. Such Person and its Affiliates may accept deposits from, lend
             money to, act as the financial advisor or in any other advisory capacity for and generally engage in any kind of
             bus iness with any Loan Party or any subsidiary of any Loan Party or other Affiliate thereof as if it were not the
             Administrative Agent here under.        The Lenders acknowledge that, pursuant to such activities, the
             Administrative Agent or its Affiliates may receive information regarding any Loan Party or any of its
             Affiliates (including information that may be subject to confidentiality obligations in favor of such Loan Party
             or such Affiliate) and acknowledge that the Administrative Agent shall not be under any obligation to provide
             such information to them.




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                       The Administrative Agent shall not have any duties or obligations except those expressly set forth in
             the Loan Documents. Without limiting the generality of the foregoing, (a) the Administrative Agent shall not
             be subject to any fiduciary or other implied duties, regardless of whether a Default or Event of Default exists,
             and the use of the term "agent" herein and in the other Loan Documents with reference to the Administrative
             Agent is not intended to connote any fiduciary or other implied (or express) obligations arising under agency
             doctrine of any applicable Requirements of Law; it being understood that such tenn is used merely as a matter
             of marke t custom, and is inte nded to create or reflect only an administrative relationship be tween independent
             contracting parties, (b) the Administrative Agent shall not have any duty to take any discretionary action or
             exercise any discretionary power, except discretionary rights and powers that are expressly contemplated by
             the Loan Documents and which the Administrative Agent is required to exercise in writing as directed by the
             Required Lenders (or such other number or percentage of the Lenders as shall be necessary under the relevant
             circumstances as provided in Section 9.02); provided that the Administrative Agent shall not be required to
             take any action that, in its opinion or the opinion of its counsel, may expose the Administrative Agent to
             liability or that is contrary to any Loan Docume nt or applicable Requirements of Law, and (c) except as
             expressly set forth in the Loan Documents, the Administrative Agent shall not have any duty to disclose, and
             shall not be liable for the failure to disclose, any information relating to Holdings or any of its subsidiaries that
             is communicated to or obtained by the Person serving as Administrative Agent or any of its Affiliates in any
             capacity. The Administrative Agent shall not be liable to the Lenders or any other Secured Party for any
             action taken or not taken by it with the consent or at the request of the Required Lenders (or such other number
             or percentage of the Lende rs as is necessary, or as the Administrative Agent believes in good faith shall be
             necessary, under the relevant circumstances as provided in Section 9.02) or in the absence of its own gross
             negligence or willful misconduct, as determined by the final judgment of a court of competent jurisdiction, in
             connection w ith its duties expressly set forth herein. The Administrative Agent shall not be deemed to have
             knowledge of any Default or Event of Default unless and until written notice thereof is given to the
             Administrative Agent by the Top Borrower or any Lender, and the Administrative Agent shall not be
             responsible for or have any duty to ascertain or inquire into (i) any statement, warranty or representation made
             in or in connection with any Loan Document, (ii) the contents of any certificate , report or other document
             delivered hereunde r or in connection with any Loan Document, (iii) the performance or observance of any
             covenant, agreement or other term or condition set forth in any Loan Document or the occurrence of any
             Default or Event of Default, (iv) the validity, enforceability, effectiveness or genuineness of any Loan
             Document or any other agreement, instmment or document, (v) the creation, perfection or priority of any Lien
             on the Collateral or the existence, value or sufficiency of the Collateral or to assure that the Liens granted to
             the Administrative Agent pursuant to any Loan Document have been or will continue to be properly or
             sufficiently or lawfully created, perfected or enforced or are entitled to any particular priority, (vi) the
             satisfaction of any condition set forth in Article 4 or elsewhere in any Loan Document, other than to confirm
             receipt of items expressly required to be delivered to the Administrative Agent or (vii) any property, book or
             record of any Loan Party or any Affiliate thereof.

                      Notwithstanding anything to the contrary contained herein or in any of the other Loan Documents, the
             Borrowers, the Administrative Agent and each Secured Party agree that (i) no Secured Party shall have any
             right individually to realize upon any of the Collateral or to enforce the Loan Guaranty; it being understood
             that any right to realize upon the Collateral or enforce any Loan Guaranty against any Loan Party pursuant
             here to or pursuant to any other Loan Document may be exercised solely by the Administrative Agent on behalf
             of the Secured Parties in accordance with the terms hereof or thereof , and (ii) in the event of a foreclosure by
             the Administrative Agent on any of the Collateral pursuant to a public or private sale or in the event of any
             other Disposition (including pursuant to Section 363 of the Bankruptcy Code), (A) the Administrative Agent,
             as agent for and representative of the Secured Parties, shall be entitled, for the purpose of bidding and making
             settlement or payment of the purchase price for all or any portion of the Collateral sold at any such sale or
             other Disposition, to use and apply all or any portion of the Obligations as a credit on account of the purchase
             price for any Collateral payable by the Administrative Agent at such sale or other Disposition and (B) the
             Administrative Agent or any Lender may be the purchaser or lice nsor of all or any portion of such Collateral at
             any such Disposition.




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                      No holder of any Secured Hedging Obligation or Banking Services Obligation in its respective
             capacity as such shall have any rights in connection with the management or release of any Collateral or of the
             obligations of any Loan Party under this Agreement.

                      Each Secured Party agrees that the Administrative Agent may in its sole discretion, but is under no
             obligation to credit bid any part of the Secured Obligations or to purchase or retain or acquire any portion of
             the Collateral.

                      The Administrative Agent shall be entitled to rely upon, and shall not incur any liability for relying
             upon, any notice, request, certificate, consent, statement, instrument, document or other writing (including any
             electronic message, Internet or intranet website posting or other distribution) that it believes to be genuine and
             to have been signed, sent or otherwise authenticated by the proper Person. The Administrative Agent also may
             rely upon any statement made to it orally or by telephone and believed by it to have been made by the proper
             Person and shall not incur any liability for relying thereon. In determining compliance with any condition
             hereunder to the making of a Loan that by its terms must be fulfilled to the satisfaction of a Lender, the
             Administrative Agent may presume that such condition is satisfactory to such Lender unless the
             Administrative Agent has received notice to the contrary from such Lender prior to the making of such Loan.
             The Administrative Agent may consult with legal counsel (who may be counsel for the Top Borrower),
             independent accountants and other experts selected by it, and shall not be liable for any action taken or not
             taken by it in accordance with the advice of any such counsel, accountants or experts.

                      The Administrative Agent may perfonn any and all of its duties and exercise its rights and powers by
             or through any one or more sub-agents appointed by it. The Administrative Agent and any such sub-agent
             may perform any and all of their respective duties and exercise their respective rights and powers through their
             respective Related Parties. The exculpatory provisions of this Article shall apply to any such sub-agent and to
             the Related Parties of the Administrative Agent and any such sub-agent and shall apply to their respective
             activities in connection with the syndication of the credit facilities provided for herein as well as activities as
             the Administrative Agent.

                      The Administrative Agent may resign at any time by giving ten days' written notice to the Lenders
             and the Top Borrower: provided that if no successor agent is appointed in accordance with the terms set forth
             below within such IO-day period, the Administrative Agent' s resignation shall not be effective until the earlier
             to occur of (x) the date of the appointment of the successor agent or (y) the date that is twenty (20) days after
             the last day of such 10-day period. If the Administrative Agent is a Defaulting Lender or an Affiliate of a
             Defaulting Lender, either the Required Lenders or the Top Borrower may, upon ten days' notice, remove the
             Administrative Agent; provided that if no successor agent is appointed in accordance with the terms set forth
             below within such I 0-day period, the Administrative Agent's removal shall, at the option of the Top Borrower,
             not be effective until the earlier to occur of (x) the date of the appointment of the successor agent or (y) the
             date that is twenty (20) days after the last day of such 10-day period. Upon receipt of any such notice of
             resignation or delivery of any such notice of removal, the Required Lenders shall have the right, with the
             consent of the Top Borrower (not to be unreasonably withheld or delayed), to appoint a successor
             Administrative Agent which shall be a commercial bank or trust company with offices in the US having
             combined capital and surplus in excess of$1,000,000,000; provided that during the existence and continuation
             of an Event of Default under Section 7.0I(a) or, with respect to any Borrower, Sections 7.01(0 or (g), no
             consent of the Top Borrower shall be required. If no successor has been appointed as provided above and
             accepted such appointment within ten days after the retiring Administrative Agent gives notice of its
             resignation or the Administrative Agent receives notice of removal, then (a) in the case of a retirement, the
             retiring Administrative Agent may (but shall not be obligated to), on behalf of the Lenders, appoint a successor
             Administrative Agent meeting the qualifications set forth above (including, for the avoidance of doubt, the
             consent of the Top Borrower) or (b) in the case of a removal, the Top Borrower may, after consulting with the
             Required Lenders, appoint a successor Administrative Agent meeting the qualifications set forth above;
             provided that (x) in the case of a retirement, if the Administrative Agent notifies the Top Borrower and the
             Lenders that no qualifying Person has accepted such appointment or (y) in the case of a removal, the Top




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             Borrower notifies the Required Lende rs that no qualifying Person has accepted such appointment, then, in each
             case, such resignation or removal shall nonetheless become effective in accordance with the provisos to the
             first hvo sentences in this paragraph and (i) the retiring or removed Administrative Agent shall be discharged
             from its duties and obligations hereunder and under the other Loan Documents (except that in the case of any
             collateral security held by the Administrative Agent in its capacity as collateral agent for the Secured Parties
             for purposes of maintaiJ1ing the perfection of the Lien on the Collateral securing the Secured Obligations, the
             retiring Administrative Agent shall continue to hold such collateral security until such time as a successor
             Administrative Agent is appointed) and (ii) all payments , communications and determinations required to be
             made by, to or through the A dministrative Agent shall instead be made by or to each Lender directly (and each
             Lender will cooperate w ith the Top Borrower to e nable the Top Borrower to take such actions), until such time
             as the Required Lenders or the Top Borrower, as applicable, appoint a successor A dministrative Agent, as
             provided above in this Article 8. Upon the acceptance of its appointment as Administrative Agent here unde r
             as a successor Administrative Agent, the successor Administrative Agent shall succeed to and become vested
             with all the rights, powers, privileges and duties of the retiring or removed Administrative Agent (othe r than
             any rights to indemnity payments owed to the retiring Administrative Agent), and the retiring or removed
             Administrative Agent shall be discharged from its duties and obligations hereunder (other than its obligations
             under Section 9.13 hereof). The fees pay able by the Borrowers to any successor Administrative Agent shall be
             the same as those payable to its predecessor unless otherwise agreed behveen the Top Borrower and such
             successor Administrative Agent. After the Administrative Agent's resignation or removal hereunder, the
             provisions of this Article and Section 9 .03 shall continue in effect for the benefit of such re tiring or removed
             Administrative Agent, its sub-age nts and their respective Related Parties in respect of any action take n or
             omitted to be taken by any of them w hile the relevant Person was acting as Administrative Agent (including
             for this purpose holding any collateral security following the retirement or removal of the Administrative
             Agent). Notwithstanding anything to the contrary herein, no Disqualified Institution (nor any Affiliate thereof)
             may be appoiJ1ted as a successor Administrative Agent.

                      Each Le nde r acknowledges that it has, independently and without reliance upon the Adm inistrative
             Agent or any other Le nder or any of their Related Parties and based on such documents and infonuation as it
             has deemed appropriate, made its own credit analysis and decision to e nter into this Agreement. Each Lender
             also acknow ledges that it will, independently and without reliance upon the Administrative Agent or any other
             Le nder or any of their respective Related Parties and based on such documents and infonu ation as it shall from
             time to time deem appropriate, continue to make its own decisions in taking or not taking action under or based
             upon this Agreement, any other Loan Document or related agreement or any document furnished hereunder or
             thereunder. Except for notices, reports and other documents expressly required to be furnished to the Lenders
             by the Administrative Agent he rein, the Administrative Agent shall not have any duty or responsibility to
             provide any Le nder with any credit or othe r information concerning the business, prospects, operations,
             property, financial and other condition or creditworthiness of any of the Loan Parties or any of their respective
             Affiliates w hich may come into the possession of the Administrative Agent or any of its Re lated Parties.

                      Notwithstanding anything to the contrary herein, the Arrangers shall not have any right, power,
             obligation, liability, responsibility or duty under this Agreement, except in their respective capacities as the
             Administrative Agent or a Lender hereunder, as applicable.

                    Each Secured Party irrevocably authorizes and instructs the Administrative Agent to, and the
             Administrative Agent shall:

                      (a)      re lease any Lien on any prope rty granted to or held by the Administrative Agent under any
             Loan Docume nt (i) upon the occurrence of the Term ination Date, (ii) that is sold or to be sold or transfe rred as
             part of or in connection w ith any Disposition permitted under the Loan Documents to a Person that is not a
             Loan Party, (iii) that does not constitute (or ceases to constitute) Collateral, (iv) if the property subject to such
             Lien is owned by a Subsidiary Guarantor, upon the release of such Subsidiary Guarantor from its Loan
             Guaranty otherwise in accordance with the Loan Documents, (v) as required under clause (d) below or (vi) if
             approved, authorized or ratified in writing by the Required Lenders in accordance with Section 9.02;




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                      (b)      subject to Section 9.22, release any Subsidiary Guarantor from its obligations under the Loan
             Guaranty if such Person ceases to be a RestTicted Subsidiary (or becomes an Excluded Subsidiary as a result of
             a single transaction or series of related transactions permitted hereunder and the Top Borrower has requested
             such Excluded Subsidiary cease to be a Subsidiary Guarantor);

                       (c)     subordinate any Lien on any property granted to or held by the Administrative Agent under
             any Loan Document to the holder of any Lien on such property that is penuitted by Sections 6.02(d). 6.02(e).
             6.02(g)(i). 6.02(1), 6.02(m), 6.02(n), 6.02(o)(i) (other than any Lien on the Capital Stock of any Subsidiary
             Guarantor), M.lig}, 6.02(r), 6.02(s) (to the extent the relevant Lien is of the type to which the Lien of the
             Administrative Agent is a First Priority Lien or otherwise required to be subordinated under this clause (c)
             pursuant to any of the other exceptions to Section 6.02 that are expressly included in this clause (c). 6.02(u) ( to
             the extent the relevant Lien is a First Priority Lien or is of the type to which the Lien of the Administrative
             Agent is otherwise required to be subordinated under this clause (c) pursuant to any of the other exceptions to
             Section 6.02 (i.e., the exceptions other than Section 6.02(u)) that are expressly included in this clause (c)).
             6.02(x), 6.02(v). 6.02(z)(i). 6.02(bb). 6.02(cc), 6.02(dd) (in the case of clause (ii). to the extent the relevant
             Lien covers Cash or Cash Equivalents posted to secure the relevant obligation), 6.02(ee), 6.02(ff), 6.02(gg)
             and/or 6.02(hh) (and any Refinancing Indebtedness in respect of any thereof to the extent such Refinancing
             Indebtedness is permitted to be secured under Section 6.02(k)); provided, that the subordination of any Lien on
             any property granted to or held by the Administrative Agent shall only be required with respect to any Lien on
             such property that is permitted by Sections 6.02(1), 6.02(0), M.lig}, 6.02(r), 6.02(u), 6.02(bb) and/or 6.02(hh)
             to the extent that the Lien of the Administrative Agent with respect to such property is required to be
             subordinated to the relevant Permitted Lien in accordance with the documentation governing the Indebtedness
             that is secured by such Permitted Lien; and

                     (d)      enter into subordination, intercreditor, collateral trust and/or similar agreements with respect
             to Indebtedness (including the Initial Intercreditor Agreements and any other Acceptable Intercreditor
             Agreement and/or any amendment to the Initial lntercreditor Agreements and/or any Acceptable lntercreditor
             Agreement) that is (i) required or penuitted to be subordinated hereunder and/or (ii) secured by Liens
             permitted hereunder, and with respect to which Indebtedness, this Agreement contemplates an intercreditor,
             subordination, collateral trust or similar agreement.

                      Upon the request of the Administrative Agent at any time, the Required Lenders will confinu in
             writing the Administrative Agent' s authority to release or subordinate its interest in particular types or items of
             property, or to release any Loan Party from its obligations under the Loan Guaranty or its Lien on any
             Collateral pursuant to this Article 8. In each case as specified in this Article 8, the Administrative Agent will
             (and each Lender hereby authorizes the Administrative Agent to), at the Borrowers' expense, execute and
             deliver to the applicable Loan Party such documents as such Loan Party may reasonably request to evidence
             the release of such item of Collateral from the assignment and security interest granted under the Collateral
             Documents, to subordinate its interest therein, or to release such Loan Party from its obligations under the
             Loan Guaranty, in each case in accordance with the tenns of the Loan Documents and this Article 8; provided,
             that upon the request of the Administrative Agent, the Top Borrower shall deliver a certificate of a Responsible
             Officer certifying that the relevant transaction has been consummated in compliance with the terms of this
             Agreement.

                       The Administrative Agent is authorized by the Lenders and each other Secured Party to enter into the
             Initial Intercreditor Agreements, any other Acceptable Intercreditor Agreement and any other intercreditor,
             subordination, collateral tTust or similar agreement contemplated hereby with respect to any (a) Indebtedness
             (i) that is (A) required or pennitted hereunder to be subordinated in right of payment or with respect to security
             and/or (B) secured by any Lien and (ii) which contemplates an intercreditor, subordination, collateral trust or
             similar agreement and/or (b) Secured Hedging Obligations and/or Banking Services Obligations, whether or
             not constituting Indebtedness (any such other intercreditor, subordination, collateral trust and/or similar
             agreement an " Additional Agreement"), and the Secured Parties party hereto acknowledge that the Initial
             lntercreditor Agreements, any Acceptable Intercreditor Agreement and any other Additional Agreement is



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             binding upon them. Each Lender and each other Secured Party party hereto here by (a) agrees that they will be
             bound by, and will not take any action contrary to, the provisions of the Initial Jntercreditor Agreements, any
             Acceptable Intercreditor Agreement or any other Additional Agreement and (b) authorizes and instructs the
             Administrative Agent to enter into the Initial lntercreditor Agreements, any Acceptable Intercreditor
             Agreement and/or any other Additional Agreement and to subject the Liens on the Collateral securing the
             Secured Obligations to the provisions thereof. The foregoing provisions are iJ1tended as an inducement to the
             Secured Parties lo extend credit to the Borrowers, and the Secured Parties are intended third-party beneficiaries
             of such provisions and the provisions of the Initial Intercreditor Agreements, any Acceptable Intercreditor
             Agreement and/or any other Additional Agreement.

                       To the extent that the Administrative Agent (or any Affiliate thereof) is not reimbursed and
             indemnified by the Top Borrower in accordance with and to the extent required by Section 9.03(b) hereof, the
             Lenders will reimburse and indemnify the Administrative Agent (and any Affiliate thereot) in proportion to
             their respective Applicable Percentages (detennined as if there were no Defaulting Lenders) for and against
             any and all liabilities, obligations, losses, damages, penalties, claims, actions, judgments, costs, expenses or
             disbursements of w hatsoever kind or nature which may be imposed on, asserted against or incurred by the
             Administrative Agent (or any Affiliate thereof) in performing its duties here under or under any other Loan
             Document or in any way relating to or arising out of this Agreement or any other Loan Document; provided
             that no Lender shall be liable for any portion of such liabilities, obligations, losses, damages, penalties, claims,
             actions, judgments, suits, costs, expenses or disbursements resulting from the Administrative Agent's (or such
             affiliate's) gross negligence or willful misconduct (as determiJ1ed by a court of competent j urisdiction in a fin al
             and non-appealable decision).

                       To the extent required by any a pplicable Requirement of Law (as determined in good faith by the
             Administrative Agent), the Administrative Agent may withhold from any payment to any Lender under any
             Loan Document an amount equivalent to any applicable withholding Tax. Without limiting or expanding the
             provisions of Section 2.17, each Lender shall indemnify and hold harmless the Administrative Agent against,
             and shall make payable in respect thereof within ten days after demand therefor, any and all Taxes and any and
             all related losses, c laims, liabilities and expenses (including fees, charges and disbursements of any counsel for
             the Administrative Agent) incurred by or asserted against the Administrative Agent by the IRS or any other
             Governmental Authority as a result of the failure of the Administrative Agent to properly withhold Tax from
             amounts paid to or for the account of such Lender for any reason (including because the appropriate form was
             not delivered or not properly executed, or because such Lender failed to notify the Administrative Agent of a
             change in circumstance that rendered the exemption from, or reduction of withholding Tax ineffective). A
             certificate as to the amount of such payment or liability delivered to any Lender by the Administrative Agent
             shall be conclusive absent manifest error. Each Lender hereby authorizes the Administrative Agent to set off
             and apply any and all amounts at any time owiJ1g to such Lender under this Agreement or any other Loan
             Document against any amount due the Administrative Agent under this paragraph. The agreements in this
             paragraph shall survive the resignation or replacement of the Adm inistrative Agent or any assignment of rights
             by, or the re placement of, any Lender, the termination of the Commitments and the repayment, satisfaction or
             discharge of all obligations under any Loan Document.

                                                                ARTICLE 9

                                                            MISCELLANEOUS

                       Section 9 .0 1.        Notices.

                      (a)     Except in the case of notices and other communications expressly penn itted to be given by
             telephone (and subject to paragraph (b) below), all notices and other communications provided for herein shall
             be in writing and shall be delivered by hand or overnight courier service, mailed by certified or registered mail
             or sent by facsimile or email, as follows:




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                                  (i)         ifto any Loan Party, to such Loan Party in the care of the Top Borrower at:

                                  Serta Simmons Bedding, LLC
                                  3560 Lenox Rd., Suite 11 00
                                  Atlanta, GA 30326
                                  Attention: D. Paul Dascoli
                                  Email: pdascoli@sertasimmons.com
                                  Facsimile: (770) 206-2669

                                  with copies to (which shall not constitute notice to any Loan Party):

                                  Serta Simmons Bedding, LLC
                                  3560 Lenox Rd., Suite 11 00
                                  Atlanta, GA 30326
                                  Attention: Kristen McGuffey
                                  Email: kmcguffey@sertasimmons.com
                                  Facsimile: (770) 206-2669

                                  and

                                  Advent International Corporation
                                  75 State Street, 2nd floor
                                  Boston, 02109 MA
                                  Attention: Jefferson Case
                                  Email: jcase@adventinternational.com
                                  Facsimile: (617)951-0566

                                  and

                                  Advent International Corporation
                                  12 E. 49th Street, 45th Floor
                                  New York, New York 10152
                                  Attention: Ken Prince
                                  Email: kprince@Adventlnternational.com

                                  and

                                  Weil, Gotshal & Manges LLP
                                  767 Fifth Avenue
                                  New York, New York 10153
                                  Attention: Allison R. Liff
                                  Email: allison.liff@ weil.com
                                  Facsimile: (212) 3 10-8007

                                  (ii)        if to the Administrative Agent, at:

                                  Goldman Sachs Bank USA,
                                  200 West Street
                                  New York, New York 10282
                                  Attn: Operations Team
                                  Email: gs-sbd-admin-contacts@ny.email.gs.com
                                  Phone: (212) 906-1099
                                  Facsimile: (917) 977-3966




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                               (iii)          ifto any Lender, to it at its address or facsimile number set forth in its Administrative
                       Questionnaire.

             All such notices and other communications (A) sent by hand or overnight courier sen,ice, or mailed by
             certified or registered mail, shall be deemed to have been given when delivered in person or by courier service
             and signed for against receipt thereof or three Business Days after dispatch if sent by certified or registered
             mail, in each case, delivered, sent or mailed (properly addressed) to the relevant party as provided in this
             Section 9.01 or in accordance with the latest unrevoked direction from such party given in accordance w ith this
             Section 9.01 or (B) sent by facsimi le shall be deemed to have been given when sent and when receipt has been
             confirn1ed by telephone; provided that notices and other communications sent by te lecopier shall be deemed to
             have been given when sent (except that, if not given during normal business hours for the recipient, such
             notices or other communications shall be deemed to have been given at the opening of business on the next
             Business Day for the recipient).          Notices and other communications delivered through electronic
             communications to the extent provided in clause (b) below shall be effective as provided in such c lause (b).

                      (b)      Notices and other communications to the Lenders hereunder may be delivered or furnished by
             electronic communications (including e-mail and Internet or intranet websites) pursuant to procedures set forth
             herein or otherwise approved by the Administrative Agent. The Administrative Agent or the Top Borrower
             (on behalf of any Loan Party) may, in its discretion, agree to accept notices and other communications to it
             hereunder by electronic communications pursuant to procedures set forth herein or otherwise approved by it;
             provided that approval of such procedures may be limited to particular notices or communications. All such
             notices and other communications (i) sent to an e-mail address shall be deemed received upon the sender's
             receipt of an acknowledgement from the intended recipient (such as by the "return receipt requested" function,
             as available, return e-mail or other written acknowledgement); provided that any such notice or communication
             not given during the normal business hours of the recipient shall be deemed to have been given at the opening
             of business on the next Business Day for the recipient or (ii) posted to an Internet or intranet website shall be
             deemed received upon the deemed receipt by the intended recipient at its e-mail address as described in the
             foregoing clause (b)(i) of notification that such notice or communication is available and identifying the
             website address therefor.

                     (c)     Any party hereto may change its address or facsimile number or other notice information
             hereunder by notice to the other parties hereto; it being understood and agreed that the Top Borrower may
             provide any such notice to the Administrative Agent as recipient on behalf of itself and each Lender.

                      (d)      Each of Holdings and the Top Borrower hereby acknowledges that (a) the Administrative
             Agent will make available to the Lenders materials and/or information provided by, or on behalf of, Holdings
             or the Top Borrower hereunder (collectively, the "Borrower Materials") by posting the Borrower Materials on
             the Platform and (b) certain of the Lenders may be " public-side" Lenders (i.e. , Lenders that do not wish to
             receive material nonpublic information within the meaning of the United States federal securities laws with
             respect to Holdings, the Top Borrower or their respective securities) (each, a "Public Lender"). At the request
             of the Administrative Agent, each of Holdings and the Top Borrower hereby agrees that (i) all Borrower
             Materials that are to be made available to Public Lenders shall be clearly and conspicuously marked
             "PUBLIC", (ii) by marking Borrower Materials "PUBLIC," Holdings and the Top Borrower shall be deemed
             to have authorized the Administrative Agent and the Lenders to treat such Borrower Materials as information
             of a type that would (A) customarily be made publicly available, as determined in good faith by the Top
             Borrower, if Holdings or the Top Borrower were to become public reporting companies or (B) would not be
             material with respect to Holdings, the Top Borro-..ver, their respective subsidiaries, any of their respective
             securities or the Transactions as detenuined in good faith by the Top Borrower for purposes of the United
             States federal securities laws and (iii) the Administrative Agent shall be required to treat Borrower Materials
             that are not marked "PUBLIC" as being suitable only for posting on a portion of the Platform not marked as
             "Public Investor." Notwithstanding the foregoing, the following Borrower Materials shall be deemed to be
             marked "PUBLIC," unless the Top Borrower notifies the Administrative Agent promptly that any such
             document contains material nonpublic infonuation (it being understood that the Top Borrower shall have a



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             reasonab)e opportunity to review the same prior to distribution and comply with SEC or other applicable
             aisclosure obligations): (1) the Loan Documents and (2) any infonnation delivered pursuant to Section 5.01(a)
             lt ru.v
                      Each Public Lender agrees to cause at least one individual at or on behalf of such Public Lender to at
             all times have selected the "Private Side Information" or similar designation on the content declaration screen
             of the Platform in order lo enable such Public Lender or its delegate, in accordance with such Public Lender's
             compliance procedures and applicable law, including United States Federal and state securities laws, to make
             reference to communications that are not made available through the "Public Side Information" portion of the
             Platform and that may contain material non-public information with respect to the Top Borrower or its
             securities for purposes of United States Federal or state securities laws.

                   THE PLATFORM IS PROVIDED "AS IS" AND "AS AVAILABLE." NEITHER THE
             ADMINISTRATIVE AGENT NOR ANY OF ITS RELATED PARTIES WARRANTS THE ACCURACY
             OR COMPLETENESS OF THE COMMUNICATIONS ON, OR THE ADEQUACY OF, THE PLATFORM,
             AND EACH EXPRESSLY DISCLAIMS LIABILITY FOR ERRORS OR OMISSIONS IN ANY SUCH
             COMMUNICATION. NO WARRANTY OF ANY KJND, EXPRESS, IMPLIED OR STATUTORY,
             INCLUDING ANY WARRANTY OF MERCHANTABILITY, FITNESS FOR APARTICULAR PURPOSE,
             NONINFRINGEMENT OF THIRD-PARTY RIGHTS OR FREEDOM FROM VIRUSES OR OTHER CODE
             DEFECTS IS MADE BY THE ADMINISTRATIVE AGENT OR ANY OF ITS RELATED PARTIES IN
             CONNECTION WITH THE COMMUNICATIONS OR THE PLATFORM. IN NO EVENT SHALL ANY
             PARTY HERETO OR ANY OF ITS RELATED PARTIES HAVE ANY LIABILITY TO ANY OTHER
             PARTY HERETO OR ANY OTHER PERSON FOR DAMAGES OF ANY KIND, WHETHER OR NOT
             BASED ON STRICT LIABILITY AND INCLUDING DIRECT OR INDIRECT, SPECIAL, INCIDENTAL
             OR CONSEQUENTIAL DAMAGES, LOSSES OR EXPENSES (WHETHER IN TORT, CONTRACT OR
             OTHERWISE) ARISING OUT OF ANY LOAN PARTY'S OR THE ADMINISTRATIVE AGENT' S
             TRANSMISSION OF COMMUNICATIONS THROUGH THE INTERNET, EXCEPT TO THE EXTENT
             THE LIABILITY OF ANY SUCH PERSON IS FOUND IN A FINAL RULING BY A COURT OF
             COMPETENT JUR1SDICTION TO HA VE RESULTED FROM SUCH PERSON'S GROSS NEGLIGENCE
             OR WILLFUL MISCONDUCT OR MATERIAL BREACH OF THIS AGREEMENT.

                       Section 9.02.          Waivers; Amendments.

                      (a)     No failure or delay by the Administrative Agent or any Lender in exercising any right or
             power hereunder or under any other Loan Document shall operate as a waiver thereof except as provided
             herein or in any Loan Document, nor shall any single or partial exercise of any such right or power, or any
             abandonment or discontinuance of steps to enforce such a right or power, preclude any other or further
             exercise thereof or the exercise of any other right or power. The rights and remedies of the Administrative
             Agent and the Lenders hereunder and under any other Loan Document are cumulative and are not exclusive of
             any rights or remedies that they would otherwise have. No waiver of any pro·vision of any Loan Document or
             consent to any departure by any party hereto therefrom shall in any event be effective unless the same is
             permitted by this Section 9.02, and then such waiver or consent shall be effective only in the specific instance
             and for the purpose for which it is given. Without limiting the generality of the foregoing, to the extent
             permitted by applicable Requirements of Law, the making of any Loan shall not be construed as a waiver of
             any Default or Event of Default, regardless of whether the Administrative Agent or any Lender may have had
             notice or knowledge of such Default or Event of Default at the time.

                      (b)     Subject to this Section 9.02(b) and Sections 9.02(c) and (Q} below and to Section 9.05{f),
             neither this Agreement nor any other Loan Document nor any provision hereof or thereof may be waived,
             amended or modified, except (i) in the case of this Agreement, pursuant to an agreement or agreements in
             writing entered into by the Top Borrower and the Required Lenders (or the Administrative Agent with the
             consent of the Required Lenders) or (ii) in the case of any other Loan Document (other than any waiver,
             amendment or modification to effectuate any modification thereto expressly contemplated by the terms of such



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             other Loan Documenl), pursuant to an agreement or agreements in writing entered into by the Administrative
             Agent and each Loan Party that is party thereto, with the consent of the Required Lenders; provided that,
             notwithstanding the foregoing:

                                          (A)      the consent of each Lender directly and adversely affected thereby (but not
                                  the consent of the Required Lenders) shall be required for any waiver, amendment or
                                  modification that:

                                                       (1)     increases the Commitment of such Lender (other than with respect
                                              to any Incremental Facility pursuant to Section 2.22 or any Extended Term Loans
                                              pursuant to Section 2.23 in respect of which such Lender has agreed to be an
                                              Additional Lender); it being understood that no amendment, modification or waiver
                                              of, or consent to departure from, any condition precedent, representation, warranty,
                                              covenant, Default, Event of Default, mandatory prepayment or mandatory reduction
                                              of the Commitments shall constitute an increase of any Commitment of such Lender;

                                                      (2)      reduces the principal amount of any Loan owed to such Lender;

                                                       (3)      (x) extends the scheduled final maturity of any Loan or (y)
                                              postpones any Interest Payment Date with respect to any Loan held by such Lender
                                              or the date of any scheduled payment of any fee or premium payable to such Lender
                                              hereunder (in each case, other than any extension for administrative reasons agreed
                                              by the Administrative Agent);

                                                       (4)      reduces the rate of interest (other than to waive any Default or
                                              Event of Default or obligation of the Borrowers to pay interest to such Lender at the
                                              default rate of interest under Section 2.13(c), which shall only require the consent of
                                              the Required Lenders) or the amount of any fee or premium owed to such Lender; it
                                              being understood that no change in the definition of ''First Lien Leverage Ratio" or
                                              any other ratio used in the calculation of the Applicable Rate or in the calculation of
                                              any other interest, fee or premium due hereunder (including any component
                                              definition thereof) shall constitute a reduction in any rate of interest or fee hereunder;

                                                       (5)      extends the expiry date of such Lender' s Commitment; it being
                                              understood that no amendment, modification or waiver of, or consent to departure
                                              from , any condition precedent, representation, warranty, covenant, Default, Event of
                                              Default, mandatory prepayment or mandatory reduction of any Comm itment shall
                                              constitute an extension of any Commitment of any Lender; and

                                                       (6)    waives, amends or modifies the provisions of Section 2. I 8(b) or (£)
                                              of this Agreement in a manner that would by its terms alter the pro rata sharing of
                                              payments required thereby (except in connection with any transaction pennitted
                                              under Sections 2.22, 2.23, 9.02(c) and/or 9.05(g) or as otherwise provided in this
                                              Section 9 .02);

                                              (B)     no such agreement shall:

                                                       (I)      change any of the provisions of Section 9.02(a) or Section 9.02(b)
                                              or the definition of " Required Lenders" to reduce any voting percentage required to
                                              waive, amend or modify any right thereunder or make any determination or grant any
                                              consent thereunder, without the prior written consent of each Lender;




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                                                       (2)     re lease all or substantially all of the Collateral from the Lien granted
                                              pursuant to the Loan Documents (except as othen-vise permitted herein or in the other
                                              Loan Documents, including pursuant to Article 8 or Section 9.22 hereof), without the
                                              prior written consent of each Lender; or

                                                      (3)      release all or substantially all of the value of the Guarantees under
                                              the Loan Guaranty (except as otherwise permitted herein or in the other Loan
                                              Documents, including pursuant to Section 9.22 hereof), without the prior written
                                              consent of each Lender;

                                          (C)     no such agreement shall amend, modify or otherwise affect the rights or
                                  duties of the Administrative Agent hereunder without the prior written consent of the
                                  Administrative Agent.

                      (c)     Notwithstanding the foregoing, this Agreement may be amended with the written consent of
             the relevant Borrower and the Lenders providing the relevant Replacement Tem1 Loans to permit the
             refinancing or replacement of all or any portion of the outstanding Loans under the applicable Class (any such
             loans being refinanced or replaced, the "Replaced Tenn Loans") with one or more replacement tenn loans
             hereunder ("Replacement Term Loans") pursuant to a Refinancing Amendment provided that

                                (i)     the aggregate principal amount of any Class of Replacement Term Loans shall not
                       exceed the aggregate principal amount of the relevant Replaced Term Loans (plus ( 1) any additional
                       amount pern1itted to be incurred under Section 6.01 (other than Section 6.01(a)) and, to the extent any
                       such additional amount is secured, the related Lien is permitted under Section 6.02 (other than Section
                       6.02(a)) and plus (2) the amount of any accrued interest, penalty and/or premium (including any
                       tender premium) thereon, any committed but undrawn amount, and/or any underwriting discount, fees
                       (including any upfront fee and/or original issue discount), commission and/or expense associated
                       therewith),

                                (ii)    any Class of Replacement Term Loans (other than Customary Bridge Loans) must
                       have a final maturity date that is equal to or later than the final maturity date of, and have a Weighted
                       Average Life to Maturity equal to or greater than the Weighted Average Life to Maturity of, the
                       applicable Replaced Term Loans at the time of the relevant refinancing,

                                (iii)   any C lass of Replacement Tenn Loans may be pari passu with or junior to any then-
                       existing Class of Loans in right of payment and may be pari passu with or junior to such Class of
                       Loans with respect to the Collateral or unsecured; provided that any Class of Replacement Tenn
                       Loans that is pari passu with or junior to any then-existing Class of Loan shall be subject to an
                       Acceptable Intercreditor Agreement and may be, at the option of the Administrative Agent and the
                       Top Borrower, documented in a separate agreement or agreements,

                                (iv)     any Class of Replacement Term Loans that is secured may not be secured by any
                       asset other than the Collateral,

                               (v)      any Class of Replacement Tenn Loans that is guaranteed may not be guaranteed by
                       any subsidiary of the Top Borrower other than one or more Loan Parties,

                                (vi)     no Class of Replacement Term Loans that is pari passu with the Initial Term Loans
                       in right of payment and security may participate (A) in any voluntary prepayment of Loans as set forth
                       in Section 2.1 l(a)(i) and (B) in any mandatory prepayment of Loans as set forth in Section 2. 1 l (b)(vi),

                              (vii)    any Class of Re placement Term Loans may have pricing (including interest, fees and
                       premiums), subject to preceding clause (vi), optional pre payment and redemption tem1s and, subject to




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                       clause (B), an amortization schedule as the relevant Borrower and the lenders providing such Class of
                       Replacement Tenn Loans may agree, and

                                (viii)   the other tenus and conditions of any Class of Replacement Term Loans (excluding
                       as set forth above) are (l) substantially identical to, or (taken as a whole) no more favorable (as
                       reasonably determined by the Top Borrower) to the lenders providing such Replacement Term Loans
                       than those applicable to the Replaced Tenn Loans (other than covenants or other provisions applicable
                       only to periods after the Latest Maturity Date of such Replaced Tem1 Loans (in each case, as of the
                       date of incurrence of such Replacement Term Loans)), (2) then-current market tenns (as reasonably
                       determined by the Top Borrower) for the applicable type of Indebtedness or (3) reasonably acceptable
                       to the Administrative Agent (it being agreed that terms and conditions of any Replacement Term
                       Loans that are more favorable to the lenders or the agent of such Replacement Term Loans than those
                       contained in the Loan Documents and are then confom1ed (or added) to the Loan Documents pursuant
                       to the applicable Refinancing Amendment shall be deemed satisfactory to the Administrative Agent).

             provided, further, that, in respect of each of this clause (c), any Non-Debt Fund Affiliate and Debt Fund
             Affiliate shall be permitted without the consent of the Administrative Agent to provide any Class of
             Replacement Term Loans, it being understood that in connection therewith, the relevant Non-Debt Fund
             Affiliate or Debt Fund Affiliate, as applicable, shall be su~ject to the restrictions applicable to such Person
             under Section 9.05.

             Each party hereto hereby agrees that this Agreement may be amended by the re levant Borrower, the
             Adm inistrative Agent and the lenders providing the relevant Class of Replacement Tenn Loans to the extent
             (but only to the extent) necessary to reflect the existence and terms of such Class of Replacement Tenn Loans
             incurred or implemented pursuant thereto (including any amendment necessary to treat the loans and
             commitments subject thereto as a separate "tranche" and " Class" of Loans and/or commitments hereunder). It
             is understood that any Lender approached to provide all or a portion of any Class of Replacement Term Loans
             may elect or decline, in its sole discretion, to provide such Class of Replacement Tem1 Loans.

                     (d)       Notwithstanding anything to the contrary contained in this Section 9.02 or any other
             provision of this Agreement or any provision of any other Loan Document:

                                (i)      the Top Borrower and the Administrative Agent may, without the input or consent of
                       any Lender, amend, supplement and/or waive any guaranty, collateral security agreement, pledge
                       agreement and/or related document (if any) executed in connection with this Agreement to (A)
                       comply with any Requirement of Law or the advice of counsel or (B) cause any such guaranty,
                       collateral security agreement, pledge agreement or other document to be consistent with this
                       Agreement and/or the relevant other Loan Documents,

                                (ii)     the Top Borrower and the Administrative Agent may, without the input or consent of
                       any other Lender (other than the relevant Lenders providing Loans under such Sections), effect
                       amendments to this Agreement and the other Loan Documents as may be necessary in the reasonable
                       opinion of the Top Borrower and the Administrative Agent to (1) effect the provisions of Sections
                       2.22, 2.23, 5.12, Section 6.13 and/or 9.02(c). or any other provision specifying that any waiver,
                       amendment or modification may be made with the consent or approval of the Administrative Agent
                       and/or (2) to add terms (including representations and warranties, conditions, prepayments, covenants
                       or events of default), in connection with the addition of any Loan or Commitment hereunder, that are
                       favorable to the then-existing Lenders, as reasonably detenuined by the Administrative Agent,

                               (iii)    if the Administrative Agent and the Top Borrower have jointly identified any
                       ambiguity, mistake, defect, inconsistency, obvious error or any error or omission of a technical nature
                       or any necessary or desirable technical change, in each case, in any provision of any Loan Document,




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                       then the Administrative Agent and the Top Borrower shall be permitted to an1end such provision
                       solely to address such matter as reasonably determined by them acting jointly,

                               (iv)    the Administrative Agent and the Top Borrower may amend, restate, amend and
                       restate or otherwise modify the Initial lntercreditor Agreements, any Acceptable Intercreditor
                       Agreement and/or any other Additional Agreement as provided therein,

                               (v)     the Administrative Agent may amend the Commitment Schedule to reflect
                       assignments entered into pursuant to Section 9.05, Commitment reductions or terminations pursuant to
                       Section 2.09, implementations of Additional Term Loan Commitments or incurrences of Additional
                       Tenn Loans pursuant to Sections 2.22, 2.23 or 9.02(c) and reductions or tem1inations of any such
                       Additional Term Loan Commitments or Additional Term Loans,

                               (vi)     no Defaulting Lender shall have any right to approve or disapprove any amendment,
                       waiver or consent hereunder, except as permitted pursuant to Section 2.2l(b) and except that the
                       Commitment of any Defaulting Lender may not be increased without the consent of such Defaulting
                       Lender (it being understood that any Commitment or Loan held or deemed held by any Defaulting
                       Lender shall be excluded from any vote hereunder that requires the consent of any Lender, except as
                       expressly provided in Section 2.2 l(b)),

                                 (vii)    this Agreement may be amended (or amended and restated) with the written consent
                       of the Required Lenders, the Administrative Agent and the Top Borrower (i) to add one or more
                       additional credit facilities to this Agreement and to permit any extension of credit from time to time
                       outstanding thereunder and the accrued interest and fees in respect thereof to share ratably in the
                       re levant benefits of this Agreement and the other Loan Documents and (ii) to include appropriately the
                       Lenders holding such credit facilities in any determination of the Required Lenders on substantially
                       the same basis as the Lenders prior to such inclusion, and

                               (viii) any amendment, wavier or modification of any term or provision that directly affects
                       Lenders under one or more Classes and does not directly affect Lenders under one or more other
                       Classes may be effected with the consent of Lenders owning 50% of the aggregate commitments or
                       Loans of such directly affected Class in lieu of the consent of the Required Lenders.

                       Section 9.03.          Expenses: Indemnity.

                      (a)       Subject to Section 9.05(f), the Borrowers shall j ointly and severally pay (i) all reasonable and
             documented out-of-pocket expenses incurred by each Arranger, the Administrative Agent and their respective
             Affiliates (but limited, in the case of legal fees and expenses, to the actual reasonable and documented out-of-
             pocket fees, disbursements and other charges of one firm of outside counsel to all such Persons taken as a
             whole and, if necessary, of one local counsel in any relevant jurisdiction to all such Persons, taken as a whole
             in connection with the syndication and distribution (including via the Internet or through a service such as
             lntralinks) of the Term Facility , the preparation, execution, de livery and administration of the Loan Documents
             and any re lated documentation, including in connection with any amendment, modification or waiver of any
             provision of any Loan Document (whether or not the transactions contemplated thereby are consummated, but
             only to the extent the preparation of any such amendment, modification or waiver was requested by the Top
             Borrower and except as otherwise provided in a separate writing behveen the Top Borrower, the relevant
             Arranger and/or the Administrative Agent) and (ii) all reasonable and documented out-of-pocket expenses
             incurred by the Administrative Agent, the Arrangers and the Lenders or any of their respective Affiliates (but
             limited, in the case of legal fees and expenses, to the actual reasonable and documented out-of-pocket fees,
             disbursements and other charges of one firm of outside counsel to all such Persons taken as a whole and, if
             necessary, of one local counsel in any relevant jurisdiction to all such Persons, taken as a who le) in connection
             with the enforcement, collection or protection of their respective rights in connection with the Loan
             Documents, including their respective rights under this Section, or in connection with the Loans made



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             hereunder. Except to the extent required to be paid on the Closing Date, all amounts due under this paragraph
             (ru shall be payable by any Borrowe r within 30 days of receipt by the Top Borrowe r of an invoice setting forth
             such expenses in reasonable detail, together w ith backup documentation supporting the relevant reimbursement
             request.

                       (b)      The Borrowers shall jointly and severally indemnify each Arranger, the Administrative Agent
             and each Lender, and each Related Party of any of the foregoing Persons (each such Person being called an
             "Inde mnitee") against, and hold each Inde mnitee harmless from , any and all losses, claims, damages and
             liabilities (but limited, in the case of legal fees and e xpenses, to the actual reasonable and docume nted out-of-
             pocket fees, disbursements and other charges of one counsel to all lndemnitees taken as a whole and, if
             reasonably necessary, one local counsel in any relevant jurisdiction to all lndemnitees, taken as a whole and
             solely in the case of an actual or perceived conflict of interest, (x) one additional counsel to all affected
             lndemnitees, taken as a whole, and (y) one additional local counsel to all affected Indemnitees, take n as a
             whole), incurred by or asse rted against any Indemnitee arising out of, in connection w ith, or as a result of (i)
             the e xecution or delivery of the Loan Documents or any agreeme nt or instrument contemplated thereby, the
             performance by the parties hereto of their respective obligations thereunder or the consummation of the
             Transactions or any other transactions contemplated hereby or thereby and/or the enforcement of the Loan
             Documents, (ii) the use of the proceeds of the Loan, (iii) any actual or alleged Release or presence of
             Hazardous Materials on, at, under or from any property currently or formerly ow ned or operated by the Top
             Borrower, any of its Restricted Subsidiaries or any other Loan Party or any Environmental Liability related to
             the Top Borrower, any of its Restricted Subsidiaries or any other Loan Party and/or (iv) any actual or
             prospective claim, litigation, investigation or proceeding relating to any of the foregoing, whether based on
             contract, tort or any other theory and regardless of whether any Indemnitee is a party thereto (and regardless of
             whether such matter is initiated by a third party or by the Top Borrower, any other Loan Party or any of their
             respective Affiliates); provided that such indemnity shall not, as to any Indemnitee, be available to the extent
             that any such loss, claim, damage, or liability (i) is detenuined by a final and non-appealable judgme nt of a
             court of competent jurisdiction (or docume nted in any se ttle ment agreement referred to below) to have resulted
             from the gross negligence, bad faith or w illful misconduct of such Indemnitee or, to the e xtent such judgment
             finds (or any such settlement agreement acknow ledges) that any such loss, claim, damage, or liability has
             resulted from such Pe rson' s material breach of the Loan Documents or ( ii) arises out of any claim, litigation,
             investigation or proceeding brought by such Indemnitee against anothe r Indemnitee (other than any claim,
             litigation, investigation or proceeding that is brought by or against the Administrative Agent or any Arranger,
             acting in its capacity as the Administrative Age nt or as an Arranger) that does not involve any act or omission
             of Holdings, the Top Borrower or any of its subsidiaries. Each lndemnitee shall be obligated to refund or
             return any and all amounts paid by any Borrower pursuant to this Section 9.03(b) to such Indemnitee for any
             fees, expenses, or damages to the extent such lndemnitee is not entitled to payment thereof in accordance with
             the te rms he reof. All amounts due under this paragraph (b) shall be payable by any Borrower w ithin 30 days
             (x) after receipt by the Top Borrower of a written demand the refor, in the case of any indemnification
             obligations and (y) in the case of reimbursement of costs and expenses, after receipt by the Top Borrower of an
             invoice setting forth such costs and expenses in reasonable de tail, together with backup documentation
             supporting the relevant reimbursement request. This Section 9.03(b) shall not apply to Ta"Xes other than any
             Taxes that represent losses, claims, damages or liabilities in respect of a non-Tax claim.

                       (c)     The Top Borrower shall not be liable for any settleme nt of any proceeding effected w ithout
             the written consent of the Top Borrower (w hich consent s hall not be unreasonably w ithheld, delayed or
             conditioned), but if any proceeding is settled with the written consent of the Top Borrower, or if there is a final
             judgment against any Indemnitee in any such proceeding, the Borrowers agree to indemnify and hold harmless
             each lndemnitee to the extent and in the manner set forth above. The Top Borrower shall not, without the prior
             writte n consent of the affected lnde mnitee (which consent shall not be unreasonably withheld, conditioned or
             delayed), effect any settlement of any pe nding or threatened proceeding in respect of w hich indemnity could
             have been sought he reunder by such Indemnitee unless (i) such settlement includes an unconditional release of
             such Jndemnitee from all liability or claims that are the subject matter of such proceeding and (ii) such
             settlement does not include any statement as to any admission of fault or culpability.




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                      Section 9.04.    Waiver of Claim . To the extent permitted by applicable Requirements of Law, no
             party to this Agreement nor any Secured Party shall assert, and each hereby waives, any claim against any
             other party hereto, any Loan Party and/or any Related Party of any thereof, on any theory of liability, for
             special, indirect, consequential or punitive damages (as opposed to direct or actual damages) arising out of, in
             connection w ith, or as a result of, this Agreement or any agreement or instrument contemplated hereby, the
             Transactions, any Loan or the use of the proceeds thereof, except, iJ1 the case of any claim by any Indemnitee
             against any Borrower, to the extent such damages would otherwise be subject to indemnification pursuant to,
             and in accordance with, the tenns of Section 9.03.

                       Section 9.05.          Successors and Assigns.

                      (a)      The provisions of this Agreement shall be binding upon and inure to the benefit of the parties
             hereto and their respective successors and permitted assigns: provided that (i) except as provided under
             Section 6.07, the Top Borrower may not assign or otherwise transfer any of its rights or obligations hereunder
             without the prior written consent of each Lender (and any attempted assignment or transfer by the Top
             Borrower without such consent shall be null and void) and (ii) no Lender may assign or otherwise transfer its
             rights or obligations hereunder except in accordance with the terms of this Section (any attempted assignment
             or transfer not complying with the terms of this Section shall be null and void and, with respect to any
             attempted assignment or transfer to any Disqualified Institution, su~ject to Section 9.05([)). Nothing in this
             Agreement, expressed or implied, shall be constrned to confer upon any Person (other than the parties hereto,
             their respective successors and permitted assigns, to the extent provided in paragraph (e) of this Section,
             Participants and, to the extent expressly contemplated hereby, the Related Parties of each of the Arrangers, the
             Administrative Agent and the Le nders) any legal or equitable right, remedy or c laim under or by reason of this
             Agreement.

                      (b)      (i) Subject to the conditions set forth in paragraph (b)(ii) below, any Lender may assign to
             one or more Eligible Assignees all or a portion of its rights and obligations under this Agreement (including all
             or a portion of any Loan or Additional Term Loan Commitment added pursuant to Sections 2.22, 2.23 or
             9.02(c) at the time owing to it) with the prior written consent of:

                                            (A)     the Top Borrower (such consent not to be unreasonably withheld,
                                  conditioned or delayed); provided, that (x) the Top Borrower shall be deemed to have
                                  consented to any assignment of Loans (other than any such assignment to a Disqualified
                                  Institution or a natural Person) unless it has objected thereto by written notice to the
                                  Administrative Agent within 15 Business Days after receipt of written notice thereof, (y) the
                                  consent of the Top Borrower shall not be required for any assignment of Loans or Term
                                  Commitments (1) to any Lender or any Affiliate of any Lender or an Approved Fund or (2) at
                                  any time when an Event of Default under Section 7.0l(a) or Sections 7.0l(f) or (g) (with
                                  respect to the Top Borrower) exists and (z) the Top Borrower may withhold its consent to any
                                  assignment to any Person (other than a Bona Fide Debt Fund) that is not a Disqualified
                                  Institution but is known by the Top Borrower to be an Affiliate of a Disqualified Institution
                                  regardless of whether such person is identifiable as an Affiliate of a Disqualified Institution
                                  on the basis of such Affiliate' s name; and

                                          (B)      the Administrative Agent (such consent not to be unreasonably withheld,
                                  conditioned or delayed); provided, that no consent of the Administrative Agent shall be
                                  required for any assignment lo another Lender, any Affiliate of a Lender or any Approved
                                  Fund;and

                                  (ii)        Assigmnents shall be subject to the following additional conditions:

                                         (A)     except in the case of any assignment to another Lender, any Affiliate of any
                                  Lender or any Approved Fund or any assignment of the entire remaining amount of the




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                                  re levant assigning Lender' s Loans or Commitments of any Class, the principal amount of
                                  Loans or Commitments of the assigning Lender subject to the relevant assignment
                                  (determined as of the date on which the Assignment Agreement with respect to such
                                  assignment is delivered to the Administrative Agent and determined on an aggregate basis in
                                  the event of concurrent assignments to Related Funds or by Related Funds) shall not be less
                                  than (x) $1 ,000,000, unless the Top Borrower and the Administrative Agent othern1 ise
                                  consent;

                                           (B)       any partial assignment shall be made as an assignment of a proportionate
                                  part of all the relevant assigning Lender' s rights and obligations under this Agreement;

                                          (C)     the parties to each assignment shall execute and deliver to the
                                  Administrative Agent an Assignment Agreement via an electronic settlement system
                                  acceptable to the Administrative Agent (or, if previously agreed with the Adm inistrative
                                  Agent, manually), and shall pay to the Administrative Agent a processing and recordation fee
                                  of $3,500 (which fee may be waived or reduced in the sole discretion of the Administrative
                                  Agent); and

                                           (D)      the relevant Eligible Assignee, if it is not a Lender, shall deliver on or prior
                                  to the effective date of such assignment, to the Administrative Agent (1) an Administrative
                                  Questionnaire and (2) any Internal Revenue Service form required under Section 2. 17.

                                   (iii)     Subject to the acceptance and recording thereof pursuant to paragraph (b)(iv) of this
                       Section, from and after the effective date specified in any Assignment Agreement, the Eligible
                       Assignee thereunder shall be a party hereto and, to the extent of the interest assigned pursuant to such
                       Assignment Agreement, have the rights and obligations of a Lender under this Agreement, and the
                       assigning Lender thereunder shall, to the extent of the interest assigned by such Assignment
                       Agreement, be released from its obligations under this Agreement (and, in the case of an Assignment
                       Agreement covering all of the assigning Lender's rights and obligations under this Agreement, such
                       Lender shall cease to be a party hereto but shall continue to be (A) entitled to the benefits of Sections
                       2. l 5, 2. l 6, 2.17 and 9.03 with respect to facts and circumstances occurring on or prior to the effective
                       date of such assignment and (B) subject to its obligations thereunder and under Section 9.13). If any
                       assignment by any Lender holding any Promissory Note is made after the issuance of such Promissory
                       Note, the assigning Lender shaII, upon the effectiveness of such assignment or as promptly thereafter
                       as practicable, surrender such Prom issory Note to the Administrative Agent for cancellation, and,
                       following such cancellation, if requested by either the assignee or the assigning Lender, the Borrowers
                       shall issue and deliver a new Promissory Note to such assignee and/or to such assigning Lender, with
                       appropriate insertions, to reflect the new commitments and/or outstanding Loans of the assignee
                       and/or the assigning Lender.

                                (iv)    The Administrative Agent, acting for this purpose as an agent of the Borrowers, shall
                       maintain at one of its offices in the United States a copy of each Assignment Agreement de livered to it
                       and a register for the recordation of the names and addresses of the Lenders and their respective
                       successors and assigns, and the commitment of, and principal amount of and interest on the Loans
                       owing to, each Lender pursuant to the terms hereof from time to time (the "Register"). The entries in
                       the Register shall be conclusive, absent manifest error, and the Borrowers, the Administrative Agent
                       and the Lenders shall treat each Person whose name is recorded in the Register pursuant to the tenus
                       hereof as a Lender hereunder for all purposes of this Agreement, notwithstanding notice to the
                       contrary. The Register shall be available for inspection by the Top Borrower and each Lender (but
                       only as to its own holdings), at any reasonable time and from time to time upon reasonable prior
                       notice.




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                                (v)      Upon its receipt of a duly completed Assignment Agreement executed by an
                       assigning Lende r and an Eligible Assignee, the Eligible Assignee' s completed Administrative
                       Questionnaire and any tax certification required by Section 9.05(b)(ii)(D)(2) (unless the assignee is
                       already a Lender hereunder), the processing and recordation fee referred to in paragraph (b) of this
                       Section, if applicable, and any written consent to the relevant assignment required by paragraph (b) of
                       this Section, the Administrative Agent shall promptly accept such Assignment Agreement and record
                       the information contained therein in the Register. No assignment shall be effective for purposes of
                       this Agreement unless it has been recorded in the Register as provided in this paragraph.

                                 (vi)    By executing and delivering an Assignment Agreement, the assigning Lender and the
                       Eligible Assignee thereunder shall be deemed to confirm and agree with each other and the other
                       parties hereto as follows: (A) the assigning Lender w arrants that it is the legal and beneficial ovmer of
                       the interest being assigned thereby free and clear of any adverse claim and that the amount of its
                       commitments, and the outstanding balances of its Loans, in each case w ithout giving effect to any
                       assignment thereof which has not become effective, are as set forth in such Assignment Agreement,
                       (B) except as set forth in clause (A) above, the assigning Lender makes no representation or warranty
                       and assumes no responsibility with respect to any statement, warranty or representation made in or in
                       connection with this Agreement, or the execution, legality, validity, enforceability, genuineness,
                       sufficiency or value of this Agreement, any other Loan Document or any other instrument or
                       docume nt furnished pursuant hereto, or the financial condition of the Top Borrowe r or any Restricted
                       Subsidiary or the performance or observance by the Top Borrower or any Restricted Subsidiary of any
                       of its obligations unde r this Agreement, any other Loan Document or any other instrument or
                       document furnished pursuant hereto; (C) the assignee represents and warrants that it is an Eligible
                       Assignee and that it is not a Disqualified Institution, legally authorized to enter into such Assignment
                       Agreement; (D) the assignee confirms that it has received a copy of this Agreement and each
                       applicable Intercreditor Agreement, together with copies of the financial statements refe rred to in
                       Section 4 .0l(c) or the most recent financial statements delivered pursuant to Section 5.01 and such
                       other documents and infonuation as it has deemed appropriate to make its own credit analysis and
                       decision to enter into such Assignment Agreement; (E) the assignee will independently and w ithout
                       re liance upon the Administrative Agent, the assigning Lender or any other Le nde r and based on such
                       docume nts and information as it deems appropriate at the time, continue to make its own credit
                       decisions in taking or not taking action under this Agreement; (F) the assignee appoints and authorizes
                       the Administrative Agent to take such action as agent on its behalf and to exercise such powers under
                       this Agreement as are delegated to the Administrative Agent, by the terms hereof, together with such
                       powers as are reasonably incidental thereto; and (G) the assignee agrees that it w ill perform in
                       accordance with their te rms all the obligations w hich by the terms of this Agreement are required to be
                       performed by it as a Lender.

                      (c)      (i) Any Lender may, without the consent of the Top Borrower, the Administrative Agent or
             any other Lender, sell participations to any bank or other entity ( other than to any Disqualified Institution, any
             natural Person or, other than with respect to any participation to any Debt Fund Affiliate (any such
             participations to a Debt Fund Affiliate being subject to the limitation set forth in the first proviso of the
             penultimate paragraph set forth in Section 9.05(g), as if the limitation applied to such participations), the Top
             Borrower or any of its Affiliates) (a "Participant") in all or a portion of such Lender' s rights and obligations
             under this Agreement (including all or a portion of its commitments and the Loans owing to it); provided that
             (A) such Le nder' s obligations under this Agreement shall remain unchanged, (B) such Lender shall remain
             solely responsible to the other parties hereto for the performance of such obligations and (C) the Borrowers,
             the Administrative Agent and the other Lenders shall continue to deal solely and directly with such Lender in
             connection with such Lender' s rights and obligations under this Agreement. Any agreement or instrument
             pursuant to w hich any Lender sells such a participation shall provide that such Lender shall re tain the sole right
             to enforce this Agreement and to approve any amendment, modification or waiver of any provision of this
             Agreement; provided that such agreement or instrument may provide that such Lender will not, without the
             consent of the relevant Participant, agree to any amendment, modification or waiver described in (x) clause (A)




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             of the first proviso to Section 9.02(b) that directly and adversely affects the Loans or commitments in which
             such Participant has an interest and (y) clauses (B)(l), ffi or ill of the first proviso to Section 9.02(b). Subject
             to paragraph (c)(ii) of this Section, the Borrowers agree that each Participant shall be entitled to the benefits of
             Sections 2.15, 2.16 and 2.17 (subject to the limitations and requirements of such Sections and Section 2.19) to
             the same extent as if it were a Lender and had acquired its interest by assignment pursuant to paragraph (b) of
             this Section and it being understood that the documentation required under Section 2. l 7(f) shall be delivered to
             the participating Lender, and if additional amounts are required to be paid pursuant to Section 2.1 7(a) or
             Section 2. l 7(c), to the Top Borrower and the Administrative Agent). To the extent permitted by applicable
             Requirements of Law, each Participant also shall be entitled to the benefits of Section 9.09 as though it were a
             Lender; provided that such Participant shall be subj ect to Section 2. l 8(c) as though it were a Lender.

                                (ii)     No Participant shall be entitled to receive any greater payment under Section 2.15,
                       2.16 or 2.17 than the participating Lender would have been entitled to receive with respect to the
                       participation sold to such Participant, unless the sale of the participation to such Participant is made
                       with the Top Borrower's prior written consent (in its sole discretion), expressly acknowledging that
                       such Participant's entitlement to benefits under Sections 2.15, 2.16 and 2.17 is not limited to what the
                       participating Lender would have been entitled to receive absent the participation.

                       Each Lender that sells a participation shall, acting solely for this purpose as a non-fiduciary agent of
             the Borrowers, maintain a register on which it enters the name and address of each Participant and their
             respective successors and registered assigns, and the principal and interest amounts of each Participant's
             interest in the Loans or other obligations under the Loan Documents (a "Participant Register"): provided that
             no Lender shall have any obligation to disclose all or any portion of any Participant Register (including the
             identity of any Participant or any information relating to any Participant's interest in any Commitment, Loan
             or any other obligation under any Loan Document) to any Person except to the extent that such disclosure is
             necessary to establish that such Commitment, Loan or other obligation is in registered form under
             Section 5f. l 03-1 ( c) of the U.S. Treasury Regulations. The entries in the Participant Register shall be
             conclusive absent manifest error, and each Lender shall treat each Person whose name is recorded in the
             Participant Register as the owner of such participation for all purposes of this Agreement notwithstanding any
             notice to the contrary. For the avoidance of doubt, the Administrative Agent (in its capacity as Administrative
             Agent) shall have no responsibility for maintaining a Participant Register.

                      (d)     (i) Any Lender may at any time pledge or assign a security interest in all or any portion of its
             rights under this Agreement (other than to any Disqualified Institution or any natural person) to secure
             obligations of such Lender, including without limitation any pledge or assignment to secure obligations to any
             Federal Reserve Bank or other central bank having jurisdiction over such Lender, and this Section 9.05 shall
             not apply to any such pledge or assignment of a security interest; provided that no such pledge or assignment
             of a security interest shall release any Lender from any of its obligations hereunder or substitute any such
             pledgee or assignee for such Lender as a party hereto.

                                (ii)    No Lender, acting in its capacity as a Lender (or any Affiliate or other Person acting
                       on such Lender' s behalf) may at any time enter into a total return swap, total rate of return swap,
                       credit default swap or other derivative instrument under which any Secured Obligation is a sole
                       reference obligation (or a reference obligation constituting at least 5% of the weight in any bucket of
                       such derivative instruments) (any such swap or other derivative instrument, an " Obligations
                       Derivafrve Instrument") with any counterparty that is a Disqualified Institution; provided that, for the
                       avoidance of doubt, nothing in this clause shall prohibit the activities of a Lender (or any Affiliate or
                       other Person acting on such Lender's behalf) that occur on the public side of an infom1ation barrier
                       unless such Person is acting in its capacity as a Lender or on behalf of any Person which is acting in
                       its capacity as Lender or on behalf of a Lender; provided further that, (x) notwithstanding the
                       foregoing, in no event shall Confidential Information be shared with any counterparty to an
                       Obligations Derivatives Instrument that is a Disqualified Institution and each Lender shall be required
                       to comply with the provisions of Section 9 .13 in connection with any transactions involving



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                       Obligations Derivative Instruments and (y) in the event of any Obligations Derivative Instrument in
                       violation of the foregoing, the Top Borrower has the right to require the unwind of the applicable
                       Obligations Derivative Instrument at the sole cost and expense of the applicable Lender.

                      (e)      Notwithstanding anything to the contrary contained herein, any Lender (a " Granting Lender")
             may grant to a special purpose funding vehicle (an " SPC"), identified as such in wTiting from time to time by
             the Granting Lender to the Administrative Agent and the Top Borrower, the option to provide to any Borrower
             all or any part of any Loan that such Granting Lender would otherwise be obligated to make to such Borrower
             pursuant to this Agreement; provided that (i) nothing herein shall constitute a commitment by any SPC to
             make any Loan and (ii) if an SPC elects not to exercise such option or otherwise fails to provide all or any part
             of such Loan, the Granting Lender shall be obligated to make such Loan pursuant to the terms hereof. The
             making of any Loan by an SPC hereunder shall utilize the Commitment of the Granting Lender to the same
             extent, and as if, such Loan were made by such Granting Lender. Each party hereto hereby agrees that (i)
             neither the grant to any SPC nor the exercise by any SPC of such option shall increase the costs or expenses or
             othen-vise increase or change the obligations of such Borrower under this A&rreement (including its obligations
             under Section 2.15, 2.16 or 2.17) and no SPC shall be entitled to any greater amount under Section 2.15, 2.16
             or 2.17 or any other provision of this Agreement or any other Loan Document that the Granting Lender would
             have been entitled to receive, unless the grant to such SPC is made with the prior written consent of the Top
             Borrower (in its sole discretion), expressly acknowledging that such SPC's entitlement to benefits under
             Sections 2.15, 2.16 and 2.17 is not limited to what the Granting Lender would have been entitled to receive
             absent the grant to the SPC, (ii) no SPC shall be liable for any indemnity or similar payment obligation under
             this Agreement (all liability for w hich shall remain with the Granting Lender) and (iii) the Granting Lender
             shall for all purposes including approval of any amendment, waiver or other modification of any provision of
             the Loan Documents, remain the Lender of record hereunder. In furtherance of the foregoing, each party
             hereto hereby agrees (which agreement shall survive the termination of this Agreement) that, prior to the date
             that is one year and one day after the payment in full of all outstanding commercial paper or other senior
             inde btedness of any SPC, it will not institute against, or join any other Person in instituting against, such SPC
             any bankruptcy, reorganization, arrangement, insolvency or liquidation proceedings under the Requirements of
             Law of the U.S. or any State thereof; provided that (i) such SPC's Granting Lender is in compliance in all
             material respects with its obligations to the Borrowers hereunder and (ii) each Lender designating any SPC
             hereby agrees to indemnify, save and hold harmless each other party hereto for any loss, cost, damage or
             expense arising out of its inability to institute such a proceeding against such SPC during such period of
             forbearance. In addition, notwithstanding anything to the contrary contained in this Section 9.05, any SPC
             may (i) with notice to, but without the prior written consent of, any Borrower or the Administrative Agent and
             without paying any processing fee therefor, assign all or a portion of its interests in any Loan to the Granting
             Lender and (ii) disclose on a confidential basis any non-public infomiation re lating to its Loans to any rating
             agency, commercial paper dealer or provider of any surety, guaranty or credit or liquidity enhancement to such
             SPC.

                       (f)     (i) Any assignment or participation or entry into an Obligations Derivative Instrument by a
             Lender (A) to or with any Disqualified Institution or (B) without the Top Borrower' s consent to the extent the
             Top Borrower' s consent is required under this Section 9.05 (and not deemed to have been given pursuant to
             Section 9.05(b)(i)(A)), in each case, to any Person shall be null and void, and the Top Borrower shall be
             entitled to seek specific performance to unwind any such assignment or participation and/or specifically
             enforce this Section 9.05(f) in addition to injunctive relief (without posting a bond or presenting evidence of
             irreparable harm) or any other remedy available to any Borrower at law or in equity; it being understood and
             agreed that Holdings, the Top Borrower and its subsidiaries will suffer irreparable harm if any Lender breaches
             any obligation under this Section 9.05 as it relates to any assignment, participation or pledge of any Loan or
             Commitment to any Person to whom the Top Borrower' s consent is required but not obtained. Nothing in this
             Section 9.05(t) shall be deemed to pr~judice any right or remedy that Holdings or the Top Borrower may
             otherwise have at law or equity. Upon the request of any Lender, the Administrative Agent shall make the list
             of Disqualified Institutions available to such Lender, and such Lender may provide the list of Disqualified
             Institutions to any potential assignee or participant or counterparty to any Obligations Derivative lnstmment on




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             a confidential basis in accordance with Section 9.13 solely for the purpose of permitting such Person to verify
             whether such Person (or any Affiliate thereof) constitutes a Disqualified Institution.

                                 (ii)     If any assignment or participation under this Section 9.05 is made to any Disqualified
                       Institution and/or any Affiliate of any Disqualified Institution (other than any Bona Fide Debt Fund)
                       without the Top Borrower's prior vvritten consent (any such person, a "Disqualified Person"), then the
                       Top Borrower may, at its sole expense and effort, upon notice to the applicable Disqualified Person
                       and the Administrative Agent, (A) tenninate any Commitment of such Disqualified Person and repay
                       all obligations of each Borrower owing to such Disqualified Person, (B) in the case of any outstanding
                       Loans, held by such Disqualified Person, purchase such Loans by paying the lesser of (x) par and (y)
                       the amount that such Disqualified Person paid to acquire such Loans, plus accrued interest thereon,
                       accrued fees and all other amounts payable to it hereunder and/or (C) require such Disqualified Person
                       to assign, without recourse (in accordance with and subject to the restrictions contained in this
                       Section 9.05). all of its interests, rights and obligations under this Agreement to one or more E ligible
                       Assignees: provided that (I) in the case of clause (B), the applicable Disqualified Person has received
                       payment of an an1ount equal to the lesser of (1) par and (2) the amount that such Disqualified Person
                       paid for the applicable Loans, plus accrued interest thereon, accrued fees and all other amounts
                       payable to it hereunder, from any Borrower, (II) in the case of clauses (A) and ill), the relevant
                       Borrower shall be liable to the relevant Disqualified Person under Section 2.16 if any LIBO Rate Loan
                       owing to such Disqualified Person is repaid or purchased other than on the last day of the Interest
                       Period relating thereto, (III) in the case of clause (C), the relevant assignment shall othen vise comply
                       with this Section 9.05 (except that (x) no registration and processing fee required under this
                       Section 9.05 shall be required with any assignment pursuant to this paragraph and (y) any Loan
                       acquired by any Affiliated Lender pursuant to this paragraph will not be included in calculating
                       compliance with the Affiliated Lender Cap for a period of 90 days following such transfer; provided
                       that, to the extent the aggregate principal amount of Loans held by Affiliated Lenders exceeds the
                       Affiliated Lender Cap on the 9 1st day fo llowing such transfer, then such excess amount shall either be
                       (x) contributed (or distributed, as applicable) to Holdings, the Top Borrower or any of its subsidiaries
                       and retired and cancelled immediately upon such contribution or (y) automatically cancelled)) and
                       (IV) in no event shall such Disqualified Person be entitled to receive amounts set forth in
                       Section 2.13(d).      Further, any Disqualified Person identified by the Top Borrower to the
                       Adm inistrative Agent (A) shall not be pennitted to (x) receive information or reporting provided by
                       any Loan Party, the Administrative Agent or any Lender and/or (y) attend and/or participate in
                       conference calls or meetings attended solely by the Lenders and the Administrative Agent, (B) (x)
                       shall not for purposes of determining whether the Required Lenders, the majority of Lenders under
                       any Class, each Lender or each affected Lender have (i) consented (or not consented) to any
                       amendment, modification, waiver, consent or other action with respect to any of the tenns of any Loan
                       Document or any departure by any Loan Party therefrom, (ii) othenvise acted on any matter related to
                       any Loan Document, or (iii) directed or required the Administrative Agent or any Lender to undertake
                       any action (or refrain from taking any action) with respect to or under any Loan Document, have a
                       right to consent (or not consent), otherwise act or direct or require the Administrative Agent or any
                       Lender to take (or refrain from taking) any such action; it being understood that all Loans held by any
                       Disqualified Person shall be deemed to be not outstanding for all purposes of calculating whether the
                       Required Lenders, majority Lenders under any Class, each Lender or each affected Lender have taken
                       any action, and (y) shall be deemed to vote in the same proportion as Lenders that are not Disqualified
                       Persons in any proceeding under any Debtor Relief Law commenced by or against the Top Borrower
                       or any other Loan Party and (C) shall not be entitled to receive the benefits of Section 9.03. For the
                       sake of clarity, the provisions in this Section 9.05(f) shall not apply to any Person that is an assignee
                       of any Disqualified Person, if such assignee is not a Disqualified Person.

                               (iii)    Notwithstanding anything to the contrary herein, each of Holdings, each other Loan
                       Party and the Lenders acknowledges and agrees that the Administrative Agent shall not have any
                       responsibility or obligation to detennine whether any Lender or potential Lender is a Disqualified




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                       Person and the Administrative Agent shall have no liabilities with respect to any assignment or
                       participation made to a Disqualified Person.

                        (g)     Notwithstanding anything to the contrary contained herein, any Lender may, at any ~ime,
             assign all or a portion of its rights and obligations under this Agreement in respect of its Loans to any
             Affiliated Lender on a non-pro rata basis (A) through Dutch Auctions open to all Lenders holding the relevant
             Loans on a pro rala basis or (B) through open market purchases, in each case with respect lo clauses (A) and
             ill)_, without the consent of the Administrative Agent; provided that:

                                (i)     any Loans acquired by Holdings, the Top Borrower or any of its Restricted
                       Subsidiaries shall, to the extent permitted by applicable Requirements of Law, be retired and cancelled
                       immediately upon the acquisition thereof; provided that upon any such retirement and cancellation,
                       the aggregate outstanding principal amount of the Loans shall be deemed reduced by the full par value
                       of the aggregate principal amount of the Loans so retired and cancelled;

                                (ii)     any Loans acquired by any Non-Debt Fund Affiliate may (but shall not be required
                       to) be contributed (or distributed, as applicable) to the Top Borrower or any of its subsidiaries (it
                       bein g understood that any such Loans shall, to the extent permitted by applicable Requirements of
                       Law, be retired and cancelled promptly upon such contribution); provided that upon any such
                       cancellation, the aggregate outstanding principal amount of the Loans shall be deemed reduced, as of
                       the date of such contribution, by the full par value of the aggregate principal amount of the Loans so
                       contributed and cancelled;

                               (iii)  the relevant Affiliated Lender and assigning Lender shall have executed an Affiliated
                       Lender Assignment and Assumption;

                                (iv)     after giving effect to the relevant assignment and to all other assignments to all
                       Affiliated Lenders, the aggregate principal amount of all Loans then held by all Affiliated Lenders
                       shall not exceed 30% of the aggregate principal amount of the Loans then outstanding (after giving
                       effect to any substantially simultaneous cancellations thereof) (the "Affiliated Lender Cap"); provided
                       that each party hereto acknowledges and agrees that the Administrative Agent shall not be liable for
                       any losses, damages, penalties, claims, demands, actions, judgments, suits, costs, expenses and
                       disbursements of any kind or nature whatsoever incurred or suffered by any Person in connection with
                       any compliance or non-comp liance with this clause (g)(iv) or any purported assignment exceeding the
                       Affiliated Lender Cap (it being understood and agreed that the Affiliated Lender Cap is intended to
                       apply to any Loans made available to Affiliated Lenders by means other than fomial assignment (e.g. ,
                       as a result of an acquisition of another Lender (other than any Debt Fund Affiliate) by any Affiliated
                       Lender or the provision of Additional Term Loans by any Affiliated Lender); provided, further, that to
                       the extent that any assignment to any Affiliated Lender would result in the aggregate principal amount
                       of Loans held by Affiliated Lenders exceeding the Affiliated Lender Cap (after giving effect to any
                       substantially simultaneous cancellation thereof), the assignment of the relevant excess amount shall be
                       null and void;

                                (v)      in connection with any assignment effected pursuant to a Dutch Auction and/or open
                       market purchase conducted by Holdings, the Top Borrower or any of its Restricted Subsidiaries, (A)
                       the relevant Person may not use the proceeds of any ABL Facility or any Additional Revolving Loan
                       (as defined in the First Lien Credit Agreement (or any equivalent term under any First Lien Facility))
                       to fund such assignment and (B) no Event of Defau lt exists at the time of acceptance of bids for the
                       Dutch Auction or the confirmation of such open market purchase, as applicable; and

                              (vi)    by its acquisition of Loans, each relevant Affiliated Lender shall be deemed to have
                       acknowledged and agreed that:




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                                           (A)      subject to clause (iv) above, the Loans held by such Affiliated Lender shall
                                  be disregarded in both the numerator and denominator in the calculation of any Required
                                  Lender or other Lender vote; provided that (x) such Affiliated Lender shall have the right to
                                  vote (and the Loans held by such Affiliated Lender shall not be so disregarded) w ith respect
                                  to any amendment, modification, waiver, consent or other action that requires the vote of all
                                  Le nders or all Lenders directly and adversely affected there by , as the case may be, and (y) no
                                  amendment, modification, waiver, consent or other action shall (1) disproportionately affect
                                  such Affiliated Lender in its capacity as a Lende r as compared to othe r Le nders of the same
                                  Class that are not Affiliated Lenders or (2) deprive any Affiliated Lende r of its share of any
                                  payments which the Lenders are entitled to share on a pro rata basis hereunder, in each case
                                  without the consent of such Affiliated Lender; and

                                            (B)       such Affiliated Lender, solely in its capacity as an Affiliated Lender, will not
                                  be e ntitled to (i) attend (including by telephone) or participate in any meeting or discussion
                                  (or portion thereof) among the Administrative Agent or any Lende r or among Lenders to
                                  which the Loan Parties or their representatives are not invited or (ii) receive any information
                                  or material prepared by the Administrative Agent or any Lender or any communication by or
                                  among the Administrative Agent and one or more Lenders, except to the extent such
                                  information or materials have been made available by the Administrative Agent or any
                                  Le nder to any Loan Party or its representatives (and in any case, other than the right to
                                  receive notices of Borrowings, prepayments and other administrative notices in respect of its
                                  Loans required to be delivered to Lenders pursuant to Article 2);

                                (vii)   no Affiliated Lender shall be required to represent or warrant that it is not in
                       possession of material non-public information with respect to Holdings, the Top Borrower and/or any
                       subsidiary thereof and/or their respective securities in connection with any assignment permitted by
                       this Section 9.05(g); and

                                  (viii)   in any proceeding under any Debtor Relief Law, the interest of any Affiliated Lender
                       in any Loan w ill be deemed to be voted in the same proportion as the vote of Lenders that are not
                       Affiliated Lenders on the relevant matter; provided that each Affiliated Lender will be entitled to vote
                       its inte rest in any Loan to the extent that any plan of reorganization or other arrangement with respect
                       to which the re levant vole is sought proposes to treat the inte rest of such Affiliated Lender in such
                       Loan in a manner that is less favorable to such Affiliated Lender than the proposed treatment of Loans
                       held by other Lenders.

             Notw ithstanding anything to the contrary contained herein, any Lender may, at any time, assign all or a portion
             of its rights and obligations under this Agreement in respect of its Loans and/or Commitments to any Debt
             Fund Affiliate, and any Debt Fund Affiliate may, from time to time, purchase Loans and/or Commitments (x)
             on a non-pro rata basis through Dutch Auctions open to all applicable Lenders or (y) on a non-pro rata basis
             through open market purchases without the consent of the Administrative Agent, in each case, notwithstanding
             the requirements set forth in subclauses (i) through (vii) of this clause (g): provided that the Loans and
             Commitments held by all Debt Fund Affiliates shall not account for more than 49.9% of the amounts included
             in de termining whether the Required Lenders have (A) consented to any amendment, modification, w aiver,
             consent or other action w ith respect to any of the terms of any Loan Document or any departure by any Loan
             Party therefrom, (B) otherwise acted on any matter related to any Loan Document or (C) directed or required
             the Administrative Agent or any Lender to undertake any action (or refrain from taking any action) w ith
             respect to or under any Loan Document; it being understood and agreed that the portion of the Loan and/or
             Commitments that accounts for more than 49.9% of the relevant Required Lender action shall be deemed to be
             voted pro rata along with other Lenders that are not Debt Fund Affiliates. Any Loans acquired by any Debt
             Fund Affiliate may (but shall not be required to) be contributed to the Top Borrower or any of its subsidiaries
             for purposes of cancelling such Inde btedness (it being understood that any Loans so contributed shall be retired
             and cancelled immediately upon the reof): provided that upon any such cancellation, the aggregate outstanding




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             principal amount of the relevant Class of Loans shall be deemed reduced, as of the date of such contribution,
             by the full par value of the aggregate principal amount of the Loans so contributed and cancelled.

                      Section 9.06.    Survival. All covenants, agreements, representations and warranties made by the
             Loan Parties in the Loan Documents and in the certificates or other instruments delivered in connection with or
             pursuant to this Agreement or any other Loan Document shall be considered to have been relied upon by the
             other parties hereto and shall survive the execution and delivery of the Loan Documents and the making of any
             Loan regardless of any investigation made by any such other party or on its behalf and notwithstanding that the
             Administrative Agent may have had notice or know ledge of any Default or Event of Default or incorrect
             representation or warranty at the time any credit is extended hereunder, and shall continue in full force and
             effect until the Termination Date. The provisions of Sections 2.15, 2.16, 2.17, 9.03 and 9.13 and Article 8
             shall survive and remain in full force and effect regardless of the consummation of the transactions
             contemplated hereby, the repayment of the Loans, the occurrence of the Tennination Date or the tennination of
             this Agreement or any provision hereof but in each case, subject to the limitations set forth in this Agreement.

                      Section 9 .07.     Counterparts: Integration: Effectiveness. This Agreement may be executed in
             counterparts (and by different parties hereto on different counterparts), each of which shall constitute an
             original, but all of which when taken together shall constitute a single contract. This Agreement, the other
             Loan Documents, each lntercreditor Agreement and the Fee Letter constitute the entire agreement among the
             parties relating to the subject matter hereof and supersede any and all previous agreements and understandings,
             oral or written, relating to the subject matter hereof. This Agreement shall become effective when it has been
             executed by Holdings, the Borrowers and the Administrative Agent and when the Administrative Agent has
             received counterparts hereof which, when taken together, bear the signatures of each of the other parties
             hereto, and thereafter shall be binding upon and inure to the benefit of the parties hereto and their respective
             successors and permitted assigns. Delivery of an executed counterpart of a signature page to this Agreement
             by facsimile or by email as a " .pd£" or " .ti£" attachment shall be effective as delivery of a manually executed
             counterpart of this Agreement.

                      Section 9 .08.    Severability. To the extent permitted by applicable Requirements of Law, any
             provision of any Loan Document held to be invalid, illegal or unenforceable in any jurisdiction shall, as to
             such jurisdiction, be ineffective to the extent of such invalidity, illegality or unenforceability without affecting
             the validity, legality and enforceability of the remaining provisions thereof; and the invalidity of a particular
             provision in a particular jurisdiction shall not invalidate such provision in any other jurisdiction.

                      Section 9 .09.   Right of Setoff. At any time when an Event of Default exists, upon the written
             consent of the Administrative Agent, each Lender is hereby authorized at any time and from time to time, to
             the fullest extent permitted by applicable Requirements of Law, to set off and apply any and all deposits
             (general or special, time or demand, provisional or final) at any time held and other obligations (in any
             currency) at any time owing by the Administrative Agent or such Lender to or for the credit or the account of
             any Loan Party against any and all of the Secured Obligations held by the Administrative Agent or such
             Lender, irrespective of whether or not the Administrative Agent or such Lender shall have made any demand
             under the Loan Documents and although such obligations may be contingent or unmatured or are owed to a
             branch or office of such Lender different than the branch or office holding such deposit or obligation on such
             Indebtedness. Any applicable Lender shall promptly notify the Top Borrower and the Administrative Agent of
             such set-off or application: provided that any failure to give or any delay in giving such notice shall not affect
             the validity of any such set-off or application under this Section. The rights of each Lender and the
             Administrative Agent under this Section are in addition to other rights and remedies (including other rights of
             setoft) which such Lender or the Administrative Agent may have.

                       Section 9.10.          Governing Law: Jurisdiction: Consent to Service of Process.

                  (a)    THlS AGREEMENT AND THE OTHER LOAN DOCUMENTS (OTHER THAN AS
             EXPRESSLY SET FORTH IN ANY OTHER LOAN DOCUMENT) AND ANY CLAIM, CONTROVERSY




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             OR DISPUTE ARJSING UNDER OR RELATED TO THTS AGREEMENT AND THE OTHER LOAN
             DOCUMENTS (OTHER THAN AS EXPRESSLY SET FORTH IN ANY OTHER LOAN DOCUMENT),
             SHALL BE GOVERNED BY, AND CONSTRUED AND INTERPRETED IN ACCORDANCE WITH, THE
             LAWS OF THE STATE OF NEW YORK.

                   (b)   EACH PARTY HERETO HEREBY IRREVOCABLY AND UNCONDITIONALLY
             SUBMITS, FOR ITSELF AND ITS PROPERTY, TO THE EXCLUSIVE JURISDICTION OF ANY U.S.
             FEDERAL OR NEW YORK STATE COURT SITTING IN THE BOROUGH OF MANHATT AN, IN THE
             CITY OF NEW YORK (OR ANY APPELLATE COURT THEREFROM) OVER ANY SUIT, ACTION OR
             PROCEEDING ARJSING OUT OF OR RELATING TO ANY LOAN DOCUMENT AND AGREES THAT
             ALL CLAIMS IN RESPECT OF ANY SUCH ACTION OR PROCEEDING SHALL (EXCEPT AS
             PERMITTED BELOW) BE HEARD AND DETERMINED IN SUCH NEW YORK STATE OR, TO THE
             EXTENT PERMITTED BY APPLICABLE REQUIREMENTS OF LAW, FEDERAL COURT. EACH
             PARTY HERETO AGREES THAT SERVICE OF ANY PROCESS, SUMMONS, NOTICE OR
             DOCUMENT BY REGISTERED MAIL ADDRESSED TO SUCH PERSON SHALL BE EFFECTIVE
             SERVICE OF PROCESS AGAINST SUCH PERSON FOR ANY SUIT, ACTION OR PROCEEDING
             BROUGHT IN ANY SUCH COURT. EACH PARTY HERETO AGREES THAT A FINAL JUDGMENT IN
             ANY SUCH ACTION OR PROCEEDING MAY BE ENFORCED IN OTHER JURISDICTIONS BY SUIT
             ON THE JUDGMENT OR IN ANY OTHER MANNER PROVIDED BY APPLICABLE REQUIREMENTS
             OF LAW. EACH PARTY HERETO AGREES THAT THE ADMINISTRATIVE AGENT RETAINS THE
             RIGHT TO BRING PROCEEDINGS AGAINST ANY LOAN PARTY IN THE COURTS OF ANY OTHER
             JURISDICTION SOLELY IN CONNECTION WITH THE EXERCISE OF ITS RIGHTS UNDER ANY
             COLLATERAL DOCUMENT.

                    (c)   EACH PARTY HERETO HEREBY IRREVOCABLY AND UNCON DITIONALLY
             WAIVES, TO THE FULLEST EXTENT IT MAY LEGALLY AND EFFECTIVELY DO SO, ANY
             OBJECTION WHICH IT MAY NOW OR HEREAFTER HA VE TO THE LA YING OF VENUE OF ANY
             SUIT, ACTION OR PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT OR ANY
             OTHER LOAN DOCUMENT IN ANY COURT REFERRED TO IN PARAGRAPH (B) OF THTS SECTION.
             EACH PARTY HERETO HEREBY IRREVOCABLY WAIVES, TO THE FULLEST EXTENT
             PERMITTED BY APPLICABLE REQUIREMENTS OF LAW, ANY CLAIM OR DEFENSE OF AN
             INCONVENIENT FORUM TO THE MAINTENANCE OF SUCH ACTION, SUIT OR PROCEEDING IN
             ANY SUCH COURT.

                   (d)   TO THE EXTENT PERMITTED BY APPLICABLE REQUIREMENTS OF LAW, EACH
             PARTY HERETO HEREBY IRREVOCABLY WAIVES PERSONAL SERVICE OF ANY AND ALL
             PROCESS UPON IT AND AGREES THAT ALL SUCH SERVICE OF PROCESS MAY BE MADE BY
             REGISTERED MAIL (OR ANY SUBSTANTIALLY SIMILAR FORM OF MAIL) DIRECTED TO IT AT
             ITS ADDRESS FOR NOTICES AS PROVIDED FOR IN SECTION 9.01. EACH PARTY HERETO
             HEREBY WAIVES ANY OBJECTION TO SUCH SERVICE OF PROCESS AND FURTHER
             IRREVOCABLY WAIVES AND AGREES NOT TO PLEAD OR CLAIM IN ANY ACTION OR
             PROCEEDING COMMENCED HEREUNDER OR UNDER ANY LOAN DOCUMENT THAT SERVICE
             OF PROCESS WAS INVALID AND INEFFECTIVE. NOTHING IN THIS AGREEMENT OR ANY
             OTHER LOAN DOCUMENT WILL AFFECT THE RIGHT OF ANY PARTY TO THIS AGREEMENT TO
             SERVE PROCESS IN ANY OTHER MANNER PERMITTED BY APPLICABLE REQUIREMENTS OF
             LAW.

                   Section 9.11. Waiver of Jury Trial. EACH PARTY HERETO HEREBY IRREVOCABLY
             WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE REQUIREMENTS OF LAW,
             ANY RIGHT IT MAY HA VE TO A TRIAL BY JURY IN ANY SUIT, ACTION, PROCEEDING OR
             COUNTERCLAIM (WHETHER BASED ON CONTRACT, TORT OR ANY OTHER THEORY)
             DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT, ANY
             OTHER LOAN DOCUMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY.



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             EACH PARTY HERETO (a) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF
             ANY OTHER PARTY HERETO HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH
             OTHER PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE
             FOREGOING WAIVER AND (b) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO
             HA VE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE
             MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

                      Section 9.12.    Headings. Article and Section headings and the Table of Contents used herein are
             for convenience of reference only, are not part of this Agreement and shall not affect the construction of, or be
             taken into consideration in interpreting, this Agreement.

                      Section 9. 13.    Confidentialitv. Each of the Administrative Agent, each Lender and each Arranger
             agrees (and each Lender agrees to cause its SPC, if any) to maintain the confidentiality of the Confidential
             lnfonuation (as defined below), except that Confidential Infomrntion may be disclosed (a) to its and its
             Affiliates' directors, officers, managers, employees, independent auditors, or other experts and advisors,
             including accountants, legal counsel and other advisors (collectively, the "Representatives") on a "need to
             know" basis solely in connection with the transactions contemplated hereby and w ho are informed of the
             confidential nature of the Confidential Information and are or have been advised of their obligation to keep the
             Confidential Information of this type confidential; provided that such Person shall be responsible for its
             Affiliates' and their Representatives' compliance with this paragraph; provided, further, that unless the Top
             Borrower othen:vise consents, no such disclosure shall be made by the Administrative Agent, any Arranger,
             any Lender or any Affiliate or Representative thereof to any Affiliate or Representative of the Administrative
             Agent, any Arranger, or any Lender that is a Disqualified Institution, (b) to the extent compelled by legal
             process in, or reasonably necessary to, the defense of such legal, judicial or administrative proceeding, in any
             legal, judicial or administrative proceeding or otherwise as required by applicable Requirements of Law (in
             which case such Person shall (i) to the extent permitted by applicable Requirements of Law, inform the Top
             Borrower promptly in advance thereof and (ii) use commercially reasonable efforts to ensure that any such
             infonuation so disclosed is accorded confidential treatment), (c) upon the demand or request of any regulatory
             or governmental authority (including any self-regulatory body) purporting to have jurisdiction over such
             Person or its Affiliates (in which case such Person shall, except with respect to any audit or examination
             conducted by bank accountants or any Governmental Authority or regulatory or self-regulatory authority
             exercising examination or regulatory authority, to the extent pem1itted by applicable Requirements of Law, (i)
             inform the Top Borrower promptly in advance thereof and (ii) use commercially reasonable efforts to ensure
             that any information so disclosed is accorded confidential treatment), (d) to any other party to this Agreement,
             (e) subject to an acknowledgment and agreement by the relevant recipient that the Confidential Information is
             being disseminated on a confidential basis (on substantially the terms set forth in this paragraph or as
             othernrise reasonably acceptable to the Top Borrower and the Administrative Agent, includiJ1g as set forth in
             the Tnfonnation Memorandum) in accordance with the standard syndication process of the Arrangers or market
             standards for dissemination of the relevant type of information, w hich shall in any event require "click
             through" or other affirmative action on the part of the recipient to access the Confidential Information and
             acknowledge its confidentiality obligations in respect thereof, to (i) any Eligible Assignee of or Participant in,
             or any prospective Eligible Assignee of or prospective Participant in, any of its rights or obligations under this
             Agreement, including any SPC (in each case other than a Disqualified Institution), (ii) any pledgee referred to
             in Section 9.05, (iii) any actual or prospective, direct or indirect contractual counterparty (or its advisors) to
             any Derivative Transaction (including any credit default swap) or s imilar derivative product to which any Loan
             Party is a party and (iv) subject to the Top Borrower's prior approval of the information to be disclosed, (x) to
             Moody' s or S&P on a confidential basis in connection with obtaining or maintaining ratings as required under
             Section 5.13 or (y) to the CUSIP Service Bureau or any similar agency in connection with the issuance and
             monitoring of CUSIP numbers with respect to the facilities or, on a confidential basis, market data collectors
             and service providers to the Administrative Agent in connection with the administration and management of
             this Agreement and the Loan Documents, (f:) with the prior written consent of the Top Borrower and (g) to the
             extent the Confidential Information becomes publicly available other than as a result of a breach of this Section
             by such Person, its Affiliates or their respective Representatives. For purposes of this Section, "Confidential




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             Tnfonnation" means all information relating to Holdings, the Top Borrower and/or any of its subsidiaries and
             their respective businesses or the Transactions (including any information obtained by the Administrative
             Agent, any Lender or any Arranger, or any of their respective Affiliates or Representatives, based on a review
             of any books and records relating to Holdings, the Top Borrower and/or any of its subsidiaries and their
             respective Affiliates from time to time, including prior to the date hereof) other than any such information that
             is publicly available to the Administrative Agent or any Arranger or Lender on a non-confidential basis prior to
             disclosure by Holdings, the Top Borrower or any of its subsidiaries. For the avoidance of doubt, in no event
             shall any disclosure of any Confidential Information be made to Person that is a Disqualified Institution at the
             time of disclosure.

                       Section 9. 14.  No Fiduciary Duty. Each of the Administrative Agent, the Arrangers, each Lender
             and their respective Affiliates (collectively, solely for purposes of this paragraph, the «Lenders"), may have
             economic interests that conflict with those of the Loan Parties, their stockholders and/or their respective
             affiliates. Each Loan Party agrees that nothing in the Loan Documents or otherwise will be deemed to create
             an advisory, fiduciary or agency re lationshjp or fiduciary or other implied duty between any Lender, on the one
             hand, and such Loan Party, its respective stockholders or its respective affiliates, on the other. Each Loan
             Party acknowledges and agrees that: (i) the transactions contemplated by the Loan Documents (including the
             exercise of rights and remedies hereunder and thereunder) are arm's-length commercial transactions between
             the Lenders, on the one hand, and the Loan Parties, on the other, and (ii) in connection therewith and with the
             process leading thereto, (x) no Lender, in its capacity as such, has assumed an advisory or fiduciary
             responsibility in favor of any Loan Party, its respective stockholders or its respective affiliates with respect to
             the transactions contemplated hereby (or the exercise of rights or remedies with respect thereto) or the process
             leading thereto (irrespective of whether any Lender has advised, is currently advising or will advise any Loan
             Party, its respective stockholders or its respective Affiliates on other matters) or any other obligation to any
             Loan Party except the obligations expressly set forth in the Loan Documents and (y) each Lender, in its
             capacity as such, is acting solely as principal and not as the agent or fiduciary of such Loan Party, its
             respective management, stockho lders, creditors or any other Person. Each Loan Party acknowledges and
             agrees that such Loan Party has consulted its own legal, tax and financial advisors to the extent it deemed
             appropriate and that it is responsible for making its own independent judgment with respect to such
             transactions and the process leading thereto.

                      Section 9 .15.    Several Obligations. The respective obligations of the Lenders hereunder are several
             and not joint and the failure of any Lender to make any Loan or perform any of its obligations hereunder shall
             not relieve any other Lender from any of its obligations hereunder.

                      Section 9. 16.     USA PATRIOT Act. Each Lender that is subject to the requirements of the USA
             PATRIOT Act hereby notifies the Loan Parties that pursuant to the requirements of the USA PATRIOT Act, it
             is required to obtain, verify and record infonuation that identifies each Loan Party, which information includes
             the name and address of such Loan Party and other infonnation that will allow such Lender to identify such
             Loan Party in accordance with the USA PATRIOT Act.

                      Section 9 .17. Disclosure of Agent Conflicts. Each Loan Party and each Lender hereby
             acknowledge and agree that the Administrative Agent and/or its Affiliates from time to time may hold
             investments in, make other loans to or have other relationsrups with any of the Loan Parties and their
             respective Affiliates.

                     Section 9.18.     Appointment for Perfection. Each Lender hereby appoints each other Lender as its
             agent for the purpose of perfecting Liens for the benefit of the Administrative Agent and the Lenders, in assets
             which, in accordance with Article 9 of the UCC or any other applicable Requirement of Law can be perfected
             only by possession. If any Lender (other than the Administrative Agent) obtains possession of any Collateral,
             such Lender shall notify the Administrative Agent thereof and, promptly upon the Administrative Agent' s
             request therefor shall deliver such Collateral to the Administrative Agent or otherwise deal with such
             Collateral in accordance with the Administrative Agent's instructions.



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                      Section 9.19.     Interest Rate Limitation. Notwithstanding anything herein to the contrary, if at any
             time the interest rate applicable to any Loan, together with all fees, charges and other amounts which are
             treated as interest on such Loan under applicable Requirements of Law (collectively the "Charged Amounts"),
             shall exceed the maximum lawful rate (the "Maximum Rate") which may be contracted for, charged, taken,
             received or reserved by the Lender holding such Loan in accordance with applicable Requirements of Law, the
             rate of interest payable in respect of such Loan hereunder, together with all Charged Am ounts payable in
             respect thereof, shall be limited to the Maximum Rate and, to the extent lawful, the interest and Charged
             Amounts that would have been payable in respect of such Loan but were not payable as a result of the
             operation of this Section shall be cumulated and the interest and Charged Amounts payable to such Lender in
             respect of other Loans or periods shall be increased (but not above the Maximum Rate therefor) until such
             cumulated amount, together with interest thereon at the Federal Funds Effective Rate to the date of repayment,
             have been received by such Lender.

                   Section 9.20. Intercreditor Agreement. REFERENCE IS MADE TO EACH INTERCREDITOR
             AGREEMENT. EACH LENDER HEREUNDER AGREES THAT IT WILL BE BOUND BY AND WILL
             TAKE NO ACTIONS CONTRARY TO THE PROVISIONS OF ANY INTERCREDITOR AGREEMENT
             AND AUTHORIZES AND INSTRUCTS THE ADMINISTRATIVE AGENT TO ENTER INTO EACH
             INTERCREDITOR AGREEMENT AS "SECOND LIEN AGENT", "TERM LOAN AGENT" (OR OTHER
             APPLICABLE TITLE) AND ON BEHALF OF SUCH LENDER. THE PROVISIONS OF THIS
             SECTION 9.20 ARE NOT INTENDED TO SUMMARIZE ALL RELEVANT PROVISIONS OF ANY
             INTERCREDITOR AGREEMENT.            REFERENCE MUST BE MADE TO EACH APPLICABLE
             INTERCREDITOR AGREEMENT ITSELF TO UNDERSTAND ALL TERMS AND CONDITIONS
             THEREOF. EACH LENDER IS RESPONSIBLE FOR MAKING ITS OWN ANALYSIS AND REVIEW OF
             EACH INTERCREDITOR AGREEMENT AND THE TERMS AND PROVISIONS THEREOF, AND
             NEITHER THE ADMINISTRATIVE AGENT NOR ANY OF ITS AFFILIATES MAKES ANY
             REPRESENTATION TO ANY LENDER AS TO THE SUFFICIENCY OR ADVISABILITY OF THE
             PROVISIONS CONTAINED IN ANY INTERCREDITOR AGREEMENT. THIS SECTION 9.20 IS
             INTENDED AS AN INDUCEMENT TO THE LENDERS UNDER THE FIRST LIEN CREDIT
             AGREEMENT AND THE ABL CREDIT AGREEMENT AND THE HOLDERS OF ANY OTHER
             INDEBTEDNESS SUBJECT TO ANY APPLICABLE INTERCREDITOR AGREEMENT TO EXTEND
             CREDIT IN CONNECTION THEREWITH AND SUCH LENDERS ARE INTENDED THIRD PARTY
             BENEFICIARIES OF SUCH PROVISIONS AND THE PROVISIONS OF EACH INTERCREDTTOR
             AGREEMENT.

                      Section 9.21.  Conflicts. Notwithstanding anything to the contrary contained herein or in any other
             Loan Document, in the event of any conflict or inconsistency between this Agreement and any other Loan
             Document, the terms of this Agreement shall govern and control: provided that in the case of any conflict or
             inconsistency between any Intercreditor Agreement and any Loan Document, the terms of such lntercreditor
             Agreement shall govern and control.

                       Section 9 .22.    Release of Guarantors. Notwithstanding any thing in Section 9.02(b) to the contrary,
             (a) any Subsidiary Guarantor shall automatically be released from its obligations hereunder (and its Loan
             Guaranty and the Liens granted pursuant to the Collateral Documents shall be automatically released) (i) upon
             the consummation of any permitted transaction or series of related transactions if as a result thereof such
             Subsidiary Guarantor ceases to be a Restricted Subsidiary (or becomes an Excluded Subsidiary as a result of a
             sin gle transaction or series of related transactions permitted hereunder) and/or (ii) upon the occurrence of the
             Termination Date and (b) any Subsidiary Guarantor that meets the definition of an "Excluded Subsidiary" shall
             be released by the Administrative Agent promptly following the request therefor by the Top Borrower. In
             connection with any such release, the Administrative Agent shall promptly execute and deliver to the relevant
             Loan Party, at such Loan Party's expense, all documents that such Loan Party shall reasonably request to
             evidence termination or release; provided, that upon the request of the Administrative Agent, the Top
             Borrower shall deliver a certificate of a Responsible Officer certifying that the relevant transaction has been
             consummated in compliance with the tenus of this Agreement. Any execution and delivery of any document



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             pursuant to the preceding sentence of this Section 9.22 shall be w ithout recourse to or warranty by the
             Administrative Agent (other than as to the Administrative Agent's authority to execute and de liver such
             documents).

                       Section 9.23.   Acknowledgement and Consent to Bail-In of EEA Financial Institutions.
             Notw ithstanding anything to the contrary in any Loan Document or in any other agreement, arrangement or
             understanding of the parties hereto, each such party acknowledges that any liability of any EEA Financial
             Institution arising under any Loan Document, to the extent such liability is unsecured, may be subject to the
             write-down and conversion powers of an EEA Resolution Authority and agrees and consents to, and
             acknow ledges and agrees to be bound by:

                     (a)       the application of any Write-Down and Conversion Powers by an EEA Resolution Authority
             to any such liabilities arising hereunder which may be payable to it by any party hereto that is an EEA
             Financial Institution; and

                       (b)        the effects of any Bail-in Action on any such liability, including, if applicable:

                                  (i)         a reduction in full or in part or cancellation of any such liability;

                                (ii)      a conversion of all, or a portion of, such liability into shares or other instruments of
                       ownership in such EEA Financial Institution, its parent entity, or a bridge institution that may be
                       issued to it or otherwise conferred on it, and that such shares or other instruments of ownership will be
                       accepted by it in lieu of any rights with respect to any such liability under this Agreement or any other
                       Loan Document; or

                               (iii)   the variation of the terms of such liability in connection with the exercise of the
                       write-down and conversion powers of any EEA Resolution Authority .

                     Section 9.24.    Joint and Several Liabilitv. Each Borrower is jointly and severally liable for the
             Obligations as a primary obligor in respect thereof. The Obligations of each Borrower are independe nt of the
             Obligations of each other Borrower, and a separate action or actions may be brought and prosecuted against
             any Borrower to enforce this Agreement, irrespective of whether any action has been brought against any other
             Borrower or whether any other Borrower is joined in any such action.

                      Section 9.25.     Top Borrower. Each Borrower hereby designates SSB, in its capacity as the Top
             Borrower, to act as its agent hereunder. The Top Borrower may act as agent on behalf of any Borrower for
             purposes of delivering Borrowing Requests and notices of conversion/continuation pursuant to Section 2.08 or
             similar notices, giving instructions w ith respect to the disbursement of the proceeds of Loans, selecting interest
             rate options, giving and receiving all other notices and consents hereunder or under any of the other Loan
             Documents and taking all other actions (including in respect of compliance with covenants) on behalf of any
             Borrower or the Borrowers under the Loan Documents. SSB hereby accepts such appointment. Each
             Borrower agrees that each notice, election, representation and warranty, covenant, agreement and undertaking
             made on its behalf by the Top Borrower shall be deemed for all purposes to have been made by such Borrower
             and shall be binding upon and enforceable against such Borrower to the same extent as if the same had been
             made directly by such Borrower.

                                                                [Signature Pages Follow]




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                         IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly executed by their
                respective authorized officers as of the day and year first above written.

                                                               DAWN INTERMEDIATE, JN.C., as Holdings


                                                               By:
                                                                               Kristen McGuffey
                                                                               Executive Vice President,
                                                                               and Secretary


                                                               SERTA SIMMONS BEDDING, LLC, as the Top Borrower


                                                               By:
                                                                               Kristen McGuffey
                                                                               Executive Vice President,
                                                                               and Secretary


                                                               NATIONAL BEDDING COMPANY L.L.C., as a Borrower


                                                               By:
                                                                              Kristen McGuffey
                                                                              General Counsel and Secretar


                                                               SSB MANUFACTURING COMPANY, as a Borrower


                                                               By:
                                                                              Kristen McGuffey
                                                                              Executive Vice President, Genera
                                                                              and Secretary




                                               Signature Page to Second Lien Term Loan Agreement




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                                                                                         ANK USA, individually, as    .,.. .




                                                              By:
                                                                     Na
                                                                     Tit         Robert Ehudin
                                                                                 Authorized Signatory




                                               Signature Page to Second Lien Term Loan Agreement




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                                                      SCHEDULE 1.0l(a)

                                                    COMMITMENT SCHEDULE

                                   Name of Lender                         Term Loan Commitment

                         GOLDMAN SACHS BANK USA




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                                                          SCHEDULE 1.0l(b)

                                                           DUTCH AUCTION


                       "Auction Agent" means (a) the Administrative Agent or any of its Affiliates or (b) any other financial
             institution or advisor engaged by the Borrower (whether or not an Affiliate of the Administrative Agent) to act
             as an arranger in connection with any Dutch Auction; provided, that the Top Borrower shall not designate the
             Administrative Agent as the Auction Agent without the prior written consent of the Administrative Agent (it
             being understood that the Administrative Agent shall be under no obligation to agree to act as the Auction
             Agent); provided, further, that neither Holdings nor any of its subsidiaries may act as the Auction Agent.


                     "Dutch Auction" means an auction (an "Auction") conducted by any Affiliated Lender or any Debt
             Fund Affiliate (any such Person, the " Auction Party") in order to purchase Term Loans, in accordance with the
             following procedures; provided that no Auction Party shall initiate any Auction unless (I) at least five Business
             Days have passed since the consummation of the most recent purchase of Term Loans pursuant to an Auction
             conducted hereunder; or (TT) at least three Business Days have passed since the date of the last Failed Auction
             which was withdrawn pursuant to clause (c)(i) below:

                      (a)      Notice Procedures. In connection with any Auction, the Auction Party will provide
             notification to the Auction Agent (as defined below) (for distribution to the relevant Lenders) of the Term
             Loans that will be the subject of the Auction (an "Auction Notice"). Each Auction Notice shall be in a form
             reasonably acceptable to the Auction Agent and shall (i) specify the maximum aggregate principal amount of
             the Term Loans subject to the Auction, in a minimum amount of $10,000,000 and whole increments of
             $1 ,000,000 in excess thereof (or, in any case, such lesser amount of such Term Loans then outstanding or
             which is otherw·ise reasonably acceptable to the Auction Agent and the Administrative Agent (if different from
             the Auction Agent)) (the "Auction Amount"), (ii) specify the discount to par (which may be a range (the
             "Discount Range") of percentages of the par principal amount of the Term Loans subject to such Auction), that
             represents the range of purchase prices that the Auction Party would be willing to accept in the Auction, (iii)
             be extended, at the sole discretion of the Auction Party, to (x) each Lender and/or (y) each Lender with respect
             to any Term Loan on an individual Class basis and (iv) remain outstanding through the Auction Response
             Date. The Auction Agent will promptly provide each appropriate Lender with a copy of the Auction Notice
             and a fonn of the Return Bid to be submitted by a responding Lender to the Auction Agent (or its delegate) by
             no later than 5:00 p.m. on the date specified in the Auction Notice (or such later date as the Auction Party may
             agree with the reasonable consent of the Auction Agent) (the " Auction Response Date").

                       (b)     Replv Procedures. In connection with any Auction, each Lender holding the relevant Term
             Loans subject to such Auction may, in its sole discretion, participate in such Auction and may provide the
             Auction Agent with a notice of participation (the " Return Bid") which shall be in a fom1 reasonably acceptable
             to the Auction Agent, and shall specify (i) a discount to par (that must be expressed as a price at which it is
             willing to sell all or any portion of such Tenn Loans) (the "Reply Price"), which (when expressed as a
             percentage of the par principal amount of such Term Loans) must be within the Discount Range, and (ii) a
             principal amount of such Term Loans, which must be in whole increments of $1 ,000,000 (or, in any case, such
             lesser amount of such Term Loans of such Lender then outstanding or which is otherwise reasonably
             acceptable to the Auction Agent) (the "Reply Amount"). Lenders may only submit one Return Bid per
             Auction, but each Return Bid may contain up to three bids only one of which may result in a Qualifying Bid.
             In addition to the Return Bid, the participating Lender must execute and de liver, to be held in escrow by the
             Auction Agent, an Assignment and Assumption with the dollar amount of the Term Loans to be assigned to be
             left in blank, which amount shall be completed by the Auction Agent (but in no such event shall the amount be
             in excess of the principal amount of Tenn Loans such Lender has indicated it is willing to sell) in accordance



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             with the final determination of such Lender' s Qualify ing Bid pursuant to clause (c) below. Any Lender whose
             Return Bid is not received by the Auction Agent by the Auction Response Date shall be deemed to have
             declined to participate in the relevant Auction with respect to all of its Tenn Loans.

                       (c)     Acceptance Procedures. Based on the Reply Prices and Reply Amounts received by the
             Auction Agent prior to the applicable Auction Response Date, the Auction Agent, in consultation with the
             Auction Party, will detem1ine the applicable price (the " Applicable Price") for the Auction, w hich will be the
             lowest Reply Price for which the Auction Party can complete the Auction at the Auction Amount; provided
             that, in the event that the Reply Amounts are insufficient to allow the Auction Party to complete a purchase of
             the entire Auction Amount (any such Auction, a " Failed Auction"), the Auction Party shall either, at its
             election, (i) withdraw the Auction or (ii) complete the Auction at an Applicable Price equal to the highest
             Reply Price. The Auction Party shall purchase the relevant Tenn Loans (or the respective portions thereot)
             from each Lender with a Reply Price that is equal to or lower than the Applicable Price ("Qualifying Bids") at
             the Applicable Price; provided that if the aggregate proceeds required to purchase all Tem1 Loans subject to
             Qualifying Bids would exceed the Auction Amount for such Auction, the Auction Party shall purchase such
             Tenn Loans at the Applicable Price ratably based on the principal amounts of such Qualifying Bids (subject to
             rounding requirements specified by the Auction Agent in its discretion). If a Lender has submitted a Return
             Bid containing multiple bids at different Reply Prices, only the bid with the lowest Reply Price that is equal to
             or less than the Applicable Price will be deemed to be the Qualifying Bid of such Lender (e.g., a Reply Price of
             $100 with a discount to par of 2%, when compared to an Applicable Price of $100 with a 1% discount to par,
             will not be deemed to be a Qualifying Bid, while, however, a Reply Price of $100 with a discount to par of
             2.50% would be deemed to be a Qualifying Bid). The Auction Agent shall promptly, and in any case wiiliin
             five Business Days following the Auction Response Date with respect to an Auction, notify (1) the Top
             Borrower of the respective Lenders' responses to such solicitation, the effective date of the purchase of Term
             Loans pursuant to such Auction, the Applicable Price, and the aggregate principal amount of the Term Loans
             and the tranches thereof to be purchased pursuant to such Auction, (II) each participating Lender of the
             effective date of the purchase of Term Loans pursuant to such Auction, the Applicable Price, and the aggregate
             principal amount and the tranches of Tem1 Loans to be purchased at the Applicable Price on such date, (HI)
             each participating Lender of the aggregate principal amount and the tranches of the Tenn Loans of such
             Lender to be purchased at the Applicable Price on such date and (IV) if applicable, each participating Lender
             of any rounding and/or proration pursuant to the second preceding sentence. Each determination by the
             Auction Agent of the amounts stated in the foregoing notices to the Top Borrower and Lenders shall be
             conclusive and binding for all purposes absent manifest error.

                       (d)       Additional Procedures.

                                (i)        Once initiated by an Auction Notice, the Auction Party may not withdraw an Auction
                       other than a Failed Auction. Furthermore, in connection with any Auction, upon submission by a
                       Lender of a Qualifying B id, such Lender (each, a "Qualif-ving Lender") will be obligated to sell the
                       entirety or its allocable portion of the Reply Amount, as the case may be, at the Applicable Price.

                                (ii)      To the extent not expressly provided for herein, each purchase of Term Loans
                       pursuant to an Auction shall be consummated pursuant to procedures consistent with the provisions in
                       this definition, established by the Auction Agent acting in its reasonable discretion and as reasonably
                       agreed by the Top Borrower.

                               (iii)   In connection with any Auction, the Borrowers and the Lenders acknowledge and
                       agree that the Auction Agent may require as a condition to any Auction, the payment of customary
                       fees and expenses by the Auction Party in connection therewiili as agreed between the Auction Party
                       and the Auction Agent.

                                (iv)    Notwithstanding anything in any Loan Document to the contTary, for purposes of this
                       definition, each notice or other communication required to be delivered or otherwise provided to the



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                       Auction Agent (or its delegate) shall be deemed to have been given upon the Auction Agent's (or its
                       delegate' s) actual receipt during normal business hours of such notice or communication; provided
                       that any notice or communication actually received outside of normal business hours shall be deemed
                       to have been given as of the opening of business on the next Business Day.

                                (v)    The Borrowers and the Lenders acknowledge and agree that the Auction Agent may
                       perform any and all of its duties under this definition by itself or through any Affiliate of the Auction
                       Agent and expressly consent to any such delegation of duties by the Auction Agent to such Affiliate
                       and the performance of such delegated duties by such Affiliate. The exculpatory provisions pursuant
                       to this Agreement shall apply to each Affiliate of the Auction Agent and its respective activities in
                       connection with any purchase of Term Loans provided for in this definition as well as activities of the
                       Auction Agent.




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                                                       SCHEDULE 1.0J(c)

                                                          MORTGAGES

                  l.   23532 Brodiaea Avenue, Moreno Valley, California 92553, owned by SSB Manufacturing Company.




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                                                             SCHEDULE 3.05

                                                   FEE OWNED REAL ESTATE ASSETS

                        Loan Partv                               Address
                  I     The Simmons Manufacturing Co., LLC       1809 Adel Street
                                                                 Janesville, WI
                  2.    The Simmons Manufacturing Co., LLC       1925 Cleveland Street
                                                                 Janesville, WI
                  3.    National Beddiug Company L.L.C.          10950 W. No11hview Avenue
                                                                 Glendale, AZ
                  4.    SSB Manufacturing Company                23532 Brodiaea A venue
                                                                 Moreno Valley, CA
                  5.    National Bedding Company L.L.C.          15800 East 40th A venue
                                                                 Aurora, CO
                  6.    SSB Manufacturing Company                3774 Interstate Park Road North
                                                                 Rivi.era Beach, FL
                  7.    National Bedding Company L.L.C.          70 I Horizon South Industrial Parkway
                                                                 Grovetown, GA
                  8.    National Bedding Company L.L.C.          500 South 17th Street
                                                                 Clear Lake, IA
                  9.    National Bedding Company L.L.C.          61 Leona Drive
                                                                 Middleborough, MA
                  10.   National Bedding Company L.L.C .         260 Highway 35 N.
                                                                 Batesville, MS
                  ll    National Bedding Compru1y L.L.C.         6540 Judge Adams Road
                                                                 Whitsell, NC
                  12.   National Bedding Company L.L.C.          18 Prestige Lane
                                                                 Lancaster, PA
                  13.   National Bedding Company L.L.C .         10710 Telge Road
                                                                 Houston, TX
                  14.   National Bedding Compru1y L.L.C.         403 No1th Levee Road
                                                                 Puyallup, WA
                  15.   National Bedding Company L.L.C.          1500 Lee Lane
                                                                 Beloit, WI
                  16.   National Bedding Compru1y L.L.C.         2600 Forbs Ave.
                                                                 Hoffman Estates, IL
                  17.   National Bedding Company L.L.C .         1212 26th Street SouU1west
                                                                 Cullmru1, AL




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                                                            SCHEDULE 3.13

                                                             SUBSIDIARIES

                                  Subsidiary                 Type of Entity                      Equity Holder        Ownership
                             ,,                                                ,                                       Interest
                                                 -.
               Se1ta Simmons Bedding, LLC             Limited Liability Company    Dawn Intermediate, Inc.           JOO%

               SSB Manufacturing Company              Corporation                  Serta Simmons Bedding, LLC         100%

               The Simmons Manufacturing Co., LLC     Limited Liability Company    SSB Manufacturing Company         JOO%

               Simmons Caribbean Bedding, Inc.        Foreign Corporation          SSB Manufacturing Company         JOO%

               World of Sleep Outlets, LLC            Limited Liability Company    SSB Manufacturing Company         JOO%

               Simmons Contract Sales, LLC            Limited Liability Company    SSB Manufacturing Company          100%

               Dreamwell, Ltd.                        Limited Liability Company    SSB Manufacturing Company         JOO%

               SSB Logistics, LLC                     L imited Liability Company   SSB Manufacturing Company         JOO%

               Simmons Bedding Company, LLC           Limited Liability Company    Serta Simmons Bedding, LLC        JOO%

               SSBNYC, LLC                            Limited Liability Company    Serta Simmons Bedding, LLC        100%

               SSH Canada Holding Co , LLC            Limited Liability Company    Serta Simmons Bedding, LLC        100%

               SSH Bedding Canada, Co.                Foreign Corporation          SSH Canada Holding Co , LLC        100%

               Serta International Holdco, LLC        Limited Liability Company    Serta Simmons Bedding, LLC         100%

               National Bedding Company L.L.C.        L imited Liability Company   Serta International Holdco, LLC   JOO%

               Serta, Inc.                            Corporation                  National Bedding Company LLC.     82.4%

               Se11a Canada Ltd.                      Foreign Corporation          Serta, Inc.                        100%




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                                                      SCHEDULE 4.0l(b)

                                                      LOCAL COUNSEL


                  1. Quarles & Brady LLP (Illinois)




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                                                     SCHEDULE 5.10

                                               UNRESTRICTED SUBSIDIARIES


             None.




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                                                              SCHEDULE 5.15

                                                       POST-CLOSING OBLIGATIONS

                  l.   Within 10 days of the Closing Date, the Top Borrower shall deliver ACORD certificates reasonably
                       satisfactory to the Administrative Agent evidencing the insurance coverage required by Section 5.05
                       of this Agreement.


                  2.   Within l Odays of the Closing Date, the Top Borrower shall deliver (subject to the Intercreditor
                       Agreements) re placement membership certificates or a promissory note, as applicable, together with
                       appropriate transfer powers executed in blank , in form and substance reasonably satisfactory to the
                       Administrative Agent, for the folio-wing membership certificates and promissory note, as applicable:

                                                                 Certificates

                            Holder                               Issuer                              Descri1ltion
            Simmons Bedding Company                 Dreamwell, Ltd.                    Certificate No. 1: 100% interest
                                                    The Simmons Manufacturing Co.,
            Simmons Bedding Company                                                    Certificate No. 3: 100% interest
                                                    LLC
            Simmons Bedding Company                 Simmons Contract Sales, LLC        Certificate No. 3: 100% interest
            Simmons Bedding Company                 World of Sleep Outlets, LLC        Certificate No. 3: 100% interest

                                                              Promissory Note:


                   Holder                     Issuer                  Amount                         Description
                                                                                      PromisSOI}' Note and corresponding
             Serta International      Star Bedding Products
                                                               C$18, 129,814.04       Allonge and Memorandum of
             Holdco, LLC              Company
                                                                                      Agreement



                  3.   Within 45 days of the Closing Date, the Top Borrower shall deliver insurance endorsements
                       reasonably satisfactory to the Adminis trative Agent in accordance with Section 5.05 of this
                       Agreement.


                 4.    Within 90 days of the Closing Date, the Top Borrower shall cause the applicable Loan Party to
                       comply with the requirements set forth in clause (b) of the definition of "Collateral and Guarantee
                       Requirement" with respect to the Material Real Estate Asset listed on Schedule 1.0l(c) to this
                       Agreement.

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                                                            SCHEDULE 6.01

                                                      EXISTING INDEBTEDNESS

                  I.   Indebtedness in respect of the Lease Agreement beh:veen the City of Shawnee and Simmons Company
                       (predecessor-in-interest by assignment to The Simmons Manufacturing Co., LLC) relating to the
                       Indenture of Trustee between City of Shawnee, Kansas and State Street Bank and Trust Company of
                       Missouri, N.A., as Trustee, dated as of December 1, 1996, as amended , relating to $5,000,000 Private
                       Activity Revenue Bonds, Series I 996 under which there is, as of the Closing Date, approximately
                       $400,000 outstanding.

                  2. Indebtedness in respect of the Lease, dated as of August 24, 2011 , by and between Healey
                     Investments, L.P. and Simmons Bedding Company, as amended, under which there is, as of the
                     Closing Date, approximately $3,412,530 outstanding.

                  3.   Indebtedness in respect of the Lease dated as of February 24, 2015, by and ben:veen Park North 4,
                       LLC and SSB Manufacturing Company, under which there is, as of the Closing Date, approximately
                       $16,968,678 outstanding.


                  4.   Indebtedness in respect of the Sublease dated as of August 28, 2014, by and between Turner
                       Construction Company and Serta Simmons Bedding, LLC, under which there is, as of the Closing
                       Date, approximately $470,200 outstanding.


                  5.   Indebtedness in respect of the Lease dated as of June 29, 2016, by and beh:veen Presidio Technology
                       Capital, LLC and Serta Simmons Bedding, LLC, under which there is, as of the Closing Date,
                       approximately $3,698,183 outstanding.


                  6.   Indebtedness in respect of the Lease dated as of October 3, 2016, by and beh\1een Presidio Technology
                       Capital, LLC and Serta Simmons Bedding, LLC, under which there is, as of the Closing Date,
                       approximately $4,365,738 outstanding.

                  7. Indebtedness in respect of the Lease dated as of November 20, 2015, by and between lAC Port 167
                     LLC and SSB Manufacturing Company, under which there is, as of the Closing Date, approximately
                     $10,055,591 outstanding.

                  8.   Indebtedness in respect of the Interest Rate Swap Transaction (Ref. No. ER3ND) dated December 13,
                       2013, by and between Morgan Stanley Capital Services, LLC and Serta Simmons Bedding, LLC
                       under which there is, as of the Closing Date, an obligation of approximately $207,959.

                  9.   Indebtedness in respect of the Interest Rate Swap Transaction (Ref. No. Nl687484N) dated December
                       13, 2013, by and ben:veen Deutsche Bank AG New York and Serta Simmons Bedding, LLC under
                       which there is, as of the Closing Date, an obligation of approximately $1,038,335.

                  10. Indebtedness in respect of the Interest Rate Swap Transaction (Ref. No. N1687485N) dated December
                      13, 2013, by and beh:veen Deutsche Bank AG New York and Serta Simmons Bedding, LLC under
                      which there is, as of the Closing Date, an obligation of approximately $4,635,312.




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                  11. Letter of Credit in the amount of $ 1,760,000 issued to New Jersey Department of Environmental
                      Remediation for SSB Manufacturing Company to meet statutory requirements for funding of ongoing
                      environmental remediation.

                  12. indebtedness in connection with the Liens listed on Schedule 6.02.




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                                                             SCHEDULE 6.02

                                                             EXISTING LIENS


                  1.   Liens in respect of the real property owned by Simmons Caribbean Bedding, Inc. and located at Las
                       Cuevas Industrial Park, Trujillo Alto, Puerto Rico and arising in connection with the Deed of
                       Mortgage, dated as of December 12, 1997, by and between Simmons Caribbean Bedding, Inc. and
                       Banco Santander Puerto Rico.


                  2.   Liens in respect of the real property owned by SSH Bedding Canada Co. (successor in interest by
                       amalgamation of Simmons Canada Inc.) and located at 3636 1 lA Street, Southeast, Calgary, Alberta
                       and arising in connection with (i) the Memorandum of Agreement, dated as of December 10, 1965,
                       between Simmons Canada Inc. (as successor-in-interest to Simmons Limited) and the City of Calgary,
                       as amended, and (ii) the Transfer of Land Instrument, dated February 22, 1966, between Simmons
                       Canada Inc. (as successor-in-interest to Simmons Limited) and the City of Calgary.


                  3.   Liens in respect of the real property owned by The Simmons Manufacturing Co., LLC, and located at
                       7910 Hedge Lane Terrace, Shawnee Mission, Kansas and arising in connection with the $5,000,000
                       Private Activity Revenue Bonds, Series 1996 (Simmons Company Project), of the City of Shawnee,
                       Kansas and the documentation relating thereto.

                  4.   Liens in respect of the real property owned by The Simmons Manufacturing Co., LLC and located at
                       1809 Adel Street, Janesville, Wisconsin and arising in connection with the Industrial Development
                       Revenue Bonds Series 1982 due October 15, 2017 and the documentation relating thereto.

                  5.   Liens in respect of the real property owned by The Simmons Manufacturing Co., LLC and located at
                       1925 Cleveland Street, Janesville, Wisconsin (i) arising in connection with the Warranty Deed from
                       Frank W. Sass (d/b/a Sass Properties) to The Simmons Manufacturing Co., LLC, dated February 28,
                       2005 and (ii) disclosed under and/or subject to the title insurance policy issued by Chicago Title
                       Insurance Company to The Simmons Manufacturing Co., LLC, dated effective as of Februaiy 28,
                       2005.


                  6.   Liens on funds on deposit in account number 2572006778 maintained at US Bank in an amount not to
                       exceed $100,000 but only to the extent that funds on deposit in such account secure obligations arising
                       under the Remediation Trnst Agreement, dated as of September 29, 2003, by and between SSB
                       Manufacturing Company (as successor to Simmons Bedding Company) and Wachovia Bank, N.A., as
                       trustee.

                  7.   On October 28, 1998, UBS AG, Stamford Branch (' 'UBS") was granted a security interest against the
                       "Greenwich" trademark (registration number 1988658), among others (the " 98 UBS Lien"). The 98
                       UBS Lien was released with respect to trademark registrations (and the underlying indebtedness was
                       repaid), but it is believed that the applicable release documentation neglected (in error) to include the
                       aforementioned "Greenwich" mark.


                  8.   As recorded on April 15, 1996, Chemical Bank (now Chase Manhattan Bank) was granted a security
                       interest in the "S Simmons (Stylized) and Design" trademark (registration number 2219191), among
                       others (the "Chemical Bank Lien"). The security interest was released and terminated (and the
                       underlying indebtedness was repaid), but the release recorded at 1820/0060 neglected (in error) to




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                       include the aforementioned "S Simmons (Sty lized) and Design" trademark (registration number
                       2219191).

                 9.    On March 22, 1996, Simmons Acquisition Corporation granted a security interest to Chemical Bank
                       in the copyright registration titled "Dropping the ball" (registration number TX0004093428), among
                       others (the " CB Lien"). Although, the CB Lien was released with respect to copyright registrations
                       (and lhe underlying indebtedness was repaid), it is believed that (in error) no release documentation
                       was executed regarding the aforementioned "Dropping the ball" copyright.

                  10. Liens consisting of cash collateral deposited in connection with (i) the Trust Agreement for Payment
                      Agreement Obligations, effective as of January 8, 2010, among SSB Manufacturing Company (as
                      successor to Simmons Bedding Company), as trustor, Wells Fargo Bank, N.A., as trustee, and
                      National Union Fire Insurance Company of Pittsburgh, PA, on behalf of itself and its affiliates, as
                      beneficiary, until the release thereof following the replacement thereof with a Letter of Credit issued
                      under the Revolving Facility and (ii) the Trust Agreement for Payment Agreement Obligations,
                      effective as of August 5, 2010, among National Bedding Company L.L.C. , as trustor, Wells Fargo
                      Bank, N.A., as trustee, and National Union Fire Insurance Company of Pittsburgh, PA, as beneficiary,
                      as amended by Addendum #1 to Trust Agreement for Payment Agreement Obligations, effective as of
                      August 5, 2010.

                  11. Liens in connection with the following fi lings:




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        Jurisdiction        Debtor                                Secured Party                             Filing Info   Collateral

        Illinois SOS        National Bedding Company L.L.C.      Northstar Recycling Company, Inc.       016406449        Equipment
                                                                                                         7/1/2011

        Illinois SOS        National Bedding Company L.L.C.      U.S. Bru1corp Equipment Finance, Inc.   016474258        Equipment
                                                                                                         7/27/2011

        Tllinois SOS        National Bedding Company L.L.C.       Wells Fargo Bank, NA.                  017304860        Equipment
                                                                                                         5/22/2012

        Illinois SOS        National Bedding Company, L.L.C.     IHFC Properties, LLC                    017369903        All installations, samples, goods,
                                                                                                         6/15/2012        furn..itw-e, fixtures and other property
                                                                                                                          placed by Debtor in showroom space
                                                                                                                          #M530 including bays M532, M534
                                                                                                                          and M536, and in any wing of U1e
                                                                                                                          International       Home     Fumisltings
                                                                                                                          Center, 210 East Commerce Street,
                                                                                                                          H..igh Point, NC under Lease
                                                                                                                          Agreement dated May 30, 2012.

        Illinois SOS        National Bedding Compru1y L.L.C.      IHFC Properties, LLC                   19753549         All installations, samples, goods,
                                                                                                         10/27/2014       merchru1dise, furniture, fixtures and
                                                                                                                          0U1er property located in Space No.
                                                                                                                          M530, 210 E. Conuuerce Avenue,
                                                                                                                          H..igh Point, NC and in any pati of the
                                                                                                                          building located at 210 E. Commerce
                                                                                                                          Avenue, High Point, NC

        lllino is SOS       National Bedding Company L.L.C.       Wells Fargo Bank, N.A.                 2099101 I        Equipment
                                                                                                         12/31/20 I 5

        Illinois SOS        National Beddi11g Company, L.L.C.    IHFC Propeti..ies, LLC                  17639838         All installations, samples, goods
                                                                                                         10/01/2012       furn..iture, fixtures and other prope1iy in
                                                                                                                          showToom I-11 141, including bays
                                                                                                                          under HI 124 and HI 137 wider the
                                                                                                                          Lease Agreement dated Januaty 18,
                                                                                                                          2010, between Debtor and Secured
                                                                                                                          Pa.1iy.




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        Jurisdiction       Debtor                                             Secured Party                                Filing Info   Collateral

        Delaware SOS       North American Spring Enterprises Co., LLC 1       Crown Credit Company                      20112166505      Equipment
                                                                                                                        6/7/2011

        Delaware SOS        Serta Simmons Bedding, LLC                        Presidio Teclmology Capital, LLC          2016 1311818     Equipment
                                                                                                                        03/04/2016


        Delaware SOS        Serta Simmons Bedding, LLC                        Presidio Technology Capital, LLC          2016 1311933     Equipment
                                                                                                                        03/04/2016

        Delaware SOS        Serta Simmons Bedding, LLC                        Crow11 Equipment Corporation              2016 5313711     Equipment
                                                                                                                        08/31/2016

        Delaware SOS        Simmons Bedding Company2                          Meridian Leasing Corporation              2011 4245 166    Equipment
                                                                                                                        11/3/2011

        Delaware SOS        Simmons Bedding Company 3                         IHFC Propetties, LLC                      2011 4714989     All installations, samples, goods,
                                                                                                                        12/8/20 I I      furniture, fixtures and otl1er property
                                                                                                                                         placed by Debtor in showroom space
                                                                                                                                         #W746 including bays H742 and
                                                                                                                                         W745 and 111 any wing of tl1e
                                                                                                                                         International     Home      Fumishings
                                                                                                                                         Center, 2 IO East Commerce Street,
                                                                                                                                         High Point, NC 27260 under Lease
                                                                                                                                         Agreement dated November 1, 2011.

        Delaware SOS        Simmons Bedding Company4                          Meridian Leasing Corporation              201 I 4843705    Equipment
                                                                                                                        12/ 16/201 I



             1
                 National Bedding Company L.C.C. successor in interest to Nortl1 American Spring Enterp1ises Co., LLC

             2
                 SSB Manufacturing Company as successor in i11terest to Sinunons Bedding Company

             3
                 SSB Manufacturing Company as successor in interest to Sinunons Bedding Company

             4
                 SSB Manufacturing Company as successor in interest to Sinuuons Bedding Company




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        Jurisdiction      Debtor                                 Secured Party                     Filing Info   Collateral

        Delaware SOS       The Simmons Manufacturing Co., LLC    Crown Credit Company            2010 0516215    Equipment
                                                                                                 2/17/2010




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                                                               SCHEDULE 6.06

                                                         EXISTING INVESTMENTS

                   1. Investments in subsidiaries listed on Schedule 3.13 and existing on the Closing Date .

                   2.   Investments arising under the Promissory Note, dated as of August 31, 2005, made by SSH Bedding
                        Canada Co. as successor by amalgamation to Star Bedding Products Company (as successor by
                        merger to 3104394 Nova Scotia Company) in favor of Serta International Holdco, LLC (previously
                        named AOT Bedding Holdings, LLC and, prior to assuming such name, AOT Bedding Holdings
                        Corporation) under which there is, as of the Closing Date, approximately $13,537,532 outstanding
                                                5
                        (the "2005 SBPC Note").

                   3.   Investments arising under the Promissory Note, dated as of June 11, 2007, made by SSH Bedding
                        Canada Co. as successor by amalgamation to Star Bedding Products Company (as successor by
                        merger to Serta Montreal, lnc.) in favor of National Bedding Company L.L.C., under which there is,
                                                                                                             6
                        as of the Closing Date, approximately $2,326,246 outstanding (the "2007 SBPC Note").




             5
                 Promissory Note is actually denominated in Canadian dollars ($ 18,129,814) translated as of 10/29/2016.

             6
                 Promissory Note is actually denominated in Canadian dollars ($3,115,368) translated as of 10/29/2016.




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                                                          SCHEDULE 9.01

                                           BORROWER' S WEBSITE FOR ELECTRONIC DELIVERY


                  1. www.intralinks.com/login/ LogiJ1 then select: SSB Creditholders Info




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                                                                                                                  EXHIBIT A-1
                                                            [FORM OF]
                                                       AFFILIATED LENDER
                                                  ASSIGNMENT AND ASSUMPTION

                     This Affiliated Lender Assignment and Assumption (the "Affiliated Lender Assignment and
             Assumption") is dated as of the Effective Date set forth below and is entered into by and ben;veen [Insert
             name of Assignor] (the "Assignor") and [Insert name of Affiliated Lender] (the " Assignee"). Capitalized
             tem1s used but not defined herein shall have the meanings given to them in the Second Lien Term Loan
             Agreement identified below (as amended, restated, amended and restated, supplemented or otherwise modified
             from time to time, the " Second Lien Term Loan Agreement"), receipt of a copy of which is hereby
             acknowledged by the Assignee. The Standard Terms and Conditions set forth in Annex I attached hereto are
             hereby agreed to and incorporated herein by reference and made a part of this Affiliated Lender Assignment
             and Assumption as if set forth herein in full.

                      For an agreed consideration, the Assignor hereby irrevocably sells and assigns to the Assignee, and
             the Assignee hereby irrevocably purchases and assumes from the Assignor, subject to and in accordance with
             the Standard Terms and Conditions and the Second Lien Tem1 Loan Agreement, as of the Effective Date
             inserted by the Administrative Agent as contemplated below, (i) all of the Assignor's rights and obligations in
             its capacity as a Term Lender under the Second Lien Term Loan Agreement and any other documents or
             instruments delivered pursuant thereto to the extent related to the amount and percentage interest identified
             below of all of such outstanding rights and obligations of the Assignor under the respective facilities identified
             below and (ii) to the extent pennitted to be assigned under applicable Requirements of Law, all claims, suits,
             causes of action and any other right of the Assignor (in its capacity as a Tem1 Lender) against any Person,
             whether known or unknown, arising under or in connection with the Second Lien Term Loan Agreement, any
             other documents or instruments delivered pursuant thereto or the loan transactions governed thereby or in any
             way based on or related to any of the foregoing, including contract claims, tort claims, malpractice claims,
             statutory claims and all other claims at law or in equity related to the rights and obligations sold and assigned
             pursuant to clause (i) above (the rights and obligations sold and assigned pursuant to clauses (i) and (ii} above
             being referred to herein collectively as the " Assigned Interest"). In the case where the Assigned Interest
             covers all of the Assignor' s rights and obligations under the Second Lien Term Loan Agreement, the Assignor
             shall cease to be a party thereto but shall continue to be entitled to the benefits of Sections 2.15, 2.16, 2.17 and
             9.03 of the Second Lien Tenn Loan Agreement with respect to facts and circumstances occurring on or prior to
             the Effective Date and subject to its obligations hereunder and under Section 9.13 of the Second Lien Tenn
             Loan Agreement. Such sale and assignment is (i) subject to acce ptance and recording thereof in the Register
             by the Administrative Agent pursuant to Section 9 .05(b)(v) of the Second Lien Term Loan Agreement,
             (ii) without recourse to the Assignor and (iii) except as expressly provided in this Affiliated Lender
             Assignment and Assumption, without representation or warranty by the Assignor.

                       1.        Assignor: [ •]

                     2.     Assignee: [•] and is an Affiliated Lender [that is a Non-Debt Fund Affiliate / Holdings,
             the Borrowers or a subsidiary thereof] .

                    3.       Borrowers: Serta Simmons Bedding, LLC, a Delaware limited liability company ("SSB" or
             the "Top Borrower"), National Bedding Company L.L.C., an Illinois limited liability company (' 'National
             Bedding"), and SSB Manufacturing Company, a Delaware corporation (" SSB Manufacturing").

                     4.     Administrative Agent: Goldman Sachs Bank USA, as administrative agent under the Second
             Lien Tenn Loan Agreement.

                     5.     Second Lien Tenn Loan Agreement: That certain Second Lien Tenn Loan Agreement, dated
             as of November 8, 2016 (as amended, restated, amended and restated, supplemented or otherwise modified, the
             " Second Lien Term Loan Agreement"), by and among, inter alias, SSB, National Bedding and SSB

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             Manufacturing, as borrowers, Dawn Intermediate, Inc., a Delaware corporation (" Holdings"), the Lenders from
             time to time party thereto and Goldman Sachs Bank USA, in its capacities as administrative agent and
             collateral agent for the Lenders.

                       6.        Assigned Interest:

                                                                                            Percentage Assigned of
                 Aggregate Amount of          Class of            Amount of Loans                                            CUSIP
                                                                                             Loans under Relevant
                        Loans              Loans Assigned           Assigned 1                                               Number
                                                                                                    Class2
             $                                                $                                               %

             $                                                $                                                    %

             $                                                $                                                    %


                   7.    THE PARTIES HERETO ACKNOWLEDGE THAT ANY ASSIGNMENT TO AN
             AFFILIATED LENDER WHICH RESULTS IN THE AGGREGATE PRINCIPAL AMOUNT OF LOANS
             THEN HELD BY ALL AFFILIATED LENDERS EXCEEDING THE AFFILIATED LENDER CAP (AFTER
             GIVING EFFECT TO ANY SUBSTANTIALLY STMULTANEOUS CANCELLATION OF LOANS)
             SHALL BE NULL AND VOID WITH RESPECT TO THE AMOUNT IN EXCESS OF THE AFFILIATED
             LENDER CAP (SUBJECT TO SECTION 9.05(f)(ii) OF THE SECOND LIEN TERM LOAN
             AGREEMENT).

                  Effective Date: [• ] [• ], 20[• ] [TO BE INSERTED BY THE ADMINISTRATIVE AGENT AND
             WHICH SHALL BE THE EFFECTIVE DATE OF RECORDATION OF TRANSFER IN THE
             REGISTER THEREFOR].

                                                             [Signature Page Follows]




                       Except in the case of any assignment to another Lender, any Affiliate of any Lender or any Approved Fund or any
                       assigmnent of the entire remaining amount of the relevant assigniug Lender's Loans or Commitments of any Class, not
                       to be less than $1,000,000 unless U1e Top Borrower and the Administrative Agent otherwise consent.
             2
                       Set fo11h, to at least 9 decimals, as a percentage of the Conunitment/Loans of all Lenders thereunder.


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                       The terms set forth in this Affiliated Lender Assignment and Assumption are hereby agreed to:


                                                                          ASSIGNOR

                                                                          [NAME OF ASSIGNOR)

                                                                          By :
                                                                                 Name:
                                                                                 Title:




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                                                                            ASSIGNEE

                                                                            [NAME OF ASSIGNEE]

                                                                            By:
                                                                                  Name:
                                                                                  Title:

                                                                            [Consented to:]3


                                                                            SERTA SIMMONS BEDDING, LLC,
                                                                                  as the Top Borrower

                                                                            By:
                                                                                  Name:
                                                                                  Title:




             3
                       To be added only if the consent of the Top Bo1rnwer is required by Section 9.0S(b)CiXA) of the Second Lien Term
                       Loan Agreement.


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                                                STANDARD TERMS AND CONDITIONS FOR
                                           AFFILIATED LENDER ASSIGNMENT AND ASSUMPTION

                       1.       Representations and Warranties.

                       1.1    Assignor. The Assignor (a) represents and warrants that (i) it is the legal and beneficial
             owner of the Assigned Interest, (ii) the Assigned Interest is free and clear of any lien, encumbrance or other
             adverse claim, (iii) its Commitment, and the outstanding balances of its Loans, in each case without giving
             effect to assignments thereof which have not become effective, are as set forth herein, and (iv) it has full power
             and authority, and has taken all action necessary, to execute and deliver this Affiliated Lender Assignment and
             Assumption and to consummate the transactions contemplated hereby; and (b) makes no representation or
             warranty and assumes no responsibility with respect to (i) any statement, warranty or representation made in or
             in connection with the Second Lien Term Loan Agreement, any other Loan Document or any other instrument
             or document furnished pursuant thereto (other than this Affiliated Lender Assignment and Assumption) or any
             collateral thereunder, (ii) the execution, legality , validity, enforceability, genuineness, sufficiency or value of
             the Loan Documents or any collateral thereunder, (iii) the financial condition of the Top Borrower, any of its
             RestTicted Subsidiaries or Affiliates or any other Person obligated in respect of any Loan Document or (iv) the
             performance or observance by Holdings, the Top Borrower, any of its Restricted Subsidiaries or Affiliates or
             any other Person of any of their respective obligations under any Loan Document. The Assignor
             acknowledges and agrees that in connection with this Affiliated Lender Assignment and Assumption, (1) the
             applicable Affiliated Lender or its Affiliates may have, and later may come into possession of, material non-
             public infonuation with respect to Holdings, the Top Borrower and/or any subsidiary thereof and/or their
             respective Securities "MNPI"), (2) the Assignor has independently, without reliance on the applicable
             Affiliated Lender, the Investors, Holdings, the Top Borrower, any of their respective subsidiaries, the
             Administrative Agent, the Arrangers or any of their respective Affiliates, made its own analysis and
             determination to participate in such assignment not\;vithstanding the Assignor' s lack of knowledge of the
             MNPI, (3) none of the applicable Affiliated Lenders, the Investors, Holdings, the Top Borrower, any of their
             respective subsidiaries, the AdministTative Agent, the Arrangers or any of their respective Affiliates shall have
             any liability to the Assignor, and the Assignor hereby waives and releases, to the extent permitted by
             applicable Requirements of Law, any claims it may have against the applicable Affiliated Lender, the
             Investors, Holdings, the Top Borrower, each of its respective subsidiaries, the Administrative Agent, the
             Arrangers and their respective Affiliates, under applicable Requirements of Law or otherwise, with respect to
             the nondisclosure of the MNPI and (4) the MNPI may not be available to the Administrative Agent, the
             Arrangers or the other Lenders.

                      1.2     Assignee. The Assignee (a) represents and warrants that (i) it is an Affiliated Lender and has
             full power and authority, and has taken all action necessary, to execute and deliver this Affiliated Lender
             Assignment and Assumption and to consummate the transactions contemplated hereby and to become a Lender
             under the Second Lien Tenn Loan Agreement, (ii) it satisfies the requirements, if any, specified in the Second
             Lien Tenn Loan Agreement that are required to be satisfied by it in order to acquire the Assigned Interest and
             become a Lender, (iii) from and after the Effective Date, it shall be bound by the provisions of the Second Lien
             Term Loan Agreement and the other Loan Documents as a Lender (including as an Affiliated Lender)
             thereunder and, to the extent of the Assigned Interest, shall have the obligations of a Lender (including as an
             Affiliated Lender) thereunder, (iv) it has received a copy of the Second Lien Term Loan Agreement and the
             Intercreditor Agreement, together with copies of the most recent financial statements referred to in Section
             4.0l(c) or delivered pursuant to Section 5.01 thereof, as applicable, and such other documents and infonnation
             as it has deemed appropriate to make its O'<Vn credit analysis and decision to enter into this Affil iated Lender
             Assignment and Assumption and to purchase the Assigned Interest on the basis of which it has made such
             analysis and decision independently and without reliance on the Administrative Agent, the Assignor or any
             other Lender, (v) attached to the Affiliated Lender Assignment and Assumption is any documentation required
             to be delivered by it pursuant to Section 2.17 of the Second Lien Term Loan Agreement, duly completed and
             executed by the Assignee, (vi) after giving effect to this Affiliated Lender Assignment and Assumption and
             subject to the provisions of Section 9 .05(g)(ii). the aggregate principal amount of all Loans then held by all

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             Affiliated Lenders does not exceed the Affiliated Lender Cap (after giving effect to any substantially
             simultaneous cancellation thereof) and (vii) in the case of any assignment effected pursuant to a Dutch Auction
             and/or open market purchase conducted by Holdings, the Top Borrower or any of its Restricted Subsidiaries,
             (1) no Indebtedness incurred under the ABL Facility or any Additional Revolving Facility (as defined in the
             First Lien Credit Agreement (or any equivalent tenn under any First Lien Facility)) has been utilized to fund
             the purchase of the Assigned Interest, (2) no Default or Event of Default exists at the time of acceptance of
             bids for any Dutch Auction or the confirmation of any open market purchase and (3) the Loans in respect of
             such Assigned Interest shall, to the extent permitted by applicable Requirement of Law, be retired and
             cancelled immediately after the Effective Date; and (b) agrees that (i) it will, independently and without
             re liance on the Administrative Agent, the Assignor or any other Lender, and based on such documents and
             information as it deems appropriate at the time, continue to make its own credit decisions in taking or not
             taking action under the Loan Documents, (ii) it appoints and authorizes the Administrative Agent to take such
             action on its behalf and to exercise such powers and discretion under the Second Lien Term Loan Agreement,
             the other Loan Documents or any other instrument or document furnished pursuant hereto or thereto as are
             delegated to the Administrative Agent, by the terms thereof, together with such powers as are reasonably
             incidental thereto, and (iii) it will perfonn in accordance with their terms all of the obligations which by the
             terms of the Loan Documents are required to be performed by it as a Lender The Assignee agrees that, solely
             in its capacity as an Affiliated Lender, it will not be entitled to (a) attend (including by telephone) or
             participate in any meeting or discussions (or portion thereof) among the Administrative Agent or any Lender
             or among Lenders to which the Loan Parties or their representatives are not invited or (b) receive any
             information or material prepared by the Administrative Agent or any Lender or any communication by or
             among the Administrative Agent and one or more Lenders, except to the extent such information or material
             has been made available by the Administrative Agent or any Lender to any Loan Party or its representatives
             (and in any case, other than the right to receive notices of Borrowings, prepayments and other administrative
             notices in respect of its Loans required to be delivered to Lenders pursuant to Article 2 of the Second Lien
             Term Loan Agreement).

                     2.      Payments. From and after the Effective Date, the Administrative Agent shall make all
             pay ments in respect of the Assigned Interest (other than Assigned Interests assigned to Holdings, the Top
             Borrower or any of its Restricted Subsidiaries) (including payments of principal, interest, fees and other
             amounts) to the Assignor for amounts which have accrued up to but excluding the Effective Date and to the
             Assignee for amounts which have accrued from and after the Effective Date.

                      3.       General Provisions. This Affiliated Lender Assignment and Assumption shall be binding
             upon, and inure to the benefit of, the parties hereto and their respective successors and perm itted assigns. This
             Affiliated Lender Assignment and Assumption may be executed in any number of counterparts, which together
             shall constitute one instrument. Delivery of an executed counterpart of a signature page of this Affiliated
             Lender Assig11ment and Assumption by facsimile or by email as a " .pdf ' or " .tif' attachment shall be effective
             as delivery of a manually executed counterpart of this Affiliated Lender Assignment and Assumption. This
             Affiliated Lender Assignment and Assumption shall be construed in accordance with and governed by the laws
             of the State ofNew York.




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                                                                                                                 EXHIBIT A-2
                                                          [FORM OF]
                                                  ASSIGNMENT AND ASSUMPTION

                     This Assignment and Assumption (the "Assignment and Assumption") is dated as of the Effective
             Date set forth below and is entered into by and between [Insert name of Assignor] (the "Assignor") and
             llnsert name of Assignee] (the "Assignee"). Capitalized terms used but not defined herein shall have the
             meanings given to them in the Second Lien Tenn Loan Agreement identified below (as amended, restated,
             amended and restated, supplemented or otherwise modified from time to time, the " Second Lien Term Loan
             Agreement"), receipt of a copy of which is hereby acknowledged by the Assignee. The Standard Terms and
             Conditions set forth in Annex I attached hereto are hereby agreed to and incorporated herein by reference and
             made a part of this Assignment and Assumption as if set forth herein in full.

                      For an agreed consideration, the Assignor hereby irrevocably sells and assigns to the Assignee, and
             the Assignee hereby irrevocably purchases and assumes from the Assignor, subject to and in accordance with
             the Standard Terms and Conditions and the Second Lien Term Loan Agreement, as of the Effective Date
             inserted by the Administrative Agent as contemplated below, (i) all of the Assignor' s rights and obligations in
             its capacity as a Lender under the Second Lien Tenn Loan Agreement and any other documents or instruments
             delivered pursuant thereto to the extent related to the amount and percentage interest identified below of all of
             such outstanding rights and obligations of the Assignor under the respective facilities identified below and (ii)
             to the extent permitted to be assigned under applicable Requirements of Law, all claims, suits, causes of action
             and any other right of the Assignor (in its capacity as a Lender) against any Person, whether known or
             unknown, arising under or in connection with the Second Lien Term Loan Agreement, any other documents or
             instruments delivered pursuant thereto or the loan transactions governed thereby or in any way based on or
             related to any of the foregoing, including contract claims, tort claims, malpractice claims, statutory claims and
             all other claims at law or in equity related to the rights and obligations sold and assigned pursuant to clause (i)
             above (the rights and obligations sold and assigned pursuant to clauses (i) and @ above being referred to
             herein collectively as the "Assigned Interest"). In the case where the Assigned Interest covers all of the
             Assignor' s rights and obligations under the Second Lien Term Loan Agreement, the Assignor shall cease to be
             a party thereto but shall continue to be entitled to the benefits of Sections 2.15, 2.16, 2.17 and 9 .03 of the
             Second Lien Term Loan Agreement with respect to facts and circumstances occurring on or prior to the
             Effective Date and subject to its obligations hereunder and under Section 9 .13 of the Second Lien Term Loan
             Agreement. Such sale and assignment is (i) subject to acceptance and recording thereof in the Register by the
             Administrative Agent pursuant to Section 9.05(b)(v) of the Second Lien Term Loan Agreement, (ii) without
             recourse to the Assignor and (iii) except as expressly provided in this Assignment and Assumption, without
             representation or warranty by the Assignor.

                      Assignor:            [•]
             2.       Assignee:         [•]
                      [and is an Affiliate/Approved Fund of [identify Lender]4]

             3.     Borrowers: Serta Simmons Bedding, LLC, a Delaware limited liability company ("SSB" or the "Top
             Borrower"), National Bedding Company L.L.C., an Illinois limited liability company ("National Bedding"),
             and SSB Manufacturing Company, a Delaware corporation (" SSB Manufacturing").

             4.     Administrative Agent: Goldman Sachs Bank USA, as administrative agent under the Second Lien
             Term Loan Agreement

             5.    Second Lien Term Loan Agreement: That certain Second Lien Tenn Loan Agreement, dated as of
             November 8, 2016 (as amended, restated, amended and restated, supplemented or otherwise modified, the

             4
                       Select as applicable.


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             " Second Lien Term Loan Agreement"), by and among, inter alios, SSB, National Bedding and SSB
             Manufacturing, as borrowers, Dawn Intermediate, Inc., a Delaware corporation (" Holdings"), the Lenders from
             time to time party thereto and Goldman Sachs Bank USA, in its capacities as administrative agent and
             collateral agent for the Lenders.

                6.        Assigned Interest:

                                                 Class of             Amount of                Percentage Assigned of
                    Aggregate Amount of
                                                  Loans            Commitment/Loans           Commitment/Loans under                  CUSIP Number
                     Commitment/Loans
                                                 Assigned             Assigned 5                  Relevant Class6
            $                                                  $                                                   %
            $                                                  $                                                   %
            $                                                  $                                                   %

                     Effective Date: [• ] [• ], 20[• ] [TO BE INSERTED BY THE ADMINISTRATIVE AGENT AND
                WRICH SHALL BE THE EFFECTIVE DATE OF RECORDATION OF TRANSFER IN THE
                REGISTER THEREFOR].

                7.    THE PARTIES HERETO ACKNOWLEDGE THAT ANY ASSIGNMENT TO ANY
                DISQUALIFIED INSTITUTION WITHOUT OBTAINING THE REQUIRED CONSENT OF THE
                TOP BORROWER OR, TO THE EXTENT THE TOP BORROWER'S CONSENT IS REQUIRED
                UNDER SECTION 9.05 OF THE SECOND LIEN TERM LOAN AGREEMENT, TO ANY OTHER
                PERSON, SHALL BE NULL AND VOID, AND, IN THE EVENT OF ANY SUCH ASSIGNMENT
                (AND ANY ASSIGNMENT TO ANY AFFILIATE OF ANY DISQUALIFIED INSTITUTION (OTHER
                TRAN A BONA FIDE DEBT FUND)), THE TOP BORROWER SHALL BE ENTITLED TO PURSUE
                THE REMEDIES DESCRIBED IN SECTION 9.05 OF THE SECOND LIEN TERM LOAN
                AGREEMENT.

                                                                    [Signature Page Follows]




                          Not to be less than $1 ,000,000 unless the Top B01rnwer and U1e Administrative Agent otherwise consent.

                6
                          Set fo11h, to at least 9 decimals, as a percentage of the Conuni tment/Loans o f a ll Lenders thereunder.


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                       The terms set forth in this Assignment and Assumption are hereby agreed to:

                                                                ASSIGNOR

                                                                [NAME OF ASSIGNOR]


                                                                By :
                                                                       Name:
                                                                       Title:




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                  □    ASSIGNEE HAS EXAMINED THE LIST OF DISQUALIFIED INSTITUTIONS AND
                       (I) REPRESENTS AND WARRANTS THAT (A) IT IS NOT IDENTIFIED ON SUCH
                       LIST AND (B) IT IS NOT AN AFFILIATE OF ANY INSTITUTION IDENTIFIED ON
                       SUCH LIST [(OTHER THAN, IN THE CASE OF THIS CLAUSE (B), A BONA FIDE
                       DEBT FUND)]7 AND (II) ACKNOWLEDGES THAT ANY ASSIGNMENT MADE TO
                       AN AFFILIATE OF A DISQUALIFIED INSTITUTION (OTHER THAN A BONA
                       FIDE DEBT FUND) SHALL BE SUBJECT TO SECTION 9.05 OF THE SECOND
                       LIEN TERM LOAN AGREEMENT.8

                                                                         ASSIGNEE

                                                                         (NAME OF ASSIGNEE]


                                                                         By :
                                                                                  Name:
                                                                                  Title:

                                                                         Consented to and Accepted:

                                                                         GOLDMAN SACHS BANK USA
                                                                         as Administrative Agent9


                                                                         By:
                                                                                Name:
                                                                                T itle:


                                                                         Consented to:) 10

                                                                         SERTA SIMMONS BEDDING, LLC,
                                                                         as the Top Borrower


                                                                         By:
                                                                                Name:
                                                                                Title:




             7
                       Insert bracketed language if Assignee is a Bona Fide Debt Fund.

                       To be completed by Assignee.

             9
                       To be added only iftl1e consent of the Administrative Agent is required.

             10
                      To be added only if the consent of the Top Bo1rnwer is required by Section 9.0S(b)CiXA) of the Second Lien Term
                      Loan Agreement.


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                                                STANDARD TERMS AND CONDITIONS FOR
                                                   ASSIGNMENT AND ASSUMPTION

                       1.       Representations and Warranties.

                      1.1      Assignor. The Assignor (a) represents and warrants that (i) it is the legal and beneficial
             owner of the Assigned Interest, (ii) the Assigned Interest is free and clear of any lien, encumbrance or other
             adverse claim, (iii) its Commitment, and the outstanding balances of its Loans, in each case without giving
             effect to assignments thereof which have not become effective, are as set forth herein and (iv) it has full power
             and authority, and has taken all action necessary, to execute and deliver this Assignment and Assumption and
             to consummate the transactions contemplated hereby; and (b) makes no representation or warranty and
             assumes no responsibility with respect to (i) any statement, warranty or representation made in or in
             connection with the Second Lien Term Loan Agreement, any other Loan Document or any other instrument or
             document furnished pursuant thereto (other than this Assignment and Assumption) or any collateral
             thereunder, (ii) the execution, legality, validity, enforceability, genuineness, sufficiency or value of the Loan
             Documents or any collateral thereunder, (iii) the financial condition of the Top Borrower, any of its Restricted
             Subsidiaries or Affiliates or any other Person obligated in respect of any Loan Document or (iv) the
             performance or observance by Holdings, the Top Borrower, any of its Restricted Subsidiaries or Affiliates or
             any other Person of any of their respective obligations under any Loan Document.

                       1.2     .Assignee. The Assignee (a) represents and warrants that (i) it is an Eligible Assignee and has
             full power and authority, and has taken all action necessary, to execute and deliver this Assignment and
             Assumption and to consummate the transactions contemplated hereby and to become a Lender under the
             Second Lien Term Loan Agreement, (ii) it satisfies the requirements, if any, specified in the Second Lien Term
             Loan Agreement that are required to be satisfied by it in order to acquire the Assigned Interest and become a
             Lender, (iii) from and after the Effective Date, it shall be bound by the provisions of the Second Lien Term
             Loan Agreement and the other Loan Documents as a Lender thereunder and, to the extent of the Assigned
             Interest, shall have the obligations of a Lender thereunder and (iv) it has received a copy of the Second Lien
             Term Loan Agreement and the Intercreditor Agreement, together with copies of the most recent financial
             statements referred to in Section 4.0l(c) or the most recent financial statements delivered pursuant to
             Section 5.01 thereof, as applicable, and such other documents and infonuation as it has deemed appropriate to
             make its own credit analysis and decision to enter into this Assignment and Assumption and to purchase the
             Assigned Interest on the basis of which it has made such analysis and decision independently and without
             reliance on the Administrative Agent or any other Lender, (v) it has examined the list of Disqualified
             Institutions and it is not (A) a Disqualified Institution or (B) an Affiliate of a Disqualified Institution [(other
                                                                                 11
             than, in the case of this Clause (B), a Bona Fide Debt Fund)] and (vi) attached to the Assignment and
             Assumption is any documentation required to be delivered by it pursuant to Section 2.17 of the Second Lien
             Term Loan Agreement, duly completed and executed by the Assignee and (b) agrees that (i) it will,
             independently and without reliance on the Administrative Agent, the Assignor or any other Lender, and based
             on such documents and information as it deems appropriate at the time, continue to make its ovm credit
             decisions in taking or not taking action under the Loan Documents, (ii) it appoints and authorizes the
             Administrative Agent to take such action on its behalf and to exercise such powers and discretion under the
             Second Lien Term Loan Agreement, the other Loan Documents or any other instrument or document furnished
             pursuant hereto or thereto as are delegated to the Administrative Agent by the terms thereof, together with such
             powers as are reasonably incidental thereto, and (iii) it will perform in accordance with their terms all of the
             obligations which by the terms of the Loan Documents are required to be performed by it as a Lender.

                    2.       Payments. From and after the Effective Date, the Administrative Agent shall make all
             payments in respect of the Assigned Interest (including payments of principal, interest, fees and other amounts)

             II
                      Insert bracketed language if Assignee is a Bona Fide Debt Fund and not otherwise identified on tl1e list of Disqualified
                      Institutions.


                                                               Annex I to Exhibit A-2-1
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             to the Assignor for amounts which have accrued up to but excluding the Effective Date and to the Assignee for
             amounts which have accrued from and after the Effective Date.

                     3.        General Provisions. This Assignment and Assumption shall be binding upon, and inure to
             the benefit of, the parties hereto and their respective successors and permitted assigns. This Assignment and
             Assumption may be executed in any number of counterparts, which together shall constitute one instrument.
             Delivery of an executed counterpart of a signature page of this Assignment and Assumption by facsimile or by
             email as a " .pdf' or " .tif' attachment shall be effective as delivery of a manually executed counterpart of this
             Assignment and Assumption. This Assignment and Assumption shall be construed in accordance with and
             governed by the laws of the State of New York.




                                                         Annex I to Exhibit A-2-2
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                                                                                                                                   EXHIBITB

                                                                  [FORM OF]
                                                              BORROWING REQUEST

             Goldman Sachs Bank USA,
             200 West Street
             New York, New York 10282
             Attn: Operations Team
             Email: gs-sbd-admin-contacts@ny.email.gs.com
             Phone: (212) 906-1099
             Facsimile: (917) 977-3966

                                                                                                                               [•] [•], 20[•]12

             Ladies and Gentlemen:

                     Reference is hereby made to that certain Second Lien Term Loan Agreement, dated as of November 8,
             2016 (as amended, restated, amended and restated, supplemented or othern~se modified, the "Second Lien
             Term Loan Agreement"), by and among, inter alios, Dawn Intermediate, Inc., a Delaware corporation ("Davm
             Intermediate" or "Holdings"), Serta Simmons Bedding, LLC, a Delaware limited liability company (" SSB" or
             the "Top Borrower"), National Bedding Company L.L.C., an Illinois limited liability company ("National
             Bedding"), and SSB Manufacturing Company, a Delaware corporation ("SSB Manufacturing"), as borrowers,
             the Lenders from time to time party thereto, Goldman Sachs Bank USA, in its capacities as administrative
             agent and collateral agent for the Lenders. Terms defined in the Second Lien Term Loan Agreement are used
             herein with the same meanings unless otherwise defined herein.

                      The undersigned hereby gives you notice pursuant to Section 2.03 of the Second Lien Term Loan
             Agreement that it requests the Borrowings under the Second Lien Term Loan Agreement to be made on [•]
             [• ], 20[• ], and in that connection sets forth below the tenus on which the Borrowings are requested to be
             made:

             (A)       Borrower [Serta Simmons Bedding, LLC) [National Bedding ComJ>any L.L.C.] [SSB
                       Manufacturing Com1>any]

             (B)       Date of Borrowing (which shall be a Business Day)                                          [•]

             12
                      The Administrative Agent must be notified in the fonn of a written Borrowing Request, appropriately completed and
                      signed by a Responsible Officer of the relevant BotTOwer (or the Top Boffower on behalf of the relevant BotTower) or
                      by telephone (with such telephonic notification to be promptly confumed in writing by a Borrowing Request,
                      appropriately completed and signed by a Responsible Officer of the relevant BotTOwer (or the Top Boffower on behalf
                      of the relevant Borrower)), and must be received by the Administrative Agent (by hand delive1y, fax or other electronic
                      transmission (including " .pdf' or " .tif')) not later than (i) 1:00 p.m. three Business Days p1ior to the requested day of
                      any Bonowing of LIBO Rate Loans (or one Business Day in the case of any Bonowing of LIBO Rate Loans to be
                      made on the Closu1g Date) and (ii) 9:00 a.m. on the requested date of any Borrowu1g of ABR Loans (or, in each case,
                      such later time as is acceptable to the Administrative Agent); provided, however, that if the relevant Borrower (or the
                      Top BotTower on behalf of ti1e relevant BotTower) wishes to request LIBO Rate Loans having an Interest Period of
                      other than one, two, tlu·ee or six months u1 duration as provided in the definition of" Interest Petiod," (A) the applicable
                      notice from the relevant Borrower ( or ti1e Top BotTOwer on behalf of the relevant Borrower) must be received by ti1e
                      Administrative Agent not later than l:00 p.m. four Business Days prior to the requested date of the relevant Borrowu1g
                      (or such later time as is reasonably acceptable to ti1e Administrative Agent), whereupon the Admuiistrative Agent shall
                      give prompt notice to the appropriate Lenders of such request and detenn.ine whether the requested Interest Period is
                      available to them and (B) not later than 12:00 p.m. ti1ree Business Days before the requested date of the relevant
                      Borrowing, the Admi11istrative Agent shall notify ti1e relevant BotTower (or ti1e Top Borrower as agent for ti1e relevant
                      Borrower) wheti1er or not the requested Interest Period is available to the appropriate Lenders.


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             (C)       Aggregate Amount of Borrowing 13                                                            $[•]
             (D)      Type of Borrowing 14                                                              [•]
             (E)       Class of Borrowing                                                               [•]
                                           15
             (F)       Interest Period (in the case
                       of a LIBO Rate Borrowing)

             (G)       Amount, Account Number and Location

                                                       Wire Transfer Instructions:
                                  Amount                                              $[•]
                                  Bank:                                                [•]
                                  ABANo.:                                              [•]
                                  Account No.:                                         [•]
                                  Account Name:                                        [•]

             [The undersigned hereby certifies that the following statements are true on the date hereof, and will be true on
             the date of the Borrowing at the time of and immediately after giving effect to the Borrowing, no Default or Event
             of Default exists.] 16

                                                               [Signature Page Follows]




             13
                       Subject lo Section 2.02(c) of Second Lien Tenn Loan Agreement.

             14
                       State whether a LIBO Rate B01i-owing or ABR Bon-owing. If no Type of B01Towi.ng is specified, U1en the requested
                       BoJTowing shall be an ABR Bon-owing.

             15
                      Must be a period contemplated by U1e definition of "Interest Pe1iod" . If no Interest Period is specified, then the Interest
                      Period shall be of one-month's duration.

             16
                      Include bracketed language only for Bonowings under any Incremental Facility other Uian Incremental Loans made in
                      comieclion with any Pennitted Acquisition or other similar Investment pennitted under the Second L ien Tenn Loan
                      Agreement lo the extent agreed by U1e lenders providing such Incremental Loan s.


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                                                          [SERTA SIMMONS BEDDING, LLC]
                                                          [NATIONAL BEDDING COMPANY L.L.C.]
                                                          [SSB MANUFACTURING COMPANY]

                                                          By:
                                                                Name:
                                                                Title:




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                                                                                                                  EXHIBITC

                                                  [FORM OF]
                      SECOND LIEN TERM LOAN INTELLECTUAL PROPERTY SECURITY AGREEMENT

                      This SECOND LIEN TERM LOAN INTELLECTUAL PROPERTY SECURITY AGREEMENT is
             entered into as of[•] [•], 20[•], (this "Agreement"), by [•] ([each, a][tbe] " Grantor") in favor of Goldman
             Sachs Bank USA ("GS''), as administrative agent and collateral agent for the Secured Parties (in such
             capacities, the "Administrative Agent").

                      Reference is made to that certain Second Lien Pledge and Security Agreement, dated as of November
             8, 2016 (as amended, restated, amended and restated, supplemented or otherwise modified from time to time,
             the "Security Agreement"), among the Grantors party thereto and the Administrative Agent. The Second Lien
             Lenders (as defined below) have extended credit to the Top Borrower (as defined in Second Lien Term Loan
             Agreement (as defined below)) subject to the terms and conditions set forth in that certain Second Lien Term
             Loan Agreement, dated as of November 8, 2016 (as amended, restated, amended and restated, supplemented or
             otherwise modified from time to time, the "Second Lien Term Loan Agreement"), by and among, inter alios,
             Dawn Intermediate, Inc., a Delaware corporation ("Dawn Intermediate" or " Holdings"), Serta Simmons
             Bedding, LLC, a Delaware limited liability company (" SSB" or the ''Top Borrower"), National Bedding
             Company L.L.C., an Illinois limited liability company ("National Bedding"), and SSB Manufacturing
             Company, a Delaware corporation (" SSB Manufacturing"), as borrowers, the Lenders from time to time party
             thereto (the " Second Lien Lenders"), GS, in its capacities as administrative agent and collateral agent for the
             Lenders. Consistent with the requirements set forth in Sections 4.0 I and 5.12 of the Second Lien Term Loan
             Agreement and Section 4.03(c) of the Security Agreement, the parties hereto agree as follows:

                     SECTION I. Terms. Capitalized terms used in this Agreement and not otherwise defined herein have
             the meanings specified in the Security Agreement (including any terms defined therein by reference).

                     SECTION 2. Grant of Security Interest. As security for the prompt and complete payment or
             perfom1ance, as the case may be, in full of the Secured Obligations, [each][the] Grantor, pursuant to the
             Security Agreement, did and hereby does pledge, collaterally assign, mortgage, transfer and grant to the
             Administrative Agent, its successors and permitted assigns, on behalf of and for the ratable benefit of the
             Secured Parties, a continuing security interest in all of its right, title or interest in, to or under all of the
             following assets, whether now owned or at any time hereafter acquired by or arising in favor of [sucb][tbe]
             Grantor, and regardless of where located (collectively, the "IP Collateral"):

                      A.        all Trademarks, including the Trademark registrations and pending applications for
             registration in the United States Patent and Trademark Office listed on Schedule I hereto;

                     B.      all Patents, including the issued Patents and pending Patent applications in the United States
             Patent and Trademark Office listed on Schedule II hereto

                      C.       all Copyrights, including the Copyright registrations and pending applications for registration
             in the United States Copyright Office listed on Schedule Ill; and

                      D.       all Proceeds of the foregoing;

             in each case to the extent the foregoing items constitute Collateral.

                     SECTION 3. Security Agreement. The security interests granted to the Administrative Agent herein
             are granted in furtherance, and not in limitation of, the security interests granted to the Administrative Agent
             pursuant to the Security Agreement. [Each][The] Grantor hereby acknowledges and affim1s that the rights
             and remedies of the Administrative Agent with respect to the IP Collateral are more fully set forth iJ1 the
             Security Agreement, the terms and provisions of which are hereby incorporated herein by reference as if fully


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             set forth herein. In the event of any conflict between the terms of this Agreement and the Security Agreement,
             the terms of the Security Agreement shall govern.

                     SECTION 4. Governing Law. This Agreement shall be governed by, and construed and interpreted
             in accordance with, the laws of the State of New York.

                      SECTION 5. Counterparts . This Agreement may be executed in counterparts (and by different
             parties hereto on different counterparts), each of which shall constitute an original, but all of which when taken
             together shall constitute a single contract. Delivery of an executed counterpart of a signature page of this
             Agreement by facsimile or by email as a " .pdf' or " .tif' attachment or other electronic transmission shall be
             effective as delivery of a manually executed counterpart of this Agreement.

                                                         [Signature Pages Follow]




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                       IN WITNESS WHEREOF, the parties hereto have duly executed this Agreement as of the day and
             year first above written.


                                                                     [•]

                                                                     By:
                                                                           Name:     [• ]
                                                                           Title:    [• ]




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                                                    SCHEDULE!

             TRADEMARK REGISTRATIONS

                  REGISTERED OWNER             REGISTRATION NUMBER         TRADEMARK




             TRADEMARK APPLICATIONS

                         APPLICANT                SERIAL NUMBER            TRADEMARK




                                                 Schedule I to Exhibit C
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                                                   SCHEDULE II

             PATENTS

                  REGISTERED OWNER               PATENT NUMBER              TITLE




             PATENT APPLICATIONS

                         APPLICANT             APPLICATION NUMBER           TITLE




                                                Schedule II to Exhibit C
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                                                    SCHEDULE III

             COPYRIGHT REGISTRATIONS

                  REGISTERED OWNER             REGISTRATION NUMBER           TITLE




             COPYRIGHT APPLICATIONS

                         APPLICANT             APPLICATION NUMBER            TITLE




                                                 Schedule Ill to Exhibit C
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                                                                         EXHIBIT A

                                               [FORM OF]
              SECOND LIEN TERM LOAN INTELLECTUAL PROPERTY SECURITY AGREEMENT SUPPLEMENT

                      This SECOND LIEN TERM LOAN INTELLECTUAL PROPERTY SECURITY AGREEMENT
             SUPPLEMENT is entered into as of [•] [•], 20[• ] (this " IP Security Agreement Supplement"), by [ •] ([each,
             a][the] "Grantor") in favor of Goldman Sachs Bank USA ("GS"), as administrative agent and collateral agent
             for the Secured Parties (in such capacities, the "Administrative Agent").

                      Reference is made to that certain Second Lien Pledge and Security Agreement, dated as of November
             8, 2016 (as amended, restated, amended and restated, supplemented or otherwise modified from time to time,
             the "Security Agreement"), among the Grantors party thereto and the Administrative Agent. The Second Lien
             Lenders (as detfoed below) have extended credit to the Borrowers (as defined in Second Lien Term Loan
             Agreement (as defined below)) subject to the terms and conditions set forth in that certain Second Lien Term
             Loan Agreement, dated as of November 8, 2016 (as amended, restated, amended and restated, supplemented or
             otherwise modified from time to time, the "Second Lien Term Loan Agreement"), by and among, inter alios,
             Dawn Intermediate, Inc., a Delaware corporation ("Dawn Intermediate" or " Holdings"), Serta Simmons
             Bedding, LLC, a Delaware limited liability company (" SSB" or the "Top Borrower"), National Bedding
             Company L.L.C., an Illinois limited liability company ("National Bedding"), and SSB Manufacturing
             Company, a Delaware corporation ("SSB Manufacturing"), as borrowers, the Lenders from lime to time party
             thereto (the " Second Lien Lenders") and GS, in its capacities as administrative agent and collateral agent for
             the Lenders. Consistent with the requirements set forth in Sections 4.01 and 5.12 of the Second Lien Term
             Loan Agreement, the (Grantor][Grantors] and the Administrative Agent have entered into that certain
             Second Lien Term Loan Intellectual Property Security Agreement, dated as of [• ] ( as amended, restated,
             amended and restated, supplemented or otherwise modified from time to time) [which was recorded at the
             United States Patent and Trademark Office on [•] at Reel/Frame No. [• ], and at the United States
             Co1>yright Office on [•] at Volume/Page No. [•]] 17_ Under the tenus of the Security Agreement, the Gran tor
             has granted to the Administrative Agent for the benefit of the Secured Parties a security interest in the
             Additional JP Collateral (as defined below) and have agreed, consistent with the requirements of
             Section 4.03(c) of the Security Agreement, to execute this IP Security Agreement Supplement. Now,
             therefore, the parties hereto agree as follows:

                      SECTION 1. Terms. Capitalized terms used in this IP Security Agreement Supplement and not
             othenvise defined herein have the meanings specified in the Security Agreement (including any terms defined
             therein by reference).

                     SECTION 2. Grant of Security Interest. As security for the prompt and complete payment or
             performance, as the case may be, in full of the Secured Obligations, [each][the] Grantor, pursuant to the
             Security Agreement, did and hereby does pledge, collaterally assign, mortgage, transfer and grant to the
             Administrative Agent, its successors and permitted assigns, on behalf of and for the ratable benefit of the
             Secured Parties, a continuing security interest in all of its right, title or interest in, to or under all of the
             following assets, whether now owned or at any time hereafter acquired by or arising in favor of the [such ][the]
             Grantor, and regardless of where located (collectively, the "Additional IP Collateral"):

                                 A.       the Trademark registrations and pending applications for registration in the
                         United States Patent and Trademark Office listed on Schedule I hereto;

                                  B.     the issued Patents and pending Patent applications m the United States
                         Patent and Trademark Office listed on Schedule II hereto

             17
                  Included bracketed infonnation to the extent then available.


                                                                  Exhibit A-1 to Exhibit C
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                               C.      the Copyright registrations and pending applications for registration in the
                       United States Copyright Office listed on Schedule III; and

                                 D.        all Proceeds of the foregoing;

             in each case lo the extent the foregoing items constitute Collateral.

                       SECTION 3. Security Agreement. The security interests granted to the Adm inistrative Agent herein
             are granted in furtherance, and not in limitation of, the security interests granted to the Administrative Agent
             pursuant to the Security Agreement. [Each][The] Grantor hereby acknowledges and affirms that the rights
             and remedies of the Administrative Agent with respect to the Additional IP Collateral are more fully set forth
             in the Security Agreement, the terms and provisions of which are hereby incorporated herein by reference as if
             fully set forth herein. In the event of any conflict between the tenns of this JP Security Agreement Supplement
             and the Security Agreement, the tenns of the Security Agreement shall govern.

                     SECTION 4. Governing Law. This IP Security Agreement Supplement shall be governed by, and
             construed and interpreted in accordance with, the laws of the State of New York.

                       SECTION 5. Counterparts. This IP Security Agreement Supplement may be executed in
             counterparts (and by different parties hereto on different counterparts), each of which shall constitute an
             original, but all of which when taken together shall constitute a single contract. Delivery of an executed
             counterpart of a signature page of this IP Security Agreement Supplement by facsimile or by email as a ".pdf '
             or " .tif' attachment or other electronic transmission shall be effective as delivery of a manually executed
             counterpart of this IP Security Agreement Supplement.

                                                            [Signature Pages Follow]




                                                             Exhibit A-2 to Exhibit C
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                    IN WITNESS WHEREOF, the parties hereto have duly executed this IP Security Agreement
             Supplement as of the day and year first above written.


                                                                    [•]

                                                                    By :
                                                                           Name :   [•]
                                                                           Title:   [•]




                                                    Exhibrt A-3 to ExR1ibi~C
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                                                        SCHEDULE!

             TRADEMARK REGISTRATIONS

                  REGISTERED OWNER              REGISTRATION NUMBER                   TRADEMARK




             TRADEMARK APPLICATIONS

                         APPLICANT                    SERIAL NUMBER                   TRADEMARK




                                               Schedule I to Exhibit A to Exhibit C
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                                                         SCHEDULE II

             PATENTS

                  REGISTERED OWNER                    PATENT NUMBER                    TITLE




             PATENT APPLICATIONS

                         APPLICANT                APPLICATION NUMBER                   TITLE




                                               Schedule II to Exhibit A to Exhibit C
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                                                                                                EXHIBITC
                                                        SCHEDULE Ill

             COPYRJGHT REGISTRATIONS

                  REGISTERED OWNER               REGISTRATION NUMBER                    TITLE




             COPYRIGHT APPLICATIONS

                         APPLICANT                APPLICATION NUMBER                    TITLE




                                               Schedule III to Exhibit C to Exhibit C
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                                                                                                                                   EXHIBITD

                                                                 [FORM OF]
                                                           COMPLIANCE CERTIFICATE

                                                                      [•] [•], 20[•]

             To:      The Administrative Agent and each of the Lenders parties to the
                      Second Lien Term Loan Agreement described below

                      This Compliance Certificate is furnished pursuant to Section 5.0l(c) of that certain Second Lien Term
             Loan Agreement, dated as of November 8, 2016 (as amended, restated, amended and restated, supplemented or
             otherwise modified, the "Second Lien Term Loan Agreement"), by and among, inter altos, Dawn Intermediate,
             Inc., a Delaware corporation ("Dawn Intermediate" or "Holdings"), Serta Simmons Bedding, LLC, a Delaware
             limited liability company ("SSB" or the "Top Borrower"), National Bedding Company L.L.C., an Illinois
             limited liability company ("National Bedding"), and SSB Manufacturing Company, a Delaware corporation
             ("SSB Manufacturing"), as borrowers, the Lenders from time to time party thereto, Goldman Sachs Bank
             USA, in its capacities as administrative agent and collateral agent for the Lenders. Unless otherwise defined
             herein, capitalized terms used in this Compliance Certificate have the meanings ascribed thereto in the Second
             Lien Term Loan Agreement.

                  THE UNDERSIGNED HEREBY CERTIFIES, AS A RESPONSIBLE OFFICER OF THE TOP
             BORROWER, IN SUCH CAPACITY AND NOT IN AN INDIVIDUAL CAPACITY, THAT:

                               1.     I am the duly elected [•] of the Top Borrower and a Responsible Officer of
                       the Top Borrower;

                                2.      I have reviewed the terms of the Second Lien Term Loan Agreement and I
                       have made, or have caused to be made under my supervision, a review in reasonable detail of
                       the transactions and conditions of the Top Borrower and its Restricted Subsidiaries, on a
                       consolidated basis, during the [Fiscal QuarterHFiscal Year] covered by the attached
                       financial statements;

                               3.       Any pro forma "run rate" cost saving, operating expense reduction,
                       operational improvement and/or synergy added back in calculating Consolidated Adjusted
                       EBJTDA in reliance on clause (e) of the definition of "Consolidated Adjusted EBJTDA"
                       during the Fiscal Quarter covered by the attached financial statements is, in my good faith
                       determination, reasonably identifiable and factually supportable.

                                4.      [The attached financial statements fairly present, in all material
                       res1>ects, in accordance with GAAP, the consolidated financial condition of the Top
                       Borrower as at the dates indicated and its income and cash flows for the periods
                       indicated, subject to the absence of footnotes and changes resulting from audit and
                                                     18
                       normal year-end adjustments.]

                                5.       (Except as described in the disclosure set forth below, thel[Thel
                       examinations described in paragra()h 2 did not disclose, and I have no knowledge of the
                       existence of any condition or event which constitutes a Default or Event of Default that
                       exists as of the date of this Compliance Certificate [and the disclosure set forth below
                       specifies, in reasonable detail, the nature of any such condition or event and any action
                       taken or proposed to be taken with respect thereto.]


             18
                      Include to the extent the relevant Compliance Certificate is delivered in connection witl1 unaudited quaiterly fiJ1ancials.


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                               6.      (Schedule 1 attached hereto sets forth reasonably detailed calculations
                       of Excess Cash Flow for such Excess Cash Flow Period.) 19

                               7.      [Attached as Schedule 2 hereto is a summary of the pro forma
                       adjustments necessary to eliminate the accounts of Unrestricted Subsidiaries from the
                       attached financial statements.]2°

                               8.       [Attached as Schedule 3 hereto is consolidating fin ancial information
                       summarizing in reasonable detail the information regarding the Parent Company to
                       which the attached financial statements relate, on the one hand, and the information
                       relating to the Top Borrower, on the other hand.) 2 1

                              9.      [Attached as Schedule 4 hereto is a list of the Unrestricted Subsidiaries
                                                                       22
                       of the Top Borrower as of the date hereof.) [There is no change in the list of
                       Unrestricted Subsidiaries since the later of the Closing Date and the date of the last
                       Compliance Certificate.]

                                                               [Signature Page Follows]




             19
                      Only required to the extent the relevant Compliance Cettificate is delivered in cotmection with audited ammal financial
                      statements ( commencing with the Fiscal Year ending December 31, 2017).

             20
                      Only required if a subsidiaiy of the Top Borrower is or has been designated as an Unrestricted Subsidia1y at the time of
                      delive1y of the applicable Compliance Ce1tificate.

             21
                      Only required to the extent required by the last paragraph of Section 5.01 of the Second Lien Tenn Loan Agreement.

             22
                      Only required if a subsidiary has been designated as an Unrestricted Subsidiary since later of the delivery of the last
                      Compliance Certificate and the Closing Date.


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                      The foregoing certifications, together with the information set forth in the Schedules hereto and the
             financial statements delivered with this Compliance Certificate in support hereof, are made and delivered as of
                                           23
             the date first written above.

                                                                                   SERTA SIMMONS BEDDING, LLC

                                                                                   By :
                                                                                          Name:
                                                                                          Title:




             23
                      Please note the deadlines for satisfaction of tlie following requirements cotTespond with the delivery of each
                      Compliance Certificate (unless otherwise indicated):

                       I.        The delive1y of documents and deliverables required under Section 4.02(a) of tl1e Secw-ity Agreement
                                 relating to any (i) ce1ti.ficated Securities and/or (ii) Instruments having a face amount in excess of
                                 $10,000,000, in each case acquired during tl1e Fiscal Quarter covered by the attached financial statements.
                                 NOTE: If any Loan Party acquires (i) certificated Securities and/or (ii) Instruments having a face amount in
                                 excess of$ 10,000,000 dw·ing tlie fourth Fiscal Quarter of any Fiscal Year, the documents and deliverables
                                 required under Section 4.02(a) of the Security Agreement must be delivered within 60 days after tl1e end of
                                 such Fiscal Quarter (or in each case such longer period as the Administrative Agent may reasonably agree).

                       2.       The delive1y of documents and deliverables required under Section 4.03(c) of tl1e Security Agreement
                                relating to any registration ( or any application for registration of) any Patent, Trademark or Copyright with
                                the United States Patent and Trademark Office or tl1e United States Copyright Office, as applicable, filed or
                                acquired dmi11g tlie Fiscal Quarter covered by tlie attached fu1ancial statements. NOTE: If any Loan Party
                                acquires any registration (or files any application for registration) of any Parent, Trademark or Copyright
                                with tl1e United States Patent and Trademark Office or the United States Copyright Office, as applicable,
                                during the fou1th Fiscal Quarter of any Fiscal Year, the documents and deliverables required under Section
                                4.03(c) of the Security Agreement must be delivered wifuin 60 days after tl1e end of such Fiscal Quarter (or in
                                each case such longer period as tl1e Administrative Agent may reasonably agree).

                       3.       The delivery of the documents required under Section 4.04 of tlie Security Agreement relalulg to any
                                Commercial To1t Claim with an individual value (as reasonably estimated by the Top Bo1rnwer) in excess of
                                $10,000,000 acquired after the Closing Date. NOTE: If any Loan Pa1ty acquires any Commercial To1t
                                Claim with fill individual value (as reasonably estimated by the Top Bonower) in excess of $10,000,000
                                during the fomth Fiscal Qufilter of any Fiscal Year, the documents and deliverables required under Section
                                4.04 of the Security Agreement must be delivered within 60 days after the end of such Fiscal Qufilter (or in
                                each case such longer period as the Administrative Agent may reasonably agree).

                      4.        The delivery of the documents required to be delivered under Section 5.12(a) of the Second Lien Tenn Loan
                                Agreement as a result of (i) tlle formation or acquisition after the Closing Date of any Restricted Subsidifily
                                that is a Domestic Subsidiaty (oilier thfil1 an Excluded Subsidiary), (ii) the designation of fill)' Unrestricted
                                Subsidia1y as a Restricted Subsidia1y (otl1er tl1an an Excluded Subsidia1y), (iii) any Restricted Subsidia1y tl1at
                                is a Domestic Subsidiruy ceasing to be an Immaterial Subsidiaty and/or (iv) any Restricted Subsidiruy that
                                was an Excluded Subsidiary ceasing to be an Excluded Subsidiruy, in each case during the Fiscal Quarter
                                co vered by tl1e attached financial statements. NOTE: upon U1e taking of any action or tl1e occunence of any
                                event described in clauses (i) through ill') during tlie fourth Fiscal Quarter of any Fiscal Year, tlie documents
                                required to be delivered under Section 5.12(a) of the Second Lien Term Loan Agreement must be delivered
                                witlw1 60 days after tlie end of such Fiscal Quarter (or in each case such longer period as the Administrative
                                Agent may reasonably agree).


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                                                                                    SCHEDULE l

                                               Calculation of Excess Cash Flow




                                                   Schedule l to Exhib it D
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                                                                                                           SCHEDULE2

                                       Summarv of Pro Forma Adjustments for Unrestricted Subsidiaries




                                                           Schedule 2 to Exhib it D
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                                                                                        SCHEDULE3

                                               Consolidating Financial Information




                                                     Schedule 3 to Exhibit D
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                                                                                  SCHEDULE4

                                               Unrestricted Subsidiaries




                                                Schedule 4 to Exhibit D
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                                                                                   EXHIBITE

                                                 [Reserved.]




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                                                                                                                EXHIBITF

                                                           [FORM OF]
                                                      INTERCOMP ANY NOTE

                                                                                                                     [Date]

                                FOR VALUE RECEIVED, each of the undersigned, to the extent a borrower from time to
             time from any other entity listed on a signature page hereto (each, in such capacity, a "Payor"), hereby
             promises to pay on de mand to such other e ntity listed below (each, in such capacity, a " Payee"), in lawful
             money of the United States of America, or in such other currency as agreed to by such Payor and such Payee,
             in immediately available funds , at such location as a Payee shall from time to time designate, the unpaid
             principal amount of all loans and advances constituting a loan made by such Payee to such Payor in reliance on
             clause (B) of the definition of "Investment" or indebtedness borrowed by such Payor from such Payee in
             reliance on clause (B) of the proviso to the definition of "Indebtedness" . Each Payor promises also to pay
             interest, if any, on the unpaid principal amount of all such loans and advances in like money at said location
             from the date of such loans and advances until paid at such rate per annum as shall be agreed upon from time
             to time by such Payor and such Payee.

                               Reference is made to (i) that certain First Lien Term Loan Agreement, dated as of November
             8, 2016 (as amended, restated, extended, supplemented or otherwise modified in writing from time to time, the
             "First Lien Term Loan Agreement"), by and among, inter alias, Dawn Intermediate, Inc., a Delaware
             corporation ("Dawn Intermediate" or "Holdings"), Serta Simmons Bedding, LLC, a Delaware limited liability
             company (" SSB" or the "Top Borrower"), National Bedding Company L.L.C., an Illinois limited liability
             company ("National Bedding"), and SSB Manufacturing Company, a Delaware corporation ("SSB
             Manufacturing" and together w ith SSB and National Bedding, the "Borrowers"), the lende rs from time to time
             party thereto (the "First Lien Term Loan Lenders"), UBS AG, Stamford Branch (" UBS"), in its capacities as
             administrative agent and collateral agent for the First Lie n Term Loan Lenders (the " First Lien Agent"), and
             the First Lien Term Loan Lenders and other parties from time to time party thereto, (ii) that certain Second
             Lien Tenn Loan Agreement, dated as of November 8, 2016 (as amended, restated, extended, supplemented or
             otherwise modified in writing from time to time, the "Second Lien Tem1 Loan Agreement"), by and among,
             inter alias, Holdings, the Borrowers, the Lenders from time to time party thereto (the " Second Lien Term Loan
             Lenders"), Goldman Sachs Bank USA, in its capacities as administrative agent and collateral agent for the
             Second Lien Tenn Loan Lenders (the " Second Lien Agent") and (iii) that certain ABL Credit Agreement,
             dated as of November 8, 2016 (as amended, restated, extended, supplemented or otherwise modified in writing
             from lime to time, the " ABL Credit Agreeme nt" and, together w ith the First Lien Term Loan Agreement and
             the Second Lien Tenn Loan Agreement, the "Credit Agreements"), by and among, inter alios, Holdings, the
             Borrowers, the Lenders from time to time party thereto (the "ABL Lenders"), UBS, in its capacities as
             administrative agent and collateral agent for the ABL Lenders (the "ABL Agent" and together with First Lien
             Agent and the Second Lien Agent, the "Agents")). Each Payee hereby acknow ledges and agrees that the
             applicable Agent may exercise all rights provided in the Loan Documents, as applicable, w ith respect to this
             Note. Capitalized te rms used in this Jntercompany Note (this " Note") but not otherwise defined herein shall
             have the meanings given to them in the Credit Agreements, as applicable. This Note is the Intercompany Note
             referred to in Credit Agreements.

                               Notwithstanding anything to the contrary contained in this Note, each Payee understands and
             agrees that no Payor shall be required to make, and shall not make, any payment of principal, interest or other
             amounts on this Note to the extent that such payment is prohibited by, or would give rise to a default or an
             event of default under, the tenus of any Senior Indebtedness (as defined below) (each a "Credit Agreement
             Default"). The failure to make such payment because such payment would result in any Credit Agreement
             Default shall not constitute a default hereunder.

                              Anything in this Note to the contrary notwithstanding, the Indebtedness evidenced by this
             Note owed by any Payor that is a Loan Party to any Payee that is not a Loan Party shall be subordinated and
             junior in right of payment, to the extent and in the manner hereinafter set forth , to all of the Secured
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             Obligations of such Payor; provided that each Payor may make payments to the applicable Payee so long as no
             Event of Default under and as defined in applicable Credit Agreement shall have occurred and be continuing
             (such Secured Obligations and, in each case, other indebtedness and obligations in connection with any
             renewal, refunding, restructuring or refmancing thereof, including interest, fees and expenses thereon accruing
             after the commencement of any proceedings referred to in clause (i) below, whether or not such interest, fees
             and expenses is an allowed claim in such proceeding, being hereinafter collectively referred to as "Senior
             Indebtedness"):

                                   (i)    In the event of any insolvency or bankruptcy proceedings, and any receivership,
                       liquidation, reorganization or other similar proceedings in connection therewith, relative to any Payor
                       that is a Loan Party (each such Payor, an "Affected Pavor") or to its property, and in the event of any
                       proceedings for voluntary liquidation, dissolution or other winding up of such Affected Payor (except
                       as expressly pem1itted by the Loan Documents), whether or not involving insolvency or bankruptcy, if
                       an Event of Default has occurred and is continuing (x) the holders of Senior Indebtedness shall be paid
                       in full in cash in respect of all amounts constituting Senior Indebtedness (including, without
                       limitation, post-petition interest at the rate provided in the documentation with respect to the Senior
                       Indebtedness, whether or not such post-petition interest is an allowed claim against the debtor in any
                       bankruptcy or similar proceeding) (other than (A) contingent indemnification obligations as to which
                       no claim has been asserted and (B) Banking Services Obligations and Secured Hedging Obligations)
                       and no Letter of Credit shall remain outstanding (unless the Outstanding Amount of the Letter of
                       Credit related thereto has been cash collateralized or back-stopped or otherwise in a manner
                       reasonably satisfactory to the applicable Issuing Bank and the ABL Agent and in a face amount to be
                       reasonably determined by the applicable Borrower and the applicable Issuing Bank (but not less than
                       100% of the Outstanding Amount of the applicable Letter of Credit), or such Letter of Credit has been
                       deemed reissued under another agreement reasonably acceptable to the applicable Issuing Bank and
                       the ABL Agent) before any Payee that is not a Loan Party (each such Payee, an " Affected Payee") is
                       entitled to receive (whether directly or indirectly), or make any demands for, any payment on account
                       of this Note and (y) until the holders of Senior Indebtedness are paid in full in cash in respect of all
                       anrnunts constituting Senior Indebtedness (including, without limitation, post-petition interest at the
                       rate provided in the documentation with respect to the Senior Indebtedness, whether or not such post-
                       petition interest is an ailowed claim against the debtor in any bankruptcy or similar proceeding) (other
                       than (A) contingent indemnification obligations as to which no claim has been asserted and (B)
                       Banking Services Obligations and Secured Hedging Obligations) and no Letter of Credit shall remain
                       outstanding (unless the Outstanding Amount of the Letter of Credit related thereto has been cash
                       collateralized or back-stopped by a letter of credit or othen:vise in a manner reasonably satisfactory to
                       the applicable Issuing Bank and the ABL Agent and in a face amount to be reasonably detem1ined by
                       the applicable Borrower and the applicable Issuing Bank (but not less than 100% of the Outstanding
                       Amount of the applicable Letter of Credit), or such Letter of Credit has been deemed reissued under
                       another agreement reasonably acceptable to the applicable Issuing Bank and the ABL Agent), any
                       payment or distribution to which such Affected Payee would otherwise be entitled (other than equity
                       or debt securities of such Affected Payor that are subordinated, to at least the same extent as this Note,
                       to the payment of all Senior Indebtedness then outstanding (such securities being hereinafter referred
                       to as "Restructured Securities")) shall be made to the holders of Senior Indebtedness;

                                 ( ii)   (x) if any Event of Default under Sections 7.0l(a), LQlill or 7.0l(g) of any Credit
                       Agreement occurs and is continuing and (y) subject to the Jntercreditor Agreements, either any Agent
                       delivers notice to the Borrowers instructing the Borrowers that the applicable Agent is thereby
                       exercising its rights pursuant to this clause (ii) (provided that no such notice shall be required to be
                       given in the case of any Event of Default arising under Sections 7.0l(f) or LQ1_(g} of the Credit
                       Agreements, as applicable), then, unless otherwise agreed in writing by the applicable Agent in its
                       reasonable discretion, no payment or distribution of any kind or character shall be made by or on
                       behalf of any Affected Payor or any other Person on its behalf, and no payment or distribution of any

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                       kind or character shall be received by or on behalf of any Affected Payee or any other Person on its
                       behalf, with respect to this Note until (x) the applicable Senior Indebtedness shall have been paid in
                       full in cash (other than (A) contingent indemnification obligations as to which no claim has been
                       asserted, (B) Banking Services Obligations and Secured Hedging Obligations and (C) the Outstanding
                       Amount of any Letter of Credit that has been cash collateralized or back-stopped or otherv,ise in a
                       manner reasonably satisfactory to the applicable Issuing Bank and the First Lien Agent and in a face
                       amount to be reasonably determined by the relevant Borrowers and the applicable Issuing Bank (but
                       not less than 100% of the Outstanding Amount of the applicable Letter of Credit), or such Letter of
                       Credit has been deemed reissued under another agreement reasonably acceptable to the applicable
                       Issuing Bank and the First Lien Agent) or (y) such Event of Default shall have been cured or waived;

                               (iii)    if any payment or distribution of any character, whether in cash, securities or other
                      property (other than Restructured Securities), in respect of this Nole shall (despite these subordination
                      provisions) be received by any Affected Payee in violation of the foregoing clause (i) or (ii), such
                      payment or distribution shall be held in trust for the benefit of, and shall be paid over or delivered in
                      accordance with the relevant Collateral Documents, the applicable Agent, on behalf of the applicable
                      Secured Parties, subject to the terms of the Intercreditor Agreements; and

                                (iv)    Each Affected Payee agrees to file all claims against each relevant Affected Payor in
                      any bankruptcy or other proceeding in which the filing of claims is required by law in respect of any
                      Senior Indebtedness and the Agents shall be entitled to all of such Affected Payee's rights thereunder.
                      If for any reason an Affected Payee fails lo fi le such claim at least ten (10) days prior to the last date
                      on which such claim should be filed, such Affected Payee hereby irrevocably appoints each Agent as
                      its true and lawful attorney-in-fact and each Agent is hereby authorized to act as attorney -in-fact in
                      such Affected Payee' s name to file such claim or, in such Agent' s discretion, to assign such claim to
                      and cause proof of claim to be filed in the name of such Agent or its nominee. In all such cases,
                      whether in administration, bank ruptcy or other.vise, the person or persons authorized to pay such
                      claim shall pay to the applicable Agent the full amount payable on the claim in the proceeding, and, to
                      the full extent necessary for that purpose, each Affected Payee hereby assigns to each of the Agents all
                      of such Affected Payee's rights to any payments or distributions to which such Affected Payee
                      other.vise would be entitled. If the amount so paid is greater than such Affected Payor's liability
                      hereunder, the Agents shall pay the excess amount to the party entitled thereto under the applicable
                      Intercreditor Agreement and applicable law. In addition, upon the occurrence and during the
                      continuance of an Event of Default, each Affected Payee hereby irrevocably appoints each Agent as
                      its attorney-in-fact to exercise all of such Affected Payee' s voting rights in connection with any
                      bankruptcy proceeding or any plan for the reorganization of each relevant Affected Payor.

                              Except as otherwise set forth in clauses (i) and (ii) above, any Payor is permitted to pay, and
             any Payee is entitled to receive, any payment or prepayment of principal and interest on the Indebtedness
             evidenced by this Nole.

                               To the fullest extent permitted by applicable Requirements of Law, no present or future
             holder of Senior Indebtedness shall at any time or in any way be prejudiced or impaired in its right to enforce
             the subordination of this Note by any act or failure to act on the part of any Affected Payor or Affected Payee
             or by any act or failure to act on the part of such holder or any trustee or agent for such holder, or by any
             noncompliance by the Payor with the terms and provisions of the Nole, regardless or any knowledge thereof
             which any such holder may have or be other.vise charged with. Each Affected Payee and each Affected Payor
             hereby agrees that the subordination of this Note is for the benefit of each Agent and the other Secured Parties.
             Each Agent and the other Secured Parties are obligees under this Note to the same extent as if their names
             were written herein as such and each Agent (or other applicable Representative) may, on behalf of itself, and
             the applicable Secured Parties, proceed to enforce the subordination provisions herein, in each case, subject to
             the terms of the Intercreditor Agreements.

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                              The holders of the Senior Indebtedness may, without in any way affecting the obligations of
             the holder of the Note with respect hereto, at any time or from time to time and in their absolute discretion,
             change the manner, place or terms of payment of, change or extend the time of payment of, or renew or alter,
             any Senior Indebtedness or amend, modify or supplement any agreement or instrument governing or
             evidencing such Senior Indebtedness or any other document referred to therein, or exercise or refrain from
             exercising any other of their rights under the Senior Indebtedness including, without limitation, the waiver of
             default thereunder and the re lease of any collateral securing such Senior Indebtedness, all ·without notice to or
             assent from any Payor or Payee.

                              Nothing contained in the subordination prov1s1ons set forth above is intended to or will
             impair, as between each Payor and each Payee, the obligations of such Payor, which are absolute and
             unconditional, to pay to such Payee the principal of and interest on this Note as and ·when due and payable in
             accordance with its tenus, or is intended to or will affect the relative rights of such Payee and other creditors of
             such Payor other than the holders of Senior Indebtedness.

                               Each Payee is hereby authorized (but not required) to record all loans and advances made by
             it to any Payor (all of which shall be evidenced by this Note), and all repayments or prepayments thereof, in its
             books and records, such books and records constituting prima facie evidence of the accuracy of the
             information contained therein. For the avoidance of doubt, this Note shall not in any way replace, or affect the
             principal amount of, any intercompany loan outstanding between any Payor and any Payee prior to the
             execution hereof, and to the extent permitted by applicable law, from and after the date hereof, each such
             intercompany loan shall be deemed to incorporate the tenus set forth in this Note to the extent applicable and
             shall be deemed to be evidenced by this Note together with any documents and instrnments executed prior to
             the date hereof in connection with such intercompany Indebtedness.

                              Each Payor hereby waives presentment, demand, protest or notice of any kind in connection
             with this Note. Except to the extent of any taxes required by law to be withheld, all payments under this Note
             shall be made without offset, counterclaim or deduction of any kind.

                              This Note shall be binding upon each Payor and its successors and assigns, and the terms and
             provisions of this Note shall inure to the benefit of each Payee and their respective successors and assigns,
             including subsequent holders hereof.

                              If, at any time, all or part of any payment with respect to Senior Indebtedness theretofore
             made by the Payor or any other Person or entity is rescinded or must otherwise be returned by the holders of
             the Senior Indebtedness for any reason whatsoever (including, without limitation, the insolvency, bankruptcy
             or reorganization of the Payor or such other Person or entity), the subordination provisions set forth herein
             shall continue to be effective or be reinstated, as the case may be, all as though such payment had not been
             made.

                               If any Payee shall acquire by indemnification, subrogation or otherwise, any lien, estate, right
             or other interest in any of the assets or properties of any Payor, that lien, estate, right or other interest shall be
             subordinate in right of payment to the Senior Indebtedness and the lien of the Senior Indebtedness as provided
             herein, and each Payee hereby waives any and all rights it may acquire by subrogation or otherwise to any lien
             of the Senior Indebtedness or any portion thereof until such time as all Senior Indebtedness has been
             indefeasibly repaid in full in cash.

                              From time to time after the date hereof, additional Subsidiaries of the Top Borrower may
             become parties hereto (as Payor and/or Payee, as the case may be) by executing a counterpart signature page
             hereto, which shall be automatically incorporated into this Note (each additional Subsidiary, an "Additional
             Party"). Upon delivery of such counterpart signature page to the Payees, notice of which is hereby waived by
             the other Payors, each Additional Party shall be a Payor and/or a Payee, as the case may be, and shall be as

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             fully a party hereto as if such Additional Party were an original signatory hereof. Each Payor expressly agrees
             that its obligations arising hereunder shall not be affected or diminished by the addition or release of any other
             Payor or Payee hereunder. This Note shall be fully effective as to any Payor or Payee that is or becomes a
             party hereto regardless of whether any other person becomes or fails to become or ceases to be a Payor or
             Payee hereunder.

                               Indebtedness governed by this Note shall be maintained in "registered fonu" within the
             meaning of Section 163(t) of the Internal Revenue Code of 1986, as amended. The Payor or its designee
             (which shall be the Applicable Administrative Agent) shall record the transfer of the right to payments of
             principal and interest on the Indebtedness governed by this Note to holders of the Senior Indebtedness in a
             register (the «Register"), and no such transfer shall be effective until entered in the Register.

                              Any Payor shall be automatically released from this Note in the event that such Payor ceases
             to be a Loan Party pursuant to Article 8 or Section 9.22 of the Credit Agreements. Any Payee shall be
             automatically released from this Note in the event that such Payee ceases to be a wholly-owned Restricted
             Subsidiary of the Top Borrower pursuant to a transaction pern1itted by the Credit Agreements.

                         THlS NOTE SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
             WITH, THE LAW OF THE ST ATE OF NEW YORK.

                                                        [Signature Pages FollowJ




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                                                                                                                                     EXHIBIT F




                                                                                            24
                                                                            [ • ] , as Payee




                                                                            By: _ _ _ _ _ _ _ _ _ _ __
                                                                                 Name:
                                                                                  Title:


                                                                                           25
                                                                            [• ], as Payor


                                                                            By: _ _ _ _ _ _ _ _ _ _ __
                                                                                  Name:
                                                                                      Title:




             24
                  To be executed by Restricted Subsidia1ies that are not Loan Parties to the extent required in accordance w ith the provisions of
                         the applicable Credit Agreement.

             25
                  To be executed by Loan Parties to the extent required in accordance with the provisions of the applicable Credit Agreement.

                                                           Signature Page to Jntercompany Note

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                                                                                    EXHIBIT G-1

                                                         [FORM OF]
                                           FORM OF ABL INTERCREDlTOR AGREEMENT

                                                       [See attached.]




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                                                                                            EXECUTION VERSION




                                                ABL INTERCREDITOR AGREEMENT



                                                     dated as of November 8, 2016,

                                                                among

                                                   UBS AG, STAMFORD BRANCH,
                                               as ABL Credit Agreement Collateral Agent;

                                                UBS AG, STAMFORD BRANCH,
                                         as First Lien Credit Agreement Collateral Agent;

                                                GOLDMAN SACHS BANK USA
                                        as Second Lien Credit Agreement Collateral Agent,

                                                                 and

                                   EACH OTHER COLLATERAL AGENT PARTY HERETO



                                                  and acknowledged and agreed to by

                                                   DAWN INTERMEDIATE, INC.,

                                                             as Holdings,

                                                 SERTA SIMMONS BEDDING, LLC

                                                           as Top Borrower,

                                         THE OTHER BORROWERS PARTY HERETO,

                                                                 and

                                     EACH OF THE OTHER OBLIGORS PARTY HERETO,




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                                               ABL INTERCREDITOR AGREEMENT

                               This ABL INTERCREDITOR AGREEMENT (as amended, re stated, amended and
             restated, supplemented and/or otherwise modified from time to time, this "Agreement") is dated as of
             November 8, 2016, and e nte red into by and among UBS AG, STAMFORD BRANCH, in its capacity as
             collate ral agent under the ABL Credit Agreement and the ABL Collate ral Documents relating thereto (in
             each case as defined below) (in such capacity and together with its successors and assigns in such
             capacity, the "ABL Credit Agreement Collateral Agent"), UBS AG, STAMFORD BRANCH, in its
             capacity as collateral agent under the First Lien Credit Agreement and the First Lien Collateral
             Documents relating thereto (in each case, as defined below) (in such capacity and together with its
             successors and assigns in such capacity, the "First Lien Credit Agreement Collateral Agent"),
             GOLDMAN SACHS BANK USA in its capacity as collateral agent under the Second Lien Credit
             Agreement and the Second Lien Collateral Documents relating thereto (in each case, as defined below)
             (in such capacity and together with its successors and assigns in such capacity, the "Second Lien Credit
             Agreement Collateral Agent"), each other FIRST LIEN COLLATERAL AGENT that is from time to
             time party hereto and each other SECOND LIEN COLLATERAL AGENT that is from time to time party
             he reto and acknowledged and agreed to by DAWN INTER.MEDIATE, INC., a Delaware corporation
             ("Holdings"), SERTA SIMMONS BEDDING, LLC, a Delmvare limited liability company (the ''Top
             Borrower"), NATIONAL BEDDING COMPANY L.L.C., an Illinois limited liability company
             ("National Bedding"), SSB MANUFACTURING COMPANY, a Delaware corporation ("SSB
             Manufacturing" and, together with the Top Borrower and National Bedding, the "Borrowers") and the
             other OBLIGORS (as defined below) from time to time pa1t y hereto.

                                                            RECITALS

                              Holdings, the Borrowers, the financial institutions party thereto from time to time, UBS
             AG, Stamford Branch C UBS"), as administrative agent (in such capacity and togethe r with its successors
             and assigns in such capacity, the "ABL Administrative Agent"), the ABL Credit Agreement Collateral
             Agent, letter of credit issuer and swingline lender, have entered into that certain ABL Credit Agreement,
             dated as of November 8, 2016 (as amended, amended and restated, supplemented, modified or Refinanced
             from time to time, the "ABL Credit Agreement");

                               Holdings, Borrowers, the financial institutions pa1ty thereto from time to time, UBS, as
             administrative agent (in such capacity and together with its successors and assigns in such capacity, the
             ''First Lien Administrative Agent") and the First Lie n Credit Agreement Collate ral Agent, have entered
             into that certain First Lien Term Loan Agreement, dated as of November 8, 2016 (as amended, amended
             and restated, supplemented, modified or Refinanced from time to time, the "First Lien Credit
             Agreement");

                              Holdings, the Borrowers, the financial institutions party thereto from time to time,
             Goldman Sachs Bank USA ("GS"), as administrative agent (in such capacity, the "Second Lien
             Administrative Agent") and Second Lien Te rm Loan Agreement Collate ral Agent, have entered into that
             certain Second Lien Term Loan Credit Agreement, dated as of Novembe r 8, 2016 (as amended, amended
             and restated, supplemented, modified or Refinanced from time to time, the "Second Lien Credit
             Agreement");

                               Pursuant to (i) the ABL Credit Agreement, (A) the Borrowers may incur loans and ABL
             Letters of Credit may be issued and (B) the relevant ABL Obligors have agreed to guarantee the ABL
             Obligations, (ii) the First Lien Credit Agreement, (A) the Borrowers will incur loans and (B) the relevant
             First Lien Obligors have agreed to guarantee the First Lien Obligations, and (iii) the Second Lien Credit




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             Agreement, (A) the Borrowers will incu r loans and (B) the relevant Second Lien Obligors have agreed to
             guarantee the Second Lien Obligations;

                              TI1e obligations of each ABL Obligo r under (i) the ABL Financing Documents, (ii) any
             ABL Hedge Agreements and (iii) any ABL Banking Services Agreements w ill be secured on (x) a first
             priority basis by Liens on the ABL Priority Collateral of such ABL Obligor and (y) a third priority basis
             by Liens on the Tenn Loan Priority Collateral of such ABL Obligor, in each case pursuant to the tenns of
             the ABL Collateral Documents;

                               l11e obligations of each First Lien Obligor under (i) the First Lien Financing Documents,
             (ii) any First Lien Hedge Agreements and (iii) any First Lien Banking Services Agreements will be
             secured on (x) a first priority basis by Liens on the Term Loan Priority Collateral of such First Lien
             Obligo r and (y) a second priority basis by Liens on the ABL Priority Collateral of such First Lien
             Obligor, in each case pursuant to the tenns of the First Lien Collateral Documents;

                             The obligations of each Second Lien Obligor under (i) the Second Lien Financing
             Documents, (ii) any Second Lien Hedge Agreements and (iii) any Second Lien Banking Services
             Agreements will be secured on (x) a second priority basis by Liens on the Term Loan Priority Collateral
             of such Second Lien Obligor and (y) a third prio1ity basis by Liens on the ABL Priority Collateral of such
             Second Lien Obligor, in each case pursuant to the tenns of the Second Lien Collateral Documents;

                              The ABL Credit Agreement, the First Lien Credit Agreement and the Second Lien Credit
             Agreement require , among other things, that the parties thereto shall set forth in this Agreement their
             respective rights and remedies with respect to the Collateral;

                              l11e Obligors may, from time to time, to the e:,,.'tent permitted by this Agreement, the ABL
             Financing Documents, the First Lien Financing Documents and the Second Lien Financing Documents,
             incur additional secured debt which the Obligors and the debtholders thereunder may elect, subject to the
             tenns and conditions hereof, of the ABL Financing Documents, the First Lien Financing Documents and
             of the Second Lien Financing Documents, to be secured by the Collateral;

                               ln order to induce the ABL Credit Agreement Collateral Agent and the other ABL
             Claimholders to consent to the Obligors incurring the First Lien Obligations and the Second Lien
             Obligations and to induce the ABL Claimholders to e:,,.'tend credit and other financial accommodations
             and lend monies to or for the benefit of the ABL Obligors, each First Lien Collateral Agent, each Second
             Lien Collateral Agent and each Additional Lien Obligations Agent, on behalf of itself and its respective
             Claimholders, and each First Lien Claimholder, each Second Lien Claimholder and each Additional Lien
             Obligations Claimholder, by its acceptance of the benefits of the First Lie n Collateral Documents, the
             Second Lien Collateral Documents or the Additional Lien Obligations Agreements, as applicable, has
             ag reed to the intercreditor and othe r provisions set forth in this Agreement;

                                ln order to induce each First Lien Collateral Agent and the other First Lien Claimholders
             to consent to the Obligors incurring the ABL Obligations and the Second Lien Obligations and to induce
             the First Lien Claimholders to extend credit and other financial accommodations and lend monies to or
             for the benefit of the First Lien Obligors, the ABL Credit Agreement Collateral Agent, each Second Lien
             Collateral Agent and each Additional Lien Obligations Agent, on behalf of itself and its respective
             Claimholders, and each ABL Claimholder, each Second Lien Claimholder and each Additional Lien
             Obligations Claimholder, by its acceptance of the benefits of the ABL Collateral Documents, the Second
             Lien Collateral Documents or the Additional Lien Obligations Agreements, as applicable, has a.greed to
             the intercredito r and other provisions set forth in this Agreement; and


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                              In orde r to induce each Second Lien Collate ral Agent and the other Second Lien
             Claimholders to consent to the Obligors incurring the ABL Obligations and the First Lien Obligations and
             to induce the Second Lien Claimholders to ext end credit and other financial accommodations and lend
             monies to or for the benefit of the Second Lien Obligors, the ABL Credit Agreement Collateral Agent,
             each First Lien Collate ral Agent and each Additional Lien Obligations Agent, on be half of itself and its
             respective Claimholders and each ABL Claimholder, each First Lien Claimholder and each Additional
             Lie n Obligations Claimholder, by its acceptance of the benefits of ABL Collateral Documents, the First
             Lien Collateral Documents or the Additional Lien Obligations Agreements, as applicable, has agreed to
             the intercreditor and other provisions set forth in this Agreement.

                                                          AGREEMENT

                             In consideration of the foregoing, the mutual covenants and obligations he rein set forth
             and for other good and valuable consideration, the sufficiency and re ceipt of which are hereby
             acknowledged, the parties he reto, intending to be legally bound, hereby agree as follows:

                               SECTION 1.       Definitions.

                               1.1    Defined Terms. The following terms which are defined in the UCC are used
             he rein as so defined: Account, Chatte l Paper, Deposit Account, Document, Equipme nt, Fixture, General
             Intangible, Good, Instrument (as defined in Article 9 thereof), Inventory, Investment Property, Lette r-of-
             Credit Right, Money, Securities, Securities Account, Security Entitlement and Supporting Obligation. As
             used in this Agreement, the following te1ms shall have the following meanings:

                               "ABL Administrative Agent" has the meaning set forth in the Recitals to this
             Agreement.

                             "ABL Banking Services" means any of the following services provided to any ABL
             Obligor or any of its " subsidiaries" as defined in the ABL Credit Agreement: comme rcial credit cards,
             stored value cards, purchasing cards, treasury management services, netting services, o verdraft
             protections, check drawing se rvices, automated payment se rvices (including depository, overdraft,
             controlled disbursement, ACH transactions, return items and interstate depository network services),
             employee credit card programs, cash pooling services and any arrangements or services similar to any of
             the foregoing and/or othe rwise in connection with cash management and deposit accounts.

                            "ABL Banking Services Agreement" means any documentation with an ABL
             Claimholder governing any ABL Banking Services Obligations.

                              "ABL Banking Services Obligations" means any and all obligations of any ABL
             Obligor or any of its " subsidiaries" as defined in the ABL Credit Agreement (or any similar te1m in any
             other ABL Document), whether absolute or contingent and however and wheneve r created, arising,
             evide nced or acquired (including all renev-,1als, extensions and modifications thereof and substitutions
             therefor), in connection with ABL Banking Services, in each case, that constitute ABL Obligations;
             provided that in no event shall any obligations constitute ABL Banking Services Obligations to the extent
             such obligations constitute First Lien Banking Services Obligations or Second Lien Banking Services
             Obligations.

                              "ABL Claimholders" means, at any relevant time, the holders of ABL Obligations at
             that time, including the ABL Lende rs, the ABL Administrative Agent, the ABL Credit Ag reement
             Collateral Agent and the other agents under the ABL Credit Agreement.


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                              "ABL Collateral" means (i) the "Collateral" (as defined in the ABL Credit Agreement)
             and (ii) any other assets and property of any Obligor, whethe r real, personal or mixed, with respect to
             which a Lien is granted or purported to be granted as security for any ABL Obligations or that is
             otherwise subject to a Lien seeming any ABL Obligations.

                              "ABL Collateral Documents" means the "Collate ral Documents" as defined in the ABL
             Credit Agreement and any other agreement, document or instrument pursuant to which a Lien is granted
             or purported to be granted securing any ABL Obligations or under w hich rights or remedies with respect
             to such Liens are governed .

                               "ABL Credit Agreement" has the meaning set forth in the Recitals to this Agreement.

                            "ABL Credit Agreement Collateral Agent" has the meaning set forth in the Preamble
             to this Agreement.

                               "ABL DIP Cap Amount" means 115% of the sum of (a) the maximum principal amount
             of all Indebtedness consisting of ABL Obligations that are pennitted to be incurred unde r the First Lien
             Credit Agreement as in effe ct on the date hereof and (b) any accrued and unpaid interest (including
             interest accruing at the default rate specified in the applicable ABL Financing Document and any Post-
             Petition Interest) and premiums (including tender premiums and pre payment pre miums) payable on
             account of any ABL Obligations and any underwriting discounts, fees, commissions and expenses
             (including original issue discount, upfront fees or initial yield payments), attorneys' fees, costs, expenses
             and indemnities paid or payable by any Obligor in connection w ith incurrence or issuance of any ABL
             Obligation or any Refinancing of any ABL Obligation in accordance with the terms of this Agreement.

                               "ABL DIP Financing" has the meaning set forth in Section 6. I(b).

                               "ABL Documents" means (i) the ABL Financing Documents, (ii) the ABL Hedge
             Agreements governing ABL Secured Hedging Obligations and (iii) the ABL Banking Se rvices
             Agreements, in ea.ch case, as Refinanced from time to time in accordance with the tenns thereof and
             subject to the terms hereof.

                                "ABL Financing Documents" means the ABL Credit Agreement, the ABL Collate ral
             Documents, the other "Loan Documents" as defined in the ABL Credit Agreement and each of the other
             agreeme nts, documents and instruments providing for or evidencing any othe r ABL Obligation (other
             than any ABL Othe r Obligation), and any other docume nt or instrument executed or delivered at any time
             in connection with any ABL Obligations (other than any ABL Other Obligations), including any
             inte rcreditor or joinde r agreement among any ABL Claimholders, to the extent such are effective at the
             relevant time, as ea.ch may be Refinanced from time to time in accordance with the te rms thereof and
             subject to the terms hereof.

                             "ABL Hedge Agreement" means any agreement w ith respect to any De1ivative
             Transaction between any ABL Obligor or any "subsidiary" as defined in the ABL Credit Agreement (or
             any similar term in any other ABL Document) and any ABL Cla.imholder.

                              "ABL Hedging Obligations" means, with respect to any ABL Obligor or any
             "subsidiary" as defined in the ABL Credit Agreement (or any similar term in any other ABL Document),
             the obligations of such Person under any ABL Hedge Agreement.

                               "ABL Issuing Bank" means each issuing bank in respect of an ABL Letter of Credit.


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                           "ABL Lenders" means the "Le nders" (or any similar te rm) as defined in the ABL Credit
             Agreement and a lso shall include all ABL Issuing Banks.

                             "ABL Letters of Credit" means any letters of credit issued (or deemed issued) from
             time to time under any ABL Financing Document.

                            "ABL Liens" means the Liens on the Collateral in favor of the ABL Claimholde rs under
             ABL Collateral Documents.

                              "ABL Obligations" means all "Secured Obligations" (or any similar term) as defined in
             the ABL Credit Agreement and all "Secured Obligations" (or any similar term) in any other ABL
             Financing Document. To the extent any payment with respect to any ABL Obligation (whether by or on
             behalf of any ABL Obligor, as proceeds of secu,ity, enforcement of any right of setoff or otherwise) is
             declared to be a fraudulent conveyance or a preference in any respect, set aside or required to be paid to a
             de btor in possession, any Tenn Loan Claimholder, receiver or other Person, then the obligation or part
             thereof originally intended to be satisfied shall, for all purposes of this Agreement and the rights and
             obligations of the ABL Claimholders, be deemed to be reinstated and outstanding as if such payment had
             not occurred. In the event that any interest, fees, expenses or other amounts (including any interest
             accruing at the defau lt rate or any Post-Petition Interest) to be paid by a ABL Obligor pursuant to the
             ABL Financing Documents, the ABL Hedge Agreements governing ABL Secured Hedging Obligations
             or the ABL Banking Services Agreements are disallowed by orde r of any comt of competent jurisdiction,
             including by order of a court presiding over an Insolvency or Liquidation Proceeding, such interest, fees,
             expenses and other amounts (including default interest and Post-Petition Interest) shall, as between the
             Claimholders, be deemed to continue to accrue and be added to the amount to be calculated as the " ABL
             Obligations."

                            "ABL Obligors" means, collectively, the "Loan Parties" (or any similar term) as defined
             in the ABL Credit Agreement and the "Loan Parties" (or any similar te rm) as defined in any othe r ABL
             Docume nt.

                           "ABL Other Obligations" means the ABL Banking Se rvices Obligations and the ABL
             Secured Hedging Obligations.

                              "ABL Priority Collateral" means all interests of each Obligor in the following
             Collateral, in each case whether now owned or existing or hereafter acquired or a1ising and whe rever
             located, including (a) all rights of each Obligor to receive moneys due and to become due under or
             pursuant to the following, (b) all rights of each Obligor to receive return of any premiums for or Proceeds
             of any insurance, indemnity, warranty or guaranty Yvith respect to the following or to receive
             condemnation Proceeds with respect to the following, (c) all claims of each Obligor for damages arising
             out of or for breach of or default unde r any of the following, and (d) all rights of each Obligor to
             te rminate, amend, supplement, modify or waive performance under any of the following, to perfonn
             thereunde r and to compel performance and otherwise exercise all remedies thereunder:

                               (i)      all Accounts, but for purposes of this clause (i) excluding rights to payment for
                      any property which specifically constitutes Te rm Loan Priority Collateral which has been or is to
                      be sold, leased, licensed, assigned or otherwise disposed of; provided, however, that, for the
                      avoidance of doubt, all rights to payment arising from any sale or lease of Inventory, Goods or
                      merchandise (other than Fixtures or Equipment) or the provision of services shall constitute ABL
                      Priority Collateral;

                               (i i)   all Chattel Paper;

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                              (iii)    all Deposit Accounts, Securities Accounts and all other demand, deposit, time,
                     savings, cash management, passbook and similar accounts maintained with any bank or other
                     financial institution and all cash, money, securities, Instruments and other investments deposited
                     or required to be deposited in any of the foregoing (in each case, other than a Tem1 Proceeds
                     Account, all monies, securities, Instruments and other investments held in a Te rm Proceeds
                     Account or credited to a Term Proceeds Account which constitute Term Loan Priority Collateral,
                     all identifiable Proceeds of any Te rm Loan Priority Collateral and any accounts containing cash
                     constituting Tax and Trust Funds);

                              (iv)     all Inventory, including any Inventory incorporating any Intellectual Property,
                     and all tights to receive payments, indebtedness and other obligations which arise as a result of
                     the sale or lease of Inventory, Goods or merchandise (in each case other than Fixtures or
                     Equipment) or provision of services, including the right to payment of interest or finance charges;

                              (v)    all cash, Money and Cash Equivalents (other than (i) identifiable Proceeds of the
                     Tenn Loan Priority Collateral, (ii) cash collateral subject to a Pennitted Lien (other than the Lien
                     in favor of any ABL Claimholder or Tem1 Loan Claimholder) or (iii) identifiable Tax and Trust
                     Funds);

                              (vi)     [reserved];

                                 (vii)   to the extent evidencing or governing any of the items referred to in the
                     iffeceding clauses (i) through (y_i)_, all General Intangibles (excluding capital stock and any
                     llntellectual Property to the extent such Intellectual Property is not attached to or necessary to sell
                     at.i!.y item of Inventory), letters of credit (whether or not the respective letter of credit is evidenced
                     by a writing), Letter-of-Credit Rights, Instmments and Documents; provided that to the extent
                     any of the foregoing also relates to Tem1 Loan Priority Collateral, only that portion related to the
                     items referred to in the preceding clauses (i) through (y_i)_ as being included in the ABL Priority
                     Collateral shall be included in the ABL Priority Collateral;

                              (viii) to the exte nt relating to any of the items referred to in the preceding clauses (i)
                     through (vii), all insurance; provided that to the extent any of the foregoing also relates to Term
                     Loan Priority Collateral only that portion related to the items referred to in the preceding clauses
                     ill through (vii) as being included in the ABL Prio1ity Collateral shall be included in the ABL
                     Priority Collateral;

                              (ix)     to the exte nt relating to any of the items referred to in the preceding clauses (i)
                     through (viii), all Suppo1ting Obligations; provided that to the e>rtent any of the foregoing also
                     relates to Term Loan Priority Collateral only that portion related to the items referred to in the
                     preceding clauses (i) through (viii) as being included in the ABL P1iority Collateral shall be
                     included in the ABL Priority Collateral;

                              (x)      to the extent relating to any of the items referred to in the preceding clauses (i)
                     through (ix), all Commercial Tort Claims; provided that to the ex'tent any of the foregoing also
                     relates to Term Loan Priority Collateral only that portion related to the items referred to in the
                     preceding clauses (i) through (viii) as being included in the ABL Priority Collateral shall be
                     included in the ABL Priority Collateral;

                              (xi)     all books and records, including all books, databases, customer lists and records
                     related thereto; and


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                              (xii)   all cash Proceeds and, solely to the e:,..'tent not constituting Te1m Loan P1iority
                     Collateral, non-cash Proceeds, products, accessions, rents and profits of or in respect of any of the
                     foregoing (including all insurance proceeds) and all collateral security, guarantees and other
                     collateral suppo1t given by any Person with respect to any of the foregoing.

                               "ABL Secured Hedging Obligations" means all ABL Hedging Obligations of the ABL
             Obligors, whether absolute, or contingent and hmvsoever and whenever created, arising, evidenced or
             acquired (including all renewals, e:,..'tensions or modifications thereof and substitutions therefor), in each
             case, that constitute ABL Obligations.

                              "Additional First Lien Obligations" means obligations with respect to Indebtedness of
             the Borrowers or any other Obligor (other than, for the avoidance of doubt, First Lien Credit Agreement
             Obligations) issued or guaranteed following the date of this Agreement and documented in an agreement
             other than any agreement governing any then existing First Lien Obligations; provided that (a) such
             Indebtedness is permitted by the te1ms of each of the ABL Credit Agreement, First Lien Credit
             Agreement, the Second Lien Credit Agreement and each then existing Additional First Lien Obligations
             Agreement and Additional Second Lien Obligations Agreement to be secured by Liens on the Collateral
             ranking pari passu with the Liens securing the First Lien Obligations, (b) the Obligors have granted or
             purport to have granted Liens on the Collateral to secure the obligations in respect of such Indebtedness
             on a pari passu basis with the other First Lien Obligations, (c) the applicable Additional First Lien
             Obligations Agent, for itself and on behalf of the holders of such Indebtedness and obligations in respect
             of such Indebtedness, has entered into a Jo inder Agreement pursuant to Section 8 .2 l(b) acknowledging
             that such Indebtedness, obligations and Liens shall be subject to, and such Additional First Lien
             Obligations Agent and such holders shall be bound by, and shall have the 1ights and obligations provided
             under, the terms of this Agreement applicable to the First Lien Collateral Agent and the other First Lien
             Claimholders, respectively and (d) an amendment to or other modification of this Agreement shall have
             been entered into pursuant to Section 8.3 to the extent contemplated and requested pursuant to
             Section 8.21(c).

                               "Additional First Lien Obligations Agent" means any Person appointed to act as
             trustee, agent or similar representative for the holders of Additional First Lien Obligations pursuant to any
             Additional First Lien Obligations Agreement (including, in the case of any bilateral arrangement, the
             actual holder of the relevant Additional First Lien Obligations unless such holder has otherwise appointed
             a trustee, agent or similar representative acting on its behalf) and has been designated as such in the
             applicable Joinder Agreement, and any successor the reto.

                               "Additional First Lien Obligations Agreements" means (i) the indenture, credit
             agreement, guarantee or other agreement evidencing or governing any Additional First Lien Obligations
             that are designated as Additional First Lien Obligations pursuant to Section 8.21 and (ii) any other "Loan
             Documents," or "Financing Documents" (or similar tem1 as may be defined in the foregoing or referred to
             in the foregoing), in each case, as Refinanced from time to time in accordance with the terms thereof and
             subject to the terms hereof.

                                "Additional First Lien Obligations Claimholders" means, at any relevant time, the
             le nde rs, creditors and secured parties under any Additional First Lien Obligations Agreements, any
             Additional First Lien Obligations Agent and the other agents under such Additional First Lien
             Obligations Agreements, in each case, in their capacities as such.

                             "Additional Lien Obligations" means, collectively, the Additional First Lien
             Obligations and the Additional Second Lien Obligations.


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                             "Additional Lien Obligations Agent" means the Additional First Lien Obligations
             Agent and/or the Additional Second Lien Obligations Agent, as applicable.

                             "Additional Lien Obligations Agreements" means, collectively, the Additional First
             Lie n Obligations Agreements and the Additional Second Lien Obligations Agreements.

                            "Additional Lien Obligations Claimholders" means, collectively, the Additional First
             Lien Obligations Claimholders and the Additional Second Lien Obligations Clai.mholders.

                              "Additional Second Lien Obligations" means obligations with respect to Indebtedness
             of the Borrowers or any other Obligor ( other than, for the avoidance of doubt, Second Lien Credit
             Agreement Obligations) issued or guaranteed following the date of this Agreement and documented in an
             agreeme nt other than any agreement governing any then existing Second Lien Obligations. provided that
             (a) such Indebtedness is pennitted by the tenns of each of the ABL Credit Agreement, First Lien Credit
             Agreement, the Second Lien Credit Agreement and any then existing Additional First Lien Obligations
             Agreement and Additional Second Lien Obligations Agreement to be secured by Liens on the Collate ral
             rankingpari passu with the Liens securing the Second Lien Obligations, (b) the Obligors have granted or
             purport to have granted Liens on the Collateral to secure the obligations in respect of such Indebtedness
             on a pari passu basis with the other Second Lien Obligations, ( c) the applicable Additional Second Lien
             Obligations Agent, for itself and on behalf of the holders of such Indebtedness and obligations in respect
             of such Indebtedness, has entered into a Joinder Agreement pursuant to Section 8.2 I(b) acknowledging
             that such Indebtedness, obligations and Liens shall be subject to, and such Additional Second Lien
             Obligations Agent and such holders shall be bound by, and shall have rights and obligations provided
             unde r, the terms of this Agreeme nt applicable to the Second Lien Collate ral Agent and the othe r Second
             Lie n Cla imholde rs, respectively and (d) an amendment to or other modification of this Agreement shall
             have been entered into pursuant to Section 8.3 to the extent contemplated and requested pursuant to
             Section 8.2l(c).

                              "Additional Second Lien Obligations Agent" means any Person appointed to act as
             trustee, agent or similar representative for the holders of Additional Second Lien Obligations pursuant to
             any Additional Second Lien Obligations Agreement (including, in the case of any bilateral arrangement,
             the actual holder of the relevant Additional Second Lien Obligations unless such holde r has otherwise
             appointed a trustee, agent or similar representative acting on its behalf) and has been designated as such in
             the applicable Joinder Agreement, and any successor thereto.

                                "Additional Second Lien Obligations Agreements" means (i) the indenture, credit
             agreeme nt, guarantee or other agreement evidencing or gove rning any Additional Second Lien
             Obligations that are designated as Additional Second Lien Obligations pursuant to Section 8.21 and
             (ii) any othe r " Loan Documents" or "Financing Docume nts" (or similar te1m as may be defined in the
             foregoing or referred to in the foregoing), in each case, as Refinanced from time to time in accordance
             ,vith the terms thereof and subject to the tem1s hereof.

                               "Additional Second Lien Obligations Claim holders" means, at any relevant time, the
             lende rs, creditors and secured parties under any Additional Second Lien Obligations Agreements, any
             Additional Second Lien Obligations Agent and the other agents under such Additional Second Lien
             Obligations Agreements, in each case, in the ir capacities as such.

                             "Affiliate" means, as applied to any Person, any other Person directly or indirectly
             Controlling, Controlled by, or under common Control with, that Person.

                               "Agreement" has the meaning set forth in the Preamble to this Agreement.

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                            "Banking Services" means the ABL Banking Services, the First Lien Banking Services
             and the Second Lien Banking Services.

                             "Banking Services Obligations" means the ABL Banking Services Obligations, the First
             Lie n Banking Services Obligations and the Second Lien Banking Services Obligations.

                              "Bankruptcy Code" means Title 11 of the United States Code (11. U.S.C. § IOI et seq.).

                              "Borrowers" has the meaning set forth in the Preamble to this Agreement.

                           "Business Day" means any day other than a Saturday, Sunday or other day on which
             commercial banks in New York City are authorized or required by law to remain closed.

                               "Capital Lease" means, as applied to any Pe rson, any lease of any property (whether
             real, personal or mixed) by that Pe rson as lessee that, in conformity with GAAP, is or is required to be
             accounted for as a capital lease on the balance sheet of that Person.

                              "Cash Collateral" has the meaning set forth in Section 6. l(a).

                            "Claimholders" means each of the ABL Claimholders, the First Lien Claimholders and
             the Second Lien Claimholders.

                              "Collateral" means all of the assets and property of any Obligor, whether real, personal
             or mixed, that constitute or are required to constitute (including pursuant to this Agreement) both ABL
             Collateral and Term Loan Collateral, including any property subject to Liens granted pursuant to
             Section 6 to secure both ABL Obligations and Term Loan Obligations.

                            "Collateral Agent" means the ABL Credit Agreement Collateral Agent, any First Lien
             Collateral Agent and/or any Second Lien Collateral Agent, as applicable.

                            "Collateral Documents" means the ABL Collateral Documents and the Term Loan
             Collateral Documents.

                             "Comparable Junior Collateral Document" means, in re lation to any Collateral subject
             to any Senior Lien created or purported to be created under any Senior Collateral Document, the Junior
             Collateral Document that creates or purports to create a Junior Lien on the same Collateral, granted by the
             same Obligor.

                               "Contract Rights" means all rights of any Obligor under each Contract, including (i) any
             and all tights to receive and demand payments under any or all Contracts, (ii) any and all rights to receive
             and compel performance under any or all Contracts and (iii) any and all other tights, interests and claims
             now existing or in the future arising in connection w ith any or all Contracts.

                             "Contracts" means all contracts between any Obligor and one or more additional parties
             (including any Hedge Agreements or contracts for Banking Services, licensing agreements and any
             partnership agreements, joint venture agreements and limited liability company agreements).

                              "Control" means the possession, directly or indirectly, of the power to direct or cause the
             direction of the management or policies of a Person, whether through the ability to exercise voting power,
             by contract or othenvise, and the terms "Controlling" and "Controlled" have meanings correlative
             thereto.

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                               "Copyright" means any and all copyrights throughout the world, including the
             following: (a) all rights and interests in copy1ights, works protectable by copyright whether published or
             unpublished, copyright registrations, copyright applications and other rights in works of authorship
             (including all copyrights embodied in software); (b) all renewals of any of the foregoing; (c) all income,
             royalties, damages, and payments now or he reafte r due and/or payable unde r any of the foregoing,
             including danrnges or payments for past or future infringements for any of the foregoing; (d) the right to
             sue fo r past, present, and future inf1ingements of any of the foregoing; and (e) all rights corresponding to
             any of the foregoing.

                              "Debtor Relief Laws" means the Bankruptcy Code and all other liquidation,
             conservatorship, bankruptcy, general assignment for the benefit of creditors, moratorium, rearrangement,
             receivership, insolvency, reorganization or similar debtor relief lmvs of the United States or any state or
             other applicable jurisdictions from time to time in effect and affecting the rights of creditors generally.

                              "Derivative Transaction" means (a) any interest-rate transaction, including any interest-
             rate swap, basis swap, forward rate agreement, interest rate option (including a cap, collar or floor), and
             any other instrument linked to interest rates that gives rise to similar credit risks (including when-issued
             secmities and forward deposits accepted), (b) any exchange-rate transaction, including any cross-currency
             interest-rate swap, any forward foreign-exchange contract, any currency option, and any other instrument
             linked to exchange rates that gives rise to similar credit risks, (c) any equity derivative transaction,
             including any equity-linked swap, any equity-linked option, any forward equity-linked contract, and any
             other instrument linked to equities that gives rise to similar credit risk and (d) any commodity (including
             precious metal) de rivative transaction, including any commodity-linked swap, any commodity-linked
             option, any forward commodity-linked contract, and any other instrument linked to commodities that
             gives rise to similar credit risks; provided that no phantom stock or similar plan providing for payments
             only on account of services provided by current or former directors, officers, employees, members of
             management, managers or consultants of Holdings or its subsidiaries shall constitute a Derivative
             Transaction.

                              "DIP Financing" means an ABL DIP Financing or a Team Loan DIP Financing.

                              "Directing First Lien Collateral Agent" means, at any time of determination (a) if there
             is only one Series of First Lien Obligations with respect to which the Discharge of such First Lien
             Obligations has not occurred, the First Lien Collateral Agent for such Series and (b) if clause (a) does not
             apply, the First Lien Collateral Agent designated as the "Controlling Collateral Agent" (or any similar
             term) pursuant to the applicable intercreditor arrangements among the Series of First Lien Obligations at
             such time. For purposes of this definition, no Discharge of any Series of First Lien Obligations shall be
             deemed to have occurred if the Borrowers or any other First Lien Obligor e nters into any Refinancing of
             the First Lien Obligations of such Series with the proceeds of new First Lien Obligations.

                             "Directing Junior Collateral Agent" means (a) with respect to ABL Priority Collateral,
             the Directing Te rm Loan Collateral Agent and (b) with respect to the Te1m Loan Prio1ity Collateral, the
             ABL Credit Agreement Collateral Agent.

                              "Directing Second Lien Collateral Agent" means, at any time of determination (a) if
             there is only one Series of Second Lien Obligations with respect to which the Discharge of such Second
             Lien Obligations has not occurred, the Second Lien Collateral Agent for such Series and (b) if clause (a)
             does not apply, the Second Lien Collateral Agent designated as the "Controlling Collateral Agent" (or any
             similar term) pursuant to the applicable intercreditor arrangements an1ong the Series of Second Lien
             Obligations at such time. For purposes of this definition, no Discharge of any Series of Second Lien
             Obligations shall be deemed to have occurred if the B01TOwers or any other Second Lien Obligor ente rs



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             into any Refinancing of the Second Lien Obligations of such Series with the proceeds of a new Second
             Lie n Obligations.

                            "Directing Senior Collateral Agent" means (a) with respect to ABL Priority Collateral,
             the ABL Credit Agreement Collateral Agent and (b) with respect to the Term Loan Priority Collateral, the
             Directing Te1m Loan Collateral Agent.

                              "Directing Term Loan Collateral Agent" means (a) until the Discharge of First Lien
             Obligations, the Directing First Lien Collateral Agent and (b) thereafter, the Directing Second Lien
             Collateral Agent.

                              "Discharge" means, with respect to any Series, notwithstanding any discharge of such
             Series unde r any Debtor Relief Laws or in connection with any lnsolvency or Liquidation Proceeding,
             except to the extent otherwise expressly provided in Section 5.6:

                              (a)     payment in full in cash of the principal of and inte rest (including Post-Petition
                     Interest), and premium, if any, on all Indebtedness outstanding under the Financing Documents
                     and constituting Obligations of such Series (other than any Other Obligations);

                             (b)     termination or expiration of all commitments, if any, to extend credit that would
                     constitute Obligations of such Series;

                             (c)      termination or cash collateralization or backstopping (in an amount and manner
                     reasonably satisfacto1y to the applicable issuing bank, but in no event greater than I 05%) of the
                     aggregate undrawn face amount of any letter of credit obligations constituting Obligations of such
                     Series.

                             (d)      payment in full in cash of all other Obligations of such Series (or, in the case of
                     any Other Obligations of such Series, the cash collateralization or backstopping of such Other
                     Obligations on te1ms reasonably satisfactory to the applicable lender or counterparty, as
                     applicable) that are due and payable or otherwise accrued and owing at or prior to the time such
                     principal and interest are paid (including Post-Petition lnterest, but other than any indemnification
                     or expense re imbursement obligations or any other obligations that by the te rms of any Financing
                     Document expressly survive te1mination of such Financing Document, in each case, for which no
                     claim or demand for payment, whether oral or written, has been made at such time); and

                             (e)      adequate provision has been made for any contingent or unliquidated Obligations
                     of such Series related to claims, causes of action or liabilities that have been asserted against the
                     Claimholders of such Series for which indemnification is required under the Financing
                     Docume nts of such Series.

             provided that the Discharge of any Series of First Lien Obligations, Second Lien Obligations or ABL
             Obligations shall not be deemed to have occurred if such payments are made with the proceeds of (i) in
             the case of First Lien Obligations, other First Lien Obligations, (ii) in the case of Second Lien
             Obligations, other Second Lien Obligations or (iii) in the case of ABL Obligations, other ABL
             Obligations, in each case, that constitute an exchange or replacement for or a Refinancing of such Series
             of Obligations. Upon the satisfaction of the conditions set forth in clauses (a) through~ with respect to
             the Obligations of any Series, the Collateral Agent of such Series agrees to promptly de liver to each other
             Collateral Agent written notice ofthe san1e.



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                               "Discharge of ABL Obligations" means the Discharge of the ABL Credit Agreement
             Obligations.

                           "Discharge of First Lien Obligations" means the Discharge of the First Lien Credit
             Agreement Obligations and the Discharge of each Series of Additional First Lien Obligations.

                           "Discharge of Second Lien Obligations" means the Discharge of the Second Lien
             Credit Agreement Obligations and the Discharge of each Series of Additional Second Lien Obligations.

                              "Discharge of Senior Obligations" means (a) with respect to the ABL Priority
             Collateral, the Discharge of ABL Obligations and (b) with respect to the Tem1 Loan Priority Collateral,
             the Discharge of Term Loan Obligations.

                            "Discharge of Term Loan Obligations" means, collectively, both the Discharge of First
             Lien Obligations and the Discharge of Second Lien Obligations.

                              "Disposition" has the meaning set forth in Section 5. l(b). "Dispose" has a meaning
             correlative thereto.

                            "Domain Names" means all Internet domain names and associated URL addresses in or
             to which any Obligor now or hereafter has any right, title or interest.

                               "Enforcement Action" means:

                               (a)     any action to foreclose, execute, levy or collect on, take possession or control of
                     (othe r than for purposes of perfection), sell or otherwise realize upon (judicially or non-
                     judicially), or lease, license, or otherwise Dispose of (whether publicly or privately), any
                     Collateral or otherwise exercise or enforce remedial rights with respect to any of the Collateral
                     unde r the ABL Documents, the First Lien Documents or the Second Lien Documents (including
                     by way of setoff, recoupment, notification of a public or private sale or othe r Disposition pursuant
                     to the UCC or other applicable law, notification to account debtors, notification to deposita1y
                     banks under deposit account control agreements, or exercise of rights under landlord consents, if
                     applicable);

                             (b)    any action to solicit bids from third Persons, or approve bid procedures for, any
                      proposed Disposition of any of the Collate ral or conduct any Disposition of any Collateral;

                              (c)     any action to receive a transfer of any portion of the Collateral in satisfaction of
                      Indebtedness or any othe r Obligation secured thereby;

                               (d)      any action to otherwise enforce a security interest or exercise another right or
                      remedy, as a secured creditor or otherwise, pertaining to any Collateral, whether at law, in equity
                      or pursuant to the ABL Documents, the First Lien Documents or the Second Lie n Documents
                      (including the commencement of applicable legal proceedings or other actions with respect to any
                      Collate ral to facilitate the actions desc1ibed in the preceding clauses, and exercising voting rights
                      in respect of equity inte rests comprising any Collateral); or

                             (e)      the Disposition of any Collateral by any Obligor after the occurrence and during
                     the continuation of an "event of default" unde r the ABL Documents, the First Lien Documents or
                     the Second Lien Documents with the consent of the ABL Credit Agreement Collateral Agent, the


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                      First Lien Collateral Agents o r the Second Lien Collateral Agents, as applicable (in any case, to
                      the extent that such consent is required).

                            "Financing Documents" means the ABL Financing Documents, the First Lien Financing
             Docume nts and the Second Lie n Financing Documents.

                               "First Lien Administrative Agent" has the meaning set forth in the Recitals to this
             Agreement.

                              "First Lien Banking Services" means any of the following se rvices provided to any
             First Lien Obligor or any of its "subsidiaries" as defined in the First Lien Credit Agreement (or any
             similar tenn in any other First Lien Document): commercial credit cards, stored value cards, purchasing
             cards, treasu1y manage ment services, netting se rvices, overdraft protections, check drawing services,
             automated payment services (including depository, overdraft, controlled disbursement, ACH transactions,
             return items and interstate depository network services), employee credit card progran1s, ca.sh pooling
             se rvices and any arrangements or se rvices similar to any of the foregoing and/or othe rwise in connection
             with cash management and deposit accounts.

                             "First Lien Banking Services Agreement" means any documentation with a First Lien
             Cla.imholder governing any First Lien Banking Services Obligations.

                               "First Lien Banking Services Obligations" means any and all obligations of any First
             Lie n Obligor or any of its "subsidia1ies" as defined in the First Lien Credit Agreement (or any similar
             te1m in any other First Lien Document), whethe r absolute or contingent and however and w henever
             created, arising, evidenced or acquired (including all renewals, extensions and modifications thereof and
             substitutions therefor), in connection with First Lien Banking Se rvices, in each case, that constitute First
             Lie n Obligations; provided that in no event shall any obligations constitute First Lien Banking Services
             Obligations to the extent such o bligations constitute ABL Banking Se rvices Obligations or Second Lien
             Banking Services Obligations.

                              "First Lien Claim holders" means, at any relevant time, the holders of First Lien
             Obligations at that time, including the First Lien Lenders, the First Lien Administrative Agent, the First
             Lien Collateral Agent, the othe r agents under the First Lien Credit Ag reement and any Additional First
             Lie n Obligations Claimholders.

                               "First Lien Collateral" means (i) the " Collateral" as defined in the First Lien Credit
             Agreement and (ii) any other assets and property of any Obligor, whethe r real, personal or mixed, with
             respect to v,1hich a Lie n is granted or purported to be granted as security for any First Lien Obligations or
             that is otherwise subject to a Lien securing any First Lien Obligations.

                            "First Lien Collateral Agent" means the First Lien Credit Agreement Collateral Agent
             and any Additional First Lien Obligations Agent.

                              "First Lien Collateral Documents" means the "Collateral Documents" as defined in the
             First Lien Credit Agreement and any other agreement, document or instrument pursuant to which a Lien
             is granted or purported to be granted securing any First Lien Obligations or unde r which rights or
             remedies with respect to such Liens are governed.

                               "First Lien Credit Agreement" has the meaning set forth in the Recitals to this
             Agreement.


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                             "First Lien Credit Agreement Collateral Agent" has the meaning set forth in the
             Preamble to this Agreement.

                              "First Lien Credit Agreement Obligations" means all "Secured Obligations" (or any
             similar term) as defined in the First Lien Credit Agreement.

                             "First Lien Documents" means (i) the First Lien Financing Documents, (ii) the First
             Lien Hedge Agreements governing First Lien Secured Hedging Obligations and (iii) the First Lien
             Banking Services Agreements, in each case, as Refinanced from time to time in accordance with the
             tenns thereof and subject to the tenns hereof.

                              "First Lien Financing Documents" means the First Lien Credit Agreement, the First
             Lie n Collateral Documents, the other "Loan Documents" as defined in the First Lien Credit Agreement,
             any Additional First Lien Obligations Agreement and each of the other agreements, documents and
             instruments providing for or evidencing any other First Lien Obligation (other than any First Lien Other
             Obligation), and any other document or instrument executed or delivered at any time in connection with
             any First Lien Obligations (other than any First Lien Other Obligations), including any intercreditor or
             joinder agreement among any First Lien Claimholders (including, without limitation, the First
             Lie n/Second Lien Intercreditor Agreement), to the e:,.1:ent such are effective at the relevant time, as each
             may be Refinanced from time to time in accordance with the tenns thereof and subject to the tenns
             he reof.

                             "First Lien Hedge Agreement" means any agreement with respect to any Derivative
             Transaction between any First Lien Obligor or any "subsidiary" as defined in the First Lien Credit
             Agreement (or any similar te1m in any other First Lien Document) and any First Lien Claimholder.

                             "First Lien Hedging Obligations" means, with respect to any First Lien Obligor or any
             "subsidiary" as defined in the First Lien Credit Agreement (or any similar tenn in any other First Lien
             Document), the obligations of such Person under any First Lien Hedge Agreement.

                              "First Lien Issuing Bank" means each issuing bank in respect of a First Lien Letter of
             Credit.

                            "First Lien Lenders" means the "Lenders" (or any similar term) as defined in the First
             Lien Credit Agreement and the " Lenders" (or any similar term) as defined in any Additional First Lien
             Obligations Agreement and also shall include all First Lien Issuing Banks.

                             "First Lien Letters of Credit" means any letters of credit issued (or deemed issued)
             from time to time unde r any First Lien Financing Document.

                                "First Lien Obligations" means the First Lien Credit Agreement Obligations and all
             "Secured Obligations" (or any similar tenn) as defined in any other First Lien Financing Document. To
             the e:,.1:ent any payment with respect to any First Lien Obligation (whether by or on behalf of any First
             Lien Obligor, as proceeds of security, enforcement of any right of setoff or otherwise) is declared to be a
             fraudulent conveyance or a preference in any respect, set aside or required to be paid to a debtor in
             possession, any ABL Claimholder, Second Lien Claimholder, receiver or other Person, then the
             obligation or part thereof originally intended to be satisfied shall, for all purposes of this Agreement and
             the rights and obligations of the First Lien Claimholders, be deemed to be reinstated and outstanding as if
             such payment had not occurred. In the event that any interest, fees, expenses or other amounts (including
             any interest accruing at the default rate or any Post-Petition Interest) to be paid by a First Lien Obligor
             pursuant to the First Lien Financing Documents, the First Lien Hedge Agreements governing First Lien

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             Secured Hedging Obligations o r the First Lien Banking Services Agreeme nts are disallowed by order of
             any court of competent jurisdiction, including by orde r of a court presiding over an Insolvency or
             Liquidation Proceeding, such interest, fees, expenses and other amounts (including default interest and
             Post-Petition Inte rest) shall, as between the Claimholders, be deemed to continue to accrue and be added
             to the amount to be calculated as the "First Lien Obligations."

                              "First Lien Obligors" means, collectively, the "Loan Paities" (or any similar term) as
             defined in the First Lien Credit Agreement and the " Loan Parties" (or any similar term) as defined in any
             other First Lien Document.

                              "First Lien Other Obligations" means the First Lien Bailking Services Obligations and
             the First Lien Secured Hedging Obligations.

                             "First Lien/Second Lien Intercreditor Agreement" means the First Lien/Second Lien
             Intercreditor Agreement dated as of the date hereof, among, inter alias, the First Lien Credit Agreement
             Collateral Agent, the Second Lien Credit Agreement Collateral Agent and the Obligors from time to time
             party thereto.

                              "First Lien Secured Hedging Obligations" meai1s all First Lien Hedging Obligations of
             the First Lien Obligors, whethe r absolute, or contingent and howsoever and whenever created, arising,
             evidenced or acquired (including all renewals, extensions or modifications thereof and substitutions
             therefor), in each case, that constitute First Lien Obligations.

                              "GAAP" means generally accepted accounting p1inciples in the United States in effect
             and applicable to the accounting period in respect of which reference to GAAP is being made.

                              "Governmental Authority" means any federal , state, municipal, national or other
             government, governmental depa1tment, commission, board, bureau, court, agency o r instrumentality or
             political subdivision thereof or any entity or officer exercising executive, legislative, judicial, regulatory
             or administrative functions of or pertaining to any government or any court, in each case whether
             associated with a state or locality of the United States, the United States, or a foreign government.

                              "GS" has the meaning set fo1th in the Recitals to this Agreement.

                           "Hedge Agreements" means the ABL Hedge Agreements, the First Lien Hedge
             Agreements and the Second Lien Hedge Agreements.

                              "Hedging Obligations" means the ABL Hedging Obligations, the First Lie n Hedging
             Obligations ai1d the Second Lien Hedging Obligations.

                              "Holdings" has the meaning set forth in the Preamble to this Agreement.

                            "Indebtedness" means " [ndebtedness" within the meaning of the ABL Credit
             Agreement, the First Lien Credit Ag reement or the Second Lien Credit Agreement, as applicable. For the
             avoidance of doubt, " Indebtedness" shall not include Hedging Obligations or Banking Services
             Obligations.

                             "Insolvency or Liquidation Proceeding" meai1s (a) any voluntary or involuntary case or
             proceeding unde r the Bankruptcy Code or any other Debtor Relief Laws with respect to any Obligor,
             (b) the appointment of or taking possession by a receiver, interim receiver, receiver and manager,
             (preliminary) insolvency receiver, liquidator, sequestrator, trustee or other custodian for all or a

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             substantial part of the property of any Obligor, (c) except as would not result in an "event of default"
             under any Financing Document, any liquidation, administration (or appointment of an administrator),
             dissolution, reorganization or winding up of any Obligor, whether voluntary or involuntary and whether
             or not involving insolvency or bankruptcy, or (d) any general assignment for the benefit of creditors or
             any other marshaling of assets and liabilities of any Obligor.

                            "Intellectual Property" means any and all Licenses, Patents, Copyrights, Trademarks
             and Trade Secrets constituting Collateral.

                              "Joinder Agreement" means a supplement to this Agreement in the form of (i) in the
             case of any joining additional Obligor, Exhibit A hereto and (ii) in the case of any joining Additional Lien
             Obligations Agent, Exhibit B hereto.

                              "Junior ABL Agent" has the meaning set forth in Section 8.3.

                              "Junior ABL Obligations" has the meaning set forth in Section 8.3.

                           "Junior Claimholders" means (a) with respect to the ABL Prio1ity Collateral, the Te rm
             Loan Claimholders and (b) with respect to the Term Loan Priority Collateral, the ABL Claimholders.

                           "Junior Collateral Agent" means (a) with respect to the ABL Priority Collateral, the
             Term Loan Collateral Agents and (b) with respect to the Term Loan Priority Collateral, the ABL Credit
             Agreement Collateral Agent.

                            "Junior Collateral Documents" means (a) with respect to the ABL Prio1ity Collateral,
             the Te1m Loan Collateral Docume nts and (b) ,vith respect to the Te rm Loan P1iority Collateral, the ABL
             Collateral Documents.

                            "Junior Financing Documents" means (a) with respect to the ABL Priority Collateral,
             the Term Loan Financing Documents and (b) with respect to the Term Loan Priority Collateral, the ABL
             Financing Documents.

                              "Junior Liens" means (a) with respect to the ABL Priority Collateral, the Tem1 Loan
             Lie ns and (b) with respect to the Te1m Loan Priority Collateral, the ABL Liens.

                            "Junior Obligations" means (a) with respect to the ABL Priority Collateral, the Te1m
             Loan Obligations and (b) with respect to the Term Loan Priority Collateral, the ABL Obligations.

                                "Licenses" means, with respect to any Obligor, all of such Obligor's right, title, and
             inte rest in and to (a) any and all licensing agreements or similar arrangements, whether as licensor or
             licensee, in (1) Patents, (2) Copyrights, (3) Trademarks, (4) Trade Secrets, (5) Software or (6) Domain
             Names, (b) all income, royalties, damages, claims, and payments now or hereafter due or payable under
             and with respect thereto, including, without limitation, damages and payments for past and future
             breaches thereof and ( c) all rights to sue for past, present, and future breaches thereof.

                              "Lien" means any mortgage, pledge, hypothecation, assignment, deposit arrangement,
             encumbrance, lien (statutory or other), charge, or preference, priority or other security inte rest or
             preferential arrangement of any kind or nature whatsoever (including any conditional sale or other title
             retention agreement, any easement, right of way or other encumbrance on title to real property, and a ny
             Capital Lease having substantially the same economic effect as any of the foregoing), in each case in the
             nature of security; provided that in no event shall an operating lease in and of itself be deemed a Lien.

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                              "Loan Guaranty" has the meaning assigned to " Loan Guaranty" in the ABL Credit
             Agreement.

                              "New Senior Agent" has the meaning set forth in Section 5.6.

                             "Obligations" means the ABL Obligations, the First Lien Obligations and/or the Second
             Lie n Obligations, as the context may require.

                             "Obligors" means each ABL Obligor, each First Lien Obligor and each Second Lien
             Obligor and each other Pe rson that has executed and delivered, or may from time to time hereafter
             execute and deliver, an ABL Collateral Document, a First Lien Collateral Document or a Second Lien
             Collateral Document as a "grantor" or "pledgor" (or the equivalent thereof).

                           "Other Obligations" means any ABL Other Obligations, First Lien Other Obligations or
             Second Lien Other Obligations.

                              "Patent" means the following: (a) any and all patents and patent applications throughout
             the world; (b) all inventions described and claimed the rein; (c) all reissues, divisions, continuations,
             renewals, extensions and continuations in part thereof; (d) all income, royalties, damages, claims, and
             payments now or hereafter due or payable under and with respect thereto, including damages and
             payments for past and future infringements thereof; (e) all rights to sue for past, present, and future
             infringements thereof; and (t) all rights corresponding to any of the foregoing.

                              "Person" means any natural person, corporation, limited liability company, trust, joint
             venture, association, company, partne rship, Governmental Authority or any other entity.

                              "Pledged Assets" means all Pledged Stock, including all stock certificates, options or
             rights of any nature whatsoever in respect of the Pledged Stock that may be issued or granted to, or held
             by, any Obligor, all Instruments, Securities and other Investment Property owned by any Obligor,
             whethe r or not physically delivered to the applicable Collateral Agent pursuant to any of the Collateral
             Documents, whether now owned or hereafter acquired by such Obligor and any and all Proceeds thereof,
             but, in each case, excluding any items specifically excluded from the definition of Collateral.

                              "Pledged Collateral" has the meaning set forth in Section 5.5(a).

                              "Pledged Stock" shall mean, with respect to any Obligor, the shares of capital stock
             required to be pledged by such Obligor pursuant to any of Collateral Documents.

                              "Post-Petition Interest" means interest (including interest accruing at the default rate
             specified in the applicable ABL Documents, the applicable First Lien Documents or the applicable
             Second Lien Documents, as the case may be), fees, expenses and other amounts that pursuant to the ABL
             Docume nts, the First Lien Documents or the Second Lien Documents, as the case may be, continue to
             accrue or become due after the commencement of any Insolvency or Liquidation Proceeding, whether or
             not such interest, fees, expenses and other amounts are allowed or allowable, voided or subordinated
             under any De btor Relief Law or other applicable law or in any such Insolvency or Liquidation
             Proceeding.

                               ''Proceeds" shall have the meaning assigned in Article 9 of the UCC and, in any event,
             shall also include, but not be limited to, (i) any and all proceeds ofany insurance, indemnity, warranty or
             guaranty payable to any Collateral Agent or any Obligor from time to time with respect to any of the
             Collateral, (ii) any and all payments (in any form whatsoever) made or due and payable to any Obligor

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             from time to time in connection with any requisition, confiscation, condemnation, seizure or forfeiture of
             all or any part of the Collate ral by any governmental authority (or any Person acting under color of
             governmental authority) and (iii) any and all other amounts from time to time paid or payable under or in
             connection with any of the Collateral.

                              ''Recovery" has the meaning set fo1th in Section 6.5.

                                "Refinance" means, in respect of any Indebtedness and any agreement governing any
             such Indebtedness, to refinance, extend, increase, renew, defease, amend, restate, an1end and restate,
             modify, supplement, restructure, replace, refund or repay, or to issue other indebtedness, in exchange or
             replacement for or refinancing of, such Indebtedness in ,vhole or in part, including by adding or replacing
             le nde rs, creditors, agents, obligors and/or guarantors, and including, in each case, but not limited to, after
             the original instrument giving rise to such Indebtedness has been tern1inated. "Refinanced" and
             "Refinancing" shall have correlative meanings.

                            "Related Claim holders" means (a) with respect to the ABL Credit Agreement Collateral
             Agent, the ABL Claimholde rs, (b) with respect to any First Lien Collateral Agent, its Re lated First Lien
             Claimholders or (c) with respect to any Second Lien Collateral Agent, its Related Second Lien
             Claimholders.

                              "Related First Lien Claimholders" means, with respect to any First Lien Collateral
             Agent, the First Lie n Claimholders for which such First Lien Collateral Agent acts as the " collateral
             agent" (or other agent or similar representative) under the applicable First Lien Documents.

                               "Related Second Lien Claimholders" means, with respect to any Second Lien
             Collateral Agent, the Second Lien Claimholde rs for which such Second Lien Collateral Age nt acts as the
             " collateral agent" (or other agent or similar representative) under the applicable Second Lien Documents.

                              "Requfred ABL Claim holders" means (a) at all times prior to the occurrence of the
             Discharge of ABL Obligations (other than the ABL Other Obligations), the ABL Claimholders holding
             more than 50% of the sum of (i) the aggregate outstanding principal amount of ABL Obligations
             (including participations in the face amount of the ABL Letters of Credit and any disbursements
             thereunder that have not been reimbursed, but excluding the ABL Other Obligations) plus (ii) the
             aggregate unfunded commitments to extend credit which, whe n funded, would constitute ABL
             Obligations (other than the ABL Other Obligations), and (b) at all times following the occurrence of the
             Discharge of ABL Obligations (other than the ABL Other Obligations), the ABL Claimholders holding
             more than 50% of the sum of (i) the then outstanding ABL Secured Hedging Obligations plus (ii) the then
             outstanding ABL Banking Services Obligations; provided that, in the case of both clauses (a) and (b)
             above, in the event there are separate intercreditor arrangements between the holde rs of theABL
             Obligations (or their agents), the Required ABL Claimholders will mean the "Required ABL
             Claimholders" (or any similar tenn) or "Controlling Secured Parties" (or any similar tern1) as defined in
             the documentation providing such such separate intercreditor arrangements.

                               "Requfred First Lien Claimholde1·s" means (a) at all times prior to the occurrence of
             the Discharge of First Lien Obligations (other than the First Lien Othe r Obligations), the First Lien
             Claimholders holding more than 50% of the sum of (i) the aggregate outstanding principal amount of
             First Lien Obligations (including participations in the face amount ofthe First Lien Letters of Credit and
             any disbursements thereunder that have not been reimbursed, but excluding the First Lien Other
             Obligations) plus (ii) the aggregate unfunded commitments to extend credit which, when funded, would
             constitute First Lien Obligations (othe r than the First Lien Other Obligations); and (b) at all times
             following the occurrence of the Discharge of First Lien Obligations (other than the First Lien Other

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             Obligations), the First Lien Claimholders holding more than 50% of the sum of (i) the then outstanding
             First Lien Secured Hedging Obligations plus (ii) the then outstanding First Lien Banking Services
             Obligations; provided that, in the case of both clauses (a) and (b) above, in the event there are separate
             inte rcreditor arrangements among the holders of the First Lien Obligations (or the ir agents), the Required
             First Lien Claimholders will mean the "Required First Lie n Claimholders" (or any similar te1m) or
             "Controlling Secured Parties" (or any similar tem1) as defined in the documentation providing such such
             separate intercreditor arrangements.

                               "Required Second Lien Claimholders" means (a) at all times prior to the occurrence of
             the Discharge of Second Lien Obligations (other than the Second Lien Other Obligations), the Second
             Lie n Claimholde rs holding more than 50% of the sum of (i) the aggregate outstanding principal amount of
             Second Lien Obligations plus (ii) the aggregate unfunded commitments to extend credit which, when
             funded, would constitute Second Lien Obligations (other than the Second Lien Othe r Obligations), and
             (b) at all times following the occurrence of the Discharge of Second Lien Obi igations (other than the
             Second Lien Other Obligations), the Second Lien Claimholders holding more than 50% of the sum of
             (i) the then outstanding Second Lien Secured Hedging Obligations plus (ii) the then outstanding Second
             Lie n Banking Services Obligations; provided that, in the case of both clauses (a) and (b) above, in the
             event there are separate inte rcreditor arrangements between the holders of the Second Lien Obligations
             (or their agents), the Required Second Lien Claimholders will mean the "Required Second Lien
             Claimholders" (or any similar te1m) or "Controlling Secured Pa1ties" (or any similar te rn1) as defined in
             the documentation providing such separate intercreditor arrangements.

                              "Requi1·ed Term Loan Claimholders" means (a) until the Discharge of First Lie n
             Obligations, the Required First Lien Claimholders and (b) thereafter, the Required Second Lien
             Claimholders.

                               "Responsible Officer" of any Pe rson means the chief executive officer, the president, the
             chief financial officer, the treasurer, any assistant treasurer, any executive vice president, any senior vice
             president, any vice preside nt or the chief operating officer of such Person and any other individual or
             similar official thereof responsible for the administration of the obligations of such Person in respect of
             this Agreement.

                              "Second Lien Administrative Agent" has the meaning set forth in the Recitals to this
             Agreement.

                              "Second Lien Banking Services" means any ofthe following services provided to any
             Second Lien Obligor or any of its "subsidiaries" as defined in the Second Lien Credit Agreement (or any
             similar term in any other Second Lien Financing Document) commercial credit cards, stored value cards,
             purchasing cards, treasuiy management services, netting services, overdraft protections, check drawing
             services, automated payment services (including depository, overdraft, controlled disbursement, ACH
             transactions, return items and interstate depository network services), employee credit card programs,
             cash pooling services and any a rrangements or services similar to any of the foregoing and/or othe1w ise in
             connection with cash management and deposit accounts.

                              "Second Lien Banking Services Agreement" means any documentation with a Second
             Lie n Cla imholder governing any Second Lien Banking Services Obligations.

                              "Second Lien Banking Services Obligations" means any and all obligations of the
             Second Lien Obligors, whether absolute or contingent and however and whenever created, arising,
             evide nced or acquired (including all renewals, extensions and modifications thereof and substitutions
             therefor), in connection with Second Lien Banking Services, in each case, that constitute Second Lien

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             Obligations; provided that in no event shall any obligations constitute Second Lien Banking Services
             Obligations to the extent such obligations constitute ABL Banking Services Obligations or First Lien
             Banking Services Obligations.

                              "Second Lien Claim holders" means, at any relevant time, the holde rs of Second Lien
             Obligations at that time, including the Second Lien Lende rs, the Second Lien Administrative Agent, the
             Second Lien Collateral Agent, the other agents under the Second Lien Credit Agreement and any
             Additional Second Lien Obligations Claimholders.

                              "Second Lien Collateral" means (i) the "Collateral" as defined in the Second Lien
             Credit Agreement and (ii) any other assets and property of any Obligor, whether real, personal or mixed,
             with respect to which a Lien is granted or purported to be granted as security for any Second Lien
             Obligations or that is otherwise subject to a Lien securing any Second Lien Obligations.

                            "Second Lien Collateral Agent" means the Second Lien Credit Agreement Collateral
             Agent and any Additional Second Lien Obligations Agent.

                               "Second Lien Collateral Documents" means the "Collateral Documents" as defined in
             the Second Lien Credit Agreement and any other agreement, document or instrument pursuant to which a
             Lie n is granted or purported to be granted securing any Second Lien Obligations or under which rights or
             remedies with respect to such Liens are governed.

                              "Second Lien Credit Agreement" has the meaning set fo1th in the Recitals to this
             Agreement.

                             "Second Lien Credit Agreement Collateral Agent" has the meaning set forth in the
             Preamble to this Agreement.

                              "Second Lien Credit Agreement Obligations" means all "Secured Obligations" (or any
             similar te1m) as defined in the Second Lien Credit Agreement.

                              "Second Lien Documents" means (i) the Second Lien Financing Documents, (ii) the
             Second Lien Hedge Agreements goveming Second Lien Secured Hedging Obligations and (iii) the
             Second Lien Banking Services Agreements, in each case, as Refinanced from time to time in accordance
             with the tenns thereof and subject to the tem1s he reof.

                               "Second Lien Financing Documents" means the Second Lien Credit Agreement, the
             Second Lien Collateral Documents, the other "Loan Documents" as defined in the Second Lien Credit
             Agreement, any Additional Second Lien Obligations Agreement, and each of the other agreements,
             documents and instruments providing for or evidencing any other Second Lien Obligation (other than any
             Second Lien Othe r Obligation), and any other document or instrument executed or delivered at any time
             in connection with any Second Lien Obligations (other than any Second Lien Other Obligations),
             including any inte rcreditor or joinder agreement among any Second Lien Claimholders, to the extent such
             are effective at the relevant time, as each may be Refinanced from time to time in accordance with the
             te nns thereof and subject to the tenns hereof.

                            "Second Lien Hedge Agreement" means any agreement with respect to any De rivative
             Transaction between any Second Lien Obligor or any "subsidiary" as defined in the Second Lien Credit
             Agreement (or any similar tenn in any other Second Lien Document) and any Second Lien Claimholder.




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                             "Second Lien Hedging Obligations" means, with respect to any Second Lien Obligor or
             any " Subsidiary" as defined in the Second Lien Credit Agreement (or any similar te rm in any other
             Second Lien Document), the obligations of such Person under any Second Lien Hedge Agreement.

                             "Second Lien Lenders" means the "Lenders" (or any similar te rm) under and as defined
             in the Second Lien Credit Agreement or any similar te rm in any Additional Second Lie n Obligations
             Agreement.

                               "Second Lien Obligations" means the Second Lien Credit Agreement Obligations and
             all " Secured Obligations" (or any similar term) as defined in any other Second Lien Financing Document.
             To the extent any payment by a Second Lien Obligor with respect to any Second Lien Obligation
             (whether by or on behalf of any Second Lien Obligor, as proceeds of security, enforcement of any right of
             setoff or otherwise) is declared to be a fraudulent conveyance or a preference in any respect, set aside or
             required to be paid to a debtor in possession, any ABL Claimholder, any receiver or other Person, then the
             obligation or part thereof originally intended to be satisfied shall, for all purposes of this Agreement and
             the rights and obligations of the Second Lien Claimholders, be deemed to be reinstated and outstanding as
             if such payment had not occurred. In the event that any interest, fees, expenses or other an10unts
             (including any interest accruing at the default rate or any Post-Petition Interest) to be paid pursuant to the
             Second Lien Financing Documents, the Second Lien Hedge Agreements governing Second Lien Secured
             Hedging Obligations or the Second Lie n Banking Services Agreements are disallowed by order of any
             court of competent jurisdiction, including by order of a comt presiding over an Insolvency or Liquidation
             Proceeding, such interest, fees, expenses and other amounts (including default interest and Post-Petition
             Interest) shall, as between the Claimholde rs, be deemed to continue to accrue and be added to the amount
             to be calculated as the "Second Lien Obligations."

                              "Second Lien Obligors" m eans, collecti vely, the "Loan Parties" (or any similar term) as
             defined in the Second Lien Credit Agreement and the "Loan Parties" (or any similar te m1) as defined in
             any other Second Lien Document.

                            "Second Lien Other Obligations" means the Second Lien Banking Services Obligations
             and the Second Lien Secured Hedging Obligations.

                                "Second Lien Secured Hedging Obligations" means all Second Lien Hedging
             Obligations of the Second Lien Obligors, whether absolute , o r contingent and howsoever and whenever
             created, arising, evidenced or acquired (including all renewals, extensions or modifications thereof and
             substitutions the refor), in each case, that constitute Second Lien Obligations.

                            "Senior Claimholders" means (a) w ith respect to the ABL Priority Collateral, the ABL
             Claimholders and (b) with respect to the Tenn Loan Priority Collateral, the Term Loan Claimholders.

                           "Senior Collateral Agent" means (a) w ith respect to the ABL P1iority Collateral, the
             ABL Credit Agreement Collate ral Agent and (b) with respect to the Tem1 Loan Priority Collateral, the
             Tenn Loan Collateral Agents.

                            "Senior Collateral Documents" means (a) w ith respect to the ABL Priority Collateral,
             the ABL Collateral Documents and (b) with respect to the Term Loan Priority Collateral, the Tenn Loan
             Collateral Documents.

                           "Senior Financing Documents" means (a) w ith respect to the ABL Priority Collateral,
             the ABL Financing Documents and (b) with respect to the Term Loan Priority Collateral, the Term Loan
             Financing Documents.

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                              "Senior Liens" means (a) with respect to the ABL Priority Collateral, the ABL Liens and
             (b) with respect to the Te nn Loan Priority Collateral, the Te1m Loan Liens.

                             "Senior Obligations" means (a) with respect to the ABL Prio1i ty Collateral, the ABL
             Obligations and (b) with respect to the Tenn Loan Priority Collateral, the Tenn Loan Obligations.

                            "Series" means, with respect to any Obligations, a ll Obligations secured by the same
             Collateral Documents and represented by the same Collateral Agent acting in the same capacity.

                            "Shared Collateral Documents" means any Collate ral Document that is each of an ABL
             Collateral Document, a First Lien Collateral Document and a Second Lien Collateral Document.

                              "Standstill Period" has the meaning set forth in Section 3.l(a)(l).

                            "Software" means computer programs, source code, object code and supporting
             documentation including "software" as such tennis defined in Article 9 of the UCC, as well as computer
             programs that may be construed as included in the definition of Goods.

                              "subsidiary" means, with respect to any Person, any corporation, partnership, limited
             liability company, association, joint venture or other business entity of which more than 50% of the total
             voting power of stock or other ownership interests entitled (without regard to the occurrence of any
             contingency) to vote in the election of the Pe rson or Persons (whether directors, trustees or other Persons
             perfonning similar functions) having the power to direct or cause the direction of the management and
             policies thereof is at the time owned or controlled, directly or indirectly, by such Pe rson or one or more of
             the other subsidiaries of such Person or a combination the reof; provided that in dete nnining the
             percentage of ownership interests of any Person controlled by another Person, no ownership interests in
             the nature ofa "qualifying share" of the fonner Person shall be deemed to be outstanding. Unless
             otherwise specified, "subsidiary" shall mean any subsidia1y of the Top Borrower.

                              "Tax and Trust Funds" means cash, cash equivalents or other assets that are comp1ised
             solely of (a) funds used for payroll and payroll taxes and other employee benefit payments to or for the
             benefit of any Obligor's employees, (b) taxes required to be collected, remitted or withheld (including
             federal and state withholding taxes (including the employer' s share thereof)) and (c) any other funds
             which any Obligor holds in trust or as an escrow or fiduciary for the benefit of another Person which is
             not an Obligor in the ordinary course of business.

                             "Term Cash Proceeds Notice" shall mean a written notice delivered by the Directing
             Tenn Loan Collateral Agent to the ABL Credit Agreement Collateral Agent (a) stating that an " Event of
             Default" has occurred and is continuing under any Tenn Loan Document and specifying the relevant
             Event of Default and (b) identifying with reasonable detail any cash proceeds which may be deposited in
             any Deposit Account or Securities Account constituting Term Loan Priority Collate ral.

                              "Term Loan Claim holders" means the First Lien Claimholders and the Second Lien
             Claimholders.

                              "Term Loan Collateral" means the First Lien Collateral and the Second Lien Collateral.

                             "Term Loan Collateral Agent" means the First Lien Collateral Agents and the Second
             Lien Collateral Agents.




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                           "Term Loan Collateral Documents" means the First Lien Collateral Documents and the
             Second Lien Collateral Documents.

                              "Term Loan DIP Financing" has the meaning set forth in Section 6.0l(a).

                               "Term Loan DIP Cap Amount" means 115% of the sum of (a) the sum of (w)
             $1,950,000,000, (x) the "Incremental Cap" (as defined in the First Lien Credit Agreement as of the date
             he reof) as of the applicable date of detern1ination, (y) $450,000,000 and (z) the "Incremental Cap" (as
             defined in the Second Lien Credit Agreement as of the date he reof) and (b) any accrued and unpaid
             interest (including interest accruing at the default rate specified in the applicable Term Loan Financing
             Documents and any Post-Petition Inte rest) and premiums (including tender premiums and prepayment
             premiums) payable on account of any Te rm Loan Obligations and any underwriting discounts, fees,
             commissions and expenses (including original issue discount, upfront fees or initial yield payments),
             attorneys' fees, costs, expenses and indemnities paid or payable by any Obligor in connection with
             incurrence or issuance of any Term Loan Obligation or any Refinancing of any Te1m Loan Obligation in
             accordance with the terms of this Agreement.

                              "Term Loan Documents" means the First Lien Documents and the Second Lien
             Documents.

                            "Term Loan Financing Documents" means the First Lien Financing Documents and
             Second Lien Financing Documents.

                           "Term Loan Hedge Agreements" means the First Lien Hedging Agreements and the
             Second Lien Hedging Agreements.

                            "Term Loan Liens" means the Liens on the Collateral in favor of the Term Loan
             Claimholders under Te m1 Loan Collateral Documents.

                              "Term Loan Obligations" means the First Lien Obligations and the Second Lien
             Obligations.

                            "Term Loan Other· Obligations" means First Lien Othe r Obligations and Second Lien
             Other Obligations.

                              "Term Loan Priority Collateral" shall mean all interests of each Obligor in the
             following Collateral, in each case whethe r now owned or existing or he reafte r acquired or arising and
             wherever located, including (a) all rights of each Obligor to receive moneys due and to become due unde r
             or pursuant to the follovving, (b) all rights of each Obligor to receive return of any premiums for or
             Proceeds of any insurance, indemnity, warranty or guaranty with respect to the following or to receive
             condemnation Proceeds with respect to the following, (c) all claims of each Obligor for damages aiising
             out of or for breach of or default under any of the following, and (d) all rights of each Obligor to
             te rminate, amend, supplement, modify or ·waive performance under any of the following, to perform
             thereunde r and to compel performance and otherwise exercise all remedies thereunder:

                             (i)      all Tenn Proceeds Accounts, and all cash, money, securities, Instruments and
                     other investme nts deposited there in or credited thereto;

                              (ii)    all Equipment;

                              (iii)   all Fixtures;

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                              (iv)    all General Intangibles, including Contracts, together w ith all Contract Rights
                     arising thereunder (in each case other than General Intangibles evidencing or governing ABL
                     Priority Collateral);

                              (v)      all letters of credit (whether or not the respective letter of credit is evidenced by a
                     w riting), Letter-of-Cred it Rights, Instruments and Documents (except, in each case, to the extent
                     evidencing or governing or attached or related to (to the extent so attached or related) ABL
                     Priority Collateral);

                              (vi)    all Intellectual Property (other than Inte llectual Property contemplated by
                     clauses (iv) and (vii) of the definition of ABL Priority Collateral);

                          (vii)   except to the extent constituting or relating to, ABL Priority Collateral, all
                     Commercial Tort Claims;

                             (viii) all Pledged Assets and other Investment Property (except Investment Property
                     constituting ABL Prio1ity Collateral pursuant to clause (iii) or (vii) of the definition thereof);

                             (ix)    all real property (including, if any, leasehold interests) on which the Obligors are
                     required to provide a Lien to the Term Claimholders pursuant to any Tenn Loan Financing
                     Docume nt and any title insurance w ith respect to such real property (other than title insurance
                     actually obtained by the ABL Credit Agreement Collateral Agent in respect of such real property)
                     and the Proceeds thereof;

                             (x)    except to the e:x.'ient constituting ABL P1iority Collateral, all other personal
                     property (whether tangible or intangible) of such Obligor;

                              (xi)    to the extent constituting or relating to, any of the items referred to in the
                     preceding clauses (i) through W , all insurance; provided that to the extent any of the foregoing
                     also relates to ABL Priority Collateral only that portion re lated to the items referred to in the
                     preceding clauses (i) through Was being included in the Term Loan Priority Collateral shall be
                     included in the Te m1 Loan Priority Collateral;

                              (xii)   to the exte nt relating to any of the items referred to in the preceding clauses (i)
                     through Mall Supporting Obligations; provided that to the extent any of the foregoing also
                     relates to ABL Priority Collateral only that portion related to the items referred to in the
                     preceding clauses (i) through (xi) as being included in the Te1m Loan Prio1ity Collateral shall be
                     included in the Tem1 Loan Priority Collateral;

                              (xiii) all books and records, including all books, databases, customer lists and records
                     related the reto and any General Intangibles at any time evidencing or relating to any of the
                     foregoing; provided that to the extent any of such material also relates to ABL Priority Collateral
                     only that portion related to the items referred to in the preceding clauses (i) through (xii) as being
                     included in the Tem1 Loan Priority Collateral shall be included in the Term Loan Priority
                     Collateral; and

                              (xiv) all cash Proceeds and, solely to the e:i,'tent not constituting ABL Priority
                     Collateral, non-cash Proceeds, products, accessions to, substitutions or replacements for, rents
                     and profits of or in respect of any of the foregoing and all collateral security, guarantees and other
                     collateral suppo1t given by any Person w ith respect to any of the foregoing.


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                           "Term Prnceeds Account" means any Deposit Account holding solely the Proceeds of
             Tenn Loan Priority Collateral.

                              "Top Borrower" has the meaning set forth in the Preamble to this Agreement.

                               "Trademark" means any and all trademarks throughout the world, including the
             following: (a) all trademarks (including service marks), common law marks, trade names, trade dress,
             and logos, slogans and other indicia of origin under the Requirements of Law of any jurisdiction in the
             world, and the registrations and applications for registration thereof and the goodwill of the business
             symbolized by the foregoing; (b) all renewals of the foregoing ; (c) all income, royalties, damages, and
             payments now or hereafter due or payable with respect thereto, including damages, claims, and payments
             for past and future infringements thereof; (d) all rights to sue for past, present, and future infringements of
             the foregoing, including the right to settle suits involving claims and demands for royalties owing; and (e)
             all rights corresponding to any of the foregoing.

                               "Trade Secrets" means, with respect to any Obligor, all of such Obligor' s right, title and
             interest in and to the following : (a) any and all confidential and proprietary infonnation, including
             unpatented inventions, invention disclosures, engineering or other data, information, production
             procedures, know-how, financial data, customer lists, supplie r lists, business and marketing plans,
             processes, schematics, algorithms, techniques, analyses, proposals, source code, data, databases and data
             collections; (b) all income, royalties, damages, and payments now or hereafter due or payable w ith respect
             thereto, including, w ithout limitation, damages, claims and payments for past and future
             misappropriations or infringements thereof; (c) all rights to sue for past, present and future infringements
             of the foregoing, including the right to settle suits involving claims and demands for royalties owing; and
             (d) all rights corresponding to any of the foregoing throughout the world

                              "UBS" has the meaning set forth in the Recitals to this Agreement.

                              "UCC" means the Unifom1 Commercial Code as in effect from time to time (except as
             othern1ise specified) in any applicable state or jurisdiction.

                              1.2      Terms Generallv. The definitions of terms in this Agreement shall apply equally
             to the singular and plural fom1s of the tenns defined. Whenever the context may require, any pronoun
             shall include the corresponding masculine, feminine and neuter forms . The words " include," " includes"
             and " including" shall be deemed to be followed by the phrase "without limitation." The word "wi ll" shall
             be construed to have the same meaning and effect as the word "shall." Unless the context requires
             otherwise:

                              (a)      any definition of or reference to any agreement, instrument or other document
                     he rein shall be construed as referring to such agreement, instrument or other document as from
                     time to time pe rmitted to be Refinanced or replaced in accordance w ith the te rms hereof, in each
                     case to the extent so Refinanced or replaced;

                             (b)     any reference herein to any Person shall be construed to include such Person' s
                     pe1mitted successors and assigns;

                             (c)      the words "herein," "hereof ' and " hereunder," and words of similar import, shall
                     be construed to refer to this Agreement in its entirety and not to any particular provision hereof;

                              (d)     all references he rein to Sections, clauses or paragraphs shall be construed to refer
                     to Sections, clauses or paragraphs of this Agreement, unless otherwise specified;

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                              (e)      any reference to any law or regulation shall (i) include all statuto1y and
                      regulatory provisions consolidating, amending, replacing, inte rpreting or supplementing such law
                      or regulation, and (ii) unless otherwise specified, refer to such law or regulation as amended,
                      modified or supplemented from time to time; and

                               (t)     the words "asset" and " property" shall be construed to have the same meaning
                      and effect and to refer to any and all tangible and intangible assets and properties, including cash,
                      securities, accounts and contract rights.

             Notwithstanding anything to the contrary set forth in this Agreement, any reference herein to the ABL
             Financing Documents, the ABL Documents, the ABL Credit Agreement or any other ABL Document
             individually "as in effect on the date hereof," "as in effect on the date entered into" or words of similar
             meaning shall include a reference to any amendment or other modification of any such document that has
             been made in accordance with, or with respect to any matters that are not prohibited by, Section 5.3(a);
             provided that any statement herein to the effect that a capitalized te rm shall have the meaning as defined
             in an ABL Document "as in effect on the date hereof," "as in effe ct on the date entered into" (or words of
             similar meaning) shall not include any changes to such term, if any, contained in any such amendment or
             modification. Notwithstanding anything to the contrary set forth in this Agreement, any reference here in
             to the Term Loan Financing Documents, the Te rm Loan Documents or any of the Term Loan Credit
             Agreements or any othe r Te rm Loan Document individually "as in effect on the date hereof," "as in effect
             on the date entered into" or words of similar meaning shall include a reference to any amendment or other
             modification of any such document that has been made in accordance with, or with respect to any matters
             that are not prohibited by, Section 5.3(a); provided that any statement herein to the effect that a
             capitalized te rm shall have the meaning as defined in a Tenn Loan Document "as in effect on the date
             he reof," "as in effect on the date entered into" (or words of similar meaning) shall not include any
             changes to such te rm, if any, contained in any such amendment or modification.

                               1.3      DIP Cap Amounts. For avoidance of doubt, it is understood and agreed that any
             increase in the aggregate Indebtedness for borrowed money constituting p1incipal outstanding under the
             ABL Documents and the Term Loan Documents (in each case, including in any Refinancing thereof) after
             the date of the original incurrence or issuance of such Indebtedness solely as a result of a fluctuation in
             the exchange rate of the currency in which such Indebtedness is denominated shall be ignored for
             purposes of determining compliance with the ABL DIP Cap Amount and the Term DIP Loan Cap
             Amount, a nd any such increme ntal Indebtedness attributable to any such currency fluctuation shall be
             deemed to be an Obligation or a Te1m Loan Obligation, as applicable, for all purposes hereof.

                               SECTION 2.        Lien Priorities.

                              2.1      Relative P1iorities. Notwithstanding the date, time, method, manner or order of
             grant, attachment, recordation or perfection of any Liens on the Collateral securing the ABL Obligations
             or of any Liens on the Collateral securing the Tenn Loan Obligations, and notwithstanding any provision
             of the UCC or any other appl icable law, or the ABL Documents or the Term Loan Documents, or any
             defect or deficiencies in, or failure to perfect or lapse in pe1fection of, or avoidance as a fraudulent
             conveyance or otherwise of, the Liens securing any of the Obligations or any other circumstance
             v,1hatsoever, whether or not any Insolvency or Liquidation Proceeding has been commenced by or against
             any Obligor, each Collateral Agent, on behalf of itself and its Related Claimholde rs, hereby agrees that

                               (a)      any Lien on the ABL Priority Collateral securing any ABL Obligations now or
                      he reafter held by or on behalf of the ABL Credit Agreement Collateral Agent, any other ABL
                      Claimholders or any agent or trustee therefor, regardless of how acquired, whether by grant,
                      possession, statute (including any judgment lien), operation of law, subrogation or othe rwise,

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                      shall be senior in all respects and prior to any Lien on the ABL Priority Collateral securing any of
                      the Term Loan Obligations;

                               (b)     any Lien on the ABL Priority Collateral securing any Term Loan Obligations
                      now or hereafter held by or on behalf of any Te rm Loan Collate ral Agent, any other Term Loan
                      Claimholders or any agent or tmstee therefor, regardless of hov,, acquired, whether by grant,
                      possession, statute (including any judgment lien), operation of law, subrogation or otherwise,
                      shall be junior and subordinate in all respects to all Liens on the ABL Priority Collate ral securing
                      any of the ABL Obligations;

                              (c)      all Liens on the ABL Priority Collateral securing any ABL Obligations shall be
                      and remain senior in all respects and prior to all Liens on the ABL Priority Collateral securing
                      any Term Loan Obligations for all purposes, whether or not such Liens securing any ABL
                      Obligations are subordinated to any Lien on the ABL Priority Collateral securing any other
                      obligation of the Obligors or any othe r Pe rson;

                               (d)      any Lien on the Tenn Loan Priority Collateral securing any Te rm Loan
                      Obligations now or hereafte r held by or on behalf of any Term Loan Collateral Agent, any other
                      Term Loan Claimholders or any agent or tmstee therefor, regardless of how acquired, whethe r by
                      grant, possession, statute (including any judgment lien), operation of law, subrogation or
                      otherwise, shall be senior in all respects and prior to any Lien on the Term Loan Priority
                      Collate ral securing any of the ABL Obligations;

                               (e)     any Lien on the Tenn Loan Priority Collateral securing any ABL Obligations
                      now or hereafter held by or on behalf of the ABL Credit Agreement Collateral Agent, any othe r
                      ABL Claimholders or any agent or tmstee the refor, regardless of how acquired, whethe r by grant,
                      possession, statute (including any judgment lien), operation of law, subrogation or otherwise,
                      shall be junior and subordinate in all respects to all Liens on the Te rm Loan Priority Collate ral
                      securing any of the Term Loan Obligations; and

                               (f)     all Liens on the Term Loan Priority Collateral securing any Te rm Loan
                      Obligations shall be and remain senior in all respects and prior to all Liens on the Term Loan
                      Priority Collateral seeming any ABL Obligations for all purposes, whether or not such Liens
                      seeming any Term Loan Obligations are subordinated to any Lien on the Te1m Loan Priority
                      Collateral securing any other obligation of the Obligors or any other Person.

                               2.2     Prohibition on Contesting Liens. The ABL Credit Agreement Collateral Agent,
             for itself and on behalf of its Related Claimholders, and each Term Loan Collate ral Agent, for itself and
             on behalf of its Related Claimholders, agrees that it and its Related Claimholders will not (and each
             he reby waives any right to) directly or indirectly contest or challenge, or support any other Pe rson in
             contesting or challenging, in any proceeding (including any Insolvency or Liquidation Proceeding), (i) the
             validity or enforceability of any ABL Document or any Term Loan Document, or any ABL Obligation or
             any Te rm Loan Obligation, (ii) the existence, validity, perfection, priority or enforceability of the Liens
             securing any ABL Obligations or any Te1m Loan Obligations or (iii) the relative rights and duties of the
             ABL Claimholders or the Term Loan Claimholders granted and/or established in this Agreement or any
             Collateral Document with respect to such Liens; provided that nothing in this Agreement shall be
             construed to prevent or impair the rights of any Senior Collateral Agent or any other Senior Claimholder
             to enforce this Agreement or to exe rcise any of its remedies or rights hereunder, including the provisions
             of this Agreement relating to the priority of the Liens on the Collateral in which a Senior Claimholder has
             a Senior Lien securing the Senior Obligations as provided in Sections 2.1 and 3 .1.


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                                2.3    No New Liens. Subject to Section 2.6 he reof, the pa1ties hereto agree that, so
             long as neither the Discharge of ABL Obligations nor the Discharge of Term Loan Obligations has
             occurred, (a) none of the Obligors shall grant or pem1it any additional Liens on any asset or property of
             any Obligor to secure any ABL Obligation unless it has granted, or concurrently the rewith grants, through
             documentation in fo1m and substance satisfactory to the Directing Te1m Loan Collateral Agent, a Lien on
             such asset or property of such Obligor to secure the Term Loan Obligations; and (b) none of the Obligors
             shall grant or permit any additional Liens on any asset or property of any Obligor to secure any Te rm
             Loan Obligation unless it has granted, or concurrently therewith grants, through documentation in fonn
             and substance satisfactory to the ABL Credit Agreement Collateral Agent, a Lien on such asset or
             property of such Obligor to secure the ABL Obligations. Subject to Section 2.6, so long as ne ither the
             Discharge of ABL Obligations nor the Discharge of Term Loan Obligations has occurred, whether or not
             any Insolvency or Liquidation Proceeding has been commenced by or against any of the Obligors, the
             parties hereto agree that if any Claimholder shall acquire or hold any Lien on any assets of any Obligor
             securing any Obligation which assets are not also subject to the Lien of the other Claimholders under the
             other Collateral Documents, then, without limiting any other rights and remedies available to any
             Collateral Agent or the other Claimholde rs, the applicable Collateral Agent holding such Lien, on behalf
             of itself and its Related Claimholders, agrees that any an10unts received by or distributed to any of them
             pursuant to or as a result of Lie ns so granted shall be subject to Section 4.2.

                              2.4     Similar Liens and Agreements. In furtherance of Sections 2.3 and ~ the ABL
             Credit Agreement Collateral Agent, for itself and on behalf of its Related Claimholders, and each Tenn
             Loan Collate ral Agent, for itself and on behalf of its Related Claimholders, agrees, subject to the othe r
             provisions of this Agreement:

                             (a)      upon request by the ABL Credit Agreement Collateral Agent or the Directing
                     Term Loan Collateral Age nt, to coope rate in good faith (and to direct thei r counsel to cooperate
                     in good faith) from time to time in order to determine the specific items included in the ABL
                     Collateral and the Term Loan Collateral and the steps taken to perfect their respective Liens
                     thereon and the identity of the respective parties obligated under the ABL Documents and the
                     Term Loan Documents; and

                             (b)      that the documents, agreements or instiuments creating or evidencing the ABL
                     Collateral and the Tenn Loan Collateral and guaranties for the ABL Obligations and the Term
                     Loan Obligations, subject to Section 5.3(c). shall be in all material respects the same forms of
                     documents, agreements or instiuments, other than with respect to the p1iority of the Lie ns
                     thereunder, the identity of the secured parties that are parties thereto or secured thereby and other
                     matters contemplated by this Agreement.

                              2.5      Nature of Obligations. The priorities of the Liens provided in Section 2.1 shall
             not be altered or otherwise affected by (a) any Refinancing of the Senior Obligations or the Junior
             Obligations or (b) any action or inaction which any of the Senior Claimholders or the Junior Claimholders
             may take or fail to take in respect of the Collateral. Each Junior Collateral Agent, for itself and on behalf
             of its Related Claimholders, agrees and acknowledges that (i) a portion of the Senior Obligations may be
             revolving in nature and that the amount thereof that may be outstanding at any time or from time to time
             may be increased or reduced and subsequently reborrowed, (ii) the terms of the Senior Documents and the
             Senior Obligations may be amended, supplemented or otherwise modified, and the Senior Obligations, or
             a portion thereof, may be Refinanced from time to time and (iii) the aggregate amount of the Senior
             Obligations may be increased, in each case, ,vithout notice to or consent by the Junior Collateral Agents
             or the Junior Claimholders and without affecting the provisions hereof, except as otherwise expressly set
             forth herein. As between the Borrowers and the other Obligors and the Junior Claimholders, the


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             foregoing provisions will not limit or otherwise affect the obligations of the Borrowers and the Obligors
             contained in any Junior Document with respect to the incurrence of additional Senior Obligations.

                              2.6     Certain Cash Collateral. Notwithstanding anything in this Agreement or any
             other ABL Document or Te rm Loan Document to the contrary, collateral consisting of cash and cash
             equivale nts pledged to secure (i) ABL Obligations unde r any ABL Financing Document consisting of
             reimbursement obligations in respect of ABL Lette rs of Credit issued thereunder, (ii) ABL Obligations in
             respect of ABL Hedge Agreements to the e:>-.1.ent permitted by the ABL Documents and the Term Loan
             Documents, (iii) Term Loan Obligations under any Term Loan Financing Document consisting of
             reimbursement obligations in respect of letters of credit issued thereunder and (iv) Term Loan Obligations
             under Te rm Loan Hedge Agreements to the e:>..1ent pe1mitted by the ABL Documents and the Te1m Loan
             Documents, in each case shall be applied as specified in the relevant ABL Documents, the relevant Term
             Loan Document, the relevant ABL Hedge Agreement and/or the relevant Term Loan Hedge Agreement,
             as applicable, and will not constitute Collateral hereunder.

                              2.7     [Reserved] .

                               2.8      Tracing of Proceeds. The ABL Credit Agreement Collateral Agent, for itself and
             on behalf of the ABL Claimholders, and each Term Loan Collateral Agent for itself and on behalf of its
             Related Claimholde rs, agree that prior to an issuance of any notice of any Enforcement Action by such
             Collateral Agent or any of its Related Claimholders to each other Collateral Agent (unless a bankrnptcy or
             insolvency ''Event of Default" then exists under any Financing Document), any proceeds of Collateral,
             whether or not deposited in Deposit Accounts subject to control agreements, which are used by any
             Obligor to acquire other prope rty which is Collateral shall not (sole ly as between the Collateral Agents
             and the Claimholders) be treated as Proceeds of Collateral for purposes of dete1mining the relative
             priorities in the Collateral which was so acquired. Notwithstanding anything to the contrary contained in
             this Agreement or any Term Loan Document, unless and until the earliest of (x) the Discharge of ABL
             Obligations, (y) the conunencement of an Insolvency or Liquidation Proceeding with respect to any of the
             Obligors, or (z) a notice of an Enforcement Action is de livered by the Directing Te1m Loan Collateral
             Agent to the ABL Credit Agreement Collateral Agent, the ABL Credit Agreement Collateral Agent is
             hereby permitted to deem all collections and payments deposited in any Deposit Account or Securities
             Account ( for the avoidance of doubt other than any Term Proceeds Account) to be Proceeds of ABL
             Priority Collateral and ea.ch Term Loan Collateral Agent, on behalf of itself and each other Te rm Loan
             Claimholder, consents to the application of such funds to the ABL Obligations, and no such funds
             credited to such account shall be subject to disgorgement or be deemed to be held in trnst by the ABL
             Credit Agreement Collateral Agent for the benefit of any Tenn Loan Collateral Agent or any other Term
             Loan Claimholder; provided that with respect to any such funds that are identifiable proceeds of Term
             Loan Priority Collateral credited to any such account, with respect to which funds the ABL Credit
             Agreement Collateral Agent has received a Term Cash Proceeds Notice prior to the application of such
             funds by the ABL Credit Agreement Collateral Agent to the ABL Obligations, the ABL Credit
             Agreement Collateral Agent shall tum over any such misdirected proceeds of the Term Loan Priority
             Collateral to the Directing Term Loan Collateral Agent.

                              SECTION 3.         Enforcement.

                              3.1     Exercise of Remedies.

                             (a)     Until the Discharge of Senior Obligations has occurred, whether or not any
             Insolvency or Liquidation Proceeding has been commenced by or against any of the Obligors, each of the
             Junior Collateral Agents, for itself and on behalf of its Re lated Cla.imholders, hereby agrees that it and its
             Related Claimholders:

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                              (I)       will not exercise or seek to exercise any rights or remedies (including setoff) with
                     respect to any Collateral in which a Junior Claimholder has a Junior Lien or institute or
                     commence, or join with any Person in instituting or commencing, any other Enforcement Action
                     or any other action or proceeding with respect to such 1ights or remedies (including any action of
                     foreclosure, enforce ment, collection or execution and any Insolvency or Liquidation Proceeding);
                     provided that the Directing Junior Collateral Agent may (as between the Term Loan Collateral
                     Agents, subject to the First Lien/Second Lien Intercreditor Agreement) commence an
                     Enforcement Action or otherwise exercise any or all such rights or remedies after the passage of a
                     pe riod of at least 210 days since the Directing Senior Collateral Agent shall have received notice
                     from the Directing Junior Collateral Agent with respect to the acceleration by the Junior
                     Claimholders of any Series of the maturity of all then outstanding Junior Obligations of such
                     Series (and requesting that Enforcement Action be taken w ith respect to the Collateral in which a
                     Junior Claimholder has a Junior Lien) so long as the applicable "event of default" shall not have
                     been cured or waived (or the applicable acceleration rescinded) (the "Standstill Period");
                     provided, further that notwithstanding anything herein to the contrary, in no event shall the Junior
                     Collateral Agents or any other Junior Claimholde rs exercise any rights or remed ies with respect
                     to any Collateral in which a Junior Claimholder has a Junior Lien or institute or commence, or
                     join w ith any Person in instituting or commencing, any other Enforcement Action with respect to
                     any Collateral or any other action o r proceeding w ith respect to such rights or remedies, if,
                     notwithstanding the expiration of the Standstill Period, either (A) the Directing Senior Collateral
                     Agent or any other Senior Claimholder shall have commenced and be diligently pursuing (or sha ll
                     have sought or requested and be diligently pursuing relief from or modification of the automatic
                     stay or any other stay in any Insolvency or Liquidation Proceeding to enable the commencement
                     and the pursuit of) an Enforcement Action or other exercise of the ir rights or re medies in each
                     case with respect to all or any material portion of the Collateral (with any determination of which
                     such Collateral to proceed against, and in what order, to be made by the Directing Senior
                     Collateral Agent or such Senior Claimholders in their reasonable judgment) or (B) any of the
                     Obligors is then a debtor in any Insolvency or Liquidation Proceeding.

                             (2)     will not contest, protest or object to any Enforcement Action brought by any
                     Senior Collateral Agent or any other Senior Claimholder or any other exercise by any Senior
                     Collateral Agent or any other Senior Claimholder of any rights and remedies relating to the
                     Collateral in which a Senior Claimholder has a Senior Lien under the Senior Documents or
                     otherwise;

                             (3)      subject to the ir rights unde r clause (a)(l) above, will not object to the forbearance
                     by any Senior Collateral Agent or the other Senior Claimholders from bringing or pursuing any
                     Enforcement Action or any other exercise of any rights or remedies relating to any Collateral in
                     which a Senior Claimholder has a Se nior Lien, in each case so long as any proceeds received by
                     the Senior Collateral Agents or other Senior Claimholders w ith respect to such Collateral in
                     excess of those necessary to achieve a Discharge of Senior Obligations are distributed in
                     accordance with Section 4.1; and

                             (4)      will not take or receive any Collateral in which a Senior Claimholder has a
                     Senior Lien, or any proceeds of or payment with respect to any such Collateral, in connection
                     with any Enforcement Action or any otl1er exercise of any right or remedy with respect to any
                     such Collateral or any Insolvency or Liquidation Proceeding in its capacity as a creditor or in
                     connection w ith any insurance policy award or any award in a condemnation or similar
                     proceeding (or deed in lieu of condemnation) w ith respect to any such Collateral, in each case
                     unless and until the Discharge of Senior Obligations has occurred, except, (x) as between the First
                     Lie n Credit Agreeme nt Collateral Agent and the Second Lien Credit Agreement Collateral Agent,

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                     as expressly pe1mitted by the First Lien/Second Lien Intercreditor Agreement and (y) in
                     connection v,1ith any foreclosure expressly pennitted by Section 3. I(a)(l) to the extent such Junior
                     Collateral Agent and its Related Claimholders are permitted to retain the proceeds thereof in
                     accordance with Section 4.1.

                                Without limiting the generality of the foregoing, until the Discharge of Senior
             Obligations has occuned, except as expressly provided in Sections 3. l(a)(l), 3. l(c) and 6.3(b), the sole
             right of each Junior Collateral Agent and the other Junior Claimholde rs w ith respect to any Collateral in
             v,1llich a Junior Claimholder has a Junior Lien (other than inspection, monitoring, reporting and similar
             rights provided for in the Junior Financing Documents) is to hold a Lien on such Collateral pursuant to
             the Junior Collateral Docume nts for the period and to the extent granted therein and to receive a share of
             the proceeds thereof, if any, after the Discharge of Senior Obligations has occuned.

                              For the avoidance of doubt, nothing contained in this Agreement shall prohibit (i) the
             exercise of rights by the ABL Credit Agreement Collateral Agent or the ABL Administrative Agent
             during a Cash Dominion Period (as defined in the ABL Credit Agreement), including the notification of
             depository institutions or any other person to deliver proceeds of ABL Priority Collateral to the ABL
             Credit Agreement Collateral Agent or the ABL Administrative Agent, (ii) the reduction of advance rates
             or sub-limits by the ABL Administrative Agent, (iii) the imposition of any Reserve (as defined in the
             ABL Credit Agreement) by the ABL Administrative Agent, (iv) the cessation of lending pursuant to, and
             in accordance w ith, the provisions of the ABL Documents or (v) the consent by the ABL Credit
             Agreement Collateral Agent to any disposition by any Granter of any of the ABL Priority Collateral or
             the Directing Te rm Loan Collateral Agent to any disposition by any Grantor of any of the Te1m Loan
             Priority Collateral.

                               (b)       Until the Discharge of Senior Obligations has occuned, whether or not any
             Insolvency or Liquidation Proceeding has been commenced by or against any Obligor, subject to
             Sections 3 . l(a)(l), 3. l(c) and 6.3(b), the Senior Collateral Agents and the other Senior Claim.holders shall
             have the exclusive right to commence and maintain an Enforcement Action or otherwise exercise any
             rights and remedies with respect to the Collateral in v,1hich a Senior Claimholder has a Senior Lien
             (including set-off, recoupme nt and the 1ight to "credit bid" the ir debt, except that the Junior Collateral
             Agents shall have the "credit bid" rights set fo1th in Section 3.l{c)(6)), and make determinations
             regarding the release, Disposition, or restrictions with respect to such Collateral, in each case without any
             consultation w ith or the consent of any Junior Collateral Agent or any other Junior Claimholder; provided
             that any proceeds received by any Senior Collateral Age nt on account of such Collateral in excess of
             those necessary to achieve a Discharge of Senior Obligations are distributed in accordance with Section
             !l.. In commencing or maintaining any Enforcement Action or otherwise exercising rights and remedies
             with respect to any Collateral in ,,,hich a Senior Claimholder has a Senior Lien, the Senior Collateral
             Agents and the other Senior Claim.holders may enforce the provisions of the Senior Documents and
             exercise rights and re medies thereunder, all in such order and in such manner as they may determine in
             the exercise of their sole discretion in compliance with any applicable law and without consultation with
             any Junior Collateral Agent or any other Junior Claimholder and regardless of whether any such exercise
             is adverse to the interest of any Junior Claimholder. Such exercise and enforceme nt shall include the
             rights of an agent appointed by the Senior Claimholders to sell or otherwise Dispose of Collateral in
             wllich a Senior Claim.holder has a Senior Lien upon foreclosure, to incur expenses in connection with
             such sale or other Disposition, and to exercise all the rights and remedies of a secured creditor under the
             UCC or other applicable law and of a secured creditor under Debtor Relief Laws of any applicable
             jurisdiction.




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                           (c)         Notwithstanding the foregoing, each Junior Collateral Agent and any other Junior
             Claimholder may:

                             (I)      file a claim, proof of claim or statement of interest with respect to the Junior
                     Obligations; provided that an Insolvency or Liquidation Proceeding has been commenced by or
                     against any of the Obligors;

                              (2)     take any action in order to create, perfect, preserve or protect (but not enforce) its
                     Lie n on the Collateral in which a Junior Claimholder has a Junior Lien to the exient (A) not
                     adverse to the priority status of the Liens on such Collateral securing the Senior Obligations, or
                     the rights of any Senior Collateral Agent or the other Senior Claimholders to exercise rights and
                     remedies in respect the reof, and (B) not otherwise inconsistent with the terms of this Agreement,
                     including the automatic release of Liens provided in Section 5 .1;

                             (3)      file any necessary or appropriate responsive or defensive pleadings in opposition
                     to any motion, claim, adversary proceeding or other pleading made by any Pe rson objecting to or
                     otherwise seeking the disallowance of the claims of the Junior Claimholders, including any
                     claims or Liens secured by the Collateral in which a Junior Claimholder has a Junior Lien, if any,
                     in each case to the extent not inconsistent with the te rms of this Agreement;

                             (4)      vote on any plan of reorganization, arrangement, compromise or liquidation, file
                     any proof of claim, make other filings and make any arguments and motions w ith respect to the
                     Junior Obligations and the Collateral in which a Junior Claimholder has a Junior Lien that are, in
                     each case, in accordance with the terms of this Agreement; provided that (A) no filing of any
                     claim or vote, or pleading relating to such claim or vote, to accept or reject a disclosure statement,
                     plan of reorganization, arrangement, compromise or liquidation, or any other document,
                     agreement or proposal similar to the foregoing by any Junior Collateral Agent or any other Junior
                     Claimholder in respect of such Collateral may be inconsistent with the terms of this Agreement
                     and (B) neither any Junior Collateral Agent nor any other Junior Claimholder shall propose, vote
                     to accept, or othe1wise suppo1t a plan of reorganization that is inconsistent with the te1ms of this
                     Agreement with respect to treatment of such Collateral;

                             (5)      exercise any of its rights or remedies with respect to the Collateral (after the
                     termination of the Standstill Period to the extent pe rmitted by Section 3. l(a){l); and

                               (6)    bid for or purchase any Collateral in which a Junior Claimholder has a Junior
                     Lie n at any public, private or judicial foreclosure upon such Collateral initiated by the Senior
                     Collateral Agents or any other Senior Claimholder, or any sale of any such Collateral during an
                     Insolvency or Liquidation Proceeding; provided that any such bid may not include a "credit bid"
                     in respect of any Junior Obligations unless the cash proceeds of such bid are otherwise sufficient
                     to cause the Discharge of Senior Obligations.

                              (d)       Subject to Sections 3. l(a)(l), 3. l(c) and 6.3(b) each Junior Collateral Agent, for
             itself and on behalf of its Related Claimholders:

                             (I)      agrees that it and its Related Claimholders will not take any action that would
                     hinder, delay, limit or prohibit any exercise of rights or remedies under the Senior Documents or
                     is otherwise prohibited hereunder with respect to any Collateral in which a Junior Claimholder
                     has a Junior Lien, including any collection or Disposition of any such Collateral, whether by
                     foreclosure or otherwise, or that would limit, invalidate, avoid or set aside any Lien securing any
                     Senior Obligations or any Senior Collateral Document or subordinate the priority of the Senior

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                     Obligations to the Junior Obligations with respect to such Collateral or grant the Liens on such
                     Collateral securing the Junior Obligations equal ranking to the Liens securing the Senior
                     Obligations;

                              (2)     hereby waives any and all rights it or its Related Claimho lders may have as a
                     junior Lien creditor or otherwise (whether arising unde r the UCC or under any other lav,1) to
                     object to the manner in which the Senior Collateral Agents or the other Senior Claimholders seek
                     to enforce or collect the Senior Obligations or the Liens securing the Senior Obligations w ith
                     respect to the Collateral in which a Junior Claimholder has a Junior Lien, regardless of whether
                     any action or failure to act by or on behalf of any Senior Collateral Agent or any other Senior
                     Claimholders is adverse to the inte rest of any Junior Claimholders w ith respect to such Collateral;
                     and

                               (3)    hereby acknowledges and agrees that no covenant, agreement or restriction
                     contained in the Junior Collateral Documents or any other Junior Docume nt shall be deemed to
                     restrict in any way the rights and remedies of any Senior Collateral Agent or the other Senior
                     Claimholders with respect to the Collateral in which a Junior Claimholder has a Junior Lien as set
                     forth in this Agreeme nt and the Senior Documents .

                               (e)      The Junior Collateral Agents and the other Junior Claimholders may exercise
             rights and remedies as unsecured creditors against the Obligors that have guaranteed or granted Liens to
             secure the Junior Obligations in accordance with the terms of the Junior Documents and applicable law
             (other than initiating or joining in an involuntary case or proceeding under any Debtor Relief Law with
             respect to any Obligor, prior to the termination of the Standstill Period: provided that (i) any such exercise
             shall not be inconsistent with the terms of this Agreement (including Sections 2.2 and Q) and (ii) in the
             event that any Junior Claimholder becomes a judgment Lien creditor in respect of any Collateral as a
             result of its enforcement of its rights as an unsecured creditor w ith respect to the Junior Obligations, such
             judgment Lien shall be subject to the tem1s of this Agreement for all purposes (including in relation to the
             Senior Obligations) as the other Liens securing the Junior Obligations are subject to this Agreement.
             Nothing in this Agreement shall prohibit the receipt by any Junior Collateral Agent or Junior Claimholder
             of the required pay me nts of principal, premium, inte rest, fees and other a mounts due under the Junior
             Docume nts so long as such receipt is not the direct or indirect result ofthe exercise by a Junior Collateral
             Agent or other Junior Claimholder of rights or remedies as a secured creditor in respect of Collateral in
             v,rhich a Junior Claimholder has a Junior Lie n.

                               3.2      Agreement among Term Loan Claimholders. Each Term Loan Collateral Agent,
             on behalf of itself and its Related Term Loan Claimholders, solely as among themselves in such capacity
             and solely for their mutual benefit, hereby agrees that the Te rm Loan Collateral Agent designated as the
             Directing Term Loan Collateral Agent shall have the sole right and pmver, as among the Tem1 Loan
             Collateral Agents and the other Term Loan Claimholders, to take and direct any right or remedy with
             respect to Term Loan Priority Collateral in accordance with the terms of this Agreement, the relevant
             Tenn Loan Collateral Documents and any other intercreditor agreement among the Directing Term Loan
             Collateral Agent and each other Term Loan Collateral Agent. The Directing Term Loan Collateral Agent
             shall be entitled to the benefit of all the exculpatory, indemnity and re imbursement provisions set forth in
             any Term Loan Document for the benefit of any "collateral agent" (or any other agent or similar
             representative) with respect to any exercise by the Directing Tenn Loan Collateral Agent of any of the
             rights or remedies under this Agreement, including any such exercise of any right or remedy w ith respect
             to any Term Loan Priority Collateral, or any other action or inaction by it in its capacity as the Directing
             Tenn Loan Collateral Agent.



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                               3.3     Actions Upon Breach: Specific Performance . If any Junior Claimholder, in
             contravention of the terms of this Agreement, in any way takes, attempts to or threatens to take any action
             with respect to the Collateral (including any attempt to realize upon or enforce any remedy with respect to
             this Agreement), or fails to take any action required by this Agreement, this Agreement shall create an
             irrebutable presumption and admission by such Junior Claimholder that re lief against such Junior
             Claimholder by inj unction, specific performance and/or other appropriate equitable relief is necessary to
             prevent i1Teparable harm to the Senior Claimholders, it being unde rstood and agreed by each Junior
             Collateral Agent, on behalf of its Related Junior Claimholders, that (i) the Senior Claimholders' damages
             from actions of any Junior Claimholder may at that time be difficult to ascertain and may be irreparable
             and (ii) each Junior Claimholder waives any defense that the Obligors and/or the Senior Claimholde rs
             cannot demonstrate damage and/or be made whole by the awarding of damages. Each of the Senior
             Collateral Agents may demand specific performance of this Agreement. Each Junior Collateral Agent, on
             behalf of itself and its Related Junior Claimholders, hereby irrevocably waives any defense based on the
             adequacy of a remedy at law and any other defense which might be asserted to bar the remedy of specific
             performance in any action which may be brought by any Senior Collateral Agent or any other Senior
             Claimholder. No provision of this Agreement shall constitute or be deemed to constitute a waiver by any
             Senior Collateral Agent on behalf of itself and its Related Senior Clairnholders of any right to seek
             damages from any Pe rson in connection with any breach or alleged breach of this Agreement.

                              SECTION 4.        Payments.

                                4.1     Application of Proceeds. So long as the Discharge of Senior Obligations has not
             occurred, whether or not any Insolvency or Liquidation Proceeding has been commenced by or against
             any Obligor, any Collateral in which a Senior Claimholder has a Senior Lie n or any Proceeds (whether in
             cash or othen:vise) thereof received in connection with any Enforcement Action or other exercise of rights
             or remedies by any Senior Collateral Agent or the other Senior Claimholders with respect to such
             Collateral (including any Disposition referred to in Section 5 .1) or any Insolvency or Liquidation
             Proceeding, shall be applied by the Directing Senior Collateral Agent to the Senior Obligations in
             accordance with the terms of the Senior Documents, including any other intercreditor agreement among
             the Senior Collateral Agents. Upon the Discharge of Senior Obligations, the Directing Senior Collateral
             Agent shall deliver to the Directing Junior Collateral Agent any remaining Collateral in which a Senior
             Claimholder has a Senior Lien and Proceeds thereof then held by it in the same form as received, with any
             necessary endorsements (such endorsements shall be without recourse and without representation or
             ,,,arranty) to the Directing Junior Collateral Agent, or as a court of competent jurisdiction may otherwise
             direct, to be applied by the Junior Collateral Agents to the Junior Obligations in accordance with the
             te1ms of the Junior Documents, including any intercreditor agreement among the Junior Collateral
             Agents.

                              4.2     Payments Over.

                               (a)      So long as the Discharge of Senior Obligations has not occurred, whether or not
             any Insolvency or Liquidation Proceeding has been commenced by or against any Obligor, any Collateral
             in which a Senior Claimholder has a Senior Lien or Proceeds thereof (including any assets or proceeds
             subject to Liens that have been avoided or otherwise invalidated (including as a result of failure to perfect
             or lack of perfection)), any assets or proceeds subject to Liens referred to in Section 2.3, any amounts
             refe1Ted to in the last sentence of Section 6.3(b) or any other distribution (whether or not expressly
             characterized as such) in respect of such Collateral (including in connection with any Disposition of any
             such Collateral) received by any Junior Collateral Agent or any other Junior Claimholders in connection
             with any Enforcement Action or any Insolvency or Liquidation Proceeding or other exercise of any right
             or remedy (including set-off or recoupment) relating to such Collateral in contravention of this Agreement
             or not in accordance with Section 4 .1, or received by any Junior Collateral Agent or any other Junior

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             Claimholders in connection with any insurance policy claim or any condemnation award (or deed in lieu
             of condemnation) in respect of such Collateral, in each case, shall be held in tmst and forthwith paid over
             to the Directing Senior Collateral Agent for the benefit of the Senior Claimholders in the same fonn as
             received, with any necessary endorsements, or as a cou1t of competent jurisdiction may otherwise direct.

                               (b)     Except as otherwise set forth in Section 6.3 (or with respect to any
             Reorganization Securities which shall be subject to Section 6.6 and not this Section 4.2), so long as the
             Discharge of Senior Obligations has not occurred, if in any Insolvency or Liquidation Proceeding any
             Junior Collateral Agent or any other Junior Claimholders shall receive any distribution of money or other
             property in respect of or on account of the Collateral in which a Junior Claimholder has a Junior Lien
             (including any assets or proceeds subject to Lie ns that have been avoided or otherwise invalidated or any
             amounts referred to in the last sentence of Section 6. 3(b)), such money, other property or amounts shall
             be he ld in tmst and forthwith paid over to the Directing Senior Collateral Agent for the benefit of the
             Senior Claimholders in the same form as received, with any necessa1y endorsements. Any Lien on
             Collateral in which a Junior Claimholder has a Junior Lien received by any Junior Collateral Agent or any
             other Junior Claimholders in respect of any of the Junior Obligations in any Insolvency or Liquidation
             Proceeding shall be subject to the tenns of this Agreement.

                               (c)     Until the Discharge of Senior Obligations occurs, each Junior Collateral Agent,
             for itself and on behalf of its Related Claimholders, hereby irrevocably constitutes and appoints the
             Directing Senior Collateral Agent and any officer or agent of the Directing Senior Collateral Agent, with
             full power of substitution, as its true and lawful attorney-in-fact with full irrevocable power and authority
             in the place and stead of such Junior Collateral Agent or any such Junior Claimholder or in the Directing
             Senior Collateral Agent's own nan1e, from time to time in the Directing Senior Collateral Agent's
             discretion, for the purpose of carrying out the tenns of this Section 4.2, to take any and all appropriate
             action and to execute any and all docume nts and instruments whjch may be necessary to accomplish the
             purposes of this Section 4.2, including any endorsements or other instruments of transfer or release. This
             powe r is coupled with an inte rest and is irrevocable until the Discharge of Senior Obligations.

                               4.3     Mixed Collateral Proceeds. Notwithstanding anything to the contrary contained
             above or in the definition of the ABL Priority Collateral or Term Loan Priority Collateral, in the event
             that Proceeds of Collateral are received from (or are othenvise attributable to the value of) a sale or other
             disposition of Collateral that involves a combination of ABL Priority Collateral and Tenn Loan Priority
             Collateral, the po1tion of such Proceeds that shall be allocated as Proceeds of ABL P1iority Collateral for
             purposes of this Agreement shall be an amount equal to the net book value of such ABL Priority
             Collateral (except in the case of Accounts (as described in clause (i) of the definition of ABL Priority
             Collateral, and excluding any Accounts to the extent excluded pursuant to said clause (i)) which amount
             shall be equal to the face amount of such Accounts). In addition, notwithstanding anything to the
             contrary contained above or in the definition of the ABL Priority Collateral or Tenn Loan Priority
             Collateral, to the extent Proceeds of Collateral are Proceeds received from (or are othe1wise attributable to
             the value of) the sale or disposition of all or substantially all of the capital stock of any of the Subsidiaries
             of Holdings which is an Obligor, or all or substantially all of the assets of any such Subsidiary, and in
             each case in connection with such sale the ABL Credit Agreement Collateral Agent releases its Liens on
             the ABL Priority Collateral of such Subsidiary, then such Proceeds shall constitute (1) first, in an amount
             equal to the face amount of the Accounts (as described in clause (i) of the definition of ABL Priority
             Collateral, and excluding any Accounts to the extent excluded pursuant to said clause (i)) and the net
             book value of the Inventory owned by such Subsidiary at the time of such sale, ABL Priority Collateral
             and (2) second, to the extent in excess of the amounts described in preceding clause (1), Tenn Loan
             Priority Collateral.



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                              SECTIONS.           Other A2reements.

                              5.1     Releases.

                               (a)     In connection with any Enforcement Action by the Directing Senior Collateral
             Agent or any other exercise by the Directing Senior Collateral Agent of rights or remedies in respect of
             the Collateral in which a Senior Claimholder has a Senior Lien (including any Disposition of any of such
             Collateral by any Obligor, with the consent of the Directing Senior Collateral Agent, after the occun-ence
             and during the continuance of an " event of default" under the Senior Documents), in each case, prior to
             the Discharge of Senior Obligations, the Directing Senior Collateral Agent is irrevocably authorized (at
             the cost of the Obligors in accordance with the terms of the applicable Senior Financing Document and
             without any consent, sanction, authority or further confirmation from the Directing Junior Collateral
             Agent, any other Junior Claimholder or any Obligor): (i) to release any of its Liens on any part of such
             Collateral or any other claim over such Collateral that is the subject of such Enforcement Action, in which
             case the Junior Lie ns or any other claim over the asset that is the subject of such Enforcement Action, if
             any, of any Junior Collateral Agent, for itself or for the benefit of the other Junior Claimholders, shall be
             automatically, unconditionally and simultaneously released to the same extent as the Liens or other claims
             of the Directing Senior Collateral Agent and each other Senior Collateral Agent are so released (and the
             Directing Senior Collateral Agent is inevocably authorized to execute and deliver or enter into any
             release of such Liens or claims that may, in the discretion of the Directing Senior Collateral Agent, be
             considered necessary or reasonably desirable in connection with such releases); and (ii) if the Collateral
             that is the subject of such Enforcement Action consists of the equity interests of any Obligor, to release
             (x) such Obligor and any subsidiary of such Obligor from all or any pa1t of its Senior Obligations, in
             w hich case such Obligor and any subsidiary of such Obligor shall be automatically, unconditionally and
             simultaneously released to the same extent from its Junior Obligations (it being understood that any
             Proceeds of such Enforcement Action with respect to such equity interests shall be dealt with in a manner
             consistent with Section 4.3), and (y) any Liens or other claims on any assets of such Obligor and any
             subsidiary of such Obligor, in which case the Junior Liens or other claims on such assets of each Junior
             Collateral Agent, for itself or for the benefit of its Related Claimholders, shall be automatically,
             unconditionally and simultaneously released to the san1e extent as such Senior Liens of the Directing
             Senior Collateral Agent and each other Senior Collateral Agent are so released (and the Directing Senior
             Collateral Agent is irrevocably authorized to execute and deliver or enter into any release of such Liens or
             claims that may, in the discretion of the Directing Senior Collateral Agent, be considered necessary or
             reasonably desirable in connection with such releases). Each Junior Collateral Agent, for itself or on
             behalf of its Related Claimholders, promptly shall execute and deliver to the Directing Senior Collateral
             Agent or such Obligor such te1mination statements, releases and other documents as the Directing Senior
             Collateral Agent or such Obligor may request to effectively confim1 the foregoing releases upon delivery
             to the Junior Collateral Agents of copies of such tem1ination statements, releases and other documents
             used to effect such releases with respect to the Collateral in which a Senior Claimholder has a Senior Lien
             securing the Senior Obligations from a Responsible Officer of the requesting party. In the case of any
             Disposition of any of the Collateral in which a Senior Claimholder has a Senior Lien that is subject to this
             Section 5. 1(a) by the Directing Senior Collateral Agent or by any Obligor with the consent of the
             Directing Senior Collateral Agent (the party so Disposing of such Collateral being called the "Disposing
             Party"), the Disposing Party shall take reasonable care (as determined in the reasonable credit judgment
             of the Directing Senior Collateral Agent or the reasonable business judgment of such Obligor, as the case
             may be) to obtain a fair market price under the prevailing market conditions and with regard to all other
             relevant circumstances, including the distressed nature of such Disposition, and if the Disposing Pa1ty is
             an Obligor, to conduct such Disposition in a commercially reasonable manner (it be ing understood that in
             any case the Disposing Party shall have no obligation to postpone any such Disposition in order to
             achieve a higher price, and that any Disposition approved by any bankruptcy court in any Insolvency or
             Liquidation Proceeding shall be conclusively presumed to be made at a fair market price and to have been

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             conducted in a commercially reasonable manner). The proceeds of any such Disposition shall be applied
             in accordance with Section 4 . 1.

                                (b)     If in connection with any sale, lease, exchange, transfer or othe r disposition
             (collectively, a "Disposition") of any Collateral by any Obligor permitted unde r the terms of both the
             Senior Financing Documents and the Junjor Financing Documents (othe r than in connection with an
             Enforcement Action or other exercise of any Collateral Agent' s rights or remedies in respect of the
             Collateral, which shall be governed by Section 5. l(a) above), the Directing Senior Collate ral Agent or any
             other Senior Collate ral Agent, for itself or on behalf of any of the other Senior Claimholders, re leases any
             of its Liens on any part of the Collateral in which a Senior Clairnholder has a Senior Lien, or releases any
             Obligor from its obligations under its guaranty of the Senior Obligations, in each case othe r than in
             connection with, or following, the Discharge of Senior Obligations, then the Liens, if any, of each Junior
             Collateral Agent, for itself or for the benefit of its Related Clairnholders, on such Collateral, and the
             obligations of such Obi igor under its guaranty of the Junior Obligations, shall be automatically,
             unconditionally and simultaneously released; provided that such release by such Junior Collateral Agent,
             for itself or for the benefit of its Related Claimholders, shall not e:x.1:end to or othe1w ise affect any ofthe
             rights of the Junior Claimholde rs to the proceeds from any such Disposition. Each Junior Collateral
             Agent, for itself or on behalf of its Re lated Clairnholders, promptly shall execute and deliver to the
             Directing Senior Collate ral Agent or such Obligor such te1mination statements, releases and othe r
             documents as the Directing Senior Collateral Age nt or such Obligor may request to e ffective ly confirm
             the foregoing releases upon delivery to the Junior Collateral Agents of copies of such termination
             statements, releases and other documents used to effect such release with respect to the Collateral in
             which a Senior Claimholder has a Senior Lien secUting the Senjor Obligations from a Responsible Officer
             of the Top Borrower or the Directing Senior Collateral Agent and an officer's certificate of a Responsible
             Officer of the requesting party stating that such disposition has been consummated in compliance with the
             te rms of the Junior Financing Documents.

                               (c)     Until the Discharge of Senior Obligations occurs, each Junior Collateral Agent,
             for itself and on behalf of its Related Claimholders, hereby irrevocably constitutes and appoints the
             Directing Senior Collate ral Agent and any officer or agent of the Directing Senior Collateral Agent, with
             full power of substitution, as its true and lawful attorney-in-fact with fu ll irrevocable power and autho1ity
             in the place and stead of such Junior Collateral Agent or such Junior Claimholders or in the Directing
             Senior Collateral Agent's ow n name, from time to time in the Directing Senior Collate ral Agent's
             discretion, for the purpose of carrying out the te1ms of this Section 5. I, to take any and all appropriate
             action and to execute any and all documents and instruments which may be necessary to accomplish the
             purposes of this Section 5.1, including any endorsements or othe r instruments of transfer or re lease. This
             powe r is coupled with an inte rest and is irrevocable until the Discharge of Senior Obligations.

                             (d)      Until the Discharge of Senior Obligations occurs, to the extent that any Senior
             Collateral Agent or the other Senior Claimholde rs (i) have released any Lien on Collateral in which a
             Senior Claimholde r has a Senior Lien or any Obligor from its obligation under its guaranty and any such
             Liens or guaranty are later reinstated or (ii) obtain any additional guarantees from any Obligor or any
             Domestic Subsidiary of Holdings, the n each Junior Collateral Agent, for itself and on behalf of its Related
             Claimholders, shall be granted an additional guaranty.

                              5.2     Insurance and Condemnation Awards. Until the Discharge of Senior Obligations
             has occu1Ted, the Directing Senior Collateral Agent shall have the sole and exclusive right, subject to the
             rights of the Obligors under the Senior Financing Documents, to settle or adjust claims over any insurance
             policy covering the Collateral in which a Senior Claimholder has a Senior Lien in the event of any loss
             thereunde r and to approve any award granted in any condemnation or similar proceeding (or any deed in
             lieu of condemnation) affecting such Collateral. Until the Discharge of Senior Obligations has occurred,

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             and subject to the rights of the Obligors under the Senior Financing Documents, all proceeds of any such
             policy and any such award (or any payments w ith respect to a deed in lieu of condemnation) in respect of
             the Collateral in which a Senior Claimholder has a Senior Lien shall be paid to the Directing Senior
             Collateral Agent for the benefit of the Senior Claimholders pursuant to the te m1s of the Senior
             Documents, including any othe r inte rcreditor agreement among the Senior Collateral Agents (including,
             without limitation, for purposes of cash collateralization of commitments, Letters of Credit constituting
             Senior Obligations and obligations under Hedge Agreements governing any First Lien Secured Hedging
             Obligations constituting Senior Obligations) and thereafter, if the Discharge of Senior Obligations has
             occutTed, and subject to the rights of the Obligors under the Junior Financing Documents, to the Directing
             Junior Collateral Agent for the benefit of the Junior Claimholders to the extent required under the Junior
             Collateral Documents, and thereafter, if the Discharge of the Junior Obligations has occurred, to the
             owner of the subject property, as directed by the Top Borrower or as a court of competent j urisdiction
             may otherwise direct. Until the Discharge of Senior Obligations has occurred, if any Junior Collateral
             Agent or any other Junior Claimholders shall, at any time, receive any proceeds of any such insurance
             policy or any such award or payment in respect of Collateral in which a Senior Claimholder has a Senior
             Lie n in contravention of this Agreement, it shall segregate and hold in trust and forthwith pay such
             proceeds over to the Directing Senior Collateral Agent in accordance with the terms of Section 4.2. To the
             ex1.ent that an insured loss covers or constitutes both ABL Priority Collateral and Term Loan Priority
             Collateral, then the ABL Credit Agreement Collateral Agent and the Directing Term Loan Collateral
             Agent will ,vorkjointly and in good faith to collect, adjust or settle (subject to the rights of the relevant
             Obligors under the ABL Documents and the Term Loan Financing Documents) unde r the relevant
             insurance policy, w ith the proceeds thereof being applied in accordance w ith the provisions of Section 4.1
             of this Agreement.

                              5.3     Amendments to Financing Documents.

                              (a)     Subject to, in the case of the Term Loan Documents, the First Lien/Second Lien
             Intercreditor Agreement and any other inte rcreditor agreement among the Term Loan Claimholders,
             Financing Documents may be amended, restated, amended and restated, supplemented or otherwise
             modified in accordance with their terms, and the Financing Documents and any Obligations thereunder
             may be Refinanced, in each case, w ithout notice to, or the consent of any Collateral Agent or any other
             Claimholder, all without affecting the Lien subordination or other provisions of this Agreement; provided
             that the holders of such Refinancing debt bind themselves in a w riting addressed to the Collateral Agents
             and the other Claimholders to the terms of this Agreement or another intercreditor agreement that is
             reasonably satisfactory to the Collateral Agents, and any such amendment, restatement, amendment and
             restatement, supplement, modification or Refinancing shall not, contravene the provisions of this
             Agreement or any other Financing Document.

                              (b)      In the event that any Senior Collateral Agent enters into any amendment,
             restatement, amendment and restatement, supplement or other modification in respect of o r replaces any
             of the Senior Collateral Documents for purposes of adding to, or deleting from, or waiving or consenting
             to any departures from any provisions of any Senior Collateral Document or changing in any manner the
             rights of the applicable Senior Collateral Agent, the Senior Claimholders, or any Obligor thereunder, in
             each case in respect of the Collateral in which a Senior Claimholder has a Senior Lien (including the
             release of any Liens on such Collateral securing the Senior Obligations), then such an1endment,
             restatement, amendment and restatement, supplement or other modification in a manner that is applicable
             to all Senior Claimholders and all Senior Obligations shall apply automatically to any comparable
             provisions of each Comparable Junior Collateral Document without the consent of any Junior Collateral
             Agent, Junior Claimholder or any Obligor; provided, however that (1) such amendme nt, restatement,
             amendment and restatement, supplement or other modification does not (A) remove assets subject to any
             Lie ns on the Collateral securing any of the Junior Obligations or release any such Liens, except to the

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             extent such release is permitted or required by Section 5. I and provided there is a concurrent release of
             the corresponding Liens securing the Senior Obligations, (B) affect the rights or duties of any Junior
             Collateral Agent without its consent or (C) otherwise materially adversely affect the rights of the
             applicable Junior Claimholders o r the interest of the applicable Junior Claimholde rs in such Collateral and
             not the Senior Collateral Agent o r the Senior Claimholders that have a Senior Lien on the affected
             Collateral in a like manner, and (2) written notice of such amendment, restatement, amendment and
             restatement, supplement or other modification shall have been given to each Junior Collateral Agent
             within ten (10) Business Days of the effectiveness thereof (it being understood that the failure to deliver
             such notice shall not impair the effectiveness of any such amendment, restatement, amendment and
             restatement, supplement or other modification).

                             5.4     Confinnation of Subordination in Collateral Documents. (a) Each Tenn Loan
             Collateral Agent, on behalf of itself and its Re lated Claimholders, agrees that each Term Loan Collateral
             Docume nt shall include the following language (or language to similar effect approved by the ABL Credit
             Agreement Collateral Agent):

                              ''Notwithstanding anything herein to the contrary, the lien and security interest granted to
                              the Collateral Agent in the Collateral pursuant to this Agreement and the exercise of any
                              right or remedy by the Collateral Agent hereunde r are subject to the provisions of the
                              ABL lntercreditor Agreement, dated as of November 8, 2016 (as amended, restated,
                              amended and restated, supplemented or otherwise modified from time to time, the "ABL
                              lntercreditor Agreement"), an10ng UBS AG, Stamford Branch, as ABL Credit Agreement
                              Collateral Agent, UBS AG, Stamford Branch, as First Lien Credit Agreement Collateral
                              Agent and Goldman Sachs Bank USA, as Second Lien Credit Agreement Collateral
                              Agent, and certain other Persons party or that may become party thereto from time to
                              time and acknowledged and agreed to by Dawn Intermediate Inc., a Delaware
                              corporation, Serta Simmons Bedding, LLC, a Delaware limited liability company, the
                              other borrowers party thereto and the other obligors party thereto. In the event of any
                              conflict between the terms of the ABL Intercreditor Agreement and this Agreement, the
                              terms of the ABL lntercreditor Agreement shall govern and control."

                             (b)      The ABL Credit Agreement Collateral Agent, on behalf of itself and its Related
             Claimholders, agrees that each ABL Collateral Document shall include the following language (or
             language to similar effect approved by the Directing Te rn1 Loan Collate ral Agent):

                              ''Notw ithstanding anything herein to the contrary, the lien and security interest granted to
                              the Collateral Agent in the Collateral pursuant to this Agreement and the exercise of any
                              right or remedy by the Collateral Agent he reunde r are subject to the provisions of the
                              ABL Intercreditor Agreement, dated as of November 8, 2016 (as an1ended, restated,
                              amended and restated, supplemented or otherwise modified from time to time, the "ABL
                              lntercreditor Agreement"), an10ng UBS AG, Stamford Branch, as ABL Credit Agreement
                              Credit Collateral Agent, UBS AG, Stamford Branch, as First Lien Credit Agreement
                              Collateral Agent and Goldman Sachs Bank USA as Second Lien Credit Agreement
                              Collateral Agent, and certain other Pe rsons party or that may become party the reto from
                              time to time and acknO\vledged and agreed to by Dawn Intennediate Inc., a Delaware
                              corporation, Serta Simmons Bedding, LLC, a Delaware limited liability company, the
                              other borrowers patty thereto and the other obligors party thereto. ln the event of any
                              conflict between the terms of the ABL Intercreditor Agreement and this Agreement, the
                              terms of the ABL Jntercreditor Agreement shall govern and control."



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                               5.5    Gratuitous Bailee/Agent for Perfection: Shared Collate ral Documents.

                               (a)       Each Collateral Agent agrees to hold that part of the Collateral that is in its
             possession or control (or in the possession or control of its agents or bailees) to the extent that possession
             or control thereof is taken to perfect a Lien thereon under the UCC or other applicable law (such
             Collate ral being the "Pledged Collateral") as gratuitous bailee on behalf of and for the benefit of each
             other Collateral Agent (such bailment being intended, among other things, to satisfy the requirements of
             Sections 8-106(d)(3), 8-30 l (a)(2) and 9-3 13(c) of the UCC) sole ly for the purpose of perfecting, or
             improving the priority of, the security interest granted under the Collateral Documents, subject to the
             te rms and conditions of this Section 5 .5; provided that, in the case of any such possession or control of
             Collate ral by any Junior Collateral Agent, the foregoing shall not be deemed to be a waiver of any
             restriction set forth here in on such possession or control or of any breach by such Junior Collateral Agent
             of any tenns of this Agreement in respect of such possession or control.

                             (b)       Until the Discharge of Senior Obligations has occu1Ted, each Senior Collate ral
             Agent shall be entitled to deal with the Pledged Collateral that constitutes Collateral in which it has a
             Senior Lien in accordance with the terms of the Senior Financing Documents as if the Liens of any Junior
             Collateral Agent under the Junior Collate ral Documents did not exist. The rights of each Junior Collate ral
             Agent in Collateral in which it has a Junior Lien shall at all times be subject to the tenns of this
             Agreement and to each Senior Collate ral Agent's rights under the Senior Financing Documents.

                              (c)     No Collateral Agent shall have any obligation whatsoever to any Claimholde r to
             ensure that the Pledged Collateral is genuine or owned by any of the Obligors or to preserve rights or
             benefits of any Person with respect thereto exce pt as expressly set forth in this Section 5.5 or, in the case
             of any Junior Collateral Agent, the othe r provisions hereof (including the turnover provisions set forth in
             Section 4.2). The duties or responsibilities of each Collateral Agent under this Section 5.5 shall be limited
             solely to holding the Pledged Collateral as bailee in accordance with this Section 5.5 and, in the case of
             any Senior Collate ral Agent, de livering the Pledged Collateral to the Directing Junior Collate ral Agent
             upon a Discharge of Senior Obligations as provided in paragraph (e) be low or, in the case of any Junior
             Collateral Agent, delivering the Pledged Collateral to the Dire cting Senior Collateral Agent in accordance
             with the provisions hereof (including the turnove r provisions set forth in Section 4.2).

                                (d)     Each Collateral Agent, for itself and on behalf of its Related Clairnholders,
             hereby waives and releases each other Collateral Agent and each other Claimholder from all claims and
             liabilities arising pursuant to any Collateral Age nt's role under this Section 5.5 as gratuitous bailee and
             gratuitous agent with respect to the Pledged Collateral: provided that, in the case of any possession or
             control of any Pledged Collateral in which a Senior Claimholder has a Senior Lien by any Junior
             Collate ral Age nt, the foregoing shall not be deemed to be a waiver of any restriction set forth herein on
             such possession or control or of any breach by such Junior Collateral Agent of any terms of this
             Agreement in respect of such possession or control. None of the Tenn Loan Collateral Agents or any
             othe r Te rm Loan Claimholders shall have by reason of the Term Loan Collateral Documents, the ABL
             Collateral Documents, the Shared Collateral Documents, this Agreement or any other document, a
             fiduciary relationship in respect of the ABL Credit Agreement Collateral Agent or any other ABL
             Claimholder, and it is understood and agreed that the interests of the Term Loan Collateral Agents and the
             othe r Tem1 Loan Clairnholders, on the one hand, and the ABL Credit Agreement Collateral Agent and the
             other ABL Claimholders, on the other hand, may differ and that the Term Loan Collateral Agents and the
             othe r Term Loan Clairnholders shall be fu lly entitled to act in their own interest without taking into
             account the interests of the ABL Credit Agreement Collateral Agent or the other ABL Claimholders.
             Neithe r the ABL Credit Agreement Collate ral Age nt nor any other ABL Claimholders shall have by
             reason of the ABL Collateral Documents, the Te1m Loan Collateral Documents, the Shared Collateral
             Documents, this Agreement or any other document, a fiduciary relationship in respect of any Term Loan

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             Collateral Agent or any other Term Loan Claimholde r, and it is understood and agreed that the interests of
             the ABL Credit Agreement Collateral Agent and the other ABL Claimholde rs, on the one hand, and the
             Tenn Loan Collateral Agents and the other Tenn Loan Claimholders, on the other hand, may differ and
             that the ABL Credit Agreement Collateral Agent and the other ABL Claimholders shall be fully entitled
             to act in their own interest without taking into account the interests of the Term Loan Collateral Agents or
             the other Tenn Loan Claimholders.

                              (e)      Upon the Discharge of Senior Obligations, each Senior Collateral Agent shall
             deliver the remaining Pledged Collateral in its possession or control (if any) (or proceeds thereof) together
             with any necessary endorsements (such endorsement shall be without recourse and ,vithout any
             representation or warranty), first, to the Directing Junior Collateral Agent, to the extent the Discharge of
             Junior Obligations has not occurred and second, upon the Discharge of Junior Obligations, to the Obligors
             to the extent no Obligations remain outstanding (in each case, so as to allow such Person to obtain
             possession or control of such Pledged Collateral) or as a court of competent jurisdiction may otherwise
             direct. Following the Discharge of Senior Obligations, each Senior Collateral Agent further agrees to
             take, at the expense of the Obligors (which expense reimbursement shall be subject to the provisions of
             the applicable Senior Document), all other actions reasonably requested by the Directing Junior Collateral
             Agent in connection with the Directing Junior Collateral Agent obtaining a first-priority interest in the
             Pledged Collateral that is in such Senior Collateral Agent's possession or control.

                               5.6     When Discharge of Obligations Deemed to Not Have Occurred . If, substantially
             concurrently with or after the Discharge of the Obligations of any Series having occurred, any Borrower
             or any other Obligor enters into any Refinancing of any Financing Document evidencing a Obligation of
             such Series, which Refinancing is permitted hereby and by the terms of the other Financing Documents,
             then such Discharge shall automatically be deemed not to have occurred for all purposes of this
             Agreement (othe r than w ith respect to any action taken as a result of the occurrence of such Discharge
             prior to the Refinancing of such Obligations), and the obligations under such Refinancing of such
             Financing Document shall automatically be treated as Obligations of the Refinanced Series for all
             purposes of this Agreement, including for purposes of the Lien priorities and rights in respect of
             Collateral set fo1th herein, and the New Senior Agent shall be a Collateral Agent of such Refinanced
             Series (and, if applicable in accordance with the definition of such te rm, the Directing Senior Collateral
             Agent or Directing Junior Collateral Agent) for all purposes of this Agreement. Upon receipt of a notice
             from any Borrower or any other Obligor stating that a Borrower or such other Obligor has ente red into a
             Refinancing of any Financing Document (which notice shall include the identity of the new senior
             collateral agent (such agent, the "New Senior Agent")), each Collateral Agent shall promptly (a) enter
             into such documents and agreements (including amendments or supplements to, or amendment and
             restatement of, this Agreement) as such Borrower, such other Obligor or the New Senior Agent shall
             reasonably request in order to provide to the New Senior Agent the rights contemplated hereby, in each
             case consistent in all mate rial respects with the te1ms of this Agreement, and (b) in the case of each Junior
             Collateral Agent only, deliver to the New Senior Agent (if it is the Directing Senior Collateral Agent) any
             Pledged Collateral in which the New Senior Agent is to have a Senior Lien held by it together with any
             necessary endorsements (or otherwise allow the New Senior Agent to obtain control of such Pledged
             Collateral). The New Senior Agent shall agree in a writing addressed to the other Collateral Agents and
             the other Claimholder to be bound by the tenns of this Agreement, for itself and on behalf of its Related
             Senior Claimholde rs.

                              5. 7    [Reserved].

                             5.8      Consent to License to Use lntellectual Propertv. Each Te1m Loan Collateral
             Agent, on behalf of its Respective Claimholders (a) consents (without any representation, warranty or
             obligation whatsoever) to the grant by any Obligor to the ABL Credit Agreement Collateral Agent of a

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             non-exclusive royalty-free license to use, subject to any limitations and restiictions in any re levant ABL
             Collateral Document, for a pe riod not to exceed 180 days (commencing with the initiation of any
             enforcement of Liens by any of the Term Loan Collateral Agents (provided, in each case, that the ABL
             Credit Ag reement Collateral Agent has received notice thereof) or the ABL Credit Agreement Collateral
             Agent) any Patent, Trademark o r proprietary info1mation of such Obligor that is subject to a Lien held by
             any Term Loan Collateral Agent (or any Patent, Trademark or proprietary information acquired by such
             purchaser, assignee or transfe ree from any Obligor, as the case may be) and (b) to the extent, if any, it has
             sufficient rights therein to do so, grants, in its capacity as a secured party (or as a purchaser, assignee or
             transferee, as the case may be), to the ABL Credit Agreement Collateral Agent a non-exclusive royalty-
             free license to use for a period not to exceed 180 days (commencing w ith (x) the initiation of any
             enforcement of Liens by any Collateral Agent or (y) the purchase, assignment or transfer, as the case may
             be (provided, in each case, that the ABL Credit Agreement Collateral Agent has received notice thereof))
             any Patent, Trademark or proprietary information that is subje ct to a Lien held by any Term Loan
             Collateral Agent (or subject to such purchase, assignment or transfer, as the case may be), in each case in
             connection with the enforcement of any Lien held by the ABL Credit Agreement Collateral Agent upon
             any Invento1y or other ABL P1iority Collateral of any Obligor and to the exte nt the use of such Patent,
             Trademark or proprietary information is necessary or appropriate, in the good faith opinion of the ABL
             Credit Agreement Collateral Agent, to process, ship, produce, store, complete, supply, lease, sell or
             otherwise dispose of any such lnvento1y in any lawful manner. The 180 day license pe riods shall be
             tolled during the pendency of any Insolvency or Liquidation Proceeding of any Obligor pursuant to which
             the ABL Credit Agreement Collateral Agent is effectively stayed from enforcing its rights and re medies
             v,1ith respect to the ABL Priority Collateral.

                               5.9      Access to Information. If any Tem1 Loan Collateral Agent takes actual
             possession of any documentation of an Obligor (whether such documentation is in the fo1m of a w riting
             or is stored in any data equipment or data record in the physical possession of any Term Loan Collate ral
             Agent), then upon the reasonable request of the ABL Credit Agreement Collateral Agent and reasonable
             advance notice, the Term Loan Collateral Agents will pe1mit the ABL Credit Agreement Collateral Agent
             or its representative to inspect and copy such documentation.

                               5.10    Access to Property to Process and Sell Inventory. (a) (i) If the ABL Credit
             Agreement Collateral Agent commences any action or proceeding with respect to any of its rights or
             remedies (including any action of foreclosure but excluding any exercise of rights solely in connection
             ,,,ith the occurrence and continuation of a Cash Dominion Period, as such te1m is defined in the ABL
             Credit Agreement (as in effect on the date hereof)), enforcement, collection or execution with respect to
             the ABL Priority Collate ral (" ABL Prio1itv Collate ral Enforcement Actions") or if any Tem1 Loan
             Collateral Agent commences any action or proceed ing with respect to any of its rights o r remedies
             (including any action of foreclosure), enforcement, collection or execution with respect to the Term Loan
             Priority Collateral, and such Te rm Loan Collate ral Agent (or a purchaser at a foreclosure sale conducted
             in foreclosure of any Liens of any Term Loan Collateral Agent) takes actual or constructive possession of
             Tenn Loan Priority Collateral of any Obligor ("Term Loan Priority Collateral Enforcement Actions"),
             then the applicable Te1m Loan Claimholders shall (subject to, in the case of any Term Loan P1iority
             Collateral Enforcement Action, a prior written request by the ABL Credit Agreement Collateral Agent to
             the applicable Tenn Loan Collateral Agent (the "Term Loan Priority Collateral Enforcement Action
             Notice")) (x) cooperate with the ABL Credit Agreement Collate ral Agent (and w ith its officers,
             employees, representatives and agents) in its efforts to conduct ABL Priority Collateral Enforcement
             Actions in the ABL P1iority Collateral and to finish any work-in-process and process, ship, produce,
             store , complete, supply, lease, sell or otherw ise handle, deal with, asse mble or dispose of, in any lawful
             manner, the ABL Priority Collateral, (y) not hinder or restrict in any respect the ABL Credit Agreement
             Collateral Agent from conducting ABL Priority Collate ral Enforcement Actions in the ABL Priority
             Collateral or from finishing any work-in-process or processing, shipping, producing, storing, completing,

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             supplying, leasing, se lling or otherwise handling, dealing with, assembling or disposing of, in any lawful
             manner, the ABL Priority Collateral, and (z) permit the ABL Credit Agreement Collate ral Agent, its
             employees, agents, advisers and representatives, at the cost and expense of the ABL Claimholders, to
             enter upon and use the Term Loan P1iority Collateral (including equipment, processors, compute rs and
             other machinery related to the storage or processing of records, documents or fil es and intellectual
             property), for a period commencing on (I) the date of the initial ABL Priority Collate ral Enforcement
             Action or the date of delivery of the Te rm Loan Priority Collateral Enforcement Action Notice, as the
             case may be, and (II) ending on the earlier of the date occurring 180 days thereafter and the date on which
             all ABL Priority Collateral (other than ABL Priority Collateral abandoned by the ABL Credit Agreement
             Collateral Agent in w riting) has been removed from the Te m1 Loan Priority Collateral (such pe riod, the
             "ABL Priority Collateral Processing and Sale Period"), for purposes of:

                                      (A)     assembling and storing the ABL Priority Collateral and completing the
                      processing of and turning into finished goods any ABL Priority Collate ral consisting of work-in-
                      process;

                                      (B)    selling any or all of the ABL Priority Collate ral located in or on such
                      Term Loan P1iority Collateral, whether in bulk, in lots or to customers in the ordinary course of
                      business or otherwise;

                                       (C)     removing and transporting any or all of the ABL Priority Collateral
                      located in or on such Term Loan P1iority Collateral;

                                       (D)      otherwise processing, shipping, producing, storing, completing,
                      supplying, leasing, selling or otherwise handling, dealing with, assembling or disposing of, in any
                      lawful manne r, the ABL Priority Collateral; and/or

                                       (E)     taking reasonable actions to protect, secure, and otherwise enforce the
                      rights or remedies of the ABL Claimholders and/or the ABL Credit Agreement Collate ral Agent
                      (including with respect to any ABL Priority Collate ral Enforce ment Actions) in and to the ABL
                      P1iority Collateral ;

             provided, however, that nothing contained in this Agreement shall restrict the rights of any Term Loan
             Collateral Agent from selling, assigning or othe rwise transferring any Term Loan Priority Collate ral prior
             to the expiration of such ABL Priority Collateral Processing and Sale Period if the purchaser, assignee or
             transferee thereof agrees in writing (for the benefit of the ABL Credit Agreement Collateral Agent and the
             ABL Claimholders) to be bound by the provisions of this Section 5.10. If any stay or other order
             prohibiting the exercise of remedies v,1ith respect to the ABL P1iority Collate ral has been entered by a
             court of competent jurisdiction, such ABL Priority Collateral Processing and Sale Period shall be tolled
             during the pendency of any such stay or othe r orde r.

                               (ii)     During the period of actual occupation, use and/or control by the ABL
                      Clairnholders and/or the ABL Credit Agreement Collateral Agent (or the ir respective employees,
                      agents, advise rs and representatives) of any Term Loan Priority Collateral, the ABL Claimholders
                      and the ABL Credit Agreement Collateral Agent shall be obligated to repair at their expense any
                      physical damage to such Te rm Loan Priority Collate ral resulting from such occupancy, use or
                      control, and to leave such Te rm Loan Priority Collateral in substantially the same condition as it
                      was at the commencement of such occupancy, use or control, ordinary wear and tear excepted .
                      Notwithstanding the foregoing, in no event shall the ABL Claimholders or the ABL Credit
                      Agreement Collateral Agent have any liability to the Te1m Loan Claimholders pursuant to this
                      Section 5 .1 O(a) as a result of any condition (including any environmental condition, claim or

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                     liability) on or with respect to the Term Loan Priority Collateral existing prior to the date of the
                     exercise by the ABL Claimholders of their 1ights unde r this Section 5. I0(a) and the ABL
                     Claimholders shall have no duty or liability to maintain the Term Loan Priority Collateral in a
                     condition or manner better than that in which it was maintained prior to the use thereof by the
                     ABL Claimholders, or for any diminution in the value of the Te rm Loan Prio1ity Collateral that
                     results from ordinary wear and tear resulting from the use of the Tem1 Loan Priority Collateral by
                     the ABL Claimholders in the manner and for the time periods specified under this Section
                     5.10(a). Without limiting the rights granted in this Section 5.10(a), the ABL Claimholders shall
                     cooperate with the Term Loan Claimholders in connection with any efforts made by the Te1m
                     Loan Claimholders to sell the Te m1 Loan P1iority Collateral.

                                (b)    1l1e ABL Claimholders shall (i) use the Tem1 Loan Priority Collateral in
             accordance with applicable law; (ii) obtain insurance for damage to property and liability to persons,
             including property and liability insurance, substantially similar to the insurance maintained by the
             Obligors, naming each of the Term Loan Collateral Agents as mortgagee, loss payee and additional
             insured, at no cost to the Te1m Loan Claimholders, but only to the extent such insurance is not otherwise
             in effect; and (iii) indemnify the Term Loan Claimholders from any claim, loss, damage, cost or liability
             arising out of any claim asserted by any third party as a result of any acts or omissions by the ABL Credit
             Agreement Collateral Agent, or any of its agents or representatives, in connection with the exercise by the
             ABL Claimholders of their rights of access set forth in this Section 5.l 0. In no event shall any ABL
             Claimholders have any liability to the Term Loan Claimholders pursuant to this Section 5 .1 0(b) or
             otherwise as a result of any condition on or with respect to the Te m1 Loan P1iority Collateral existing
             prior to the date of the exercise by the ABL Claimholde rs of the ir access rights under this Section 5.l0(b),
             and the ABL Claimholders shall have no duty or liability to maintain the Tem1 Loan Priority Collateral in
             a condition or manner better than that in which it was maintained prior to the access and/or use thereof by
             the ABL Claimholders.

                               (c)      Each of the Tem1 Loan Collateral Agents (x) shall, at the request of the ABL
             Credit Agreement Collateral Agent, provide reasonable cooperation to the ABL Credit Agreement
             Collateral Agent in connection with the manufacture, production, completion, handling, removal and sale
             of any ABL Priority Collateral by the ABL Credit Agreement Collateral Agent as provided above and
             (y) shall be entitled to receive, from the ABL Credit Agreement Collateral Agent, fair compensation and
             reimburse me nt for their reasonable costs and expenses incurred in connection with such cooperation,
             suppo1t and assistance to the ABL Credit Agreement Collateral Agent. Each of the Term Loan Collateral
             Agents and/or any such purchaser (or its transferee or successor) shall not otherwise be required to
             manufacture, produce, complete, remove, insure, protect, store, safeguard, sell or deliver any lnvento1y
             subject to any Lien held by the ABL Credit Agreement Collateral Agent or to provide any support,
             assistance or cooperation to the ABL Credit Agreement Collateral Agent in respect thereof.

                             5.11      Obligor Consent. Each Obligor consents to the performance by each of the Te rm
             Loan Collateral Agents of the obligations set forth in Sections 5 .8, 5 .9 and 5 .10 and acknowledges and
             agrees that no Term Loan Claimholder shall ever be accountable or liable for any action taken or omitted
             by any ABL Claimholder or its or any of the ir officers, employees, agents successors or assigns in
             connection therev,1ith or incidental the reto or in consequence thereof.

                              SECTION 6.        Insolvency or Liquidation Proceedings.

                              6.1     Finance and Sale Issues.

                              (a)     Until the Discharge of Term Loan Obligations has occurred, if any Obligor shall
             be subject to any Insolvency or Liquidation Proceeding and the Directing Term Loan Collateral Agent

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             shall desire to permit the use of "Cash Collateral" (as such tenn is defined in Section 363(a) of the
             Bankruptcy Code or any similar Debtor Relief Law) constituting Tenn Loan Priority Collateral or to
             permit any Obligor to obtain financing, whether from the Term Loan Claimholders or any other Person,
             under Section 364 of the Bankruptcy Code or any similar Debtor Relief Law, that is (i) senior or pari
             passu with the Liens on the Tenn Loan Priority Collateral securing the Term Loan Obligations and (ii)
             junior to the Liens on the ABL Priority Collateral securing the ABL Obligations (each a "Term Loan
             DIP Financing"), the n the ABL Credit Agreement Collateral Agent, on behalf of itself and its Related
             Claimholders, agrees that it and its Related Claimholders will raise no objection to, or oppose or contest
             (or join with or support any third party opposing, objecting or contesting), such Cash Collateral use or
             Tenn Loan DIP Financing (including any proposed orders for such Cash Collateral use and/or Term Loan
             DIP Financing which are acceptable to the Directing Term Loan Collateral Agent) and it and its Related
             Claimholders will be deemed to have consented to such Cash Collateral use or Term Loan DIP Financing
             (including such proposed orders), and to the ex1ent the Liens on the Tenn Loan Priority Collateral
             securing the Term Loan Obligations are subordinated to or pari passu with such Term Loan DIP
             Financing, the ABL Credit Agreement Collateral Agent will subordinate its Liens on the Term Loan
             Priority Collateral to the Liens securing such Tenn Loan DIP Financing (and all obligations relating
             thereto and any customary "carve-out" agreed to on behalf of the Tenn Loan Claimholders by the
             Directing Tenn Loan Collateral Agent) and to all adequate protection Liens granted to the Te m1 Loan
             Claimholders on property of the type constituting Te nn Loan Priority Collateral on the same basis as the
             Liens securing the ABL Obligations are subordinated to the Liens on the Tenn Loan P1iority Collateral
             securing the Term Loan Obligations under this Agreement and will not request adequate protection or any
             other relief in connection therewith (except as expressly agreed by the Directing Te m1 Loan Collateral
             Agent or to the extent pem1itted by Section 6.3); provided that (i) the aggregate principal amount of
             Indebtedness for borrowed money under such Te m1 Loan DIP Financing plus the aggregate outstanding
             principal amount of Indebtedness for borrowed money under the Tenn Loan Financing Documents
             (which, for the avoidance of doubt, excludes any Term Loan Other Obligations) plus the aggregate face
             amount of any First Lien Letters of Credit (except any portion thereof that is no longer available for
             drawing as a result of any disbursement thereunder that has been re imbursed) does not exceed the Tenn
             Loan DIP Cap Amount, (ii) the ABL Credit Agreement Collateral Agent and the other ABL Claimholders
             retain a Lien on the Collateral to secure the ABL Obligations, and, with respect to the ABL Priority
             Collateral only, with the same priority as existed prior to the commencement of the Insolvency or
             Liquidation Proceeding, (iii) the foregoing provisions of this Section 6. l(a) shall not prevent the ABL
             Credit Agreement Collateral Agent and the ABL Claimholders from objecting to any provision in any
             Tenn Loan DIP Financing relating to any provision or content of a plan of reorganization or liquidation
             that are inconsistent with this Agreement and (iv) the tem1s of such Tem1 Loan DIP Financing or such use
             of Cash Collateral do not require any Obligor to seek any approval for any plan of reorganization or
             liquidation that is inconsistent with the te nns of this Agreement.

                                      (b)      Until the Discharge of ABL Obligations has occurred, if any Obligor
             shall be subject to any Insolvency or Liquidation Proceeding and the ABL Credit Agreement Collateral
             Agent shall desire to pennit the use of "Cash Collateral" (as such term is defined in Section 363(a) of the
             Bankruptcy Code or any similar Debtor Re lief Law) constituting ABL Priority Collateral or to permit any
             Obligor to obtain financing, whether from the ABL Claimholders or any other Person, under Section 364
             of the Bankruptcy Code or any similar Debtor Relief Law, that is (i) senior or pari passu with the Liens on
             the ABL Priority Collateral securing the ABL Obligations and (ii) j unior to the Liens on the Tenn Loan
             Priority Collateral securing the Te rm Loan Obligations (each a "ABL DIP Financing"), then each Tenn
             Loan Collateral Agent, on behalf of itself and its Related Claimholders, agrees that it and its Related
             Claimholders will raise no objection to, or oppose or contest (or join with or support any third party
             opposing, objecting or contesting), such Cash Collateral use or ABL DIP Financing (including any
             proposed orders for such Cash Collateral use and/or ABL DIP Financing which are acceptable to the ABL
             Credit Agreement Collateral Agent) and it and its Related Claimholders will be deemed to have consented

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             to such Cash Collateral use or ABL DIP Financing (including such proposed orde rs), and to the extent the
             Lie ns on the ABL Priority Collateral securing the ABL Obligations are subordinated to or par; passu with
             such ABL DIP Financing, each Tenn Loan Collateral Agent will subordinate its Liens on the ABL
             Priority Collateral to the Liens securing such ABL DIP Financing (and all obligations relating thereto and
             any customary "carve-out" agreed to on behalf of the ABL Claimholde rs by the ABL Credit Agreement
             Collateral Agent) and to all adequate protection Liens granted to the ABL Claimholders on property of
             the type constituting ABL Prio1ity Collateral on the same basis as the Liens securing the Term Loan
             Obligations are subordinated to the Liens on the ABL Priority Collateral securing the ABL Obligations
             under this Agreement and will not request adequate protection or any other relief in connection the rewith
             (except as expressly agreed by the ABL Credit Agreeme nt Collateral Agent or to the extent permitted by
             Section 6.3)~provided that (i) the aggregate principal a.mount oflndebtedness for borrowed money under
             such ABL DIP Financing plus the aggregate outstanding principal a.mount of Indebtedness for borrowed
             money under the ABL Financing Docume nts (which, for the avoidance of doubt, excludes any ABL
             Other Obligations) plus the aggregate face a.mount of any ABL Letters of Credit (except any portion
             thereof that is no longer available fo r drawing as a result of any disburseme nt the reunder that has bee n
             reimbursed) does not exceed the ABL DIP Cap Amount, (ii) each Term Loan Collateral Agent and the
             other Tem1 Loan Claimholders retain a Lien on the Collateral to secure the Term Loan Obligations, and,
             with respect to the Te1m Loan Priority Collateral only, with the same priority as existed prior to the
             comme ncement of the Insolvency or Liquidation Proceeding, (iii) the fo regoing provisions of this Section
             6. l(b) shall not prevent the Tenn Loan Collateral Agents and the Tenn Loan Claimholders from objecting
             to any provision in a ny ABL DIP Financing relat ing to any provision or content of a plan of
             reorganization or liquidation that are inconsistent with this Agreement and (iv) the terms of such ABL
             DIP Financing or use of Cash Collateral do not require any Obligor to seek any approval for any plan of
             reorganization or liquidation that is inconsiste nt with the te rms of this Agreement.

                                        (c)    Each Junior Collateral Agent, for itself and on behalf of its Related
             Claimholders, agrees that it and its Related Claimholders will not seek consultation rights in connection
             with, and will raise no objection or oppose or contest (or join '"'ith or suppo1t any third party objecting,
             opposing or contesting), a motion to sell, liquidate or otherwise Dispose of Collateral in which the Junior
             Claimholders have a Junior Lien under Section 363 of the Bankmptcy Code if the requisite Senior
             Claimholders have consented to such sale, liquidation or other Disposition; provided that (1) to the extent
             the net cash proceeds of such sale or other Disposition are used to pay the principal a.mount of
             Indebtedness for borrowed money constituting Senior Obligations, or to reimburse disbursements unde r,
             or ca.sh collateralize the face amount of, the Letters of Credit constituting Senior Obligations, the Liens of
             the Junior Claimholders shall attach to any remaining proceeds and (2) such motion does not impair the
             rights of the Junior Cla.imholders under Section 363(k) of the Bankruptcy Code; and provided, furthe r,
             howe ver, that the Junior Claimholders may assert any objection with respect to any proposed orde rs to
             retain professionals or set bid or related procedures in connection with such sale, liquidation or
             Disposition that may be raised by an unsecured creditor of the Obligors.

                              6.2      Relief from the Automatic Stay. Until the Discharge of Senior Obligations has
             occurred, each Junior Collateral Agent, on behalf of itself and its Related Claimholders agrees that none
             of them shall (a) seek (or support any other Person seeking) relief from or modification of the automatic
             stay or any other stay in any Insolvency or Liquidation Proceeding in respect of any of the Collateral in
             which a Junior Claimholder has a Junior Lien, in each case without the prior written consent of the
             Directing Senior Collateral Agent, or (b) oppose (or support any other Person in opposing) any request by
             any Senior Collateral Agent for relief from or modification of such stay.




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                              6.3    Adequate Protection.

                            (a)      TI1e ABL Credit Agreement Collateral Agent, on behalf of itself and its Related
             Claimholders, agrees that none of them shall contest (or support any other Person contesting):

                             (i)    any request by any Te1m Loan Collateral Agent or the other Te rm Loan
                     Claimholders for adequate protection with respect to the Te rm Loan Priority Collateral unde r any
                     Debtor Relief Law; or

                              (ii)   any objection by any Te1m Loan Collateral Agent or the other Te rm Loan
                     Claimholders to any motion, relief, action or proceeding based on such Tem1 Loan Collateral
                     Agent or the other Tem1 Loan Claimholders claiming a lack of adequate protection with respect
                     to the Term Loan Prio1ity Collateral.

                             (b)     Notwithstanding the foregoing provisions in Section 6.3(a), in any Insolvency or
             Liquidation Proceeding:

                               (i)    if the Te1m Loan Claimholders (or any subset thereof) are granted adequate
                     protection with respect to the Te1m Loan Priority Collateral in the form of a Lien on additional or
                     replacement collateral in connection with any use of Cash Collateral or DIP Financing, then the
                     ABL Credit Agreement Collateral Agent, on behalf of itself and its Related Claimholders, may
                     seek or request adequate protection in the form of a Lien on such additional or replacement
                     collateral, which Lien will be subordinated to the Liens securing the Term Loan Obligations and
                     such use of Cash Collateral or DIP Financing (and all obligations relating thereto) on the same
                     basis as the other Liens securing the ABL Obligations are so subordinated to the Liens on the
                     Term Loan Priority Collateral seeming the Te rm Loan Obligations unde r this Agreement; and

                               (ii)   the ABL Credit Agreement Collateral Agent and the other ABL Claimholders
                     shall only be pe1mitted to seek adequate protection with respect to their respective rights in the
                     Tenn Loan Priority Collateral in any Insolvency or Liquidation Proceeding in the fonn of (A)
                     additional collateral; provided that as adequate protection for the Term Loan Obligations, each
                     Term Loan Collateral Agent, on behalf of itse lf and its Related Claimholders, is also granted a
                     Lien on such additional collateral that is senior to any Lien granted to the ABL Credit Agreement
                     Collateral Agent and the other ABL Claimholders; (B) replacement Liens on the Te rm Loan
                     Priority Collateral; provided that as adequate protection for the Term Loan Obligations, each
                     Tenn Loan Collateral Agent, on behalf of itself and its Related Claimholders, is also granted
                     replacement Liens on the Tenn Loan Priority Collateral that are senior to any Lien granted to the
                     ABL Credit Agreement Collateral Agent and the other ABL Claimholders; (C) an administrative
                     expense claim in respect of the Te1m Loan Priority Collateral; provided that as adequate
                     protection for the Term Loan Obligations, each Tem1 Loan Collateral Agent, on behalf of itself
                     and its Related Claimholders, is also granted an administrative expense claim that is senior and
                     prior to the administrative expense claim of the ABL Credit Agreement Collateral Agent and the
                     other ABL Claimholders; (D) cash payments made with Te1m Loan Prio1ity Collateral with
                     respect to current fees and expenses; provided that (1) as adequate protection for the Term Loan
                     Obligations, each Tenn Loan Collateral Agent, on behalf of itself and its Related Claimholders, is
                     also granted cash payme nts made with Term Loan Priority Collateral with respect to current fees
                     and expenses and (2) each Term Loan Collateral Agent may object to the an1ounts offees and
                     expenses sought by the ABL Credit Agreement Collateral Agent and the other ABL
                     Claimholders; and (E) cash payments made with Term Loan Priority Collateral with respect to
                     interest on the ABL Obligations; provided that (1) as adequate protection for the Tem1 Loan
                     Obligations, each Term Loan Collateral Agent, on behalf of itself and its Related Claimholders, is

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                      also granted cash payments made with Term Loan Priority Collateral with respect to interest on
                      the Term Loan Obligation represented by it, and (2) such cash payments do not exceed an amount
                      equal to the interest accruing on the principal amount of ABL Obligations outstanding on the date
                      such re lief is granted at the interest rate under the applicable ABL Documents and accruing from
                      the date the ABL Credit Agreement Collate ral Age nt is granted such relief.

                            (c)      Each Term Loan Collateral Agent, on behalf of itself and its Related
             Claimholders, agrees that none of them shall contest (or support any other Pe rson contesting):

                              (i)    any request by the ABL Credit Agreement Collateral Agent or the other ABL
                      Claimholders for adequate protection with respect to the ABL Priority Collateral under any
                      Debtor Relief Law; or

                               (ii)   any objection by the ABL Credit Agreement Collateral Agent or the other ABL
                      Claimholders to any motion, relief, action or proceeding based on the ABL Credit Agreement
                      Collateral Agent or the other ABL Claimholde rs claiming a lack of adequate protection with
                      respect to the ABL Priority Collateral.

                             (d)     Notwithstanding the foregoing provisions in Section 6.3(c), in any Insolvency or
             Liquidation Proceeding:

                                (i)    if the ABL Claimholders (or any subset thereof) are granted adequate protection
                      with respect to the ABL Priority Collateral in the form of a Lien on additional or replacement
                      collateral in connection with any use of Cash Collateral or DIP Financing, then each Te rm Loan
                      Collateral Agent, on behalf of itself and its Related Claimholders, may seek or request adequate
                      protection in the form of a Lie n on such additional or replacement collate ral, which Lien will be
                      subordinated to the Liens seeming the ABL Obligations and such use of Cash Collateral or DIP
                      Financing (and all obligations relating the reto) on the same basis as the other Liens securing the
                      Tenn Loan Obligations are so subordinated to the Liens on the ABL Priority Collateral securing
                      the ABL Obligations under this Agreeme nt; and

                                (ii)    each Term Loan Collateral Agent and the other Term Loan Claimholders shall
                      only be permitted to seek adequate protection with respect to their respective rights in the ABL
                      Priority Collateral in any Insolvency or Liquidation Proceeding in the form of (A) additional
                      collate ral; provided that as adequate protection for the ABL Obligations, the ABL Credit
                      Agreement Collateral Agent, on behalf of itself and its Related Claimholders, is also granted a
                      Lie n on such additional collateral that is senior to any Lien granted to the Tenn Loan Collateral
                      Agents and the other Term Loan Claimholde rs; (B) replacement Liens on the ABL Priority
                      Collateral; provided that as adequate protection for the ABL Obligations, the ABL Credit
                      Agreement Collateral Agent, on behalf of itself and its Related Claimholders, is also granted
                      replacement Liens on the ABL Priority Collateral that are senior to any Lien granted to the Term
                      Loan Collateral Agents and the othe r Term Loan Claimholders; (C) an administrative expense
                      claim in respect of the ABL Priority Collateral; provided that as adequate protection for the ABL
                      Obligations, the ABL Credit Agreement Collateral Agent, on behalf of itself and its Related
                      Claimholders, is also granted an administrative expense claim that is senior and prior to the
                      administrative expense claim of the Term Loan Collateral Agents and the other Te rm Loan
                      Claimholders; (D) cash payments made with ABL P1iority Collateral with respect to cun-ent fees
                      and expenses; provided that (1) as adequate protection for the ABL Obligations, the ABL Credit
                      Agreement Collateral Agent, on behalf of itself and its Related Claimholders, is also granted cash
                      payments made with ABL Priority Collateral with respect to cun-ent fees and expenses and (2)
                      each ABL Collate ral Agent may object to the amounts of fees and expenses sought by the Term

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                     Loan Collate ral Agents and the other Term Loan Claimholders; and (E) cash payments made w ith
                     ABL Priority Collateral w ith respect to interest on the Term Loan Obligations; provided that (1)
                     as adequate protection for the ABL Obligations, the ABL Credit Agreement Collateral Agent, on
                     behalf of itself and its Related Claimholders, is also granted cash payments made w ith ABL
                     Priority Collateral with respect to interest on the ABL Obligation represented by it, and (2) such
                     cash payments do not exceed an amount equal to the interest accruing on the principal amount of
                     Term Loan Obligations outstanding on the date such relief is granted at the inte rest rate under the
                     applicable Tem1 Loan Documents and accruing from the date the Term Loan Collateral Agents
                     are granted such relief.

                               6.4       No Waiver. Subject to Section 6.7(b). nothing contained herein shall prohibit or
             in any way limit any Senior Collateral Agent or any other Senior Claimholder from objecting in any
             Insolvency or Liquidation Proceeding or otherwise to any action taken by any Junior Collateral Agent or
             any other Junior Cla imholde rs, including the seeking by any Junior Collateral Agent or any other Junior
             Claimholders of adequate protection or the asserting by any Junior Collateral Agent or any other Junior
             Claimholders of any of its rights and remedies under the Junior Financing Documents or otherwise, in
             each case in respect of such Junior Claim holder's Liens in respect of the Collateral in which a Junior
             Claimho lder has a Junior Lien . Without limiting the foregoing, notwithstanding anything herein to the
             contrary, the Senior Claimholde rs shall not be deemed to have consented to, and expressly retain thei r
             rights to object to, the g rant of adequate protection in the form of cash payme nts to the Junior
             Claimholders made pursuant to Section 6.3(b) or@, as applicable.

                               6.5    Reinstatement. If any Senior Claimholder of any Series is required in any
             Insolvency or Liquidation Proceeding or otherwise to tum over or otherwise pay to the estate of any
             Obligor any amount paid in respect of its Senior Obligations (a "Recovery"), then such Senior
             Claimholder shall be entitled to a reinstatement of its Senior Obligations w ith respect to all such
             recovered amounts on the date of such Recovery, and from and after the date of such reinstatement the
             Discharge of such Se1ies of Senior Obligations and the Discharge of such Series of Term Loan
             Obligations or the Discharge of ABL Obligations, as applicable, shall be deemed not to have occurred for
             all purposes he reunder. If this Agreement shall have been terminated prior to such Recove1y , this
             Agreement shall be reinstated in full force and effect, and such prior te1mination shall not diminish,
             release, discharge, impair or otherwise affect the obligations of the parties hereto from such date of
             reinstateme nt. Any amounts received by any Junior Collateral Agent o r any other Junior Claimholder on
             account of the Junior Obligations after the termination of this Agreement shall, upon a reinstatement of
             this Agreement pursuant to this Section 6.5, be held in trust for and paid over to the Directing Senior
             Collateral Agent for the benefit of the Senior Claimholders, for application to the re instated Senior
             Obligations. This Section 6.5 shall survive termination of this Agreement.

                               6.6     Reorganization Securities. If, in any Insolvency or Liquidation Proceeding, debt
             obligations of the reorganized debtor secured by Liens upon any property ofthe reorganized debtor are
             distributed pursuant to a plan of reorganization, arrangement, compromise o r liquidation or similar
             dispositive restructuring plan, both on account of ABL Obligations and on account of Term Loan
             Obligations, then, to the e:x.'ient the debt obligations distributed on account of the ABL Obligations and on
             account of the Term Loan Obligations are secured by Liens upon the same property, the provisions of this
             Agreement will survive the distribution of such debt obligations pursuant to such plan and will apply with
             like effect to the Liens seeming such debt obligations.

                              6.7     Post-Petition Interest.

                               (a)      Each Junior Collate ral Agent, for itself and on behalf of its Related Claimholders,
             agrees that ne ither it nor its Related Claimholde rs shall oppose or seek to challenge (or join w ith any other

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             Person opposing or challenging) any claim by any Senior Collateral Agent or any other Senior
             Claimholder for allowance in any Insolvency or Liquidation Proceeding of Senior Obligations consisting
             of Post-Petition Interest to the extent of the value of the Senior Claimholders' Lien on the Collateral in
             which a Senior Claimholder has a Senior Lien. Regardless of whether any such claim for Post-Petition
             Interest is allowed or allowable, and without limiting the generality of the other provisions of this
             Agreement, this Agreement expressly is intended to include, and does include the "rule of explicitness,"
             and is intended to provide the Senior Claimholders with the right to receive payment of a ll Post-Petition
             Interest through distributions made pursuant to the provisions of this Agreement on account of the
             Collateral in which a Senior Claimholder has a Senior Lien even though such Post-Petition Interest may
             not be not allowed or allowable against the bankruptcy estate of any Borrower or any other Obligor under
             Section 502(b)(2) or Section 506(b) of the Bankruptcy Code or under any other provision of the
             Bankruptcy Code or any other Debtor Relief Law.

                              (b)    Subject to Sections 6.3(b) and (d). none of any Senior Collateral Agent nor any
             of its Related Claimholders shall oppose or seek to challenge any claim by any Junior Collateral Agent or
             any other Junior Claimholder for allowance in any Insolvency or Liquidation Proceeding of Junior
             Obligations consisting of Post-Petition Interest to the extent of the value of the Lien of any Junior
             Collateral Agent, on behalf of the Junior Claimholders, on the Junior Claimholders Lien on the Collateral
             in which a Junior Cla imholde r has a Junior Lien (after taking into account the amount of the Senior
             Obligations).

                             6.8       Waivers. (a) Each Junior Collateral Agent, for itself and on behalf of its Related
             Junior Claimholders, waives any claim it or its Related Claimholders may he reafte r have against any
             Senior Claim holde r arising out of (a) the election of any Senior Claimholder of the application of
             Section 1111 (b)(2) of the Bankruptcy Code with respect to any Collateral in which a Senior Claimholder
             has a Senior Lien or (b) any cash collateral or financing arrangement, or any grant of a security interest in
             connection with the Collateral in which a Senior Claimholder has a Senior Lien, in any Insolvency or
             Liquidation Proceeding so long as such actions are not in express contravention of the terms of this
             Agreement.

                               (b)      Each Junior Collateral Agent, for itself and on behalf of its Related Claimholde rs,
             agrees that it will not assert or enforce any claim unde r Section 506(c) of the Bankruptcy Code or any
             similar provision of any other De btor Relief Law senior to or on a parity with the Senior Liens on the
             Collateral in which a Senior Claimholder has a Senior Lien securing the Senior Obligations for costs or
             expenses of preserving or disposing of any such Collateral.

                               6.9     Separate Grants of Security and Separate Classification. Each Junior Collateral
             Agent, for itself and on behalf of its Re lated Claimholders, and each Senior Collateral Agent, for itself
             and on behalf of its Related Claimholders, acknowledges and agrees that:

                             (a)     the grants of Liens pursuant to the Senior Collateral Documents and the Junior
                     Collateral Documents constitute, and, in the case of the Sha.red Collateral Documents, a.re
                     intended to constitute, two separate and distinct grants of Liens; and

                             (b)       because of, among other things, their differing rights in the Collateral, the Junior
                     Obligations a.re fundamentally different from the Senior Obligations and must, subject to
                     applicable law, be separately classified in any plan of reorganization proposed or adopted in an
                     Insolvency or Liquidation Proceeding.

                                To further effectuate the inte nt of the parties as provided in the immediately preceding
             sentence, if it is held that the claims of the Senior Claimholders and the Junior Claimholders in respect of

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             any Collateral constitute only one secured claim (rather than separate classes of senior and junior secured
             claims), then each of the parties hereto hereby acknowledges and agrees that, subject to Sections 2.1 and
             t i all distributions shall be made as if there were separate classes of senior and junior secured claims
             against the Obligors in respect of such Collateral w ith the effect being that, to the e>.'tent that the
             aggregate value of the Collateral in w hich a Senior Claim holde r has a Senior Lien is sufficient (for this
             purpose ignoring all claims held by the Junior Claimholders), the Senior Claimholders shall be entitled to
             receive, in addition to amounts distributed to them in respect of principal, pre-petition interest and other
             claims, all amounts owing (or that would be owing if there were such separate classes of senior and junior
             secured claims) in respect of Post-Petition Interest, including any additional interest payable pursuant to
             the Senior Documents arising from or related to a default, regardless of whether any such claim is allowed
             or allowable in any Insolvency or Liquidation Proceeding, before any distribution is made in respect of
             the claims held by the Junior Claimholders with respect to such Collateral, w ith each Junior Collateral
             Agent, for itself and on behalf of its Re lated Claimholders, hereby acknowledging and agreeing to tum
             over to the Directing Senior Collateral Agent, for itself and on behalf of the Senior Clain1holders, such
             Collateral or proceeds of such Collateral or any other distribution (whether or not expressly characterized
             as such) in respect of such Collateral, otherwise received or receivable by them to the extent necessa1y to
             effectuate the intent of this sentence, even if such tu mover has the effect of reducing the clain1 or
             recovery of the Junior Claim holders.

                              6.10     Effectiveness in Insolvency o r Liquidation Proceedings. The pa1t ies
             acknowledge that this Agreement is a "subordination agreement" under Section 51 0(a) of the Bankruptcy
             Code and unde r comparable provisions of any other applicable Debtor Relief Lav-,,, which w ill be effective
             before, du1ing and after the commencement of any Insolvency or Liquidation Proceeding. All references
             in this Agreement to any Obligor will include such Person as a debtor-in-possession and any receiver or
             trustee for such Person in any Insolvency or Liquidation Proceeding.

                              SECTION 7.       Reliance; Waivers; Etc.

                              7.1     Reliance. Other than any reliance on the terms of this Agreement, each ABL
             Collateral Agent, on behalf of itself and its Related Claimholders, acknowledges that it and its Related
             Claimholders have, independently and w ithout reliance on any Term Loan Collateral Agent or any other
             Term Loan Claimholder, and based on documents and infomrntion deemed by them appropriate, made
             their own credit analysis and decision to enter into each of the ABL Documents (as applicable) and be
             bound by the terms of this Agreement, and they w ill continue to make their own credit decision in takjng
             or not taking any action under the ABL Documents or this Agreement. Each Te rm Loan Collateral
             Agent, on behalf of itself and its Related Claimholders, acknowledges that it and its Related Claimholders
             have, independently and without re liance on the ABL Credit Agreement Collateral Agent or any other
             ABL Claimholder, and based on documents and information deemed by them appropriate, made their
             own credit analysis and decision to enter into each of the Term Loan Documents and be bound by the
             terms of this Agreement, and they w ill continue to make their own credit decision in taking or not taking
             any action under the Term Loan Documents or this Agreement.

                              7.2    No Warranties or Liability.

                              (a)      Each ABL Collateral Agent, on behalf of itself and its Related Claimholders,
             acknowledges and agrees that, except as set forth in Section 8.14, no Term Loan Collateral Agent or other
             Tenn Loan Claimholders have made any express or implied representation or warranty, including with
             respect to the execution, validity, legality, completeness, collectability or enforceability of any of the
             Tenn Loan Documents, the ownership of any Collateral or the perfection or priority of any Liens thereon.
             TI1e Te1m Loan Claimholde rs will be entitled to manage and supervise the ir respective e>.'tensions of


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             credit llLUder the Term Loan Documents in accordance with law and as they may otherwise, in their sole
             discretion, deem approp1iate.

                               (b)     Each Term Loan Collateral Agent, on behalf of itself and its Related
             Claimholders, acknowledges and agrees that, except as set forth in Section 8.14, neither the ABL Credit
             Agreement Collateral Agent nor other ABL Claimholders have made any express or implied
             representation or warranty, including with respect to the execution, validity, legality, completeness,
             collectability or enforceability of any of the ABL Documents, the ownership of any Collateral or the
             petfection or priority of any Liens thereon. The ABL Claimholders will be entitled to manage and
             supervise their respective loans and extensions of credit under the ABL Documents in accordance with
             law and as they may other.vise, in their sole discretion, deem appropriate.

                              (c)     The Te rm Loan Collateral Agents and the other Tem1 Loan Claimholders shall
             have no duty to the ABL Collateral Agents or any of the other ABL Claimholders, and the ABL Credit
             Agreement Collateral Agent and the other ABL Claimholders shall have no duty to the Te rm Loan
             Collateral Agents or any of the other Tenn Loan Claimholders, to act or refrain from acting in a manner
             vduch allows, or results in, the occurrence or continuance of an event of default or default under any
             agreeme nts w ith any Obligor (including the ABL Financing Docume nts and the Term Loan Financing
             Documents, but in each case other than this Agreement), regardless of any knowledge thereof which they
             may have or be charged w ith.

                              7.3     No Waiver of Lien Priorities.

                              (a)      No right of the Senior Collateral Agents or any other Senior Claimholders, or any
             of them, to enforce any provision of this Agreement or of any Senior Document w ith respect to their
             Lie ns on the Collateral in which a Senior Claimholder has a Senior Lien shall at any time in any way be
             prejudiced or impaired by any act or failure to act on the part of any Obligor or by any act or failure to act
             by any Senior Collateral Agent or any other Senior Claimholder, or by any noncompliance by any Person
             with the terms, provisions and covenants of this Agreement, any of the Senior Documents or any of the
             Junior Docume nts, regardless of any knowledge thereof which the Senior Collateral Agents or the other
             Senior Claimholders, or any of them, may have or be otherwise charged with.

                               (b)      Without in any way limiting the generality of the foregoing paragraph (a) (but
             subject to the rights of the Senior Obligors unde r the Senior Documents and subject to the provisions of
             Section 5.3(a)), the Senior Collateral Agents and the other Senior Claimholders, or any of them, may at
             any time and from time to time in accordance with the Senior Docume nts and/or applicable law, without
             the consent of, or notice to, any Junior Collateral Agent or any other Junior Claimholders, w ithout
             incurring any liabilities to any Junior Collateral Agent or any other Junior Claimholders and without
             impairing or re leasing the Lie n priorities and other benefits provided in this Agreement (even if any right
             of subrogation or other right or remedy of any Junior Collateral Agent or any other Junior Claimholders is
             affected, impaired o r exting uished thereby) do any one or more of the following:

                             (l)      make loans and advances to any Obligor or issue, provide or obtain Letters of
                     Credit for the account of any Obligor or otherwise extend credit to any Obligor, in any amount
                     and on any terms, whether pursuant to a commitment or as a discretionary advance and whether
                     or not any default or event of default or failure of condition is then continuing;

                             (2)     change the manner, place or tenns of payment of, or change or extend the time of
                     payment of, or amend, renew, exchange, increase or alter the terms of, any of the Senior
                     Obligations or any Lien on any Collateral in which a Senior Claimholde r has a Senior Lien or
                     guaranty thereof or any liability of any Obligor, or any liability incurred directly or indirectly in

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                     respect thereof (including any increase in or extension of the Senior Obligations, without any
                     restriction as to the tenor or terms of any such increase or extension) or othenvise amend, renew,
                     exchange, extend, modify or supplement in any manner any Liens held by any Senior Collateral
                     Agent or any of the other Senior Claimholde rs, the Senior Obligations or any of the Senior
                     Documents;

                             (3)     sell, exchange, release, surrender, realize upon, enforce or otherwise deal with in
                     any manner and in any order any part of the Collateral in which a Senior Claimholder has a
                     Senior Lien or any liability of any Obligor to any Senior Collateral Agent or any other Senior
                     Claimholders, or any liability incurred directly or indirectly in respect thereof;

                             (4)      settle or compromise any Senior Obligation or any othe r liability of any Obligor
                     or any security therefor or any liability incurred directly or indirectly in respect thereof and apply
                     any sums by whomsoever paid and however realized to any liability (including the Senior
                     Obligations) in any manner or order;

                              (5)      exercise or delay in or refrain from exercising any right or remedy against any
                     Obligor or any security or any other Person or with respect to any security, elect any remedy and
                     othern1ise deal freely with any Obligor or any Collateral in which a Senior Claimholder has a
                     Senior Lien and any security and any guarantor or any liability of any Obligor to the Senior
                     Claimholders or any liability incurred directly or indirectly in respect thereof; and

                            (6)     release or discharge any Senior Obligation or any guaranty the reof or any
                     agreement or obligation of any Obligor or any other Person or entity with respect thereto.

                               (c)      Until the Discharge of Senior Obligations, each Junior Collate ral Agent, on
             behalf of itself and its Related Claimholders, agrees not to assert and hereby waives, to the fullest ex'tent
             permitted by law, any right to demand, request, plead or otherwise assert or otherwise claim the benefit
             of, any marshalling, appraisal, valuation or other similar right that may otherwise be available under
             applicable law with respect to the Collateral on which it has a Junior Lien or any other similar 1ights a
             junior secured creditor may have under applicable law.

                              7.4     Waiver of Liabilitv.

                               (a)      Each Junior Collateral Agent, on beha lf of itself and its Related Claimholders,
             agrees that the Senior Collateral Agents and the other Senior Claimholders shall have no liability to any
             Junior Collateral Agent or any other Junior Claimholders, and each Junior Collateral Agent, on behalf of
             itself and its Related Junjor Claimholde rs, hereby waives any claim against any Senior Collateral Age nt
             or any other Senior Claimholder, arising out of any and all actions which any Senior Collateral Agent or
             any other Senior Claimholders may take or pem1it or omit to take with respect to: (i) the Senior
             Documents (including, without limitation, any failure to perfect or obtain pe1fected security interests in
             the Collateral in which a Senior Claimholder has a Senior Lien), (ii) the collection of the Senior
             Obligations or (iii) the foreclosure upon, or sale, liquidation or other Disposition of, any Collateral in
             which a Senior Claimholder has a Senior Lien. Each Junior Collateral Agent, on behalf of itself and its
             Related Claimholders, also agrees that the Senior Collateral Agents and the other Senior Claimholders
             have no duty, express or implied, fiduciary or otherwise, to them in respect of the maintenance or
             preservation of the Collateral in which a Senior Claimholder has a Senior Lien, the Senior Obligations or
             otherwise. Neither the Senior Collateral Agents nor any other Senior Claimholder nor any of their
             respective directors, officers, employees or agents will be liable for fai lure to demand, collect or realize
             upon any of the Collateral in which a Senior Claimholder has a Senior Lie n or for any delay in doing so,
             or will be under any obligation to sell or otherwise Dispose of any such Collateral upon the request of any

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             Obligor or upon the request of any Junior Collateral Agent, any other Junior C laimholder or any other
             Person or to take any other action whatsoever with regard to such Collateral or any part thereof. Without
             limiting the foregoing, each Junior Collateral Agent, on behalf of itself and its Related Claimholders,
             agrees that neither any Senior Collateral Agent nor any other Senior Claim.holde r (in directing its Senior
             Collateral Agent to take any action with respect to the Collateral in which a Senior Claimholder has a
             Senior Lien) shall have any duty or obligation to realize first upon any Collateral in which a Senior
             Claimholder has a Senior Lien or to sell or otherwise Dispose of all or any portion of such Collateral in
             any manner, including as a result of the application of the principles of marshaling or otherwise, that
             would maximize the return to any Senior Claimholders or any Junior Claimholders, notwithstanding that
             the order and timing of any such realization, sale or other Disposition may affect the amount of proceeds
             actually received by such Claimholders from such realization, sale or other Disposition.

                               (b)      With respect to its share of the ABL Obligations, UBS shall have and may
             exercise the same rights and powers hereunder as, and shall be subject to the same obligations and
             liabilities as and to the extent set forth herein for, any other ABL Claimholder, all as if UBS were not the
             ABL Credit Agreement Collateral Agent. With respect to its share of the First Lien Obligations, UBS
             shall have and may exercise the same rights and powers hereunder as, and shall be subject to the same
             obligations and liabilities as and to the extent set forth herein for, any other First Lien Claimholder, all as
             if UBS were not the First Lien Credit Agreement Collateral Agent. With respect to its share of the
             Second Lien Obligations, GS shall have and may exercise the same 1ights and powers hereunder as, and
             shall be subject to the same obligations and liabilities as and to the extent set forth herein for, any other
             Second Lien Claimholde r, all as if GS were not the Second Lien Credit Agreement Collateral Agent. The
             term "Claimholders" or any similar term shall, unless the context clearly othem1 ise indicates, include
             UBS and GS, each in its individual capacity as a Claimholder. UBS, GS and their respective Affiliates
             may lend money to, and generally engage in any kind of business with, the Obligors or any of their
             Affiliates as if UBS were not acting as the ABL Credit Agreement Collateral Agent, UBS were not acting
             as the First Lien Credit Agreement Collateral Agent and GS were not acting as the Second Lien Credit
             Agreement Collateral Agent and w ithout any duty to account therefor to any other Claimholder.

                               7.5     Obligations Unconditional. All rights, interests, agreements and obligations of
             the ABL Credit Agreement Collateral Agent and the other ABL Claimholders and the Term Loan
             Collateral Agents and the other Term Loan Claimholders, respectively, hereunder (including the Lien
             priorities established hereby) shall remain in full force and effect irrespective of:

                           (a)        any lack of validity or enforceability of any ABL Documents or any Term Loan
                     Documents;

                              (b)      any change in the time, manner or place of payment of, or, subject to the
                     limitations set forth in Section 5.3, in any other tem1s of, all or any of the ABL Obligations or
                     Tenn Loan Obligations, or any amendment or waiver or other modification, including any
                     increase in the amount thereof, whether by course of conduct or othenvise, of the terms of any
                     ABL Document or any Term Loan Document;

                              (c)     any exchange of any security interest in any Collateral or any other collateral, or
                     any amendment, waiver or other modification, whether in ·writing or by course of conduct or
                     otherwise, of all or any of the ABL Obligations or Term Loan Obligations or any guaranty
                     thereof;

                            (d)      the commencement of any lnsolvency or Liquidation Proceeding in respect of
                     any Obligor; or


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                              (e)    any other circumstances which otherwise might constitute a defense available to,
                     or a discharge of, any Obligor in respect of the ABL Credit Agreement Collateral Agent, any
                     other ABL Claimholder, the ABL Obligations, any Tem1 Loan Collateral Agent, any other Term
                     Loan Claimholder or the Term Loan Obligations in respect of this Agreement.

                              SECTION 8.           Miscellaneous.

                              8.1     Conflicts.

                             (a)      Subject to Section 8. l(b). in the event of any conflict or inconsistency between
             the provisions of this Agreement and the provisions of the ABL Documents or the Tem1 Loan
             Documents, the provisions of this Agreement shall govern and control.

                              (b)      The patties hereto acknowledge, authorize and consent to the entry by the Term
             Loan Collateral Agents into the First Lien/Second Lien Intercreditor Agreement and any other
             intercreditor agreement solely among the Term Loan Collateral Agents (or any subset of them). In the
             event of any conflict or inconsistency between the provisions of this Agreement and the provisions of the
             First Lien/Second Lien Intercreditor Agreement or such other intercreditor agreement with respect to the
             rights and obligations of the Tem1 Loan Collateral Agents and the other Te1m Loan Claimholders (or any
             subset of them) to each other in respect of the Tem1 Loan Collateral, the provisions of the First
             Lien/Second Lien Intercreditor Agreement or such other intercreditor agreement shall control.

                               8.2     Effectiveness; Continuing Nature of this Agreement; Severability. This
             Agreement shall become effective when executed and delivered by the parties hereto. This is a
             continuing agreement of Lien subordination and each of the ABL Claimholders and the Term Loan
             Claimholders may continue, at any time and without notice to any Te rm Loan Collateral Agent or any
             other Te rm Loan Claimholder or any ABL Collateral Agent or any other ABL Claimholder, to ex-tend
             credit and other financial accommodations and lend monies to or for the benefit of any Obligor
             constituting ABL Obligations and/or Term Loan Obligations in reliance hereon. Each Term Loan
             Collateral Agent, on behalf of itself and its Related Claimholders, hereby v,1aives any right it may have
             under applicable law to revoke this Agreement or any of the provisions of this Agreement. Each ABL
             Collateral Agent, on behalf of itself and its Related Claimholders, hereby waives any right it may have
             under applicable law to revoke this Agreement or any of the provisions of this Agreement. l11e terms of
             this Agreement shall survive, and shall continue in full force and effect, in any Insolvency or Liquidation
             Proceeding . Any provision of this Agreement that is prohibited or unenforceable in any jurisdiction shall
             not invalidate the remaining provisions hereof, and any such prohibition or une nforceability in any
             jurisdiction shall not invalidate or render unenforceable such provision in any other jurisdiction. All
             references to any Obligor shall include such Obligor as de btor and debtor-in-possession and any receiver,
             trustee or similar Pe rson for any Obligor (as the case may be) in any Insolvency or Liquidation
             Proceeding. This Agreement shall terminate and be ofno further force and effect:

                             (a)     with respect to the ABL Credit Agreement Collateral Agent, the other ABL
                     Claimholders and the ABL Obligations, upon the Discharge of ABL Obligations, subject to
                     Section 5.6 and the rights of the ABL Claimholders under Section 6.5; and

                            (b)     with respect to any Term Loan Collateral Agent, the other Te rm Loan
                     Claimholders and the Tem1 Loan Obligations of any Series, upon the Discharge of such Series of
                     Tenn Loan Obligations.

             Notwithstanding the foregoing, such te1mination shall not relieve any such party of its obligations
             incurred hereunder prior to the date of such te rmination.

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                               8.3      Amendments; Waivers. Ne ither this Agreement nor any provision hereof may be
             amended, modified or waived except pursuant to an agreement or agreements in writing entered into by
             the ABL Credit Agreement Collateral Agent and each Term Loan Collate ral Agent then party hereto;
             provided that (a) the ABL Credit Agreement Collate ral Agent and the Directing Term Loan Collateral
             Agent may, at the reasonable expense of the Obligors and without the written consent of any other ABL
             Claimholder, any other Term Loan Claimholder or any Obligor, agree to any amendment to or other
             modifications of this Agreement for the purpose of giving effect to Section 8 .21 or any Refinancing of
             any ABL Obligations or Te1m Loan Obligations, (b) any Additional Lien Obligations Agent may become
             party he reto by execution and delivery of a Joinder Agreement in the form of Exhibit B hereto in
             accordance with the provisions of Section 8.21 and (c) additional Obligors may be added as parties hereto
             upon the execution and de livery of a counterpart of the Intercreditor Joinder Agreement in the form of
             Exhibit A hereto in accordance with the provisions of Section 8.18. Each of the ABL Credit Agreement
             Collate ral Agent and the Directing Te m1 Loan Collate ral Agent shall execute and deliver an amendment
             or other modification of this Agreement at the other's request to pem1it new creditors to become a party
             hereto as set forth in the proviso to the immediately preceding sentence. Notwithstanding the provisions
             of any other ABL Document or Te rm Loan Document, the ABL Credit Agreement Collate ral Agent and
             the Directing Tem1 Loan Collateral Agent may, with the consent of the Top Borrower, make any
             amendments, restatements, amendment and restatements, supplements or other modifications to this
             Agreement to co1Tect any ambiguity, defect or inconsistency contained he rein without the consent of any
             other Person. Each waiver of the te1ms of this Agreement, if any, shall be a waive r only with respect to
             the specific instance involved and shall in no way impair the 1ights of the pa1ties making such waiver or
             the obligations of the other parties owed to such party in any other respect or at any othe r time.
             Notwithstanding the foregoing, no Obligor shall have any right to consent to or approve any amendment,
             modification or waive r of any provision of this Agreement except (x) to the extent such Obligor' s rights
             are directly and adversely affected by such amendment, modification or waiver, (y) to the extent reducing
             the rights or increasing the obligations of such Obligor or (z) any amendment, modification or waiver of
             the ABL DIP Cap Amount or the Te rm Loan DIP Cap Amount, if the effect of such amendment,
             modification or waiver is to reduce the amount thereof from the amount thereof in effect on the date
             he reof; provided, however, that the Top Borrower shall be given notice of any amendment, modification
             or waiver of this Agreement promptly after tl1e effectiveness thereof (it being understood that the fai lure
             to delive r such notice to the Top Borrower shall in no way impact the effectiveness of any such
             amendment, modification or waiver). To the extent permitted by the provisions of the ABL Financing
             Documents and the Term Loan Documents, the Borrowers may incur additional ABL Obligations under
             one or more debt facilities junior to the AHL Credit Agreement ("Junior ABL Obligations"). In
             connection with any such incurrence this Agreement shall be amended, at the Borrowers' expense (to the
             extent provided in the applicable Financing Documents), to join the agent or representative of such Junior
             ABL Obligations (a "Junior· ABL Agent") as a party hereto on behalf of itse lf and the holders of such
             Junior ABL Obligations and to make other necessary amendments to this Agreement where customary
             and appropriate. Such amendments shall provide that upon any such Junior ABL Agent becoming a party
             hereto, all obligations of such Series of Junior ABL Obligations shall be secured by a Lien on the
             Collateral in accordance with the tenns hereofand the Junior ABL Agent and the holders of such Junior
             ABL Obligations shall be subject to the tenns of this Agreement to the same extent vis-a-vis the Term
             Loan Claimholde rs and Tenn Loan Collateral Agents as the ABL Lende rs and ABL Credit Agreement
             Collateral Agent are bound hereby.

                              8.4      Information Conce rning Financial Condition of the Obligors and their
             Subsidiaries. The ABL Credit Agreement Collateral Agent and the othe r ABL Claimholders, on the one
             hand, and the Term Loan Collateral Agents and the othe r Term Loan Claimholders, on the other hand,
             shall be responsible for keeping themselves informed of (a) the financial condition of the Obligors and
             their subsidiaries and all endorse rs and/or guarantors of the ABL Obligations or the Term Loan
             Obligations and (b) all other circumstances bearing upon the risk of nonpayment of the ABL Obligations

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             or the Tenn Lmm ObHgations_ The ABL Credit Agreement Collateral Agent, the Tenn Loan Collateral
             Agents, the ABL Claimholders and the Tenn Loan Claimholders shall have no duty to advise any other
             party of infonnat:ion known to it or them regarding such condition or any such circumstances or
             otherwise. In the eve nt the ABL Credit Agreement Collateral Agent, any Tenn Loan Collateral Agents,
             any ABL Claimholders or any Tenn Loan Claimholders, in its or the ir sole discretion, undertakes at any
             time or from time to time to provide any such infonnation to any other party, it or they shall be under no
             obligation:

                              (i)     to make, and such person shall not make, any express or implied representation
                     or warranty, including with respect to the accuracy, completeness, truthfulness or validity of any
                     such info1mation so provided;

                            (ii)    to provide any additional infonnation or to provide any such infonnation on any
                     subsequent occasion;

                             (iii)   to undertake any investigation; or

                            (iv)     to disclose any infom1ation, which pursuant to accepted or reasonable
                     commercial finance practices, such party wishes to maintain confidential or is othenvise required
                     to maintain confidential.

                                8.5    Subrogation. With respect to the value of any payments or distributions in cash,
             property or other assets that any Junior Collateral Agent or any other Junior Claimholder pays over to the
             Senior Collateral Agents or the other Senior Claimholders under the tenns of this Agreement, such Junior
             Collateral Agent or such other Junior Claimholder shall be subrogated to the rights of each Senior
             Collateral Agent and the other Senior Claimholders; provided that each Junior Collateral Agent, on behalf
             of itself and its Related Claimholders, hereby agrees that neither it nor its Related Claimholders shall
             assert or enforce any such rights of subrogation it may acquire with respect to its Liens on the Collateral
             in which a Junior Claimholder has a Junior Lien as a result of any payment hereunder until the Discharge
             of Senior Obligations has occurred. Each Obligor acknowledges and agrees that the value of any
             payments or distributions in cash, property or other assets received by any Junior Collateral Agent or the
             other Junior Claimholders and paid over to the Senior Collateral Agents or the other Senior Claimholders
             pursuant to, and applied in accordance with, this Agreement, shall not relieve or reduce any of the Junior
             Obligations under the Junior Documents.

                              8.6      Application of Payments. All payments received by any Senior Collateral Agent
             or the other Senior Claimholders may be applied, reversed and reapplied, in whole or in part, to such part
             of the Senior Obligations as the Senior Claimholders, in their sole discretion, deem approp1iate. Each
             Junior Collateral Agent, on behalf of itself and its Related Claimholders, consents to any extension or
             postponement of the time of payment of the Senior Obligations or any part thereof and to any other
             indulgence with respect thereto, to any substitution, exchange or release of any security which may at any
             time secure any part of the Senior Obligations and to the addition or release of any other Person prin1arily
             or seconda1ily liable therefor.

                              8.7     SUBMISSION TO JURISDICTION: WAIVERS.

                        (a)   EACH PARTY HERETO (IN THE CASE OF EACH COLLATERAL
             AGENT, FOR ITSELF AND ON BEHALF OF ITS RELATED CLAIMHOLDERS) HEREBY
             IRREVOCABLY AND UNCONDITIONALLY SUBMITS, FOR ITSELF AND ITS (AND THEIR)
             PROPERTY, TO THE EXCLUSIVE JURISDICTION OF ANY U.S. FEDERAL OR NEW YORK
             STATE COURT SITTING IN THE BOROUGH OF MANHATTAN, IN THE CITY OF NEW

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             YORK (OR ANY APPELLATE COURT THEREFROM) OVER ANY SUIT OR ANY ACTION
             OR PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT, AND
             AGREES THAT ALL CLAIMS IN RESPECT OF ANY SUCH ACTION OR PROCEEDING
             SHALL BE HEARD AND DETERMINED EXCLUSIVELY IN SUCH NEW YORK STATE OR,
             TO THE EXTENT PERMITTED BY LAW, IN SUCH FEDERAL COURT. EACH OF THE
             PARTIES HERETO (IN THE CASE OF EACH COLLATERAL AGENT, FOR ITSELF AND ON
             BEHALF OF ITS RELATED CLAIMHOLDERS) AGREES THAT SERVICE OF ANY
             PROCESS, SUMMONS, NOTICE OR DOCUMENTS BY REGISTERED MAIL ADDRESSED
             TO SUCH PERSON SHALL BE EFFECTIVE SERVICE OF PROCESS AGAINST SUCH
             PERSON FOR ANY SUIT, ACTION OR PROCEEDING BROUGHT IN ANY SUCH COURT.
             EACH OF THE PARTIES HERETO (IN THE CASE OF EACH COLLATERAL AGENT, FOR
             ITSELF AND ON BEHALF OF ITS RELATED CLAIM HOLDERS) HEREBY IRREVOCABLY
             AND UNCONDITIONALLY WAIVES ANY OBJECTION TO THE LA YING OF VENUE OF
             ANY SUCH SUIT, ACTION OR PROCEEDING BROUGHT IN ANY SUCH COURT AND ANY
             CLAIM THAT ANY SUCH SUIT, ACTION OR PROCEEDING HAS BEEN BROUGHT IN AN
             INCONVENIENT FORUM. EACH OF THE PARTIES HERETO (IN THE CASE OF EACH
             COLLATERAL AGENT, FOR ITSELF AND ON BEHALF OF ITS RELATED
             CLAIMHOLDERS) AGREES THAT A FINAL JUDGMENT IN ANY SUCH ACTION OR
             PROCEEDING MAY BE ENFORCED IN OTHER JURISDICTIONS BY SUIT ON THE
             JUDGMENT OR IN ANY OTHER MANNER PROVIDED BYLAW.

                          (b)  TO THE EXTENT PERMITTED BY LAW, EACH PARTY HERETO (IN
             THE CASE OF EACH COLLATERAL AGENT, FOR ITSELF AND ON BEHALF OF ITS
             RELATED CLAIMHOLDERS) HEREBY IRREVOCABLY WAIVES PERSONAL SERVICE OF
             ANY AND ALL PROCESS UPON IT AND AGREES THAT ALL SUCH SERVICE OF PROCESS
             MAY BE MADE BY REGISTERED MAIL (OR ANY SUBSTANTIALLY SIMILAR FORM OF
             MAIL) DIRECTED TO IT AT ITS ADDRESS FOR NOTICES AS PROVIDED FOR IN
             SECTION 8.8. EACH PARTY HERETO (IN THE CASE OF EACH COLLATERAL AGENT,
             FOR ITSELF AND ON BEHALF OF ITS RELATED CLAIMHOLDERS) HEREBY WAIVES
             ANY OBJECTION TO SUCH SERVICE OF PROCESS AND FURTHER IRREVOCABLY
             WAIVES AND AGREES NOT TO PLEAD OR CLAIM IN ANY ACTION OR PROCEEDING
             COMMENCED HEREUNDER THAT SERVICE OF PROCESS WAS INVALID AND
             INEFFECTIVE. NOTHING IN THIS AGREEMENT WILL AFFECT THE RIGHT OF ANY
             PARTY TO THIS AGREEMENT TO SERVE PROCESS IN ANY OTHER MANNER
             PERMITTED BY LAW.

                         (c)  EACH PARTY HERETO HEREBY IRREVOCABLY WAIVES (IN THE
             CASE OF EACH COLLATERAL AGENT, FOR ITSELF AND ON BEHALF OF ITS RELATED
             CLAIMHOLDERS), TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY
             RIGHT IT (OR THEY) MAY HA VE TO A TRIAL BY JURY IN ANY SUIT, ACTION,
             PROCEEDING OR COUNTERCLAIM (WHETHER BASED ON CONTRACT, TORT OR ANY
             OTHE R THEORY) DJRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO
             THIS AGREEMENT, ANY ABL DOCUMENT OR TERM LOAN DOCUMENT OR THE
             TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY. EACH PARTY HERETO (IN
             THE CASE OF EACH COLLATERAL AGENT, FOR ITSELF AND ON BEHALF OF ITS
             RELATED CLAIMHOLDERS) (A) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR
             ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE,
             THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO
             ENFORCE THE FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT IT AND THE
             OTHER PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO TIDS AGREEMENT


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             BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS
             SECTION.

                                8.8      Notices. All notices to the ABL Claimholders and the Term Loan Claimholders
             permitted or required under this Agreement shall also be sent to the related ABL Collateral Agent and the
             related Te rm Loan Collateral Agent, respectively (and, for this purpose, (i) the ABL Credit Agreement
             Collateral Agent shall be deemed to be an agent for the ABL Secured Hedging Obligations and ABL
             Banking Services Obligations, (ii) the Directing First Lien Collateral Agent shall be deemed to be an
             agent for the First Lien Secured Hedging Obligations and the First Lien Banking Services Obligations,
             and (iii) the Directing Second Lien Collateral Agent shall be deemed to be an agent for the Second Lien
             Secured Hedging Obligations and the Second Lien Banking Se1vices Obligations) . Unless otherwise
             specifically provided herein, any notice hereunder shall be in writing and may be personally served, sent
             by facsimile or sent by other electronic transmission or United States mail or courier service and shall be
             deemed to have been given v,1hen delivered in person or by courier service and signed for against receipt
             thereof, upon receipt of facsimile or other electronic transmission, or three (3) Business Days after
             depositing it in the United States mail with postage prepaid and properly addressed. For the purposes
             he reof, the addresses of the parties hereto shall be as set forth below each party's name on the signature
             pages he reto, or, as to each party, at such other address as may be designated by such party in a written
             notice to all of the othe r parties.

                               8.9     Further Assurances. The ABL Credit Agreement Collateral Agent, on behalf of
             itself and its Related Claimholders, and each Term Loan Collateral Agent, on behalf of itself and its
             Related Claimholde rs, and each Obligor, agrees that each of them shall take such further action and shall
             execute and de liver such additional documents and instruments (in recordable form, if requested) as the
             ABL Credit Agreement Collateral Agent or the Directing Term Loan Collateral Agent may reasonably
             request to effectuate the tem1s of and the Lien priorities contemplated by this Agreement.

                         8.10  CHOICE OF LAW. THIS AGREEMENT, AND ANY CLAIM,
             CONTROVERSY OR DISPUTE ARISING UNDER OR RELATED TO THIS AGREEMENT
             (WHETHER IN TORT, CONTRACT (AT LAW OR IN EQUI1Y) OR OTHERWISE), SHALL BE
             GOVERNED BY, AND CONSTRUED AND IN TERPRETED IN ACCORDANCE WITH, THE LAWS
             OF THE STATE OF NEW YORK.

                               8.11   Binding on Successors and Assigns. This Agreement shall be binding upon the
             ABL Credit Agreeme nt Collateral Agent, the ABL Claimholders, each First Lien Collateral Agent, the
             other First Lien Claimholders, each Second Lien Collateral Agent, the other Second Lien Claimholders
             and their respective successors and permitted assigns. If the ABL Credit Agreement Collateral Agent,
             any First Lien Collateral Agent o r any Second Lien Collateral Agent resigns or is replaced pursuant to the
             ABL Documents, the First Lien Documents or the Second Lien Documents, as applicable, its successor
             shall be deemed to be a party to this Agreement and shall have all the rights of, and be subject to all the
             obligations of, this Agreement.

                             8.12     Headings. Section headings and the Table of Contents used herein are for
             convenience of reference only, are not pa1t of this Agreement and shall not affect the construction of, or
             be taken into consideration in interpreting, this Agreement.

                               8.13    Counterparts. l11is Agreement may be executed in counterparts (and by different
             parties hereto in different counterparts), each of which shall constitute an original, but all of which when
             taken together shall constitute a single contract. Delivery of an executed counterpart of a signature page
             of this Agreement o r any document or instrument delivered in connection herewith by facsimile or other


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             electronic transmission (including " .pdf' or " .tiff' fo1mat) shall be effective as delivery of a manually
             executed counterpart of this Agreement or such othe r document or instrument, as applicable.

                                8.14    Authorization: Binding Effect on Claimholders. By its signature, each Person
             executing this Agreement on behalf of a party hereto represents and warrants to the other parties hereto
             that it is duly authorized to execute this Agreement. Each ABL Claimholde r and each Te1m Loan
             Claimholder, by its acceptance of the benefits of the ABL Documents and Tem1 Loan Documents, as the
             case may be, shall be deemed to have agreed to be bound by the agreements made here in, including the
             agreements made by any Collateral Agent on its behalf.

                               8.15   Exclusive Means of Exercising Rights under this Agreement.

                               (a)      The ABL Claimholders shall be deemed to have irrevocably appointed the ABL
             Credit Agreement Collateral Agent as their exclusive agent hereunder. Consistent with such appointment,
             the ABL Claimholders further shall be deemed to have agreed that only the ABL Credit Agreement
             Collateral Agent (and not any individual claimholder or group of claimholders) as agent for the ABL
             Claimholders, or any of the ABL Credit Agreement Collateral Agent's agents, shall have the right on their
             behalf to exercise any rights, powers, and/or remedies under or in connection with this Agreement
             (including bringing any action to interpret or othe rwise enforce the provisions of this Agreement);
             provided that (i) holders of the ABL Se cured Hedging Obligations and the ABL Banking Services
             Obligations may exercise customary netting and set off 1ights unde r the ABL Hedge Agreements and
             ABL Banking Services Agreements to w hich they are, respectively, a party, (ii) cash collateral may be
             he ld pursuant to the terms of the ABL Documents (including any relating to ABL Hedge Ag reements)
             and any such individual ABL Claimholder may act against such cash collateral in accordance with the
             te1ms of the relevant ABL Document or applicable law and (iii) the ABL Claimholde rs may exercise
             customary rights of setoff against depository or other accounts maintained with them in accordance with
             the te rms of the re levant ABL Document or applicable law . Specifically, but without limiting the
             generality of the foregoing, no ABL Claimholder or group of ABL Claimholders, other than the ABL
             Credit Agreement Collateral Agent (acting at the direction of, or pursuant to a grant of authority by, the
             Required ABL Claimholders), shall be entitled to take or file, and shall be precluded from taking or filing
             (whether in any Insolvency or Liquidation Proceeding o r othervvise), any action, judicial or otherv,,ise, to
             enforce any 1ight or power or pursue any remedy unde r this Agreement (including any declaratory
             judgment or other action to inte rpret or otherwise enforce the provisions of this Agreement), except sole ly
             as provided in the proviso in the immediately preceding sentence.

                              (b)      The Te rm Loan Claimholde rs shall be deemed to have irrevocably appointed the
             Directing Term Loan Collateral Agent as their exclusive agent hereunde r. Consistent with such
             appointme nt, the Te1m Loan Claimholders further shall be deemed to have agreed that only the Directing
             Tenn Loan Collateral Agent (and not any individual claimholde r or group of claimholde rs) as agent for
             the Tenn Loan Cla imholders, or any of the Directing Te rm Loan Collate ral Agent's agents, shall have the
             right on their behalf to exercise any 1ights, powers, and/or remedies under or in connection with this
             Agreement (including bringing any action to inte rpret or othenvise enforce the provisions of this
             Agreement); provided that, subject to the limitations, restrictions and other agreements set forth herein, (i)
             holders of First Lien Secured Hedging Obligations, First Lien Banking Services Obligations, the Second
             Lien Secured Hedging Obligations and the Second Lien Banking Services Obligations may exercise
             customary netting and set off rights unde r the First Lien Hedge Agreements, the First Lien Banking
             Services Ag reements, the Second Lien Hedge Agreements and Second Lien Banking Services
             Agreements to which they are, respectively, a party, (ii) cash collateral may be held pursuant to the terms
             of the Term Loan Documents (including any relating to First Lien Hedge Ag reements or Second Lien
             Hedge Agreements) and any such individual Term Loan Claimholder may act against such cash collate ral
             in accordance with the terms of the re levant Term Loan Document or applicable law and (iii) the Tem1

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             Loan Claimholde rs may exercise customary rights of setoff against depository or other accounts
             maintained with them in accordance with the terms of the relevant Term Loan Document or applicable
             law. Specifically, but without limiting the generality of the foregoing, each Term Loan Claimholder or
             group of Te rm Loan Claimholders, other than the Directing Te rm Loan Collateral Agent (acting at the
             direction of, or pursuant to a grant of authority by, the Required Term Loan Claimholders), shall not be
             entitled to take or file, but instead shall be precluded from taking or filing (whether in any Insolvency or
             Liquidation Proceeding or otherwise), any action, judicial or otherwise, to enforce any right or power or
             pursue any remedy under this Agreement (including any declaratory judgment or other action to interpret
             or otherwise enforce the provisions of this Agreement), except solely as provided in the proviso in the
             immediate ly preceding sentence.

                               8.16      No Third Partv Beneficiaries: Provisions Solelv to Define Relative Rights. This
             Agreement and the rights and benefits hereof shall inure to the benefit of each of the parties hereto and its
             respective successors and assigns and shall inure to the benefit of each of the ABL Claimholders and the
             Tenn Loan Claimholders. The provisions of this Agreement are and are intended solely for the purpose
             of defining the relative rights of the ABL Credit Agreement Collateral Agent and the other ABL
             Claimholders, on the one hand, and the Term Loan Collateral Agent and the other Te rm Loan
             Claimholders, on the other hand . None of the Obligors shall have any rights hereunder and no Obligor
             may rely on the terms he reof, othe r than any provision he reof expressly preserving any 1ight of, or
             directly affecting, any Obligor under this Agreement, including the definition of "ABL DIP Cap Amount"
             and "Tenn Loan DIP Cap Amount'', Sections 3.1 (as to the definition of"Standstill Period"), 4.1 , 5.1, 5.2,
             5.3, 5.4, 5.6, 5.8, 5.9, 5. IO, 6. 1, 6.2, D , 8. 1, 8.2, 8.3, 8.6, 8.7, 8.8, 8.9, 8.lO, ~ 8.13, 8. 14, 8.15, this
             Section 8.16, Sections 8.17, 8.18, and 8.21. Nothing in this Agreement is intended to or shall impair the
             obligations of the Obligors, which are absolute and unconditional, to pay the ABL Obligations and the
             Term Loan Obligations as and w hen the same shall become due and payable in accordance with the ir
             terms.

                              8.17     No Indirect Actions. Unless otherwise expressly stated, if a party may not take
             an action under this Agreement, then it may not take that action indirectly, or support any other Person in
             taking that action directly or indirectly. "Taking an action indirectly" means taking an action that is not
             expressly prohibited for the party but is intended to have substantially the same effects as the prohibited
             action; provided that notwithstanding the foregoing, nothing in this Section 8.17 shall be deemed to limit
             the 1ight of any party hereto to vote on any plan of reorganization, arrangement, compromise or
             liquidation or similar dispositive restructu1ing plan in any Insolvency or Liquidation Proceeding to the
             extent not inconsistent with the terms of this Agreement.

                             8.18    Obligors: Additional Obligors. It is understood and agreed that Holdings, the
             Borrowers and each other Obligor on the date of this Agreement shall constitute the original Obligors
             party hereto. The original Obligors hereby covenant and agree to cause each subsidiary of Holdings
             which becomes a "Subsidiary Guarantor" as defined in the ABL Credit Agreement, the First Lien Credit
             Agreement or the Second Lien Credit Agreement (or any similar term in any other First Lien Financing
             Document or Second Lien Financing Document) after the date hereof to become a party hereto (as an
             Obligor) by duly executing and delive1ing a counterpart of the lntercreditor Joinde r Agreement in the
             fom1 of Exhibit A hereto to the ABL Credit Agreement Collateral Agent and the Directing Tenn Loan
             Collateral Agent in accordance with the relevant provisions of the relevant ABL Financing Documents
             and/or Term Loan Financing Documents, as applicable. The parties hereto further agree that,
             notwithstanding any failure to take the actions required by the immediately preceding sentence, each
             Person which becomes a "Subsidia1y Guarantor" as defined in the ABL Credit Agreement, the First Lien
             Credit Agreement or the Second Lien Credit Agreement (or any similar term in any other ABL Financing
             Document o r Tem1 Loan Financing Document) at any time shall be subject to the provisions hereof as


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             fully as if same constituted an Obligor pa1ty hereto and had complied with the requirements of the
             immediate ly preceding sentence.

                               8.19    Right of Collateral Agent to Continue. Any Person serving as a First Lien
             Collateral Agent shall be entitled to continue, including to continue to perfo1m his, her or its rights,
             obligations and duties, as a First Lie n Collateral Agent, notwithstanding whether any such Person has
             served or is serving as the ABL Credit Agreement Collateral Agent. Without limiting the generality of
             the preceding sentence of this Section 8.19, any Person serving as a First Lien Collateral Agent shall be
             entitled to continue to so serve in such capacity (including to continue to perform any of such First Lien
             Collateral Agent's rights, obligations, and/or duties) even if any such Person has resigned as the ABL
             Credit Agreement Collateral Agent, but such resignation has not become effective for any reason,
             including because a successor Second Lien Collateral Agent has not been appointed or has accepted such
             appointment, without any liability to any of the Claimholders by virtue of any such resignation and any of
             the circumstances relating in any manner whatsoever to such resignation.

                              8.20     Claimholders. Notwithstanding anything to the contrary in this Agreement, it is
             understood and agreed that this Agreement only applies to the Claimholders in their capacities as holders
             of the Obligations. Without limiting the foregoing, this Agreeme nt does not restrict or apply to the
             Claimholders in their capacities as holders of any Indebtedness or other obligations of the Obligors other
             than the Obligations (or any Reorganization Securities issued as contemplated by Section 6.6), or in their
             capacities as holders of equity interests of the Obligors.

                                8.21   Additional Lien Obligations. Subject to the terms and conditions of this
             Agreement and each Financing Document, the Obligors w ill be permitted from time to time to designate
             as an additional holder of First Lien Obligations and/or Second Lien Obligations he reunder each Person
             that is, or that becomes or is to become, the holder of any Additional Lien Obligations (or the Additional
             Lie ns Obligations Agent in respect of such Additional Liens Obligations). Upon the issuance or
             incurrence of any such Additional Lien Obligations:

                              (a)     The Top Borrower shall deliver to each of the Collateral Agents a certificate of a
                     Responsible Officer stating that the applicable Obligors intend to enter or have entered into an
                     Additional Lien Obligations Agreement and certifying that the issuance or incurrence of such
                     Additional Lien Obligations and the Liens securing such Additional Lien Obligations are
                     permitted by the ABL Financing Documents, the First Lien Financing Documents, the Second
                     Lie n Financing Documents and each then existing Additional First Lien Obligations Agreement
                     and Additional Second Lien Obligations Agreement. Each of the Additional Lien Obligations
                     Agents, the ABL Credit Agreement Collateral Agent, the First Lien Collateral Agents and the
                     Second Lien Collateral Agents shall be entitled to rely conclusively on the dete rmination of the
                     Top Borrower that such issuance and/or incurrence is permitted under the ABL Financing
                     Documents, the First Lien Financing Documents, the Second Lien Financing Documents and
                     each then existing Additional First Lien Obligations Agreement and Additional Second Lien
                     Obligations Agreement if such determination is set forth in such officer' s certificate delivered to
                     the ABL Credit Agreement Collateral Agent, the First Lien Collateral Agents and the Second
                     Lie n Collateral Agents: provided, however, that such determination w ill not affect whethe r or not
                     the Obligors have complied with their undertakings in the ABL Financing Documents, the First
                     Lien Financing Documents, the Second Lien Financing Documents or any then existing
                     Additional First Lien Obligations Agreement or Additional Second Lien Obligation Agreement;

                             (b)     the Additional Liens Obligations Agent for such Additional Lien Obligations
                     shall execute and deliver to the ABL Credit Agreement Collateral Agent, the First Lien Collateral
                     Agent and the Second Lien Collateral Agent a Joinder Agreement in the form attached hereto as

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                     Exhibit B acknowledging that such Additional Liens Obligations and the holde rs of such
                     Additional Liens Obligations shall be bound by the terms hereof to the extent applicable to the
                     Clairnholders, and

                              (c)     the ABL Credit Agreement Collateral Agent and each existing Term Loan
                     Collateral Agent shall promptly enter into such documents and agreements (including
                     amendments, restatements, amendments and restatements, supplements or other modifications to
                     this Agreement) as the ABL Credit Agreement Collateral Agent or any existing Term Loan
                     Collateral Agent (but no other ABL Clairnholder or Term Loan Clairnholder) or the Additional
                     Lien Obligations Agent may reasonably request in order to provide to it the rights, remedies and
                     powers and authorities contemplated hereby, in each case consistent in all respects with the te rms
                     of this Agreement; provided that, for the avoidance of doubt and notwithstanding anything in this
                     Agreement to the contrary, it is understood and agreed that any such amendment, restatement,
                     amendment and restatement, supplement or other modification to this Agreement requested
                     pursuant to this clause (c) may be entered into by the ABL Credit Agreement Collateral Agent
                     and the existing Term Loan Collateral Agents without the consent of any other ABL Claimholder
                     or Te rm Loan Claimholder to effect the provisions of this Section 8.21 and may contain
                     additional intercreditor terms applicable solely to the holde rs of such Additional Lien Obligations
                     vis-a-vis the holde rs of the relevant obligations he reunder or the holders of such Additional Lien
                     Obligations vis-a-vis the ABL Credit Agreement Collateral Agent and the ABL Claimholders or
                     the Directing Term Loan Collateral Agent and the Tenn Loan Claimholders, as applicable.

             Notv,1ithstanding the foregoing, nothing in this Agreement will be constmed to allow any Obligor to incur
             additional Indebtedness unless otherwise permitted by the terms of each applicable ABL Financing
             Document, First Lien Financing Document, Second Lien Document and each then existing Additional
             First Lien Obligations Agreement and Additional Second Lien Obligations Agreement.

                               8.22     Additional Intercreditor Agreements. Subject to Section 8.l(b) of this
             Agreement, each pa,ty hereto agrees that the First Lien Claimholders (as among themselves) and the
             Second Lien Clairnholders (as an1ong themselves) may each enter into intercreditor agreements (or
             similar a1Tangements) with the applicable First Lie n Collateral Agents or Second Lien Collateral Agents,
             as the case may be, governing the rights, benefits and p1ivileges as among the First Lien Claimholders in
             respect of any or all of the First Lien Collateral, this Agreement and the First Lien Collateral Documents
             or as among the Second Lien Cla imholders in respect of any or all of the Second Lien Collateral, this
             Agreement or the Second Lien Collateral Documents, as the case may be, including as to the application
             of proceeds of any Collateral, voting rights, control of any Collateral and waivers with respect to any
             Collateral, in each case so long as the terms thereof do not violate or conflict with the terms of this
             Agreement or the ABL Documents or the First Lien Documents or the Second Lien Documents, as
             applicable. In any event, if a respective intercreditor agreement (or similar arrangement) exists, the
             provisions thereof shall not be (or be constmed to be) an amendment, modification or other change to this
             Agreement or any ABL Document or any other First Lien Document or Second Lien Document, and the
             provisions of this Agreement and the ABL Documents, the other First Lien Documents and Second Lien
             Documents shall remain in full force and effect in accordance v,1ith the terms hereof and the reof (as such
             provisions may be amended, modified or otherwise supplemented from time to time in accordance with
             the terms thereof, including to give effect to any inte rcreditor agreement (or similar arrangement)).

                                                     [Signature pages follow]




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                               IN WITNESS WHEREOF, the pa1ties he reto have executed this Agreement as of the date
             first w ritten above.

                                                              UBS AG, STAMFORD BRANCH,
                                                              as ABL Credit Agreement Collateral Agent


                                                              By:
                                                                    Name:
                                                                    Title:


                                                              By:
                                                                    Name:
                                                                    Title:


                                                              Address for Notices:
                                                              Attention:
                                                              Tel.:
                                                              Email:




                                                              UBS AG, STAMFORD BRANCH,
                                                              as First Lien Credit Agreement Collateral Agent


                                                              By:
                                                                    Name:
                                                                    Title:


                                                              By:
                                                                    Name:
                                                                    Title:


                                                              Address for Notices:
                                                              Attention:
                                                              Tel.:
                                                              Email:




                                           [Signature Page to ABL Jntercreditor Agreement)




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                                                              GOLDMAN SACHS BANK USA,
                                                              as Second Lien Credit Agreement Collateral Agent


                                                              By:
                                                                     Name:
                                                                     Title:


                                                              Address for Notices:
                                                              Attention:
                                                              Tel.:
                                                              Email:




                                           [Signature Page to ABL Jntercreditor Agree ment]




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             Acknmvledged and Agreed to by:

             Holdings


             DAWN INTERMEDlATE, fNC.


             By:
                   Nan1e:
                   Title:


             Borrowers


             SERTA SIMMONS BEDDING, LLC


             By:
                   Nan1e:
                   Title:


             NATIONAL BEDDfNG COMPANY L.L.C.


             By:
                   Nan1e:
                   Title :




             SSB MANUFACTURING COMPANY


             By:
                   Nan1e:
                   Title :




                                           [Signature Page to ABL Jntercreditor Agreement)




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             Other Obligors




             By :
                    Name:
                    Title:


             Address for Notices to Obligors:
             Tel.:
             Fax:
             Attn:
             Email:




                                           [Signature Page to ABL Jntercreditor Agreement]




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                                                                                                             EXIDBIT A
                                   FORM OF INTERCREDITOR JOIN DER AGREEMENT

                              Reference is made to the ABL lnte rcreditor Agreement dated as of November 8, 2016 (as
             amended, restated, amended and restated, supplemented or othern,ise modified from time to time, the
             "Intercredito1· Ag,·eement"), among UBS AG, STAMFORD BRANCH, in its capacity as ABL Credit
             Agreement Collateral Agent, UBS AG, STAMFORD BRANCH, in its capacity as the First Lien Credit
             Agreement Collateral Agent and GOLDMAN SACHS BANK USA, as the Second Lien Credit
             Agreement Collateral Agent (in each case, as defined there in), each other FIRST LIEN COLLATERAL
             AGENT that is from time to time party thereto and each other SECOND LIEN COLLATERAL AGENT
             that is from time to time party thereto and acknowledged and agreed to by DAWN INTERMEDIATE,
             INC., a Delaware corporation, SERTA SIMMONS BEDDING, LLC, a Delaware limited liability
             company, NATIONAL BEDDING COMPANY L.L.C., an Illinois limited liability company AND SSB
             MANUFACTURING COMPANY, a Delaware corporation and the other OBLIGORS (as defined
             therein) from time to time party thereto. Capitalized te1ms used but not defined he rein shall have the
             meanings assigned to such tenns in the Intercreditor Agreement.

                            TI1is Intercreditor Joinder Agreement, dated as of [ •] [•], 20[•] (this "Joinder
             Agreement"), is be ing delivered pursuant to requirements of the Intercreditor Agreement.

                               1.      Joinder. The undersigned, [•], a [ • ], hereby agrees to become party to the
                     lntercreditor Agreement as an Obliger thereunder for all purposes thereof on the te1ms set forth
                     therein, and to be bound by the terms, conditions and provisions of the Intercreditor Agreement as
                     fully as if the undersigned had executed and delivered the Intercreditor Agreement as of the date
                     thereof.

                              2.       Agreements. The undersigned Obliger hereby agrees, for the enforceable benefit
                     of all existing and future ABL Claimholders, First Lien Claimholders and Second Lien
                     Claimholders that the undersigned is bound by the terms, conditions and provisions of the
                     lntercreditor Agreement to the ex1.ent set forth therein.

                              3.      Counterpa1ts. This Joinde r Agreement may be executed in two or more
                     counterparts, each of which shall be deemed to be an original, and all of which, when taken
                     together, shall constitute one contract. Delivery of an executed signature page to this Joinder
                     Agreement by facsimile transmission or other electronic transmission (including " .pdf', " .tiff' or
                     similar fo1mat) shall be effective as delivery of a manually executed counterpart of this Joinder
                     Agreement.

                          4.    Goveming Law. TlilS JOINDER AGREEMENT AND ANY CLAIM,
                     CONTROVERSY OR DISPUTE ARISING UNDER OR RELATED TO THIS JOINDER
                     AGREEMENT, WHETHER IN TORT, CONTRACT (AT LAW OR IN EQUITY) OR
                     OTHERWISE, SHALL BE GOVERNED BY, AND CONSTRUED AND INTERPRETED IN
                     ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK.

                            6.        Miscellaneous. The provisions of Section 8 of the Intercreditor Agreement shall
                     apply with like effect to this Joinder Agreement.

                                                      [Signature pages follow]




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                              IN WITNESS WHEREOF, the undersigned has caused this Joinder Agreement to be duly
             executed by its authorized representative, and each Collateral Agent has caused the same to be accepted
             by its authorized representative, as of the date first written above.

                                                                [NAME OF OBLIGOR],
                                                                as an Obligor


                                                                By:
                                                                      Name:
                                                                      Title:




             Acknowledged and Agreed to by:

             UBS AG, STAMFORD BRANCH,
             as ABL Credit Agreement Collateral Agent


             By:
                   Nan1e:
                   Title:

             By:
                   Nan1e:
                   Title:


             UBS AG, STAMFORD BRANCH,
             as First Lien Credit Agreement Collateral Agent,


             By:
                   Name:
                   Title:

             By:
                   Name:
                   Title:


             GOLDMAN SACHS BANK USA,
             as Second Lien Credit Agreement Collateral Agent,


             By:
                   Nan1e:
                   Title:




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                                                                                                             EXHIBITB
                FORM OF INTERCREDJTOR JOINDER AGREEMENT - ADDITIONAL INDEBTEDNESS

                              Reference is made to the ABL lnte rcreditor Agreement dated as of November 8, 2016 (as
             amended, restated, amended and restated, supplemented or othern,ise modified from time to time, the
             "lntercredito1· Ag,·eement"), among UBS AG, STAMFORD BRANCH, in its capacity as ABL Credit
             Agreement Collateral Agent, UBS AG, STAMFORD BRANCH, in its capacity as the First Lien Credit
             Agreement Collateral Agent and GOLDMAN SACHS BANK USA, as the Second Lien Credit
             Agreement Collateral Agent (in each case, as defined there in), each other FIRST LIEN COLLATERAL
             AGENT that is from time to time party thereto and each other SECOND LIEN COLLATERAL AGENT
             that is from time to time party thereto and acknowledged and agreed to by DAWN INTERMEDIATE,
             INC., a Delaware corporation, SERTA SIMMONS BEDDING, LLC, a Delaware limited liability
             company, NATIONAL BEDDING COMPANY L.L.C., an Illinois limited liability company AND SSB
             MANUFACTURING COMPANY, a Delaware corporation and the other OBLIGORS (as defined
             therein) from time to time party thereto. Capitalized te1ms used but not defined he rein shall have the
             meanings assigned to such tenns in the Intercreditor Agreement.

                            TI1is Intercreditor Joinder Agreement, dated as of [ •] [•], 20[•] (this "Joinder
             Agreement"), is being delive red pursuant to requirements of the Intercreditor Agreement.

                            TI1e undersigned Additional [First/Second] Lien Obligations Agent (the "New Collateral
             Agent") is executing this Joinder Agreement in accordance with the requirements of the Jnte rcreditor
             Agreement.

                              1.      Joinder. In accordance with Section 8.21 of the Intercreditor Agreement, the
                     New Collateral Agent by its signature below becomes a [First/Second] Lien Collateral Agent,
                     under, and it and the related [First/Second] Lien Claimholders represented by it he reby become
                     subject to and bound by, the Inte rcreditor Agreement with the same force and effect as if the New
                     Collateral Agent had originally been named therein as a [First/Second] Lien Collateral Agent, and
                     the Nev,, Collateral Agent, on behalf of itself and each other [First/Second] Lien Claimholder
                     represented by it, hereby agrees to all the te1ms and provisions of the lntercreditor Agreement.
                     Each reference to a "Collateral Agent", "Term Loan Collateral Agent" or "[First/Second] Lien
                     Collateral Agent" in the Intercreditor Agreement shall be deemed to include the New Collateral
                     Agent and each reference to " [First/Second] Lien Claimholders" or "Term Loan Claimholders"
                     shall include the [First/Second] Lien Claimholders represented by such New Collateral Agent.
                     The Inte rcreditor Agreement is hereby incorporated he rein by reference.

                               2.       Representations and Warranties. The New Collateral Agent represents and
                     warrants to the other Collateral Agents and Claimholders that (i) it has full power and authority to
                     ente r into this Joinder Agreement, in its capacity as [agent][trustee], (ii) this Joinder Agreement
                     has been duly authorized, executed and delivered by it and constitutes its legal, valid and binding
                     obligation, enforceable against it in accordance with its terms and the terms of the Intercreditor
                     Agreement and (iii) the [First/Second] Lien Obligations Agreements relating to such Additional
                     [First/Second] Lien Obligations provide that, upon the New Collateral Agent's entry into this
                     Agreement, the [First/Second] Lien Claimholders in respect of such Additional [First/Second]
                     Lie n Obligations will be subject to and bound by the provisions of the [ntercreditor Agreement as
                     [First/Second] Lien Claimholders.

                             3.       Counterparts. TI1is Joinder Agreement may be executed in two or more
                     counterparts, each of which shall be deemed to be an original, and all of which, when taken
                     together, shall constitute one contract. Delivery of an executed signature page to this Joinder
                     Agreement by facsimile transmission or other electronic transmission (including " .pdf', " .tiff' or
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                     similar fonnat) shall be effective as delivery of a manually executed counterpart of this Joinder
                     Agreement.

                          4.    Gove rning Law. THIS JOINDERAGREEMENT AND ANY CLAIM,
                     CONTROVERSY OR DISPUTE ARISING UNDER OR RELATED TO THIS JOTNDER
                     AGREEMENT, WHETHER IN TORT, CONTRACT (AT LAW OR IN EQUITY) OR
                     OTHERWISE, SHALL BE GOVERNED BY, AND CONSTRUED AND INTERPRETED IN
                     ACCORDANCE WITH, THE LAWS OF THE STATE OF N EW YORK.

                            6.        Miscellaneous. The provisions of Section 8 of the Intercreditor Agreement shall
                     apply with like effect to this Joinder Agreeme nt.

                                                      [Signature pages follow]




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                              IN WITNESS WHEREOF, the undersigned has caused this Joinder Agreement to be duly
             executed by its authorized representative, and each Collateral Agent has caused the same to be accepted
             by its authorized representative, as of the date first written above.

                                                            [NAME OF NEW COLLATERAL AGENT],
                                                            as a [First/Second] Lien Collateral Agent


                                                            By:
                                                                    Name:
                                                                    Title:

                                                            Address for notices:




                                                                    Attention of: _ _ _ _ _ _ _ _ _ _ __

                                                                    Telecopy: _ _ _ _ _ _ _ _ _ _ _ __




             Acknowledged by:

             UBS AG, STAMFORD BRANCH,
             as ABL Credit Agreement Collateral Agent


             By:
                   Name:
                   Title:

             By:
                   Nan1e:
                   Title :




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             UBS AG, STAMFORD BRANCH,
             as First Lien Credit Agreement Collateral Agent,


             By:
                   Name:
                   Title:

             By:
                   Name:
                   Title:

             GOLDMAN SACHS BANK USA,
             as Second Lien Credit Agreement Collateral Agent,


             By:
                   Name:
                   Title:




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                                                                                         EXHIBITG-2

                                                        [FORM OF]
                                FORM OF FIRST LIEN/SECOND LIEN INTERCREDITOR AGREEMENT

                                                     [See attached.]




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                                                                                             EXECUTION VERSION




                                    FIRST LIEN/SECOND LIEN INTERCREDITOR AGREEMENT



                                                   dated as of November 8, 20 l 6,

                                                               among



                                                 UBS AG, STAMFORD BRANCH,
                                          as First Lien Credit Agreement Collateral Agent;

                                                GOLDMAN SACHS BANK USA,
                                         as Second Lien Credit Agreement Collateral Agent,

                               EACH OTHER FIRST LIEN COLLATERAL AGENT PARTY HERETO

                                                                and

                             EACH OTHER SECOND LIEN COLLATERAL AGEN T PARTY HERETO



                                                and acknowledged and agreed to by



                                                  DAWN fNTERMEDIA TE, INC.

                                                            as Holdings,

                                               SERTA SIMMONS BEDDING, LLC

                                                       as the Top Borrower,

                                         THE OTHER BORROWERS PARTY HERETO,

                                                                and

                                       EACH OF THE OTHER OBLIGORS PARTY HERETO




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                                    FIRST LIEN/SECOND LIEN INTERCREDITOR AGREEMENT

                              This FIRST LIEN/SECOND LIEN INTERCREDITOR AGREEMENT (as amended,
             restated, amended and restated, supplemented and/or otherwise modified from time to time, this
             "Agreement") is dated as of November 8, 20 16, and entered into by and an10ng UBS AG, STAMFORD
             BRANCH, in its capacity as collateral agent under the First Lien Credit Agreement and the First Lien
             Collateral Documents relating thereto (in each case, as defined below) (in such capacity and together with
             its successors and assigns in such capacity, the "First Lien Credit Agreement Collateral Agent"),
             GOLDMAN SACHS BANK USA, in its capacity as collateral agent under the Second Lien Credit
             Agreement and the Second Lien Collateral Documents relating thereto (in each case, as defined below)
             (in such capacity and together with its successors and assigns in such capacity, the "Second Lien Credit
             Agreement Collateral Agent"), each other FIRST LIEN COLLATERAL AGENT that is from time to
             time party hereto and each other SECOND LIEN COLLATERAL AGENT that is from time to time party
             he reto and acknowledged and agreed to by DAWN JNTERMEDIATE, JNC., a Delaware corporation
             ("Holdings"), SERTA SIMMONS BEDDING, LLC, a Delaware limited liability company (the ''Top
             Borrower"), NATIONAL BEDDING COMPANY L.L.C., an Illinois limited liability company
             ("National Bedding"), SSB MANUFACTURfNG COMPANY, a Dela.ware corporation ("SSB
             Manufacturing" and, together with the Top Borrower and National Bedding, the "Borrowers") and the
             other OBLIGORS (as defined below) from time to time party hereto.

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                              Holdings, the Borrowers, the financial institutions party thereto from time to time, UBS
             AG, Stamford Branch ("UBS"), as administrative agent (in such capacity and togethe r with its successors
             and assigns in such capacity, the "First Lien Administrative Agent") and the First Lien Credit
             Agreement Collateral Agent, have entered into that certain First Lien Term Loan Agreement, dated as of
             November 8, 2016 (as amended, amended and restated, supplemented, modified or Refinanced from time
             to time, the "First Lien Credit Agreement");

                             Holdings, the Borrowers, the financial i.nstitutions party the reto from time to time,
             GOLDMAN SACHS BANK USA ("GS"), as administrative agent (in such capacity, the "Second Lien
             Administrative Agent") and Second Lien Credit Agreement Collateral Agent, have ente red into that
             certain Second Lien Te rm Loan Agreement, dated as of November 8, 2016 (as amended, amended and
             restated, supplemented, modified or Refinanced from time to time, the "Second Lien Credit
             Agreement");

                              Pursuant to (i) the First Lien Credit Agreement, (A) the Borrowers vvill incur loans and
             (B) the relevant First Lien Obligors have agreed to guarantee the First Lien Obligations, and (ii) the
             Second Lien Credit Agreement, (A) the Borrowers will incur loans and (B) the relevant Second Lien
             Obligors have agreed to guarantee the Second Lien Obligations;

                               The obligations of each First Lien Obligor under (i) the First Lien Financing Documents,
             (ii) any First Lien Hedge Agreements and (iii) any First Lien Banking Se rvices Agreements will be
             secured on a first priority basis by Liens on certain assets of each First Lien Obligor pursuant to the te rms
             of the First Lien Collateral Documents;

                             The obligations of each Second Lien Obligor under (i) the Second Lien Financing
             Documents, (ii) any Second Lien Hedge Agreements and (iii) any Second Lien Banking Services
             Agreements will be secured on a second priority basis by Liens on certain assets of each Second Lien
             Obligor pursuant to the terms of the Second Lien Collateral Documents;




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                              The First Lien Credit Agreement and the Second Lien Credit Agreement require, among
             other things, that the pa1ties thereto shall set fo1th in this Agreement their respective rights and remedies
             with respect to the Collateral;

                              The Obligors may, from time to time, to the ex'tent permitted by this Agreement, the First
             Lie n Financing Documents and the Second Lien Financing Documents, incur additional secured debt
             which the Obligors and the de btholders thereunder may elect, subject to the tenns and conditions he reof,
             of the First Lien Financing Documents and of the Second Lien Financing Documents, to be secured by
             the Collateral on a first priority basis or a second priority basis;

                              In order to induce each First Lien Collate ral Agent and the other First Lien Claimholders
             to consent to the Obligors incuning the Second Lien Obligations and to induce the First Lien
             Claimholders to extend credit and other financial accommodations and lend monies to or for the benefit of
             the First Lien Obligors, each Second Lien Collateral Agent, on behalf of itself and its Related Second
             Lie n Claimholders, and each Second Lien Claimholde r by its acceptance of the benefits of the Second
             Lien Collateral Documents, has agreed to the intercreditor and other provisions set forth in this
             Agreement; and

                              In order to induce each Second Lien Collateral Agent and the other Second Lien
             Claimholders to consent to the Obligors incurring the First Lien Obligations and to induce the Second
             Lie n Cla imholde rs to extend credit and other financial accommodations and lend monies to or for the
             benefit of the Second Lie n Obligors, each First Lien Collateral Agent, on behalf of itself and its Related
             First Lien Claimholders, and each First Lien Claimholder by its acceptance of the benefits of the First
             Lie n Collateral Documents, has agreed to the intercreditor and other provisions set forth in this
             Agreement.

                                                           AGREEMENT

                             In consideration of the foregoing, the mutual covenants and obligations herein set forth
             and for other good and valuable consideration, the sufficiency and receipt of which are hereby
             acknowledged, the parties hereto, intending to be legally bound, hereby agree as follows:

                                SECTION 1.      Definitions.

                                1.1   Defined Terms. Capitalized terms used but not othe rwise defined here in have the
             meanings set forth in the First Lien Credit Agreement. As used in this Agreement, the following terms
             shall have the following meanings:

                              "Additional First Lien Obligations" means obligations w ith respect to Indebtedness of
             the Borrowers or any other Obligor (other than, for the avoidance of doubt, First Lien Credit Agreement
             Obligations) issued or guaranteed following the date of this Agreement and documented in an agreement
             other than any agreement governing any then existing First Lien Obligations; provided that (a) such
             Indebtedness is pem1itted by the tem1s of each of the ABL Credit Agreement, First Lien Credit
             Agreement, the Second Lien Credit Agreement and each then existing Additional First Lien Obligations
             Agreement and Additional Second Lien Obligations Agreement to be secured by Liens on the Collateral
             ranking pari passu with the Liens securing the First Lien Obligations, (b) the Obligors have granted or
             purport to have granted Liens on the Collateral to secure the obligations in respect of such Indebtedness
             on a pari passu basis with the other First Lien Obligations, (c) the applicable Additional First Lien
             Obligations Agent, for itself and on behalf of the holders of such Indebtedness and obligations in respect
             of such Indebtedness, has entered into a Joinder Agreement pursuant to Section 8.2 l(b) acknowledging
             that such Indebtedness, obligations and Liens shall be subject to, and such Additional First Lien

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             Obligations Agent and such holders shall be bound by, and shall have the 1ights and obligations provided
             under, the te1ms of this Agreeme nt applicable to the First Lien Collateral Agent and the other First Lien
             Claimholders, respectively and (d) an amendment to or other modification of this Agreement shall have
             been entered into pursuant to Section 8.3 to the e:i.1:ent contemplated and requested pursuant to
             Section 8.21(c).

                               "Additional First Lien Obligations Agent" means any Person appointed to act as
             trustee, agent or similar representative fo r the holders of Additional First Lien Obligations pursuant to any
             Additional First Lien Obligations Agreement (including, in the case of any bilateral arrangement, the
             actual holder of the relevant Additional First Lien Obligations unless such holder has otherwise appointed
             a trustee, agent or similar representative acting on its behalf) and has been designated as such in the
             applicable Joinder Agreement, and any successor thereto.

                               "Additional First Lien Obligations Agreements" means (i) the indenture, credit
             agreeme nt, guarantee or other agreement evidencing or governing any Additional First Lien Obligations
             that are designated as Additional First Lien Obligations pursuant to Section 8.21 and (ii) any other " Loan
             Documents," or "Financing Documents" (or simi lar te1m as may be defined in the foregoing or referred to
             in the foregoing), in each case, as Refinanced from time to time in accordance with the tenns the reof and
             subject to the terms hereof.

                                "Additional First Lien Obligations Claim holders" means, at any relevant time, the
             le nde rs, creditors and secured parties unde r any Additional First Lien Obligations Agreements, any
             Additional First Lien Obligations Agent and the other agents under such Additional First Lien
             Obligations Agreements, in each case, in the ir capacities as such.

                             "Additional Lien Obligations" means, collectively, the Additional First Lien
             Obligations and the Additional Second Lien Obligations.

                             "Additional Lien Obligations Agent" means the Additional First Lien Obligations
             Agent and/or the Additional Second Lien Obligations Agent, as applicable.

                            "Additional Lien Obligations Agreements" means, collectively, the Additional First
             Lien Obligations Agreements and the Additional Second Lien Obligations Agreements.

                              "Additional Second Lien Obligations" means obligations with respect to Indebtedness
             of the Borrowers or any other Obligor ( other than, for the avoidance of doubt, Second Lien Credit
             Agreement Obligations) issued or guaranteed following the date of this Agreement and documented in an
             agreeme nt other than any agreement governing any then existing Second Lien Obligations. provided that
             (a) such Indebtedness is permitted by the terms of each of the ABL Credit Agreement, First Lien Credit
             Agreement, the Second Lien Credit Agreement and any then existing Additional First Lien Obligations
             Agreement and Additional Second Lien Obligations Agreement to be secured by Liens on the Collateral
             rankingpari passu with the Liens securing the Second Lien Obligations, (b) the Obligors have granted or
             purport to have granted Liens on the Collateral to secure the obligations in respect of such Indebtedness
             on a pari passu basis with the other Second Lien Obligations, (c) the applicable Additional Second Lien
             Obligations Agent, for itself and on behalf of the holders of such Indebtedness and obligations in respect
             of such Indebtedness, has entered into a Joinder Agreement pursuant to Section 8 .2 l(b) acknowledging
             that such Indebtedness, obligations and Liens shall be subject to, and such Additional Second Lien
             Obligations Agent and such holders shall be bound by, and shall have rights and obligations provided
             under, the terms of this Agreement applicable to the Second Lien Collateral Agent and the other Second
             Lie n Cla imholders, respectively and (d) an amendment to or other modification of this Agreement shall


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             have been ente red into pursuant to Section 8.3 to the extent contemplated and requested pursuant to
             Section 8.21(c).

                              "Additional Second Lien Obligations Agent" means any Person appointed to act as
             trustee, agent or similar representative for the holders of Additional Second Lien Obligations pursuant to
             any Additional Second Lien Obligations Agreement (including, in the case of any bilateral arrangement,
             the actual holder of the relevant Additional Second Lien Obligations unless such holde r has otherwise
             appointed a trustee, agent or similar representative acting on its behalf) and has been designated as such in
             the applicable Joinder Agreement, and any successor thereto.

                               "Additional Second Lien Obligations Agreements" means (i) the indenture, credit
             agreement, guarantee or other agreement evidencing or governing any Additional Second Lien
             Obligations that are designated as Additional Second Lien Obligations pursuant to Section 8.21 and
             (ii) any other " Loan Documents" or "Financing Documents" (or similar te1m as may be defined in the
             foregoing or referred to in the foregoing), in each case, as Refinanced from time to time in accordance
             with the tenns thereof and subject to the tem1s hereof.

                                "Additional Second Lien Obligations Claimholders" means, at any relevant time, the
             le nde rs, creditors and secured parties under any Additional Second Lien Obligations Agreements, any
             Additional Second Lien Obligations Agent and the other agents under such Additional Second Lien
             Obligations Agreements, in each case, in the ir capacities as such.

                             "Affiliate" means, as applied to any Person, any other Pe rson directly or indirectly
             Controlling, Controlled by, or unde r common Control with, that Person.

                                "Agreement" has the meaning set forth in the Preamble to this Agreement.

                            "Banking Services" means the First Lien Banking Services and the Second Lien
             Banking Services.

                            "Banking Services Obligations" means the First Lien Banking Services Obligations and
             the Second Lien Banking Services Obligations.

                                "Bankruptcy Code" means Title 11 of the United States Code (11. U.S.C. § IOI et seq.).

                                "Borrowers" has the meaning set forth in the Preamble to this Agreement.

                           "Business Day" means any day other than a Saturday, Sunday or other day on which
             commercial banks in New York City are authorized or required by law to remain closed .

                              "Capital Lease" means, as applied to any Person, any lease of any property (whether
             real, personal or mixed) by that Person as lessee that, in confom1ity with GAAP, is or is required to be
             accounted for as a capital lease on the balance sheet of that Person.

                                "Cash Collateral" has the meaning set forth in Section 6.1 (a).

                                "Claim holders" means each of the First Lien Claimholde rs and the Second Lien
             Claimholders.

                              "Collateral" means all of the assets and property of any Obligor, whether real, personal
             or mixed, that constitute or are required to constitute (including pursuant to this Agreement) both First

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             Lie n Collateral and Second Lie n Collateral, including any prope rty subject to Liens granted pursuant to
             Section 6 to secure both First Lien Obligations and Second Lien Obligations.

                             "Collateral Agent" means any First Lien Collateral Agent and/or any Second Lien
             Collateral Agent, as applicable.

                             "Collateral Documents" means the First Lien Collate ral Documents and the Second
             Lien Collateral Documents.

                             "Comparable Second Lien Collateral Document" means, in relation to any Collate ral
             subject to any Lien created or purported to be created under any First Lien Collateral Document, the
             Second Lien Collateral Document that creates or purports to create a Lien on the same Collateral, granted
             by the same Obligor.

                              "Control" means the possession, directly or indirectly, of the power to direct or cause the
             direction of the management or policies of a Person, whether through the ability to exe rcise voting power,
             by contract or othern1ise, and the te1ms "Controlling" and "Controlled" have meanings co1Telative
             thereto.

                              "Debtor Relief Laws" means the Bankruptcy Code and all other liquidation,
             conservatorship, bankruptcy, gene ral assignment for the benefit of creditors, moratorium, rearrangement,
             receivership, insolvency, reorganization or similar debtor relief laws of the United States or any state or
             other applicable jurisdictions from time to time in effect and affecting the rights of creditors generally.

                               "Derivative Transaction" means (a) any interest-rate transaction, including any interest-
             rate swap, basis swap, forward rate agreement, interest rate option (including a cap, collar or floor), and
             any othe r instrument linked to inte rest rates that gives rise to similar credit risks (including when-issued
             securities and forward deposits accepted), (b) any exchange-rate transaction, including any cross-currency
             inte rest-rate swap, any forward foreign-exchange contract, any currency option, and any othe r instrume nt
             linked to exchange rates that g ives rise to similar credit risks, (c) any equity derivative transaction,
             including any equity-linked swap, any equity-linked option, any fonvard equity-linked contract, and any
             other instrument linked to equities that g ives rise to similar credit risk and (d) any commodity (including
             precious metal) derivative transaction, including any commodity-linked swap, any commodity-linked
             option, any forward commodity-linked contract, and any othe r instrument linked to commodities that
             gives rise to similar credit risks; provided that no phantom stock or similar plan providing for payments
             only on account of services provided by current or former directors, officers, employees, members of
             management, managers or consultants of Holdings or its subsidiaries shall constitute a Derivative
             Transaction.

                               "DIP Cap Amount" means 115% of the sum of (a) the maximum principal amount of all
             Indebtedness constituting First Lie n Obligations that are pe rmitted to be incurred under the Second Lien
             Credit Agreement as in effe ct on the date hereof and (b) any accrued and unpaid interest (including
             interest accruing at the default rate specified in the applicable First Lien Financing Document and any
             Post-Petition Interest) and premiums (including tender premiums and prepayment premiums) payable on
             account of any First Lien Obligations and any unden vriting discounts, fees, commissions and expenses
             (including orig inal issue discount, upfront fees or initial yield payments), attorneys ' fees, costs, expenses
             and indemnities paid or payable by any First Lien Obligor in connection w ith incurrence or issuance of
             any First Lien Obligation or any Refinancing of any First Lien Obligation in accordance with the terms of
             this Agreement.

                                "DIP Financing" has the meaning set forth in Section 6. l(a).

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                              "Directing First Lien Collateral Agent" means, at any time of determination (a) if there
             is only one Series of First Lien Obligations w ith respect to which the Discharge of such First Lien
             Obligations has not occurred, the First Lien Collateral Agent for such Series and (b) if clause (a) does not
             apply, the First Lien Collateral Agent designated as the "Controlling Collateral Agent" (or any similar
             te,m) pursuant to the First Lie n Intercreditor Agreement or other applicable intercreditor arrangements
             among the Se ries of First Lien Obligations at such time. For purposes of this definition, no Discharge of
             any Series of First Lien Obligations shall be deemed to have occu1Ted if the Bo1TOvvers or any other First
             Lien Obligor enters into any Refinancing of the First Lien Obligations of such Series with the proceeds of
             new First Lien Obligations.

                              "Directing Second Lien Collateral Agent" means, at any time of determination (a) if
             there is only one Series of Second Lien Obligations with respect to which the Discharge of such Second
             Lien Obligations has not occurred, the Second Lien Collateral Agent for such Series and (b) if clause (a)
             does not apply, the Second Lien Collateral Agent designated as the " Controlling Collateral Agent" (or any
             similar term) pursuant to the applicable intercreditor arrangements an10ng the Series of Second Lien
             Obligations at such time. For purposes of this definition, no Discharge of any Series of Second Lien
             Obligations shall be deemed to have occurred if the Bo1TOwers or any other Second Lien Obligor ente rs
             into any Refinancing of the Second Lien Obligations of such Series with the proceeds of a ne",1 Second
             Lie n Obligations.

                             "Discharge" means, w ith respect to any Se ries of First Lien Obligations or Second Lien
             Obligations, notwithstanding any discharge of such Series under any Debtor Relief Laws or in connection
             with any Insolvency or Liquidation Proceeding, except to the extent othe1w ise expressly provided in
             Section 5.6:

                               (a)      payment in full in cash of the principal of and interest (including Post-Petition
                      Interest), and premium, if any, on all Indebtedness outstanding under the First Lien Documents or
                      Second Lien Documents of such Series, as applicable, and constituting First Lien Obligations or
                      Second Lien Obligations of such Series, as applicable (othe r than any First Lien Other
                      Obligations or Second Lien Other Obligations);

                              (b)      termination o r expiration of all commitments, if any, to e)-,.-tend credit that would
                      constitute First Lien Obligations or Second Lien Obligations of such Se1ies, as applicable;

                              (c)      termination or cash collateralization or backstopping (in an amount and manner
                      reasonably satisfactory to the applicable issuing bank, but in no event g reater than 105%) of the
                      aggregate undrawn face an10unt of any letter of credit obligations constituting First Lien
                      Obligations or Second Lien Obligations of such Series, as applicable.

                               (d)      payment in full in cash of all other First Lien Obligations or Second Lien
                      Obligations of such Series, as applicable (or, in the case of any First Lien Other Obligations or
                      Second Lien Other Obligations, the cash collateralization or backstopping of such First Lien
                      Other Obligations or Second Lien Other Obligations on terms reasonably satisfactory to the
                      applicable lender or counterpa.rty, as applicable) that are due and payable or otherwise accrued
                      and owing at or prior to the time such principal and interest are paid (including Post-Petition
                      Interest, but other than any indemnification or expense re imbursement obligations or any other
                      obligations that by the terms of any First Lien Document or Second Lien Document of such
                      Series, as applicable, expressly survive tennination of such First Lien Document or Second Lien
                      Docume nt, in each case, for which no claim or demand for payment, whether oral o r w1itten, has
                      been made at such time); and


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                              (e)        adequate provision has been made for any contingent or unliquidated First Lien
                      Obligations or Second Lien Obligations of such Series, as applicable, re lated to claims, causes of
                      action or liabilities that have been asserted against the First Lien Claimholders or Second Lien
                      Claimholders of such Series, as applicable, for which indemnification is required under the First
                      Lie n Documents or Second Lien Documents of such Series, as applicable;

             provided that the Discharge of any Series of First Lien Obligations or Second Lien Obligations, as
             applicable, shall not be deemed to have occurred if such payments are made with the proceeds of (i) in the
             case of First Lien Obligations, other First Lien Obligations or (ii) in the case of Second Lien Obligations,
             other Second Lien Obligations, as applicable, that constitute an exchange or replacement for or a
             Refinancing of such Series of First Lien Obligations or Second Lien Obligations, as applicable. Upon the
             satisfaction of the conditions set forth in clauses (a) through~ with respect to any Series, the Collateral
             Agent of such Series agrees to promptly delive r to each other Collateral Agent written notice of the san1e.

                           "Discharge of First Lien Obligations" means the Discharge of the First Lie n Credit
             Agreement Obligations and the Discharge of each Series of Additional First Lien Obligations.

                           "Discharge of Second Lien Obligations" means the Discharge of the Second Lien
             Credit Agreement Obligations and the Discharge of each Se1ies of Additional Second Lien Obligations.

                              "Disposition" has the meaning set forth in Section 5. l(b). "Dispose" has a meaning
             co1Telative thereto.

                                "Enforcement Action" means:

                                (a)     any action to foreclose, execute, levy or collect on, take possession or control of
                      (othe r than for purposes of perfection), sell or otherwise realize upon (judicially or non-
                      judicially), or lease, license, or othenvise Dispose of (whether publicly or privately), any
                      Collateral or otherwise exercise or enforce remedial rights with respect to any of the Collateral
                      under the First Lien Documents or the Second Lien Documents (including by way of setoff,
                      recoupment, notification of a public or private sale or other Disposition pursuant to the UCC or
                      other applicable law, notification to account debtors, notification to depositary banks unde r
                      deposit account control agreements, or exercise of rights under landlord consents, if applicable);

                             (b)     any action to solicit bids from third Persons, or approve bid procedures for, any
                      proposed Disposition of any of the Collateral or conduct any Disposition of any Collateral;

                              (c)     any action to receive a transfer of any portion of the Collateral in satisfaction of
                      Indebtedness or any other Obligation secured thereby;

                                (d)     any action to otherwise enforce a security interest or exercise another right or
                      remedy, as a secured creditor or otherwise, pertaining to any Collateral, whether at law, in equity
                      or pursuant to the First Lien Documents or the Second Lien Documents (including the
                      commencement of applicable legal proceedings or other actions with respect to any Collateral to
                      facilitate the actions described in the preceding clauses, and exercising voting rights in respect of
                      equity interests comprising any Collateral); or

                              (e)     the Disposition of any Collateral by any Obligor after the occurrence and during
                      the continuation of an "event of default" unde r the First Lien Documents or the Second Lien
                      Docume nts with the consent of the First Lien Collateral Agents or the Second Lien Collateral
                      Agents, as applicable (in e ither case, to the extent that such consent is required).

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                                "Escrow Account" has the meaning set forth in Section 6.3(b)(ii).

                                "First Lien Administrative Agent" has the meaning set forth in the Recitals to this
             Agreement.

                              ''First Lien Banking Services" means any of the following services provided to any
             First Lien Obligor or any of its "Subsidiaries" as defined in the First Lien Credit Agreement (or any
             similar tenn in any other First Lien Document): commercial credit cards, stored value cards, purchasing
             cards, treasury manage ment services, netting services, overdraft protections, check drawing services,
             automated payment services (including depository, overdraft, controlled disbursement, ACH transactions,
             return items and interstate depository network services), employee credit card programs, cash pooling
             services and any arrangements or services similar to any of the foregoing and/or otherwise in connection
             with cash management and deposit accounts.

                            "First Lien Banking Services Agreement" means any documentation with a First Lien
             Claimholder governing any First Lien Banking Services Obligations.

                               "First Lien Banking Services Obligations" means any and all obligations of any First
             Lien Obligor or any of its "subsidiaries" as defined in the First Lien Credit Agreement (or any similar
             term in any other First Lien Document), whether absolute or contingent and however and whenever
             created, arising, evidenced or acquired (including all renewals, extensions and modifications thereof and
             substitutions the refor), in connection with First Lien Banking Services, in each case, that constitute First
             Lie n Obligations.

                              "First Lien Claimholders" means, at any relevant time, the holders of First Lien
             Obligations at that time, including the First Lien Lenders, the First Lien Administrative Agent, the First
             Lie n Collateral Agent, the other agents under the First Lien Credit Agreement and any Additional First
             Lien Obligations Claimholders.

                              "First Lien Collateral" means (i) the "Collateral" as defined in the First Lien Credit
             Agreement and (ii) any other assets and property of any Obligor, whethe r real, personal or mixed, with
             respect to which a Lien is granted or purported to be granted as secu1ity for any First Lien Obligations or
             that is otherwise subject to a Lien securing any First Lien Obligations.

                            "First Lien Collateral Agent" means the First Lien Credit Agreement Collateral Agent
             and any Additional First Lien Obligations Agent.

                              "First Lien Collateral Documents" means the "Collateral Documents" as defined in the
             First Lien Credit Agreeme nt and any other agreement, document or instrument pursuant to which a Lie n
             is granted or purpo1ted to be granted securing any First Lien Obligations or under which rights or
             remedies with respect to such Liens are governed.

                                "First Lien Credit Agreement" has the meaning set forth in the Recitals to this
             Agreement.

                             "First Lien Credit Agreement Collateral Agent" has the meaning set forth in the
             Preamble to this Agreement.

                              "First Lien Credit Agreement Obligations" means all "Secured Obligations" (or any
             similar tenn) as defined in the First Lien Credit Agreement.


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                              "First Lien Documents" means (i) the First Lien Financing Documents, (ii) the First
             Lie n Hedge Agreements governing First Lie n Secured Hedging Obligations and (iii) the First Lie n
             Banking Services Agreements, in each case, as Refinanced from time to time in accordance with the
             terms the reof and subject to the terms hereof.

                             ''First Lien Financing Documents" means the First Lien Credit Agreement, the First
             Lien Collateral Documents, the other "Loan Documents" as defined in the First Lien Credit Agreement,
             any Additional First Lien Obligations Agreement and each of the other agreements, documents and
             instruments providing for or evidencing any other First Lien Obligation (other than any First Lien Other
             Obligation), and any other document or instrument executed or delivered at any time in connection with
             any First Lien Obligations (other than any First Lien Othe r Obligations), including any intercreditor or
             joinder agreement among any First Lien Claimholders (including, without limitation, the ABL
             Intercreditor Agreement), to the extent such are effective at the relevant time, as each may be Refinanced
             from time to time in accordance with the tenns thereof and subject to the terms he reof.

                             "First Lien Hedge Agreement" means any agreement with respect to any Derivative
             Transaction between any First Lien Obligor or any "subsidiary" as defined in the First Lien Credit
             Agreement (or any similar te1m in any other First Lien Document) and any First Lien Claimholder.

                             "First Lien Hedging Obligations" means, with respect to any First Lien Obligor or any
             "subsidiary" as defined in the First Lien Credit Agreement (or any similar term in any other First Lien
             Docume nt), the obligations of such Pe rson under any First Lie n Hedge Agreement.

                              "First Lien Incremental Facility" means an "Incremental Facility" and any
             " Incremental Equivalent Debt" as defined in the First Lien Credit Agreement (or any similar terms in any
             other First Lien Financing Document).

                             "First Lien Intercreditor Agreement" has the meaning assigned to such term in the
             First Lien Credit Agreement.

                                "First Lien Issuing Bank" means each issuing bank in respect of a First Lien Letter of
             Credit.

                            "First Lien Lenders" means the "Lenders" (or any similar term) as defined in the First
             Lien Credit Agreement and the " Lenders" (or any similar term) as defined in any Additional First Lien
             Obligations Agreement and also shall include all First Lien Issuing Banks.

                             "First Lien Letters of Credit" means any letters of credit issued (or deemed issued)
             from time to time under any First Lien Financing Document.

                              "First Lien Obligations" means the First Lien Credit Agreement Obligations and all
             other "Secured Obligations" (or any similar term) as defined in any other First Lien Financing Document.
             To the ex'tent any payment ·with respect to any First Lien Obligation (whether by or on behalf of any First
             Lien Obligor, as proceeds of security, enforcement of any right of setoff or otherwise) is declared to be a
             fraudulent conveyance or a preference in any respect, set aside or required to be paid to a debtor in
             possession, any Second Lien Claim.holde r, receiver or other Pe rson, then the obligation or part thereof
             originally intended to be satisfied shall, for all purposes of this Agreement and the rights and obligations
             of the First Lien Claimholders and the Second Lien Claimholders, be deemed to be reinstated and
             outstanding as if such payment had not occurred. In the event that any interest, fees, expenses or other
             amounts (including any interest accruing at the default rate or any Post-Petition Interest) to be paid by a
             First Lien Obligor pursuant to the First Lien Financing Documents, the First Lien Hedge Agreements

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             governing First Lien Secured Hedging Obligations or the First Lien Banking Services Agreements are
             disallov,1ed by order of any court of competent jurisdiction, including by order of a court presiding over an
             Insolvency or Liquidation Proceeding, such interest, fees, expenses and other amounts (including default
             inte rest and Post-Petition Interest) shall, as between the First Lien Claimholders and the Second Lien
             Claimholders, be deemed to continue to accrue and be added to the amount to be calculated as the " First
             Lien Obligations."

                              "First Lien Obligors" means, collectively, the "Loan Parties" (or any similar te rn1) as
             defined in the First Lien Credit Agreement and the " Loan Parties" (or any similar term) as defined in any
             other First Lien Document.

                              "First Lien Othe1· Obligations" means the First Lien Banking Services Obligations and
             the First Lien Secured Hedging Obligations.

                              "First Lien Replacement Revolving Facility" means a "Replacement Revolving
             Facility" under and as defined in the First Lien Credit Agreement as in effect on the date hereof ( or any
             similar term in any other First Lien Financing Document).

                              "First Lien Replacement Term Loan" means a " Replacement Term Loan" under and as
             defined in the First Lien Credit Agreement as in effect on the date hereof (or any similar term in any other
             First Lien Financing Document).

                              "First Lien Secured Hedging Obligations" means all First Lien Hedging Obligations of
             the First Lien Obligors, whethe r absolute, or contingent and howsoever and whenever created, a1ising,
             evidenced or acquired (including all renewals, extensions or modifications thereof and substitutions
             therefor), in each case, that constitute First Lien Obligations.

                             "GAAP" means generally accepted accounting principles in the United States in effect
             and applicable to the accounting period in respect of which refere nce to GAAP is being made.

                              "Governmental Authority" means any federal, state, municipal, national or other
             government, governmental depa1tment, commission, board, bureau, court, agency or instrumentality or
             political subdivision thereof or any entity or officer exercising executive, legislative, judicial, regulatory
             or administrative functions of or pertaining to any government or any court, in each case whether
             associated with a state or locality of the United States, the United States, or a foreign government.

                                "GS" has the meaning set forth in the Recitals to this Agreement.

                          "Hedge Agreements" means the First Lien Hedge Agreements and the Second Lien
             Hedge Agreements.

                           "Hedging Obligations" means the First Lien Hedging Obligations and the Second Lien
             Hedging Obligations.

                                "Holdings" has the meaning set forth in the Preamble to this Agreement.

                              "Indebtedness" means " Indebtedness" within the meaning of the First Lien Credit
             Agreement or the Second Lien Credit Agreement, as applicable. For the avoidance of doubt,
             " Indebtedness" shall not include Hedging Obligations or Banking Services Obligations.




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                               "Insolvency or Liquidation Proceeding" means (a) any voluntary or involuntary case or
             proceeding unde r the Bankrnptcy Code or any othe r Debtor Relief Laws with respect to any Obligor,
             (b) the appointment of or taking possession by a rece iver, interim receiver, receiver and manager,
             (preliminary) insolvency rece iver, liquidator, sequestrator, trnstee or other custodian for all or a
             substantial part of the property of any Obligor, (c) except as would not result in an "event of default"
             unde r the First Lien Credit Agreement or any Additional First Lien Obligations Agreement, any
             liquidation, administration ( or appointment of an administrator), dissolution, reorganization or winding up
             of any Obligor, whether voluntary or involuntary and whether or not involving insolvency or bankrnptcy,
             or ( d) any general assignment for the benefit of creditors or any other marshaling of assets and liabilities
             of any Obligor.

                              "Joinder Agreement" means a supplement to this Agreement in the fonn of (i) in the
             case of any joining additional Obligor, Exhibit A hereto and (ii) in the case of any joining Additional Lien
             Obligations Agent, Exhibit B hereto.

                              "Lien" means any mortgage, pledge, hypothecation, assignment, deposit arrangement,
             encumbrance, lien (statutory or other), charge, or preference, priority or other security interest or
             preferential arrangement of any kind or nature whatsoeve r (including any conditional sale or other title
             retention agreement, any easement, right of way or other encumbrance on title to real property, and any
             Capital Lease having substantially the same economic effect as any of the foregoing), in each case in the
             nature of security; provided that in no event shall an operating lease in and of itself be deemed a Lien.

                                "New First Lien Agent" has the meaning set forth in Section 5.6.

                              "Obligors" means each First Lien Obligor and each Second Lien Obligor and each other
             Person that has executed and delivered, or may from time to time hereafte r execute and deliver, a First
             Lien Collateral Document or a Second Lien Collateral Document as a "grantor" or "pledgor" (or the
             equivale nt thereof).

                                "Other Obligations" means the First Lien Other Obligations and the Second Lien Other
             Obligations.

                                "Pay-Over Amount" has the meaning set forth in Section 6. 3(b)(ii).

                              "Person" means any natural person, corporation, limited liability company, trnst, joint
             venture, association, company, partne rship, Governmental Authority or any othe r entity .

                                "Pledged Collateral" has the meaning set forth in Section 5.5(a).

                              ''Post-Petition Interest" means interest (including interest accrning at the default rate
             specified in the applicable First Lien Documents or the applicable Second Lien Documents, as the case
             may be), fees, expenses and other amounts that pursuant to the First Lien Documents or the Second Lien
             Docume nts, as the case may be, continue to accrne or become due afte r the commencement of any
             Insolvency or Liquidation Proceeding, whether or not such interest, fees, expenses and other an10unts are
             allowed or allowable, voided or subordinated under any Debtor Relief Law or other applicable law or in
             any such Insolvency or Liquidation Proceeding.

                                "Purchase Price" has the meaning set forth in Section 5.7(a).

                                "Recovery" has the meaning set fo1th in Section 6.5.


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                                "Refinance" means, in respect of any Indebtedness and any agreeme nt governing any
             such Indebtedness, to refinance, extend, increase, renew, defease, amend, restate, an1end and restate,
             modify, supplement, restructure, replace, refund or repay, or to issue other indebtedness, in exchange or
             replacement for or refinancing of, such Indebtedness in whole or in part, including by adding or replacing
             le nde rs, creditors, agents, obligors and/or guarantors, and including, in each case, but not limited to, after
             the original instrument giving rise to such Indebtedness has been tem1inated. "Refinanced" and
             "Refinancing" shall have corre lative meanings.

                             "Related Claimholders" means, with respect to any Collateral Agent, its Related First
             Lien Clairnholde rs or its Re lated Second Lien Claimholders, as applicable.

                              "Related First Lien Claim holders" means, with respect to any First Lien Collateral
             Agent, the First Lien Claimholders for which such First Lien Collateral Agent acts as the " collateral
             agent" (or other agent or similar representative) under the applicable First Lien Documents.

                              "Related Second Lien Claimholders" means, ,vith respect to any Second Lien
             Collateral Agent, the Second Lien Claimholders for which such Second Lien Collateral Agent acts as the
             "collateral agent" (or other agent or similar representative) under the applicable Second Lien Documents.

                              "Required First Lien Claimholders" means (a) at all times prior to the occurrence of
             the Discharge of First Lien Obligations (other than the First Lien Othe r Obligations), the First Lien
             Claimholders holding more than 50% of the sum of (i) the aggregate outstanding principal amount of
             First Lien Obligations (including participations in the face amount ofthe First Lien Lette rs of Credit and
             any disbursements thereunder that have not been reimbursed, but excluding the First Lien Other
             Obligations) plus (ii) the aggregate unfunded commitments to extend credit which, v,rhen funded, would
             constitute First Lien Obligations (other than the First Lien Other Obligations), and (b) at all times
             following the occurrence of the Discharge of First Lien Obligations (other than the First Lien Other
             Obligations), the First Lien Claimholde rs holding more than 50% of the sum of (i) the then outstanding
             First Lien Secured Hedging Obligations plus (ii) the then outstanding First Lien Banking Services
             Obligations; provided that, in the case of both clauses (a) and (b) above, in the event there are separate
             intercreditor arrangements between the holders of the First Lien Obligations (or their agents), the
             Required First Lien Claimholders will mean the "Required First Lien Claimholders" (or any similar term)
             or "Controlling Secured Pa1ties" (or any similar term) as defined in the documentation providing such
             separate intercreditor arrangements.

                               "Required Second Lien Claim holders" means (a) at all times prior to the occurrence of
             the Discharge of Second Lien Obligations (other than the Second Lien Othe r Obligations), the Second
             Lien Claimholde rs holding more than 50% of the sum of (i) the aggregate outstanding principal amount of
             Second Lien Obligations plus (ii) the aggregate unfunded commitments to extend credit which, whe n
             funded, would constitute Second Lien Obligations (othe r than the Second Lien Other Obligations), and
             (b) at all times following the occurrence of the Discharge of Second Lien Obligations (other than the
             Second Lien Othe r Obligations), the Second Lie n Clairnholders holding more than 50% of the sum of
             (i) the then outstanding Second Lien Secured Hedging Obligations plus (ii) the then outstanding Second
             Lie n Banking Se rvices Obligations; provided that, in the case of both clauses (a) and (b) above, in the
             event there are separate inte rcreditor arrangements between the holders of the Second Lien Obligations
             (or their agents), the Required Second Lien Claimholders will mean the "Required Second Lien
             Claimholders" (or any similar tenn) or "Controlling Secured Parties" (or any similar te1m) as defined in
             the documentation providing such separate intercreditor arrangeme nts.

                              "Responsible Officer" of any Person means the chief executive officer, the president, the
             chief financial officer, the treasure r, any assistant treasure r, any executive vice president, any senior vice

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             president, any vice preside nt or the chief ope rating officer of such Person and any othe r individual or
             similar official thereof responsible for the administration of the obligations of such Person in respect of
             this Agreement.

                                "Second Lien Adequate Protection Payments" has the meaning set forth in Section
             6.3(b)(ii).

                                "Second Lien Administrative Agent" has the meaning set forth in the Recitals to this
             Agreement.

                              "Second Lien Banking Services" means any of the following services provided to any
             Second Lien Obligor or any of its "Subsidiaries" as defined in the Second Lien Credit Agreement (or any
             similar te1m in any other Second Lien Financing Document) commercial credit cards, stored value cards,
             purchasing cards, treasury management services, netting services, overdraft protections, check drawing
             services, automated payment services (including depository, overdraft, controlled disbursement, ACH
             transactions, return items and interstate depository network services), employee credit card programs,
             cash pooling services and any arrangements or services similar to any of the foregoing and/or otherwise in
             connection with cash management and deposit accounts.

                            "Second Lien Banking Services Agreement" means any documentation with a Second
             Lien Claimholde r governing any Second Lien Banking Services Obligations.

                              "Second Lien Banking Services Obligations" means any and all obligations of the
             Second Lien Obligors, whether absolute or contingent and however and whenever created, arising,
             evidenced or acquired (including all renewals, extensions and modifications thereof and substitutions
             therefor), in connection with Second Lien Banking Services, in each case, that constitute Second Lie n
             Obligations; provided that in no event shall any obligations constitute Second Lien Banking Services
             Obligations to the extent such o bligations constitute First Lien Banking Services Obligations.

                              "Second Lien Claim holders" means, at any relevant time, the holders of Second Lien
             Obligations at that time, including the Second Lien Lenders, the Second Lien Administrative Agent, the
             Second Lien Collateral Agent, the other agents under the Second Lien Credit Agreement and any
             Additional Second Lien Obligations Claimholders.

                              "Second Lien Collateral" means (i) the "Collateral" as defined in the Second Lien
             Credit Agreement and (ii) any other assets and property of any Obligor, whether real, personal or mixed,
             with respect to which a Lien is granted or purported to be granted as security for any Second Lien
             Obligations or that is othenvise subject to a Lien securing any Second Lien Obligations.

                            "Second Lien Collateral Agent" means the Second Lien Credit Agreement Collateral
             Agent and any Additional Second Lien Obligations Agent.

                              "Second Lien Collateral Documents" means the "Collateral Documents" as defined in
             the Second Lien Credit Agreement and any other agreement, document or instrument pursuant to which a
             Lien is granted or purported to be granted securing any Second Lien Obligations or under which rights or
             remedies with respect to such Liens are governed.

                                "Second Lien Credit Agreement" has the meaning set forth in the Recitals to this
             Agreement.




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                             "Second Lien Credit Agreement Collateral Agent" has the meaning set forth in the
             Preamble to this Agreement.

                              "Second Lien Credit Agreement Obligations" means all "Secured Obligations" (or
             similar term) as defined in the Second Lien Credit Agreement.

                              "Second Lien Documents" means (i) the Second Lien Financing Documents, (ii) the
             Second Lien Hedge Agreements governing Second Lien Secured Hedging Obligations and (iii) the
             Second Lien Banking Services Agreements, in each case, as Refinanced from time to time in accordance
             with the terms thereof and subject to the terms he reof.

                               "Second Lien Financing Documents" means the Second Lien Credit Agreement, the
             Second Lien Collateral Documents, the other "Loan Documents" as defined in the Second Lien Credit
             Agreement, any Additional Second Lien Obligations Agreement, and each of the other agreements,
             documents and instruments providing for or evidencing any other Second Lien Obligation (other than any
             Second Lien Othe r Obligation), and any other document or instrument executed or de livered at any time
             in connection with any Second Lien Obligations (other than any Second Lien Other Obligations),
             including any intercreditor or joinder agreement among any Second Lien Claimholders, to the extent such
             are effective at the relevant time, as each may be Refinanced from time to time in accordance with the
             terms the reof and subject to the terms hereof.

                            "Second Lien Hedge Agreement" means any agreement with respect to any De rivative
             Transaction between any Second Lien Obligor or any "subsidiary" as defined in the Second Lien Credit
             Agreement (or any similar tenn in any other Second Lien Document) and any Second Lien Claimholder.

                             "Second Lien Hedging Obligations" means, with respect to any Second Lien Obligor or
             any "subsidiary" as defined in the Second Lien Credit Agreement (or any similar te rm in any other
             Second Lien Document), the obligations of such Person under any Second Lien Hedge Agreement.

                             "Second Lien Incremental Facility" means an " Incremental Facility" and any
             " Incremental Equivalent Debt" as defined in the Second Lien Credit Agreement or any similar terms in
             any other Second Lie n Financing Document.

                              "Second Lien Lenders" means the "Lenders" (or any similar te rm) under and as defined
             in the Second Lien Credit Agreement and the "Lenders" (or any similar te rm) as defined in any
             Additional Second Lien Obligations Agreement and also shall include the issuing banks of any letters of
             credit issued (or deemed issued) under any Second Lien Financing Document.

                              "Second Lien Obligations" means the Second Lien Credit Agreement Obligations and
             all "Secured Obligations" (or any similar te1m) as defined in any other Second Lien Financing Document.
             To the extent any payment by a Second Lien Obligor with respect to any Second Lien Obligation
             (whether by or on behalf of any Second Lien Obligor, as proceeds of security, enforcement of any 1ight of
             setoff or otherwise) is declared to be a fraudulent conveyance or a preference in any respect, set aside or
             required to be paid to a debtor in possession, any receiver or other Person, then the obligation or part
             thereof originally intended to be satisfied shall, for all purposes of this Agreement and the rights and
             obligations of the First Lien Claimholders and the Second Lien Claimholders, be deemed to be reinstated
             and outstanding as if such payment had not occurred. In the event that any interest, fees, expenses or
             other amounts (including any interest accming at the default rate or any Post-Petition lnterest) to be paid
             pursuant to the Second Lien Financing Documents, the Second Lien Hedge Agreements governing
             Second Lien Secured Hedging Obligations or the Second Lien Banking Services Agreements are
             disallowed by order of any court of competent jurisdiction, including by orde r of a court presiding over an

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             Insolvency or Liquidation Proceeding, such interest, fees, expenses and other amounts (including default
             inte rest and Post-Petition Interest) shall, as between the First Lien Claimholders and the Second Lien
             Claimholders, be deemed to continue to accrue and be added to the amount to be calculated as the
             "Second Lien Obligations."

                              "Second Lien Obligors" means, collectively, the "Loan Parties" (or any similar term) as
             defined in the Second Lien Credit Agreement and the "Loan Parties" (or any similar term) as defined in
             any other Second Lie n Document.

                            "Second Lien Other Obligations" means the Second Lien Banking Services Obligations
             and the Second Lien Secured Hedging Obligations.

                             "Second Lien Replacement Te1·m Loan" means a "Replacement Te rm Loan" as defined
             in the Second Lien Credit Agreement as in effect on the date hereof (or any similar term in any other
             Second Lien Financing Document).

                               "Second Lien Secured Hedging Obligations" means all Second Lien Hedging
             Obligations of the Second Lien Obligors, whether absolute, or contingent and howsoever and whenever
             created, arising, evidenced or acquired (including all renev,1als, extensions or modifications thereof and
             substitutions therefor), in each case, that constitute Second Lien Obligations; provided that in no event
             shall any obligations constitute Second Lien Secured Hedging Obligations to the extent such obligations
             constitute First Lien Secured Hedging Obligations.

                              "Series" means, with respect to First Lien Obligations or Second Lien Obligations, all
             First Lien Obligations or Second Lien Obligations secured by the san1e First Lien Collateral Documents
             or same Second Lien Collateral Documents, as the case may be, and represented by the same Collateral
             Agent acting in the same capacity .

                             "Shared Collateral Documents" means any Collateral Document that is both a First
             Lien Collateral Document and a Second Lien Collateral Document.

                                "Short Fall" has the meaning set forth in Section 6.3(b)(ii).

                                "Standstill Period" has the meaning set forth in Section 3. l{a){l).

                              "subsidiary" means, with respect to any Person, any corporation, partnership, limited
             liability company, association, joint venture or other business entity of which more than 50% of the total
             voting power of stock o r other ownership interests entitled (without regard to the occurTence of any
             contingency) to vote in the election of the Person or Persons (whether directors, trustees or other Persons
             performing similar functions) having the power to direct or cause the direction of the management and
             policies thereof is at the time owned or controlled, directly or indirectly, by such Person or one o r more of
             the other subsidiaries of such Person or a combination thereof; provided that in detem1ining the
             percentage of ownership interests of any Pe rso n controlled by another Person, no ownership interests in
             the nature of a "qualifying share" of the fom1er Person shall be deemed to be outstanding. Unless
             otherwise specified, " subsidiary" shall mean any subsidiary of the Top Borrower.

                             "Term Loan Priority Collateral" has the meaning assigned to such term in that certain
             the ABL Intercreditor Agreement, dated as of the date hereof, among, inter alios, the UBS AG, Stamford
             Branch, as agent for the ABL Claimholders referred to therein, the First Lien Credit Agreement Collateral
             Agent, as agent for the First Lien Claimholders referred to there in, the Second Lien Credit Agreement


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             Collateral Agent, as agent for the Second Lien Claimholders referred to therein and the Loan Parties from
             time to time party the reto.

                                "Trigger Event" has the meaning set forth in Section 5.7(a).

                                '1.JBS" has the meaning set fo1th in the Recitals to this Agreement.

                             "UCC" means the Unifonn Commercial Code as in effect from time to time (except as
             otherwise specified) in any applicable state or jurisdiction.

                              1.2      Tenns Generallv. The definitions of terms in this Agreement shall apply equally
             to the singular and plural forms of the tenns defined . Whenever the context may require, any pronoun
             shall include the corresponding masculine, feminine and neuter forms . The words " include," "includes"
             and " including" shall be deemed to be followed by the phrase "w ithout limitation ." The v,rord "will" shall
             be construed to have the same meaning and effect as the word "shall." Unless the conte>..'t requires
             otherwise:

                               (a)     any definition of or reference to any agreement, instrument or other document
                      herein shall be construed as referring to such agreement, instrument or other document as from
                      time to time permitted to be Refinanced or replaced in accordance with the terms hereof, in each
                      case to the extent so Refinanced or replaced;

                              (b)     any reference herein to any Person shall be construed to include such Person' s
                      pe1mitted successors and assigns;

                              (c)     the words "herein," "hereof' and " hereunder," and words of similar import, shall
                      be construed to refer to this Agreement in its entirety and not to any particular provision hereof;

                               (d)     all references herein to Sections, clauses or paragraphs shall be construed to refer
                      to Sections, clauses or paragraphs of this Agreement, unless otherwise specified;

                              (e)      any reference to any law o r regulation shall (i) include all statuto1y and
                      regulatory provisions consolidating, amending, replacing, interpreting or supplementing such law
                      or regulation, and (ii) unless otherwise specified, refer to such law or regulation as an1ended,
                      modified or supplemented from time to time; and

                               (f)     the words "asset" and " prope1ty" shall be construed to have the same meaning
                      and effect and to refer to any and all tangible and intangible assets and prope rties, including cash,
                      secu1ities, accounts and contract rights.

                               Notwithstanding anything to the contrary set forth in this Agreement, any reference
             herein to the First Lien Financing Documents, the First Lien Documents or any of the First Lien Credit
             Agreement or any other First Lien Document individually "as in effect on the date he reof," "as in effect
             on the date entered into" or words of similar meaning shall include a reference to any amendment or other
             modification of any such document that has been made in accordance w ith, or with respect to any matters
             that are not prohibited by, Section 5.3{a); provided that any statement herein to the effect that a
             capitalized te rm shall have the meaning as defined in a First Lien Document "as in effect on the date
             hereof," "as in effect on the date entered into" (or words of similar meaning) shall not include any
             changes to such term, if any, contained in any such amendment or modification. Notwithstanding
             anything to the contrary set forth in this Agreement, any reference herein to the Second Lien Documents
             or any of the Second Lien Financing Documents or the Second Lien Credit Agreement o r any other

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             Second Lien Document individually "as in effect on the date hereof," "as in effect on the date ente red
             into" or v,1ords of similar meaning shall include a reference to any ame ndment or other modification of
             any such document that has been made in accordance with, or with respect to any matters that are not
             prohibited by, Section 5.3(b): provided that any statement he re in to the effect that a capitalized term shall
             have the meaning as defined in a Second Lien Document "as in effect on the date hereof," "as in effect on
             the date entered into" ( or words of similar meaning) shall not include any changes to such tenn, if any,
             contained in any such amendment or modification.

                               1.3.     Dip Cap Amount. For avoidance of doubt, it is understood and agreed that any
             increase in the aggregate Indebtedness for bo1TOwed money constituting principal outstanding under the
             First Lien Credit Agreement and the othe r First Lie n Documents (in each case, including in any
             Refinancing thereof) after the date of the original incurrence or issuance of such Indebtedness solely as a
             result of a fluctuation in the exchange rate of the currency in which such Indebtedness is denominated
             shall be ignored for purposes of determining compliance w ith the DIP Cap Amount, and any such
             incremental Inde btedness attributable to such currency fluctuation shall be deemed to be a First Lien
             Obligation for all purposes hereof.

                                SECTlON2.        Lien Priorities.

                              2.1     Relative Prio1ities. Notwithstanding the date, time, method, manner or order of
             grant, attachment, recordation or perfection of any Liens on the Col lateral seeming the Second Lie n
             Obligations or of any Liens on the Collateral securing the First Lien Obligations, and nohvithstanding any
             provision of the UCC or any other applicable law, or the Second Lien Documents or the First Lien
             Docume nts, or any defect or deficiencies in, or fai lure to perfect or lapse in perfection of, or avoidance as
             a fraudu lent conveyance or otherwise of, the Liens securing the First Lien Obligations or any other
             circumstance whatsoever, whether or not any Insolvency or Liquidation Proceeding has been commenced
             by or against any Obligor, each Second Lien Collateral Agent, on behalf of itself and its Related Second
             Lien Claim.holders, hereby agrees that:

                               (a)      any Lien on the Collateral securing any First Lien Obligations now or hereafte r
                      he ld by or on behalf of any First Lien Collateral Agent, any other First Lien Claimholders or any
                      agent or trustee therefor, regardless of how acquired, ·whethe r by grant, possession, statute
                      (including any judgment lien), operation of law, subrogation or otherwise, shall be senior in all
                      respects and prior to any Lien on the Collateral securing any of the Second Lien Obligations;

                               (b)     any Lien on the Collateral securing any Second Lien Obligations now or
                      hereafter held by or on behalf of any Second Lien Collateral Agent, any other Second Lien
                      Claim.holders or any agent or trustee therefor, regardless of how acquired, whether by grant,
                      possession, statute (including any judgment lien), operation of law, subrogation or otherwise,
                      shall be junior and subordinate in all respects to all Liens on the Collateral securing any of the
                      First Lien Obligations; and

                              (c)      all Liens on the Collateral securing any First Lien Obligations shall be and
                     remain senior in all respects and prior to all Liens on the Collateral securing any Second Lien
                     Obligations for all purposes, whether or not such Liens securing any First Lien Obligations are
                     subordinated to any Lien securing any other obligation of the Obligors or any other
                     Person.Prohibition on Contesting Liens. Each Second Lien Collateral Agent, for itself and on
             behalf of its Related Second Lien Claim.holders, and each First Lien Collateral Agent, for itself and on
             behalf of its Related First Lien Claimholders, agrees that it and its Related Claimholders will not (and
             each hereby waives any right to) directly or indirectly contest or challenge, or support any other Person in
             contesting or challenging, in any proceeding (including any Insolvency or Liquidation Proceeding), (i) the

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             validity or enforceability of any First Lien Document or any Second Lien Document, or any First Lien
             Obligation or any Second Lien Obligation, (ii) the existence, validity, perfection, priority or enforceability
             of the Liens securing any First Lien Obligations or any Second Lien Obligations or (iii) the relative rights
             and duties of the First Lien Claimholde rs or the Second Lien Claimholders granted and/or established in
             this Agreement or any Collate ral Document with respect to such Liens: provided that nothing in this
             Agreement shall be construed to prevent or impair the rights of any First Lien Collateral Agent or any
             other First Lien Claimholde r to enforce this Agreement or to exercise any of its remedies or rights
             he reunder, including the provisions of this Agreement relating to the priority of the Liens securing the
             First Lien Obligations as provided in Sections 2.1 and 3.1.

                               2.3     No New Liens. Subject to Section 2.6 he reof, the patties hereto agree that, so
             long as the Discharge of First Lien Obligations has not occurred, (a) none of the Obligors shall grant or
             pe rmit any additional Liens on any asset or prope rty of any Obligor to secure any Second Lien Obligation
             unless it has granted, or concurrently therewith grants, through documentation in form and substance
             satisfactory to the Directing First Lien Collateral Agent, a Lien on such asset or property of such Obligor
             to secure the First Lien Obligations; and (b) none of the Obligors shall grant or permit any additional
             Lie ns on any asset or property of any Obligor to secure any First Lien Obligation unless it has granted, or
             concurrently the rewith grants, through documentation in form and substance satisfactory to the Directing
             Second Lien Collateral Agent, a Lien on such asset or prope1ty of such Obligor to secure the Second Lien
             Obligations. So long as the Discharge of First Lien Obligations has not occurred, whethe r or not any
             Insolvency or Liquidation Proceeding has been commenced by or against any of the Obligors, the parties
             hereto agree that if any Second Lien Claimholder shall acquire or hold any Lien on any assets of any
             Obligor secUiing any Second Lien Obligation which assets are not also subject to the first priority Lien of
             the First Lien Claimholders under the First Lien Collateral Documents, then, without limiting any other
             rights and remedies available to any First Lien Collateral Agent or the other First Lien Claimholde rs, the
             applicable Second Lien Collateral Agent, on behalf of itse lf and its Related Second Lien Claimholders,
             agrees that any amounts received by or distributed to any of them pursuant to or as a result of Liens so
             granted shall be subject to Section 4.2.

                              2.4      Similar Liens and Agree ments. In furtherance of Sections 2.3 and 8.9, each First
             Lien Collateral Agent, for itself and on behalf of its Related First Lien Clairnholders, and each Second
             Lien Collateral Agent, for itself and on behalf of its Related Second Lien Claimholders, agrees, subject to
             the other provisions of this Agreement:

                                (a)    upon request by the Directing First Lien Collateral Agent or the Directing Second
                      Lien Collateral Agent, to cooperate in good faith (and to direct their counsel to cooperate in good
                      faith) from time to time in orde r to dete1mine the specific items included in the First Lien
                      Collateral and the Second Lien Collateral and the steps taken to perfect their respective Liens
                      thereon and the identity of the respective parties obligated under the First Lien Documents and
                      the Second Lien Documents; and

                               (b)     that the documents, agreements or instruments creating or evidencing the First
                      Lien Collateral and the Second Lien Collateral and guaranties for the First Lien Obligations and
                      the Second Lien Obligations, subject to Section 5.3(c), shall be in all material respects the san1e
                      forms of documents, agreements or instruments, other than with respect to the "first priority" and
                      the "second priority" nature of the Liens thereunder, the identity of the secured parties that are
                      patties thereto or secured thereby and other matters contemplated by this Agreement.

                               2.5     Nature of Obligations. The priorities of the Liens provided in Section 2.1 shall
             not be alte red or otherwise affected by (a) any Refinancing of the First Lien Obligations or the Second
             Lie n Obligations or (b) any action or inaction which any of the First Lien Claimholde rs or the Second

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             Lie n Cla im holde rs may take or fail to take in respect of the Collateral. Each Second Lien Collateral
             Agent, for itself and o n behalf of its Re lated Second Lien Claimholde rs, agrees and acknowledges that
             (i) a portion of the First Lien Obligations may be revolving in nature and that the amount thereof that may
             be outstanding at any time or from time to time may be increased or reduced and subsequently
             rebo1TOwed, (ii) the terms of the First Lien Documents and the First Lien Obligations may be amended,
             supplemented or otherwise modified, and the First Lien Obligations, or a portion thereof, may be
             Refinanced from time to time and (iii) the aggregate amount of the First Lien Obligations may be
             increased, in each case, without notice to or consent by the Second Lien Collateral Agents or the Second
             Lien Claimholde rs and without affecting the provisions hereof, except as otherwise expressly set forth
             he rein. As between the Borrowers and the other Obligors and the Second Lien Claimholders, the
             foregoing provisions will not limit or otherwise affect the obligations of the Borrowers and the Obligors
             contained in any Second Lien Document with respect to the incurrence of additional First Lien
             Obligations.

                              2.6      Certain Cash Collateral. Notwithstanding anything in this Agreement or any
             other First Lien Document or Second Lien Document to the contrary, collateral consisting of cash and
             cash equivalents pledged to secure (i) First Lien Obligations under any First Lien Financing Document
             consisting of reimbursement obligations in respect of First Lien Letters of Credit issued thereunder,
             (ii) First Lien Obligations unde r First Lien Hedge Agreements to the extent permitted by the First Lie n
             Documents and the Second Lien Documents and/or (iii) Second Lien Obligations unde r Second Lien
             Hedge Agreements to the extent permitted by the First Lien Documents and the Second Lien Documents,
             shall be applied as specified in the relevant First Lien Financing Document, the relevant First Lien Hedge
             Agreement and/or the relevant Second Lien Hedge Agreement, as applicable, and v,1ill not constitute
             Collateral hereunder.

                                SECTlON3.        Enforcement.

                                3 .1   Exercise of Remedies.

                               (a)       Until the Discharge of First Lien Obligations has occuiTed, whether or not any
             Insolvency or Liquidation Proceeding has been commenced by or against any of the Obligors, each of the
             Second Lien Collateral Agents, for itself and on behalf of its Related Second Lien Claimholders, hereby
             agrees that it and its Re lated Second Lien Claimholders:

                               (1)     will not exercise or seek to exercise any rights or remedies (includ ing setoff) with
                      respect to any Collateral or institute or commence, or join w ith any Person in instituting or
                      commencing, any other Enforcement Action or any other action or proceeding with respect to
                      such rights or remedies (including any action of foreclosure, enforcement, collection or execution
                      and any Insolvency or Liquidation Proceeding); provided that the Directing Second Lie n
                      Collateral Agent may commence an Enforcement Action or otherwise exercise any or all such
                      rights or remedies after the passage of a period of at least 180 days since the Directing First Lien
                      Collateral Agent shall have received notice from the Directing Second Lien Collateral Agent with
                      respect to the acceleration by the relevant Second Lien Claimholders of the maturity of all then
                      outstanding Second Lien Obligations (and requesting that Enforcement Action be taken w ith
                      respect to the Collateral) so long as the applicable "event of default" shall not have been cured or
                      waived (or the applicable acceleration rescinded) (the "Standstill Period"): provided further that
                      notwithstanding anything herein to the contrary, in no event shall the Second Lien Collateral
                      Agents or any other Second Lien Claimholders exercise any rights or remedies with respect to
                      any Collateral or institute or commence, or join w ith any Person in instituting or commencing,
                      any othe r Enforcement Action or any other action or proceeding w ith respect to such rights or
                      remedies, if, notwithstanding the expiration of the Standstill Period, either (A) the Directing First

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                      Lie n Collateral Agent or any other First Lien Claimholder shall have commenced and be
                      diligently pursuing (or shall have sought or requested and be diligently pursuing relief from or
                      modification of the automatic stay or any other stay in any Insolvency or Liquidation Proceeding
                      to enable the commencement and the pursuit of) an Enforcement Action or other exercise of their
                      rights or remedies in each case with respect to a ll or any material portion of the Collateral (with
                      any detem1ination of which Collateral to proceed against, and in what order, to be made by the
                      Directing First Lie n Collateral Agent or such First Lien Claimholders in their reasonable
                      judgment) or (B) any of tile Obligors is then a debtor in any Insolvency or Liquidation
                      Proceeding;

                               (2)      will not contest, protest or object to any Enforcement Action brought by the
                      Directing First Lien Collateral Agent or any oilier First Lien Claimholder or any oilier exercise by
                      tile Directing First Lien Collateral Agent or any other First Lien Claimholder of any rights and
                      remedies relating to the Collateral under the First Lien Documents or otherwise;

                               (3)     subject to their rights under clause (a)(l) above, will not object to the forbearance
                      by the Directing First Lien Collateral Agent or the other First Lien Claimholders from b1inging or
                      pursuing any Enforcement Action or any other exercise of any rights or remedies relating to the
                      Collateral, in each case so long as any proceeds received by the Directing First Lien Collateral
                      Agents or other First Lie n Claimholders in excess of those necessary to achieve a Discharge of
                      First Lien Obligations are distributed in accordance with Section 4.1 ; and

                               (4)     will not take or receive any Collateral, or any proceeds of or payment with
                      respect to any Collateral, in connection with any Enforcement Action or any other exercise of any
                      right or remedy with respect to any Collateral or any Insolvency or Liquidation Proceeding in its
                      capacity as a creditor or in connection with any insurance policy award or any award in a
                      condemnation or similar proceeding (or deed in lieu of condemnation) with respect to any
                      Collateral, in each case unless and until the Discharge of First Lien Obligations has occurred,
                      except in connection with any foreclosure expressly permitted by Section 3.1 (a)(l) to the extent
                      such Second Lien Collateral Agent and its Related Second Lien Claimholders are pennitted to
                      retain the proceeds thereof in accordance with Section 4.1.

                               Without limiting tile generality ofilie foregoing, until the Discharge of First Lien
             Obligations has occurred, except as expressly provided in Sections 3. l(a)(l), 3. l(c) and 6.3(b), the sole
             right of each Second Lien Collateral Agent and the other Second Lien Claimholde rs with respect to the
             Collateral (other than inspection, monitoring, re porting and similar rights provided for in the Second Lien
             Financing Documents) is to hold a Lien on the Collateral pursuant to the Second Lien Collateral
             Documents for the period and to the extent granted therein and to receive a share of the proceeds the reof,
             if any, after the Discharge of First Lien Obligations has occurred.

                               (b)       Until the Discharge of First Lien Obligations has occurred, whether or not any
             Insolvency or Liquidation Proceeding has bee n commenced by or against any First Lien Obligor, subject
             to Sections 3. l(a)(l), 3. l(c) and 6.3(b), the First Lien Collateral Agents and the other First Lien
             Claimholders shall have the exclusive right to commence and maintain an Enforcement Action or
             otherwise exercise any 1ights and remedies (including set-off, recoupment and the right to "credit bid"
             their debt, except that the Second Lien Collateral Agents shall have the "credit bid" rights set forth in
             Section 3.l(c)(6)), and make determinations regarding the release, Disposition, or restrictions with respect
             to the Collateral, in each case without any consultation with or the consent of any Second Lien Collateral
             Agent or any other Second Lien Claimholder: provided that any proceeds received by any First Lien
             Collateral Agent in excess of those necessa1y to achieve a Discharge of First Lien Obligations are
             distributed in accordance with Section 4. 1. In commencing or maintaining any Enforcement Action or

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             otherwise exercising rights and remedies w ith respect to the Collateral, the First Lien Collateral Agents
             and the other First Lien Claimholders may e nforce the provisions of the First Lien Documents and
             exercise rights and remedies thereunder, all in such order and in such manner as they may determine in
             the exercise of the ir sole discretion in compliance with any applicable law and without consultation with
             any Second Lien Collateral Agent or any other Second Lien Claimholder and regardless of whether any
             such exercise is adverse to the interest of any Second Lien Claimholder. Such exercise and enforcement
             shall include the rights of an agent appointed by them to sell or otherwise Dispose of Collateral upon
             foreclosure, to incur expenses in connection with such sale or other Disposition, and to exercise all the
             rights and remedies of a secured creditor under the UCC or other applicable law and of a secured creditor
             under Debtor Relief Laws of any applicable jurisdiction.

                            (c)    Notwithstanding the foregoing, each Second Lien Collateral Agent and any other
             Second Lien Claimholder may:

                              (I)     file a claim, proof of claim or statement of interest w ith respect to the Second
                      Lien Obligations: provided that an Insolvency or Liquidation Proceeding has been commenced by
                      or against any of the Second Lien Obligors;

                              (2)      take any action in order to create, pe rfect, preserve or protect (but not enforce) its
                      Lien on the Collateral to the extent (A) not adverse to the priority status of the Liens on the
                      Collateral securing the First Lien Obligations, or the 1ights of any First Lien Collateral Agent or
                      the other First Lien Claimholders to exercise rights and remedies in respect thereof, and (B) not
                      othenvise inconsistent with the terms of this Agreement, including the automatic release of Liens
                      provided in Section 5 .1;

                               (3)      file any necessary or appropriate responsive or defensive pleadings in opposition
                      to any motion, claim, adversary proceeding or other plea.ding ma.de by any Person objecting to or
                      otherwise seeking the disallowa.nce of the claims of the Second Lien Claimholders, including any
                      claims or Liens secured by the Collateral, if any, in ea.ch case to the e:\.'tent not inconsistent w ith
                      the te rms of this Agreement;

                               (4)     vote on any plan ofreorganiza.tion, arrangement, compromise or liquidation, file
                      any proof of claim, make other filings and make any arguments and motions w ith respect to the
                      Second Lien Obligations and the Collateral that are, in each case, in accordance v,1ith the te1ms of
                      this Agreement; provided that no filing of any claim or vote, or plea.ding relating to such claim or
                      vote, to accept or reject a disclosure statement, plan of reorganization, arrangement, compromise
                      or liquidation, or any other document, agreement or proposal similar to the foregoing by any
                      Second Lien Collateral Agent or any other Second Lien Cla.imholder may be inconsistent w ith the
                      terms of this Agreement;

                              (5)      exercise any of its rights or remedies with respect to the Collateral after the
                      termination of the Standstill Period to the e:\.1:ent permitted by Section 3 .1 (a)( 1); and

                               (6)      bid for or purchase any Collateral at any public, private or judicial foreclosure
                      upon such Collateral initiated by the Directing First Lien Collateral Agent or any other First Lien
                      Claimholder, or any sale of any Collateral during an Insolvency or Liquidation Proceeding;
                      provided that such bid may not include a "credit bid" in respect of any Second Lien Obligations
                      unless the ca.sh proceeds of such bid are otherwise sufficient to cause the Discharge of First Lien
                      Obligations.




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                               (d)    Subject to Sections 3. l(a)(I)_ 3. I(c) and 6.3(b) each Second Lien Collateral
             Agent, for itself and on behalf of its Re lated Second Lien Claimholders:

                              (I)     agrees that it and its Related Second Lien Claimholders will not take any action
                      that would hinder, delay, limit or prohibit any exercise of 1ights or remedies under the First Lien
                      Docume nts or is otherwise prohibited hereunder, including any collection or Disposition of any
                      Collateral, whether by foreclosure or otherwise, or that would limit, invalidate, avoid or set aside
                      any Lien securing any First Lien Obligations or any First Lien Collateral Document or
                      subordinate the priority of the First Lien Obligations to the Second Lien Obligations or grant the
                      Liens securing the Second Lien Obligations equal ranking to the Liens securing the First Lien
                      Obligations;

                               (2)     hereby waives any and all rights it or its Related Second Lien Claimholders may
                      have as a junior Lien creditor or otherv.rise (whether arising under the UCC or under any other
                      law) to object to the manne r in which the First Lien Collateral Agents or the other First Lien
                      Claimholders seek to enforce or collect the First Lien Obligations or the Liens seeming the First
                      Lien Obligations, regardless of whether any action or failure to act by or on behalf of any First
                      Lie n Collateral Agent or any other First Lien Claimholders is adverse to the interest of any
                      Second Lien Claimholders; and

                               (3)     hereby acknowledges and agrees that no covenant, agreement or restriction
                      contained in the Second Lien Collateral Documents or any other Second Lien Document shall be
                      deemed to restrict in any way the rights and remedies of any First Lien Collateral Agent or the
                      other First Lien Claimholders with respect to the Collateral as set forth in this Agreement and the
                      First Lien Documents.

                                      (e)       1l1e Second Lien Collateral Agents and the other Second Lien
             Claimholders may exercise rights and remedies as unsecured creditors against the Obligors that have
             guaranteed or granted Liens to secure the Second Lien Obligations in accordance with the terms of the
             Second Lien Documents and applicable law (other than initiating or joining in an involuntary case or
             proceeding under any Insolvency or Liquidation Proceeding w ith respect to any Obligor, prior to the
             termination of the Standstill Period): provided that (i) any such exercise shall not be inconsistent with the
             terms of this Agreement (including Sections 2.2 and Q) and (ii) in the event that any Second Lien
             Claimholder becomes a judgment Lien creditor in respect of any Collateral as a result of its enforcement
             of its rights as an unsecured creditor with respect to the Second Lien Obligations, such judgment Lie n
             shall be subject to the terms of this Agreement for all purposes (including in relation to the First Lien
             Obligations) as the other Liens securing the Second Lien Obligations are subject to this Agreement.
             Nothing in this Agreement shall prohibit the receipt by any Second Lien Collateral Agent or Second Lien
             Claimholder of the required payments of principal, premium, interest, fees and other amounts due under
             the Second Lien Documents so long as such receipt is not the direct or indirect result of the exercise by a
             Second Lien Collateral Agent or other Second Lien Claimholder of rights or remedies as a secured
             creditor in respect of Collateral.

                              3.2      Actions Upon Breach: Specific Perfonnance. If any Second Lien Claimholder,
             in contravention of the terms of this Agreement, in any way takes, atte mpts to or threatens to take any
             action with respect to the Collateral (including any attempt to realize upon or enforce any remedy with
             respect to this Agreement), or fails to take any action required by this Agreement, this Agreement shall
             create an irrebutable presumption and admission by such Second Lie n Claimholde r that relief against such
             Second Lien Claimholder by injunction, specific performance and/or other appropriate equitable relief is
             necessary to prevent irreparable harm to the First Lien Claimholders, it being understood and agreed by
             each Second Lien Collateral Agent, on behalf of its Related Second Lien Claimholders, that (i) the First

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             Lie n Cla imholde rs' damages from actions of any Second Lien Claimholder may at that time be difficult to
             ascertain and may be irre parable and (ii) each Second Lien Claimholde r waives any defense that the
             Obligors and/or the First Lien Claimholders cannot demonstrate damage and/or be made whole by the
             awarding of damages. Each of the First Lien Collateral Agents may demand specific performance of this
             Agreement. Each Second Lien Collateral Agent, on behalf of itse lf and its Related Second Lien
             Claimholders, hereby irrevocably waives any defense based on the adequacy of a remedy at law and any
             other defense which might be asserted to bar the re medy of specific performance in any action which may
             be brought by any First Lien Collateral Agent or any other First Lien Claimholder. No provision of this
             Agreement shall constitute or be deemed to constitute a waiver by any First Lien Collateral Agent on
             behalf of itself and its Related First Lien Claimholders of any right to seek damages from any Person in
             connection with any breach or alleged breach of this Agreement.

                                3.3   Agreement among First Lien Claimholders: Agreement among Second Lien
             Claimholders.

                               (a)     Subject to the First Lien Intercreditor Agreement or other applicable intercreditor
             arrangements among the Series of First Lien Obligations, each First Lien Collateral Agent, on behalf of
             itself and its Related First Lien Claimholders, solely as among themselves in such capacity and solely for
             their mutual benefit, here by agrees that the First Lien Collateral Agent designated as the Directing First
             Lie n Collateral Agent shall have the sole right and power, as among the First Lien Collateral Agents and
             the other First Lien Claimholders, to take and direct any right or remedy with respect to Collateral in
             accordance with the terms of this Agreement, the relevant First Lien Collateral Documents and any other
             intercreditor agreement among the Directing First Lien Collateral Agent and each other First Lien
             Collateral Agent. The Directing First Lien Collateral Agent shall be entitled to the benefit of all the
             exculpatory, indemnity and reimbursement provisions set forth in any First Lien Document for the benefit
             of any "collateral agent" (or any other agent or similar representative) with respect to any exercise by the
             Directing First Lien Collateral Agent of any of the rights or remedies under this Agreement, including any
             such exercise of any right or remedy with respect to any Collateral, or any other action or inaction by it in
             its capacity as the Directing First Lien Collateral Agent.

                                (b)     Subject to any applicable intercreditor arrangements among the Se ries of Second
             Lie n Obligations, each Second Lien Collateral Agent, on behalf of itself and its Related Second Lien
             Claimholders, solely as among themselves in such capacity and solely for their mutual benefit, hereby
             agrees that the Second Lien Collateral Agent designated as the Directing Second Lien Collateral Agent
             shall have the sole right and pov,1er, as among the Second Lien Collateral Agents and the other Second
             Lien Claimholde rs, to take and direct any right or remedy with respect to Collateral in accordance with
             the te rms of this Agreement, the relevant Second Lien Collateral Documents and any other intercreditor
             agreement among the Directing Second Lien Collateral Agent and each other Second Lien Collateral
             Agent. The Directing Second Lien Collateral Agent shall be entitled to the benefit of all the exculpatory,
             indemnity and re imbursement provisions set forth in any Second Lien Document for the benefit of any
             "collateral agent" (or any other agent or similar representative) with respect to any exercise by the
             Directing Second Lien Collateral Agent of any of the rights or remedies under this Agreement, including
             any such exercise of any right or remedy with respect to any Collateral, or any other action or inaction by
             it in its capacity as the Directing Second Lien Collateral Agent.

                                SECTION 4.      Payments.

                             4.1      Application of Proceeds. Subject to the ABL Inte rcreditor Agreement, so long as
             the Discharge of First Lien Obligations has not occurred, whether or not any Insolvency or Liquidation
             Proceeding has been commenced by or against any Obligor, any Collateral or any proceeds (whether in
             cash or otherwise) thereof received in connection with any Enforcement Action or other exercise of rights

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             or remedies by any First Lien Collateral Agent or the othe r First Lien Claimholders (including any
             Disposition referred to in Section 5.1) or any Insolvency or Liquidation Proceeding, shall be applied by
             the Directing First Lien Collateral Agent to the First Lien Obligations in accordance with the terms of the
             First Lien Documents, including any First Lien Intercreditor Agreement and any other intercreditor
             agreement among the First Lien Collateral Agents. Upon the Discharge of First Lien Obligations, the
             Directing First Lien Collateral Agent shall deliver to the Directing Second Lien Collateral Agent any
             remaining Collateral and proceeds thereof the n held by it in the same fo1m as received, with any
             necessary endorsements (such endorsements shall be without recourse and without representation or
             warranty) to the Directing Second Lien Collateral Agent, or as a court of competent jurisdiction may
             otherwise direct, to be applied by the Directing Second Lien Collateral Agent to the Second Lien
             Obligations in accordance with the terms of the Second Lien Documents, including any other intercreditor
             agreement among the Second Lien Collateral Agents.

                                4.2   Payments Over.

                                (a)     So long as the Discharge of First Lien Obligations has not occurred, whether or
             not any Insolvency or Liquidation Proceeding has been commenced by or against any Obligor, any
             Collateral or proceeds thereof (including any assets or proceeds subject to Liens that have been avoided or
             otherwise invalidated (including as a result of failure to perfect or lack of perfection)), any assets or
             proceeds subject to Liens refe1Ted to in Section 2.3, any amounts refe1Ted to in the last sentence of Section
             6.3(b) or any other distribution (whether or not expressly characterized as such) in respect of the
             Collateral (including in connection with any Disposition of any Collateral) received by any Second Lien
             Collateral Agent or any othe r Second Lien Claimholde rs in connection with any Enforcement Action or
             any Insolvency or Liquidation Proceeding or other exercise of any right or remedy (including set-off or
             recoupment) relating to the Collateral in contravention of this Agreement or not in accordance with
             Section 4 . 1, or received by a ny Second Lien Collateral Agent or any other Second Lien Claimholders in
             connection with any insurance policy claim or any condemnation award (or deed in lieu of
             condemnation), in each case, shall be held in trust and forthwith paid over to the Directing First Lien
             Collateral Agent for the benefit of the First Lien Claimholders in the same form as received, with any
             necessary endorsements, or as a court of competent jurisdiction may otherwise direct.

                              (b)     Except as otherwise set forth in Section 6.3 (or with respect to any
             Reorganization Securities which shall be subject to Section 6.6 and not this Section 4.2), so long as the
             Discharge of First Lien Obligations has not occurred, if in any Insolvency or Liquidation Proceeding any
             Second Lien Collateral Agent or any other Second Lien Claimholders shall receive any distribution of
             money or other property in respect of or on account of the Collateral (including any assets or proceeds
             subject to Liens that have been avoided or otherwise invalidated or any amounts referred to in the last
             sentence of Section 6.3(b)), such money, other property or amounts shall be held in trust and fortln,1ith
             paid over to the Directing First Lien Collateral Agent for the benefit of the First Lien Claimholders in the
             same fo1m as received, with any necessary endorsements. Any Lien received by any Second Lien
             Collateral Agent or any other Second Lien Claimholders in respect of any of the Second Lien Obligations
             in any Insolvency or Liquidation Proceeding shall be subject to the terms of this Agreement.

                               (c)     Until the Discharge of First Lien Obligations occurs, each Second Lien Collateral
             Agent, for itself and on behalf of its Re lated Second Lien Claimholders, hereby irrevocably constitutes
             and appoints the Directing First Lien Collateral Agent and any officer or agent of the Directing First Lien
             Collateral Agent, with full power of substitution, as its true and lawful attorney-in-fact with full
             irrevocable power and authority in the place and stead of such Second Lien Collateral Agent or any such
             Second Lien Claimholder or in the Directing First Lien Collateral Agent's own name, from time to time
             in the Directing First Lien Collateral Agent's discretion, for the purpose of ca1rying out the terms of this
             Section 4.2, to take any and all appropriate action and to execute any and all documents and instruments

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             which may be necessary to accomplish the purposes of this Section 4.2, including any endorsements or
             other instruments of transfer or release. This power is coupled with an interest and is irrevocable until the
             Discharge of First Lien Obligations.

                                SECTIONS.         Other A2reements.

                                5.1   Releases.

                                (a)     In connection with any Enforcement Action by the Directing First Lien Collateral
             Agent or any other exercise by the Directing First Lien Collate ral Agent of rights or remedies in respect
             of the Collateral (including any Disposition of any of the Collateral by any Obligor, with the consent of
             the Directing First Lien Collate ral Agent, after the occurrence and during the continuance of an "event of
             default" under the First Lien Documents), in each case, prior to the Discharge of First Lien Obligations,
             the Directing First Lien Collateral Agent is irrevocably authorized (at the cost of the Obligors in
             accordance with the terms of the applicable First Lien Financing Document and without any consent,
             sanction, authority or further confirmation from the Directing Second Lien Collate ral Agent, any othe r
             Second Lien Claimholde r or any Obligor): (i) to release any of its Liens on any part of the Collateral or
             any other claim over the asset that is the subject of such Enforcement Action, in which case the Liens or
             any othe r claim over the asset that is the subject of such Enforcement Action, if any, of any Second Lie n
             Collateral Agent, for itself or for the benefit of the other Second Lien Claimholders, shall be
             automatically, unconditionally and simultaneously released to the same extent as the Liens or othe r claims
             of the Directing First Lien Collateral Age nt and each other First Lien Collateral Agent are so released
             (and the Directing First Lien Collateral Agent is irrevocably authorized to execute and deliver or enter
             into any release of such Liens or claims that may, in the discretion of the Directing First Lie n Collateral
             Agent, be considered necessary or reasonably desirable in connection with such releases); and (ii) if the
             asset that is the subject of such Enforcement Action consists of the equity interests of any Obligor, to
             release (x) such Obligor and any subsidiary of such Obligor from all or any pait of its First Lien
             Obligations, in which case such Obligor and any subsidiary of such Obligor shall be automatically,
             unconditionally and simultaneously released to the same extent from its Second Lien Obligations, and
             (y) any Liens or other claims on any assets of such Obligor and any subsidiary of such Obligor, in which
             case the Liens or other claims on such assets of ea.ch Second Lien Collateral Agent, for itself or for the
             benefit of its Related Second Lien Cla.imholders, shall be automatically, unconditionally and
             simultaneously released to the same e xtent as such Liens of the Directing First Lien Collateral Agent and
             ea.ch other First Lien Collateral Agent are so released (and the Directing First Lien Collate ral Agent is
             irrevocably authorized to execute and deliver or ente r into any re lease of such Liens or claims that may, in
             the discretion of the Directing First Lien Collateral Agent, be considered necessary or reasonably
             desirable in connection with such re leases). Each Second Lien Collate ral Agent, for itse lf or on behalf of
             its Related Second Lien Cla.imholders, promptly shall execute and deliver to the Dire cting First Lien
             Collateral Agent or such Obligor such termination statements, releases and other documents as the
             Directing First Lie n Collate ral Agent or such Obligor may request to effectively confirm the foregoing
             releases upon delivery to the Second Lien Collateral Agents of copies of such termination statements,
             releases and other documents used to effect such releases with respect to the Collateral securing the First
             Lie n Obligations from a Responsible Officer of the requesting party. In the case of any Disposition of
             any of the Collateral that is subject to this Section 5. l{a.) by the Directing First Lien Collateral Agent or
             by any Obligor with the consent of the Directing First Lien Collateral Agent (the party so Disposing of
             such Collateral being called the "Disposing Party"), the Disposing Party shall take reasonable ca.re (as
             detennined in the reasonable credit j udgment of the Directing First Lien Collateral Agent or the
             reasonable business judgment of such Obligor, as the case may be) to obtain a fair market price under the
             prevailing market conditions and with regard to a.II othe r re levant circumstances, including the distressed
             nature of such Disposition, and if the Disposing Party is an Obligor, to conduct such Disposition in a
             comme rcially reasonable manner (it be ing unde rstood that in any case the Disposing Party shall have no

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             obligation to postpone any such Disposition in order to achieve a higher price , and that any Disposition
             approved by any bankrnptcy court in any Insolvency or Liquidation Proceeding shall be conclusively
             presumed to be made at a fair market price and to have been conducted in a commercially reasonable
             manne r). The proceeds of any such Disposition shall be applied in accordance with Section 4.1.

                               (b)      If in connection with any sale, lease, exchange, transfer or other disposition
             (collectively, a "Disposition") of any Collateral by any Obliger pennitted under the tenns of both the
             First Lien Financing Documents and the Second Lien Financing Documents (other than in connection
             ,vith an Enforcement Action or other exercise of any First Lien Collateral Agent's rights or remedies in
             respect of the Collateral, which shall be governed by Section 5. l(a) above), the Directing First Lien
             Collateral Agent or any othe r First Lie n Collateral Agent, for itself or on behalf of any of the other First
             Lien Claimholde rs, releases any of its Liens on any part of the Collateral, or releases any Obliger from its
             obligations under its guaranty of the First Lien Obligations, in each case other than in connection with, or
             following, the Discharge of First Lien Obligations, then the Liens, if any, of each Second Lien Collateral
             Agent, for itself or for the benefit of its Related Second Lien Claimholders, on such Collateral, and the
             obligations of such Obliger under its guaranty of the Second Lien Obligations, shall be automatically,
             unconditionally and simultaneously released; provided that such release by such Second Lie n Collateral
             Agent, for itself or for the benefit of its Related Second Lien Claimholders, shall not extend to or
             otherwise affect any of the rights of the Second Lien Claimholders to the proceeds from any such
             Disposition. Each Second Lien Collateral Agent, for itself or on behalf of its Related Second Lien
             Clairnholders, promptly shall execute and deliver to the Directing First Lien Collateral Agent or such
             Obliger such termination statements, releases and other documents as the Directing First Lien Collate ral
             Agent or such Obliger may request to effectively confirm the foregoing releases upon delivery to the
             Second Lien Collateral Agents of copies of such tem1ination statements, releases and other documents
             used to effect such re lease with respect to the Collateral securing the First Lien Obligations from a
             Responsible Officer of the Top Borrower or the Directing First Lien Collateral Agent and an officer's
             certificate of a Responsible Officer of the requesting party stating that such disposition has been
             consummated in compliance with the te rms of the Second Lien Credit Agreement.

                               (c)     Until the Discharge of First Lien Obligations occurs, each Second Lien Collateral
             Agent, for itself and on behalf of its Re lated Second Lien Claimholde rs, he reby irrevocably constitutes
             and appoints the Directing First Lien Collateral Agent and any office r or agent of the Directing First Lien
             Collateral Agent, with full power of substitution, as its trne and lawful attorney-in-fact with full
             irrevocable power and authority in the place and stead of such Second Lien Collateral Agent or such
             Second Lien Clairnholders or in the Directing First Lien Collateral Agent's own name, from time to time
             in the Directing First Lien Collateral Agent's discretion, for the purpose of carrying out the terms of this
             Section 5.1, to take any and all appropriate action and to execute any and all documents and instruments
             ,vhich may be necessary to accomplish the purposes of this Section 5 .1 , including any endorsements or
             other instrnments of transfer or release . This power is coupled with an interest and is irrevocable until the
             Discharge of First Lien Obligations.

                              (d)      Until the Discharge of First Lien Obligations occurs, to the extent that any First
             Lie n Collateral Agent or the othe r First Lien Claimholders (i) have released any Lien on Collateral or any
             Obliger from its obligation under its guaranty and any such Liens or guaranty are later reinstated or
             (ii) obtain any additional guarantees from any Obliger or any subsidiary of Holdings, then each Second
             Lie n Collateral Agent, for itse lf and on behalf of its Related Second Lien Claimholde rs, shall be granted
             an additional guaranty.

                               5.2      Insurance and Condemnation Awa rds. Until the Discharge of First Lien
             Obligations has occurred, the Directing First Lien Collateral Agent shall have the sole and exclusive right,
             subject to the rights of the First Lien Obligors under the First Lien Financing Documents, to settle or

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             adjust claims over any insurance policy covering the Collateral in the event of any loss the reunder and to
             approve any award granted in any condemnation or similar proceeding (or any deed in lieu of
             condemnation) affecting the Collateral. Until the Discharge of First Lien Obligations has occurred, and
             subject to the rights of the First Lien Obligors unde r the First Lien Financing Documents, all proceeds of
             any such policy and any such award (or any payments with respect to a deed in lieu of condemnation) in
             respect of the Collateral shall be paid to the Directing First Lien Collateral Agent for the benefit of the
             First Lien Claimholde rs pursuant to the terms of the First Lien Documents, including any First Lien
             Intercreditor Agreement and any other intercreditor agreement among the First Lien Collateral Agents
             (including, without limitation, for purposes of cash collateralization of commitments, First Lien Letters of
             Credit and obligations under First Lie n Hedge Agreements governing any First Lien Secured Hedging
             Obligations) and thereafter, if the Discharge of First Lien Obligations has occurred, and subject to the
             rights of the Second Lien Obligors under the Second Lien Financing Documents, to the Directing Second
             Lie n Collateral Agent for the benefit of the Second Lien Claimholders to the ex1.ent required under the
             Second Lien Collateral Documents, and thereafter, if the Discharge of the Second Lien Obligations has
             occurred, to the owner of the subject property, as directed by the Top Borrower or as a court of competent
             jurisdiction may otherwise direct. Until the Discharge of First Lien Obligations has occurred, if any
             Second Lien Collateral Agent or any other Second Lien Clairnholders shall, at any time, receive any
             proceeds of any such insurance policy or any such award or payment in contravention of this Agreement,
             it shall segregate and hold in trust and forthwith pay such proceeds over to the Directing First Lien
             Collateral Agent in accordance with the terms of Section 4 .2.

                                5.3   Amendments to First Lien Financing Documents and Second Lien Financing
             Documents.

                              (a)      TI1e First Lien Financing Documents may be amended, restated, amended and
             restated, supplemented or otherwise modified in accordance v,1ith their tenns, and the First Lien Financing
             Documents and any First Lien Obligations thereunder may be Refinanced, in each case, without notice to,
             or the consent of any Second Lien Collateral Agent or any other Second Lien Claimholder, all without
             affecting the Lien subordination or other provisions of this Agreement: provided that the holders of such
             Refinancing debt execute a Joinder Agreement, and any such amendment, restatement, amendment and
             restatement, supplement, modification or Refinancing shall not, without the consent of the Directing
             Second Lien Collateral Agent, contravene the provisions of this Agreement; provided that,
             notwithstanding the provisions of this Section 5.3(a) and for the avoidance of doubt, the First Lien
             Financing Documents may be amended, restated, amended and restated, supplemented or otherwise
             modified and/or Refinanced from time to time in accordance with their terms in order to effect the making
             or provision of (x) any First Lien Incremental Facility, (y) any First Lien Re placement Te1m Loan or First
             Lien Replacement Revolving Facility or (z) any Extended Term Loans, Extended Revolving Loans or
             Extended Revolving Credit Commitment (each as defined in the First Lien Credit Agreement as in effect
             on the date hereof), in each case, as and to the extent provided in the First Lien Credit Agreeme nt as in
             effect on the date hereof, without notice to, or the consent of, any Second Lien Collateral Agent or any
             other Second Lien Clairnholder.

                                (b)      TI1e Second Lien Financing Documents may be amended, restated, amended and
             restated, supplemented or otherwise modified in accordance with their tenns, and the Second Lien
             Financing Documents and any Second Lien Obligations the reunder may be Refinanced, in each case,
             v,1ithout notice to, or the consent of any First Lien Collateral Agent or the other First Lien Claimholders
             (in each case, except to the extent such notice to or consent is otherwise expressly required under the First
             Lie n Financing Documents), all without affecting the Lien subordination or other provisions of this
             Agreement: provided that the holders of such Refinancing debt bind themselves in a writing addressed to
             the First Lien Collateral Agents and the other First Lien Claimholders to the terms of this Agreement and
             prior to the Discharge of First Lien Obligations no such amendme nt, restatement, amendment and

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             restatement, supplement, modification or Refinancing shall, without the consent of the Directing First
             Lie n Collateral Agent, contravene the provisions of this Agreement; provided that notwithstanding the
             provisions of this Section 5.3(b) and for the avoidance of doubt, the Second Lien Financing Documents
             may be an1ended, restated, amended and restated, supplemented or othe1wise modified and/or Refinanced
             from time to time in accordance with their te1ms in orde r to effect the making or provision of (x) any
             Second Lien Incremental Facility, (y) any Second Lien Replacement Tem1 Loan or (z) any Extended
             Term Loans (each as defined in the Second Lien Credit Agreement as in effect on the date hereof), in
             each case, as and to the extent provided in the Second Lien Credit Agreement, without notice to, or the
             consent of, any First Lien Collateral Agent or any other First Lien Claimholder.

                              (c)      In the event that any First Lien Collateral Agent ente rs into any amendment,
             restatement, amendment and restatement, supplement or other modification in respect of or replaces any
             of the First Lien Collateral Documents for purposes of adding to, or deleting from, or waiving or
             consenting to any departures from any provisions of any First Lien Collateral Document or changing in
             any manner the rights of the applicable First Lien Collateral Agent, the First Lien Claimholders, or any
             Obligor thereunder (including the release of any Liens on the Collateral securi ng the First Lien
             Obligations), then such amendment, restatement, amendment and restatement, suppleme nt or other
             modification in a manner that is applicable to all First Lien Claimholders and all First Lien Obligations
             shall apply automatically to any comparable provisions of each Comparable Second Lien Collateral
             Document without the consent of any Second Lien Collateral Agent, Second Lien Claimholder or any
             Obligor; provided, however that ( 1) such amendment, restatement, amendment and restatement,
             supplement or other modification does not (A) remove assets subject to any Liens on the Collateral
             securing any of the Second Lien Obligations or release any such Liens, except to the e:>,,'tent such release is
             permitted or required by Section 5.1 and provided there is a concurrent release of the corresponding Liens
             securing the First Lien Obligations, (B) adversely affect the rights or duties of any Second Lien Collateral
             Agent without its consent or (C) otherwise materially adversely affect the rights of the applicable Second
             Lien Claimholders or the interest of the applicable Second Lien Claimholders in the Collateral and not the
             First Lien Collateral Agent or the First Lien Claimholde rs that have a Lien on the affected Collateral in a
             like manner, and (2) written notice of such amendment, restatement, amendment and restatement,
             supplement or other modification shall have been given to each Second Lien Collateral Agent within ten
             (10) Business Days of the effectiveness thereof (it being understood that the failure to deliver such notice
             shall not impair the effectiveness of any such amendment, restatement, amendment and restatement,
             supplement or other modification).

                            5 .4     Confinnation of Subordination in Second Lien Collateral Documents. Each
             Second Lien Collateral Agent, on behalf of itself and its Related Second Lien Claimholders, agrees that
             each Second Lien Collateral Document shall include the following language (or language to sin1ilar effect
             approved by the Directing First Lien Collateral Agent):

                                'Notwithstanding anything herein to the contrary, the lien and security interest granted to
                                the Second Lien Collateral Agent pursuant to this Agreement and the exercise of any
                                right or remedy by the Second Lien Collateral Agent hereunder are subject to the
                                provisions of the First Lien/Second Lien lntercreditor Agreement, dated as of November
                                8, 2016 (as an1ended, restated, amended and restated, supplemented or otherwise
                                modified from time to time, the "First Lien/Second Lien Intercreditor Agreement"),
                                among UBS AG, Stamford Branch, as First Lien Credit Agreement Collateral Agent and
                                Goldman Sachs Bank USA, as Second Lien Credit Agreement Collateral Agent, and
                                certain othe r Persons pa1ty or that may become party thereto from time to time, and
                                ackno·wledged and agreed to by Dawn lnte m1ediate, Inc., a De laware corporation, Serta
                                Simmons Bedding, LLC, a Delaware limited liability company, the other borrowers party
                                thereto and the othe r obligors party thereto. ln the event of any conflict between the

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                                tenns of the First Lien/Second Lien Intercreditor Agreement and this Agreement, the
                                tenns of the First Lien/Second Lien [ntercreditor Agreement shall govern and control."

                                5.5     Gratuitous Bailee/Agent for Perfection: Shared Collateral Documents.

                               (a)      Each Collateral Agent agrees to hold that part ofthe Collateral that is in its
             possession or control (or in the possession or control of its agents or bailees) to the extent that possession
             or control the reof is taken to perfect a Lien thereon under the UCC or other applicable law (such
             Collateral being the "Pledged Collateral") as g ratuitous bailee on behalf of and for the benefit of each
             other Collateral Agent (such bailment being intended, among other things, to satisfy the requirements of
             Sections 8-106(d)(3), 8-30l(a)(2) and 9-313(c) of the UCC) sole ly for the purpose of pe1fecting, or
             improving the priority of, the security interest granted under the First Lien Collateral Documents and the
             Second Lien Collateral Documents, as applicable, subject to the tenns and conditions of this Section 5.5;
             provided that, in the case of any such possession or control by any Second Lien Collateral Agent, the
             foregoing shall not be deemed to be a waiver of any restriction set forth herein on such possession o r
             control or of any breach by such Second Lien Collateral Agent of any te1ms of this Agreement in respect
             of such possession or control.

                              (b)      Until the Discharge of First Lien Obligations has occurred, each First Lien
             Collateral Agent shall be entitled to deal with the Pledged Collateral in accordance with the tenns of the
             First Lien Financing Documents as if the Liens of any Second Lien Collateral Agent under the Second
             Lie n Collateral Documents did not exist. The rights of each Second Lien Collateral Agent shall at all
             times be subject to the tern1s of this Agreement and to each First Lien Collateral Agent' s rights under the
             First Lien Financing Docume nts.

                              (c)      No Collateral Agent shall have any obligation whatsoever to any Claimholder to
             ensure that the Pledged Collateral is genuine or owned by any of the Obligors or to preserve rights or
             benefits of any Person v,1ith respect thereto except as expressly set forth in this Section 5.5 or, in the case
             of any Second Lien Collateral Agent, the other provisions hereof (including the turnover provisions set
             forth in Section 4.2). The duties or responsibilities of each Collateral Agent unde r this Section 5.5 shall be
             limited solely to holding the Pledged Collateral as bailee in accordance with this Section 5.5 and, in the
             case of any First Lien Collateral Agent, de livering the Pledged Collateral to the Directing Second Lien
             Collateral Agent upon a Discharge of First Lien Obligations as provided in paragraph (e) below or, in the
             case of any Second Lien Collateral Agent, delivering the Pledged Collateral to the Directing First Lien
             Collateral Agent in accordance w ith the provisions hereof (including the turnover provisions set forth in
             Section 4.2).

                                (d)    Each Collateral Agent, for itself and on behalf of its Related Claimholders,
             hereby waives and releases each other Collateral Agent and each other Claimholder from all claims and
             liabilities arising pursuant to any Collateral Agent's role under this Section 5 .5 as gratuitous bailee and
             gratuitous agent with respect to the Pledged Collateral; provided that, in the case of any possession or
             control of any Pledged Collateral by any Second Lien Collateral Agent, the foregoing shall not be deemed
             to be a waiver of any restriction set forth herein on such possession or control or of any breach by such
             Second Lien Collateral Agent of any tern1s of this Agreement in respect of such possession or control.
             None of the First Lien Collateral Agents or any other First Lien Claimholders shall have by reason of the
             First Lien Collateral Documents, the Second Lien Collateral Documents, the Shared Collateral
             Documents, this Agreement or any other document, a fiduciary relationship in respect of any Second Lien
             Collateral Agent o r any other Second Lien Claimholder, and it is unde rstood and agreed that the interests
             of the First Lien Collateral Agents and the other First Lien Clain1holders, on the one hand, and the Second
             Lie n Collateral Agents and the other Second Lien Claimholders, on the other hand, may diffe r and that
             the First Lien Collateral Agents and the other First Lie n Claimholders shall be fully e ntitled to act in their

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             own interest without taking into account the interests of the Second Lien Collateral Agents or the other
             Second Lien Claimholders.

                               (e)     Upon the Discharge of First Lien Obligations, each First Lien Collateral Agent
             shall deliver the remaining Pledged Collateral in its possession or control (if any) (or proceeds thereof)
             together with any necessary endorsements (such endorsement shall be without recourse and without any
             representation or warranty), first, to the Directing Second Lien Collateral Agent, to the extent the
             Discharge of Second Lien Obligations has not occurred and second, upon the Discharge of Second Lien
             Obligations, to the Obligors to the extent no Obligations remain outstanding (in each case, so as to allow
             such Person to obtain possession or control of such Pledged Collateral) or as a court of competent
             jurisdiction may otherwise direct. Following the Discharge of First Lien Obligations, each First Lie n
             Collateral Agent further agrees to take, at the expense of the Obligors (which expense reimbursement
             shall be subject to the provisions of the applicable First Lien Document), all other actions reasonably
              requested by the Directing Second Lien Collateral Agent in connection with the Directing Second Lien
             Collateral Agent obtaining a first-priority interest in the Pledged Collateral.

                              5.6      When Discharge of First Lien Obligations Deemed to Not Have Occurred. If,
             substantially concurrently with or afte r the Discharge of any Series of First Lien Obligations having
             occurred, the Borrowers or any other First Lien Obliger enters into any Refinancing of any First Lien
             Financing Document evidencing a First Lien Obligation of such Series, w hich Refinancing is permitted
             hereby and by the te1ms of the Second Lien Financing Documents, then the Discharge of such Se ries of
             First Lien Obligations shall automatically be deemed not to have occurred for all purposes of this
             Agreement (other than with respect to any action taken as a result of the occurrence of such Discharge of
             First Lien Obligations prior to the Refinancing of such First Lien Obligations), and the obligations under
             such Refinancing of such First Lien Financing Document shall automatically be treated as First Lien
             Obligations of the Refinanced Series for all purposes of this Agreement, including for purposes of the
             Lien priorities and rights in respect of Collateral set forth herein, and the New First Lien Agent shall be a
             First Lien Collateral Agent of such Refinanced Series (and, if applicable in accordance with the definition
             of such tem1, the Directing First Lien Collateral Agent) for all purposes of this Agreement. Upon receipt
             of a notice from the Borrowers or any other First Lien Obliger stating that the Borrowers or such other
             First Lien Obliger has entered into a Refinancing of any First Lien Financing Document (which notice
             shall include the identity of the new first lien collateral agent (such agent, the "New First Lien Agent")),
             each Collateral Agent shall promptly (a) enter into such documents and agreements (including
             amendments or supplements to, or amendment and restatement of, this Agreement) as the Borrowers,
             such other First Lien Obliger or the New First Lien Agent shall reasonably request in order to provide to
             the New First Lien Agent the 1ights contemplated he reby, in each case consistent in all material respects
             with the terms of this Agreement, and (b) in the case of each Second Lien Collateral Agent only, deliver
             to the New First Lien Agent (if it is the Directing First Lien Collateral Agent) any Pledged Collateral held
             by it together with any necessary endorsements (or othe1wise allow the New First Lien Agent to obtain
             control of such Pledged Collateral). The New First Lien Agent shall agree in a writing addressed to the
             other Collateral Agents and the other Claimholders to be bound by the tenns of this Agreement, for itself
             and on behalf of its Related First Lien Claimholders.

                                5.7   Purchase Right.

                              (a)      Without prejudice to the enforcement of any of the First Lien Claimholder' s
             rights or remedies under this Agreement, any other First Lien Financing Documents, at law or in equity or
             otherwise, each First Lien Collateral Agent, on behalf of its Re lated First Lien Claimholders, agrees that
             at any time following the earlier of (i) an acceleration of all the First Lien Obligations in accordance with
             the terms of the First Lien Financing Documents or (ii) the commencement of any Insolvency or
             Liquidation Proceeding with respect to any Obliger (the "Trigger Event"), the First Lien Claimholders

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             will, within 10 Business Days of the first Trigge r Event (or such later day as may be agreed by the
             Directing Second Lien Collateral Agent), offer each Second Lien Claimholder the opportunity to purchase
             at par the entire aggregate outstanding amount of the First Lien Obligations (and to assume the entire
             amount of unfunded commitments unde r the First Lien Financing Documents), at the Purchase Price
             (togethe r w ith the deposit of cash collateral as set forth below), w ithout warranty or representation or
             recourse except as provided in Section 5.7(c), on a pro rata basis among the First Lien Claimholders.
             The "Purchase Price" v,1ill equal the sum of: (1) the principal amount of all loans, advances or similar
             e)l.1:ensions of credit included in the First Lien Obligations (including the unreimbursed amount of all
             issued letters of credit (including First Lien Letters of Credit), but excluding the undrawn amount of then
             outstanding lette rs of credit (including the undrawn an10unt of then outstanding First Lien Letters of
             Credit)), all accrued and unpaid interest (including Post-Petition Inte rest) thereon through the date of
             purchase and any prepayment penalties or premiums that would be applicable upon prepayment of the
             First Lien Obligations, (2) the net aggregate amount then ow ing to counterparties under First Lien Hedge
             Agreements governing the First Lien Secured Hedging Obligations and First Lien Banking Services
             Agreements, including, in the case of such First Lien Hedge Agreements, all amounts owing to the
             counterparties as a result of the te1mination (or early te rmination) thereof, and (3) all accrued and unpaid
             fees, expenses and other amounts owed to the First Lien Claimholders under the First Lien Documents on
             the date of purchase . The Purchase Price shall be accompanied by delivery to the Directing First Lien
             Collateral Agent of cash collateral in immediately available fu nds, to be deposited under the sole control
             of the Directing First Lien Collateral Agent, in such amount as the Directing First Lien Collateral Agent
             determines is reasonably necessary to secure the First Lien Claimholders in connection w ith any issued
             and outstanding First Lien Letters of Credit under the First Lien Financing Documents but in any event
             not to exceed I 05% of the sum of (x) the aggregate undrawn amount of all such First Lien Letters of
             Credit outstanding pursuant to the First Lien Financing Documents and (y) the aggregate facing and
             similar fees which will accrue thereon through the stated maturity of the First Lien Letters of Credit
             (assuming no drawings thereon before stated maturity). It is understood and agreed that (i) at the tin1e
             any facing or similar fees are owing to an issuer w ith respect to any First Lien Lette r of Credit, the
             Directing First Lien Collateral Agent may apply amounts deposited with it as described above to pay
             same and (ii) upon any draw ing under any First Lien Letter of Credit, the Directing First Lien Collateral
             Agent shall apply amounts deposited w ith it as described above to repay the respective unpaid drawing.
             After giving effect to any pay ment made as described above in this paragraph (a), those amounts (if any)
             then on deposit with the Directing First Lien Collateral Agent as cash collateral, described in this
             paragraph (a) which exceed I 05% of the sum of the aggregate undrawn an10unt of all then outstanding
             First Lien Letters of Credit and the aggregate facing and similar fees (to the respective issuers) which will
             accrue the reon through the stated maturity of the then outstanding First Lien Letters of Credit (assuming
             no drawings thereon before stated maturity), shall be returned to the respective purchaser or purchasers,
             as their interests appear. Furthe1more, at such time as all First Lien Letters of Credit have been cancelled,
             expired or been fully drawn, as the case may be, and after a ll applications described above have been
             made , any excess cash collateral then on deposit with the Directing First Lien Collateral Agent as
             desc1ibed above in this paragraph (a) (and not previously applied or released as provided above) shall be
             returned to the respective purchaser or purchasers, as their interests appear.

                               (b)     The Second Lien Claimholders shall irrevocably accept or reject such offer to
             purchase w ithin thi1ty (30) days of the receipt thereof by the Directing Second Lien Collateral Agent and
             the parties shall endeavor to close promptly thereafter. The Second Lien Claimholders shall only be
             permitted to acquire the entire amount of the First Lien Obligations pursuant to this Section 5.7, and may
             not acquire less than all of such First Lien Obligations. If any Second Lien Claimholders timely accept
             such offer, it shall be exercised pursuant to documentation mutually acceptable to each of the First Lien
             Collateral Agents and the relevant Second Lien Collateral Agents. If the Second Lien Claimholders rej ect
             such offer (or do not so irrevocably accept such offer w ithin the required timeframe), the First Lien
             Claimholders shall have no further obligations pursuant to this Section 5.7 and may take any further

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             actions in the ir sole discretion in accordance with the First Lie n Documents and this Agreement. Each
             First Lien Claimholder will retain all rights to indemnification and expense reimbursement provided in
             the relevant First Lien Documents for all claims and other amounts relating to periods prior to the
             purchase of the First Lien Obligations pursuant to this Section 5.7. Upon the consummation of the
             purchase and sale of the First Lien Obligations, each First Lien Collateral Agent shall, at the request of
             the Directing Second Lien Collateral Agent, resign from its role in accordance with the applicable First
             Lie n Document (and comply with any provisions contained therein with respect to successors to such role
             or the powers granted in connection with such role) and cooperate with an orderly transition of Liens in
             the Collateral.

                              (c)      The purchase and sale of the First Lie n Obligations under this Section 5.7 will be
             without recourse and without representation or warranty of any kind by the First Lien Claimholders,
             except that the First Lien Claimholders shall severally and not jointly represent and warrant to the Second
             Lie n Claimholders that on the date of the purchase, immediate ly before giving effect to such purchase:

                               (i)     the p1incipal of and accrued and unpaid interest on the First Lien Obligations,
                      and the fees, expenses and other amounts in respect thereof owed to the respective First Lien
                      Claimholders, are as stated in any assignment agreement prepared in connection with the
                      purchase and sale of the First Lien Obligations;

                             (ii)     each First Lien Claimholder owns the First Lien Obligations purpo1ted to be
                      owned by it free and clear of any Liens; and

                              (iii)    that such First Lien Claimholder has the right to assign the First Lien Obligations
                      be ing assigned by it and its assignment has been duly authorized and delivered.

                                SECTION 6.      Insolvency or Liquidation Proceedings.

                                6.1   Finance and Sale Issues.

                               (a)     Until the Discharge of First Lien Obligations has occurred, if any Obligor shall
             be subject to any Insolvency or Liquidation Proceeding and the Directing First Lien Collateral Agent shall
             desire to permit the use of "Cash Collateral" (as such tem1 is defined in Section 363(a) of the Bankruptcy
             Code or any similar Debtor Relief Law) on which the First Lien Collateral Agents or any other creditor
             has a Lien or to permit any Obligor to obtain financing, whether from the First Lien Claimholders or any
             other Person, under Section 364 of the Bankruptcy Code or any similar Debtor Relief Law ("DIP
             Financing"), then each Second Lien Collateral Agent, on behalf of itself and its Related Second Lien
             Claimholders, agrees that it and its Related Second Lien Claimholders will raise no objection to, or
             oppose or contest (or join with or support any third party opposing, objecting or contesting), such Cash
             Collateral use or DIP Financing (including any proposed orders for such Ca.sh Collateral use and/or DIP
             Financing which are acceptable to the Directing First Lien Collateral Agent) and it and its Related Second
             Lien Claimholders will be deemed to have consented to such Cash Collateral use or DIP Financing
             (including such proposed orders), and to the extent the Liens securing the First Lien Obligations are
             subordinated to or pari passu with such DIP Financing, each Second Lien Collateral Agent will
             subordinate its Liens in the Collateral to the Liens securing such DIP Financing (and all obligations
             relating thereto and any customary "carve-out" agreed to on behalf of the First Lien Claimholders by the
             Directing First Lien Collate ral Agent) and to a.II adequate protection Lie ns granted to the First Lien
             Claimholders on the same basis as the Liens securing the Second Lien Obligations a.re subordinated to the
             Liens securing the First Lien Obligations under this Agreement and will not request adequate protection
             or any other relief in connection therewith (except as expressly agreed by the Directing First Lien
             Collateral Agent or to the e::-..'tent permitted by Section 6.3): provided that (i) the aggregate principal

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             amount of Indebtedness for borrowed money under any DIP Financing that is secured by a Lien on the
             Term Loan Priority Collateral on a pari passu or super priority basis to the Lien securing the First Lien
             Obligations plus the aggregate outstanding principal amount of Indebtedness for borrowed money under
             the First Lien Financing Documents (which, for the avoidance of doubt, excludes any First Lien Other
             Obligations) plus the aggregate face amount of any First Lien Lette rs of Credit (except any portion
             thereof that is no longer available for drawing as a result of any disbursement thereunder that has been
             reimbursed) does not exceed the DIP Cap Amount, and (ii) the Second Lien Collateral Agents and the
             Second Lien Secured Parties retain the right to object to any ancillary agreements or arrangements
             regarding the use of Cash Collateral or the DIP Financing that require a specific treatment of a claim in
             respect of the Second Lien Obligations for purposes of a plan of reorganization.

                               (b)     Each Second Lien Collateral Agent, for itself and on behalf of its Related Second
             Lien Claimholders, agrees that it and its Related Second Lien Clairnholders will not seek consultation
             rights in connection with, and will raise no objection or oppose or contest (or join with or support any
             third party objecting, opposing or contesting), a motion to sell, liquidate or otherwise Dispose of
             Collateral under Section 363 of the Bankruptcy Code if the requisite First Lien Claimholders have
             consented to such sale, liquidation or other Disposition; provided that (l) to the extent the net cash
             proceeds of such sale or other Disposition are used to pay the principal amount of Indebtedness for
             borrowed money constituting First Lien Obligations, or to reimburse disbursements under, or cash
             collateralize the face amount of, the First Lien Letters of Credit constituting First Lien Obligations, the
             Liens of the Second Lien Secured Parties shall attach to any remaining proceeds and (2) such motion does
             not impair the rights of the Second Lien Claimholders under Section 363(k) of the Bankruptcy Code; and
             provided, further, however, that the Second Lien Claimholders may assert any objection v,1ith respect to
             any proposed orders to retain professionals or set bid or related procedures in connection with such sale,
             liquidation or Disposition that may be raised by an unsecured creditor of the Obligors.

                             6.2      Relief from the Automatic Stav. Until the Discharge of First Lien Obligations
             has occurred, each Second Lien Collateral Agent, on behalf of itself and its Related Second Lien
             Clairnholders agrees that none of them shall (a) seek (or support any other Person seeking) relief from or
             modification of the automatic stay or any other stay in any Insolvency or Liquidation Proceeding in
             respect of any of the Collateral, in each case without the prior written consent of the Directing First Lien
             Collateral Agent, or (b) oppose (or support any other Person in opposing) any request by ar1y First Lien
             Collateral Agent for relief from or modification of such stay.

                                6.3   Adequate Protection.

                             (a)     Each Second Lien Collateral Agent, on behalf of itself and its Related Second
             Lie n Claimholders, agrees that none of them shall contest (or suppo1t any other Person contesting):

                               (i)    any request by any First Lien Collateral Agent or the other First Lien
                      Clairnholders for adequate protection under any Debtor Relief Law; or

                              (ii)     any objection by any First Lien Collate ral Agent or the other First Lien
                      Clairnholders to any motion, relief, action or proceeding based on such First Lien Collateral
                      Agent or the other First Lien Claimholders claiming a lack of adequate protection with respect to
                      the Collateral.

                             (b)     Notwithstanding the foregoing provisions in this Section 6.3 , in any Insolvency
             or Liquidation Proceeding:



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                               (i)     if the First Lien Claimholders (or any subset thereof) are granted adequate
                      protection in the form of a Lien on additional or replacement collateral in connection with any use
                      of Cash Collateral or DIP Financing, then each Second Lien Collateral Agent, on behalf of itself
                      and its Related Second Lien Claimholders, may seek or request adequate protection in the fo1m of
                      a Lien on such additional or replacement collateral, which Lien will be subordinated to the Liens
                      securing the First Lien Obligations and such use of Cash Collateral or DIP Financing (and all
                      obligations relating the reto) on the same basis as the other Liens securing the Second Lien
                      Obligations are so subordinated to the Liens securing the First Lien Obligations under this
                      Agreement; and

                                (ii)    the Second Lien Collateral Agents and the other Second Lien Claimholders shall
                      only be pem1itted to seek adequate protection with respect to their respective rights in the
                      Collateral in any Insolvency or Liquidation Proceeding in the form of (A) additional collateral;
                      provided that as adequate protection for the First Lien Obligations, each First Lien Collateral
                      Agent, on behalf of itself and its Related First Lien Claimholders, is also granted a Lien on such
                      additional collateral that is senior to any Lien granted to the Second Lien Collateral Agents and
                      the other Second Lien Claimholders; (B) replacement Liens on the Collateral; provided that as
                      adequate protection for the First Lien Obligations, each First Lien Collateral Agent, on behalf of
                      itself and its Related First Lien Claimholders, is also granted replacement Liens on the Collateral
                      that are senior to any Lien granted to the Second Lien Collateral Agents and the other Second
                      Lien Claimholders; (C) an administrative expense claim; provided that as adequate protection for
                      the First Lien Obligations, each First Lien Collateral Agent, on behalf of itself and its Related
                      First Lien Claimholders, is also granted an administrative expense claim that is senior and prior to
                      the administrative expense claim of the Second Lien Collateral Agents and the other Second Lien
                      Claimholders; and (D) cash payments with respect to current fees and expenses; provided that
                      (1) as adequate protection for the First Lien Obligations, each First Lien Collateral Agent, on
                      behalf of itself and its Related First Lien Claimholders, is also granted cash payments with
                      respect to cu1Tent fees and expenses and (2) each First Lien Collateral Agent may object to the
                      amounts of fees and expenses sought by the Second Lien Collateral Agents and the other Second
                      Lie n Claimholders; and (E) cash payments with respect to interest on the Second Lien
                      Obligations; provided that (1) as adequate protection for the First Lien Obligations, each First
                      Lie n Collateral Agent, on behalf of itself and its Related First Lie n Claimholders, is also granted
                      cash payments with respect to interest on the First Lien Obligation represented by it, (2) such
                      cash payments do not exceed an amount equal to the interest accruing on the principal amount of
                      Second Lien Obligations outstanding on the date such relief is granted at the interest rate under
                      the applicable Second Lien Documents and accruing from the date the applicable Second Lien
                      Collateral Agent is granted such relief and (3) such cash payments are he ld in the Escrow
                      Account as described below. ff any Second Lien Claimholder is entitled by order of a comt of
                      competent jurisdiction to receive or receives adequate protection payments for post-petition
                      interest in an Insolvency or Liquidation Proceeding ("Second Lien Adequate Protection
                      Payments"), then all such payments shall be payable or transferred to, and he ld in, an escrow
                      account (the "Escrow Account") pursuant to terms mutually satisfactory to the Directing First
                      Lien Collateral Agent and the Directing Second Lien Collateral Agent, in each case until the
                      effectiveness of the plan of reorganization for, or conclusion of, that Insolvency or Liquidation
                      Proceeding. If the First Lien Claimholders do not receive payment in full in cash of all First Lien
                      Obligations upon the effectiveness of the plan of reorganization for, or conclusion of, that
                      Insolvency or Liquidation Proceeding, then an amount contained in the Escrow Account shall be
                      paid over to the First Lien Claimholders (the "Pay-Over Amount") equal to the lesser of (x) the
                      Second Lien Adequate Protection Payme nts received by the Second Lien Claimholders and
                      (y) the amount of the short-fall (the "Short Fall") in payment in full in cash of the First Lien
                      Obligations; provided that to the extent any portion of the Short Fall represents payments

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                      received by the First Lien Secured Parties in the form of promissory notes, equity or other
                      property equal in value to the cash paid in respect of the Pay-Over Amount, the First Lien
                      Claimholders shall, upon receipt of the Pay-Over Amount, transfer those promissory notes, equity
                      or other prope1ty, equal in value to the cash paid in respect of the Pay-Over Amount, to the
                      applicable Second Lien Claimholders pro rata in exchange for the Pay-Over Amount. Upon the
                      effectiveness of the plan of reorganization for, or conclusion of, that Insolvency or Liquidation
                      Proceeding, any amounts remaining in the Escrow Account after application of amounts provided
                      for above shall be paid to the Second Lien Claimholders as their interests may appear. It is
                      understood and agreed that nothing in this Section 6.3(b) shall modify or otherwise affect the
                      other agreements by or on behalf of the Second Lien Collateral Agents and the other Second Lien
                      Claimholders set forth in this Agreement (including the agreements to raise no objection to, or
                      oppose or contest, that are set forth in Section 6.1) . To the extent the First Lien Collateral Agents
                      are not granted such adequate protection in the applicable form, any amounts recovered by or
                      distributed to any Second Lien Collateral Agent or any other Second Lien Claimholder pursuant
                      to or as a result of any such additional collateral, any such replacement Lien, any such
                      administrative expense claim or any such cash payment shall be subject to Section 4.2.

                              6.4      No Waiver. Subject to Section 6.7(b), nothing contained herein shall prohibit or
             in any way limit any First Lie n Collateral Agent or any other First Lien Claimholder from objecting in
             any Insolvency or Liquidation Proceeding or otherwise to any action taken by any Second Lien Collateral
             Agent or any other Second Lien Claimholders, including the seeking by any Second Lien Collateral
             Agent or any other Second Lien Claimholders of adequate protection or the asserting by any Second Lien
             Collateral Agent or any other Second Lien Claimholders of any of its rights and remedies under the
             Second Lien Financing Documents or otherwise. Without limiting the foregoing, notwithstanding
             anything he rein to the contrary, the First Lien Claimholders shall not be deemed to have consented to, and
             expressly retain their rights to object to, the grant of adequate protection in the fonn of cash payments to
             the Second Lien Claimholders made pursuant to Section 6.3(b) .

                               6.5     Reinstatement. If any First Lien Claimholder is required in any Insolvency or
             Liquidation Proceeding or otherwise to tum over or otherwise pay to the estate of any Obligor any
             amount paid in respect of First Lien Obligations (a "Recovery"), then such First Lie n Claimholder shall
             be entitled to a reinstatement of its First Lien Obligations with respect to all such recovered amounts on
             the date of such Recove1y , and from and after the date of such reinstatement the Discharge of First Lien
             Obligations shall be deemed not to have occurred for all purposes hereunder. If this Agreement shall
             have been terminated prior to such Recovery, this Agreement shall be reinstated in full force and effect,
             and such prior te1mination shall not diminish, release, discharge, impair or otherwise affect the
             obligations of the parties hereto from such date of reinstatement. Any amounts received by any S<;;cnnd
             Lien Collateral Agent or any other Second Lien Claimholder on account of the Second Lien Obligations
             after the termination of this Agreement shall, upon a reinstate me nt of this Ag reement pursuant to this
             Section 6.5, be held in trust for and paid over to the Directing First Lien Collateral Agent for the bc;1efit
             of the First Lien Claimholders, for application to the reinstated First Lien Obligations in accordance with
             the First Lien Financing Documents and any First Lien Jntercreditor Agreement, if then in effect. This
             Section 6.5 shall survive termination of this Agreement.

                               6.6      Reorganization Securities. If, in any Insolvency or Liquidation Proceeding, debt
             obligations of the reorganized debtor secured by Liens upon any property of the reorganized debtor are
             distributed pursuant to a plan of reorganization, arrangement, compromise or liquidation or similar
             dis positive restructuring plan, both on account of First Lien Obligations and on account of Second Lien
             Obligations, then, to the ex-tent the debt obligations distributed on account of the First Lien Obligations
             and on account of the Second Lien Obligations are secured by Liens upon the same property, the


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             provisions of this Agreement will survive the dist1ibution of such debt obligations pursuant to such plan
             and will apply with like effect to the Liens securing such debt obligations.

                               6.7    Post-Petition Interest.

                               (a)      Each Second Lien Collateral Agent, for itself and on behalf of its Related Second
             Lie n Claimholde rs, agrees that neither it nor its Related Second Lien Claimholders shall oppose or seek to
             challenge (or join with any other Person opposing or challenging) any claim by any First Lien Collateral
             Agent or any other First Lie n Claimholder for allowance in any Insolvency or Liquidation Proceeding of
             First Lien Obligations consisting of Post-Petition Interest. Regardless of whether any such claim for
             Post-Petition Interest is allowed or allowable, and without limiting the generality of the other provisions
             of this Agreement, this Agreement expressly is intended to include, and does include the " rule of
             explicitness," and is intended to provide the First Lien Claimholders with the right to receive payment of
             all Post-Petition Interest through distributions made pursuant to the provisions of this Agreement even
             though such Post-Petition Interest may not be not allowed or allowable against the bankruptcy estate of
             the Borrowers or any other Obligor under Section 502(b)(2) or Section 506(b) of the Bankruptcy Code or
             unde r any other provision of the Bankruptcy Code or any other Debtor Relief Law.

                                (b)     Subject to Section 6.3(b), none of any First Lien Collateral Agent nor any of its
             Related First Lien Claimholders shall oppose or seek to challenge any claim by any Second Lien
             Collateral Age nt or any other Second Lien Claimholder for allowance in any Insolvency or Liquidation
             Proceeding of Second Lien Obligations consisting of Post-Petition Inte rest to the extent of the value of
             the Lien of any Second Lien Collateral Agent, on behalf of the Second Lien Claimholders, on the
             Collateral (afte r taking into account the amount of the First Lien Obligations).

                              6.8      Waivers. (a) Each Second Lien Collate ral Agent, for itself and on behalf of its
             Related Second Lien Claimholders, waives any claim it or its Related Second Lien Claimholders may
             he reafter have against any First Lien Claimholder arising out of (a) the e lection of any First Lie n
             Claimholder of the application of Section l l I l(b)(2) of the Bankruptcy Code or (b) any cash collateral or
             financing arrangement, or any grant of a security interest in connection with the Collate ral, in any
             Insolvency or Liquidation Proceeding so long as such actions are not in express contravention of the
             te rms of this Agreement.

                              (b)      Each Second Lien Collateral Agent, for itself and on behalf of its Related Second
             Lien Claimholde rs, agrees that it will not assert or enforce any claim under Section 506(c) of the
             Bankruptcy Code or any similar provision of any other Debtor Re lief Law senior to or on a parity with the
             Lie ns securing the First Lien Obligations for costs or expenses of prese rving or disposing of any
             Collateral.

                             6.9       Separate Grants of Securitv and Separate Classification. Each Second Lien
             Collateral Agent, for itself and on behalf of its Related Second Lien Claimholders, and each First Lien
             Collateral Agent, for itself and on behalf of its Related First Lien Claimholders, acknowledges and agrees
             that:

                             (a)      the grants of Liens pursuant to the First Lien Collate ral Documents and the
                      Second Lien Collateral Documents constitute, and, in the case of the Shared Collate ral
                      Docume nts, are intended to constitute, two separate and distinct grants of Liens; and

                             (b)     because of, among other things, their differing rights in the Collateral, the Second
                      Lien Obligations are fundamentally diffe rent from the First Lien Obligations and must, subject to


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                      applicable law, be separately classified in any plan of reorganization proposed or adopted in an
                      Insolvency or Liquidation Proceeding.

                                To further effectuate the intent of the parties as provided in the immediately preceding
             sentence, if it is held that the claims ofthe First Lien Claimholders and the Second Lien Claimholders in
             respect of the Collateral constitute only one secured claim (rather than separate classes of senior and
             junior secured claims), then each of the parties hereto hereby acknowledges and agrees that, subject to
             Sections 2.1 and 4.1, all distributions shall be made as if there were separate classes of senior and junior
             secured claims against the Obligors in respect of the Collateral with the effect being that, to the extent that
             the aggregate value of the Collateral is sufficient (for this purpose ignoring all claims held by the Second
             Lie n Claimholde rs), the First Lien Claimholders shall be entitled to rece ive, in addition to amounts
             distributed to them in respect of principal, pre-petition interest and other claims, all amounts owing (or
             that would be owing if there were such separate classes of senior and junior secured claims) in respect of
             Post-Petition Interest, including any additional inte rest payable pursuant to the First Lien Documents
             arising from or related to a default, regardless of whether any such claim is allowed or allowable in any
             Insolvency or Liquidation Proceeding, before any distribution is made in respect of the claims held by the
             Second Lien Claimholders with respect to the Collateral, with each Second Lien Collateral Agent, for
             itself and on behalf of its Re lated Second Lien Claimholders, hereby acknowledging and agreeing to tum
             over to the Directing First Lien Collateral Agent, for itself and on behalf of the First Lien Claimholders,
             Collateral or proceeds of Collateral or any other distribution (whether or not expressly characterized as
             such) in respect of the Collateral, otherwise received or receivable by them to the extent necessary to
             effectuate the intent of this sentence, even if such turnover has the effect of reducing the claim or
             recovery of the Second Lien Claimholders.

                              6.10    Effectiveness in Insolvency or Liquidation Proceedings. The parties
             acknowledge that this Agreement is a " subordination agreement" under Section 51 0(a) of the Bankruptcy
             Code and under comparable provisions of any other applicable Debtor Relief Law, which will be effective
             before, during and after the commencement of any Insolvency or Liquidation Proceeding. All references
             in this Agreement to any Obligor will include such Pe rson as a debtor-in-possession and any receiver or
             trustee for such Person in any Insolvency or Liquidation Proceeding.

                                SECTION 7.       Reliance; Waivers; Etc.

                              7 .1    Reliance. Other than any reliance on the terms of this Agreement, each First
             Lie n Collateral Agent, on behalf of itself and its Related First Lie n Claimholders, acknowledges that it
             and its Related First Lien Claimholders have, independently and without reliance on any Second Lien
             Collateral Agent or any other Second Lien Claimholder, and based on documents and information
             deemed by them approp1iate, made their own credit analysis and decision to e nte r into each ofthe First
             Lien Documents (as applicable) and be bound by the tenns of this Agreement, and they will continue to
             make their own credit decision in taking or not taking any action under the First Lien Documents or this
             Agreement. Each Second Lien Collateral Agent, on behalf of itse lf and its Related Second Lien
             Claimholders, acknowledges that it and its Related Second Lien Claimholders have, independently and
             without reliance on any First Lien Collateral Agent or any other First Lien Claimholder, and based on
             documents and infom1ation deemed by the m appropriate, made the ir own credit analysis and decision to
             enter into each of the Second Lien Documents and be bound by the tenns of this Agreement, and they will
             continue to make their own credit decision in taking or not taking any action under the Second Lien
             Docume nts or this Agreement.




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                                7.2   No Wa1Tanties or Liabilitv.

                               (a)     Each First Lien Collateral Agent, on behalf of itself and its Related First Lien
             Clairnholders, acknowledges and agrees that, except as set forth in Section 8.14, no Second Lien
             Collateral Agent or other Second Lien Claimholders have made any express or implied representation or
             ,,,arranty, including with respect to the execution, validity, legality, completeness, collectability or
             enforceability of any of the Second Lien Documents, the ownership of any Collateral or the perfection or
             priority of any Liens thereon. The Second Lien Claimholde rs will be entitled to manage and supervise
             their respective extensions of credit under the Second Lien Documents in accordance with law and as they
             may otherwise, in their sole discretion, deem appropriate.

                              (b)      Each Second Lien Collateral Agent, on behalf of itself and its Related Second
             Lien Claimholde rs, acknowledges and agrees that, except as set forth in Section 8.14, no First Lien
             Collateral Agent or other First Lien Claimholders have made any express or implied representation o r
             warranty, including with respect to the execution, validity, legality, completeness, collectability or
             enforceability of any of the First Lien Documents, the ownership of any Collateral or the pe1fection or
             priority of any Liens thereon. The First Lien Claimholders will be entitled to manage and supervise their
             respective loans and extensions of credit unde r the First Lien Documents in accordance with law and as
             they may otherwise, in their sole discretion, deem appropriate.

                              (c)     l11e Second Lien Collateral Agents and the other Second Lien Claimholders shall
             have no duty to the First Lie n Collateral Agents or any of the other First Lien Claimholders, and the First
             Lien Collateral Agents and the other First Lien Claimholders shall have no duty to the Second Lien
             Collateral Agents or any of the other Second Lien Claimholde rs, to act or refrain from acting in a manner
             which allows, or results in, the occurrence or continuance of an event of default or default under any
             agreements with any Obligor (including the First Lien Financing Documents and the Second Lien
             Financing Documents, but in each case other than this Agreement), regardless of any knowledge thereof
             which they may have or be charged with.

                                7.3   No Waive r of Lien Prio1ities.

                               (a)      No right of the First Lien Collateral Agents or any other First Lien Claimholders,
             or any of them, to enforce any provision of this Agree ment o r of any First Lien Document shall at any
             time in any way be prejudiced or impaired by any act o r failure to act on the pa1t of any Obligor or by any
             act or failure to act by any First Lien Collateral Agent or any other First Lien Claimholder, or by any
             noncompliance by any Person with the te rms, provisions and covenants of this Agreement, any of the
             First Lien Documents or any of the Second Lien Documents, regardless of any knowledge thereof which
             the First Lien Collateral Agents or the other First Lien Claimholders, or any of them, may have or be
             otherwise charged with.

                               (b)      Without in any way limiting the generality of the foregoinp: paragraph (a) (but
             subject to the rights of the First Lien Obligors under the First Lien Documents and subject to the
             provisions of Section 5 .3(a)), the First Lien Collateral Agents and the other First Lien Claimholders, or
             any of them, may at any time and from time to time in accordance with the First Lien Documents and/or
             applicable law, without the consent of, or notice to, any Second Lien Collateral Agent or any other
             Second Lien Claimholders, without incuning any liabilities to any Second Lien Collateral Agent or any
             other Second Lien Claimholders and without impairing or releasing the Lien priorities and other benefits
             provided in this Agreement (even if any right of subrogation or other right or remedy of any Second Lien
             Collateral Agent o r any other Second Lien Claimholders is affected, impaired or extinguished thereby) do
             any one or more of the following:


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                              (I)      make loans and advances to any Obligor or issue, provide or obtain First Lien
                      Letters of Credit for the account of any Obligor or otherwise extend credit to any Obligor, in any
                      amount and on any tem1s, whether pursuant to a commitment or as a discretionary advance and
                      whether or not any default or event of default or failure of condition is then continuing;

                               (2)     change the manne r, place or te1ms of payment of, or change or extend the time of
                      payment of, or amend, renew, exchange, increase or alter the tenns of, any of the First Lien
                      Obligations or any Lien on any First Lien Collateral or guaranty thereof or any liability of any
                      Obligor, or any liability incurred directly or indirectly in respect thereof (including any increase
                      in or extension of the First Lien Obligations, without any restriction as to the tenor or tenns of
                      any such increase or extension) or otherwise amend, renew, exchange, e>..'tend, modify or
                      supplement in any manner any Liens held by any First Lien Collateral Agent or any of the other
                      First Lien Claimholders, the First Lien Obligations or any of the First Lien Documents;

                               (3)      sell, exchange, release, surrender, realize upon, enforce or otherwise deal ,vith in
                      any manner and in any order any part of the First Lien Collateral or any liability of any Obligor to
                      any First Lien Collateral Agent or any other First Lien Claimholders, or any liability incurred
                      directly or indirectly in respect the reof;

                               (4)    settle or compromise any First Lien Obligation or any other liability of any
                      Obligor or any security therefor or any liability incurred directly or indirectly in respect thereof
                      and apply any sums by whomsoever paid and however realized to any liability (including the
                      First Lien Obligations) in any manner or order;

                               (5)      exercise or delay in or refrain from exercising any right or remedy against any
                      Obligor or any security or any other Person or with respect to any secu1ity, elect any remedy and
                      otherwise deal freely with any Obligor or any First Lien Collateral and any security and any
                      guarantor or any liability of any Obligor to the First Lien Claimholders or any liability incurred
                      directly or indirectly in respect the reof; and

                             (6)     release or discharge any First Lien Obligation or any guaranty the reof or any
                      agreement or obligation of any Obligor or any other Person or entity with respect thereto.

                              (c)      Until the Discharge of First Lien Obligations, each Second Lien Collateral
             Agent, on behalf of itself and its Related Second Lien Claimholders, agrees not to assert and hereby
             waives, to the fullest extent pennitted by law, any right to demand, request, plead or otherwise assert or
             otherwise claim the benefit of, any marshalling, appraisal, valuation or other similar right that may
             othern1ise be available unde r applicable law v,1ith respect to the Collateral or any other sim ilar rights a
             junior secured creditor may have under applicable law.

                                7.4    Waiver of Liabilitv.

                              (a)       Each Second Lien Collateral Agent, on behalf of itself and its Related Second
             Lien Claimholders, agrees that the First Lien Collateral Agents and the other First Lien Claimholders
             shall have no liability to any Second Lien Collateral Agent or any other Second Lien Claimholde rs, and
             each Second Lien Collateral Agent, on behalf of itse lf and its Related Second Lien Claimholders, hereby
             waives any claim against any First Lien Collateral Agent or any other First Lien Claimholder, arising out
             of any and all actions which any First Lien Collateral Agent or any other First Lien Claimholders may
             take or permit or omit to take with respect to: (i) the First Lien Documents (including, without limitation,
             any failure to perfect or obtain perfected security interests in the First Lien Collateral), (ii) the collection
             of the First Lien Obligations or (iii) the foreclosure upon, or sale, liquidation or other Disposition of, any

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             First Lien Collateral. Each Second Lien Collateral Agent, on behalf of itself and its Related Second Lien
             Claimholders, also agrees that the First Lien Collateral Agents and the other First Lie n Claimholde rs have
             no duty, express or implied, fiduciary or otherwise, to them in respect of the maintenance or preservation
             of the First Lien Collateral, the First Lien Obligations or otherwise. Neither the First Lien Collateral
             Agents nor any othe r First Lien Claimholder nor any of the ir respective directors, officers, employees or
             agents will be liable for failure to demand, collect or realize upon any of the Collateral or for any delay in
             doing so, or will be under any obligation to sell or othenvise Dispose of any Collateral upon the request
             of any Obligor or upon the request of any Second Lien Collateral Agent, any other Second Lien
             Claimholder or any other Pe rson or to take any other action whatsoever with regard to the Collateral or
             any part the reof. Without limiting the foregoing, each Second Lien Collate ral Agent, on behalf of itself
             and its Related Second Lien Claimholders, agrees that neither any First Lien Collateral Agent nor any
             other First Lien Claimholder (in directing the First Lien Collateral Agent to take any action with respect
             to the Collate ral) shall have any duty or obligation to realize first upon any type of Collate ral or to sell or
             otherwise Dispose of all or any portion of the Collateral in any manner, including as a result of the
             application of the principles of marshaling or otherwise, that would maximize the return to any First Lien
             Claimholders or any Second Lien Claimholders, notwithstanding that the order and timing of any such
             realization, sale or other Disposition may affect the amount of proceeds actually received by such
             Claimholders from such realization, sale or other Disposition.

                               (b)      With respect to its share ofthe First Lien Obligations, UBS shall have and may
             exercise the same rights and powers hereunder as, and shall be subject to the same obligations and
             liabilities as and to the ex1.ent set forth here in for, any other First Lien Claimholde r, all as if UBS were not
             the First Lien Collate ral Agent. With respect to its share of the Second Lien Obligations, GS shall have
             and may exercise the same rights and powe rs hereunder as, and shall be subject to the same obligations
             and liabilities as and to the extent set forth herein for, any othe r Second Lie n Claimholde r, all as if GS
             ,vere not the Second Lien Credit Collateral Agent. The term "Claimholders" or any sin1ilar te rm shall,
             unless the context clearly otherwise indicates, include UBS and GS, each in its individual capacity as a
             Claimholder. UBS, GS and the ir respective Affiliates may lend money to, and generally engage in any
             kind of business with, the Obligors or any of their Affiliates as if UBS were not acting as the First Lien
             Collateral Agent and GS were not acting as the Second Lien Collateral Agent and without any duty to
             account therefor to any other Claimholder.

                             7.5        Obligations Unconditional. All rights, inte rests, agreements and obligations of
             the First Lien Collate ral Agents and the other First Lien Claimholde rs and the Second Lien Collate ral
             Agents and the other Second Lien Claimholders, respectively, hereunder (including the Lien priorities
             established hereby) shall remain in full force and effect i1Tespective of:

                             (a)    any lack of validity or enforceability of any First Lien Documents or any Second
                      Lien Documents;

                               (b)      any change in the time, manner or place of payment of, or, subject to the
                      limitations set forth in Section 5.3, in any other terms of, all or any of the First Lien Obligations
                      or Second Lie n Obligations, or any amendment or waiver or other modification, including any
                      increase in the amount the reof, whether by course of conduct or otherwise, of the tem1s of any
                      First Lien Document or any Second Lien Document;

                               (c)     any exchange of any security interest in any Collateral or any other collateral, or
                      any amendment, waiver or othe r modification, whether in writing or by course of conduct or
                      otherwise, of all or any of the First Lien Obligations or Second Lien Obligations or any guaranty
                      thereof;


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                             (d)      the commencement of any Insolvency or Liquidation Proceeding in respect of
                      any Obligor; or

                               (e)    any other circumstances which otherwise might constitute a defense available to,
                      or a discharge of, any Obligor in respect of any First Lien Collateral Agent, any other First Lien
                      Claimholder, the First Lien Obligations, any Second Lien Collateral Agent, any other Second
                      Lien Claimholde r or the Second Lien Obligations in respect of this Agreement.

                                SECTIONS.          Miscellaneous.

                                8.1   Conflicts.

                               (a)     In the event of any conflict or inconsistency between the provisions of this
             Agreement and the provisions of the First Lien Documents or the Second Lien Documents, the provisions
             of this Agreement shall govern and control; provided that the foregoing shall not be construed to limit the
             relative rights and obligations as among the First Lien Claimholders or as among the Second Lien
             Claimholders; as among the First Lien Claimholders, such rights and obligations are governed by, and
             any provisions herein regarding them are therefore subject to, the provisions of any First Lien
             Intercreditor Agreement, and as among the Second Lien Claimholders, such rights and obligations are
             governed by, and any provisions herein regarding them are therefore subject to, the prov isions of any
             intercreditor agreement governing the rights and obligations of Second Lien Claimholders solely amongst
             themselves.

                              (b)     The pa,ties hereto acknow ledge, authorize and consent to the entry by each First
             Lien Collateral Agent and each Second Lien Collateral Agent into the ABL Intercreditor Agreement. In
             the event of any conflict or inconsistency between the provisions of this Agreement and the provisions of
             the ABL Intercreditor Agreement w ith respect to the ABL P1iority Collateral (as defined in the ABL
             Intercreditor Agreement) or otherwise with respect to the rights and obligations of the ABL Claimholders
             (as defined in the ABL Intercreditor Agreement) on the one hand and the Term Loan Claimholders (as
             defined in the ABL Intercreditor Agreement) on the other hand, the provisions of the ABL lnte rcreditor
             Agreement shall control.

                              8.2      Effectiveness; Continuing Nature of this Agreement: Severabilitv . This
             Agreement shall become effective ,,.,,hen executed and delivered by the parties he reto. This is a
             continuing agreement of Lien subordination and each of the First Lie n Claimholde rs and the Second Lien
             Claimholders may continue, at any time and w ithout notice to any Second Lien Collateral Agent or any
             other Second Lie n Claim holder or any First Lien Collateral Agent or any other First Lien Claimholder, to
             e:Ktend credit and other financial accommodations and lend monies to or for the benefit of any Obligor
             constituting First Lien Obligations or Second Lien Obligations in reliance hereon. Each Second Lien
             Collateral Agent, on behalf of itself and its Re lated Second Lien Claimholders, here by waives any ,ight it
             may have under applicable law to revoke this Agreement or any of the provisions of this Agreement. Each
             First Lien Collateral Agent, on behalf of itself and its Related First Lien Claimholders, hereby waives any
             right it may have under applicable law to revoke this Agreement or any of the prov isions of this
             Agreement. The tenns of this Agreement shall survive, and shall continue in full force and effect, in any
             Insolvency or Liquidation P roceeding. Any provision of this Agreement that is prohibited or
             unenforceable in any jurisdiction shall not invalidate the remaining provisions hereof, and any such
             prohibition or unenforceability in any j urisdiction shall not invalidate or render unenforceable such
             provision in any other jurisdiction. All references to any Obligor shall include such Obligor as debtor and
             debtor-in-possession and any receiver, tmstee or similar Person for any Obligor (as the case may be) in
             any Insolvency or Liquidation Proceeding. This Agreement shall terminate and be of no further force and
             effect:

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                              (a)      with respect to any First Lien Collateral Agent, the other First Lien Claimholders
                      and the First Lien Obligations of any Series, upon the Discharge of such Series of First Lien
                      Obligations, subject to Section 5 .6 and the rights of the First Lien Claimholders of such Series
                      under Section 6.5; and

                              (b)     with respect to any Second Lien Collateral Agent, the other Second Lien
                      Clairnholders and the Second Lien Obligations of any Series, upon the Discharge of such Series
                      of Second Lien Obligations.

             Notwithstanding the foregoing, such tennination shall not relieve any such party of its obligations
             incurred hereunder prior to the date of such tem1ination.

                               8 .3     Amendments: Waivers. Neither this Agreement nor any provision hereof may be
             amended, modified or waived except pursuant to an agreement or agreements in writing entered into by
             each First Lien Collateral Agent and each Second Lien Collateral Agent then party hereto; provided that
             (a) the Directing First Lien Collateral Agent and the Directing Second Lien Collateral Agent may, at the
             reasonable expense of the Obligors and without the written consent of any other First Lien Claimholder,
             any other Second Lien Clainlholder or any Obligor, agree to any amendment to or other modifications of
             this Agreement for the purpose of giving effect to Section 8.21 or any Refinancing of any First Lien
             Obligations or Second Lien Obligations, (b) any Additional Lien Obligations Agent may become party
             hereto by execution and delivery of a Joinder Agreement in the fo,m of Exhibit B hereto in accordance
             with the provisions of Section 8.21 and (c) additional Obligors may be added as parties hereto upon the
             execution and delivery of a counterpai1 of the Intercreditor Joinder Agreement in the fonn of Exhibit A
             hereto in accordance with the provisions of Section 8. 18. Each of the Directing First Lien Collateral
             Agent and the Directing Second Lien Collateral Agent shall execute and deliver an amendment or other
             modification of this Agreement at the other's request to pennit new creditors to become a party hereto as
             set forth in the proviso to the immediately preceding sentence. Notwithstanding the provisions of any
             other First Lien Document or Second Lien Document, the Directing First Lien Collateral Agent and the
             Directing Second Lien Collateral Agent may, with the consent of the Top Borrower, make any
             amendments, restatements, amendment and restatements, supplements or other modifications to this
             Agreement to co1Tect any ambiguity, defect or inconsistency contained he rein w ithout the consent of any
             other Person. Each waiver of the terms of this Agreement, if any, shall be a waiver only with respect to
             the specific instance involved and shall in no way impair the rights of the parties making such waiver or
             the obligations of the other parties owed to such party in any other respect or at any other time.
             Nonvithstanding the foregoing, no Obligor shall have any 1ight to consent to or approve any a mendment,
             modification or waiver of any provision of this Agreement except (x) to the extent such Obligor' s rights
             are directly and adversely affected by such amendment, modification or waiver, (y) to the eA'tent
             applicable to such Obligor, with respect to any provisions identified in Section 8.16 or (z) any
             amendment, modification or waiver of the DIP Cap Amount, if the effect of such an1endment,
             modification or waiver is to reduce the amount thereof from the amount the reof in effect on the date
             hereof; provided, however, that the Top Borrower shall be g iven notice of any amendment, modification
             or waiver of this Agreement promptly after the effectiveness thereof (it being understood that the failure
             to deliver such notice to the Top Borrower shall in no way impact the effectiveness of any such
             amendment, modification or waiver).

                              8.4      Infonnation Concerning Financial Condition of the Obligors and their
             Subsidiaries. Each of the First Lie n Collateral Agents and the other First Lien Clairnholders, on the one
             hand, and the Second Lien Collateral Agents and the other Second Lien Claimholders, on the other hand,
             shall be responsible for keeping themselves informed of (a) the fi nancial condition of the Obligors and
             their subsidiaries and all endorse rs and/or guarantors of the First Lien Obligations or the Second Lien
             Obligations and (b) all other circumstances bearing upon the risk of nonpayment of the First Lien

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             Obligations or the Second Lien Obligations. The First Lien Collateral Agents and the other First Lien
             Claimholders shall have no duty to advise any Second Lien Collateral Agent or any other Second Lien
             Claimholder of infom1ation known to it or them regarding such condition or any such circumstances or
             otherwise. In the event any First Lien Collateral Agent or any of the other First Lie n Claimholders, in its
             or their sole discretion, undertakes at any time or from time to time to provide any such information to
             any Second Lien Collateral Agent or any other Second Lien Claimholder, it or they shall be under no
             obligation:

                                (i)    to make, and such First Lien Collateral Agent and such First Lien Claimholders
                      shall not make, any express or implied representation or warranty, including with respect to the
                      accuracy, completeness, truthfulness or validity of any such info1mation so provided;

                             (ii)    to provide any additional information or to provide any such infonnation on any
                      subsequent occasion;

                               (iii)   to undertake any investigation; or

                             (iv)     to disclose any infom1ation, which pursuant to accepted or reasonable
                      commercial finance practices, such party wishes to maintain confidential or is othenvise required
                      to maintain confidential.

                              8.5      Subrogation. With respect to the value of any payments or distributions in cash,
             property or other assets that any Second Lien Collateral Agent or any other Second Lien Claimholder
             pays over to the Directing First Lien Collateral Agent or the other First Lien Claimholders under the
             terms of this Agreement, such Second Lien Collateral Agent or such other Second Lien Claimholder shall
             be subrogated to the rights of each First Lien Collateral Agent and the other First Lien Claimholde rs;
             provided that each Second Lien Collateral Agent, on behalf of itself and its Related Second Lien
             Claimholders, hereby agrees that neither it nor its Related Second Lien Claimholders shall assert or
             enforce any such rights of subrogation it may acquire as a result of any payment hereunder until the
             Discharge of First Lien Obligations has occurred. Each Obligor acknowledges and agrees that the value
             of any payments or distributions in cash, property or other assets received by any Second Lien Collateral
             Agent or the other Second Lien Claimholders and paid over to the Directing First Lien Collateral Agent
             or the other First Lien Claimholders pursuant to, and applied in accordance with, this Agreement, shall
             not relieve or reduce any of the Second Lien Obligations unde r the Second Lien Documents.

                              8.6       Application of Payments. All payments received by any First Lien Collateral
             Agent or the other First Lien Claimholde rs may be applied, reversed and reapplied, in whole or in part, to
             such part ofthe First Lien Obligations as the First Lien Claimholders, in their sole discretion, deem
             appropriate. Each Second Lien Collateral Agent, on behalf of itself and its Related Second Lien
             Claimholders, consents to any extension or postponement of the time of payment of the First Lien
             Obligations or any part thereof and to any other indulgence with respect thereto, to any substitution,
             exchange or release of any security which may at any time secure any part of the First Lien Obligations
             and to the addition or re lease of any other Pe rson primarily or secondarily liable therefor.

                                8.7    SUBMISSION TO JURISDICTION: WAIVERS.

                        (a)   EACH PARTY HERETO (IN THE CASE OF EACH COLLATERAL
             AGENT, FOR ITSELF AND ON BEHALF OF ITS RELATED CLAIMHOLDERS) HEREBY
             IRREVOCABLY AND UNCONDITIONALLY SUBMITS, FOR ITSELF AND ITS (AND THEIR)
             PROPERTY, TO THE EXCLUSIVE JURISDICTION OF ANY U.S. FEDERAL OR NEW YORK
             STATE COURT SITTING IN THE BOROUGH OF MANHATTAN, IN THE CITY OF NEW

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             YORK (OR ANY APPELLATE COURT THEREFROM) OVER ANY SUIT OR ANY ACTION
             OR PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT, AND
             AGREES THAT ALL CLAIMS IN RESPECT OF ANY SUCH ACTION OR PROCEEDING
             SHALL BE HEARD AND DETERMINED EXCLUSIVELY IN SUCH NEW YORK STATE OR,
             TO THE EXTENT PERMITTED BY LAW, IN SUCH FEDERAL COURT. EACH OF THE
             PARTIES HERETO (IN THE CASE OF EACH COLLATERAL AGENT, FOR ITSELF AND ON
             BEHALF OF ITS RELATED CLAIMHOLDERS) AGREES THAT SERVICE OF ANY
             PROCESS, SUMMONS, NOTICE OR DOCUMENTS BY REGISTERED MAIL ADDRESSED
             TO SUCH PERSON SHALL BE EFFECTIVE SERVICE OF PROCESS AGAINST SUCH
             PERSON FOR ANY SUIT, ACTION OR PROCEEDING BROUGHT IN ANY SUCH COURT.
             EACH OF THE PARTIES HERETO (IN THE CASE OF EACH COLLATERAL AGENT, FOR
             ITSELF AND ON BEHALF OF ITS RELATED CLAIM HOLDERS) HEREBY IRREVOCABLY
             AND UNCONDITIONALLY WAIVES ANY OBJECTION TO THE LA YING OF VENUE OF
             ANY SUCH SUIT, ACTION OR PROCEEDING BROUGHT IN ANY SUCH COURT AND ANY
             CLAIM THAT ANY SUCH SUIT, ACTION OR PROCEEDING HAS BEEN BROUGHT IN AN
             INCONVENIENT FORUM. EACH OF THE PARTIES HERETO (IN THE CASE OF EACH
             COLLATERAL AGENT, FOR ITSELF AND ON BEHALF OF ITS RELATED
             CLAIMHOLDERS) AGREES THAT A FINAL JUDGMENT IN ANY SUCH ACTION OR
             PROCEEDING MAY BE ENFORCED IN OTHER JURISDICTIONS BY SUIT ON THE
             JUDGMENT OR IN ANY OTHER MANNER PROVIDED BYLAW.

                          (b)  TO THE EXTENT PERMITTED BY LAW, EACH PARTY HERETO (IN
             THE CASE OF EACH COLLATERAL AGENT, FOR ITSELF AND ON BEHALF OF ITS
             RELATED CLAIMHOLDERS) HEREBY IRREVOCABLY WAIVES PERSONAL SERVICE OF
             ANY AND ALL PROCESS UPON IT AND AGREES THAT ALL SUCH SERVICE OF PROCESS
             MAY BE MADE BY REGISTERED MAIL (OR ANY SUBSTANTIALLY SIMILAR FORM OF
             MAIL) DIRECTED TO IT AT ITS ADDRESS FOR NOTICES AS PROVIDED FOR IN
             SECTION 8.8. EACH PARTY HERETO (IN THE CASE OF EACH COLLATERAL AGENT,
             FOR ITSELF AND ON BEHALF OF ITS RELATED CLAIMHOLDERS) HEREBY WAIVES
             ANY OBJECTION TO SUCH SERVICE OF PROCESS AND FURTHER IRREVOCABLY
             WAIVES AND AGREES NOT TO PLEAD OR CLAIM IN ANY ACTION OR PROCEEDING
             COMMENCED HEREUNDER THAT SERVICE OF PROCESS WAS INVALID AND
             INEFFECTIVE. NOTHING IN THIS AGREEMENT WILL AFFECT THE RIGHT OF ANY
             PARTY TO THIS AGREEMENT TO SERVE PROCESS IN ANY OTHER MANNER
             PERMITTED BY LAW.

                         (c)   EACH PARTY HERETO HEREBY IRREVOCABLY WAIVES (IN THE
             CASE OF EACH COLLATERAL AGENT, FOR ITSELF AND ON BEHALF OF ITS RELATED
             CLAIMHOLDERS), TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY
             RIGHT IT (OR THEY) MAY HA VE TO A TRIAL BY JURY IN ANY SUIT, ACTION,
             PROCEEDING OR COUNTERCLAIM (WHETHER BASED ON CONTRACT, TORT OR ANY
             OTHE R THEORY) DJRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO
             THIS AGREEMENT, ANY FIRST LIEN DOCUMENT OR SECOND LIEN DOCUMENT OR
             THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY. EACH PARTY HERETO
             (IN THE CASE OF EACH COLLATERAL AGENT, FOR ITSELF AND ON BEHALF OF ITS
             RELATED CLAIMHOLDERS) (A) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR
             ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE,
             THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO
             ENFORCE THE FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT IT AND THE
             OTHER PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO TIDS AGREEMENT


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             BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS
             SECTION.

                               8.8     Notices. All notices to the First Lien Claimholders and the Second Lien
             Claimholders pennitted or required under this Agreement shall also be sent to the related First Lien
             Collateral Agent and the related Second Lien Collateral Agent, respectively (and, for this purpose, the
             Directing First Lien Collateral Agent shall be deemed to be an agent for the First Lien Secured Hedging
             Obligations and the First Lien Banking Services Obligations, and the Directing Second Lien Collateral
             Agent shall be deemed to be an agent for the Second Lien Secured Hedging Obligations and the Second
             Lien Banking Services Obligations). Unless othenvise specifically provided herein, any notice hereunder
             shall be in writing and may be personally served, sent by facsimile or sent by other electronic
             transmission or United States mail or courier service and shall be deemed to have been given when
             delivered in person or by courier service and signed for against receipt thereof, upon receipt of facsimile
             or other electronjc transmission, or three (3) Business Days after depositing it in the United States mail
             with postage prepaid and properly addressed. For the purposes hereof, the addresses of the parties hereto
             shall be as set forth below each party's name on the signature pages hereto, or, as to each party, at such
             other address as may be designated by such party in a w1itten notice to all of the other pa1ties.

                              8.9     Further Assurances. Each First Lien Collateral Agent, on behalf of itself and its
             Related First Lien Claimholders, and each Second Lien Collateral Agent, on behalf of itse lf and its
             Related Second Lien Claimholders, and each Obligor, agrees that each of them shall take such further
             action and shall execute and deliver such additional documents and instruments (in recordable form, if
             requested) as the Directing First Lien Collateral Agent or the Directing Second Lien Collateral Agent may
             reasonably request to effectuate the tenns of and the Lien priorities contemplated by this Agreement.

                         8.10  CHOICE OF LAW. THIS AGREEMENT, AND ANY CLAIM,
             CONTROVERSY OR DISPUTE ARISING UNDER OR RELATED TO THIS AGREEMENT
             (WHETHER IN TORT, CONTRACT (AT LAW OR IN EQUITY) OR OTHERWISE), SHALL BE
             GOVERNED BY, AND CONSTRUED AND INTERPRETED IN ACCORDANCE WITH, 1HE LAWS
             OF THE STATE OF NEW YORK.

                              8.11    Binding on Successors and Assigns. This Agreement shall be binding upon each
             First Lien Collateral Agent, the other First Lien Claimholders, each Second Lien Collateral Agent, the
             other Second Lien Claimholders and their respective successors and pennitted assigns. If any First Lien
             Collateral Agent or any Second Lien Collateral Agent resigns or is re placed pursuant to the First Lien
             Docume nts or the Second Lien Documents, as applicable, its successor shall be deemed to be a party to
             this Agreement and shall have all the rights of, and be subject to all the obligations of, trus Agreement.

                             8.12     Headings. Section headings and the Table of Contents used he rein are for
             convenience of reference only, are not part of trus Agreement and shall not affect the construction of, or
             be taken into consideration in interpreting, this Agreement.

                               8.13    Counterparts. This Agreement may be executed in counterparts (and by diffe rent
             parties hereto in different counterparts), each of which shall constitute an original, but all of which when
             taken together shall constitute a single contract. Delivery of an executed counterpart of a signature page
             of this Agreement or any document or instrument delivered in connection herewith by facsim ile or other
             electronic transmission (including " .pdf' or ".tiff' fonnat) shall be effective as delivery of a manually
             executed counterpart of this Agreement or such other document or instrument, as applicable.

                             8.14   Authorization: Binding Effect on Claimholders. By its signature, each Person
             executing this Agreement on behalf of a party hereto represents and warrants to the other parties hereto

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             that it is duly authorized to execute this Agreement. Each First Lien Claimholder and each Second Lien
             Claimholder, by its acceptance of the benefits of the First Lien Documents and Second Lien Documents,
             as the case may be, shall be deemed to have agreed to be bound by the agreements made herein, including
             the agreements made by any Collateral Agent on its behalf.

                               8 .15   Exclusive Means of Exercising Rights under this Agreement.

                               (a)      1l1e First Lien Claimholders shall be deemed to have irrevocably appointed the
             Directing First Lien Collateral Agent as the ir exclusive agent hereunder as and to the extent set fo1th in
             Section 3.2(a). Consistent with such appointment, the First Lien Claimholders further shall be deemed to
             have agreed that only the Directing First Lie n Collateral Agent (and not any individual claimholde r or
             group of claimholders) as agent for the First Lien Claimholders, or any of the Directing First Lien
             Collateral Agent's agents, shall have the right on their behalf to exercise any rights, powers, and/or
             remedies under or in connection with this Agreement (including bringing any action to interpret or
             othern1 ise enforce the provisions of this Agreement); provided that (i) holders of the First Lien Secured
             Hedging Obligations and the First Lien Banking Se rvices Obligations may exercise customary netting and
             set off rights under the First Lien Hedge Agreements and First Lien Banking Services Agreements to
             ,,,hich they are, respectively, a party, (ii) cash collateral may be held pursuant to the terms of the First
             Lien Documents (including any relating to First Lien Hedge Agreements) and any such individual First
             Lie n Cla imho lde r may act against such cash collate ral in accordance with the terms of the relevant First
             Lie n Document or applicable law and (iii) the First Lien Claimholders may exercise customary rights of
             setoff against depository or other accounts maintained with them in accordance with the terms of the
             relevant F irst Lien Document o r applicable law. Specifically, but without limiting the generality of the
             foregoing , no First Lien Claimholder or group of First Lien Claimholders, other than the Directing First
             Lien Collateral Agent (acting at the direction of, or pursuant to a grant of authority by, the Required First
             Lie n Cla imholders), shall be entitled to take or file, and shall be precluded from taking o r filing (whether
             in any Insolvency or Liquidation Proceeding or otherwise), any action, judicial or otherwise, to enforce
             any right or power or pursue any remedy under this Agreement (including any declaratory judgment or
             other action to inte rpret or otherwise enforce the provisions of this Agreement), except solely as provided
             in the immediately preceding sentence .

                              (b)      The Second Lien Claimholde rs shall be deemed to have irrevocably appointed
             the Directing Second Lien Collateral Agent as the ir exclusive agent he reunder as and to the extent set
             forth in Section 3.2(b) and to have authorized the Directing First Lien Collateral Agent to act as gratuitous
             agent for the Directing Second Lie n Collateral Agent under any Shared Collateral Document in
             accordance with Section 5.5. Consistent with such appointment, the Second Lien Claimholders further
             shall be deemed to have agreed that only the Directing Second Lien Collate ral Agent (and not any
             individual claimholder or group of claimholders) as agent for the Second Lien Claimholde rs, or any of the
             Directing Second Lien Collateral Agent' s agents (including the Directing First Lien Collate ral Agent
             acting as gratuitous agent for the Second Lien Collateral Age nt under any Shared Collate ral Document),
             shall have the right on their behalf to exercise any rights, powers, and/o r remedies under or in connection
             with this Agreement (including bringing any action to interpret or otherwise enforce the provisions of this
             Agreement); provided that, subject to the limitations, restrictions a nd other agreeme nts set forth he re in, (i)
             holders of the Second Lien Secured Hedging Obligations and the Second Lien Banking Services
             Obligations may exe rcise customary netting and set off rights under the Second Lien Hedge Agreements
             and Second Lien Banking Services Agreements to which they are, respectively, a party, (ii) cash collateral
             may be held pursuant to the tenns of the Second Lien Documents (including any relating to Second Lien
             Hedge Agreements) and any such individual Second Lien Claimholder may act against such cash
             collateral in accordance w ith the te rms of the re levant Second Lien Docume nt or applicable law and (iii)
             the Second Lien Claimholders may exercise customary rights of setoff against depository or other
             accounts maintained w ith them in accordance with the te1ms of the relevant Second Lien Document or

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             applicable law. Specifically, but without limiting the generality of the foregoing, each Second Lien
             Claimholder or group of Second Lien Claimholders, other than the Directing Second Lien Collateral
             Agent (acting at the direction of, or pursuant to a grant of authority by, the Required Second Lien
             Claimholders), shall not be entitled to take or file, but instead shall be precluded from taking or filing
             (whether in any Insolvency or Liquidation Proceeding or otherwise), any action, judicial or otherwise, to
             enforce any right or power or pursue any remedy unde r this Agreement (including any declaratory
             judgment or other action to inte rpret or otherwise enforce the provisions of this Agreement), except solely
             as provided in the proviso in the immediately preceding sentence .

                              8.16     No Third Party Beneficiaries; Provisions Solely to Define Relative Rights. This
             Agreement and the rights and benefits hereof shall inure to the benefit of each of the pa1ties hereto and its
             respective successors and assigns and shall inure to the benefit of each of the First Lien Claimholders and
             the Second Lien Claimholders. The provisions of this Agreement are and are intended solely for the
             purpose of defining the relative rights of the First Lien Collate ral Agent and the other First Lien
             Claimholders, on the one hand, and the Second Lien Collateral Agent and the othe r Second Lien
             Claimholders, on the other hand. None of the Obligors shall have any rights hereunder and no Obligor
             may re ly on the terms he reof, othe r than any provision hereof expressly prese rving any right of, or
             directly affecting, any Obligor under this Agreement, any First Lien Document or any Second Lien
             Docume nt, including the definition of " DIP Cap Amount" and Sections 3 .1 (as to the definition of
             "Standstill Period"), 4.1, 5.1, 5.2, il, 5.4, 5.6, g U, 6.2, t i, L.l, 8.2, l l l l 8.7, U 8.9, 8.10, 8.11 ,
             8.13, 8.14, 8.15, this Section 8.16, Sections 8.17, 8.18, and 8.21. Nothing in this Agreement is intended
             to or shall impair the obligations of the Obligors, which are absolute and unconditional, to pay the First
             Lie n Obligations and the Second Lien Obligations as and when the same shall become due and payable in
             accordance with their terms.

                              8.17     No Indirect Actions. Unless othe rwise expressly stated, if a pa1ty may not take
             an action under this Agreement, then it may not take that action indirectly, or support any other Person in
             taking that action directly or indirectly. "Taking an action indirectly" means taking an action that is not
             expressly prohibited for the party but is intended to have substantially the san1e effects as the prohibited
             action; provided that notwithstanding the foregoing, nothing in this Section 8.17 shall be deemed to limit
             the right of any party hereto to vote on any plan of reorganization, arrangement, compromise or
             liquidation or similar dispositive restructuring plan in any Insolvency or Liquidation Proceeding to the
             extent not inconsistent with the terms of this Agreement.

                               8.18     Obligors: Additional Obligors. It is understood and agreed that Holdings, the
             Borrowers and each othe r Obligor on the date of this Agreement shall constitute the original Obligors
             party hereto. The original Obligors hereby covenant and agree to cause each subsidiary of Holdings
             which becomes a "Subsidiary Guarantor" as defined in the First Lien Credit Agreement or the Second
             Lien Credit Agreement (or any similar te rm in any other First Lien Financing Document or Second Lien
             Financing Document) afte r the date hereof to become a paity hereto (as an Obligor) by duly executing
             and delivering a counte rpart of the Intercreditor Joinder Agreement in the fonn of Exhibit A hereto to the
             Directing First Lien Collateral Agent in accordance with the relevant provisions of the relevant First Lien
             Financing Documents and/or Second Lie n Financing Documents, as applicable. The pa1ties hereto
             further agree that, notwithstanding ai1y failure to take the actions required by the immediately preceding
             sentence, each Person which becomes a "Subsidiary Guarantor'' as defined in the First Lien Credit
             Agreement or the Second Lien Credit Agreement (or any similar term in any other First Lien Financing
             Document or Second Lien Financing Document) at any time shall be subject to the provisions hereof as
             fully as if san1e constituted an Obligor paity hereto and had complied with the require ments of the
             immediate ly pre ceding sentence.



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                               8.19 Right of First Lien Collateral Agent to Continue . Any Person serving as First
             Lien Collateral Agent shall be entitled to continue, including to continue to perform his, her or its rights,
             obligations and duties, as the First Lien Collateral Agent, notwithstanding whether any such Person has
             served or is serving as a Second Lien Collateral Age nt. Without limiting the generality of the preceding
             sentence of this Section 8. 19, any Pe rson serving as a First Lien Collateral Agent shall be entitled to
             continue to so serve in such capacity (including to continue to perform any of such First Lien Collateral
             Agent's rights, obligations, and/or duties) even if any such Person has resigned as a Second Lien
             Collateral Agent, but such resignation has not become effective for any reason, including because a
             successor Second Lien Collateral Agent has not been appointed or has accepted such appointment,
             v,rithout any liability to any of the Second Lien Claimholde rs by virtue of any such resignation and any of
             the circumstances relating in any manner whatsoever to such resignation.

                               8.20    Second Lien Clairnholders. Notwithstanding anything to the contrary in this
             Agreement, it is unde rstood and agreed that this Agreement only applies to the Second Lie n Claimholders
             in their capacities as holders of the Second Lien Obligations. Without limiting the foregoing, this
             Agreement does not restrict or apply to the Second Lien Claimholders in their capacities as holde rs of any
             Indebtedness or other obligations of the Obligors other than the Second Lie n Obligations (or any
             Reorganization Securities issued as contemplated by Section 6.6), or in their capacities as holders of
             equity interests of the Obligors.

                             8.21    Additional Lien Obligations. Subject to the terms and conditions ofthis
             Agreement, each First Lien Financing Document and each Second Lien Financing Document, the
             Obligors will be permitted from time to time to designate as an additional holder of First Lien Obligations
             and/or Second Lien Obligations hereunder each Person that is, or that becomes or is to become, the holder
             of any Additional Lien Obligations (or the Additional Liens Obligations Agent in respect of such
             Additional Liens Obligations). Upon the issuance or incurre nce of any such Additional Lien Obligations:

                               (a)      The Top Bon-ower shall deliver to each of the First Lien Collateral Agents and
                      the Second Lien Collateral Agents a certificate of a Responsible Office r stating that the applicable
                      Obligors intend to enter or have entered into an Additional Lien Obligations Agreement and
                      certifying that the issuance or incurrence of such Additional Lien Obligations and the Liens
                      seeming such Additional Lien Obligations are permitted by the First Lien Financing Documents,
                      the Second Lien Financing Documents and each then existing Additional First Lien Obligations
                      Agreement and Additional Second Lien Obligations Agree ment. Each of the Additional Lien
                      Obligations Agents, the First Lien Collateral Agents and the Second Lien Collateral Agents shall
                      be entitled to rely conclusively on the detem1ination of the Top Borrower that such issuance
                      and/or incurrence is permitted under the First Lien Financing Documents, the Second Lien
                      Financing Documents and each then existing Additional First Lien Obligations Agreement and
                      Additional Second Lien Obligations Agreement if such determination is set forth in such officer's
                      certificate delivered to the First Lien Collateral Agents and the Second Lien Collateral Agents;
                      provided, however, that such determination will not affect whether or not the Obligors have
                      complied with their undertakings in the First Lien Financing Documents, the Second Lien
                      Financing Documents or any then existing Additional First Lien Obligations Agreement or
                      Additional Second Lien Obligation Agreement;

                              (b)      the Additional Liens Obligations Agent for such Additional Lien Obligations
                      shall execute and deliver to the First Lien Collateral Agent and the Second Lien Collateral Agent
                      a Joinder Agreement in the fom1 attached hereto as Exhibit B acknowledging that such Additional
                      Lie ns Obligations and the holders of such Additional Liens Obligations shall be bound by the
                      terms hereof to the extent applicable to the First Lien Claimholders or the Second Lien
                      Clairnholders, as applicable, and

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                               (c)      each existing First Lien Collateral Agent and Second Lien Collateral Agent shall
                      promptly enter into such documents and agreements (including amendments, restatements,
                      amendments and restatements, supplements or other modifications to this Agreement) as any
                      existing First Lien Collateral Agent or existing Second Lien Collateral Agent (but no other First
                      Lie n Claimholder or Second Lien Claimholder) or the Additional Lien Obligations Agent may
                      reasonably request in order to provide to it the rights, remedies and powers and authorities
                      contemplated hereby, in each case consistent in all respects with the te rms of this Agreement;
                      provided that, for the avoidance of doubt and notwithstanding anything in this Agreement to the
                      contrary, it is understood and agreed that any such amendment, restate ment, amendment and
                      restatement, supplement or other modification to this Agreement requested pursuant to this
                      clause (c) may be entered into by the existing First Lien Collateral Agents and the existing
                      Second Lien Collateral Agents w ithout the consent of any other First Lien Claimholder or Second
                      Lie n Claimholder to effect the provisions of this Section 8.21 and may contain additional
                      intercreditor terms applicable solely to the holders of such Additional Lien Obligations vis-a-vis
                      the holders of the relevant obligations hereunder or the holders of such Additional Lien
                      Obligations vis-a-vis the Directing First Lien Collateral Agent and the First Lien Claimholders or
                      the Directing Second Lien Collateral Agent and the Second Lien Claimholders, as applicable.

             Notv,1ithstanding the foregoing, nothing in this Agreement w ill be constmed to allow any Obligor to incur
             additional Indebtedness unless otherwise permitted by the terms of each applicable First Lien Financing
             Document, Second Lien Document and each then existing Additional First Lien Obligations Agreement
             and Additional Second Lien Obligations Agreement.

                                8.22   Additional lntercreditor Agreements.

                               (a)      Subject to Section 8 .1 (b) of this Agreement, each party hereto agrees that the
             First Lien Cla imholde rs (as among themselves) and the Second Lien Claimholders (as among themselves)
             may each enter into intercreditor agreements (or similar arrangements) with the applicable First Lien
             Collateral Agents or Second Lien Collateral Agents, as the case may be, governing the rig hts, benefits and
             privileges as among the First Lien Claimholders in respect of any o r all of the First Lien Collateral, this
             Agreement and the First Lien Collateral Documents or as among the Second Lien Claimholders in respect
             of any or all of the Second Lien Collateral, this Agreement or the Second Lien Collateral Documents, as
             the case may be, including as to the application of proceeds of any Collateral, voting rights, control of any
             Collateral and v,1aivers w ith respect to any Collateral, in each case so long as the terms the reof do not
             violate or conflict w ith the terms of this Agreement or the First Lien Documents or the Second Lien
             Documents, as applicable. ln any event, if a respective intercreditor agreement (or similar arrangement)
             exists, the provisions thereof shall not be (or be constrned to be) an amendment, modification or other
             change to this Agreement or any other First Lien Document or Second Lien Document, and the provisions
             of this Agreement and the other First Lien Documents and Second Lien Documents shall remain in full
             force and effect in accordance with the te1ms he reof and thereof (as such provisions may be amended,
             modified o r otherwise supplemented from time to time in accordance w ith the terms thereof, including to
             give effect to any intercreditor agreement (or similar arrangement)).

                              (b)     ln addition, in the event that the Top Borrower or any of its subsidiaries incurs
             any obligations in respect of Indebtedness that is permitted by the First Lien Documents and the Second
             Lien Documents to be secured by a Lien on any Collateral that is junior to the Liens thereon securing all
             First Lien Obligations and all Second Lie n Obligations and such obligations are not designated by the
             Top Borrower as Second Lien Obligations, then the First Lien Collateral Agents and/or the Second Lien
             Collateral Agents shall upon the request of the Top Borrower enter into an Acceptable Jntercreditor
             Agreement (as defined in the First Lien Credit Agreement and the Second Lien Credit Agreement on the
             date hereof and/or, in each case, any similar term in any First Lien Document and/or any Second Lien

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             Docume nt, as applicable) or another intercreditor agreement that is reasonably satisfactory to the First
             Lie n Collateral Agents and the Second Lien Collateral Agents with the holders of such other obligations
             (or their agent, trustee or other representative) to reflect the relative Lien priorities of such parties with
             respect to the Collateral (or the relevant po1tion thereof) and governing the relative rights, benefits and
             privileges as among such parties in respect of such Collateral, including as to application of the proceeds
             of such Collateral, voting rights, control of such Collateral and waivers with respect to such Collateral, in
             each case, so long as such secured obligations are not prohibited by, and the terms of such intercreditor
             agreement do not violate or conflict with, the provisions of this Agreement or any of the First Lien
             Documents or Second Lien Documents, as the case may be. If any such intercreditor agreement (or
             similar arrangement) is ente red into, the provisions thereof shall not be (or be construed to be) an
             amendment, modification or other change to this Agreement or any First Lien Documents or Second Lien
             Documents, and the provisions of this Agreement, the First Lien Documents and the Second Lien
             Docume nts shall remain in full force and effect in accordance with the terms hereof and the reof (as such
             provisions may be amended, modified or otherwise supplemented from time to time in accordance with
             the respective tem1s thereof, including to give effect to any intercreditor agreement (or similar
             arrangement)) and in the event of any conflict between the te1ms of this Agreement and the te rms of such
             other intercreditor agreement as it relates to the First Lien Claimholders on the one hand and the Second
             Lie n Cla imholders on the other hand, the provisions of this Agreement shall govern and control.

                                                       [Signature pages follow]




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                               IN WITNESS WHEREOF, the pa1ties he reto have executed this Agreement as of the date
             first w ritten above.

                                                                UBS AG, STAMFORD BRANCH,
                                                                as First Lien Credit Agreement Collateral Agent


                                                                By:
                                                                      Name:
                                                                      Title:


                                                                By:
                                                                      Name:
                                                                      Title:


                                                                Address for Notices:
                                                                Attention:
                                                                Tel.:
                                                                Email:




                                               [Signature Page to Intercreditor Agreement]




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                                                                GOLDMAN SACHS BANK USA,
                                                                as Second Lien Credit Agreement Collateral Age nt


                                                                By:
                                                                      Name:
                                                                      Title:


                                                                Address for Notices:
                                                                Attention:
                                                                Tel.:
                                                                Email:




                                               [Signature Page to Intercreditor Agreement]




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             Acknmvledged and Agreed to by:

             Holdings


             DAWN INTERMEDlATE, fNC. ,


             By:
                   Nan1e:
                   Title:


             Borrowers


             SERTA SIMMONS BEDDING, LLC,


             By:
                   Nan1e:
                   Title:


             NATIONAL BEDDfNG COMPANY L.L.C.,


             By:
                   Nan1e:
                   Title :


             SSB MANUF ACTURfNG COMP ANY,


             By:
                   Nan1e:
                   Title:




                                               [Signature Page to Intercreditor Agreement]




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             Other Obligors




             By :
                    Name:
                    Title:


             Address for Notices to Obligors:
             Tel.:
             Fax:
             Attn:
             Email:




                                                [Signature Page to Intercreditor Agreement]




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                                                                                                              EXIDBIT A
                   FORM OF INTERCREDITOR JOIN DER AGREEMENT - ADDITIONAL OBUGORS

                               Reference is made to the First Lien/Second Lien Inte rcreditor Agreement dated as of
             November 8, 20 16 (as amended, restated, amended and restated, supplemented or otherwise modified
             from time to time, the "lntercreditor Agreement"), among UBS AG, STAMFORD BRANCH, in its
             capacity as the First Lien Credit Agreement Collateral Agent and GOLDMAN SACHS BANK USA as
             the Second Lien Credit Agreement Collateral Agent (in each case, as defined therein), each other FIRST
             LIEN COLLATERAL AGENT that is from time to time party thereto and each other SECOND LIEN
             COLLATERAL AGENT that is from time to time party thereto and acknowledged and agreed to by
             DAWN INTERMEDIATE, INC., a Delaware corporation, SERTA SIMMONS BEDDING, LLC, a
             Delaware limited liability company, NATIONAL BEDDING COMPANY L.L.C., an Illinois limited
             liability company, SSB MANUFACTURING COMPANY, a Delaware corporation and the other
             OBLIGORS (as defined therein) from time to time party thereto. Capitalized tenns used but not defined
             he rein shall have the meanings assigned to such terms in the Intercreditor Agreement.

                            TI1is lntercreditor Joinder Agreement, dated as of [ •] [• ], 20[•] (this "Joinder
             Agreement"), is being delivered pursuant to requirements of the Intercreditor Agreement.

                               1.       Joinder. The unde rsigned, [•], a [ • ], hereby agrees to become party to the
                      Intercreditor Agreement as an Obliger thereunder for all purposes thereof on the terms set forth
                      therein, and to be bound by the terms, conditions and provisions of the lntercreditor Agreement as
                      fully as if the undersigned had executed and delivered the lnte rcreditor Agreement as of the date
                      thereof.

                               2.       Agreements. The undersigned Obliger hereby agrees, for the enforceable benefit
                      of all existing and future First Lien Claimholders and all existing and future Second Lien
                      Claimholders that the undersigned is bound by the tem1s, conditions and provisions of the
                      Inte rcreditor Agreement to the extent set forth the rein.

                               3.      Counterpa1ts. This Joinde r Agreement may be executed in two or more
                      counterparts, each of which shall be deemed to be an original, and all of which, when taken
                      together, shall constitute one contract. Delivery of an executed signature page to this Joinder
                      Agreement by facsimile transmission or other electronic transmission (including " .pdf', " .tiff' or
                      similar format) shall be effective as delivery of a manually executed counterpart of this Joinder
                      Agreement.

                           4.    Governing Law. THIS JOINDER AGREEMENT AND ANY CLAIM,
                      CONTROVERSY OR DISPUTE ARISING UNDER OR RELATED TO THIS JOINDER
                      AGREEMENT, WHETHER IN TORT, CONTRACT (AT LAW OR IN EQUITY) OR
                      OTHERWISE, SHALL BE GOVERNED BY, AND CONSTRUED AND INTERPRETED IN
                      ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK.

                             6.        Miscellaneous. TI1e provisions of Section 8 of the Intercreditor Agreement shall
                      apply with like effect to this Joinder Agreement.

                                                       [Signature pages follow]




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                              IN WITNESS WHEREOF, the undersigned has caused this Joinder Agreement to be duly
             executed by its authorized representative, and each Collateral Agent has caused the same to be accepted
             by its authorized representative, as of the date first written above.

                                                                [NAME OF OBLIGOR],
                                                                as an Obligor


                                                                By:
                                                                      Name:
                                                                      Title:




             Acknowledged and Agreed to by:

             UBS AG, STAMFORD BRANCH,
             as First Lien Credit Agreement Collateral Agent,


             By:
                    Nan1e:
                    Title:

             By:
                    Nan1e:
                    Title:


             GOLDMAN SACHS BANK USA,
             as Second Lien Credit Agreement Collateral Agent,


             By:
                    Name:
                    Title:




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                                                                                                                EXHIBITB

                FORM OF INTERCREDITOR JOINDER AGREEMENT - ADDITIONAL INDEBTEDNESS

                               Reference is made to the First Lien/Second Lien Intercreditor Agreement dated as of
             November 8, 2016 (as amended, restated, amended and restated, supplemented or otherwise modified
             from time to time, the "lntercreditor Agreement"), among UBS AG, STAMFORD BRANCH, in its
             capacity as the First Lien Credit Agreement Collateral Agent and GOLDMAN SACHS BANK USA as
             the Second Lien Credit Agreement Collateral Agent (in each case, as defined therein), each other FIRST
             LIEN COLLATERAL AGENT that is from time to time party thereto and each other SECOND LIEN
             COLLATERAL AGENT that is from time to time party thereto and acknowledged and agreed to by
             DAWN INTERMEDIATE, INC., a Delaware corporation, SERTA SIMMONS BEDDING, LLC, a
             Delaware limited liability company, NATIONAL BEDDING COMPANY L.L.C., an Illinois limited
             liability company, SSB MANUFACTURING COMPANY, a Delaware corporation and the other
             OBLJGORS (as defined therein) from time to time party thereto. Capitalized terms used but not defined
             he rein shall have the meanings assigned to such tenns in the Intercreditor Agreement.

                            l11is Intercreditor Joinder Agreement, dated as of [ •] [• ], 20[•] (this "Joinder
             Agreement"), is be ing delivered pursuant to requirements of the Intercreditor Agreement.

                            l11e undersigned Additional [First/Second] Lien Obligations Agent (the "New Collateral
             Agent") is executing this Joinder Agreement in accordance with the requirements of the Inte rcreditor
             Agreement.

                               I.      Joinder. In accordance with Section 8 .21 of the Intercreditor Agreement, the
                      New Collateral Agent by its signature below becomes a [First/Second] Lien Collateral Agent,
                      under, and it and the related [First/Second] Lien Claimholders represented by it hereby become
                      subject to and bound by, the Intercreditor Agreement with the same force and effect as if the New
                      Collateral Agent had originally been named therein as a [First/Second] Lien Collateral Agent, and
                      the New Collateral Agent, on behalf of itself and each other [First/Second] Lien Claimholder
                      represented by it, hereby agrees to all the te1ms and provisions of the Intercreditor Agreement.
                      Each reference to a "Collateral Agent" or " [First/Second] Lien Collateral Agent" in the
                      Intercreditor Agreement shall be deemed to include the New Collateral Agent and each reference
                      to "[First/Second] Lien Claimholders" shall include the [First/Second] Lien Claimholders
                      represented by such New Collateral Agent. The Intercreditor Agreement is hereby incorporated
                      herein by reference.

                                2.       Representations and Warranties. The New Collateral Agent re presents and
                      ,varrants to the other Collateral Agents and Claimholders that (i) it has full power and authority to
                      ente r into this Joinder Agreement, in its capacity as [agent][trustee], (ii) this Joinde r Agree me nt
                      has been duly authorized, executed and delive red by it and constitutes its legal, valid and binding
                      obligation, enforceable against it in accordance with its tem1s and the terms of the Intercreditor
                      Agreement and (iii) the [First/Second] Lien Obligations Agreements relating to such Additional
                      [First/Second] Lien Obligations provide that, upon the New Collateral Agent's entry into this
                      Agreement, the [First/Second] Lien Claimholders in respect of such Additional [First/Second]
                      Lie n Obligations will be subject to and bound by the provisions of the Intercreditor Agreement as
                      [First/Second] Lien Claimholders.

                              3.       Counterparts. l11is Joinder Agreement may be executed in two or more
                      counterparts, each of which shall be deemed to be an original, and all of which, w hen take n
                      together, shall constitute one contract. Delivery of an executed signature page to this Joinder
                      Agreement by facsimile transmission or other electronic transmission (including " .pdf', " .tiff' or


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                      similar fonnat) shall be effective as delivery of a manually executed counterpart of this Joinder
                      Agreement.

                           4.    Gove rning Law. THIS JOINDERAGREEMENT AND ANY CLAIM,
                      CONTROVERSY OR DISPUTE ARISING UNDER OR RELATED TO THIS JOTNDER
                      AGREEMENT, WHETHER IN TORT, CONTRACT (AT LAW OR IN EQUITY) OR
                      OTHERWISE, SHALL BE GOVERNED BY, AND CONSTRUED AND INTERPRETED IN
                      ACCORDANCE WITH, THE LAWS OF THE STATE OF N EW YORK.

                             6.        Miscellaneous. The provisions of Section 8 of the Intercreditor Agreement shall
                      apply with like effect to this Joinder Agreeme nt.

                                                       [Signature pages follow]




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                              IN WITNESS WHEREOF, the undersigned has caused this Joinder Agreement to be duly
             executed by its authorized representative, and each Collateral Agent has caused the same to be accepted
             by its authorized representative, as of the date first written above.

                                                                [NAME OF NEW COLLATERAL AGENT],
                                                                as a [First/Second] Lien Collateral Agent


                                                                By:
                                                                        Name:
                                                                        Title:

                                                                Address for notices:




                                                                        Attention of: _ _ _ _ _ _ _ _ _ _ __

                                                                        Telecopy: _ _ _ _ _ _ _ _ _ _ _ __




             Acknowledged by:

             UBS AG, STAMFORD BRANCH,
             as First Lien Credit Agreement Collateral Agent,


             By:
                    Name:
                    Title:

             By:
                    Nan1e:
                    Title :


             GOLDMAN SACHS BANK USA,
             as Second Lien Credit Agreement Collateral Agent,


             By:
                    Nan1e:
                    Title:




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             Acknowledged by:


             Holdings:


             DAWN INTERMEDIATE, INC.,


             By:
                    Name:
                    Title:


             Borrowers


             SERTA SIMMONS BEDDING, LLC,


             By:
                    Name:
                    Title:


             NATIONAL BEDDING COMPANY L.L.C.,


             By:
                    Name:
                    Title:


             SSB MANUFACTURING COMPANY,


             By:
                    Name:
                    Title:


             Othe r Obligors




             By:
                    Name:
                    Title:




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                                                                                                                                   EXHIBITH

                                                                       [FORM OF]
                                                        INTEREST ELECTION REQUEST

             Goldm an Sachs Bank USA,
             200 West Street
             New York, New York 10282
             Attn: Operations Team
             Email: gs-sbd-admin-contacts@ny.email.gs.com
             Phone: (212) 906-1099
             Facsimile: (917) 977-3966

             Email:


             Ladies and Gentlemen :

                     Reference is hereby made to that certain Second Lien Term Loan Agreement, dated as of November 8,
             2016 (as amended, restated, amended and restated, supplemented or otherwise modified, the " Second Lien
             Term Loan Agreement"), by and among, ;nter aUos, Dawn Intermediate, Inc., a Delaware corporation ("Dawn
             Intermediate" or "Holdings"), Serta Simmons Bedding, LLC, a De laware limited liability company ("SSB" or
             the "Top Borrower"), National Bedding Company L.L.C., an Illinois limited liability company ("National
             Bedding"), and SSB Manufacturing Company, a Delaware corporation ("SSB Manufacturing"), as borrowers,
             the Lenders from time to time party thereto, Goldman Sachs Bank USA, in its capacities as administrative
             agent and collateral agent for the Lenders. Terms defined in the Second Lien Term Loan Agreement are used
             herein with the same mean ings unless otherwise defined herein.

                   The undersigned here by gives you notice pursuant to Section 2.08 of the Second Lien Term Loan
             Agreement of an interest rate election, and in that connection sets forth below the tem1s thereof:

                               (A)        [on [insert applicable date] (which is a Business Day), the undersigned will
                       convert $[ • )27 of the aggregate outstanding principal amount of the Loans, bearing interest at



             26
                      The Administrative Agent must be notified of the applicable election in writing in the form of an Interest Election
                      Request, appropriately completed and signed by a Responsible Officer of the relevant Bo1TOwer (or the Top Borrower
                      on behalf of U1e relevant Borrower) to U1e Administrative Agent or by telephone (wiU1 such telephonic notification to
                      be promptly confinned in wtiting by an Interest Election Request), which must be received by the Administrative
                      Agent (by hand delivery, fax or 0U1er electronic transmission ( including " .pdf' or " .tif')) not later than (i) 1:00 p.m.
                      three Business Days prior to the requested day of any conversion or continuation ofLIBO Rate Loans (or one Business
                      Day in the case of any conversion or continuation of LIBO Rate Loans on U1e Closing Date) and (ii) 9:00 a.m. on U1e
                      requested date of any conversion of ru1y Borrowing to ABR Loans (or, in each case, such later time as is reasonably
                      acceptable to the Administrative Agent); provided, however, that if the relevant Bonower (or U1e Top Bonower on
                      behalf of U1e relevant Bonower) wishes to request a conversion or continuation of LIBO Rate Loans with an Interest
                      Period of other t11an one, two, tlu·ee or six months in duration as provided in the definition of "Interest Pe1iod," (A) the
                      applicable notice from U1e relevant Borrower (or from t11e Top Borrower on behalf of the relevant 801rnwer) must be
                      received by the Administrative Agent not later than I :00 p.m. four Business Days prior to t11e requested date of such
                      conversion or continual.ion ( or such later time as is reasonably acceptable to t11e Administrative Agent), whereupon U1e
                      Administrative Agent shall give prompt notice to the appropriate Lenders of such request and detennine whet11er t11e
                      requested Interest Period is available to them and (B) not later Urnn 12:00 p.m. Uuee Business Days before U1e
                      requested date of such conversion or continuation, t11e Adm.i1tistrative Agent shall notify the relevant Borrower ( or the
                      Top Bo1TOwer on behalf of the relevant Bo1rnwer) whether or not t11e requested Interest Period is available to the
                      appropriate Lenders.

             27
                       Subject to Section 2.02(c) of the Second Lien Tenn Loan Agreement.


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                       the [ABR][LIBO] Rate, into a [LIBO Rate][ABR] Loan [and, in the case of a LIBO Rate
                       Loan, having an Interest Period of[•] month(s)] 28 [; and][.]]

                              (B)     [on [insert applicable date] (which is a Business Day), the undersigned will
                      continue $[•] of the aggregate outstanding principal amount of the Loans bearing interest at
                      the LIBO Rate, as LIBO Rate Loans having an Interest Period of[•] month(s) 29. ]

                                                               [Signature Page Follows]




             28
                      Must be a pe1iod contemplated by the definition of "Interest Pe1iod."

             29
                      Must be a period contemplated by the definition of " Interest Period."

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                                                    [SERTA SIMMONS BEDDING, LLC]
                                                    [NATIONAL BEDDING COMPANY L.L.C.]
                                                    [SSB MANUFACTURING COMPANY)

                                                    By : - - - - - - - - - -
                                                         Name:
                                                         Title :




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                                                                                           EXHIBIT I

                                                            [FORM OF]
                                           SECOND LIEN TERM LOAN GUARANTY AGREEMENT


                                                          [See attached.]




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                                                                                              EXECUTION VERSION


                                             SECOND LIEN TERM LOAN GUARANTY AGREEMENT

                      THIS SECOND LIEN TERM LOAN GUARANTY AGREEMENT (as it may be amended,
             restated, amended and restated, supplemented or otherwise modified from time to time, this "Loan
             Guaranty") is ente red into as of November 8, 2016, by and among Dawn Intermediate, lnc., a Delaware
             corporation (''Holdings"), the Borrowers referred to below and the Subsidiary Guarantors (as defined in
             the Credit Agreement) from time to time party hereto (Holdings, the Borrowers and the Subsidiary
             Guarantors, collectively, the «Loan Guarantors") and Goldman Sachs Bank USA, in its capacity as
             administrative agent and collateral agent for the lenders party to the Credit Agreement referred to below
             (in such capacities, the "Administrative Agent") .

                                                      PRELIMINARY STATEMENT

                     Reference is hereby made to that certain Second Lien Term Loan Agreement, dated as of
             November 8, 2016 (as amended, restated, amended and restated, supplemented or othenvise modified
             from time to time, the "Credit Agreement"), by and among, inter alias, Holdings, Serta Simmons
             Bedding, LLC, a Delaware limited liability company ("SSB" or the "Top Borrower"), National Bedding
             Company L.L.C., an Illinois limited liability company (''National Bedding"), and SSB Manufacturing
             Company, a Delaware corporation ("SSB Manufacturing" and, together with SSB and National Bedding,
             the "Borrowers"), the Lenders from time to time party thereto and the Administrative Agent.

                     The Loan Guarantors are entering into this Loan Guaranty in order to induce the Lenders to enter
             into and extend credit to the Borrowers under the Credit Agreement and to guarantee the Secured
             Obligations.

                     Each Loan Guarantor will obtain benefits from the incmTence of Loans by the Borrowers for the
             accounts of the Borrowers and their respective subsidiaries and the incurrence by the Loan Parties of
             Secured Hedging Obligations and Banking Services Obligations.

                       ACCORDINGLY, the parties he reto agree as follows:

                                                            ARTICLE I
                                                            Definitions

                     SECTION 1.01        Definitions of Certain Terms Used Herein. As used in this Loan Guaranty, in
             addition to the terms defined in the preamble and Preliminary Statement above, the following terms shall
             have the following meanings:

                       "Accommodation Payments" has the meaning assigned to such te rm in Section 2.09.

                       "Administrative Agent" has the meaning assigned to such term in the preamble.

                     "Article" means a numbered article of this Loan Guaranty, unless another document 1s
             specifically referenced.

                   "Borrower Primarv Obligations" means the Obligations of each Borrower under the Credit
             Agreement.

                       «Borrowers" has the meaning assigned to such tem1 in the preliminary statement.

                       "Credit Agreement" has the meaning assigned to such term in the preliminary statement.



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                     "Exhibit" refers to a specific exhibit to this Loan Guaranty, unless another document 1s
             specifically referenced.

                     "Guaranteed Obligations" means (a) with respect to any Borrowe r, the Other Guaranteed
             Obligations of each Borrower other than such Bo1TOwer and (b) with respect to any Loan Guarantor other
             than any Borrower, the Bo1TOwer Primary Obligations and the Other Guaranteed Obligations of each
             other Loan Guarantor, including in the case of both (a) and (b) amounts that would become due but for
             the automatic stay under Section 362(a) of the Bankruptcy Code, 11 U.S.C. §362(a) (excluding, for the
             avoidance of doubt, any Excluded Swap Obligation) together with any expenses which may be incurred
             by the Administrative Agent in collecting any of the Guaranteed Obligations that are reimbursable in
             accordance with Section 9 .03 of the Credit Agreement and excluding, in any event, any Excluded Swap
             Obligation.

                       "Guarantor Percentage" has the meaning assigned to such term in Section 2.01.

                       "Holdings" has the meaning assigned to such tem1 in the prean1ble.

                       "Loan Guarantors" has the meaning assigned to such term in the preamble.

                       "Loan Guaranty" has the meaning assigned to such term in the preamble.

                       "Maximum Liability" has the meaning assigned to such te rm in Section 2.09.

                       ''National Bedding" has the meaning assigned to such term in the preliminary statement.

                       ''Non-ECP Guarantor" means each Loan Guarantor other than a Qualified ECP Guarantor.

                       ''Non-Paving Guarantor" has the meaning assigned to such term in Section 2.09.

                       "Obligated Partv" has the meaning assigned to such te1m in Section 2.02.

                     "Other Guaranteed Obligations" means, with respect to the Loan Guaranty provided by any Loan
             Patty, any Banking Services Obligations and/or any Secured Hedging Obligation of any other Loan Party.

                       "Paving Guarantor" has the meaning assigned to such te1m in Section 2.09.

                      "Qualified ECP Guarantor'' means in respect of any Swap Obligation, each Loan Party that, at the
             time the relevant guarantee (or grant of the relevant security interest, as applicable) becomes or would
             become effective with respect to such Swap Obligation, has total assets exceeding $10,000,000 or such
             other person as constitutes an "eligible contract participant" under the Commodity Exchange Act or any
             regulations promulgated thereunder and which may cause another person to qualify as an "eligible
             contract participant" with respect to such Swap Obligation at such time by entering into a keepwell
             pursuant to section la(l8)(A)(v)(II) of the Commodity Exchange Act (or any successor provision
             thereto).

                     "Section" means a numbered section of this Loan Guaranty, unless another document 1s
             specifically referenced.

                       "SSB" has the meaning assigned to such term in the preliminary statement.

                       "SSB Manufacturing" has the meaning assigned to such tenn in the preliminary statement.


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                       "Top BorTower" has the meaning assigned to such term in the preliminary statement.

                       "UFCA" has the meaning assigned to such term in Section 2.09{a).

                       "UFTA" has the meaning assigned to such tenn in Section 2.09(a).

                     The foregoing definitions shall be equally applicable to both the singular and plural forms of the
             defined terms. Capitalized terms used in this Loan Guaranty and not otherwise defined herein shall have
             the meanings set forth in the Credit Agreement.

                                                             ARTICLE2
                                                          LOAN GUARANTY

                      SECTION 2.01         Guaranty. Except as otherwise provided for herein (including under
             Section 3. 15), each Loan Guarantor hereby agrees that it is jointly and severally liable for, and, as primruy
             obligor and not merely as surety, and absolutely and unconditionally and irrevocably guarantees to the
             Administrative Agent (acting as agent for the Secured Parties, pursuant to Article 8 of the Credit
             Agreement) for the ratable benefit of the Secured Parties, the full and prompt payment, whe n and as the
             same become due, whether at stated maturity, upon acceleration or otherwise, and at all times thereafte r,
             of the Guaranteed Obligations. Each Loan Guarantor further agrees that the Guaranteed Obligations may
             be increased, extended or renewed in whole or in part without notice to or further asse nt from it, and that
             it remains bound upon its guarantee notwithstanding ru1y such extension or renewal. In addition, if any or
             all of the Guaranteed Obligations become due and payable he reunder, each Loan Guarantor,
             unconditionally and irrevocably, promises to pay such Guaranteed Obligations to the Administrative
             Agent for the benefit of the Secured Parties, on demand. Each Loan Guarantor unconditionally and
             irrevocably guarantees the payment of any and all of the Guaranteed Obligations whether or not due or
             payable by the BorTowers upon the occurTence of any of the Events of Default specified in Sections
             1Qlill or 7.0l(g) of the Credit Agreement and thereafter irrevocably and unconditionally promises to pay
             such Guaranteed Obligations to the Administrative Agent for the benefit of the Secured Parties. This
             Loan Guaranty is a continuing one and shall remain in full force and effect until the Te rmination Date,
             and all liabilities to which it applies or may apply unde r the terms hereof shall be conclusively presumed
             to have been created in reliru1ce hereon.

                      SECTION 2.02        Guaranty of Payment. This Loan Guaranty is a guaranty of payment and not
             of collection. Each Loan Guarantor waives any right to require the Administrative Agent or any Lender
             to sue the Borrowers, any Loan Guarantor, any other guarantor, or any other Person obligated for all or
             any part of the Guaranteed Obligations (the Borrowers, each Loan Guarantor, each othe r guarantor or
             such other Person, an "Obligated Partv"), or otherwise to e nforce its rights in respect of any Collateral
             securing all or any part of the Guaranteed Obligations. The Administrative Agent may enforce this Loan
             Guaranty at any time when an Event of Default has occurred and is continuing .

                       SECTION 2.03          No Discharge or Diminishment of Loan Guaranty.

                                (a)      Except as otherwise provided for herein (including under Section 3. 15), the
                       obligations of each Loan Guarantor hereunder are unconditional, irrevocable and absolute and not
                       subject to any reduction, limitation, impaim1ent or termination for any reason, including : (i) any
                       claim of waiver, release, extension, renewal, settlement, surrender, alteration, or compromise of
                       any of the Guaranteed Obligations, by operation of law or otherwise; (ii) any change in the
                       corporate existence, structure or ownership of any Obligated Party; (iii) any insolvency,
                       bankruptcy, reorganization or other similar proceeding affecting any other Obligated Party, or
                       their assets or any resulting release or discharge of any obligation of any Obligated Party; (iv) the


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                       existence of any claim, setoff or other right which any Loan Guarantor may have at any time
                       against any Obligated Party, the Administrative Agent, any Lender or any othe r Person, v,1hether
                       in connection herewith or in any unrelated transaction; (v) any direction as to application of
                       payments by the Bo1TOwers or by any othe r party; (vi) any other continuing or other guaranty,
                       undertaking or ma'<imum liability of a guarantor or of any other party as to the Guaranteed
                       Obligations; (vii) any payment on or in reduction of any such other guaranty or undertaking; (viii)
                       any dissolution, te rmination or increase, decrease or change in personnel by the Borrowers or (ix)
                       any payment made to any Secured Party on the Guaranteed Obligations which any such Secured
                       Party repays to the Borrowers pursuant to court order in any bankruptcy, reorganization,
                       arrangement, morato1ium or other debtor relief proceeding, and each Loan Guarantor waives any
                       right to the deferral o r modification of its obligations hereunder by reason of any such
                       proceeding.

                                (b)      Except for te m1ination of a Loan Guarantor's obligations hereunder or as
                       expressly permitted by Section 3 .15, the obligations of each Loan Guarantor hereunder are not
                       subject to any defense or setoff, counterclaim, recoupment, or te rmination whatsoever by reason
                       of the invalidity, illegality, or unenforceability of any of the Guaranteed Obligations or othe rwise,
                       or any Requirements of Law purporting to prohibit payment by any Obligated Party, of the
                       Guaranteed Obligations or any part thereof.

                                 (c)     Further, the obligations of any Loan Guarantor hereunder are not discharged or
                       impaired or othe nvise affected by: (i) the failure of the Administrative Agent to assert any claim
                       or de mand or to enforce any remedy w ith respect to all or any part of the Guaranteed Obligations;
                       (ii) any waiver or modification of or supplement to any provision of any agreement relating to the
                       Guaranteed Obligations; (iii) any release, non-perfection, or invalidity of any indirect o r direct
                       secuiity for the obligations of the Borrowers for all or any part of the Guaranteed Obligations or
                       any obligations of any other guarantor of or other Person liable for any of the Guaranteed
                       Obligations; (iv) any action or failure to act by the Administrative Agent with respect to any
                       Collateral securing any part of the Guaranteed Obligations; or (v) any default, failure or delay,
                       w illful or otherwise, in the payment or perfonnance of any of the Guaranteed Obligations, or any
                       other circumstance, act, omission or delay that might in any manne r or to any e>,.'tent vary the 1isk
                       of such Loan Guarantor or that would otherwise operate as a discharge of any Loan Guarantor as
                       a matter of law or equity, in each case othe r than as set forth in Section 3 .15.

                       SECTION 2.04          Defenses Waived. To the fullest extent permitted by applicable Requirements
             of Law, and except for termination of a Loan Guarantor's obligations hereunder or as otherwise provided
             for herein (including unde r Section 3 .15). each Loan Guarantor hereby waives any defense based on or
             arising out of any defense of the Borrowers or any other Loan Guarantor or arising out of the disability of
             the Borrowers or any other Loan Guarantor or any other party or the unenforceability of all o r any part of
             the Guaranteed Obligations or any patt thereof from any cause, or the cessation from any cause of the
             liability of the Borrowers or any other Loan Guarantor. Without limiting the generality of the foregoing,
             each Loan Guarantor irrevocably waives acceptance hereof, presentment, demand, protest and, to the
             fullest e>,.' tent permitted by applicable Requirements of Law, any notice not provided for he rein or in any
             other Loan Document, including any notice of nonperfom1ance, notice of protest, notice of dishonor,
             notice of acceptance of this Loan Guaranty, and any notice of the existence, creation or incurring of new
             or additional Guaranteed Obligations, as well as any requireme nt that at any time any action be taken by
             any Person against any Obligated Party, or any other Person, including any right (except as may be
             required by applicable Requirements of Law and to the e>,.' tent the relevant require ment cannot be waived)
             to require the Administrative Agent to (i) proceed against the Borrowers, any othe r guarantor or any other
             party, (ii) proceed against o r exhaust any security held from the Borrowe rs, any other Loan Guarantor or
             any othe r party or (iii) pursue any other remedy in the Administrative Agent's power whatsoever. The


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             Administrative Agent may, at its election and in accordance with the te rms of the applicable Loan
             Docume nts, foreclose on any Collateral he ld by it by one or more judicial or nonjudicial sales, whether or
             not every aspect of any such sale is commercially reasonable (to the extent permitted by applicable
             Requirements of Law), accept an assignment of any such Collateral in lieu of foreclosure or othe1wise act
             or fail to act with respect to any Collateral securing all or a part of the Guaranteed Obligations, and the
             Administrative Agent may, at its election, compromise or adjust any part of the Guaranteed Obligations,
             make any other accommodation with any Obligated Party or exercise any other right or remedy available
             to it against any Obligated Party, or any security, without affecting or impairing in any way the liability of
             such Loan Guarantor under this Loan Guaranty, except as otherwise provided in Section 3.15. To the
             fullest extent pe1mitted by applicable Require ments of Law, each Loan Guarantor waives any defense
             arising out of any such election even though such e lection may operate, pursuant to applicable
             Requirements of Law, to impair or extinguish any right of reimbursement or subrogation or other right or
             remedy of any Loan Guarantor against any Obligated Party or any security.

                     SECTION 2.05        Authorization. Each Loan Guarantor authorizes the Administrative Agent
             without notice or demand (except as may be required by applicable Requirements of Law and to the
             extent the relevant requirement cannot be waived), and without affecting or impai1ing its liability
             hereunder (except as set forth in Section 3.15), from time to time, subject to each applicable Intercreditor
             Agreement and the te1ms of the referenced Loan Documents, to:

                               (a)     change the manner, place or terms of payment of, and/or change or exte nd the
                       time of payment of, renew, increase, accelerate or alter, any of the Guaranteed Obligations
                       (including any increase or decrease in the principal amount thereof or the rate of inte rest or fees
                       thereon), any security therefor, or any liability incurred directly or indirectly in respect the reof,
                       and this Loan Guaranty shall apply to the Guaranteed Obligations as so changed, extended,
                       renewed or altered;

                               (b)      take and hold secmity for the payment of the Guaranteed Obligations and sell,
                       exchange, release, impair, smTender, realize upon or otherwise deal with in any manner and in
                       any order any property by whomsoever at any time pledged or mortgaged to secure, or howsoever
                       securing, the Guaranteed Obligations or any liabilities (including any of those hereunder)
                       incurred directly or indirectly in respect thereof or hereof, and/or any offset there against;

                              (c)      exercise or refrain from exercising any rights against the Borrowers, any other
                       Loan Party or others or othe1wise act or refrain from acting;

                               (d)     release or substitute any endorser, any guarantor, the Borrowers, any other Loan
                       Party and/or any other obligor;

                               (e)       settle or compromise any of the Guaranteed Obligations, any security therefor or
                       any liability (including any of those hereunder) incurred directly or indirectly in respect thereof or
                       hereof, and/or subordinate the payment of all or any part thereof to the payment of any liability
                       (whether due or not) of the Bo1TOwers to its creditors other than the Secured Parties;

                                 (f)     apply any sum by whomsoever paid or howsoever realized to any liability or
                       liabilities of the Borrowers to the Secured Parties regardless of what liability or liabilities of the
                       Borrowers remain unpaid;

                              (g)    consent to or v,1aive any breach of, or any act, omission or default under, this
                       Loan Guaranty, the Credit Agreement, any other Loan Document, any agreement relating to
                       Banking Services Obligations, any Hedge Agreement with respect to any Secured Hedging


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                       Obligation or any of the instruments or agreements referred to he rein or therein, or otherwise
                       amend, modify or supplement this Loan Guaranty, the Credit Agreement, any other Loan
                       Document, any agreement relating to Banking Services Obligations, any Hedge Agreement with
                       respect to any Secured Hedging Obligation or any of such other instruments or agreements;
                       and/or

                               (h)       take any other action which would, under otherwise applicable principles of
                       common law, give rise to a legal or equitable discharge of the Loan Guarantors from their
                       respective liabilities under this Loan Guaranty.

                     SECTION 2.06         Rights of Subrogation. No Loan Guarantor will assert any right, claim or
             cause of action, including any claim of subrogation, contribution or indemnification that it has against any
             Loan Party in respect of this Loan Guaranty until the occurrence of the Te rmination Date; provided that if
             any amount is paid to such Loan Guarantor on account of such subrogation rights at any time prior to the
             Te rmination Date, then unless such Loan Guarantor has already discharged its liabilities unde r this Loan
             Guaranty in an a.mount equal to such Loan Guarantor's Maximum Liability as of such date, such a.mount
             shall be held by the recipient Loan Guarantor in trust for the benefit of the Secured Parties and shall
             forthwith be paid by the recipient Loan Guarantor to the Administrative Agent (for the benefit of the
             Secured Parties) to be credited and applied to the Guaranteed Obligations, whether matured or unma.tured,
             in accordance w ith Section 2 .18(b) of the Credit Agreement.

                     SECTION 2.07       Reinstatement: Stav of Acceleration. If at any time any payment of any
             portion of the Guaranteed Obligations is rescinded or must otherwise be restored or returned upon the
             insolvency, bankruptcy, or reorganization of a Borrower or othe1w ise, each Loan Guarantor's obligations
             under this Loan Guaranty with respect to such payment shall be reinstated at such time as though the
             payment had not been made. If acceleration of the time for payment of any of the Guaranteed Obligations
             is stayed upon the insolvency, bankruptcy or reorganization of a Borrower, all such amounts otherwise
             subject to acceleration under the tenns of any agreement relating to the Guaranteed Obligations shall
             nonetheless be payable by the other Loan Guarantors fo11hwith on demand by the Administrative Agent.

                      SECTION 2.08       lnfonna.tion. Ea.ch Loan Guarantor assumes all responsibility for being and
             keeping itself informed of each Borrower's financial condition and assets, and of a.II other circumstances
             bea1ing upon the risk of nonpayment of the Guaranteed Obligations and the nature, scope and extent of
             the risks that each Loan Guarantor assumes and incurs under this Loan Guaranty, and agrees that none of
             the Administrative Age nt, any Lender or any other Secured Pa11y shall have any duty to advise any Loan
             Guarantor of information known to it regarding those circumstances or risks.

                       SECTION 2.09          Contribution; Subordination; Maximum Liability .

                     (a)      In the event that any Loan Guarantor (a "Paving Guarantor") makes any payment or
             payments under this Loan Guaranty or suffers any loss as a result of any realization upon any Collateral
             granted by it to secure its obligations under this Loan Guaranty (each such payment or loss, an
             "Accommodation Payment"), each other Loan Guarantor (each a "Non-Paving Guarantor") shall
             contribute to such Paying Guarantor an amount equal to such Non-Paying Guarantor' s "Guarantor
             Percentage" of such Accommodation Payment by such Paying Guarantor. For purposes of this Article 2,
             each Non-Paying Guarantor' s "Guarantor Percentage" with respect to any Accommodation Payment by a
             Paying Guarantor shall be detem1ined as of the date on which such Accommodation Payment was made
             by reference to the ratio of (a) such Non-Paying Guarantor's Maximum Liability (as defined below) as of
             such date to (b) the aggregate Maximum Liability of all Loan Guarantors hereunde r (including such
             Paying Guarantor) as of such date. As of any date of determination, the "Maximum Lia.bilitv" of each
             Loan Guarantor shall be equal to the maximum amount of liability which could be asserted against such


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             Loan Guarantor hereunder and under the Credit Agreement without (i) rendering such Loan Guarantor
             "insolvent" within the meaning of Section 101(32) of the Bankruptcy Code, Section 2 of the Uniform
             Fraudulent Transfer Act ("UFTA") or Section 2 of the Uniform Fraud Conveyance Act (" UFCA"), (ii)
             leaving such Loan Guarantor w ith unreasonably small capital or assets, within the meaning of Section 548
             of the Bankruptcy Code, Section 4 of the UFTA or Section 5 of the UFCA, or (iii) leaving such Loan
             Guarantor unable to pay its debts as they become due within the meaning of Section 548 of the
             Bankruptcy Code, Section 4 of the UFTA or Section 5 of the UFCA . Nothing in this provision shall
             affect any Loan Guarantor's several liability for the entire amount of the Guaranteed Obligations (up to
             such Loan Guarantor's Maximum Liability). Each of the Loan Guarantors covenants and agrees that its
             right to rece ive any contribution under this Loan Guaranty from a Non-Paying Guarantor shall be
             subordinate and junior in right of payment to the Secured Obligations until the Termination Date. If,
             prior to the Termination Date, any such contribution payment is received by a Paying Guarantor at any
             time when an Event of Default has occurred and is continuing, such contribution payment shall be
             colle cted, enforced and rece ived by such Loan Guarantor as trustee for the Secured Parties and be paid
             over to the Administrative Agent on account of the Secured Obligations, but without affecting or
             impairing in any manner the liability of such Loan Guarantor under the othe r provisions of this Loan
             Guaranty. This provision is for the benefit of the Administrative Agent, the Lenders and the other
             Secured Parties.

                       (b)      It is the desire and intent of the Loan Guarantors and the Secured Parties that this Loan
             Guaranty shall be enforced against the Loan Guarantors to the fullest extent permissible under the
             Requirements of Law and public policies applied in each ju,isdiction in which enforcement is sought.
             The provisions of this Loan Guaranty are severable, and in any action or proceeding involving any state
             corporate law, or any state, Federal or foreign bankruptcy, insolvency, reorganization or othe r
             Requirements of Law affecting the rights of creditors gene rally, if the obligations of any Loan Guarantor
             unde r this Loan Guaranty would otherwise be held o r determined to be avoidable, invalid or
             unenforceable on account of the amount of such Loan Guarantor's liability under this Loan Guaranty,
             then, notwithstanding any other provision of this Loan Guaranty to the contra1y , the amount of such
             liability shall, w ithout any furthe r action by the Loan Guarantors or the Secured Parties, be automatically
             limited and reduced to such Loan Guarantor's Maximum Liability. Each Loan Guarantor agrees that the
             Guaranteed Obligations may at any time and from time to time exceed the Maximum Liability of such
             Loan Guarantor without impairing this Loan Guaranty or affe cting the rights and remedies of the
             Administrative Agent hereunder: provided that nothing in this sentence sha ll be construed to increase any
             Loan Guarantor's obligations hereunder beyond its Maximum Liability.

                      SECTION 2.10        Representations and Warranties . As, when (including on the date hereof) and
             to the extent required in accordance with the terms of the Credit Agreement, each Loan Guarantor hereby
             makes each applicable representation and warranty made in the Loan Documents by the Top Borrower
             with respect to such Loan Guarantor and each Loan Guarantor he reby further acknowledges and agrees
             that such Loan Guarantor has, independently and without reliance upon any Secured Party and based on
             such documents and information as it has deemed appropriate, made its own credit analysis and decision
             to enter into this Loan Guaranty and each other Loan Document to which it is or is to be a pa,ty, and such
             Loan Guarantor has established adequate means of obtaining from each othe r Loan Guarantor on a
             continuing basis information pertaining to the business, condition (financial or otherwise), operations,
             performance, properties and prospects of each other Loan Guarantor.

                      SECTION 2.11       Covenants. Each Loan Guarantor covenants and agrees that, until the
             Termination Date, such Loan Guarantor will pe rform and observe, and cause each of its subsidiaries that
             constitutes a Restricted Subsidiary to perform and obse rve, a ll of the terms, covenants and agreements set
             forth in the Loan Documents that the Top Borrower has agreed to cause such Loan Guarantor or such
             subsidiary to pe1form or obse rve. Until the Te1mination Date , no Guarantor shall, without the pnor


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             w1itten consent of the Administrative Agent, commence or join with any other Person in commencing any
             bankruptcy, reorganization or insolvency case or proceeding against a Borrov,1er or any Guarantor (it
             being understood and agreed, for the avoidance of doubt, that nothing in this Section 2.11 shall prohibit
             any Guarantor from commencing or joining w ith the Borrowers or Guarantor as a co-debtor in any
             bankruptcy, reorganization or insolvency case or proceeding).

                                                         ARTICLE 3
                                                     GENERAL PROVISIONS

                     SECTION 3.01          Liabilitv Cumulative. The liability of each Loan Guarantor under this Loan
             Guaranty is in addition to and shall be cumulative w ith all liabilities of such Loan Guarantor to the
             Administrative Agent and the Lenders unde r the Credit Agreement and the other Loan Documents to
             which such Loan Guarantor is a party or in respect of any obligations or liabilities of the other Loan
             Guarantors, without any limitation as to an1ount, unless the instrument or agreement evidencing or
             creating such other liability specifically prov ides to the contra1y.

                      SECTION 3.02        No Waiver: Amendments. No delay or omission of the Administrative Agent
             in exercising any right or remedy granted under this Loan Guaranty shall impair such right o r remedy or
             be construed to be a waiver of any Default or Event of Default or an acquiesce nce there in, and any single
             or partial exercise of any such right or remedy shall not preclude any other or further exercise thereof or
             the exercise of any other right or remedy. No waiver, aniendment or other variation of the terms,
             conditions or prov isions of this Loan Guaranty whatsoever shall be valid unless in w riting signed by the
             Loan Guarantors and the Administrative Agent in accordance with Section 9.02 of the Credit Agreement
             and then only to the extent specifically set forth in such writing.

                      SECTION 3.03         Severabilitv of Provisions.       To the exte nt pe rmitted by applicable
             Requirements of Law, any provision of this Loan Guaranty that is held to be invalid, illegal or
             unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the e:i-.'tent of such
             invalidity, illegality or unenforceability without affecting the validity, legality and enforceability of the
              remaining provisions of this Loan Guaranty; and the invalidity of a particular provision in a pa1ticular
             jurisdiction shall not invalidate such provision in any other jurisdiction .

                     SECTION 3.04        Additional Subsidiaries. Restricted Subsidiaries of the Top Borrower may be
             required to enter into this Loan Guaranty as Subsidia1y Guarantors pursuant to and in accordance v,1ith
             Section 5.12 of the Credit Agreement. Upon execution and delivery by any such Restricted Subsidiary of
             a Joinde r Agreement, such Restricted Subsidiary shall become a Subsidiary Guarantor hereunde r with the
             same force and effect as if originally named as a Subsidiary Guarantor herein. The execution and
             delivery of any such instrument shall not require the consent of any other Loan Guarantor hereunder or
             any other Person. The 1ights and obligations of each Loan Guarantor hereunder shall re main in full force
             and effect notwithstanding the addition of any nev,, Loan Guarantor as a party to this Loan Guaranty.

                      SECTION 3.05     Headings. The titles of and section headings in this Loan Guaranty are for
             convenience of reference only, and shall not govern the interpretation of any of the te1ms and provisions
             of this Loan Guaranty.

                      SECTION 3.06       Entire Agreement. This Loan Guaranty and the other Loan Documents
             constitute the entire agreement among the parties relating to the subject matte r hereof and supersede any
             and all previous agreements and understandings, oral or written, relating to the su~ject matter hereof.

                  SECTION 3.07 CHOICE OF LAW. THIS LOAN GUARANlY AND ANY CLAIM,
             CONTROVERSY OR DISPUTE ARISING UNDER OR RELATED TO THIS LOAN GUARANlY


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             SHALL BE GOVERNED BY, AND CONSTRUED AND INTERPRETED IN ACCORDANCE WITH,
             THE LAWS OF THE STATE OF NEW YORK.

                       SECTION 3.08          CONSENT TO JURISDICTION: CONSENT TO SERVICE OF PROCESS.

                             (a)    EACH   PARTY    HERETO    HEREBY    IRREVOCABLY     AND
                       UNCONDITIONALLY SUBMITS, FOR ITSELF AND ITS PROPERTY, TO THE
                       EXCLUSIVE JURISDICTION OF ANY U.S. FEDERAL OR NEW YORK STATE COURT
                       SITTING IN THE BOROUGH OF MANHATTAN, IN THE CITY OF NEW YORK (OR ANY
                       APPELLATE COURT THEREFROM) OVER ANY SUIT, ACTION OR PROCEEDING
                       ARISING OUT OF OR RELATING TO THIS LOAN GUARANTY AND AGREES THAT
                       ALL CLAIMS IN RESPECT OF ANY SUCH ACTION OR PROCEEDING SHALL (EXCEPT
                       AS PERMITTED BELOW) BE HEARD AND DETERMINED IN SUCH NEW YORK STATE
                       OR, TO THE EXTENT PERMITTED BY APPLICABLE REQUIREMENTS OF LAW,
                       FEDERAL COURT. EACH PARTY HERETO AGREES THAT SERVICE OF ANY
                       PROCESS, SUMMONS, NOTICE OR DOCUMENT BY REGISTERED MAIL ADDRESSED
                       TO SUCH PERSON SHALL BE EFFECTIVE SERVICE OF PROCESS AGAINST SUCH
                       PERSON FOR ANY SUIT, ACTION OR PROCEEDING BROUGHT IN ANY SUCH COURT.
                       EACH PARTY HERETO AGREES THAT A FINAL JUDGMENT IN ANY SUCH ACTION
                       OR PROCEEDING MAY BE ENFORCED IN OTHER JURISDICTIONS BY SUIT ON SUCH
                       JUDGMENT OR IN ANY OTHER MANNER PROVIDED BY APPLICABLE
                       REQUIREMENTS OF LAW.

                             (b)   EACH    PARTY    HERETO     HEREBY    IRREVOCABLY     AND
                       UNCONDITIONALLY WAIVES, TO THE FULLEST EXTENT IT MAY LEGALLY AND
                       EFFECTIVELY DO SO, ANY OBJECTION WHICH IT MAY NOW OR HEREAFTER HAVE
                       TO THE LA YING OF VENUE OF ANY SUIT, ACTION OR PROCEEDING ARISING OUT
                       OF OR RELATING TO THIS LOAN GUARANTY AND BROUGHT IN ANY COURT
                       REFERRED TO IN PARAGRAPH (a) OF THIS SECTION. EACH PARTY HERETO
                       HEREBY IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY
                       APPLICABLE REQUIREMENTS OF LAW, ANY CLAIM OR DEFENSE OF AN
                       INCONVENIENT FORUM TO THE MAINTENANCE OF SUCH ACTION, SUIT OR
                       PROCEEDING IN ANY SUCH COURT.

                             (c)  TO THE EXTENT PERMITTED BY APPLICABLE REQUIREMENTS OF
                       LAW, EACH PARTY HERETO HEREBY IRREVOCABLY WAIVES PERSONAL SERVICE
                       OF ANY AND ALL PROCESS UPON IT AND AGREES THAT ALL SUCH SERVICE OF
                       PROCESS MAY BE MADE BY REGCSTERED MACL (OR ANY SUBSTANTlALLY
                       SIMILAR FORM OF MAIL) DIRECTED TO IT AT ITS ADDRESS FOR NOTICES
                       PROVIDED IN SECTION 9.01 OF THE CREDIT AGREEMENT. EACH PARTY HERETO
                       HEREBY WAIVES ANY OBJECTION TO SUCH SERVICE OF PROCESS AND FURTHER
                       IRREVOCABLY WAIVES AND AGREES NOT TO PLEAD OR CLAIM IN ANY ACTION
                       OR PROCEEDING COMMENCED HEREUNDER THAT SERVICE OF PROCESS WAS
                       INVAUD AND INEFFECTIVE. NOTHING IN THIS LOAN GUARANTY WILL AFFECT
                       THE RIGHT OF ANY PARTY TO THIS LOAN GUARANTY TO SERVE PROCESS IN ANY
                       OTHER MANNER PERMITTED BYLAW.

                  SECTION 3.09  WAIVER OF JURY TRIAL.    EACH PARTY HERETO HEREBY
             IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE
             REQUCREMENTS OF LAW, ANY RIGHT IT MAY HAVE TO A TRCAL BY JURY IN ANY SUCT,
             ACTION, PROCEEDING OR COUNTERCLAIM (WHETHER BASED ON CONTRACT, TORT OR


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             ANY OTHER THEORY) DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO
             THCS LOAN GUARANTY OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY.
             EACH PARTY HERETO (A) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR ATTORNEY
             OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH
             OTHER PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE
             FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES
             HERETO HA VE BEEN INDUCED TO ENTER INTO THCS LOAN GUARANTY BY, AMONG
             OTHER THCNGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

                    SECTION 3.10       Indemnity.    Each Loan Guarantor hereby agrees to indemnify the
             Administrative Agent and the other Indemnitees, as set fo1th in Section 9.03 of the Credit Agreement.

                      SECTION 3. 11      Counterparts. This Loan Guaranty may be executed in counterparts (and by
             different parties hereto on different counterparts), each of which shall constitute an original, but all of
             which when taken togethe r shall constitute a single contract. Delive1y of an executed counte rpart of a
             signature page of this Loan Guaranty by facsimile or by email as a " .pdf' or " .tif' attachment shall be
             effective as delivery ofa manually executed counterpart of this Loan Guaranty.

                   SECTION 3.12 INTERCREDITOR AGREEMENTS GOVERN. NOTWITHSTANDING
             ANYTHCNG HEREIN TO THE CONTRARY, THE GUARANTEE OF THE GUARANTEED
             OBLJGATJONS GRANTED TO THE ADMCNCSTRATIVE AGENT, FOR THE BENEFIT OF THE
             SECURED PARTIES, PURSUANT TO THCS LOAN GUARANTY AND THE EXERCISE OF ANY
             RIGHT OR REMEDY BY THE ADMINISTRATIVE AGENT ARE SUBJECT TO THE PROVISIONS
             OF EACH APPLICABLE INTERCREDITOR AGREEMENT. IN THE EVENT OF ANY CONFLICT
             BETWEEN THE PROVISIONS OF THE RELEVANT TNTERCREDITOR AGREEMENT AND THCS
             LOAN GUARANTY, THE PROVISIONS OF THE RELEVANT INTERCREDITOR AGREEMENT
             SHALL GOVERN AND CONTROL.

                      SECTION 3.13        Successors and Assigns. Whenever in this Loan Guaranty any party hereto is
             refe1Ted to, such reference shall be deemed to include the successors and permitted assigns of such party;
             and all covenants, promises and agreements by or on behalf of any Loan Guarantor or the Administrative
             Agent that are contained in this Loan Guaranty shall bind and inure to the benefit of their respective
             successors and permitted assigns. Except in a transaction permitted (or not restricted) under the Credit
             Agreement, no Loan Guarantor may assign any of its rights or obligations here under without the written
             consent of the Administrative Agent.

                      SECTION 3. 14       Survival of Agreement. Without limitation of any provision of the Credit
             Agreement or Section 3 .10 hereof, all covenants, agreements, indemnities, representations and warranties
             made by the Loan Guarantors in the Loan Documents and in the ce1tificates or other instruments
             de livered in connection with or pursuant to this Loan Guaranty or any other Loan Document shall be
             considered to have been relied upon by the Lenders and shall survive the execution and delivery of the
             Loan Documents and the making of any Loan, regardless of any investigation made by any such Lende r
             or on its behalf and notwithstanding that the Administrative Agent or any Lender may have had notice or
             know ledge of any Default or Event of Default or incorrect representation or warranty at the time any
             credit is extended unde r the Credit Agreement, and shall continue in full force and effect until the
             Tennination Date, or with respect to any individual Loan Guarantor until such Loan Guarantor is
             otherwise re leased from its obligations under this Loan Guaranty in accordance with Section 3 .15.

                     SECTION 3 .15      Release of Loan Guarantors. A Subsidiary Guarantor shall automatically be
             released from its obligations here under and its Loan Guaranty shall be automatically released in the
             circumstances described in Article 8 and Section 9.22 of the Credit Agreement. In connection with any


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             such release, the Administrative Agent shall promptly execute and deliver to any Loan Guarantor, at such
             Loan Guarantor's expense, all documents that such Loan Guarantor shall reasonably request to evidence
             such tennination or release. Any execution and delivery of documents pursuant to the preceding sentence
             of this Section 3.15 shall be without recourse to or warranty by the Administrative Agent (other than as to
             the Administrative Agent's authority to execute and deliver such documents).

                    SECTION 3.16       Payments. All payments made by any Loan Guarantor hereunder will be
             made without setoff, counterclaim or other defense and on the same basis as payments are made by the
             Borrowers under Sections 2.18 and 2. 19 of the Credit Agreement.

                      SECTION 3 .17       Notice. etc. All notices and other communications provided for hereunder
             shall be in writing and shall be de livered by hand or overnight courier service, mailed by certified or
             registered mail or sent by facsimile or email, as follows:

                               (a)     if to any Loan Guarantor, addressed to it in care of the Top Borrower at its
                       address specified in Section 9.01 of the Credit Agreement;

                                 (b)    if to the Administrative Agent or any Lender, at its address specified in Section
                       9.0 I of the Credit Agreement;

                               (c)     if to any Secured Party in respect of any Secured Hedging Obligations, at its
                       address specified in the Hedge Agreement to which it is a party; or

                               (d)     if to any Secured Party in respect of any Banking Services Obligations, at its
                       address specified in the relevant documentation to which it is a party.

                     SECTION 3. 18        Set Off. In addition to any right now or hereafter granted under applicable
             Requirements of Law and not by way of limitation of any such right, while an Event of Default has
             occurred and is continuing, the Administrative Agent, each Lender, each Issuing Bank and each of their
             respective Affiliates shall be entitled to rights of setoff to the extent provided in Section 9.09 of the Credit
             Agreement.

                     SECTION 3. 19        Waiver of Consequential Damages. Etc. To the extent pennitted by
             applicable Requirements of Law, none of the Loan Guarantors nor the Secured Parties shall assert, and
             each hereby waives, any claim against each other o r any Related Party thereof, on any theory of liability,
             for special, indirect, consequential or punitive dan1ages (as opposed to direct or actual damages) a1ising
             out of, in connection with, o r as a result of, this Loan Guara nty or any agreement or instrument
             contemplated hereby, except, in the case of any claim by any Indemnitee against any of the Loan
             Guarantors, to the extent such damages would othe1wise be subject to indemnification pursuant to the
             te1ms of Section 3.10.

                      SECTION 3.20        Keepwell. Each Qualified ECP Guarantor hereby jointly and severally,
             absolutely, unconditionally and irrevocably undertakes to provide such funds or other support as may be
             needed from time to time by each Non-ECP Guarantor to honor all of its obligations under this Loan
             Guaranty in respect of Swap Obligations that would othenvise be Excluded Swap Obligations (provided,
             however, that each Qualified ECP Guarantor shall only be liable under this Section 3 .20 for the maximum
             amount of such liability that can be hereby incurred, and othenvise subject to the lin1itations on the
             obligations of Loan Guarantors contained in this Loan Guaranty, without rendering its obligations under
             this Section 3 .20, or otherwise unde r this Loan Guaranty, voidable unde r applicable Requirements of Law
             relating to fraudulent conveyance or fraudulent transfer, and not for any greater amount). This Section



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             3.20 shall be deemed to constitute, a "keepwell, support, or other agreement" for the benefit of each Non-
             ECP Guarantor for all purposes of Section la(l8)(A)(v)(II) of the Commodity Exchange Act.

                                                [SIGNATURE PAGE FOLLOWS]




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                     IN WITNESS WHEREOF, each Loan Guarantor and the Administrative Agent have executed
             this Loan Guaranty as of the date first above w1itten.



                                                                     Holdings:

                                                                     DAWN INTERMEDIATE, INC.


                                                                     By: - - - - - - - - - -
                                                                         Name:  Kristen McGuffey
                                                                         Title: Executive Vice President, General
                                                                                Counsel and Secreta1y

                                                                     Borrowers:

                                                                     SERTA SIMMONS BEDDING, LLC
                                                                     SSB MANUFACTURING COMPANY


                                                                     By: - - - - - - - - - - -
                                                                         Name:  K1isten McGuffey
                                                                         Title: Executive Vice President, General
                                                                                Counsel and Secretaiy


                                                                     NATIONAL BEDDING COMPANY L.L.C.


                                                                     By:
                                                                           Name:      Kristen McGuffey
                                                                           Title:     General Counsel and Secretary




                                             Signature Page to Second Lien Term Loan Guaranty Agreement

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                                                                     Subsidiary Guarantors:


                                                                     SIMMONS BEDDING COMPANY, LLC
                                                                     SSB LOGISTICS, LLC
                                                                     SSB NYC, LLC
                                                                     THE SIMMONS MANUFACTURfNG CO., LLC


                                                                     By: - - - - - - - - - - - -
                                                                         Name:  Kristen McGuffey
                                                                         Title: Executive Vice President, General
                                                                                Counsel and Secretary


                                                                     WORLD OF SLEEP OUTLETS, LLC
                                                                     SIMMONS CONTRACT SALES, LLC


                                                                     By: - - - - - - - - - - -
                                                                         Name:  Kristen McGuffey
                                                                         Title: Vice President, General Counsel and
                                                                                Secretary


                                                                     DREAMWELL, LTD.


                                                                     By: - - - - - - - - - - -
                                                                         Name:  Kristen McGuffey
                                                                         Title: Vice President and Secretary


                                                                     SERTA INTERNATIONAL HOLDCO, LLC


                                                                     By: - - - - - - - - - - -
                                                                         Name:  Kristen McGuffey
                                                                         Title: Authorized Person




                                             Signature Page to Second Lien Term Loan Guaranty Agreement

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                                                                     GOLDMAN SACHS BANK USA,
                                                                     as Administrative Agent



                                                                     By: - - - - - - - - - - - - -
                                                                          Name:
                                                                          Title:




                                             Signature Page to Second Lien Term Loan Guaranty Agreement

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                                                              EXIDBIT A
                                                       SUBSIDIARY GUARANTORS

          1.             Serta Simmons Bedding, LLC
         2.              SSB Logistics, LLC
         3.              SSB NYC, LLC
         4.              The Simmons Manufacnlfing Co., LLC
         5.              Word of Sleep Outlets, LLC
         6.              Simmons Contract Sales, LLC
         7.              Dreamwell, Ltd.
         8.              Serta International Holdco, LLC




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                                                                                                                         EXHIBIT J

                                                               [FORM OF]
                                                         PERFECTION CERTIFICATE

                                                                  [•] [•], 20[•]

                       Reference is hereby made to (i) that certain First Lien Tenn Loan Agreement, dated as of November
             8, 2016 (as amended, restated, amended and restated, supplemented or otherwise modified, the "First Lien
             Term Loan Agreement"), by and among, inter alios, Dawn Intermediate, Inc., a Delaware corporation
             (" Holdings"), Serta Simmons Bedding, LLC, a Delaware limited liability company (the ''Top Borrower"),
             National Bedding Company L.L.C., an Illinois limited liability company ("National Bedding") and
             SSB Manufacturing Company, a Delaware corporation ("SSB Manufacturing", together with National
             Bedding and Top Borrower, the "Borrowers"), the lenders from time to time party thereto, UBS AG, Stamford
             Branch, in its capacities as administrative agent and co llateral agent for the lenders party thereto (the "First
             Lien Administrative Agent"), (ii) that certain First Lien Pledge and Security Agreement, dated as of November
             8, 2016 (as amended, restated, amended and restated, supplemented or otherv,ise modified, the " First Lien
             Security Agreement"), by and among the Loan Parties from time to time party thereto and the First Lien
             Administrative Agent, (iii) that certain Second Lien Tenn Loan Agreement, dated as of November 8, 2016 (as
             amended, restated, amended and restated, supplemented or othern,ise modified, the "Second Lien Tenn Loan
             Agreement" and, together with the First Lien Tenn Loan Agreement, each, a "Credit Agreement" and,
             collectively, the " Credit Agreements"), by and among, inter alios, Ho ldings, the Borrowers, the lenders from
             time to time party thereto, Goldman Sachs Bank USA, in its capacities as administrative agent and collateral
             agent for the lenders party thereto (the "Second Lien Administrative Agent" and, together with the First Lien
             Administrative Agent, each, an "Administrative Agent" and collectively, the "Administrative Agents") and
             (iv) that certain Second Lien Pledge and Security Agreement, dated as of November 8, 2016 (as amended,
             restated, amended and restated, supplemented or otherwise modified, the "Second Lien Security Agreement"
             and, together with the First Lien Security Agreement, each, a " Securitv Agreement" and collectively, the
             "Security Agreements"), by and among the Loan Parties from time to time party thereto and the Second Lien
             Administrative Agent. Capitalized terms used but not defined herein have the meanings assigned to such
             terms in the relevant Security Agreement.

                        As used herein, the tenn "Company" means [each ][the] signatory hereto.

                        As of the date hereof, the undersigned hereby represents and warrants to each Administrative Agent as
             follows:

                                  1.      Names. (a) The exact legal name of [each][the] Company, as such name appears in
                        its [respective] Organizational Documents filed with the Secretary of State of [such ][the] Company's
                        jurisdiction of organization is set forth in Schedule l(a). [Each][The] Company is the ty pe of entity
                        disclosed next to its name in Schedule l(a). Also set forth in Schedule l (a) is the organizational
                        identification number, if any, of [each ][the] Company, the Federal Taxpayer Identification Number of
                        [each](the] Company and the jurisdiction of organization of [each][the] Company .

                                 (b)      Except as otherwise disclosed in Schedule l{c) or Schedule l(d), set forth in
                        Schedule l(b) hereto is any other legal name that [any](the] Company has had, together with the date
                        of the relevant change in the past five years.

                                  (c)      Set forth in Schedule l(c) is a list of the infonu ation required by Section l(a) of this
                        certificate for any other Person (i) to which [any][the] Company became the successor by merger,
                        consolidation or acquisition or (ii) that has been liquidated into, or transferred all or substantially all of
                        its assets to, [any][the] Company, at any time within the past five years.




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                             (d)      Except as set forth in Schedule l(d), or as othenvise disclosed in Schedule He), [no
                       Com1>any has][the Company has not] changed its jurisdiction of organization or form of entity at
                       any time during the past four months.

                               2.        Locations. The chief executive office of [each][the] Company is currently located at
                       the address set forth in Schedule 2 hereto.

                                3.      Stock Ownership and Other Equity Interests. Attached hereto as Schedule 3 is a true
                       and correct list of all of the issued and outstanding stock, partnership interests, limited liability
                       company membership interests or other equity interests owned by [any][the] Company other than
                       Excluded Assets, the beneficial owners of such stock, partnership interests, membership interests or
                       other equity interests and the percentage of the total issued and outstanding stock, partnership
                       interests, membership interests or other equity interests of the relevant issuer represented thereby.

                                4.        Inslrnments and Tangible Chattel Paper. Attached hereto as Schedule 4 is a true and
                       correct list of all Instruments (other than checks to be deposited in the ordinary course of business)
                       and Tangible Chattel Paper, in each case, having a face amount exceeding $10,000,000, held by
                       [any][the] Company as of the date hereof, including the names of the obligors, the amounts owing
                       and the due dates.

                                 5.      lntelleclual Propertv. (a) Attached hereto as Schedule 5(a) is a schedule setting forth
                       all of [each][the] Company's United States Patents and United States Trademarks registered w ith and
                       published by (or applied for in) the United States Patent and Trademark Office (excluding, for the
                       avoidance of doubt, any United States Patent or United States Trademark that has expired or been
                       abandoned, but including United States Trademarks that would constitute Collateral upon the filing of
                       a " Statement of Use" or an "Amendment to Allege Use" with respect thereto), including the name of
                       the registered owner and the registration or publication number (or, if applicable, the applicant and the
                       application number) of each such United States Patent and United States Trademark.

                                (b)      Attached hereto as Schedule 5(b) is a schedule setting forth all of [each][the]
                       Company's Copyrights registered with (or applied for in) the United States Copyright Office
                       (excluding, for the avoidance of doubt, any Copyright that has expired or been abandoned), including
                       the name of the registered owner and the registration number (or, if applicable, the applicant and the
                       application number) of each such Copyright.

                               6.      Commercial Tort Claims. Attached hereto as Schedule 6 is a true and correct list of
                       all Commercial Tort Claims with an individual value of at least $10,000,000 (as reasonably
                       detennined by the Top Borrower), held by [any][the] Company, including a brief description thereof.

                                                          [Signature Page Follows]




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                       IN WITNESS WHEREOF, the undersigned has hereunto signed this Perfection Certificate as of the
             date first written of above.


                                                                      [•]

                                                                      By :
                                                                             Name:    [•]
                                                                             Title:   [•]




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                                                          SCHEDULE HA)

                                                           LEGAL NAMES

                                                                                     Organizational   Federal Tax1>ayer
                       Le2al Name              Jurisdiction         Tvpe               Number       Identification Number




                                                       Schedule l (A) to Exhibit J
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                                                      SCHEDULE l{B)

                                               PRIOR ORGANTZATIONAL NAMES

                           Companv                    Prior Lc2al Name           Date of Change




                                                   Schedule l (B) to Exhibit J
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                                                            SCHEDULE l{C}

                                                        PREDECESSOR ENTITIES

                                                                                        Jurisdiction of
                                                             Legal Name of             Organization of
                      Comnanv                  Action      Predecessor Entity         Predecessor Entity        Date




                                                         Schedule l(C) to Exhibit J
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                                                          SCHEDULE HD)

                                               CHANGES IN JURISDICTION OR FORM

                                           Current Jurisdiction of     Prior Jurisdiction of
                      Company               Or2anization/Form           Or2anization/Form      Date of Chan2e




                                                       Schedule l (D) to Exhibit J
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                                                           SCHEDULE2

                                                CHIEF EXECUTIVE OFFICE ADDRESSES

                                           Com1lany                                Address




                                                        Schedule 2 to Exhibit J
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                                                       SCHEDULE3

                                                    PLEDGED STOCK

                                                                                                     % of Issued and
                      Issuer               Holder      Certificate No.        No. Shares/Interest
                                                                                                    Outstandin2 Shares




                                                    Schedule 3 to Exhibit J
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                                                          SCHEDULE4

                                                          INSTRUMENTS

             1.        Promissory Notes/Instruments:
                                                                                          "
                       Obligee                   Obfowr                Principal Amount       Maturitv




             2.       Tangible Chattel Paper:




                                                       Schedule 4 to Exhibit J
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                                                    SCHEDULE S(A)

                                               PATENTS AND TRADEMARKS

             PATENTS
                                                                                            "
                  REGISTERED OWNER                 SERIAL NUMBER              DESCRIPTION




             PATENT APPLICATIONS

                         APPLICANT                APPLICATION NO.             DESCRIPTION




             TRADEMARKS

                  REGISTERED OWNER              REGISTRATION NUMBER           TRADEMARK




             TRADEMARK APPLICATIONS

                         APPLICANT                APPLICATION NO.             TRADEMARK




                                                 Schedule S(A) to Exhibit J
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                                                   SCHEDULE S(B)

                                                    COPYRJGHTS

             COPYRJGHTS
                                                                             "              "
                  REGISTERED OWNER             REGISTRATION NUMBER               TITLE




             COPYRIGHT APPLICATIONS

                         APPLICANT             APPLICATION NUMBER                TITLE




                                                Schedule 5(8) to Exhibit J
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                                                     SCHEDULE6

                                               COMMERCIAL TORT CLAIMS




                                                  Schedule 6 to Exhibit J
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                                                 [FORM OF] JOINDER AGREEMENT

                       A.      SUPPLEMENT N O. [•] dated as of [ •] (this "Supplement"), to (a) the Second Lien Term
             Loan Pledge and Security Agreement dated as of November 8, 2016 (as amended, restated, amended and
             restated, supplemented or otherwise modified from time to time, the " Security Agreement"), by and among
             Dawn Intermediate, Inc., a Delaware corporation ("Holdings"), Serta Simmons Bedding, LLC, a Delaware
             limited liability company (the "Top Borrower"), National Bedding Company L.L.C., an fllinois limited
             liability company ("National Bedding") and SSB Manufacturing Company, a Delaware corporation ("SSB
             Manufacturing", together with National Bedding and Top Borrower, the "Borrowers"), the Subsidiary
             Guarantors (as defined in the Second Lien Term Loan Agreement referenced below) from time to time party
             thereto (the foregoing, collectively, the "Grantors") and Goldman Sachs Bank USA, in its capacity as
             administrative agent and collateral agent for the Secured Parties (in such capacities, the " Administrative
             Agent") and (b) the Second Lien Tenn Loan Guaranty Agreement dated as of dated as of November 8, 2016
             (as amended, restated, amended and restated, supplemented or otherwise modified from time to time, the
             "Loan Guaranty"), by and among Holdings, the Borrowers, the Subsidiary Guarantors from time to time party
             thereto and the Administrative Agent.

                      B.       Reference is made to the Second Lien Term Loan Agreement dated as of dated as of
             November 8, 2016, (as amended, restated, amended and restated, supplemented or otherwise modified from
             time to time, the " Second Lien Term Loan Agreement"), by and among, inter alios, Holdings, the Borrowers,
             the lenders from time to time party thereto and the Administrative Agent.

                     C.      Capitalized terms used here in and not otherwise defined herein shall have the meanings
             assigned to such tenns in the Second Lien Term Loan Agreement, the Security Agreement or the Loan
             Guaranty, as applicable.

                      D.       The Loan Parties have entered into the Security Agreement and the Loan Guaranty in order to
             induce the Lenders to make Loans. Section 7.10 of the Security Agreement, Section 3.04 of the Loan
             Guaranty and Section 5. 12 of the Second Lien Tenn Loan Agreement provide that additional subsidiaries of
             the Top Borrower may become Subsidiary Guarantors under the Security Agreement and the Loan Guaranty
             by executing and delivering an instrument in the form of this Supplement. lThe] [Each] undersigned
             Restricted Subsidiary (the ''New Subsidiarv") is executing this Supplement in accordance with the
             requirements of the Second Lien Tenn Loan Agreement lo become a Grantor under the Security Agreement
             and a Subsidiary Guarantor under the Loan Guaranty in order to induce the Lenders to make additional Loans
             and as consideration for Loans previously made and to Guaranty and secure the Secured Obligations, including
             [its] [their] obligations under the Loan Guaranty, each Hedge Agreement the obligations under which
             constitute Secured Hedging Obligations and agreements relating to Banking Services the obligations under
             which constitute Banking Services Obligations.

                       According ly, [the] [each] New Subsidiary agrees as follows:

                      SECTION 1.       In accordance with Section 7. 10 of the Security Agreement, [the] [each] New
             Subsidiary by its signature below becomes a Subsidiary Guarantor and a Granter under the Security
             Agreement with the same force and effect as if originally named therein as a Grantor, and [the] [each] New
             Subsidiary hereby (a) agrees to all the terms and provisions of the Security Agreement applicable to it as a
             Grantor thereunder and (b) makes the representations and warranties applicable to it as a Grantor under the
             Security Agreement[, subject to Schedule A hereto,] on and as of the date hereof; it being understood and
             agreed that any representation or warranty that expressly relates lo an earlier date shall be deemed to refer to
             the date hereof. In furtherance of the foregoing, [the] [each] New Subsidiary, as security for the payment and
             perfonnance in full of the Secured Obligations, does hereby create and grant to the Administrative Agent, its
             successors and permitted assigns, for the benefit of the Secured Parties, their successors and permitted assigns,
             a security interest in and Lien on all of [the] [each] New Subsidiary's right, title and interest in and to the
             Collateral of [the] [each) New Subsidiary. Upon the effectiveness of this Supplement, each reference to a


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             "Grantor" and "Subsidiary Guarantor" in the Security Agreement shall be deemed to include [the] [each] New
             Subsidiary. The Security Agreement is hereby incorporated herein by reference.

                      SECTION 2.       [Each] [fhe] New Subsidiary hereby acknowledges, agrees and confirms that, by its
             execution of this Agreement, [each] [the] New Subsidiary will be deemed to be a Loan Guarantor under the
             Loan Guaranty and a Loan Guarantor for all purposes of the Credit Agreement and shall have all of the rights,
             benefits, duties and obligations of a Loan Guarantor thereunder as if it had executed the Loan Guaranty.
             [Each] [The] New Subsidiary hereby ratifies, as of the date hereof, and agrees to be bound by, all of the terms,
             provisions and conditions contained in the Loan Guaranty. Without limiting the generality of the foregoing
             terms of this paragraph 1, [each) [the) New Subsidiary hereby absolutely and unconditionally guarantees,
             jointly and severally with the other Loan Guarantors, to the Administrative Agent and the Secured Parties, the
             prompt payment of the Guaranteed Obligations in full when due (whether at stated maturity, upon acceleration
             or otherwise) to the extent of and in accordance with the Loan Guaranty . [Each] [The] New Subsidiary hereby
             waives acceptance by the Administrative Agent and the Secured Parties of the guaranty by the New Subsidiary
             upon the execution of this Agreement by [each] [the] New Subsidiary. [Each] [The] New Subsidiary hereby
             (x) makes, as of the date hereof, the representation and warranty set forth in Section 2.10 of the Loan
                                                                      "O
             Guaranty[, except as set forth on Schedule A hereto,)° and (y) agrees to perform and observe, and to cause
             each of its Restricted Subsidiaries to perform and observe, the covenant set forth in Section 2.1 1 of the Loan
             Guaranty.

                      SECTION 3.         [fhe] [Each] New Subsidiary represents and warrants to the Administrative Agent
             and the other Secured Parties that this Supplement has been duly authorized, executed and delivered by it and
             constitutes its legal, valid and binding obligation, enforceable against it in accordance with its tenus, subject to
             the Legal Reservations.

                      SECTION 4.       This Supplement may be executed in counterparts (and by different parties hereto on
             different counterparts), each of which shall constitute an original, but all of which when taken together shall
             constitute a single contract. This Supplement shall become effective when the Administrative Agent shall
             have received a counterpart of this Supplement that bears the signature of [the] [each] New Subsidiary and the
             Administrative Agent has executed a counterpart hereof. Delivery of an executed signature page to this
             Supplement by facsimile transmission or by email as a " .pdf' or " .tif' attachment shall be as effective as
             delivery of a manually signed counterpart of this Supplement.

                     SECTION 5.         Attached hereto is a duly prepared, completed and executed Perfection Certificate,
             which includes infom1ation with respect to [the] [each] New Subsidiary, and [the] [each] New Subsidiary
             hereby represents and warrants that the information set forth therein with respect to itself is correct and
             complete in all material respects as of the date hereof.

                   SECTION 6.        Except as expressly supplemented hereby, the Loan Guaranty and the Security
             Agreement shall remain in full force and effect.

                  SECTION 7.  THIS SUPPLEMENT SHALL BE GOVERNED BY, AND CONSTRUED IN
             ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK.

                      SECTION 8.       In case any one or more of the provisions contained in this Supplement is invalid,
             illegal or unenforceable in any respect, the validity, legality and enforceability of the remaining provisions
             contained herein and in the Security Agreement shall not in any way be affected or impaired thereby (it being
             understood that the invalidity of a particular provision in a particular jurisdiction shall not in and of itself affect
             the validity of such provision in any other jurisdiction). Each Borrower and the Administrative Agent shall
             endeavor in good-faith negotiations to replace the invalid, illegal or unenforceable provisions with valid

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                  Subject lo Section S.12(cXx} of the Credit Agreement.



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             prov1s1ons the economic effect of which comes as close as possible to that of the invalid, illegal or
             unenforceable provisions.

                      SECTION 9.       All communications and notices hereunder shall be in writing and given as provided
             in Section 9.01 of the Second Lien Term Loan Agreement.

                     SECTION 10. [The] [Each) New Subsidiary agrees to reimburse the Administrative Agent for its
             expenses in connection with this Supplement, including the fees, other charges and disbursements of counsel
             in accordance with Section 9.03(a) of the Credit Agreement.

                    SECTION 11. This Supplement shall constitute a Loan Document, under and as defined in, the
             Second Lien Term Loan Agreement.

                                                       [Signature pages follow]




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                      IN WITNESS WHEREOF, [each] [the] New Subsidiary has duly executed this Joinder Agreement as
             of the day and year first above written.

                                                           [NAME OF NEW SUBSIDIARY]



                                                           By:
                                                                   Name:
                                                                   Title:




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                                                   [SCHEDULE A
                                               CERTAIN EXCEPTIONS]




                                                Schedule A to E xhibit K
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                                                                                                                EXHIBITL

                                                            [FORM OF]
                                                        PRO MISS ORY NOTE

             $[•]                                                                                    New York, New York
                                                                                                           [•] [•], 20[•]

                       FOR VALUE RECEIVED, the undersigned Serta Simmons Bedding, LLC, a Delaware limited
             liability company (" SSB" or the ' 'Top Borrower"), National Bedding Company L.L.C., an lllinois limited
             liability company (''National Bedding"), and SSB Manufacturing Company, a Delaware corporation (" SSB
             Manufacturing" and, together with SSB and National Bedding, the "Borrowers"), hereby jointly and severally
             promise to pay on demand to [•] (the "Lender") or its registered permitted assign, at the office of Goldman
             Sachs Bank USA ("GS") at [• ], Loans in the principal amount of$[•] or such lesser amount as is outstanding
             from time to time, on the dates and in the amounts set forth in the Second Lien Term Loan Agreement, dated
             as of November 8, 2016 (as amended, restated, amended and restated, supplemented or otherwise modified, the
             " Second Lien Term Loan Agreement"), by and among, inter alios, Dawn Intermediate, Inc., a Delaware
             corporation ("Dawn Intermediate" or "Holdings"), the Borrowers, the Lenders from time to time party thereto,
             GS, in its capacities as administrative agent and collateral agent for the Lenders. Each Borrower also promises
             to pay interest from the date of such Loans on the principal amount thereof from time to time outstanding, in
             like Dollars, at such office, in each case, in the manner and at the rate or rates per annum and payable on the
             dates provided in the Second Lien Term Loan Agreement. Terms used but not defined herein shall have the
             meanings assigned to such terms in the Second Lien Term Loan Agreement.

                      Each Borrower promises to pay interest on any overdue principal and, to the extent permitted by
             applicable Requirements of Law, overdue interest from the relevant due dates, in each case, in the manner, at
             the rate or rates and under the circumstances provided in the Second Lien Tenn Loan Agreement.

                      Each Borrower hereby waives diligence, presentment, demand, protest and notice of any kind to the
             extent possible under any applicable Requirements of Law. The non-exercise by the holder hereof of any of its
             rights hereunder in any particular instance shall not constitute a waiver thereof in that or any subsequent
             instance.

                      All Borrowings evidenced by this promissory note and all payments and prepayments of the principal
             hereof and interest hereon and the respective dates thereof shall be endorsed by the holder hereof on the
             schedules attached hereto and made a part hereof or on a continuation thereof which shall be attached hereto
             and made a part hereof, or othenvise recorded by such holder in its internal records; provided, however, that
             the failure of the holder hereof to make such a notation or any error in such notation shall not affect the
             obligations of each Borrower under this Note.

                     This promissory note is one of the promissory notes referred to in the Second Lien Term Loan
             Agreement that, among other things, contains provisions for the acceleration of the maturity hereof upon the
             happening of certain events, for optional and mandatory prepayment of the principal hereof prior to the
             maturity hereof and for the amendment or waiver of certain provisions of the Second Lien Term Loan
             Agreement, all upon the terms and conditions therein specified. This promissory note is entitled to the benefit
             of the Second Lien Term Loan Agreement, and the obligations hereunder are guaranteed and secured as
             provided therein and ii1 the other Loan Documents referred to in the Second Lien Term Loan Agreement.

                      If any assignment by the Lender holding this promissory note occurs after the date of the issuance
             hereof, the Lender agrees that it shall, upon the effectiveness of such assignment or as promptly thereafter as
             practicable, surrender this promissory note to the Administrative Agent for cancellation.

                  THE ASSIGNMENT OF THIS PROMISSORY NOTE AND ANY RIGHTS WITH RESPECT
             THERETO ARE SUBJECT TO THE PROVISIONS OF THE SECOND LIEN TERM LOAN AGREEMENT,
             INCLUDING THE PROVISIONS GOVERNING THE REGISTER AND THE PARTICIPANT REGISTER.

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                  THIS PROMISSORY NOTE SHALL BE CONSTRUED IN ACCORDANCE WITH AND
             GOVERNED BY THE LAWS OF THE STATE OF NEW YORK.

                                               [Remainder of Page Intentionally Left Blank]




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                                                  SERTA SIMMONS BEDDING, LLC


                                                  By : - - - - - - - - - - - - - -
                                                    Name:
                                                    Title:

                                                  NATIONAL BEDDING COMPANY L.L.C.


                                                  By : _ _ _ _ _ _ _ _ _ _ _ _ __
                                                    Name:
                                                    T itle:

                                                  SSB MANUFACTURING COMPANY


                                                  By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                    Name:
                                                    Title:




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                                                                                                                                         SCHEDULE A

                                                     LOANS, CONVERSIONS AND REPAYMENTS OF ABR LOANS

                                                                      Amount of Principal         Amount of ABR       Unpaid Principal
                              Amount of         Amount Converted to                                                                         Notation
              Date                                                      of ABRLoans              Loans Converted to   Balance of ABR
                              ABRLoans             ABRLoans                                                                                 Made By
                                                                            Repaid                LIBO Rate Loans         Loans




                                                                       Schedule A to Exhibit L
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                                                                                                                                        SCHEDULEB

                                           LOANS, CONTINUATIONS, CONVERSIONS AND REPAYMENTS OF LIBO RATE LOANS

                                                                                                                                Unpaid
                                                                                            Amount of        Amount of LIBO
                                                                 Interest Period and                                           PrinciJ)al
                     Amount of LIBO          Amount Converted                            Principal of LIBO     Rate Loans                     Notation
           Date                                                    LIBO Rate with                                             Balance of
                       Rate Loans           to LIBO Rate Loans                              Rate Loans        Converted to                    Made By
                                                                   Respect Thereto                                            LIBO Rate
                                                                                              Repaid           ABRLoans
                                                                                                                                Loans




                                                                         Schedule B to Exhibit L
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                                                                                       EXHIBITM

                                                       [FORM OF]
                                 SECOND LIEN TERM LOAN PLEDGE AND SECURITY AGREEMENT

                                                     [See attached.]




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                                                                                              EXECUTION VERSION


                                  FIRST LIEN TERM LOAN PLEDGE AND SECURJTY AGREEMENT

                      THIS FIRST LIEN TERM LOAN PLEDGE AND SECURITY AGREEMENT (as it may be
             amended, restated, amended and restated, supplemented or otherwise modified from time to time, this
             "Secu1itv Agreement") is entered into as of November 8, 2016, by and among Serta Simmons Bedding,
             LLC, a Delaware limited liability company ("SSB" or the "Top Borrower"), National Bedding Company
             L.L.C., an Illinois limited liability company ("National Bedding"), and SSB Manufacturing Company, a
             Delaware corporation ("SSB Manufacturing" and, togethe r with SSB and National Bedding, the
             "Borrowers"), Dawn Intermediate, Inc., a Delmvare corporation ("Holdings"), the Subsidiary Guarantors
             (as defined in the Credit Agreement) from time to time pa1ty hereto (the foregoing, collectively, the
             "Grantors") and UBS AG, Stamford Branch ("UBS"), in its capacity as administrative agent and
             collateral agent for the Secured Parties (as defined below) (in such capacities, the "Administrative
             Agent").

                                                  PRELIMINARY STATEMENT

                      Holdings, the Borrowers, the Lenders party thereto, the Administrative Agent and others are
             entering into that certain First Lien Term Loan Agreement, dated as of November 8, 2016 (as amended,
             restated, amended and restated, supplemented or otherwise modified from time to time, the "Credit
             Agreement") . The Grantors are entering into this Security Agreement in order to induce the Lende rs to
             enter into and extend credit to the Borrowers under the Credit Agreement and to secure the Secured
             Obligations, including their obligations under the Loan Guaranty, each Hedge Agreement, the obligations
             under which constitute Secured Hedging Obligations, and each agreement relating to Banking Services,
             the obligations under which constitute Banking Services Obligations.

                       ACCORDINGLY, the parties hereto agree as follows:

                                                            ARTICLE 1
                                                            DEFINITIONS

                     Section l.0 1.    Terms Defined in Credit Agreement. All capitalized te rms used herein and not
             otherwise defined shall have the meanings assigned to such terms in the Credit Agreement.

                     Section 1.02.    Terms Defined in UCC. Terms defined in the UCC that are not otherwise
             defined in this Secmity Agreement or the Credit Agreement are used herein as defined in Articles 8 or 9
             of the UCC, as the context may require (including without limitation, as if such terms were capitalized in
             Article 8 or 9 of the UCC, as the context may require, the following terms: "Account," "Commodities
             Account", "Deposit Account" "Chattel Paper." "Commercial Tort Claim." "Document " "Electronic
             Chattel Paper_" "Equipment," "Fixture," "General Intangible." "Goods," "Instruments." "Inventory."
             '1nvestment Prope1tv ," "Lette r-of-Credit Right: ' "Securities Account" "Securities Entitlement,"
             "Supporting Obligation" and "Tangible Chattel Paper'').

                      Section 1.03.     Definitions ofCertain Terms Used Herein. As used in this Security Agreement,
             in addition to the te rms defined in the preamble and Preliminary Statement above, the follmving te1ms
             shall have the following meanings:

                       "Administrative Agent" has the meaning set forth in the preamble.

                     "Article" means a numbered article of this Secmity Agreement, unless anothe r document 1s
             specifically referenced.




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                       "Borrowers" has the meaning specified in the preamble.

                       "Collateral" has the meaning set forth in Article 2.

                      "Contract Rights" means all rights of any Grantor under any Contract, including, without
             limitation, (i) any and all rights to receive and demand payments under such Contract, (ii) any and all
             rights to receive and compel pe rfo1mance unde r such Contract and (iii) any and all other rights, interests
             and claims now existing or in the future arising in connection w ith such Contract.

                     "Contracts" means all contracts between any Grantor and one or more additional parties
             (including, without limitation, any Hedge Agreement, licensing agreement and any partnership
             agreement, joint venture agreement and/or limited liability company agreement).

                     "Control" has the meaning set forth in Article 8 or, if applicable, in Section 9-104, 9-105, 9-106
             or 9-107 of Article 9 of the UCC.

                       "Credit Agreement" has the meaning set forth in the Preliminary Statement.

                     "Cumulative Pe rfection Certificate" means the Perfection Certificate de livered pursuant to
             Section 4.0 l(k) of the Credit Agreement and any Perfection Certificate de livered pursuant to
             Section 5. 12(a) of the Credit Agreement.

                    "Domain Names" means all Internet domain names and associated URL addresses in or to which
             any Grantor now or hereafter has any right, title or interest.

                     "Exhibit" refers to a specific exhibit to this Security Agreement, unless another document is
             specifically referenced.

                       "Grantors" has the meaning set forth in the preamble.

                       "Holdings" has the meaning set forth in the prean1ble.

                      "Intellectual Property Collateral" means, collectively, all Copyrights, Patents, Trademarks, Trade
             Secrets, Domain Names, Licenses and Software.

                   "Intellectual Property Securitv Agreement Supplement" means an Intellectual Property Security
             Agreement Supplement substantially in the fom1 of Exhibit A to the Intellectual Prope1ty Security
             Agreement.

                      "Licenses" means, with respect to any Grantor, all of such Grantor's right, title , and interest in
             and to (a) any and all licensing agreements or similar arrangements, whethe r as licensor or licensee, in (1)
             Patents, (2) Copy rights, (3) Trademarks, (4) Trade Secrets or (5) Software, (b) all income, royalties,
             damages, claims, and payments now or hereafter due or payable under and with respect thereto, including,
             without limitation, damages and payments for past and future breaches thereof, and (c) all rights to sue for
             past, present, and future breaches thereof.

                       "Money" has the meaning set forth in Article I of the UCC.

                       "National Bedding" has the meaning set forth in the preamble.

                      "Pem1its" shall mean, all licenses, permits, rights, orders, variances, franchises or authorizations
             of or from any Governmental Authority or agency.

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                     "Pledged Collate ral" means all Pledged Stock, including all stock certificates, options or rights of
             any nature whatsoever in respect of the Pledged Stock that may be issued or granted to, or held by, any
             Grantor, all Instruments owned by any Grantor, whether or not physically delivered to the Administrative
             Agent pursuant to this Security Agreement, whethe r now owned or hereafte r acquired by such Grantor
             and any and all Proceeds the reof.

                     "Pledged Stock" means, with respect to any Grantor, the shares of Capital Stock held by such
             Grantor, including Capital Stock described in Schedule 3 to the Cumulative Perfection Certificate as held
             by such Grantor, together with any other shares of Capital Stock as are he reafter acquired by such
             Grantor.

                     "Proceeds" has the meaning assigned in Article 9 of the UCC and, in any event, shall also include
             but not be limited to (i) any and all proceeds of any insurance, indemnity, warranty or guaranty payable to
             the Administrative Agent or any Grantor from time to time with respect to any of the Collateral, (ii) any
             and all payments (in any form whatsoeve r) made or due and payable to any Grantor from time to time in
             connection with any requisition, confiscation, condemnation, seizure or forfeiture of all or any part of the
             Collateral by any Governmental Authority, (iii) any and all Stock Rights and (iv) any and all other
             amounts from time to time paid or payable under or in connection with any of the Collateral.

                     "Receivables" means any Account, Chattel Paper, Document, Instrument and/or any General
             lntangible, in each case, that is a 1ight or claim to receive money (whether or not earned by pe rfom1ance).

                     "Section" means a numbe red section of this Security Agreement, unless anothe r document is
             specifically referenced.

                       "Secmity Agreement" has the meaning set fo1th in the preamble.

                     "Software" means computer programs, source code, object code and supporting documentation
             including "software" as such tenn is defined in Article 9 of the UCC, as well as compute r programs that
             may be construed as included in the definition of Goods.

                       "SSB" has the meaning set forth in the prean1ble.

                       "SSB Manufacturing" has the meaning set forth in the preamble.

                     "Stock Rights" means all dividends, options, warrants, instruments or othe r distributions and any
             other 1ight or property which any Grantor shall receive or shall become entitled to receive for any reason
             whatsoever with respect to, in substitution for or in exchange for any Capital Stock constituting
             Collateral, any right to receive any Capital Stock constituting Collateral and any right to receive earnings,
             in which such Grantor now has or hereafter acquires any right, issued by an issuer of such Capital Stock.

                       ''Top Bo1TOwer" has the meaning set forth in the preamble.

                       ''Trade Secrets" means, with respect to any Grantor, all of such Grantor's right, title and interest
             in and to the following: (a) confidential and proprietary information, including unpatented inventions,
             invention disclosures, engineering or other data, infonnation, production procedures, know-how, financial
             data, customer lists, supplier lists, business and marketing plans, processes, schematics, algorithms,
             techniques, analyses, proposals, source code, data, databases and data collections; (b) all income,
             royalties, damages, and payments now or hereafter due or payable with respect thereto, including, without
             limitation, damages, claims and payments for past and future misappropriations or infringements thereof;
             (c) all rights to sue for past, present and future infiingements of the foregoing, including the right to settle


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             suits involving claims and demands for royalties owing; and (d) all 1ights corresponding to any of the
             foregoing.

                        "UBS" has the meaning set forth in the preamble.

                     The forego ing definitions shall be equally applicable to both the singular and plural forms of the
             defined te rms.

                                                                      ARTICLE2
                                                              GRANT OF SECURITY INTEREST

                        Section 2.0 1.         Grant ofSecurity Interest.

                       (a)      As security for the prompt and complete payment or perfom1ance, as the case may be, in
             full of the Secured Obligations, each Grantor hereby pledges, collaterally assigns, mortgages, transfers
             and grants to the Administrative Agent, its successors and permitted assigns, on behalf of and for the
             ratable benefit of the Secured Parties, a continuing security interest in all of its right, title and interest in,
             to all of the following personal property and othe r assets, whether now owned by or owing to, or hereafte r
             acquired by or arising in favor of such Grantor, and regardless of where located (all of which are
             collectively referred to as the "Collateral"):

                                    (i)       all Accounts;

                                (ii)    all Chattel Paper (including, without limitation, all Tangible Chattel Paper and all
                        Electronic Chattel Pape r);

                                  (iii)       all Intellectual Property Collate ral;

                                  (iv)        all Documents;

                                   (v)        all Equipment;

                                  (vi)        all Fixtures;

                                 (vii)        all General Intangibles;

                                (viii)        all Goods;

                                  (ix)        all Instruments;

                                   (x)        all Inventory;

                                  (xi)        all Investment Property, Pledged Stock and other Pledged Collate ral;

                                 (xii)        all letters of credit and Letter-of-Credit Rights;

                              (xiii)   all Commercial Tort Claims described on Schedule 6 to the Cumulative
                        Perfection Certificate (including any supplements to such Schedule 6 delivered pursuant to
                        Section 4.04);

                                 (xiv)        all Pe rmits;


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                             (xv)     all Software and all recorded data of any kind or nature, regardless of the
                       medium of recording;

                                (xvi)        all Contracts, together with all Contract Rights arising thereunder;

                               (xvii)        all Money, Cash and Cash Equivalents;

                            (xviii)    all Deposit Accounts, Securities Accounts, Commodities Accounts and all other
                       demand, deposit, time, savings, cash management, passbook and similar accounts maintained by
                       such Grantor with any bank or othe r financial institution and all monies, securities, Instruments
                       deposited or required to be deposited in any of the foregoing;

                                (xix)        all Securities Entitlements in any or all of the foregoing;

                                 (xx)        all other personal property not otherwise described in clauses (i) through (xix)
                       above;

                                (xxi)        all Supporting Obligations; and

                             (xxii)    all accessions to, substitutions and replacements for and Proceeds and products of
                       the foregoing, together with all books and records, customer lists, credit files, computer files,
                       programs, printouts and other computer materials and records related thereto and any General
                       Intangibles at any time evidencing or re lating to any of the foregoing and all collate ral security
                       and guarantees given by any Pe rson with respect to any of the foregoing.

                      (b)      Notwithstanding the foregoing, the te1m "Collateral" (and any component definition
             thereof) shall not include any Excluded Asset. Notwithstanding anything to the contrary contained
             herein, immediately upon the ineffectiveness, lapse or tennination of any restriction or condition set forth
             in the definition of " Excluded Assets" in the Credit Agreement that prevented the grant of a security
             interest in any right, interest or other asset that would have, but for such restriction or condition,
             constituted Collateral, the Collateral shall include, and the relevant Grantor shall be deemed to have
             automatically granted a security interest in, such previously restricted or conditioned right, interest or
             other asset, as the case may be, as if such restriction or condition had never been in effect.

                                                                    ARTICLE 3
                                                      REPRESENTATIONS AND W ARRAN11ES

                    The Grantors, jointly and severally, represent and warrant to the Administrative Age nt as and
             when required under the Credit Agreement, for the benefit of the Secured Pa1ties, that:

                      Section 3.01.     Title, Perfection and Priority; Filing Collateral. Subject to the Legal
             Reservations, this Security Agreement is effective to create a legal, valid and enforceable Lie n on and
             security interest in the Collateral in favor of the Administrative Age nt for the benefit of the Secured
             Parties and, subject to the tem1s of the last paragraph of Section 4.01 of the Credit Agreement and the
             satisfaction of the Perfection Require me nts, the Administrative Agent will have a fully pe rfected Lie n
             (with the priority set forth in the Intercreditor Agreements and subject to Pe rmitted Liens) on such
             Collateral securing the Secured Obligations to the extent perfection can be achieved by the Perfection
             Requirements.

                      Section 3 .02.    Intellectual Property. As of the date he reof, no Grantor has actual knowledge
             of (i) any third-party claim (A) that any of its owned Patent, Trademark or Copyright registrations or


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             applications is invalid or unenforceable, or (B) challenging such Grantor's ,ights to such registrations and
             applications or (ii) any basis for such claims, other than, in each case, to the extent any such third-party
             claim would not reasonably be expected to have a Material Adverse Effect.

                     Section 3.03.       Pledged Collateral. (i) All Pledged Stock has been duly authorized and validly
             issued (to the extent such concepts are relevant with respect to such Pledged Stock) by the issuer the reof
             and is fully paid and non-assessable, (ii) each Grantor is the direct owner, beneficially and of record, of
             the Pledged Stock described in Schedule 3 to the Cumulative Pe rfection Certificate as held by such
             Grantor and (iii) each Grantor holds the Pledged Stock described in Schedule 3 to the Cumulative
             Perfection Ce rtificate as held by such Grantor free and clear of all Liens (other than Permitted Liens).

                                                               ARTICLE4
                                                               COVENANTS

                       From the date he reof, and thereafter until the Tennination Date:

                       Section 4.01.         General.

                      (a)      Authorization to File Financing Statements; Ratification.              Each Grantor hereby
             (i) authorizes the Administrative Agent to file (A) all financing statements (including fixture filings) and
             amendments the reto with respect to the Collate ral naming such Grantor as debtor and the Administrative
             Agent as secured party, in fonn appropriate for filing under the UCC of the relevant jurisdiction and
             (B) filings with the United States Patent and Trademark Office and the United States Copyright Office
             (including any lntellectual Property Security Agreement) for the purpose of perfecting, enforcing,
             maintaining or protecting the Lien of the Administrative Agent in United States issued, registered and
             applied for Patents, Trademarks and Copyrights (in each case, to the extent constituting Collate ral) and
             nan1ing such Grantor as debtor and the Administrative Agent as secured pa1ty and, (ii) subject to the
             te rms of the Loan Documents agrees to take such other actions, in each case as may from time to time be
             necessary and reasonably requested by the Administrative Agent (and authorizes the Administrative
             Agent to take any such othe r actions, which it has no obligation to take) in order to establish and maintain
             a valid, enforceable (subject to the Legal Reservations) and pe1fected security inte rest with the prio,ity set
             forth in the Intercreditor Agreements (subject to Pem1itted Liens) in and subject, in the case of Pledged
             Collateral, to Section 4.02 hereof, Control of, the Collate ral. Each Grantor shall pay any applicable filing
             fees, recordation fees and related expenses relating to its Collateral in accordance with Section 9.03(a) of
             the Credit Agreement. Any financing statement filed by the Administrative Agent may (i) indicate the
             Collateral (A) as "all assets" of the applicable Grantor or words of similar effect, regardless of whether
             any particular asset comprised in the Collateral falls within the scope of Article 9 of the UCC of such
             jurisdiction, or (B) by any other description which reasonably approximates the description contained in
             this Security Agreement and (ii) contain any othe r info1mation required by pa1t 5 of Article 9 of the UCC
             for the sufficiency or filing office acceptance of any financing statement or amendment, including (A) in
             each case to the extent applicable, whether the Grantor is an organization, the type of organization and
             any organization identification number issued to the Grantor and (B) in the case of a financing statement
             filed as a fixture filing, a sufficient description of the relevant real property to which the Collateral relates.
             Each Grantor agrees to furnish any such information to the Administrative Agent promptly upon request.

                      (b)     Further Assurances. Each Grantor agrees, at its own expense, to take any and all actions
             reasonably necessary to defend title to the Collateral against all Persons (other than Persons holding
             Pennitted Liens on such Collateral that have priority over the Administrative Agent's Lien) and to defend
             the security interest of the Administrative Agent in the Collateral and the priority the reof against any Lie n
             that is not a Pem1itted Lien.



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                        (c)     Limitations on Actions. Notwithstanding anything to the contrary in this Security
             Agreement, no Grantor shall be required to take any action in connection w ith Collateral pledged
             hereunder (and no security interest in such Collateral shall be required to be perfected) except to the
             e;,_'tent consistent w ith Sections 5. J2(c) and 5. J4 of the Credit Agreement and the Pe1fection Requirements
             or expressly required hereunder and except in accordance with Requirements of Law.

                       Section 4 .02.        Pledged Collateral.

                      (a)      Delivery of Certificated Securities, Tangible Chattel Paper, Instruments and Documents.
             Each Grantor will, after the Closing Date, hold in trust for the Administrative Agent upon receipt and, (x)
             if the event giving rise to the obligation under this Section 4 .02(a) occurs during the first three Fiscal
             Quarters of any Fiscal Year, on or before the date on which financial statements are required to be
             delivered pursuant to Section 5.0l{a) of the Credit Agreement for the Fiscal Quarte r in which the relevant
             event occurred or (y) if the event giving rise to the obligation under this Section 4.02(a) occurs during the
             fourth Fiscal Qua1te r of any Fiscal Year, on or before the date that is 60 days after the end of such Fiscal
             Quarter (or, in each of the cases of clauses (x) and (y), such longer period as the Administrative Agent
             may reasonably agree), deliver to the Administrative Agent for the benefit of the Secured Parties any
             (1) ce1tificated Security representing or evidencing Pledged Collateral and (2) Instmment (A) in each case
             under this cla use (2), having an outstanding balance in excess of $10,000,000 and (B) in each case under
             clauses (1) and ffi, constituting Collateral received after the date hereof, accompanied by undated
             instruments of transfer or assignment duly executed in blank. Notwithstanding anything to the contrary in
             this Security Agreement or any other Loan Document, the Grantors are not required to deliver any
             Tangible Chattel Paper or Docume nt to the Administrative Agent or for the benefit of any Secured Party.

                      (b)      Uncertificated Securities and Pledged Collateral. W ith respect to any pa1tnership
             interest or limited liability company interest owned by any Grantor which is required to be pledged to the
             Administrative Agent pursuant to the terms hereof (othe r than a partnership interest or limited liability
             company interest held by a Clearing Corporation, Securities Intem1ediary or other financial intermediary
             of any kind) which is not represented by a certificate and which is not a Security for purposes of the UCC,
             such Grantor shall not permit any issuer of such partnership inte rest or limited liability company interest
             to allow such partne rship interest or limited liability company interest (as applicable) to become a
             Security unless such Grantor causes such inte rest to be represented by a certificate and complies w ith the
             procedures set forth in Section 4.02(a) w ithin the time period prescribed therein. Each Grantor which is
             an issuer of any uncertificated Pledged Collateral described in this Section 4.02(b) hereby agrees to
             comply w ith all instmctions from the Administrative Agent w ithout such Grantor' s fmthe r consent, in
             each case subject to the notice requirements set forth in Section 5.0 l(a)(iv) hereof.

                      (c)     Registration in Nominee Name; Denominations. The Administrative Agent, on behalf of
             the Secured Parties, shall hold certificated Pledged Collateral required to be delivered to the
             Administrative Agent under clause (a) above in the name of the applicable Grantor, endorsed or assigned
             in blank or in favor of the Administrative Agent, but at any time when an Event of Default has occurred
             and is continuing, and upon at least three Business Days' notice to the Top Borrower, the Administrative
             Agent shall have the right (in its sole and absolute discretion, but subject to the last paragraph of Section
             7.01 of the Credit Agreement) to hold the Pledged Collateral in its own name as pledgee, or in the name
             of its nominee (as pledgee or as sub-agent) . At any time when an Event of Default has occurred and is
             continuing, but subject to the last paragraph of Section 7.01 of the Credit Agreement, the Administrative
             Agent shall have the right to exchange the certificates representing Pledged Collateral for certificates of
             smaller or larger denominations for any purpose consistent with this Secu1ity Agreement.




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                       (d)        Exercise of Rights in Pledged Collateral. It is agreed that:

                                (i)     without in any way limiting the foregoing and subject to clause (ii) belo,v, each
                       Grantor shall have the right to exercise all voting rights or other rights relating to the Pledged
                       Collateral for any purpose that does not violate this Security Agreement, the Credit Agreement or
                       any other Loan Document;

                               (ii)   each Grantor will pem1it the Administrative Agent or its nominee at any time
                       when an Event of Default has occurred and is continuing to exercise the rights and remedies
                       provided under Section 5.0l(a)(iv) (subject to the notice requirements set forth therein); and

                               (iii)    subject to Section 5.0 I (a)(iv), each Grantor shall be entitled to receive and retain
                       any and all dividends, interest, principal and other distributions paid on or distributed in respect
                       of the Pledged Collateral: provided that any non-cash dividend or other distribution that would
                       constitute Pledged Collateral, whether resulting from a subdivision, combination or
                       reclassification of the outstanding Capital Stock of the issuer of any Pledged Collateral or
                       received in exchange for Pledged Collateral or any part thereof, or in redemption thereof, or as a
                       result of any merger, consolidation, acquisition or other exchange of assets to which such issuer
                       may be a party or othe1wise, shall, to the extent constituting Collateral, be and become pa1t of the
                       Pledged Collateral, and, if received by any Grantor, shall be delivered to the Administrative
                       Agent as and to the extent required by clause (a) above.

                      (e)     Return of Pledged Collateral. The Administrative Agent shall promptly deliver to ilie
             applicable Grantor (without recourse and without any representation or warranty) any Pledged Collateral
             in its possession if requested to be delivered to the issuer or holder thereof in connection with any action
             or transaction that is permitted or not restricted by the Credit Agreement in accordance with Article 8 of
             the Credit Agreement.

                       Section 4.03.         Intellectual Property.

                     (a)      At any time when an Event of Default has occurred and is continuing, and upon the
             w1itten request of the Administrative Agent, each Grantor will (i) use its commercially reasonable efforts
             to obtain all consents and approvals necessary for the assignment to or for the benefit of the
             Administrative Agent of any License held by such Grantor in the U.S. to enable the Administrative Agent
             to enforce the security interests granted hereunder and (ii) to the extent required pursuant to any material
             License in the U.S. under v,1hich such Grantor is the licensee, deliver to the licensor iliereunder any notice
             of the grant of security interest hereunder or such other notices required to be delivered thereunder in
             order to permit the security interest created or pe1mitted to be created hereunder pursuant to the terms of
             such License.

                      (b)     Each Grantor shall notify the Administrative Agent promptly if it knows that any
             application for or registration of any Patent, Trademark, Domain Name, or Copyright (now or hereafter
             existing) has been abandoned or dedicated to the public, or of any detem1ination or development
             (including the institution of, or any such determination or development in, any proceeding in the United
             States Patent and Trademark Office, the United States Copyright Office or any court) abandoning such
             Grantor's ownership of any such Patent, Trademark or Copyright, its right to register the same, or to keep
             and maintain the same, except, in each case, to the extent the same is permitted or not restricted by the
             Credit Agreement or where the same, individually or in the aggregate, could not reasonably be expected
             to result in a Material Adverse Effect.                            ·




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                      (c)      In the event that any Grantor files an application for the registration of any Patent,
             Trademark or Copyright with the United States Patent and Trademark Office or the United States
             Copyright Office, or acquires any such application or registration by purchase or assignment, in each
             case, after the Closing Date and to the extent the same constitutes Collateral (and other than as a result of
             an application that is the n subject to an Intellectual Property Security Agreement or Intellectual Property
             Security Agreement Supplement becoming registered), it shall, (i) if the event giving rise to the obligation
             unde r this Section 4.03(c) occurs during the first three Fiscal Quarters of any Fiscal Year, on or before the
             date on which financial statements are required to be delivered pursuant to Section 5.0l(a) of the Credit
             Agreement for the Fiscal Quarter in which the relevant event occurred or (ii) if the event giving rise to the
             obligation under this Section 4.03(c) occurs during the fomth Fiscal Quarter of any Fiscal Year, on or
             before the date that is 60 days after the end of such Fiscal Quarte r (or, in the case of each of clauses (i)
             and {ill, such longer pe1iod as the Administrative Agent may reasonably agree), notify the Administrative
             Agent and, promptly upon the Administrative Agent's request, execute and deliver to the Administrative
             Agent, at such Grantor's sole cost and expense, any Intellectual Property Security Agreement or
             Intellectual Property Security Agreement Supplement, as applicable, or other instrument as the
             Administrative Agent may reasonably request and require to evidence the Administrative Agent's security
             interest in such registered Patent, Trademark or Copyright (or application the refor), and the General
             lntangibles of such Grantor relating thereto or represented thereby.

                      (d)      Each Grantor shall take all actions reasonably necessary to (i) maintain and pursue each
             application and to obtain and maintain the registration of each Patent, Trademark, Domain Name and, to
             the extent consistent v,1 ith past practices, Copyright included in the Collateral (now or hereafter existing),
             including by filing applications for renewal, affidavits of use, affidavits of noncontestability and, if
             reasonably necessary (taking into account the projected cost of such proceedings versus the expected
             be nefit thereof), by initiating opposition and interference and cancellation proceedings against third
             parties, (ii) maintain and protect the secrecy or confidentiality of its Trade Secrets and (iii) otherwise
             protect and preserve such Grantor's rights in, and the validity or enforceability of, its Intellectual Property
             Collateral, i.n each case except where failure to do so (A) could not reasonably be expected to result i.n a
             Material Adverse Effect, or (B) is othenvise permitted under the Credit Agreement.

                     (e)     Each Grantor shall promptly notify the Agent of any material infringement or
             misappropriation of such Grantor' s Patents, Trademarks, Copyrights or Trade Secrets of which it
             becomes aware and shall take such actions that, in the Grantors' commercially reasonable business
             judgment, are reasonable and approp1iate under the circumstances to protect such Patent, Trademark,
             Copyright or Trade Secret, except where such infringement, misappropriation or dilution could not
             reasonably be expected to cause a Mate,ial Adverse Effect.

                     Section 4.04.       Commercial Tort Claims. After the Closing Date, (i) if the event giving rise to
             the obligation under this Section 4.04 occurs during the first three Fiscal Quarters of any Fiscal Year, on
             or before the date on which financial statements are required to be delivered pursuant to Section 5.0l{a)
             of the Credit Agreement for the Fiscal Quarter in which the relevant event occurred or (ii) if the event
             giving rise to the obligation under this Section 4.04 occurs during the fourth Fiscal Quarter of any Fiscal
             Year, on or before the date that is 60 days after the end of such Fiscal Quarter (or, in each of the cases of
             clauses (i) and {ill, such longer period as the Administrative Agent may reasonably agree), each relevant
             Grantor shall notify the Administrative Agent of any Commercial Tort Claim with an individual value (as
             reasonably estimated by the Top Borrower) in excess of $10,000,000 acquired by it, together with an
             update to Schedule 6 to the Cumulative Perfection Certificate containing a summary description thereof,
             and such Commercial To1t Claim (and the Proceeds thereof) shall automatically constitute Collateral, all
             upon the terms of this Security Agreement.

                       Section 4.05.         [Reserved].


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                       Section 4.06.         Grantors Rema;n Liable.

                      (a)     Each Grantor (rather than the Administrative Age nt or any Secured Patty) shall remain
             liable (as between itself and any relevant counte rparty) to observe and perfom1 all the conditions and
             obligations to be observed and pe rformed by it under any Contract relating to the Collateral, all in
             accordance with the terms and conditions the reof. Neither the Administrative Agent nor any othe r
             Secured Party shall have any obligation or liability under any Contract by reason of or arising out of this
             Security Agreement or the receipt by the Administrative Agent or any other Secured Patty of any
             payment relating to such Contract pursuant hereto, nor shall the Administrative Agent or any other
             Secured Party be obligated in any manner to perform any of the obligations of any Grantor under or
             pursuant to any Contract, to make any payment, to make any inquiry as to the nature or sufficiency of any
             pe rfom1ance or to collect the payment of any an10unts which may have been assigned to them or to ,vhich
             they may be entitled at any time or times.

                     (b)      Each Grantor assumes all liability and responsibility in connection with the Collateral
             acquired by it, and the liability of such Grantor to pay the Secured Obligations shall in no way be affected
             or diminished by reason of the fact that such Collateral may be lost, destroyed, stolen, damaged or for any
             reason whatsoever unavailable to such Grantor.

                      (c)      Notwithstanding anything here in to the contrary, each Grantor (rather than the
             Administrative Agent or any Secured Party) shall remain liable under each of the Accounts to observe and
             perform all of the conditions and obligations to be observed and performed by it thereunder, all in
             accordance with the terms of any agreement giving rise to such Accounts. Ne ither the Administrative
             Agent nor any other Secured Party shall have any obligation or liability unde r any Account (or any
             agreeme nt giving rise thereto) by reason of or arising out of this Security Agreement or the rece ipt by the
             Administrative Agent or any other Secured Party of any payment re lating to such Account pursuant
             he reto, nor shall the Administrative Agent or any othe r Secured Party be obligated in any manner to
             perfom1 any of the obligations of any Gran tor under or pursuant to any Account (or any agreement giving
             rise thereto), to make any payment, to make any inquiry as to the nature or the sufficiency of any payment
             received by them or as to the sufficiency of any performance by any party under any Account (or any
             agreeme nt giving rise thereto), to prese nt or file any claim, to take any action to enforce any performance
             or to collect the payme nt of any amounts which may have been assigned to them or to which they may be
             entitled at any time or times.

                                                                ARTICLES
                                                                 REMEDIES

                       Section 5. 01.        Remedies.

                     (a)       Each Grantor agrees that, at any time when an Event of Default has occurred and is
             continuing, the Administrative Agent may exercise any or all of the following rights and remedies (in
             addition to the rights and remedies existing under applicable Requirements of Law):

                                (i)      the rights and remedies provided in this Security Agreement, the Credit
                       Agreement, or any other Loan Document; provided that this Section 5.0l{a) shall not limit any
                       rights available to the Administrative Agent prior to the occuiTence of an Event of Default;

                               (ii)    the tights and remedies available to a secured party under the UCC (whether or
                       not the UCC applies to the affected Collateral) or under any other applicable Requirements of
                       Law (including, without limitation, any law governing the exercise of a bank's right of setoff or
                       bankers' Lien) when a debtor is in default unde r a security agreement;


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                               (iii)    without notice (except as specifically provided in Section 7.0 1 or elsewhere
                       herein), demand or advertisement of any kind to any Grantor or any other Person, but subject to
                       the terms of any applicable lease agreement, personally, or by agents or attorneys, enter the
                       premises of any Grantor where any Collateral is located (through self-help and without judicial
                       process) to collect, receive, assemble, process, appropriate, sell, lease, assign, grant an option or
                       options to purchase or otherwise dispose of, deliver, or realize upon, the Collateral or any part
                       thereof in one or more parcels at one or more public or private sales (v,1hich sales may be
                       adjourned or continued from time to time with or without notice and may take place at such
                       Grantor's premises or elsewhere), for cash, on credit or for future delivery without assumption of
                       any credit risk, and upon such other terms as the Administrative Age nt may deem comme rcially
                       reasonable;

                               (iv)    upon at least three Business Days ' written notice to the Top Borrowe r, (A)
                       transfer and register in its name or in the name of its nominee the whole or any part of the
                       Pledged Collateral, and (B) exe rcise the voting and all othe r rights as a holder with respect thereto
                       (where upon the voting and other rights of such Grantor described in Section 4 .02(d)(i) above
                       shall immediately cease such that the Administrative Agent shall have the sole right to exercise
                       such voting and other rights while the relevant Event of Default is continuing), to collect and
                       receive all cash dividends, inte rest, principal and other distributions made the reon (it being
                       understood that all Stock Rights received by any Grantor while the relevant Event of Default is
                       continuing shall be received in trust for the benefit of the Administrative Agent and forthwith
                       paid over to the Administrative Agent in the same form as so received (with any necessary
                       endorsements)) and to otherwise act with respect to the Pledged Collateral as though the
                       Administrative Agent was the outright owner thereof; and

                                (v)     to take possession of the Collate ral or any part thereof, by directing such Grantor
                       in writing to deliver the same to the Administrative Agent at any reasonable place or places
                       designated by the Administrative Agent, in which event such Grantor shall at its own expense
                       forthwith cause the san1e to be moved to the place or places so designated by the Administrative
                       Agent and the re delivered to the Administrative Age nt;

                      (b)     Each Grantor acknowledges and agrees that compliance by the Administrative Agent, on
             behalf of the Secured Parties, with any applicable state or federal Requirements of Law in connection
             v,rith a disposition of the Collateral will not be considered to adversely affect the comme rcial
             reasonableness of any sale of the Collateral.

                     (c)     Any Secured Party shall have the right in any public sale and, to the extent pennitted by
             applicable Requirements of Law, in any private sale, to purchase all or any pa1t of the Collate ral so sold,
             free of any right of equity redemption that Grantor is pern1itted to release and waive pursuant to
             applicable Requirements of Law, and each Grantor hereby expressly releases such right to equity
             redemption to the extent permitted by applicable Requirements of Law.

                     (d)      Until the Administrative Agent is able to effect a sale, lease, transfe r or other disposition
             of any particular Collateral under this Section 5.01, the Administrative Agent shall have the right to hold
             or use such Collateral, or any part thereof, to the extent that it deems appropriate for the purpose of
             preserving such Collateral or the value of such Collateral or for any other purpose deemed reasonably
             appropriate by the Administrative Agent. At any time when an Event of Default has occurred and is
             continuing, the Administrative Agent may, if it so elects, seek the appointment of a receiver or keeper to
             take possession of any Collateral and to enforce any of the Administrative Agent's remedies (for the
             benefit of the Administrative Agent and Secured Parties), ,,,ith respect to such appointment without prior
             notice or hearing as to such appointment.


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                     (e)      Notwithstanding the forego ing, the Administrative Agent shall not be required to (i)
             make any demand upon, or pursue or exhaust any of the ir rights or remedies against, the Grantors, any
             other obligor, guarantor, pledgor or any other Person with respect to the payment of the Secured
             Obligations or to pursue or exhaust any of the ir rights or remedies with respect to any Collateral therefor
             or any direct or indirect guarantee the reof, (ii) marshal the Collateral or any guarantee of the Secured
             Obligations or to resort to the Collateral or any such guarantee in any particular order, or (iii) effect a
             public sale of any Collateral.

                       (f)     Each Grantor recognizes that the Administrative Agent may be unable to effect a public
             sale of any or all the Pledged Collateral and may be compelled to resort to one or more private sales
             thereof. Each Grantor also acknowledges that any private sale may result in prices and other tem1s less
             favorable to the seller than if such sale were a public sale and, notwithstanding such circumstances, agrees
             that no such private sale shall be deemed to have been made in a commercially unreasonable manner
             solely by virtue of such sale being p1ivate. The Administrative Agent shall be under no obligation to
             delay a sale of any of the Pledged Collateral for the period of time necessary to permit any Grantor or the
             issuer of any Pledged Collateral to register such securities for public sale under the Securities Act of
             1933, as amended, or under applicable state secmities Requirements of Law, even if any Grantor and the
             issuer ""1ould agree to do so.

                      (g)      Each of the Administrative Agent and each Secured Party (by its acceptance of the
             benefits of this Security Ag reement) acknowledges and agrees that notwithstanding any other provisions
             in this Security Agreement or any other Loan Document, the exercise of rights or remedies with respect to
             certain Collate ral and the enforcement of any security inte rests therein may be limited or restricted by, or
             require any consent, authorization, approval or license under, any Requirements of Law.

                      (h)     Notwithstanding the foregoing, any rights and remedies provided in this Section 5.01
             shall be subject to each applicable Intercreditor Agreement.

                    Section 5.02.    Grantors' Obligations Upon Default. Upon the request of the Administrative
             Agent at any time when an Event of Default has occurred and is continuing, each Grantor w ill :

                                (a)      at its own cost and expense (i) assemble and make available to the
                       Administrative Agent, the Collateral and all books and records relating thereto at any place or
                       places reasonably specified by the Administrative Agent, whether at such Grantor's premises or
                       elsewhere, (ii) deliver a ll tangible evidence of its Accounts and Contract Rights (including,
                       w ithout limitation, all documents evidencing the Accounts and all Contracts) and such books and
                       records to the Administrative Agent or to its representatives (copies of which evidence and books
                       and records may be retained by such Grantor) and (iii) if the Administrative Agent so directs and
                       in a form and in a manner reasonably satisfactory to the Administrative Agent, add a legend to the
                       Accounts and the Contracts, as well as books, records and documents (if any) of such Grantor
                       evidencing or pertaining to such Accounts and Contracts, which legend shall include an
                       approp1iate reference to the fact that such Accounts and Contracts have been assigned to the
                       Administrative Agent and that the Administrative Agent has a security interest therein; and

                               (b)      subject to the terms of any applicable lease agreement, permit the Administrative
                       Agent and/or its representatives and/or agents, to ente r, occupy and use any premises where all or
                       any part of the Collateral, or the books and records relating thereto, or both, are located, to take
                       possession of all or any part of the Collateral or the books and records relating thereto, or both, to
                       remove all or any part of the Collateral o r the books and records relating thereto, or both, and to
                       conduct sales of the Collateral, ·without any obligation to pay any Grantor for such use and
                       occupancy.


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                       Section 5.03.         Intellectual Property Remedies.

                      (a)     For the purpose of e nabling the Administrative Agent to exercise the rights and remedies
             under this Article 5 at any time when an Event of Default has occurred and is continuing, and at such time
             as the Administrative Agent shall be lawfully entitled to exercise such rights and remedies, each Grantor
             he reby grants to the Administrative Agent a power of attorney to sign any document which may be
             required by the United States Patent and Trademark Office, the United States Copyright Office, domain
             name registrar or similar registrar in order to effect an absolute assignment of all right, title and interest in
             each registered Patent, Trademark, Domain Name and Copyright and each application for any such
             registration, and record the same. At any time when an Event of Default has occurred and is continuing,
             the Administrative Agent may (i) declare the entire right, title and inte rest of such Grantor in and to each
             item of Intellectual Property Collateral to be vested in the Administrative Agent for the benefit of the
             Secured Parties, in which event such right, title and interest shall immediately vest in the Administrative
             Agent for the benefit of the Secured Parties, and the Administrative Agent shall be entitled to exercise the
             powe r of attorney referred to in this Section 5.03 to execute, cause to be acknowledged and notarized and
             record such absolute assignment with the applicable agency or registrar; (ii) sell any Grantor's Inventory
             directly to any Person, including without limitation Persons who have previously purchased any Grantor's
             Inventory from such Grantor and in connection with any such sale or other enforcement of the
             Administrative Agent's rights under this Security Agreement and subject to any restrictions contained in
             applicable third party licenses entered into by such Grantor, sell Inventory which bears any Trademark
             owned by or licensed to any Grantor and any Inventory that is covered by any Intellectual Property
             Collateral owned by or licensed to any Grantor, and the Administrative Agent may finish any work in
             process and affix any relevant Trademark Collateral owned by or licensed to such Grantor, and sell such
             Inventory as provided herein; (iii) direct such Grantor to refrain, in which event such Grantor shall
             refrain, from using any Intellectual Property Collateral in any manne r whatsoever, directly or indirectly;
             and (iv) assign or sell any Patent, Trademark, Copyright, Domain Name, and/or Trade Secret, in each
             case to the extent constituting Collateral, as well as the goodwill of such Grantor's business symbolized
             by any such Trade mark and the right to cany on the business and use the assets of such Grantor in
             connection ,vith which any such Trademark or Domain Name has been used.

                       (b)      Each Grantor he reby grants to the Administrative Agent an i1Tevocable (until the
             Tennination Date), nonexclusive, royalty-free, worldwide license to its right to use, license or sublicense
             any Inte llectual Property Collateral now owned or hereafter acquired by such Grantor, wherever the same
             may be located, and including in such license access to all media in which any of the licensed items may
             be recorded or stored and (to the extent not prohibited by any applicable license) to all computer software
             and programs used for compilation or printout the reof. The use of the license granted to the
             Administrative Agent pursuant to the preceding sentence may be exercised, at the option of the
             Administrative Agent, only when an Event of Default has occurred and is continuing; provided, however,
             that such licenses to be granted hereunde r with respect to Trademarks shall be subject to, with respect to
             the goods and/or services on which such Trademarks are used, the maintenance of quality standards that
             a.re sufficient to preserve the validity of such Trademarks and are consistent with past practices.

                       Section 5.04.         Application ofProceeds.

                     (a)      Subject to each applicable Intercreditor Agreement, the Administrative Agent shall apply
             the proceeds of any collection, sale, foreclosure or other realization of any Collateral as set forth in
             Section 2. l8(b) of the Credit Agreement.

                     (b)     Except as otherwise provided herein or in any other Loan Document, the Administrative
             Agent shall have absolute discretion as to the time of application of any such proceeds, money or balance
             in accordance with this Security Agreement. Upon any sale of Collateral by the Administrative Agent


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             (including pursuant to a power of sale granted by statute or under a judicial proceeding), a receipt by the
             Administrative Agent or of the officer making the sale of such proceeds, moneys or balances shall be a
             sufficient discharge to the purchaser or purchasers of the Collateral so sold and such purchaser or
             purchasers shall not be obligated to see to the application of any pa1t of the purchase money paid over to
             the Administrative Agent or such officer or be answerable in any way for the misapplication thereof. It is
             understood that the Grantors shall remain jointly and severally liable to the extent of any deficiency
             between the amount of the proceeds of the Collateral and the aggregate amount of the Secured
             Obligations.

                                                                 ARTICLE6
                                             ACCOUNT VERIFICATION; A TIORNEY IN F ACT; PROXY

                      Section 6.01.    Account Verification. The Administrative Agent may at any tin1e and from
             time to time when an Event of Default has occurred and is continuing and upon three Business Days'
             notice to the relevant Grantor, in the Administrative Agent's own name, in the name of a nominee of the
             Administrative Agent, or in the name of any Grantor, communicate (by mail, telephone, facsimile or
             otherwise) with the Account Debtors of such Grantor, parties to Contracts with such Grantor and obligors
             in respect of Instruments of such Grantor to ve1ify with such Persons, to the Administrative Agent' s
             reasonable satisfaction, the existence, amount, tenns of, and any other matter relating to, Accounts,
             Contracts, Instruments, Chattel Paper, payment intangibles and/or other Receivables that constitute
             Collateral.

                       Section 6.02.         Authorization for the Administrative Agent to Take Certain Action.

                       (a)    Each Grantor hereby itTevocably authorizes the Administrative Agent and appoints the
             Administrative Agent (and all officers, e mployees or agents designated by the Administrative Agent) as
             its true and lawful attorney in fact (i) at any time that an Event of Default has occurred and is continuing,
             in the sole discretion of the Administrative Agent (in the nan1e of such Grantor or otherwise), (A) to
             contact and enter into one or more agreements with the issuers of uncertificated securities that constitute
             Pledged Collateral or with securities intermediaries holding Pledged Collateral as may be necessary or
             advisable to give the Administrative Agent Control over such Pledged Collateral in accordance with the
             terms hereof, (B) to endorse and collect any cash proceeds of the Collateral and to apply the proceeds of
             any Collateral received by the Administrative Agent to the Secured Obligations as provided he rein or in
             the Credit Agreement or any other Loan Document, but in any event subject to the terms of any
             applicable Intercreditor Agreement, (C) to demand payment or enforce payment of any Receivable in the
             name of the Administrative Agent or such Grantor and to endorse any check, draft and/or any other
             instrument for the payment of money relating to any such Receivable, (D) to sign such Grantor's name on
             any invoice or bill of lading relating to any Receivable, any draft against any Account Debtor of such
             Grantor, and/or any assignment and/or verification of any Receivable, (E) to exercise all of any Grantor's
             rights and remedies with respect to the collection of any Receivable and any other Collateral, (F) to settle,
             adjust, compromise, exiend or renew any Receivable, (G) to settle, adjust or compromise any legal
             proceeding brought to collect any Receivable, (H) to prepare, file and sign such Grantor's name on a
             proof of claim in bankruptcy or similar document against any Account De btor of such Grantor, (I) to
             prepare, file and sign such Grantor's name on any notice of Lien, assignment or satisfaction of Lien or
             similar document in connection with any Receivable, (J) to change the address for delivery of mail
             addressed to such Grantor to such address as the Administrative Agent may designate and to receive,
             open and dispose of all mail addressed to such Grantor (provided copies of such mail are provided to such
             Grantor), (K) to discharge past due taxes, assessments, charges, fees or Liens on the Collateral (except for
             Permitted Liens), (L) to make, settle and adjust claims in respect of Collateral under policies of insurance
             and endorse the name of such Grantor on any check, draft, instrument or other item of payment for the
             proceeds of such policies of insurance, (M) to obtain or maintain the policies of insurance of the types


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             refe1Ted to in Section 5.05 of the Credit Agreement o r to pay any premium in ·whole or in pa.it relating
             thereto and (N) to do all other acts and things or institute any proceeding which the Administrative Agent
             may reasonably deem to be necessary (pursuant to this Security Agreement and the other Loan
             Docume nts and in accordance with applicable Requirements of Law) to carry out the te1ms of this
             Security Agreement and to protect the interests of the Secured Parties; and, whe n and to the extent
             required pursuant to Section 9.03(a) of the Credit Agreement, such Grantor agrees to reimburse the
             Administrative Agent for any payment made in connection with this paragraph or any expense (including
             reasonable and documented attorneys' fees, court costs and out-of-pocket expenses) and other chai1ges
             related thereto incurred by the Administrative Agent in connection with any of the foregoing (it being
             understood that any such sums shall constitute additional Secured Obligations); provided that, this
             authorization shall not relieve such Grantor of any of its obligations under this Security Agreement or
             under the Credit Agreement.

                      (b)    All prior acts of the Administrative Agent (or its attorneys or designees) are he reby
             ratified and approved by each Grantor. The powers conferred on the Administrative Agent, for the
             benefit of the Administrative Agent ai1d Secured Parties, under this Section 6.02 are solely to protect the
             Administrative Agent's interests in the Collateral and shall not impose any duty upon the Administrative
             Agent or any Secured Party to exercise any such powers.

                   Section 6.03. PROX Y. EACH GRANTOR HEREBY IRREVOCABLY (UNTIL THE
             TERMINATION DATE) CONSTITUTES AND APPOfNTS THE ADMfNISTRA TIVE AGENT AS ITS
             PROXY AND ATTORNEY-IN-FACT (AS SET FORTH IN SECTION 6.02 ABOVE) WITH RESPECT
             TO THE PLEDGED COLLATERAL, INCLUDING, DURING THE CONTINUATION OF AN EVENT
             OF DEFAULT AND SUBJECT TO ANY NOTICE REQUIREMENT AS SET FORTH HEREIN, THE
             RIGHT TO VOTE SUCH PLEDGED COLLATERAL, WITH FULL POWER OF SUBSTITUTION TO
             DO SO. IN ADDITCON TO THE RIGHT TO VOTE ANY SUCH PLEDGED COLLATERAL, THE
             APPOINTMENT OF THE ADMINISTRATIVE AGENT AS PROXY AND ATTORNEY-IN-FACT
             SHALL INCLUDE THE RIGHT, UPON THE OCCURRENCE AND CONTINUATION OF AN
             EVENT OF DEFAULT AND SUBJECT TO ANY NOTICE REQUIREMENT AS SET FORTH
             HEREIN, TO EXERCISE ALL OTHER RIGHTS, POWERS, PRIVILEGES AND REMEDIES TO
             WHICH A HOLDER OF SUCH PLEDGED COLLATERAL WOULD BE ENTITLED (INCLUDING
             GIVING OR WITHHOLDING WRITTEN CONSENTS OF SHAREHOLDERS, CALLING SPECIAL
             MEETfNGS OF SHAREHOLDERS AND VOTING AT SUCH MEETfNGS). SUCH PROXY SHALL
             BE EFFECTIVE, AUTOMATICALLY AND WCTHOUT THE NECESSITY OF ANY ACTION
             (INCLUDING ANY TRANSFER OF ANY SUCH PLEDGED COLLATERAL ON THE RECORD
             BOOKS OF THE ISSUER THEREOF) BY ANY PERSON (INCLUDING THE ISSUER OF SUCH
             PLEDGED COLLATERAL OR ANY OFFICER OR AGENT THEREOF), IN EACH CASE ONLY
             WHEN AN EVENT OF DEFAULT HAS OCCURRED AND IS CONTINUING AND UPON THREE
             BUSINESS DAYS' PRIOR WRITTEN NOTICE TO THE TOP BORROWER.

                   Section 6.04.   NATURE OF APPOINTMENT; LIMITATION OF DUTY.          THE
             APPOINTMENT OF THE ADMINISTRATIVE AGENT AS PROXY AND ATTORNEY-IN-FACT IN
             THIS ARTICLE 6 IS COUPLED WITH AN INTEREST AND SHALL BE IRREVOCABLE UNTIL
             THE TERMINATION DATE.        NOTWITHSTANDING ANYTHING CONTAINED HEREIN,
             NEITHER THE ADMINISTRATIVE AGENT, NOR ANY SECURED PARTY, NOR ANY OF THEIR
             RESPECTIVE      AFFILIATES, OFFICERS,  DIRECTORS, EMPLOYEES,     AGENTS    OR
             REPRESENTATIVES SHALL HAVE ANY DUTY TO EXERCISE ANY RIGHT OR POWER
             GRANTED HEREUNDER OR OTHERWISE OR TO PRESERVE THE SAME AND SHALL NOT BE
             LIABLE FOR ANY F Al LURE TO DO SO OR FOR ANY DELAY IN DOING SO, EXCEPT TO THE
             EXTENT SUCH DAMAGES ARE ATTRIBUTABLE TO BAD FAITH, GROSS NEGLIGENCE OR
             WILLFUL MISCONDUCT ON THE PART OF SUCH PERSON AS FINALLY DETERMINED BY A


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             COURT OF COMPETENT JURISDICTION IN A FINAL AND NON-APPEALABLE DECJSCON
             SUBJECT TO SECTION 7.20 HEREOF; PROVIDED, THAT THE FOREGOING EXCEPTION
             SHALL NOT BE CONSTRUED TO OBLIGATE THE ADMINISTRATIVE AGENT TO TAKE OR
             REFRAIN FROM TAKING ANY ACTION WITH RESPECT TO THE COLLATERAL.

                                                            ARTICLE 7
                                                       G ENERAL P ROVISIONS

                      Section 7.01.     Waivers. To the maximum extent pennitted by applicable Requirements of
             Law, each Grantor hereby waives notice of the time and place of any judicial hearing in connection with
             the Administrative Agent's taking possession of the Collateral or of any public sale or the time after
             which any private sale or other disposition of all or any part of the Collateral may be made, including
             without limitation, any and all prior notice and hearing for any prejudgment remedy or remedies. To the
             extent such notice may not be waived under applicable Requirements of Law, any notice made shall be
             deemed reasonable if sent to any Grantor, addressed as set fo11h in A1ticle 8, at least l O days prior to
             (a) the date of any such public sale or (b) the time after which any such private disposition may be made.
             To the ma.,ximum extent permitted by applicable Requirements of Law, each Grantor waives all claims,
             damages, and demands against the Administrative Agent arising out of the repossession, retention or sale
             of the Collateral, except those arising out of bad faith, gross negligence or willful misconduct on the part
             of the Administrative Agent as determined by a cou1t of competent jurisdiction in a final and non-
             appealable judgment. To the extent it may lawfully do so, each Grantor absolutely and irrevocably
             waives and relinquishes the benefit and advantage of, and covenants not to assert against the
             Administrative Agent, any valuation, stay (other than an automatic stay under any applicable Debtor
             Relief Law), appraisal, extension, moratorium, redemption or similar law and any and all rights or
             defenses it may have as a surety now or hereafte r existing which, but for this provision, might be
             applicable to the sale of any Collateral made under the judgment, order or decree of any comt, or
             privately under the power of sale conferred by this Security Agreement, or othenvise. Except as
             othenvise specifically provided herein, each Grantor hereby waives presentment, demand, protest, any
             notice (to the ma..ximum extent permitted by applicable Requirements of Law) of any kind or all other
             requirements as to the time, place and terms of sale in connection vvith this Security Agreement or any
             Collateral.

                      Section 7.02.      Limitation on Administrative Agent 's Duty with Respect to the Collateral. The
             Administrative Agent shall not have any obligation to clean or otherwise prepare the Collateral for sale.
             The Administrative Agent shall use reasonable care v,1ith respect to the Collateral in its possession;
             provided that the Administrative Agent shall be deemed to have exercised reasonable care in the custody
             and preservation of any Collateral in its possession if such Collateral is accorded treatment substantially
             equal to which it accords its own property . The Administrative Agent shall not have any other duty as to
             any Collateral in its possession or control or in the possession or control of any agent or nominee of the
             Administrative Agent, or any income thereon or as to the preservation of 1ights against p1ior parties or
             any other rights pertaining thereto. To the extent that applicable Requirements of Law impose duties on
             the Administrative Agent to exercise remedies in a commercially reasonable manner, each Grantor
             acknowledges and agrees that it would be commercially reasonable for the Administrative Agent, subject
             to Section 7.06, (a) to elect not to incur expenses to prepare Collateral for disposition or otherwise to
             transfo1m raw mate rial or work in process into finished goods or other finished products for disposition,
             (b) to elect not to obtain third party consents for access to Collateral to be disposed of (unless expressly
             required under any applicable lease agreement), or to obtain or, if not otherwise required by any
             Requirements of Law, to fail to obtain governmental or third party consents for the collection or
             disposition of Collateral to be collected or disposed of, (c) to elect not to exercise collection remedies
             against Account De btors or other Persons obligated on Collateral or to remove Liens on or any adverse
             claims against Collateral, (d) to exercise collection remedies against Account Debtors and other Persons


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             obligated on Collateral directly or through the use of collection agencies and other collection specialists,
             (e) to advertise dispositions of Collateral through publications or media of gene ral circulation, whether or
             not the Collateral is of a specialized nature, (f) to contact other Persons, whether or not in the same
             business as any Granter, for expressions of inte rest in acquiring all or any portion of such Collateral, (g)
             to hire one or more professional auctioneers to assist in the disposition of Collate ral, whether or not the
             Collateral is of a specialized nature, (h) to dispose of Collateral by utilizing internet sites that provide for
             the auction of assets of the types included in the Collate ral or that have the reasonable capacity of doing
             so, or that match buyers and sellers of assets, (i) to dispose of assets in wholesale rather than retail
             markets, (j) to disclaim disposition warranties, such as title, possession or quiet enjoyment, (k) to
             purchase insurance or credit enhancements to insure the Administrative Agent against risks of loss in
             connection with any collection or disposition of Collateral or to provide to the Administrative Agent a
             guaranteed return from the collection or disposition of Collateral or (l) to the extent deemed appropriate
             by the Administrative Agent to obtain the services of other brokers, investment bankers, consultants and
             other professionals to assist the Administrative Agent in the collection or disposition of any of the
             Collateral. Each Granter acknowledges that the purpose of this Section 7.02 is to provide non-exhaustive
             indications of what actions or omissions by the Administrative Agent would be comme rcially reasonable
             in the Administrative Agent's exercise of remedies with respect to the Collate ral and that other actions or
             omissions by the Administrative Agent shall not be deemed commercially unreasonable solely on account
             of not being indicated in this Section 7.02. Without limitation upon the foregoing, nothing contained in
             this Section 7.02 shall be construed to grant any rights to any Granter or to impose any duties on the
             Administrative Agent that would not have been granted or imposed by this Security Agreement or by
             applicable law in the absence of this Section 7.02.

                     Section 7.03.     Compromises and Collection of Collateral.            Each Granter and the
             Administrative Agent recognize that setoffs, counterclaims, defenses and other claims may be asserted by
             obligors with respect to certain of the Receivables, that certain of the Receivables may be or become
             uncollectible in whole or in part and that the expense and probability of success in litigating a disputed
             Receivable may exceed the amount that reasonably may be expected to be recovered with respect to any
             Receivable. In view of the foregoing, each Granter agrees that the Administrative Agent may at any time
             and from time to time, if an Event of Default has occurred and is continuing and upon three Business
             Days' notice to the relevant Granter, compromise with the obliger on any Receivable, accept in full
             payment of any Receivable such amount as the Administrative Agent in its sole and reasonable discretion
             shall dete rmine or abandon any Receivable, and any such action by the Administrative Agent shall be
             comme rcially reasonable so long as the Administrative Agent acts reasonably in good faith based on
             information known to it at the time it takes any such action.

                     Section 7.04.     Administrative Agent Performance ofDebtor Obligations. Without having any
             obligation to do so, the Administrative Agent may, at any time when an Event of Default has occurred
             and is continuing and upon prior w1itten notice to the Top Borrower, perform or pay any obligation which
             any Granter has agreed to pe1fonn or pay under this Security Agreement and which obligation is due and
             unpaid and not being contested by such Granter in good faith, and such Granter shall reimburse the
             Administrative Agent for any amounts paid by the Administrative Agent pursuant to this Section 7.04 as a
             Secured Obligation payable in accordance with Section 9.03(a) of the Credit Agreement.

                      Section 7.05.   No Waiver; Amendments; Cumulative Remedies. No delay or omission of the
             Administrative Agent (subject to the provisions of Section 8.0 1 of the Credit Agreement) to exercise any
             right or remedy granted under this Security Agreement shall impair such right or remedy or be construed
             to be a waive r of any Default or an acquiescence the rein, and no single or partial exercise of any such
             right or remedy shall preclude any other or further exercise thereof or the exercise of any othe r right or
             remedy . No waiver, amendment or other variation of the tern1s, conditions or provisions of this Security
             Agreement whatsoever shall be valid unless in writing signed by the Granters and the Administrative


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             Agent with the concurrence or at the direction of the Lende rs to the extent required under Section 9.02 of
             the Credit Agreement and then only to the extent in such ,vriting specifically set forth. All rights and
             remedies contained in this Security Agreement or afforded by law shall be cumulative and all shall be
             available to the Administrative Agent until the Termination Date.

                      Section 7.06.      LimUation by Law; Severability ofProvisions. All 1ights, remedies and powers
             provided in this Security Agreement may be exercised only to the extent that the exercise thereof does not
             violate any applicable Requirements of Law, and all of the provisions of this Security Agreement are
             intended to be subject to all applicable Requirements of Law that may be controlling and to be limited to
             the extent necessary so that such provisions do not render this Security Agreement invalid, unenforceable
             or not entitled to be recorded or registered, in whole or in part. To the e:,,,.'tent permitted by applicable
             Requirements of Law, any provision of this Security Agreement held to be invalid, illegal or
             unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
             invalidity, illegality or unenforceability without affecting the validity, legality and enforceability of the
             remaining provisions of this Security Agreement; and the invalidity of a particular provision in a
             particular jurisdiction shall not invalidate such provision in any other jurisdiction. If the exercise of rights
             or remedies with respect to certain Collateral and the enforcement of any security interest therein require
             any consent, authorization, approval or license under any Requirements of Law, no such action shall be
             taken unless and until all requisite consents, authorizations approvals or licenses have been obtained.

                      Section 7.07.     Security Interest Absolute. All rights of the Administrative Agent hereunde r,
             the security interests granted hereunde r and all obligations of each Grantor hereunder shall be absolute
             and unconditional irrespective of (a) any lack of validity or enforceability of the Credit Agreement, any
             other Loan Document, any agreement with respect to any of the Secured Obligations or any other
             agreement or instrument relating to any of the foregoing, (b) any change in the time, manner or place of
             payment of, or in any other tem1 of, all or any of the Secured Obligations, or any othe r amendment or
             waiver of or any consent to any departure from the Credit Agreement, any other Loan Document or any
             other agreement or instrument relating to the foregoing, (c) any exchange, release or non-perfection of
             any Lien on any Collateral, or any release or amendment or waiver of or consent under or departure from
             any guaranty, securing or guaranteeing all or any of the Secured Obligations, (d) any bankruptcy,
             insolvency, reorganization, arrangement, readjustme nt, composition, liquidation or the like of any
             Grantor, (e) any exercise or non-exercise, or any waiver of, any right, remedy, power or privilege under or
             in respect of this Security Agreement or any other Loan Document or (t) any other circumstance that
             might otherwise constitute a defense available to, or a discharge of, any Grantor in respect of the Secured
             Obligations or this Security Agreement (other than a tem1ination of any Lien contemplated by Section
             7.12 or the occurrence of the Te rmination Date).

                       Section 7.08.      Benefit of Security Agreement. The tenns and prov1s10ns of this Security
             Agreement shall be binding upon and inure to the benefit of each Grantor, the Administrative Agent and
             the Secured Paities and their respective successors and permitted assigns (including all Pe rsons who
             become bound as a debtor to this Security Agreement). No sale of participations, assignments, transfers,
             or other dispositions of any agreement governing the Secured Obligations or any portion thereof or
             inte rest therein shall in any manner impair the Lien granted to the Administrative Agent hereunder for the
             benefit of the Administrative Agent a.11d the Secured Parties.

                      Section 7.09.    Survival of Representations. All representations and warra.11ties of each Grantor
             contained in this Security Agreement shall survive the execution and delive1y of this Security Agreement
             until the Termination Date.

                     Section 7.10.    Additional Subsidiaries. Upon the execution and delivery by any Restiicted
             Subsidia1y of a Joinder Agreement, such Restricted Subsidia1y shall become a Grantor hereunder with the


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             same force and effect as if such Restiicted Subsidiary was originally named as a Grantor herein. The
             execution and del ivery of any such instrnment shall not require the consent of any other Grantor or any
             other Person. The rights and obligations of each Grantor hereunder shall remain in full force and effect
             notwithstanding the addition of any new Grantor as a party to this Security Agreement.

                      Section 7.11.   Head;ngs. The titles of and section headings in this Secuiity Agreement are for
             convenience of reference only, and shall not govern the interpretation of any of the te rms and provisions
             of this Security Agreement.

                       Section 7.12.         Term;nation or Release.

                      (a)     TI1is Security Agreement shall continue in effect until the Termination Date, and the
             Lie ns granted hereunder shall automatically be released in the circumstances described in Article 8 of the
             Credit Agreement.

                     (b)      In connection with any tem1ination or release pursuant to paragraph (a) above, the
             Administrative Agent shall promptly execute (if applicable) and deliver to any Grantor, at such Grantor' s
             expense, all UCC termination statements and similar documents that such Grantor shall reasonably
             request to evidence and/or effectuate such termination or release and all Pledged Collateral. Any
             execution and delivery of documents pursuant to this Section 7.12 shall be without recourse to or
             representation or warranty by the Administrative Agent or any Secured Party. The Borrowers shall
             reimburse the Administrative Agent for all reasonable and docume nted costs and out-of-pocket expenses,
             including the fees and expenses of one outside counsel (and, if necessary, of one local counsel in any
             relevant jurisdiction), incurred by it in connection with any action contemplated by this Section 7 .12
             pursuant to and to the e:\.'tent required by Section 9.03(a) of the Credit Agreement.

                      (c)     TI1e Administrative Agent shall have no liability whatsoever to any other Secured Party
             as the result of any release of Collateral by it in accordance with (or which the Administrative Agent in
             good faith believes to be in accordance with) the terms of this Section 7.12.

                    Section 7 .13.     Entire Agreement. This Security Agreement, together ,vith the other Loan
             Docume nts and each Jnte rcreditor Agreement, embodies the e ntire agreement and understanding between
             each Grantor and the Administrative Agent relating to the Collateral and supersedes all prior agreements
             and unde rstandings between any Grantor and the Administrative Agent relating to the Collateral.

                  Section 7. 14. CHOICE OF LAW. THIS SECURITY AGREEMENT, AND ANY CLAI M,
             CONTROVERSY OR DISPUTE ARISING UNDER OR RELATED TO THIS SECURITY
             AGREEMENT, SHALL BE GOVERNED BY, AND CONSTRUED AND INTERPRETED IN
             ACCORDANCE WITH, THE LAWS OF THE STA TE OF NEW YORK.

                       Section 7.15.         CONSENT TO JURISDICTION; CONSENT TO SERVICE OF PROCESS.

                    (a)  EACH PARTY HERETO HEREBY IRREVOCABLY AND lJNCONDITJONALLY
             SUBMITS, FOR ITSELF AND ITS PROPERTY, TO THE EXCLUSIVE JURISDICTION OF ANY
             U.S. FEDERAL OR NEW YORK STATE COURT SITTING IN THE BOROUGH OF MANHATTAN,
             IN THE CITY OF NEW YORK (OR ANY APPELLATE COURT THEREFROM) OVER ANY SUIT,
             ACTION OR PROCEEDING ARISING OUT OF OR RELATING TO THIS SECURITY
             AGREEMENT AND AGREES THAT ALL CLAIMS IN RESPECT OF ANY SUCH ACTION OR
             PROCEEDING SHALL (EXCEPT AS PERMITTED BELOW) BE HEARD AND DETERMINED IN
             SUCH NEW YORK STATE OR, TO THE EXTENT PERMITTED BY APPLICABLE
             REQUIREMENTS OF LAW, FEDERAL COURT. EACH PARTY HERETO AGREES THAT


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             SERVICE OF ANY PROCESS, SUMMONS, NOTICE OR DOCUMENT BY REGISTERED MAIL
             ADDRESSED TO SUCH PERSON SHALL BE EFFECTIVE SERVICE OF PROCESS AGAINST
             SUCH PERSON FOR ANY SUIT, ACTION OR PROCEEDING BROUGHT IN ANY SUCH COURT.
             EACH PARTY HERETO AGREES THAT A FINAL JUDGMENT IN ANY SUCH ACTION OR
             PROCEEDING MAY BE ENFORCED IN OTHER JURCSDICTCONS BY SUCT ON THE JUDGMENT
             OR IN ANY OTHER MANNER PROVIDED BY APPLICABLE REQUIREMENTS OF LAW. EACH
             PARTY HERETO AGREES THAT THE ADMCNISTRATIVE AGENT RETAINS THE RIGHT TO
             BRING PROCEEDINGS AGAINST ANY LOAN PARTY IN THE COURTS OF ANY OTHER
             JURISDICTION SOLELY IN CONNECTION WITH THE EXERCISE OF ITS RIGHTS IN RESPECT
             OF THE COLLATERAL UNDER THIS SECUR[TY AGREEMENT.

                   (b)   TO THE EXTENT PERMITTED BY APPLICABLE REQUIREMENTS OF LAW,
             EACH PARTY HERETO HEREBY IRREVOCABLY WAIVES PERSONAL SERVICE OF ANY AND
             ALL PROCESS UPON IT AND AGREES THAT ALL SUCH SERVICE OF PROCESS MAY BE
             MADE BY REGISTERED MAIL (OR ANY SUBSTANTIALLY SIMILAR FORM OF MAIL)
             DIRECTED TO IT AT ITS ADDRESS FOR NOTICES AS PROVIDED FOR IN SECTION 9.01 OF
             THE CREDIT AGREEMENT. EACH PARTY HERETO HEREBY WACVES ANY OBJECTION TO
             SUCH SERVICE OF PROCESS AND FURTHER IRREVOCABLY WAIVES AND AGREES NOT TO
             PLEAD OR CLACM IN ANY ACTION OR PROCEEDING COMMENCED HEREUNDER OR
             UNDER ANY LOAN DOCUMENT THAT SERVICE OF PROCESS WAS INV AUD AND
             INEFFECTIVE. NOTHING IN THIS SECURITY AGREEMENT WILL AFFECT THE RIGHT OF
             ANY PARTY TO THIS SECURITY AGREEMENT TO SERVE PROCESS CN ANY OTHER
             MANNER PERMITTED BY APPLICABLE REQUIREMENTS OF LAW.

                    Section 7.16. WAIVER OF JURY TRIAL.   EACH PARTY HERETO HEREBY
             IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMCTTED BY APPLICABLE
             REQUIREMENTS OF LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY SUIT,
             ACTION, PROCEEDING OR COUNTERCLAIM (WHETHER BASED ON CONTRACT, TORT OR
             ANY OTHER THEORY) DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO
             THIS SECURITY AGREEMENT OR THE TRANSACTCONS CONTEMPLATED HEREBY OR
             THEREBY. EACH PARTY HERETO (a) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR
             ATTORNEY OF ANY OTHER PARTY HERETO HAS REPRESENTED, EXPRESSLY OR
             OlHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF LITIGATION,
             SEEK TO ENFORCE THE FOREGOING WAIVER AND (b) ACKNOWLEDGES THAT IT AND THE
             OTHER PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO THIS SECURITY
             AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS
             IN THIS SECTION.

                      Section 7.17.        Indemnity. Each Grantor hereby agrees to indemnify the lndemnitees, as, and
             to the exte nt, set forth in Section 9.03 ofthe Credit Agreement.

                     Section 7.18.      Counterparts. This Security Agreement may be executed in counterparts (and
             by different parties hereto on different counterparts), each of which shall constitute an original, but all of
             which when taken together shall constitute a single contract. Delive1y of an executed counterpart of a
             signature page of this Security Agreement by facsimile or by email as a ".pdf' or ".tif' attachment or
             other electronic transmission shall be effective as delivery of a manually executed counterpart of this
             Security Agreement.

                       Section 7.19.         INTERCREDITORAGREEMENTGOVERNS.




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                   Section 7.20. NOTWITHSTANDfNG ANYTI-ITNG HEREIN TO THE CONTRARY, THE
             LIENS AND SECURITY INTERESTS GRANTED TO THE ADMINISTRATIVE AGENT FOR THE
             BENEFIT OF THE SECURED PARTIES PURSUANT TO THIS SECURITY AGREEMENT AND
             THE EXERCISE OF ANY RIGHT OR REMEDY BY THE ADMINISTRATIVE AGENT WITH
             RESPECT TO ANY COLLATERAL HEREUNDER ARE SUBJECT TO THE PROVISIONS OF EACH
             INTERCREDITOR AGREEMENT. IN THE EVENT OF ANY CONFLICT BETWEEN THE
             PROVISIONS OF ANY fNTERCREDITOR AGREEMENT AND TH1S SECURITY AGREEMENT,
             THE PROVISIONS OF SUCH fNTERCREDITOR AGREEMENT SHALL GOVERN AND
             CONTROL. THE REQUIREMENTS OF THIS SECURITY AGREEMENT TO DELIVER PLEDGED
             COLLATERAL AND ANY CERTIFICATES, INSTRUMENTS OR DOCUMENTS fN RELATION
             THERETO TO THE AGENT OR ANY OBLIGATION WITH RESPECT TO THE DELIVERY,
             TRANSFER, CONTROL, NOTATION OR PROVISION OF VOTING RIGHTS WITH RESPECT TO
             ANY COLLATERAL SHALL BE DEEMED SATISFIED BY THE DELIVERY, TRANSFER,
             CONTROL, NOTATION OR PROVISION IN FAVOR OF THE PARTY SPECIFIED IN THE
             APPLICABLE INTERCREDITOR AGREEMENT.

                      Section 7.2 1.    Waiver of Consequential Damages, Etc . To the extent pem1itted by applicable
             law, none of the Granto rs or Secured Parties shall assert, and each hereby waives, any claim against each
             other or any Related Party thereof, on any theo1y of liability, for special, indirect, consequential or
             punitive damages (as opposed to direct or actual damages) arising out of, in connection with, or as a result
             of, this Security Agreement or any agreement or instrument contemplated here by, except, in the case of
             any claim by any lndemnitee against any of the Grantors, to the extent such damages would otherwise be
             subject to indemnification pursuant to the terms of Section 7 .17.

                      Section 7.22.     Successors and Assigns. Whenever in this Security Agreement any party hereto
             is referred to, such reference shall be deemed to include the successors and permitted assigns of such
             party; and all covenants, promises and agreements by or on behalf of any Grantor or the Administrative
             Agent in this Security Agreement shall bind and inure to the benefit of their respective successors and
             pe rmitted assigns. Except in a transaction expressly permitted under the Credit Agreement, no Grantor
             may assign any of its rights or obligations hereunder without the written consent of the Administrative
             Agent.

                      Section 7 .23.      Survival of Agreement. Without lin1iting any prov1s10n of the Credit
             Agreement or Section 7 .17 hereof, all covenants, agreements, indemnities, representations and warranties
             made by the Grantors in the Loan Documents and in the ce1tificates or other instruments delivered in
             connection with or pursuant to this Security Agreement or any other Loan Document shall be considered
             to have been relied upon by the Le nders and shall survive the execution and delivery of the Loan
             Documents and the making of any Loans, regardless of any investigation made by any such Lender or on
             its behalf and notwithstanding that the Administrative Agent or any Lender may have had notice or
             knowledge of any Default or Event of Default or incorrect representation or warranty at the time any
             credit is extended under the Credit Agreement, and shall continue in full force and effect until the
             Termination Date, or with respect to any individual Grantor until such Grantor is otherwise released from
             its obligations unde r this Security Agreement in accordance with the te rms hereof.

                                                            ARTICLE 8
                                                              N OTICES

                      Section 8.01.    Sending Notices. Any notice required or pe rmitted to be given under this
             Security Agreement shall be delivered in acco rdance ,vith Section 9.01 of the Credit Agreement (it being
             unde rstood and agreed that references in such Section to "herein," " he reunder" and other similar te1ms
             shall be deemed to be references to this Security Agreeme nt).


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                                                          ARTICLE 9
                                                   THE ADMINISTRATIVE AGENT

                      UBS has been appointed Administrative Agent for the Lenders hereunder pursuant to Article 8 of
             the Credit Agreement. It is expressly understood and agreed by the parties to this Security Agreement
             that any authority conferred upon the Administrative Agent hereunder is subject to the te rms of the
             delegation of authority made by the Lenders to the Administrative Agent pursuant to the Credit
             Agreement, and that the Administrative Agent has agreed to act (and any successor Administrative Agent
             shall act) as such hereunder only on the express conditions contained in such Article 8. Any successor
             Administrative Agent appointed pursuant to A1ticle 8 of the Credit Agreement shall be entitled to all the
             rights, interests and benefits of the Administrative Agent hereunder.

                     By accepting the benefits of this Security Agreement and any other Loan Document, each
             Secured Party expressly acknowledges and agrees that this Security Agreement and each other Loan
             Docume nt may be enforced only by the action of the Administrative Agent, and that such Secured Pa1ty
             shall not have any right individually to seek to enforce or to enforce this Secmi ty Agreement or to realize
             upon the security to be granted hereby, it being understood and agreed that such rights and remedies may
             be exercised by the Administrative Agent for the benefit of the Secured Parties upon the te rms of this
             Security Agreement and the other Loan Documents.

                                                   [SIGNATURE PAGES FOLLOW]




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                     IN WITNESS WHEREOF, each Grantor and the Administrative Agent have executed this
             Security Agreement as of the date first above ,,,ritten.

                                                                    DAWN INTERMEDIATE, INC.
                                                                    SERTA SIMMONS BEDDING, LLC
                                                                    SIMMONS BEDDING COMPANY, LLC
                                                                    SSB LOGISTICS, LLC
                                                                    SSB MANUFACTURING COMPANY
                                                                    SSBNYC, LLC
                                                                    THE SIMMONS MANUFACTURING CO., LLC


                                                                    By:
                                                                            Name:    Kristen McGuffey
                                                                            Title:   Executive Vice President, General
                                                                                     Counsel and Secretary


                                                                    WORLD OF SLEEP OUTLETS, LLC
                                                                    SIMMONS CONTRACT SALES, LLC


                                                                    By:
                                                                            Name:    Kristen McGuffey
                                                                            Title:   Vice President, General Counsel and
                                                                                     Secretary


                                                                    DREAMWELL, LTD.


                                                                    By:
                                                                            Name:    Kristen McGuffey
                                                                            Title:   Vice President and Secretary


                                                                    SERTA INTERNATIONAL HOLDCO, LLC


                                                                    By:
                                                                            Name:    Kristen McGuffey
                                                                            Title:   Authorized Person


                                                                    NATCONAL BEDDCNGCOMPANY L.L.C.


                                                                    By:
                                                                            Name:    Kristen McGuffey
                                                                            Title:   General Counsel and Secretary




                                       Signature Page to First Lien Term Loan Pledge and Security Agreement
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                                                                    UBS AG, STAMFORD BRANCH
                                                                    as the Administrative Agent


                                                                    By:
                                                                            Name:
                                                                            Title:




                                       Signature Page to First Lien Term Loan Pledge and Security Agreement
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                                                                                                                  EXHIBIT 0-1

                                                             [FORM OF]
                                                U .S. TAX COMPLIANCE CERTIFICATE

                          (For Foreign Lenders That Are Not Partnerships For U.S. Federal Income Tax Purposes)

                     Reference is hereby made to that certain Second Lien Term Loan Agreement, dated as of November 8,
             2016 (as amended, restated, amended and restated, suppleme nted or otherwise modified, the " Second Lien
             Term Loan Agreement"), by and among, inter alios, Dawn Intermediate, Inc., a Delaware corporation ("Dawn
             Intermediate" or "Holdings"), Serta Simmons Bedding, LLC, a Delaware limited liability company (" SSB" or
             the "Top Borrower"), National Bedding Company L.L.C., an Illinois limited liability company (' 'National
             Bedding"), and SSB Manufacturing Company, a Delaware corporation ("SSB Manufacturing"), as borrowers,
             the Lenders from time to time party thereto, Goldman Sachs Bank USA, in its capacities as administrative
             agent and collateral age nt for the Lenders. U nless otherwise defined herein, terms defined in the Second Lien
             Term Loan Agreement and used herein shall have the meanings given to them in the Second Lien Term Loan
             Agreement.

                     Pursuant to the prov1s1ons of Section 2. l 7(f) of the Second Lien Term Loan Agreement, the
             undersigned here by certifies that (i) it is the sole record and beneficial owner of the Loan(s) (as well as any
             Promissory Notes evidencing such Loan(s)) in respect of w hich it is providing this certificate, (ii) it is not a
             "bank" within the meaning of Section 881(c)(3)(A) of the Code, (iii) it is not a " 10 percent shareholder" of any
             Borrower within the meaning of Section 881(c)(3)(B) of the Code, (iv) it is not a " controlled foreign
             corporation" related to any Borrower as described in Section 88I(c)(3)(C) of the Code and (v) no payments in
             connection with any Loan Document are effectively connected with the undersigned 's conduct of a U.S. trade
             or business.

                       The undersigned has furn ished the Administrative Agent and the Top Borrower with a duly executed
             certificate of its non-U.S. person status on IRS Form W-8BEN or W-8BEN-E (as applicable). By executing
             this certificate, the undersigned agrees that (1) if the information provided on this certificate changes, or if a
             lapse in time or change in circumstances renders the information on this certificate obsolete, expired or
             inaccurate in any respect, the undersigned shall promptly so inform each of the Top Borrower and the
             Administrative Agent in writing and deliver promptly to the Top Borrower and the Administrative Agent an
             updated certificate or other appropriate documentation (including any new documentation reasonably
             requested by the Top Borrower or the Administrative Agent) or promptly notify the Top Borrower and the
             Administrative Agent in writing of its legal ineligibility to do so, and (2) the undersigned shall have at all times
             furnished each of the Top Borrower and the Administrative Agent with a properly completed and currently
             effective certificate in either the calendar year in which each payment is to be made to the undersigned, or in
             either of the two calendar years preceding such payments.

                                                                  [NAME OF LENDER]

                                                                  By:
                                                                            Name:
                                                                            Title:

             Date: [•][•], 20[•]




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                                                                                                                 EXHIBIT0-2

                                                               [FORM OF]
                                               U .S. TAX COMPLIANCE CERTIFICATE

                       (For Foreign Participants That Are Not Partnerships For U.S. Federal Income Tax Purposes)

                     Reference is hereby made to that certain Second Lien Term Loan Agreement, dated as of November 8,
             2016 (as amended, restated, amended and restated, supplemented or otherwise modified, the " Second Lien
             Term Loan Agreement"), by and among, inter alios, Dawn Intermediate, Inc., a Delaware corporation ("Dawn
             Intermediate" or "Holdings"), Serta Simmons Bedding, LLC, a Delaware limited liability company (" SSB" or
             the "Top Borrower"), National Bedding Company L.L.C., an Illinois limited liability company (' 'National
             Bedding"), and SSB Manufacturing Company, a Delaware corporation ("SSB Manufacturing"), as borrowers,
             the Lenders from time to time party thereto, Goldman Sachs Bank USA, in its capacities as administrative
             agent and collateral agent for the Lenders. Unless otherwise defined herein, terms defined in the Second Lien
             Term Loan Agreement and used herein shall have the meanings given to them in the Second Lien Term Loan
             Agreement.

                      Pursuant to the prov1s1ons of Section 2. l 7(f) of the Second Lien Term Loan Agreement, the
             undersigned hereby certifies that (i) it is the sole record and beneficial owner of the participation in respect of
             which it is providing this certificate, (ii) it is not a "bank" within the meaning of Section 881(c)(3)(A) of the
             Code, (iii) it is not a " 10 percent shareholder" of any Borrower within the meaning of Section 881(c)(3)(B) of
             the Code, (iv) it is not a "controlled foreign corporation" related to any Borrower as described in Section
             88I(c)(3)(C) of the Code, and (v) no payments in connection with any Loan Document are effectively
             connected with the undersigned's conduct of a U.S. trade or business.

                      The undersigned has furnished its participating Lender with a duly executed certificate of its non-U.S.
             person status on IRS Fonu W-8BEN or W-8BEN-E (as applicable). By executing this certificate, the
             undersigned agrees that (1 ) if the information provided on this certificate changes, or if a lapse in time or
             change in circumstances renders the information on this certificate obsolete, expired or inaccurate in any
             respect, the undersigned shall promptly so inform such Lender in writing and deliver promptly to such Lender
             an updated certificate or other appropriate documentation (including any new documentation reasonably
             requested by such Lender) or promptly notify such Lender in writing of its legal ineligibility to do so, and (2)
             the undersigned shall have at all times furnished such Lender with a properly completed and currently effective
             certificate in either the calendar year in which each payment is to be made to the undersigned, or in either of
             the two calendar years preceding such payments.

                                                                  [NAME OF PARTICIPANT]


                                                                 By:
                                                                           Name:
                                                                           Title:

             Date: [•][•], 20[•]




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                                                                                                                 EXHIBIT 0-3

                                                            [FORM OF]
                                               U .S. TAX COMPLIANCE CERTIFICATE

                            (For Foreign Lenders That Are Partnerships For U.S. Federal Income Tax Purposes)

                     Reference is hereby made to that certain Second Lien Term Loan Agreement, dated as of November 8,
             2016 (as amended, restated, amended and restated, supplemented or otherwise modified, the " Second Lien
             Term Loan Agreement"), by and among, inter alios, Dawn Intermediate, Inc., a Delaware corporation ("Dawn
             Intermediate" or "Holdings"), Serta Simmons Bedding, LLC, a Delaware limited liability company (" SSB" or
             the "Top Borrower"), National Bedding Company L.L.C., an Illinois limited liability company (' 'National
             Bedding"), and SSB Manufacturing Company, a Delaware corporation ("SSB Manufacturing"), as borrowers,
             the Lenders from time to time party thereto, Goldman Sachs Bank USA, in its capacities as administrative
             agent and collateral agent for the Lenders. Unless otherwise defined herein, terms defined in the Second Lien
             Term Loan Agreement and used herein shall have the meanings given to them in the Second Lien Term Loan
             Agreement.

                       Pursuant to the prov1s1ons of Section 2. l 7(f) of the Second Lien Term Loan Agreement, the
             undersigned hereby certifies that (i) it is the sole record owner of the Loan(s) (as well as any Promissory
             Note(s) evidencing such Loan(s)) in respect of which it is providing this certificate, (ii) its direct or indirect
             partners/members are the sole beneficial owners of such Loan(s) (as well as any Promissory Note(s)
             evidencing such Loan(s)), (iii) with respect to the extension of credit pursuant to the Second Lien Term Loan
             Agreement or any other Loan Document, neither the undersigned nor any of its direct or indirect
             partners/members is a "bank" extending credit pursuant to a loan agreement entered into in the ordinary course
             of its trade or business within the meaning of Section 88I(c)(3)(A) of the Code, (iv) none of its direct or
             indirect partners/members claiming the portfolio interest exemption is a "10 percent shareholder" of any
             Borrower within the meaning of Section 881(c)(3)(B) of the Code, (v) none of its direct or indirect
             partners/members claiming the portfolio interest exemption is a "controlled foreign corporation" related to any
             Borrower as described in Section 881 (c)(3)(C) of the Code, and (vi) no payments in connection with any Loan
             Document are effectively connected w ith the undersigned's or any of its direct or indirect partners/members'
             conduct of a U.S. trade or business.

                       The undersigned has furn ished the Administrative Agent and the Top Borrower with a duly executed
             IRS Form W-8IMY accompanied by one of the following forms from each of its partners/members that is
             claiming the portfolio interest exemption: (i) an IRS Form W-8BEN or W-8BEN-E (as applicable) or (ii) an
             IRS Form W-8IMY accompanied by an IRS Form W-8BEN or W-8BEN-E (as applicable) from each of such
             partner's/member's beneficial owners that is claiming the portfolio interest exemption. By executi11g this
             certificate, the undersigned agrees that (1) if the information provided on this certificate changes, or if a lapse
             in time or change in circumstances renders the infomiation on this certificate obsolete, expired or inaccurate in
             any respect, the undersigned shall promptly so inform the Top Borrower and the Administrative Agent in
             writing and deliver promptly to the Top Borrower and the Administrative Agent an updated certificate or other
             appropriate documentation (including any new documentation reasonably requested by the Top Borrower or
             the Administrative Agent) or promptly notify the Top Borrower and the Administrative Agent in writing of its
             legal ineligibility to do so, and (2) the undersigned shall have at all times furnished the Top Borrower and the
             Administrative Agent with a properly completed and currently effective certificate in either the calendar year
             in which each payment is to be made to the undersigned, or in either of the two calendar years preceding such
             payments.

                                                         [Signature Page Follows]




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                                                  [NAME OF LENDER]


                                                  By:
                                                           Name:
                                                           Title:
             Date:[•][•], 20[•]




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                                                                                                                EXHIBIT0-4

                                                            [FORM OF]
                                               U .S. TAX COMPLIANCE CERTIFICATE

                          (For Foreign Participants That Are Partnerships For U.S. Federal Income Tax Purposes)

                     Reference is hereby made to that certain Second Lien Term Loan Agreement, dated as of November 8,
             2016 (as amended, restated, amended and restated, supplemented or otherwise modified, the " Second Lien
             Term Loan Agreement"), by and among, inter alios, Dawn Intermediate, Inc., a Delaware corporation ("Dawn
             Intermediate" or "Holdings"), Serta Simmons Bedding, LLC, a Delaware limited liability company (" SSB" or
             the "Top Borrower"), National Bedding Company L.L.C., an Illinois limited liability company (' 'National
             Bedding"), and SSB Manufacturing Company, a Delaware corporation ("SSB Manufacturing"), as borrowers,
             the Lenders from time lo time party thereto, Goldman Sachs Bank USA, in its capacities as administrative
             agent and collateral agent for the Lenders. Unless otherwise defined herein, terms defined in the Second Lien
             Term Loan Agreement and used herein shall have the meanings given to them in the Second Lien Term Loan
             Agreement.

                       Pursuant to the prov1s1ons of Section 2. l 7(f) of the Second Lien Term Loan Agreement, the
             undersigned hereby certifies that (i) it is the sole record owner of the participation in respect of which it is
             providing this certificate, (ii) its direct or indirect partners/members are the sole beneficial owners of such
             participation, (iii) with respect to such participation, neither the undersigned nor any of its direct or indirect
             partners/members is a "bank" extending credit pursuant to a loan agreement entered into in the ordinary course
             of its trade or business within the meaning of Section 88I(c)(3)(A) of the Code, (iv) none of its direct or
             indirect partners/members claiming the portfolio interest exemption is a " IO percent shareholder" of any
             Borrower within the meaning of Section 88I(c)(3)(B) of the Code, (v) none of its direct or indirect
             partners/members claiming the portfolio interest exemption is a "controlled foreign corporation" related to any
             Borrower as described in Section 881(c)(3)(C) of the Code, and (vi) no payments in connection with any Loan
             Document are effectively connected with the undersigned' s or any of its direct or indirect partners/members'
             conduct of a U.S. trade or business.

             The undersigned has furnished its participating Lender with a duly executed IRS Form W-8IMY accompanied
             by one of the following forms from each of its partners/members that is claiming the portfolio interest
             exemption: (i) an IRS Form W-8BEN or W-8BEN-E (as applicable) or ( ii) an IRS Fom1 W-8IMY
             accompanied by an IRS Form W-8BEN or W-8BEN-E (as applicable) from each of such partner's/member' s
             beneficial owners that is claiming the portfolio interest exemption. By executing this certificate, the
             undersigned agrees that ( I) if the information provided on this certificate changes, or if a lapse in time or
             change in circums tances renders the information on this certificate obsolete, expired or inaccurate in any
             respect, the undersigned shall promptly so inform such Lender in writing and deliver promptly to such Lender
             an updated certificate or other appropriate documentation (including any new documentation reasonably
             requested by such Lender) or promptly notify such Lender in writing of its legal ineligibility to do so, and (2)
             the undersigned shall have at all times furnished such Lender with a properly completed and currently effective
             certificate in either the calendar year in which each payment is to be made to the undersigned, or in either of
             the two calendar years preceding such payments.


                                                                          (NAME OF PARTICIPANT]

                                                                          By :
                                                                                  Name:
                                                                                  Title:

             Date: [•][•], 20[•]



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                                                                                                                   EXHIBIT P

                                                                [FORM OF]
                                                       SOLVENCY CERTIFICATE

                                                               [•] [•], 20[•]

                      This Solvency Certificate (this "Solvencv Certificate") is being executed and delivered pursuant to
             Section 4.0l(i) of that certain Second Lien Tenn Loan Agreement, dated as of November 8, 2016 (as amended,
             restated, amended and restated, supplemented or othe1.wise modified, the " Second Lien Term Loan
             Agreement"), by and among, inter alios, Dawn Intermediate, Inc., a Delaware corporation ("Dawn
             Intermediate" or "Holdings"), Serta Simmons Bedding, LLC, a Delaware limited liability company (" SSB" or
             the "Top Borrower"), National Bedding Company L.L.C., an Illinois limited liability company ("National
             Bedding"), and SSB Manufacturing Company, a Delaware corporation ("SSB Manufacturing"), as borrowers,
             the Lenders from time to time party thereto, Goldman Sachs Bank USA, in its capacities as administrative
             agent and collateral agent for the Lenders. Capitalized terms used herein but not otherwise defin ed herein shall
             have the meanings assigned to such terms in the Second Lien Term Loan Agreement.

                      I, [•], the [Chief Financial Officer/equivalent officer] of the Top Borrower, in such capacity and not
             in an individual capacity, hereby certify as follows:

                       (1)      I am generally familiar with the businesses, financial position and assets of the Top Borrower
                       and its subsidiaries, on a consolidated basis, and am duly authorized to execute this Solvency
                       Certificate on behalf of the Top Borrower pursuant to the Second Lien Term Loan Agreement; and

                      (2)      As of the date hereof and after giving effect to the Transactions and the incurrence of the
                      indebtedness and obligations being incurred in connection with the Second Lien Tenn Loan
                      Agreement and the Transactions, that, (i) the sum of the debt (including contingent liabilities) of the
                      Top Borrower and its subsidiaries, taken as a whole, does not exceed the fair value of the assets of the
                      Top Borrower and its subsidiaries, taken as a whole, (ii) the present fair saleable value of the assets
                      (on a going concern basis) of the Top Borrower and its subsidiaries, taken as a whole, is not less than
                      the amount that will be required to pay the probable liabilities of the Top Borrower and its
                      subsidiaries, taken as a whole, on their debts as they become absolute and matured in accordance with
                      their terms; (iii) the capital of the Top Borrower and its subsidiaries, taken as a whole, is not
                      unreasonably small in relation to the business of the Top Borrower and its subsidiaries, taken as a
                      whole, contemplated as of the date hereof; and (iv) the Top Borrower and its subsidiaries, taken as a
                      whole, do not intend to incur, or believe that they will incur, debts (including current obligations and
                      contingent liabilities) beyond their ability to pay such debt as they mature in accordance with their
                      terms.

                       For the purposes hereof, the amount of any contingent liability at any time shall be computed as the
                       amount that, in light of all of the facts and circumstances existing at such time, represents the amount
                       that can reasonably be expected to become an actual or matured liability.

                                                         [Signature Page Follows]




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                       IN WITNESS WHEREOF, I have executed this Solvency Certificate on the date first above written.


                                                                       SERTA SIMMONS BEDDING, LLC

                                                                       By :
                                                                              Name:
                                                                              Title:




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